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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
AMERICAN TRANSIT INSURANCE COMPANY,                                   24-CV-____
                                              PLAINTIFF,
                                                                      COMPLAINT
                           -against-
                                                                    (TRIAL BY JURY
ALL CITY FAMILY HEALTHCARE CENTER INC., BRONX SC, LLC D/B/A
                                                                      DEMANDED)
EMPIRE STATE AMBULATORY SURGERY CENTER, FIFTH AVENUE
SURGERY CENTER, LLC F/K/A FIFTH AVENUE ASC ACQUISITION,
LLC, MANALAPAN SURGERY CENTER, INC. F/K/A MANALAPAN
SURGERY CENTER, P.A., NEW HORIZON SURGICAL CENTER LLC,
NYEEQASC, LLC D/B/A NORTH QUEENS SURGICAL CENTER,
ROCKAWAYS ASC DEVELOPMENT, LLC, ROCKLAND AND BERGEN
SURGERY CENTER LLC, SURGICORE OF JERSEY CITY LLC,
SURGICORE, LLC A/K/A SURGICORE SURGICAL CENTER, ANTHONY
DEGRADI, WAYNE HATAMI, FELIKS KOGAN, LEONID TYLMAN A/K/A
LENNY TILMAN, SURGICORE MANAGEMENT INC, SURGICORE
MANAGEMENT NY LLC, JOHN ALJIAN, MD, EDWIN CHAN, MD,
ALEXANDER COCOZIELLO, DO, ANDREW KOPLIK, MD, PETER
MENGER, MD, RAVI NAIK, MD, ANTHONY PACIA, MD, MERWIN
RICHARD, MD, STUART SPRINGER, MD, BRIAN WEINER, MD, MARINA
AMINOVA, MELISSA FINNEGAN, LETICIA M. LANGARITA-HOYLE,
MSN-AGNP-C, HENRY KILROY, PAOLA LOPEZ, YANIN LUCERO,
MONIQUE MORRIS A/K/A MONIQUE DEMARTINO A/K/A MONIQUE
KILROY, AMAURY ROMERO A/K/A AMAURY SANCHEZ, TAMI SANTORA,
JOSE SANTOS, MARK SPINA, LANA YOUNG, ILANA POCH-ZYBIN, PAUL
ACKERMAN, M.D., CONTEMPORARY ORTHOPEDICS, PLLC, ALEXIOS
APAZIDIS, M.D., ALEXIOS APAZIDIS, M.D. P.C. A/K/A TOTAL SPINE AND
SPORTS CARE, HOWARD BAUM, M.D., BAY RIDGE ORTHOPEDIC
ASSOCIATES, P.C., DOV BERKOWITZ, M.D., ADVANCED
ORTHOPAEDICS, P.L.L.C., MARK BURSZTYN, M.D., GABRIEL DASSA,
D.O., DASSA ORTHOPEDIC MEDICAL SERVICES, P.C., ALBERT
GRAZIOSA, M.D., ALBERT GRAZIOSA MD, P.C., ROBERT HAAR, M.D.,
HAAR ORTHOPAEDICS & SPORTS MEDICINE, P.C., EMMANUEL
HOSTIN, M.D., HOSTIN ORTHOPAEDICS & SPORTS MEDICINE, P.C.,
BARRY KATZMAN, M.D., KATZMAN ORTHOPEDICS P.C., KENNETH
MCCULLOCH, M.D., MCCULLOCH ORTHOPAEDIC SURGICAL
SERVICES, P.L.L.C. A/K/A NEW YORK SPORTS & JOINTS ORTHOPAEDIC
SPECIALISTS, NEW YORK SPORTS AND JOINTS ORTHOPAEDIC
SPECIALISTS PLLC, MARK MCMAHON, M.D., MARK S. MCMAHON,
M.D., P.C., RICHARD SELDES, M.D., NYC ORTHOPEDIC AND SPINE,
P.C., PASSAIC ORTHOPEDIC GROUP P.C., RICHARD M. SELDES, M.D.,
P.C., ANJANI SINHA, M.D., ANJANI SINHA MEDICAL P.C., UPENDRA
SINHA, M.D., U.K. SINHA PHYSICIAN P.C., VINAYAK SINHA AS
ADMINISTRATOR OF THE ESTATE OF AJOY SINHA, M.D.,
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MUSCULOSKELETAL AND ARTHRITIS JOINT REPLACEMENT OF
QUEENS, PC, SINHA ORTHOPEDICS PC, BRADLEY WASSERMAN, M.D.,
BW ORTHOPEDICS, LLC, GENNADIY SHAMALOV, P.A. ALEXANDER
BOWEN, M.D., BOWEN, MD PLLC, ANDREW HALL, M.D., ANDREW
HALL, M.D., PLLC, JOSEPH JIMENEZ, M.D., J SPORTS MEDICINE P.C.,
DEV HEALTHCARE LLC, WILLIAM B. JONES, M.D., PHOENIX MEDICAL
SERVICES, P.C. D/B/A ROCKVILLE CENTER PAIN MANAGEMENT &
REHABILITATION, GAUTAM KHAKHAR, M.D., PHYSICAL MEDICINE &
REHABILITATION OF NEW YORK, PC, HERSCHEL KOTKES, M.D.,
HERSCHEL KOTKES, M.D., P.C., BENJAMIN PORTAL, M.D., PORTAL
MEDICAL, PC, DAVID SHABTIAN, D.O., TOTAL ANESTHESIA PROVIDER,
PC, KETAN VORA, D.O., KDV MEDICAL, P.C., KETAN D. VORA, D.O.,
P.C., KV MEDICAL OF NY, P.C., NJ VORA HEALTH P.C. A/K/A VORA
HEALTH, NON-SURGICAL ORTHOPEDICS OF NEW JERSEY, PC, JINGHUI
XIE, M.D., INTEGRATED PAIN MANAGEMENT, PLLC, ALEXANDER
BOWEN, MD PLLC, IGOR AMIGUD, M.D., FIFTH AVENUE ANESTHESIA
ASSOCIATES, P.C., IGOR AMIGUD PHYSICIAN P.C., EDWARD EATON,
M.D., CHAD ITZKOVICH, M.D., SYNERGY ANESTHESIA LLC, WAEL
ELKHOLY, M.D., PRECISION ANESTHESIA ASSOCIATES, P.C. F/K/A
PRECISION ANESTHESIA ASSOCIATES INC, NEAL KURTTI, M.D.,
KAREEM ELTAKI, M.D., F. ROBERT MCCARTHY III, M.D., QUALITY
ANESTHESIA SERVICES LLC, SEN PIN KAO, PROGRESSIVE-HUDSON
ANESTHESIA, LLC, ASIM KHAN, M.D., ANESTHESIA PROFESSIONALS
PA, AVISHAI T. NEUMAN, M.D., AVISHAI T. NEUMAN MD, PLLC D/B/A
CENTURION ANESTHESIA, AVISHAI NEUMAN MEDICAL PC,
CENTURION ANESTHESIA SURGICAL CENTERS, LLC, CENTURION
MIDTOWN ANESTHESIA, PLLC, CENTURION MIDTOWN MEDICAL,
PLLC, SEDATION VACATION PERIOPERATIVE MEDICINE, PLLC D/B/A
CENTURION ANESTHESIA, ATHANASIOS SCINAS, M.D., ROXBURY
ANESTHESIA, LLC, ADVANCED PMR MANAGEMENT LTD LIABILITY
CO., AEH HEALTHCARE MANAGEMENT CONSULTING LLC, ASC
INVESTMENT SERVICES LLC, ASAR HEALTHCARE LLC, AS MED
INVEST LLC, BDP VENTURES INC, BDP VENTURES LLC, BLUE WALL
MANAGEMENT, LLC, BOOST HS LLC, CAPLEO HOLDINGS, LLC,
CONTE DE FEES INC., FIABA LLC, 50 FRANKLIN LN REALTY LLC,
FIWA 1049 REALTY, LLC, FLBD MANAGEMENT LLC, FOUR D
INVESTMENTS INC, FOUR D INVESTMENTS LLC, GESHEFT ASSOCIATES
LLC, HEALTH PLUS MANAGEMENT, LLC (F/K/A ACC INTERMEDIATE
HOLDING COMPANY I, LLC), HDS INVESTMENTS, LLC, KOSTANIAN
CONSULTING ASSOCIATES INC., MAIN STREET MEDICAL
MANAGEMENT INC., MEGA GROUP SOLUTION INC., MEDA
MANAGEMENT, LLC, MEH INVESTMENTS INC, MIDTOWN 305
REALTY, LLC, MK MED INVEST LLC, ORTUZ LLC, REDY VENTURES
LLC, SIGNME, LLC, SJ2 VENTURES, SURGICORE 5TH AVENUE LLC,
SURGICORE RBSC, LLC, YCENTURY LLC, JONATHAN ARREDONDO-
CALLE, STUART BLUMBERG, AMANDA CHAVEZ, KRISTEN DEGRADI
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 A/K/A KRISTEN LAIRD, SERGEY DENEVICH, MARY HATAMI, HARRIS
 HAFEEZ, M.D., JACOB KATANOV, SVETLANA KATANOV, MARINA
 KEYSERMAN, GARY KLEIN, D.C., BEATA KOGAN, ARTHUR
 KOSTANIAN, LISA PASSANISI, SALVATORE PASSANISI, SHAREN
 PYATETSKAYA, MARIBEL RAMIREZ A/K/A MARIBEL ROMERO A/K/A
 MARIBEL RAMIREZ-PIMIENTA A/K/A MARIBEL PIMIENTA, DANIEL
 REIZIS, M.D., ALLA REVUTSKY. JEFFREY RUBIN, MARLA SELDES,
 ALBERT SHAKAROV, ROZA YADGAROV, YURA YAGUDA, JOHN DOE 1,
 JOHN DOES 2 THROUGH 20, AND ABC CORPORATIONS 1 THROUGH 20,
                                                                            DEFENDANTS.



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       American Transit Insurance Company (“Plaintiff” or “American Transit”), by its attorneys

Manning & Kass, Ellrod, Ramirez, Trester LLP and Cadwalader, Wickersham & Taft, LLP, for

its Complaint against Defendants All City Family Healthcare Center Inc. (“All City ASC”), Bronx

SC, LLC (doing business as Empire State Ambulatory Surgery Center) (“Empire State ASC”),

Fifth Avenue Surgery Center, LLC (formerly known as Fifth Avenue ASC Acquisition, LLC)

(“Fifth Avenue ASC”), Manalapan Surgery Center, Inc. (formerly known as Manalapan Surgery

Center, P.A.) (“Manalapan ASC”), New Horizon Surgical Center LLC (“New Horizon ASC”),

NYEEQASC, LLC doing business as North Queens Surgical Center (“North Queens ASC”),

Rockaways ASC Development, LLC (“Rockaways ASC”), Rockland and Bergen Surgery Center

LLC (“Rockland and Bergen ASC”), Surgicore of Jersey City LLC (“Jersey City ASC”);

Surgicore, LLC a/k/a Surgicore Surgical Center (“Saddlebrook ASC”) (collectively, the

“Surgicore ASCs”); Anthony Degradi (“Degradi”), Wayne Hatami (“Hatami”), Feliks Kogan

(“Kogan”), Leonid Tylman a/k/a Lenny Tilman (“Tylman”), (collectively the “Controllers”);

Surgicore Management Inc (“Surgicore Management”), Surgicore Management NY LLC

(“Surgicore Management NY”) (collectively the “Surgicore Management Companies”); John

Aljian, MD (“Aljian”), Edwin Chan, MD (“Chan”), Alexander Cocoziello, DO (“Cocoziello”),

Andrew Koplik, MD (“Koplik”), Peter Menger, MD (“Menger”), Ravi Naik, MD (“Naik”);

Anthony Pacia, MD (“Pacia”); Merwin Richard, MD (“Richard”), Stuart Springer, MD

(“Springer”), Brian Weiner, MD (“Weiner”) (collectively the “Surgicore Medical Directors”);

Marina Aminova (“Aminova”), Melissa Finnegan (“Finnegan”), Leticia M. Langarita-Hoyle,

MSN-AGNP-C (“Hoyle”), Henry Kilroy (“Kilroy”), Paola Lopez (“Lopez”), Yanin Lucero

(“Lucero”), Monique Morris a/k/a Monique DeMartino a/k/a Monique Kilroy (“Morris”), Amaury

Romero a/k/a Amaury Sanchez (“Romero”), Tami Santora (“Santora”), Jose Santos (“Santos”),



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Mark Spina (“Spina”), Lana Young (“Young”), Ilana Poch-Zybin (“Zybin”) (collectively the

“Surgicore Administrators”); Paul Ackerman, M.D. (“Ackerman”), Contemporary Orthopedics,

PLLC (“Contemporary Orthopedics”), Alexios Apazidis, M.D. (“Apazidis”), Alexios Apazidis,

M.D. P.C. also known as Total Spine and Sports Care (“Apazidis PC”), Howard Baum, M.D.

(“Baum”), Bay Ridge Orthopedic Associates, P.C. (“Bay Ridge PC”), Dov Berkowitz, M.D.

(“Berkowitz”), Advanced Orthopaedics, P.L.L.C. (“Advanced Orthopaedics”), Mark Bursztyn,

M.D. (“Bursztyn), Gabriel Dassa, D.O. (“Dassa”), Dassa Orthopedic Medical Services, P.C.

(“Dassa Orthopedic”), Albert Graziosa, M.D. (“Graziosa”), Albert Graziosa MD, P.C. (“Graziosa

PC”), Robert Haar, M.D. (“Haar”), Haar Orthopaedics & Sports Medicine, P.C. (“Haar

Orthopaedics”), Emmanuel Hostin, M.D. (“Hostin”), Hostin Orthopaedics & Sports Medicine,

P.C. (“Hostin Orthopaedics”), Barry Katzman, M.D. (“Katzman”), Katzman Orthopedics P.C.

(“Katzman PC”), Kenneth McCulloch, M.D. (“McCulloch”), McCulloch Orthopaedic Surgical

Services, P.L.L.C. a/k/a New York Sports & Joints Orthopaedic Specialists (“McCulloch

Orthopaedic”), New York Sports and Joints Orthopaedic Specialists PLLC (“NYSJ”), Mark

McMahon, M.D. (“McMahon”), Mark S. McMahon, M.D., P.C. (“McMahon PC”), Richard

Seldes, M.D. (“Seldes”), NYC Orthopedic and Spine, P.C. (“NYC Orthopedic”), Passaic

Orthopedic Group P.C. (“Passaic Orthopedic”), Richard M. Seldes, M.D., P.C. (“Seldes PC”),

Anjani Sinha, M.D. (“Sinha”), Anjani Sinha Medical P.C. (“Anjani PC”), Upendra Sinha, M.D.

(“Upendra Sinha”), U.K. Sinha Physician P.C. (“U.K. PC”), Vinayak Sinha as administrator of the

estate of Ajoy Sinha, M.D., Musculoskeletal and Arthritis Joint Replacement of Queens, PC

(“MSJR”), Sinha Orthopedics PC (“Sinha Orthopedics”), Bradley Wasserman, M.D.

(“Wasserman”), BW Orthopedics, LLC (“BW Orthopedics”), Gennadiy Shamalov, P.A.

(“Shamalov”) (collectively the “Surgicore Orthopedic Providers”); Alexander Bowen, M.D.




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(“Bowen”), Bowen, MD PLLC (“Bowen PLLC”), Andrew Hall, M.D. (“Hall”), Andrew Hall,

M.D., PLLC (“Hall PLLC”), Joseph Jimenez, M.D. (“Jimenez”), J Sports Medicine P.C. (“J

Sports”), Dev Healthcare LLC (“Dev Healthcare”), William B. Jones, M.D. (“Jones”), Phoenix

Medical Services, P.C. d/b/a Rockville Center Pain Management & Rehabilitation (“Phoenix

Medical”), Gautam Khakhar, M.D. (“Khakhar”), Physical Medicine & Rehabilitation of New

York, PC (“PM&R”), Herschel Kotkes, M.D. (“Kotkes”), Herschel Kotkes, M.D., P.C. (“Kotkes

PC”), Benjamin Portal, M.D. (“Portal”), Portal Medical, PC (“Portal Medical”), David Shabtian,

D.O. (“Shabtian”), Total Anesthesia Provider, PC (“Total Anesthesia”), Ketan Vora, D.O.

(“Vora”), KDV Medical, P.C. (“KDV Medical”), Ketan D. Vora, D.O., P.C. (“Vora PC”), KV

Medical of NY, P.C. (“KV Medical”), NJ Vora Health P.C. also known as Vora Health (“NJ

Vora”), Non-Surgical Orthopedics of New Jersey, PC (“Non-Surgical Orthopedics”), Jinghui Xie,

M.D. (“Xie”), Integrated Pain Management, PLLC (“Integrated Pain Management”) (collectively

the “Surgicore Pain Management Providers”); Alexander Bowen, MD PLLC (“Alexander Bowen

PLLC”), Igor Amigud, M.D. (“Amigud”), Fifth Avenue Anesthesia Associates, P.C. (“Fifth

Avenue Anesthesia”), Igor Amigud Physician P.C. (“Amigud PC”), Edward Eaton, M.D.

(“Eaton”), Chad Itzkovich, M.D. (“Itzkovich”), Synergy Anesthesia LLC (“Synergy Anesthesia”),

Wael Elkholy, M.D. (“Elkholy”), Precision Anesthesia Associates, P.C. formerly known as

Precision Anesthesia Associates Inc (“Precision Anesthesia”), Neal Kurtti, M.D. (“Kurtti”),

Kareem Eltaki, M.D. (“Eltaki”), F. Robert McCarthy III, M.D. (“McCarthy”), Quality Anesthesia

Services LLC (“Quality Anesthesia”), Sen Pin Kao (“Kao”), Progressive-Hudson Anesthesia, LLC

(“Progressive-Hudson”), Asim Khan, M.D. (“Khan”), Anesthesia Professionals PA (“Anesthesia

Professionals”), Avishai T. Neuman, M.D. (“Neuman”), Avishai T. Neuman MD, PLLC d/b/a

Centurion Anesthesia (“Neuman PLLC”), Avishai Neuman Medical PC, (“Neuman PC”),




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Centurion Anesthesia Surgical Centers, LLC (“Centurion Anesthesia Surgical”), Centurion

Midtown Anesthesia, PLLC (“Centurion Midtown Anesthesia”), Centurion Midtown Medical,

PLLC (“Centurion Midtown Medical”), Sedation Vacation Perioperative Medicine, PLLC doing

business as Centurion Anesthesia (“Sedation Vacation”), Athanasios Scinas, M.D. (“Scinas”),

Roxbury Anesthesia, LLC (“Roxbury Anesthesia”) (collectively the “Surgicore Anesthesia

Providers”); Advanced PMR Management Ltd Liability Co. (“Advanced PMR”), AEH Healthcare

Management Consulting LLC (“AEH Healthcare Management”), ASC Investment Services LLC

(“ASC Investment Services”), ASAR Healthcare LLC (“ASAR Healthcare”), AS Med Invest LLC

(“AS Med Invest”), BDP Ventures Inc (“BDP Ventures Inc.”), BDP Ventures LLC (“BDP

Ventures LLC”), Blue Wall Management, LLC (“Blue Wall Management”), Boost HS LLC

(“Boost HS”), Capleo Holdings, LLC (“Capleo Holdings”), Conte De Fees Inc. (“Conte De Fees”),

Fiaba LLC (“Fiaba”), 50 Franklin Ln Realty LLC (“50 Franklin Ln Realty”), FIWA 1049 Realty,

LLC (“FIWA 1049 Realty”), FLBD Management LLC (“FLBD Management”), Four D

Investments Inc (“Four D Investments Inc”), Four D Investments LLC (“Four D Investments

LLC”), Gesheft Associates LLC (“Gesheft Associates”), Health Plus Management, LLC (f/k/a

ACC Intermediate Holding Company I, LLC) (“Health Plus Management”), HDS Investments,

LLC (“HDS Investments”), Kostanian Consulting Associates Inc. (“Kostanian Consulting

Associates”), Main Street Medical Management Inc. (“Main Street Medical”), Mega Group

Solution Inc. (“Mega Group Solution”), MEDA Management, LLC (“MEDA Management”),

MEH Investments Inc (“MEH Investments”), Midtown 305 Realty, LLC (“Midtown 305 Realty”),

MK Med Invest LLC (“MK Med Invest”), Ortuz LLC (“Ortuz”), Redy Ventures LLC (“Redy

Ventures”), SignMe, LLC (“SignMe”) SJ2 Ventures (“SJ2 Ventures”), Surgicore 5th Avenue LLC

(“Surgicore 5th Avenue”), Surgicore RBSC, LLC (“Surgicore RBSC”), YCentury LLC




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(“YCentury”), Jonathan Arredondo-Calle (“Arredondo-Calle”), Stuart Blumberg (“Blumberg”),

Amanda Chavez (“Chavez”), Kristen Degradi a/k/a Kristen Laird (“K. Degradi”), Sergey

Denevich (“Denevich”), Mary Hatami (“M. Hatami”), Harris Hafeez, M.D. (“Hafeez”), Jacob

Katanov (“J. Katanov”), Svetlana Katanov (“S. Katanov”), Marina Keyserman (“Keyserman”),

Gary Klein, D.C. (“Klein”), Beata Kogan (“B. Kogan”), Arthur Kostanian (“Kostanian”), Lisa

Passanisi (“L. Passanisi”), Salvatore Passanisi (“S. Passanisi”), Sharen Pyatetskaya

(“Pyatetskaya”), Maribel Ramirez a/k/a Maribel Romero a/k/a Maribel Ramirez-Pimienta a/k/a

Maribel Pimienta (“Ramirez”), Daniel Reizis, M.D. (“Reizis”), Alla Revutsky (“Revutsky”),

Jeffrey Rubin (“Rubin”), Marla Seldes (“M. Seldes”), Albert Shakarov (“Shakarov”), Roza

Yadgarov     (“Yadgarov”),     Yura    Yaguda     (“Yaguda”)      (collectively,   the   “Associated

Companies/Individuals”); John Doe 1, John Does 2 through 20 (collectively, the “John Doe

Defendants”); and ABC Corporations 1 through 20 (the “ABC Corporations”) (collectively the

“Defendants”), alleges as follows:

                                PRELIMINARY STATEMENT

       1.      Through the filing of this Complaint, American Transit brings into laser focus the

rampant fraud and abuse that is endemic to the New York State Comprehensive Motor Vehicle

Insurance Reparations Act, N.Y. Ins. Law §§ 5101, et seq. (popularly known as the “No-Fault

Law”). Such fraud has significant and adverse consequences to both consumers and insurers and,

in particular, impacts both rates and the financial condition of insurers that charge the rates and

pay claims. Under the No-fault Law, Plaintiff is required to pay, inter alia, for health service

expenses that are reasonably incurred as a result of injuries suffered by occupants of their insureds’

motor vehicles, pedestrians, and bicyclists (“Covered Persons”) that arise from the use or operation

of such motor vehicles in the State of New York.




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        2.      The No-Fault Law was enacted in 1974 and requires insurers to compensate

 Covered Persons, by reimbursing them for “Basic Economic Loss” (alternatively known as

 Personal Injury Protection or PIP coverage, hereinafter “PIP Benefits”), consisting of medical

 costs, incidental costs, and lost earnings. The No-Fault Law was enacted in the wake of rapidly

 rising automobile insurance costs and when accident victims were experiencing long delays in

 compensation, in part due to the increasing number of automobile insurance disputes

 overburdening the courts.

        3.      Personal line auto insurers that insure personal or private passenger vehicles are

 required to provide statutory mandated PIP Benefits up to $50,000.00 per Covered Person for

 necessary expenses that are, among other things, incurred for health care goods and services,

 including but not limited to physician services, diagnostic services, procedures, surgeries, pain

 management services, chiropractic care, physical therapy services, and acupuncture services.

        4.      Commercial automobile insurers, such as Plaintiff, that insure yellow cabs (picking

 up street-hailing passengers), livery cars, and ride-share vehicles operating in the City of New

 York are required to provide the statutory mandated PIP Benefits up to $200,000 per Covered

 Person—four times the amount of insurance coverage as standard for private automobile drivers.

 This has put a target on the backs of livery vehicles, and the insurance companies which insure

 them, for unsavory persons seeking to capitalize on payouts following injuries. In the aggregate,

 those abusing the No-Fault Law have racked up hundreds of millions in fraudulent payments,

 destabilized the livery insurance markets in New York City, increased premiums for hard working

 taxi-cab and livery drivers, and harmed the public.

        5.      Pursuant to New York Insurance Law Section 409, insurers, such as American

 Transit, are required to formulate a fraud prevention plan for the investigation and prevention of




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 fraudulent insurance activities. The plan is required to include provisions for “the investigation

 and initiation of civil actions.” N.Y. Ins. Law § 409. This Complaint, brought by necessity pursuant

 to American Transit’s Section 409 plan to address part of the rampant and ongoing No-fault fraud,

 alleges a scheme to defraud Plaintiff through abuse of the No-Fault Law and submission of

 hundreds of millions of dollars in excess billing by unlawfully operated providers for unnecessary

 or nonexistent medical services.

        6.      Pursuant to the scheme to defraud alleged herein, Defendants, acting in concert with

 nonparty medical clinics and a bevy of health care professionals, executing a predetermined

 fraudulent protocol and treatment plan to bill for medically unnecessary services to Covered

 Persons under the No-Fault Law, billed American Transit in excess of $400 million, including

 bills submitted on the same claim files for which Defendants submitted bills for reimbursement to

 American Transit. Through this Complaint, American Transit seeks to recover compensatory

 damages in excess of $153 million and treble damages in excess of $459 million. Each of the

 Defendants All City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC, New Horizon

 ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen ASC, Jersey City ASC,

 Saddlebrook ASC Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

 Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

 Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

 McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

 Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

 administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

 Orthopedics, Shamalov, Bowen, Alexander Bowen PLLC, Bowen PLLC, Hall, Hall PLLC,

 Jimenez, J Sports, Dev Healthcare, Jones, Phoenix Medical, Khakhar, PM&R, Kotkes, Kotkes PC,




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 Portal, Portal Medical, Shabtian, Total Anesthesia, Vora, KDV Medical, Vora PC, KV Medical,

 NJ Vora, Non-Surgical Orthopedics, Xie, Integrated Pain Management, Amigud, Fifth Avenue

 Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy Anesthesia, Elkholy, Precision Anesthesia,

 Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao, Progressive-Hudson, Khan, Anesthesia

 Professionals, Neuman, Neuman PLLC, Neuman PC, Centurion Anesthesia Surgical, Centurion

 Midtown Anesthesia, Centurion Midtown Medical, Sedation Vacation, Scinas, Roxbury

 Anesthesia, one or more of the John Does 1 through 20 and/or one or more of the ABC

 Corporations 1 through 20 (hereinafter, the “Surgicore Health Care Providers”) are ostensibly

 health care providers (“HCPs”) that bill for medical services to, among others, Covered Persons.

 In exchange for their services, the Defendant Surgicore Health Care Providers accept assignments

 of benefits from Covered Persons and submit claims for payment to No-Fault insurance carriers,

 in general, and to Plaintiff, in particular.

         7.      At least since 2009 and continuing through the filing of this Complaint, Defendants

 Degradi, Hatami, Kogan, Tylman and/or one or more of John Does 3 through 20 (individually

 referred to by name and collectively referred to as the “Controllers”) have created and continue to

 preside over a vast network of ambulatory surgical centers (“ASCs”) across the states of New York

 and New Jersey that have stolen hundreds of millions of dollars from automobile insurance

 companies, including American Transit—activity that continues unabated as of the filing of this

 Complaint—through New York State’s No-Fault system via the submission of thousands of

 fraudulent claims for medical services submitted by and through fraudulently and improperly

 licensed ASCs, including Defendants All City ASC, Empire State ASC, Fifth Avenue ASC,

 Manalapan ASC, New Horizon ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen




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 ASC, Jersey City ASC, and Saddlebrook ASC (when not referred to individually, the foregoing

 ASCs are collectively referred to as the “Surgicore ASCs”).

        8.      At all relevant times mentioned herein, every bill for reimbursement which is the

 subject of this Complaint and submitted to American Transit by or on behalf of one or more of the

 Defendants named herein was the result of: (i) fraudulently and improperly licensed ASCs that are

 operated in violation of the substantive licensing, regulatory and applicable operating laws and

 requirements of New York and/or New Jersey; (ii) illegal kickbacks and/or unlawful referral

 relationships to fraudulently bill for medically unnecessary services; (iii) a predetermined

 fraudulent protocol designed to justify and maximize expensive, medically unnecessary services

 to Covered Persons; and/or (iv) charges for medical services that were fraudulently billed in excess

 of the amounts that the Defendants would be entitled to receive pursuant to the No-Fault Law, if

 the related services were legitimately provided.

        9.      In furtherance of the fraudulent scheme alleged herein, the purported Medical

 Directors for each of the Surgicore ASCs include Defendants Aljian, Chan, Cocoziello, Koplik,

 Menger, Naik, Pacia, Richard, Shabtian, Springer, Weiner, and/or one or more of John Does 3

 through 20.

        10.     The Controllers misrepresented in the respective applications and submissions to

 New York and/or New Jersey that the Surgicore ASCs would have medical directors in place in

 compliance with applicable New York and/or New Jersey law. In the fact they did not.

        11.     The Controllers, in compliance with applicable New York and/or New Jersey law,

 designated and/or reported that they designated for the Surgicore ASCs the following Surgicore

 Medical Directors:




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               SURGICORE ASC                          SURGICORE MEDICAL DIRECTOR
  All City ASC                                     David Shabtian, DO
  Empire State ASC                                 John Aljian, MD
  Fifth Avenue ASC                                 Stuart Springer, MD
  Jersey City ASC                                  Merwin Richard, MD
  Manalapan ASC                                    Brian Weiner, MD
  New Horizon ASC                                  Ravi Naik, MD
                                                   Andrew Koplik, MD (2013-2019)
  North Queens ASC                                 Peter Menger, MD
                                                   Edwin K. Chan (2019-2020)
  Rockaways ASC                                    Anthony Pacia, MD
  Rockland and Bergen ASC                          John Doe 1
  Saddlebrook ASC                                  Alexander Cocoziello, DO

        12.      At all relevant times mentioned herein, the Surgicore Medical Directors served as

 nominal, sham medical directors in which their statutorily mandated responsibilities were actually

 dictated and carried out by one or more of the Controllers and/or others acting under their control

 in violation of the applicable laws of New York and/or New Jersey. With respect to New Horizon

 ASC, the unlawful and improper licensing violations described herein began at least in or about

 2011 and continued through the date of the filing of this complaint.

        13.      At all relevant times mentioned herein, the Surgicore ASCs were fraudulently and

 improperly licensed in violation of the applicable laws of New York and/or New Jersey and,

 therefore, are ineligible for the reimbursement of benefits under the No-Fault Law.

        14.      Using the Surgicore ASCs and a confederate of conspiring and complicit health

 care professionals and others unknown to American Transit, for nearly 15 years, from 2009

 through the filing of this Complaint, Defendants systematically defrauded automobile insurers in

 general, and American Transit in particular, as well as the public at large, of tens of millions of

 dollars per year by fraudulently billing and collecting for, among other things, facility fees,


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 purported arthroscopic procedures (including but not limited to knee, shoulder, wrist and ankle

 arthroscopies), interventional pain management services (including but not limited to trigger point

 injections, epidural steroid injections, epidurograms, discograms, percutaneous discectomies, and

 intradiscal electrothermoplasties (also known as annuloplasties) (“IDETs”)), and related

 anesthesia services (collectively referred to as the “Fraudulent Services”) that were provided at,

 by, and/or through the Surgicore ASCs.

        15.     At all relevant times mentioned herein, the Surgicore ASCs were not properly

 licensed in accordance with applicable New York and/or New Jersey state laws, hosted services

 for which they billed insurers in general, and Plaintiff in particular, a facility fee, as a result of

 paying illicit and illegal kickbacks and/or entering into other illegal financial compensation

 agreements with so-called multidisciplinary practices (the “No-Fault Clinics”) and provided,

 pursuant to a predetermined fraudulent protocol to maximize reimbursement from insurers in

 general, and Plaintiff in particular, for No-Fault benefits for medically unnecessary services under

 New York’s No-Fault Law.

        16.     As part of the predetermined fraudulent protocol of treatment, after receiving a

 standard battery of medical services at the No-Fault Clinics, the Covered Persons were and are

 ultimately referred for orthopedic and/or pain management evaluations by one of the Defendant

 Surgicore Orthopedic Providers or Surgicore Pain Management Providers (defined below) at the

 No-Fault Clinics, resulting in interventional pain management and/or arthroscopic procedures

 and/or surgeries at one or more of the Surgicore ASCs in New York and New Jersey. Covered

 Persons were then instructed to return to the same No-Fault Clinics for post-operative follow-up

 care. These surgical procedures are performed on an outpatient basis, not requiring an overnight

 hospital stay. Attached as Exhibit “1” is a list of more than 5,800 Covered Persons who were




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 purportedly treated at or through various No-Fault Clinics and the Surgicore ASCs. This exhibit

 details that each Covered Person received virtually the same regimen of medical and health-

 related services described herein. The Defendants, acting in concert with the No-Fault Clinics,

 Surgicore Orthopedic Providers, Surgicore Pain Management Providers and Surgicore Anesthesia

 Providers (defined below), carried out the predetermined fraudulent protocol in furtherance of the

 scheme to defraud alleged herein.

        17.     The Controllers through entities they owned, controlled, and/or operated, or

 through others acting at their direction and on their behalf, entered into separate arrangements with

 one or more No-Fault Clinics operating in the New York metropolitan area that bill No-Fault

 insurers for purported medical services to obtain referrals to the Surgicore ASCs. Pursuant to these

 arrangements and in exchange for kickbacks and/or other financial compensation, the managers,

 owners and/or controllers of No-Fault Clinics, which are not named as defendants in this action

 (the “Associated Health Care Providers” (defined below), facilitated and carried out the scheme in

 several ways, including but not limited to:

               Unlike legitimate medical practices, the No-Fault Clinics created
                predetermined fraudulent protocols to exploit the No-Fault system to
                maximize reimbursement for the No-Fault Clinics and the Associated
                Health Care Providers, which provided and billed for virtually the same
                types of services, irrespective of the Covered Persons’ reported injuries,
                their positions in the vehicle at the time of the accidents, the circumstances
                surrounding the reported accidents, and whether such services were
                medically necessity;

               Unlike legitimate medical practices, pursuant to the established
                predetermined fraudulent protocol, irrespective of the individual
                circumstances surrounding their purported motor vehicle accidents and
                claimed injuries, the vast majority of Covered Persons “treated” at the No-
                Fault Clinics and by the Associated Health Care Providers received a
                substantially similar regimen of treatments, including but not limited to
                examinations, modalities (physical therapy, chiropractic, and acupuncture
                services), durable medical equipment (“DME”), pain medication,
                diagnostic procedures and tests, referrals to pain management doctors and



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               orthopedists and referrals for interventional pain management and/or
               arthroscopic procedures and/or surgeries performed at, by and/or through
               the Surgicore ASCs;

              Unlike legitimate medical practices, the No-Fault Clinics misrepresented
               the existence or severity of any injuries that Covered Persons may have had,
               and the course of any treatments;

              Unlike legitimate medical practices, the No-Fault Clinics, and Associated
               Health Care Providers, established a fraudulent protocol for the “treatment”
               of Covered Persons;

              Unlike legitimate medical practices, as part of a scheme to increase profits,
               the No-Fault Clinics either performed or routinely referred Covered Persons
               for magnetic resonance imaging (“MRIs”), nerve conduction velocity tests
               (“NCV”), and electromyograms (“EMG”),, and other diagnostic services
               that were medically unnecessary;

              Unlike legitimate medical practices, the No-Fault Clinics carried out a pay-
               to-play system in which in exchange for being able to bill for purported
               services to Covered Persons that were medically unnecessary, the
               Associated Health Care Providers, Surgicore Orthopedic Providers, and
               Surgicore Pain Management Providers paid kickbacks disguised as rent
               and/or other financial arrangements to the No-Fault Clinics;

              Unlike legitimate medical practices, the No-Fault Clinics and Associated
               Health Care Providers who purportedly provided services did not undertake
               any efforts to determine whether the claimed injures were causally related
               and arose out of an automobile accident and therefore would be covered
               under the No-Fault Law; and

              Unlike legitimate medical practices, the No-Fault Clinics and Associated
               Health Care Providers submitted bills, using the prescribed “NF-3” forms
               promulgated by the Superintendent of Insurance, entitled “Verification of
               Treatment by Attending Physician or Other Provider of Health Services” or
               substantially similar forms, wherein they knowingly misrepresented that the
               services reflected therein were medically necessary when in fact they were
               not.

        18.    The Surgicore Orthopedic Providers purportedly performing arthroscopic

 procedures at, by, and/or through the Surgicore ASCs include, but are not limited to Defendants

 Ackerman, Apazidis, Baum, Berkowitz, Bursztyn, Dassa, Graziosa, Haar, Hostin, Katzman,

 McCulloch, McMahon, Seldes, Sinha, Upendra Sinha, and Wasserman, along with the late Ajoy



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 Sinha (individually referred to by name and collectively referred to as the “Surgicore Orthopedic

 Providers”). The Surgicore Orthopedic Providers billed in their individual capacity and/or through

 professional entities in which they are the record owners, including the following:

    Surgicore Orthopedist               Professional Entity            Associated Surgicore ASCs
  Paul Ackerman, M.D.            Contemporary Orthopedics             All City ASC
                                                                      Jersey City ASC
                                                                      North Queens ASC
                                                                      Rockaways ASC
  Alexios Apazidis, M.D.         Apazidis PC                          All City ASC
                                                                      Fifth Avenue ASC
  Howard Baum, M.D.              Bay Ridge PC                         All City ASC
                                                                      Empire State ASC
  Dov Berkowitz, M.D.            Advanced Orthopaedics                All City ASC
                                                                      Empire State ASC
                                                                      Fifth Avenue ASC
                                                                      Jersey City ASC
                                                                      Manalapan ASC
                                                                      North Queens ASC
                                                                      New Horizon ASC
  Gabriel Dassa, D.O.            Dassa Orthopedic                     Empire State ASC
                                                                      New Horizon ASC
                                                                      Rockland and Bergen ASC
  Albert Graziosa, M.D.          Graziosa PC                          Empire State ASC
                                                                      North Queens ASC
                                                                      Rockaways ASC
  Robert Haar, M.D.              Haar Orthopaedics                    New Horizon ASC
                                                                      Jersey City ASC
  Emmanuel Hostin, M.D.          Hostin Orthopaedics                  All City ASC
                                                                      Empire State ASC
                                                                      Fifth Avenue ASC
                                                                      Jersey City ASC
                                                                      New Horizon ASC
                                                                      Saddlebrook ASC
  Barry Katzman, M.D.            Katzman PC                           All City ASC
                                                                      Fifth Avenue ASC
                                                                      North Queens ASC
  Kenneth McCulloch, M.D.        McCulloch Orthopaedic                All City ASC
                                                                      Empire State ASC
                                                                      Fifth Avenue ASC
                                                                      Jersey City ASC
                                                                      New Horizon ASC
                                                                      North Queens ASC



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    Surgicore Orthopedist               Professional Entity           Associated Surgicore ASCs
                                                                      Rockland and Bergen ASC
                                                                      Saddlebrook ASC
                                 NYSJ                                 All City ASC
                                                                      North Queens ASC
                                                                      Saddlebrook ASC
  Mark McMahon, M.D.             McMahon PC                           Fifth Avenue ASC
  Richard Seldes, M.D.           NYC Orthopedic                       Empire State ASC
                                                                      New Horizon ASC
                                 Passaic Orthopedic                   New Horizon ASC
                                 Seldes PC                            New Horizon ASC
  Ajoy K. Sinha, MD              Sinha Orthopedics                    New Horizon ASC
                                 MSJR                                 Saddlebrook ASC
  Anjani Sinha, M.D.             Anjani PC                            All City ASC
                                                                      Fifth Avenue ASC
                                                                      Manalapan ASC
                                                                      North Queens ASC
                                                                      Rockaways ASC
  Upendra Sinha, M.D.            U.K. PC                              All City ASC
                                                                      Empire State ASC
                                                                      Fifth Avenue ASC
                                                                      Rockaways ASC
  Bradley Wasserman, M.D.        BW Orthopedics                       Jersey City ASC

        19.     The Surgicore Pain Management Providers who purportedly performed pain

 management services at, by, and/or through one or more of the Surgicore ASCs include, but are

 not limited to Bowen, Hall, Jimenez, Jones, Khakhar, Kotkes, Portal, Shabtian, Vora, and Xie

 (individually referred to by name and collectively referred to as the “Surgicore Pain Management

 Providers”). The Surgicore Pain Management Providers billed in their individual capacity and/or

 through professional entities in which they are the record owners, including the following:

       Surgicore Pain                  Professional Entity           Associated Surgicore ASC
     Management Doctor
  Alexander Bowen, M.D.         Bowen PLLC                          Fifth Avenue ASC
                                                                    North Queens ASC
                                                                    Rockaways ASC
  Andrew Hall, M.D.             Hall PLLC                           All City ASC
                                                                    Empire State ASC
                                                                    Fifth Avenue ASC
                                                                    North Queens ASC


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      Surgicore Pain            Professional Entity          Associated Surgicore ASC
    Management Doctor
                                                            Rockaways ASC
 Joseph Jimenez, M.D.     J Sports                          All City ASC
                                                            Empire State ASC
                                                            Fifth Avenue ASC
                                                            North Queens ASC
                                                            Rockaways ASC
                                                            Saddlebrook ASC
                          Dev Healthcare                    Jersey City ASC
                                                            Rockaways ASC
 William B. Jones, M.D.   Phoenix Medical                   Fifth Avenue ASC
                                                            Jersey City ASC
                                                            New Horizon ASC
                                                            North Queens ASC
                                                            Rockaways SC
 Gautam Khakhar, M.D.     PM&R                              Empire State ASC
                                                            Fifth Avenue ASC
 Herschel Kotkes, M.D.    Kotkes PC                         All City ASC
                                                            Jersey City ASC
                                                            North Queens ASC
                                                            Rockaways ASC
 Benjamin Portal, M.D.    Portal Medical                    All City ASC
                                                            Empire State ASC
                                                            Fifth Avenue ASC
                                                            Rockaways ASC
 David Shabtian, D.O.     Total Anesthesia                  All City ASC
                                                            Fifth Avenue ASC
                                                            North Queens ASC
                                                            Rockaways ASC
 Ketan Vora, D.O.         KDV Medical, P.C.                 North Queens ASC
                          Vora PC                           North Queens ASC
                                                            Rockaways ASC
                          KV Medical.                       North Queens ASC
                                                            Rockaways ASC
                          NJ Vora                           New Horizon ASC
                                                            Rockland and Bergen ASC
                                                            Saddlebrook ASC
                          Non-Surgical Orthopedics          Manalapan ASC
                                                            New Horizon ASC
                                                            Saddlebrook ASC
 Jinghui Xie, M.D.        Integrated Pain Management        Jersey City ASC
                                                            Manalapan ASC
                                                            New Horizon ASC
                                                            Saddlebrook ASC



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       20.     The Surgicore Anesthesia Providers purportedly administering anesthesia or causing

anesthesia to be administered at, by, and/or through the Surgicore ASCs include, but are not limited to

Defendants Amigud, Bowen, Eaton, Itzkovich, Elkholy, Kurtti, Eltaki, McCarthy, Kao, Khan, Neuman,

and Scinas (individually referred to by name and collectively referred to as the “Surgicore Anesthesia

Providers”). The Surgicore Anesthesia Providers billed through professional entities in which they are

the record owners, including the following:

      Surgicore Anesthesiologist            Professional Entity         Associated Surgicore ASC
     Igor Amigud, M.D.                Fifth Avenue Anesthesia           Fifth Avenue ASC
                                      Amigud PC                         Fifth Avenue ASC
     Edward Eaton, M.D.               Synergy Anesthesia                New Horizon ASC
     Chad Itzkovich, M.D.
     Wael Elkholy, M.D.               Precision Anesthesia              All City ASC
                                                                        Manalapan ASC
                                                                        New Horizon ASC
                                                                        Saddlebrook ASC
     Neal Kurtti, M.D.                Quality Anesthesia                Rockland and Bergen ASC
     Kareem Eltaki, M.D.
     F. Robert McCarthy III, M.D.
     Sen Pin Kao, M.D.                Progressive-Hudson            Saddlebrook ASC
     Asim Khan, M.D.                  Anesthesia Professionals      Manalapan ASC
     Avishai T. Neuman, M.D.          Neuman PLLC                   All City ASC
                                                                    Empire State ASC
                                      Neuman PC                     All City ASC
                                                                    Empire State ASC
                                                                    North Queens ASC
                                      Centurion Anesthesia Surgical Fifth Avenue ASC
                                      Centurion Midtown Anesthesia Fifth Avenue ASC
                                      Centurion Midtown Medical     New Horizon ASC
                                      Sedation Vacation             All City ASC
                                                                    Empire State ASC
                                                                    Fifth Avenue ASC
                                                                    North Queens ASC
                                                                    Rockaways ASC
     Athanasios Scinas, M.D.          Roxbury Anesthesia            Jersey City ASC
                                                                    Manalapan ASC
     Alexander Bowen, M.D.            Alexander Bowen PLLC          Fifth Avenue ASC

             21.   At all relevant times mentioned herein, the Surgicore Orthopedic Providers,

    Surgicore Pain Management Providers and Surgicore Anesthesia Providers, acting in concert with


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 the Controllers and Surgicore ASCs and in furtherance of the scheme to defraud alleged herein,

 knowingly and with the intent to deceive submitted, or caused to be submitted, bills for the

 Fraudulent Services under their respective names and/or their respective professional corporations.

        22.     With the exception of Hatami, the Controllers are laypersons who are not licensed

 to practice any healthcare profession in the State of New York or New Jersey and committed theft

 through various nefarious means, including the creation of illegally and improperly licensed ASCs

 that were used to fraudulently bill insurance companies.

        23.     With respect to Hatami, while he is licensed to practice physical therapy in the State

 of New York, he, along with the Controllers, presided over the illegal and fraudulent operations

 of the Surgicore ASCs and, because he was prohibited by law from doing so, did not serve as a

 medical director or in any other medical capacity for the Surgicore ASCs.

        24.     Since around 2009, the Controllers have embarked on an aggressive plan to acquire

 and form new ASCs in New York and New Jersey to continue to exploit the New York No-Fault

 system. The Controllers’ acquisition and formation of ASCs has been predicated upon

 misrepresentations in their applications filed in New York and New Jersey as to the appointment

 of legitimate medical directors that would carry out those functions entrusted to them by law when

 in fact the Surgicore Medical Directors did not carry out such functions.            Their business

 development was and would be founded upon kickbacks to various parties to secure a patient

 population and entering into improper financial arrangements with orthopedists and pain

 management doctors to perform procedures and pain management services at the Surgicore ASCs;

 and that concealed various owners and parties who had or would have a financial interest in the

 Surgicore ASCs, often times by disguising their interests as those of family members and/or close




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 associates, or opaque corporations that they or their family members or close associates owned

 and/or controlled.

        25.     The Controllers created a complex web of companies to conceal their interests and,

 as described below, to provide ownership interests in the Surgicore ASCs to numerous orthopedists

 and pain management doctors performing medically unnecessary procedures and pain

 management services at the Surgicore ASCs, as well as to their family members, close associates

 and strategic partners (such as the Health Plus Defendants described below) who, in exchange for

 such interests, provided referrals and supposed marketing services to provide a patient population

 to the Surgicore ASCs, irrespective of medical need.

        26.     In addition to the monies they received directly from the Surgicore ASCs, as more

 fully described below, the Controllers also formed management service and real estate holding

 companies to funnel money from the Surgicore ASCs to companies that one or more of them

 owned and controlled. By way of example but not limitation:

               Defendant Surgicore Management NY was owned by the Controllers and
                received payments from All City ASC, Fifth Avenue ASC, Empire State
                ASC, North Queens ASC, and Rockaways ASC as their purported
                management company;

               Defendant HDS Investments was owned by the Controllers and Defendant
                R. Seldes, and received payments from New Horizon ASC as its purported
                landlord;

               Defendant 50 Franklin Ln Realty was owned by Controllers Tylman and
                Kogan, and received payments from Manalapan ASC as its purported
                landlord; and

               Defendant FIWA 1049 Realty was owned by Controller Kogan and, on
                information and belief, one or more of the other Controllers, and received
                payments from Fifth Avenue ASC as its purported landlord for its 1049
                Fifth Avenue location.

        27.     As more fully described below, the Controllers also sought to conceal their interests

 in various entities that purportedly provided services to the Surgicore ASCs or their management


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 companies. By way of example and not limitation, Surgicore Management and Surgicore

 Management NY were owned by one or more of the Controllers and purported to provide

 management and/or other services to the Surgicore ASCs, but in fact were used as another vehicle

 to funnel additional fraudulently obtained insurance payments from the Surgicore ASCs to the

 Controllers.

        28.      As more fully described below, the Controllers also sought to conceal their

 interests in various entities with purported ownership interests in the Surgicore ASCs through the

 assistance of their family members and close associates who were listed as the owners of such

 entities, when in fact the Controllers had interests in and/or financially benefited from payments

 to such entities from the Surgicore ASCs or other entities that purportedly provided services to the

 Surgicore ASCs or Controllers. By way of example and not limitation, ASAR Healthcare,

 Surgicore RBSC, BDP Ventures LLC, BDP Ventures Inc, and MEH Investments, each of which

 purportedly have ownership interests in one or more of the Surgicore ASCs, were owned by family

 members of one or more of the Controllers and used as another vehicle to funnel additional

 fraudulently obtained insurance payments from the Surgicore ASCs to one or more of the

 Controllers.

        29.      In New York State, the formation and operation of hospitals, which includes ASCs,

 is governed by Article 28 of the Public Health Law.

        30.     While laypersons can own and control an ASC in New York, they may only do so

 in strict compliance with Article 28 and its implementing regulations found in 10 NYCRR § 751.4,

 which requires that there be a medical director who “is a physician licensed by and currently

 registered with the New York State Education Department,” who “develops and recommends to

 the operator policies and procedures governing patient care in accordance with generally accepted




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 standards of professional practice” and “is responsible for the supervision of the quality assurance

 program and for reporting the activities of the program to the operator.”

        31.     The New Jersey state analogue to New York’s Article 28, governing the control of

 ASCs, is found in Chapter 43A of the New Jersey Administrative Code, which, like New York,

 requires that New Jersey ASCs have a physician on staff as medical director responsible for the

 “direction, provision, and quality of medical services provided to patients” and is charged with the

 responsibility of developing and maintaining written objectives, procedures, policies and protocols

 governing patient care in accordance with generally accepted standards of professional practice.

        32.     In contravention of the respective State laws of New York and New Jersey, and to

 circumvent such laws, the Controllers installed the Surgicore Medical Directors as sham medical

 directors to conceal their control over the statutory and regulatory components required to be

 carried out by licensed physicians.

        33.     The Controllers implemented their massive scheme to defraud through the use of

 complicit sham medical directors, who in exchange for ostensibly being paid to serve as medical

 directors, allowed their names and licenses to be used to fraudulently bill insurance companies for

 services that were provided at, by, and/or through the improperly licensed Surgicore ASCs.

        34.     Defendants misrepresented in each of the bills and supporting documents submitted

 to American Transit that:

                (i) the Surgicore ASCs were lawful entities operated with legitimate
                medical directors installed as required by applicable state laws when in fact
                they were sham medical directors and the Controllers and/or others
                unknown to American Transit were in reality the medical directors in
                violation of such applicable state laws;

                (ii) the Covered Persons were legitimately examined to determine the true
                nature and extent of their injuries (if any) when, in fact, they were not;

                (iii) the Covered Persons’ purported injuries were causally related to an
                accident when, in fact, they were not;


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                (iv) the services were provided as billed when in fact they were not;

                (v) the billed-for-services, including but not limited to examinations,
                modality treatments, diagnostic tests, DME, and pain management services
                that were purportedly provided by the Associated Health Care Providers at
                or through the No-Fault Clinics were not provided pursuant to a kickback
                arrangement and knowingly predetermined fraudulent protocol that was
                used as a pretext to justify the Fraudulent Services when, in fact, they were;

                (vi) The Fraudulent Services and related services were medically necessary
                when, in fact, they were not; and

                (vii) the billed for services were not provided pursuant to an illegal kickback
                and other “pay-to-play” arrangements with the conspiring No-Fault Clinics,
                orthopedists and pain management doctors and/or were provided pursuant
                to a predetermined fraudulent protocol when, in fact, they were.

        35.     The Surgicore Medical Directors played an essential role in the overall scheme to

 defraud alleged herein, including by allowing the Controllers and/or others unknown to American

 Transit conceal their illegal operation of the Surgicore ASCs in violation of applicable state laws,

 and the billing and provision of medically unnecessary services in exchange for the kickbacks and

 financial arrangements as alleged herein.

        36.     Notwithstanding that in the applications submitted by one or more of the

 Controllers to New York and/or New Jersey to operate the Surgicore ASCs the Surgicore Medical

 Directors were represented as the medical directors for their corresponding Surgicore ASCs, in

 actuality, they were not legitimate medical directors in that they exercised none of the medical

 oversight, supervision, and other responsibilities with which they are charged by applicable law.

        37.     At all relevant times mentioned herein, each of the Surgicore Medical Directors

 knowingly and in furtherance of the scheme to defraud, allowed fraudulent bills to be submitted

 by the Controllers, through the Surgicore ASCs, that misrepresented that(1) the Surgicore Medical

 Directors were legitimate medical directors when, in fact, they were not; and (2) the Surgicore




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 ASCs were properly licensed in accordance with applicable state laws when, in fact, they were

 not.

        38.     By agreeing to be sham medical directors, the Surgicore Medical Directors

 permitted the Controllers to do that which they are prohibited by law: to control and dictate the

 medical policies and procedures for the Surgicore ASCs. In so doing, the Controllers and Surgicore

 Medical Directors severely compromised the safety and integrity of the healthcare delivery system

 in New York and New Jersey.

        39.     At all relevant times mentioned herein, one or more of the Controllers and others

 unknown to American Transit illegally served as the medical directors for the Surgicore ASCs.

        40.     As New York law requires that a licensed physician serve as the medical director

 of an ASC, the circumvention of that requirement by the Controllers and/or others unknown to

 Plaintiff, in which one or more of the Controllers served as the medical directors for the Surgicore

 ASCs, constituted the unauthorized practice of medicine. The practice of medicine by one who is

 not a physician, as well as the sale of a medical license by a physician, are felonies pursuant to

 New York Education Law § 6512.

        41.     As New Jersey law requires that a licensed physician serve as the medical director

 of an ASC, the circumvention of that requirement by the Controllers and/or others unknown to

 Plaintiff, in which one or more of the Controllers served as the medical directors for the Surgicore

 ASCs, constituted the unauthorized practice of medicine. The practice of medicine by one who is

 not a physician is an indictable offense pursuant to New Jersey Statutes § 2C:21-20, and

 accomplices to the offence subject to prosecution pursuant to New Jersey Statutes § 2C:2-6.b(3)

 and c(1)(b).




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        42.     The Controllers have presided and continue to preside over schemes intended to

 circumvent, and in fact, violate Article 28 of the New York State Public Health Law and Article

 43A of the New Jersey Administrative Code, which prohibit laypersons from being the medical

 directors of the ASCs, as well as each state’s law proscribing the unauthorized practice of

 medicine.

        43.     By using sham medical directors to form the Surgicore ASCs, the Controllers,

 together with the other Defendants, held out the Surgicore ASCs to be legitimate ASCs in

 compliance with core licensing requirements when, in fact, they were not. In doing so, the

 Controllers perpetrated a fraud upon the public and American Transit, among others.

        44.     By allowing their names to be used by the Controllers to fraudulently operate the

 Surgicore ASCs, the Surgicore Medical Directors held out the Surgicore ASCs to be legitimate

 ASCs in compliance with core licensing requirements when, in fact, they were not. In doing so,

 the Surgicore Medical Directors, together with the other Defendants, perpetrated a fraud upon the

 public and American Transit, among others.

        45.     The Controllers orchestrated a scheme to defraud with the assistance, participation,

 and agreement of the Surgicore Medical Directors through the creation of the illegally and

 improperly licensed Surgicore ASCs that were used to fraudulently bill insurance companies in

 general, and American Transit, in particular.

        46.     In State Farm Mut. Auto. Ins. Co. v. Mallela, 4 N.Y.3d 313, 827 N.E.2d 758, 794

 N.Y.S.2d 700 (2005), the New York Court of Appeals held, in part, that (1) a professional

 corporation not licensed in accordance with applicable New York State law is not entitled to

 recover benefits under the New York State No-Fault Law and implementing regulations; and (2)




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 an insurer is entitled to recover payments made to such entity and may look beyond the facially-

 valid license to determine compliance with applicable state and local law.

        47.     In the respective cases of Allstate Ins. Co. v. Elzanaty, 916 F. Supp. 2d 273

 (E.D.N.Y. 2013) and Gov't Emps. Ins. Co. v. Uptown Health Care Mgmt., Inc., 945 F. Supp. 2d

 284 (E.D.N.Y. 2013), the United States District Court for the Eastern District of New York

 recognized that Mallela made no distinction between health care providers incorporated as

 business entities pursuant to the business corporation law, and health care providers, such as ASCs,

 licensed as Article 28 facilities under the public health law and that insurers were entitled to

 withhold and recover payments made to improperly licensed Article 28 corporations in the same

 way they may pursue such claims against entities formed under Article 15 of the Business

 Corporation Law. The same is true for ASCs formed under New Jersey law.

        48.     This action seeks to recoup payments and prevent the Defendants from continuing

 to illegally seek reimbursement of benefits under New York State’s No-Fault system through the

 fraudulently licensed Surgicore ASCs.

        49.     In violation of Article 28 of New York’s Public Health Law and Chapter 43A of

 New Jersey’s Administrative Code and the stringent eligibility and reimbursement requirements

 mandated under the New York State No-Fault Law and implementing regulations, from the date

 the Controllers formed or otherwise acquired the Surgicore ASCs through other companies they

 control and/or maintain a financial interest, the Controllers have installed sham medical directors,

 including but not limited to the Surgicore Medical Directors to allow them to conceal the fact that

 they were illegally exercising the oversight responsibilities charged to licensed physicians by

 applicable state laws and that the Surgicore ASCs were not eligible for No-Fault benefits.

        50.     By using the names and licenses of the sham Surgicore Medical Directors to




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 fraudulently operate and control the Surgicore ASCs, the Controllers, together with the other

 Defendants, held out the Surgicore ASCs to be properly licensed and operated in compliance with

 core licensing requirements when, in fact, they were not. In doing so, the Controllers perpetrated

 a fraud upon the public and Plaintiff, among others.

        51.      By allowing their names and licenses to be used to allow the Controllers and others

 unknown to Plaintiff to fraudulently operate and control the medical decision making, policies,

 procedures, patient assurance programs, and protocols, the Surgicore Medical Directors

 participated in and provided the essential means in furtherance of the scheme to defraud alleged

 herein that the Surgicore ASCs were in compliance with core licensing requirements of the states

 in which they were located when, in fact, they were not. In doing so, the Surgicore Medical

 Directors, together with the other Defendants, perpetrated a fraud upon the public, and Plaintiff,

 among others.

        52.      In contravention of the strong public policy concerns of New York and New Jersey

 State Legislatures in regulating the licensing of, and limiting the practice of medicine to, qualified

 professionals, the Controllers have circumvented the laws of these States and imperiled the safety

 and welfare of the public by installing sham medical directors.

        53.      Defendants repeatedly violated the laws established by the States of New York and

 New Jersey to protect the public for the purpose of converting money, in disregard of its impact

 on the premium-paying public.

        54.      Each of the Controllers have been the subject of insurance fraud complaints brought

 by insurers.

        55.      By way of example and not limitation, Defendant Controller Degradi has a long

 history of being sued for No-Fault insurance fraud, including for his alleged ownership of




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 fraudulently incorporated MRI facilities: Patchogue Open MRI, P.C., Main Street Medical

 Imaging, P.C., Southwest Medical Imaging, P.C., Lyons Medical, P.C., Instar Medical, P.C. (not

 named as defendants herein). See Farmington Cas. Co., et al. v. Patchogue Open MRI, P.C., et al.,

 22-cv-00999(E.D.N.Y. 2022); Gov’t Emp. Ins. Co. v. Lyons Medical, P.C., 20-cv-2089 (E.D.N.Y.

 2020); Allstate Ins. Co., et al. v. Payne, et al., 18-cv-3972 (E.D.N.Y. 2018).

        56.     As alleged in Allstate Ins. Co., et al. v. Mendoza, et al., 608378/2018, ECF No. 28

 (N.Y. Sup. Ct. [Nassau] Feb. 13, 2019), the alleged fraudulently incorporated MRI facilities in

 which Degradi was the true owner had an illegal referral relationship with one or more of the

 Surgicore ASCs, including but not limited to New Horizon ASC.

        57.     Defendant Controller Hatami has also been named in insurance fraud complaints,

 including those in which Degradi was a defendant in which he was also alleged to be an illegal

 owner of Main Street Medical Care P.C., a medical professional corporation in which, under New

 York State law, he was not entitled to own or maintain an interest. See Allstate Ins. Co., et al. v.

 Mendoza, et al., 608378/2018, ECF No. 28 (N.Y. Sup. Ct. [Nassau] Feb. 13, 2019); Roosevelt

 Road Re, Ltd. et al. v. Hajjar et al., 24-cv-1549, ECF No. 1 (E.D.N.Y. Mar. 1, 2024).

        58.     In furtherance of the scheme to defraud detailed herein, in or about 2018, the

 Controllers, created defendant Surgicore Management, one of the Defendant Surgicore

 Management Companies, in which they all maintain a financial interest.

        59.     In carrying out their scheme to defraud, Defendants stole tens of millions of dollars

 from American Transit by submitting fraudulent medical claims for persons who allegedly

 sustained injuries covered under the No-Fault Law.

        60.     Defendants’ activity promoted and facilitated other acts that caused losses to

 American Transit well beyond the insurance proceeds that Defendants collected for the Fraudulent




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 Services, including but not limited to the various medical services purportedly provided at and/or

 through referrals from the No-Fault Clinics that were intended to justify the Fraudulent Services

 provided at, by, and through the Surgicore ASCs when in fact such services were not medically

 necessary and were provided pursuant to the payment of kickbacks to the No-Fault Clinics by the

 providers purportedly providing services out of the No-Fault Clinics, including but not limited to

 the Surgicore Orthopedic Providers and Surgicore Pain Management Providers.

        61.     Other losses caused by Defendants’ fraudulent scheme included payments on

 bodily injury claims that were predicated on fraudulent medical records generated by and through

 the No-Fault Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services

 provided at, by, and through the Surgicore ASCs that inflated the nature and extent of Covered

 Persons’ injuries, resulting in bodily injury settlements and verdicts that would not have been paid

 but for the intentional inflation of the Covered Persons’ injuries.

        62.     At all relevant times mentioned herein, American Transit justifiably relied on the

 medical records submitted, or caused to be submitted, by the No-Fault Clinics and Defendants to

 make payment determinations in the processing of No-Fault, bodily injury, Supplementary

 Uninsured/Underinsured Motorist" (“SUM”), and Uninsured Motorist (“UM”) claims.

        63.     Since 2018, the Surgicore ASCs have submitted bills to American Transit in excess

 of $63 million in which they have been paid nearly $17 million for the Fraudulent Services.

        64.     Since 2018, in excess of 1,000 associated health care providers, including No-Fault

 Clinics and all of the other health care professionals who purportedly provided services at and/or

 based on referrals from the No-Fault Clinics, including but not limited to physicians, physical

 therapists, chiropractors, acupuncturists, diagnosticians, radiological services, durable medical

 equipment providers, pharmacies, orthopedists, podiatrists and pain management doctors who are




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 not named as defendants in this Complaint (collectively, the “Associated Health Care Providers”)

 have fraudulently billed American Transit in excess of $400 million for health care related services

 they purportedly provided to Covered Persons on the same claim files as the Surgicore ASCs in

 which they have been paid in excess of $100 million.

        65.     The Associated Health Care Providers, many of which have long been associated

 with No-fault fraud and operated out of multiple No-Fault Clinic locations in downstate New York

 based on referrals from the No-Fault Clinics where Covered Persons first reported for treatment

 following purported motor vehicle accidents (which reportedly involved minor impacts if they

 occurred at all) in which they reportedly alleged involvement suffered soft-tissue injuries, to the

 extent they were injured at all.

        66.     As alleged herein, the initial visit to the No-Fault Clinic triggered an array of billing

 for medically unnecessary services by the Associated Health Care Providers who, in exchange for

 paying kickbacks disguised as rent and/or other financial compensation to the No-Fault Clinics,

 treated the Covered Persons pursuant to a predetermined fraudulent protocol, including but not

 limited to initial and follow up examinations; physical therapy; chiropractic and acupuncture

 services multiple times per week; prescriptions for expensive pain medication and DME; referrals

 for a rash of diagnostic tests, including but not limited to X-rays, MRIs, NCV and EMGs,

 culminating with pain management and/or orthopedic examinations that resulted in the Defendants

 submitting bills to American Transit for the Fraudulent Services provided at, by, and through the

 Surgicore ASCs.

        67.     In furtherance of Defendants’ scheme to defraud alleged herein, and pursuant to the

 established predetermined fraudulent protocol, the initial consultations and follow-up visits at the

 No-Fault Clinics created and maintained the illusion of serious injuries by uniformly and falsely




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 reporting the nature of Covered Persons’ purported injuries and slow response to treatment, a

 misrepresented fact that was used to justify further consultations, testing, treatment, as well as the

 pain management and orthopedic consultations at the No-Fault Clinics that are followed by

 interventional pain management and/or orthopedic procedures and/or surgeries at one or more of

 the Surgicore ASCs where they also receive anesthesia by or through one of the Defendant

 Surgicore Anesthesia Providers. As demonstrated in Exhibit “1,” by the conclusion of their

 treatment, each Covered Person would receive virtually identical examinations, modality services,

 DME, prescriptions for pain medication, referrals for expensive diagnostic tests and consultations

 for one or more interventional pain management and/or orthopedic procedures and/or surgeries

 provided at, by, and through the Surgicore ASCs.

        68.     The Controllers and/or others acting under their direction and control, including

 through one or more of the Surgicore ASCs and/or Controller Ancillary Entities (as defined

 herein), paid kickbacks and/or entered into other compensation arrangements with the No-Fault

 Clinics and/or the Surgicore Orthopedic Providers, Surgicore Pain Management Providers and

 Surgicore Anesthesia Providers that, together with the Associated Health Care Providers operating

 from those clinics, would provide the necessary pretext to justify the Fraudulent Services. Through

 the myriad of services purportedly provided at, by, and through the No-Fault Clinics, Defendants

 intended to have a bogus medical history developed to justify the Fraudulent Services.

        69.      But for the No-Fault Clinics and Associated Health Care Providers developing the

 bogus medical history to justify the Fraudulent Services, Defendants could not have carried out

 their scheme in which they paid for the referrals of Covered Persons supported by bogus

 documented medical histories that they knew reflected medically unnecessary treatments and

 diagnostic tests to bill for the Fraudulent Services.




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         70.    The Surgicore Orthopedic Providers and Surgicore Pain Management Providers

 paid kickbacks, disguised as rent and/or entered into other financial arrangements, to the No-Fault

 Clinics to conduct initial examinations at the No-Fault Clinics on Covered Persons who invariably

 would perform one or more of the Fraudulent Services provided at, by, and through the Surgicore

 ASCs.

         71.    The Fraudulent Services provided at, by and through the Surgicore ASCs resulted

 in tens of millions of dollars in billing and collections from American Transit for the Controllers,

 derived from the Surgicore ASCs.

         72.    As a direct and proximate result of the Defendants’ scheme to defraud alleged

 herein, the Associated Health Care Providers, including the No-Fault Clinics billed and/or

 collected from American Transit over $400 million.

         73.    The Fraudulent Services were provided in furtherance of a fraudulent scheme to

 intentionally inflate the bodily injury claims of the Covered Persons who were represented by

 attorneys with whom the Defendants and/or No-Fault Clinics, acting in concert, had established

 codependent relationships in which certain attorneys, who are not named as defendants in this

 Complaint, referred the Covered Persons for the performance of the Fraudulent Services by, at,

 and through the Surgicore ASCs.

         74.    As a direct result of the Defendants’ intentional inflation of bodily injury claims

 through the purported provision of the Fraudulent Services, American Transit has paid nearly $30

 million in connection with bodily injury lawsuits based on the provision of medically unnecessary

 services which, if at all, were rendered pursuant to a predetermined fraudulent protocol.

         75.    As a direct result of the Defendants’ intentional inflation of bodily injury claims

 through the purported provision of the Fraudulent Services, American Transit projects that, unless




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 the fraud alleged herein is arrested through the filing of this action, that it will pay, in the future,

 approximately $48 million to settle additional bodily injury lawsuits that are pending as of the date

 of the filing of this complaint.

        76.       As a direct result of the Defendants’ intentional inflation of bodily injury claims

 through the purported provision of the Fraudulent Services, American Transit has paid nearly $7

 million in connection with SUM and UM claims based on the provision of medically unnecessary

 services which, if rendered at all, were rendered pursuant to a predetermined fraudulent protocol.

        77.       As a direct result of the Defendants’ intentional inflation of bodily injury claims

 through the purported provision of the Fraudulent Services, American Transit projects that, unless

 the fraud alleged herein is arrested through the filing of this action, that it will pay, in the future,

 approximately $3 million to settle additional SUM and UM claims that are pending as of the date

 of the filing of this complaint.

        STATUTORY/REGULATORY BACKGROUND OF SYSTEMATIC FRAUD

        78.       The three principal objectives for enacting the No-Fault Law were: “[1] to ensure

 prompt compensation for losses incurred by accident victims without regard to fault or negligence,

 [2] to reduce the burden on the courts and [3] to provide substantial premium savings to New York

 motorists,” while concomitantly achieving cost containment and fraud prevention. Medical Society

 of State v. Serio, 100 N.Y.2d 854, 860, 870 (N.Y. 2003).

        79.       Notwithstanding the Legislature’s intentions, the legislative objectives have not

 been achieved.

        80.       Since its enactment, the No-Fault Law’s mandated minimum basic coverage of

 $50,000 ($200,000 for commercial auto-insurers like American Transit) per eligible injured person




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 has provided a powerful incentive for insurance fraud rings and unscrupulous providers to seek to

 exploit a No-Fault system that lends itself to fraud and abuse.

        81.     According to the Insurance Information Institute, the cumulative cost of No-Fault

 fraud between 2005 and 2009 was at least $617,000,000.00, which had adverse financial impacts

 on both consumers and insurers.

        82.     The New York Court of Appeals has recognized that the New York No-Fault

 industry is plagued by systematic fraud. See Medical Soc’y of N.Y., Inc. v. Serio, 100 N.Y.2d 854,

 860-862 (2003) (explaining that “no-fault fraud rose from 489 cases in 1992 to 9,191 in 2000, a

 rise of more than 1700%” and that “the combined effect of no-fault insurance fraud has been an

 increase of over $100 per year in annual insurance premium costs for the average New York

 motorist.”).

        83.     In a 2005 decision, the Court of Appeals found that abuse “abounds” in the No-

 Fault industry. Pommells v. Perez, 4 N.Y.3d 566, 570-571 (2005).

        84.     In a November 2011 opinion, the Court of Appeals found that “[n]o-fault abuse still

 abounds today.” Perl v. Meher, 18 N.Y.3d 208, 214 (N.Y. Nov. 22, 2011).

        85.     The Court of Appeals finding was echoed by New York State Senator James L.

 Seward, Chair of the Senate’s Insurance Committee, when he exclaimed that “New York’s no-

 fault auto insurance system is broken and needs to be fixed now.” See “Save on Auto Insurance,

 Cut ‘Fraud Tax’,” Published on New York State Senate, Feb. 8, 2011, attached as Exhibit “2” (also

 available at www.nysenate.gov).

        86.     Estimates of the cost of No-Fault fraud and abuse in New York reached $241

 million for 2010. See “No-Fault Insurance Fraud in New York State is Ramping Up Premiums,”

 Insurance Information Institute (available at http://www.iii.org/article/no-fault-insurance-fraud-




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 in-ny-state.html). The total cost of No-Fault fraud and abuse in New York between 2005 and early

 2011 was estimated to likely exceed $1 billion. Id.

         87.     The Insurance Information Institute noted that no-fault fraud is a lucrative business,

 “earning unethical medical providers and their accomplices an average of nearly $628,000 per

 day” in 2009 and $660,275 per day in 2010. Id.

         88.     Systematic No-Fault fraud persists today despite attempts by the New York State

 Department of Financial Services (“DFS”) to implement countermeasures, including requiring that

 all excessive medical treatment is reported and that claim submissions contain certain standard

 forms that must be completed and signed. (See e.g. Jesse O’Neill, Feds Bust Doctors, Law Firm

 Workers, NYPD Officer in $100M Fraud Scheme, New York Post (Jan. 14, 2022, 7:43 AM),

 https://nypost.com/2022/01/13/doctors-law-workers-nypd-officer-bilked-100m-fraud-feds/.)

         89.     In 2018, through promulgation of the Thirty-Third Amendment to 11 N.Y.C.R.R.

 68 (“Regulation 83”), DFS sought to address the abusive billing practices of out-of-state healthcare

 providers seeking reimbursement under the No-Fault Law for providing services to individuals

 referred by No-Fault Clinics located in New York to ambulatory surgical centers in New Jersey

 that bill for surgical procedures such as MUAs, trigger point injections, and arthroscopies at rates

 that have no relation to those under fee schedules that might exist in the service-providers’ home

 states or, if there is no fee schedule, bare no relation to the prevailing rate in the geographic location

 for where the services were rendered.

         90.     In support of the amendment of Regulation 83, DFS stated it was addressing the

 ongoing abuse of the No-Fault system concerning out-of-state providers who, “taking advantage

 of current provisions in the regulation, submit grossly inflated bills for services rendered, thus




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 quickly depleting the $50,000 no-fault coverage limit available to an eligible injured party.” See

 DFS Assessment of Public Comments.

        91.     With an effective date of January 23, 2018, Regulation 83 limits reimbursement for

 out-of-state providers to the lesser of (1) the amount of the fee set forth in the region of this State

 that has the highest applicable amount in the fee schedule for that service; (2) the amount charged

 by the provider; and (3) the prevailing fee in the geographic location of the provider.

        92.     The Defendant Surgicore New Jersey ASCs and the New Jersey professional

 corporations and limited liability companies through which the Surgicore Orthopedists, Surgicore

 Pain Management Doctors and Surgicore Anesthesiologists billed insurers are emblematic of the

 abusive out-of-state billing practice Regulation 83 sought to address.

        93.     All of the bills for one or more of the Fraudulent Services submitted by the

 Surgicore Health Care Providers to American Transit involved insurance policies issued by

 American Transit in New York State to New York policyholders. Nearly all of such bills related

 to purported medical services to Covered Persons who reportedly were involved in low-impact

 automobile collisions occurring (if at all) in New York State, and who were purportedly treated at

 New York No-Fault Clinics, evaluated at those same New York No-fault clinics by the same

 doctors or medical practices, including the Surgicore Orthopedists and/or Surgicore Pain

 Management Doctors, who ultimately purportedly performed the Fraudulent Services, and

 transported across state lines by or through the Defendants and/or companies they control or with

 which they are associated to the Surgicore New Jersey ASCs for medically unnecessary services

 at facilities that were not properly licensed in accordance with applicable law.

        94.     Notwithstanding legislative and administrative efforts, No-Fault fraud continues to

 exponentially grow under the current laws and regulations. The latest report from the Coalition




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 Against Insurance Fraud, published in August 2022, found that insurance fraud today costs

 consumers and businesses $308.6 billion annually, with property & casualty insurance fraud

 (which includes auto insurance) accounting for $45 billion of that cost, and auto theft fraud totaling

 $7.4 billion of that cost.

         95.     One of the biggest drivers of No-Fault fraud is billing for bogus medical services

 through fraudulently incorporated professional corporations and ambulatory surgical centers that

 are improperly licensed under Article 28 of the Public Health Law.

         96.     Many of the No-Fault Clinics bill for services that were not provided, pursuant to

 illicit kickback arrangements and/or pursuant to a predetermined fraudulent protocol designed to

 justify and maximize expensive, medically unnecessary services.

         97.     Many of the Covered Persons treated at No-Fault Clinics are referred by runners or

 individuals who are paid by the clinics for making such referrals or by law firms who, in exchange

 for the referrals, are assured that the Covered Persons will receive a regimen of medically

 unnecessary treatments and diagnostic testing, culminating in the purported performance of one or

 more of the Fraudulent Services by one or more of the Surgicore ASCs. The regimen of services,

 including the Fraudulent Services is intended to, and does in fact, inflate the potential value of the

 bodily injury claims that are filed by the law firms on behalf of the Covered Persons.

         98.     Recognizing that the No-Fault system was uniquely susceptible to fraudulent

 schemes, Defendants embarked on a years-long campaign to enrich themselves through a

 sophisticated scheme to defraud that exploited the high reimbursement rates available to ASCs.

         99.     The Defendants executed, and continue to carry out, a scheme to defraud that is

 unprecedented in its magnitude and ambition to exploit the New York State No-Fault Law through




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 the fraudulent proliferation of illegally operated ASCs(including but not limited to the Surgicore

 ASCs) throughout New York and New Jersey.

        100.    The Defendants, through the Surgicore ASCs, have constructed a complex web of

 management companies and entities through which the Controllers hide behind to conceal their

 illegal operation of the medical dictates, policies, and patient care that the States of New York and

 New Jersey entrust by statute to licensed physicians.

        101.    Through the cross-pollination of services provided by multiple Surgicore ASCs

 purportedly providing services and/or billing for facility fees on the same claim files as the No-

 Fault Clinics, Defendants have unleashed a brazen attack on the No-Fault system in which they

 are attached and/or associated with other pay-to-play providers in billing insurers hundreds of

 millions of dollars. By way of example and not limitation, attached as Exhibit “3” is a list of more

 than 800 claims in which more than one ASC billed on the same claim file.

        102.    Not only did the Defendants provide the Fraudulent Services at, by, and through

 the Surgicore ASCs, in numerous instances, they also billed for such Fraudulent Services that other

 ASCs (the “Non-Party Network”), which are not named as defendants in this Complaint have

 billed to the same Covered Persons.

        103.    The Non-Party Network included, among others, Hackensack Specialty ASC LLC

 f/k/a Dynamic Surgery Center LLC, Excel Surgery Center LLC, Integrated Specialty ASC LLC

 f/k/a Healthplus Surgery Center LLC, Hudson Regional Hospital, Citimed Surgery Center,

 Triborough ASC, Accelerated Surgical Center, and Barnert Surgical Center, which have been

 alleged in lawsuits brought by American Transit and other insurers of fraudulently billing for the

 same types of services that are the subject of this Complaint. See Gov’t Emp. Ins. Co., et al v.

 Moshe et al., 20-cv-1098-FB-RER (E.D.N.Y. 2020); State Farm Mutual Automobile Ins. Co., et




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 al. v. Metro Pain Specialists P.C. et al., 21-cv-5523-MKB-PK (E.D.N.Y. 2021); Gov’t Emp. Ins.

 Co., et al. v. Accelerated Rehab and Pain Management, PA, 20-cv-16361-KM-ESK (D.N.J. 2020).

 Attached as Exhibit “4” is a list of claims in which one or more Surgicore ASCs and one or more

 Non-Party Network ASCs billed for procedures and/or pain management services to the same

 Covered Persons.

        104.    On information and belief, every aspect of the Defendants’ operation is driven by

 fraud, forging kickback relationships with referring providers, including orthopedists and pain

 management doctors, providing a haven for the billing of medically unnecessary services and

 providing personal injury attorneys with medical records that intentionally inflate the value of

 potential settlements and jury verdicts.

        105.    As detailed and alleged herein, many of the Surgicore Orthopedic Providers and

 Surgicore Pain Management Providers who performed one or more of the Fraudulent Services at

 the Surgicore ASCs received kickbacks from the Controllers in the form of non-disclosed

 ownership interests in one or more of the Surgicore ASCs and/or other financial compensation.

        106.    To avoid any statutory notice or disclosure requirements that might be triggered if

 they had an ownership interest in the Surgicore ASCs where the surgeries or procedures are

 performed and to further conceal their relationship with the Surgicore ASCs, the Controllers give

 the Surgicore Orthopedists interests in Surgicore ASCs where they do not perform any such

 services.

        107.    The No-Fault Clinics, through which the Surgicore Orthopedic Providers and

 Surgicore Pain Management Providers purportedly examine the Covered Persons before

 performing medically unnecessary surgeries and/or interventional pain management procedures at

 a Defendant Surgicore ASC, receive kickbacks from one or more of the Defendants.




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         108.    The kickbacks paid by one or more of the Defendants to the No-Fault Clinics are

 disguised as “rent” that, in actuality, reflect a “pay-to-play” system that ensures a steady stream of

 Covered Persons to the Surgicore ASCs.

         109.    At all relevant times mentioned herein, in furtherance of the scheme to defraud, the

 Surgicore Orthopedic Providers knowingly performed medically unnecessary procedures on

 Covered Persons, pursuant to a predetermined fraudulent protocol, including arthroscopies,

 performed at Surgicore ASCs for which the Controllers, through Surgicore ASCs, bill American

 Transit thousands of dollars in facility fees for each such procedure.

         110.    At all relevant times mentioned herein, the Surgicore Orthopedic Providers knew

 that the Covered Persons were involved in minor impact accidents in which they suffered soft

 tissue injuries to the extent they were injured at all.

         111.    At all relevant times mentioned herein, in furtherance of the scheme to defraud, the

 Surgicore Pain Management Providers performed medically unnecessary interventional pain

 management services on Covered Persons pursuant to a predetermined fraudulent protocol,

 including but not limited to trigger point injections, epidural steroid injections, epidurograms,

 discograms, percutaneous discectomies, and IDETs, performed at the Surgicore ASCs for which

 the Controllers, through the Surgicore ASCs, bill American Transit thousands of dollars in facility

 fees for each such service.

         112.    At all relevant times mentioned herein, the Surgicore Pain Management Providers

 knew that the Covered Persons were involved in minor impact accidents in which they suffered

 soft tissue injuries to the extent they were injured at all.

         113.    Central to the Controllers’ scheme to defraud was establishing the illicit financial

 relationships with the No-Fault Clinics, Surgicore Orthopedic Providers and Surgicore Pain




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 Management Providers to perform the Fraudulent Services at the Surgicore ASCs, through which

 the Controllers could maximize reimbursement for Facility Fees for each such service. As detailed

 and alleged below, based on the findings of biomechanical engineers, at least 450 reported

 accidents in which Covered Persons received surgeries, procedures, and pain management services

 at one or more of the Surgicore ASCs were the product of collisions that as a matter of physics

 could not have produced the claimed injuries and/or were not causally related to an automobile

 collision. Attached as Exhibit “5” is a list of 450 Covered Persons who were purportedly involved

 in collisions in which the force of the impact, the load and/or Covered Persons’ positioning in the

 vehicle at the time of impact were found not to be causally related to the reported injuries but

 nevertheless reported to one or more of the Surgicore ASCs where they allegedly received one or

 more surgeries, procedures, and/or pain management services eventually billed to American

 Transit.

        114.    As detailed and alleged below, demonstrating that the Defendants’ scheme was

 motivated by greed rather than medical necessity, the Surgicore ASC routinely performed

 multiples surgeries, procedures, and/or pain management services on Covered Persons, even

 though they were involved, if at all, in minor impact accidents in which, if they were injured at all,

 they suffered soft-tissue injuries. Attached as Exhibit “6” is a list of Covered Persons that

 reportedly received one or more surgeries, procedures, and/or pain management services despite

 either refusing medical attention at the scene of the reported accident or never seeking emergency

 medical care following the incident. Attached as Exhibit “7” is a list of claims in which the Covered

 Persons received one or more surgeries, procedures, and/or pain management services in which

 the Covered Persons initially reported suffering soft-tissue injuries, such as a sore shoulder, knee,

 and/or back but were discharged from the emergency room without any objective finding of injury.




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        115.    As detailed and alleged below, demonstrating that Defendants’ scheme was

 motivated by greed rather than medical necessity, the Surgicore Health Care Providers routinely

 performed surgeries, procedures, and pain management services on areas of the Covered Persons’

 body even though they initially reported pain to a different part of their body to (1) emergency

 room personnel; or (2) to the doctor at the No-Fault Clinic they went to after the reported accident.

        116.    By way of example and not limitation, Covered Person J.A., Claim no.1105535-01,

 was reportedly involved in an automobile collision on November 8, 2021, Covered Person J.A.

 was taken from the scene of the reported incident to the emergency room and complained of pain

 in their chest, back, and left leg. Notwithstanding this, after undergoing a protocol of treatment at

 the No-Fault Clinic, surgery was performed on J.A.’s shoulder at Defendant Empire State ASC.

 Attached as Exhibit “8” is list identifying a representative sample of claims where the Covered

 Person initially reported areas of pain that were different than the body parts in which the Surgicore

 ASCs performed surgeries.

        117.    At all times relevant herein, Defendants submitted or caused to be submitted bills

 and supporting documentation that are fraudulent in that they represent services were performed

 and were medically necessary and reimbursable when, in fact, they were not.

        118.    Defendants, acting in concert with the No-Fault Clinics and Associated Health Care

 Providers, submitted or caused to be submitted bills and supporting documentation to American

 Transit for the Fraudulent Services and related services detailed above. These bills and supporting

 documentation are fraudulent because the services were not reimbursable and/or were not

 medically necessary.

        119.    Further, the success of Defendants’ scheme depends on concealing from American

 Transit and other insurers the existence of the improper operation of the Surgicore ASCs; financial




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 arrangements among Defendants, as well as the No-Fault Clinics, and the predetermined ttreatment

 protocol to induce insurers to pay for Defendants’ Fraudulent Services and related services.

        120.    As alleged herein, to conceal the nature and breath of their scheme to defraud

 alleged herein, Defendants hid behind a confederation of corporations in which they doled out

 supposed “investment interests” and/or other financial interests to numerous complicit parties,

 including the Surgicore Orthopedic Providers, Surgicore Pain Management Providers, the

 Controllers’ family members and/or close associates and so-called administrators. Defendants also

 developed a large network of orthopedists and pain management doctors to perform one or more

 of the Fraudulent Services at the Surgicore ASCs to further conceal the scheme by, among other

 things, submitting multiple bills from multiple providers and by changing providers operating at,

 by, and through the Surgicore ASCs. Defendants submit bills in this manner because they know

 insurers like American Transit, who under the No-Fault Law have strict truncated deadlines within

 which to pay or deny claims rely on the contents of each individual, facially valid bill and related

 supporting documentation to make a payment determination.

        121.    As part of the Defendants efforts to conceal the scheme, Defendants avoided and/or

 obfuscated attempts to verify the claims submitted to American Transit. By way of example, at all

 relevant times mentioned herein, through requests for additional verification in the form of

 examinations under oath (“EUO”) in accordance with the No-Fault regulations, 11 N.Y.C.R.R. §

 65-3.5, American Transit sought to verify that the Surgicore ASCs were properly licensed in

 accordance with applicable state laws and therefore eligible for reimbursement of No-Fault

 benefits; that the billed for services were not provided pursuant to an illegal kickback arrangement

 with the No-Fault Clinics and/or the Surgicore Orthopedic Providers and Surgicore Pain




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 Management Providers; and that the billed for services were not provided pursuant to a

 predetermined fraudulent protocol and the billed for services were provided as billed.

        122.    Towards that end, in late 2023, American Transit began noticing the Surgicore

 ASCs for EUOs related to submitted claims and has continued to do so through the filing date of

 this Complaint.

        123.    In or about early 2024, the Surgicore ASCs, through their counsel, agreed to submit

 to the respective EUOs in accordance with the No-Fault Law in which Defendant Zybin would

 appear on behalf of All City ASC and North Queens ASC and other administrators or

 representatives would appear on behalf of the remaining Surgicore ASCs, with the EUOs being

 conducted in succession on different days until they were completed.

        124.    Notwithstanding the Surgicore ASCs initially agreeing they would comply with

 American Transit’s request for additional verification by submitting to an EUO, with the exception

 of All City ASC, the Surgicore ASCs ultimately refused to appear for their respective EUOs to

 verify the Surgicore ASCs’ claims for reimbursement under the No-Fault Law.

        125.    With respect to All City ASC, Defendant Zybin, the administrator for All City ASC,

 appeared for an EUO on March 12, 2024 and April 11, 2024.

        126.    During the EUO, Zybin testified that, notwithstanding that she has an ownership

 interest in All City ASC, she does not have a college degree or possess any licenses or certifications

 in health care or health care administration or qualifications concerning the administration of

 ASCs. She also testified that she started working behind the reception desk at All City ASC in

 1998 or 1999, when she 19 and was promoted to administrator in 2012 or 2013 by All City ASC’s

 original owner, Nasser Hassan (not named as a defendant herein) who converted his then multi-




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 disciplinary practice to an ASC in or about November 2010. Zybin’s employment continued her

 family’s connection to All City ASC in that her mother Rosa Pokh had previously worked there.

        127.    Zybin testified that, in or about 2017, Nasser Hassan sold All City ASC to the

 Controllers.

        128.    During All City ASC’s EUO, Zybin provided largely evasive testimony

 concerning, among other things, the Controllers; the Controllers’ respective interests and roles in

 All City ASC and the Surgicore ASCs; the Controllers’ associated management, services, and real

 estate companies; the Surgicore Medical Directors; patient quality assurance and medical policies,

 procedures, and protocols; referral network, ownership, and/or investment interests of the

 Surgicore Owners; and relationships and any financial arrangements All City ASC and/or the

 Controllers had with the Surgicore Orthopedic Providers and Surgicore Pain Management

 Providers.

        129.    Based on the topics that were the subject of the All City ASC EUO, including but

 not limited to the ownership interests of the various Surgicore Owners, Surgicore Orthopedic

 Providers and Surgicore Pain Management Providers, coupled with Zybin’s evasive answers,

 following All City ASC’s continued EUO on April 11, 2024, the Surgicore ASCs refused to

 comply with American Transit’s request for an EUO.

        130.    On information and belief, the Surgicore ASCs’ refusal to comply with American

 Transit’s request for an EUO was decided by the Controllers and/or others acting at their direction.

        131.    In electing not to appear for an EUO, the Controllers sought to and did further

 conceal their illegal and improper operation of the Surgicore ASCs; the ownership interests of

 various co-conspirators, including but not limited to the Surgicore Orthopedic Providers, Surgicore

 Pain Management Providers, and purported administrators, like Defendant Zybin; the payment of




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 kickbacks that were disguised in the numerous ways alleged herein; the purported provision of the

 Fraudulent Services that were dependent upon a predetermined fraudulent protocols and treatment

 plans that originated at the No-Fault Clinics and continued at, by, and through the Surgicore ASCs.

        132.       The Controllers’ decision not to produce the Surgicore ASCs (except All City

 ASC) for an EUO allowed Defendants to continue to execute the scheme to defraud detailed in

 this Complaint.

        133.    As a foreseeable, direct, and proximate result of the Defendants’ scheme to defraud

 alleged herein, American Transit has paid in excess of $30 million in bodily injury settlements and

 $7 million in supplemental underinsured motorists (“SUM”) and uninsured motorists (“UM”)

 claims that were the product of medically unnecessary surgeries, pain management services and

 procedures purportedly performed by the Surgicore ASCs on individuals who filed lawsuits and/or

 bodily injury claims who were involved, if at all, in minor impact accidents in which they suffered

 soft-tissue injuries and/or otherwise were uninjured but nevertheless received aggressive

 treatments and diagnostic testing at purported No-Fault Clinics, culminating in the submission of

 bills to American Transit for unnecessary surgeries, procedures and pain management services by

 the Surgicore ASCs that were performed, if at all, pursuant to illegal kickbacks and other improper

 compensation arrangements for referrals to maximize reimbursement of No-Fault benefits for the

 Surgicore ASCs, while inflating the potential value of bodily injury and SUM/UM claims for the

 benefit of one or more attorneys and/or law firms (sued herein as one or more of the John Does 2

 through 20 and/or ABC Corporations 1 through 20).

        134.    As a foreseeable, direct, and proximate result of the Defendants’ scheme to defraud

 alleged herein, American Transit anticipates paying out approximately $48 million in additional

 bodily injury settlements and approximately $3 million in additional SUM and UM claims,




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 resulting from medically unnecessary surgeries, pain management services and procedures

 purportedly performed by the Surgicore ASCs on individuals who filed lawsuits and/or bodily

 injury claims who were involved, if at all, in minor impact accidents in which they suffered soft-

 tissue injuries and/or otherwise were uninjured.

         135.    The attorneys and/or law firms paid runners to refer individuals who were involved

 in intentionally caused motor vehicle collisions or were involved in minor impact accidents where

 they suffered soft-tissue injuries to the extent they suffered any injuries at all.

         136.    At all relevant times mentioned herein, the attorneys and/or law firms knew that the

 individuals referred to them by the runners involved fictitious claims and injuries in which,

 complicit with the Defendants, they had their clients undergo various surgeries, procedures, and

 pain management services at and through the Surgicore ASCs, exposing them to unnecessary

 health risks associated with undergoing such unnecessary surgeries, procedures, pain management

 services, and anesthesia.

         137.    At all relevant times mentioned herein, Controllers, through the Surgicore ASCs

 submitted and continue to submit bills and/or seek collection for payment to No-Fault insurers, in

 general, and American Transit in particular, for one or more of the Fraudulent Services.

         138.    At all relevant times mentioned herein, the Surgicore Orthopedic Providers,

 through their respective professional corporations, submitted and continue to submit bills and/or

 seek collection for payment to No-Fault insurers, in general, and American Transit in particular,

 for procedures and related services.

         139.    At all relevant times mentioned herein, the Surgicore Pain Management Providers,

 through their respective professional corporations, submitted and continue to submit bills and/or




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 seek collection for payment to No-Fault insurers, in general, and American Transit in particular,

 for pain management related services.

        140.    At all relevant times mentioned herein, the Surgicore Anesthesia Providers, through

 their respective professional corporations and/or entities, submitted and continue to submit bills

 and/or seek collection for payment to No-fault insurers, in general, and American Transit in

 particular, for anesthesiology related services.

        141.    Under the fraudulent schemes alleged herein, the Surgicore ASCs bill for facility

 fees related to the Fraudulent Services in excess of the prevailing fee schedules and in violation of

 the applicable state laws of New York and New Jersey governing the lawful operation of ASCs.

        142.     In contravention of the strong public policy concerns of the state legislatures of

 New York and New Jersey, in regulating the licensing of, and limiting the practice of medicine to,

 qualified professionals, the Controllers have circumvented the laws of the State and imperiled the

 welfare of the public by engaging in the wholesale purchase and misuse of the Surgicore Medical

 Directors’ medical licenses.

        143.    On information and belief, Defendants repeatedly violated the laws established by

 the States of New York and New Jersey to protect the public from the unlicensed practice of

 medicine for the purpose of converting money, in disregard of its impact on the premium-paying

 public and insurers.

        144.    Every aspect of Defendants’ fraudulent scheme was motivated by money and greed,

 without regard to the grave harm inflicted on the public at large by the Surgicore ASCs, which

 held themselves out as being legitimate ASCs when, in fact, they were not.




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           145.   The practices alleged herein were conducted willfully, with the sole object of

 converting money, in utter disregard of their impact on the premium-paying public and insurers in

 flagrant disregard of the rules and laws governing provision of services under the No-Fault Law.

           146.   The fraudulent billing activity described herein not only is an imminent and

 ongoing threat to consumers’ health, but it drains the limited health care resources of this country,

 resources which are already under strain to meet legitimate healthcare needs. The New York State

 DFS and insurance committees in both the New York State Senate and Assembly each estimate

 that No-Fault insurance fraud is costing New York State consumers more than one billion dollars

 a year.

           147.   The duration, scope, and nature of all Defendants’ illegal conduct brings this case

 well within the realm of criminal conduct to which the Racketeer Influenced and Corrupt

 Organizations Act (“RICO”) applies. Defendants did not engage in sporadic acts of fraud—

 although that would be troubling enough—they adopted a fraudulent blueprint as their business

 plan and used it to participate in a systematic pattern of racketeering activity. Every facet of

 Defendants’ operations, from the improper licensure of the Surgicore ASCs; the securing and

 recruiting of a patient population for which they could bill No-Fault insurers, in general, and

 American Transit in particular, for the Fraudulent Services through an elaborate kickback/referral

 scheme, to generating fraudulent supporting medical documents that misrepresented the medical

 necessity of the billed for services, which were predicated upon a predetermined fraudulent

 protocol, and/or that the services were provided as billed, was carried out for the purpose of

 committing fraud.

           148.   The No-Fault Law is a statutory creation, in derogation of the common law, and

 must be strictly construed. This lawsuit seeks to, among other things, enforce the plain language




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 of the No-Fault Law and the implementing regulations, as well as its underlying public policy,

 which limits reimbursement of No-Fault benefits to properly licensed ASCs. In doing so, Plaintiff

 seeks compensatory and punitive damages and declaratory judgments that Plaintiff is not required

 to pay any No-Fault claims from the Surgicore ASCs that seek reimbursement for any medical

 services: (1) because they are not properly licensed, in that they have been and continue to be

 operated without a medical director in accordance with applicable state laws due to the Surgicore

 ASCs fraudulent incorporation and/or control/ownership by non-physicians; and (2) as a result

 from unlawful kickback, referral, fraudulent billing, and/or illegal fee-splitting activities. Thus,

 American Transit seeks a declaration that it is not legally obligated to pay reimbursement on more

 than $60,000,000.00 in pending billed for Fraudulent Services submitted, or caused to be

 submitted, by the Defendants through the Surgicore ASCs, Surgicore Orthopedic Providers,

 Surgicore Pain Management Providers, and Surgicore Anesthesia Providers.

        149.    Such claims continue to be submitted by and/or in the name of the Surgicore Health

 Care Providers and are, or can be, the subject of No-Fault collection actions and/or arbitrations to

 recover benefits, and thus constitute a continuing harm to Plaintiff.

        150.    By way of example and not limitation, annexed hereto as Exhibit “9” is a

 representative sample list of the No-Fault claims that Plaintiff paid to Defendants, to which

 Defendants were not entitled because of their fraudulent corporate structure and/or because they

 resulted from unlawful kickback, referral, fraudulent billing, and/or illegal fee-splitting schemes.

 By way of further example and not limitation, annexed hereto as Exhibit “10” is a non-exhaustive

 list of the No-Fault claims that form the basis of Plaintiff’s request for declaratory relief. Said

 spreadsheets are grouped by claim number, PC, date of service and the amount billed. By way of

 further example but not limitation, annexed hereto as Exhibit “11” is a non-exhaustive list of




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 Associated Health Care Providers and the amounts each were paid by American Transit on the

 same claim files as the Surgicore ASCs.

                                   NATURE OF THE ACTION

        151.    This action is brought pursuant to:

                (a)     The United States Racketeer Influenced and Corrupt Organizations
                        Act (“RICO”), 18 U.S.C. §§ 1961, 1962(c), and 1964(c);

                (b)     New York state common law; and

                (c)     The Federal Declaratory Judgment Act; 28 U.S.C. §§ 2201, 2202

                                 NATURE OF RELIEF SOUGHT

        152.    Plaintiff seeks treble damages that they sustained as a result of the Defendants’

 schemes and artifices to defraud, and the Defendants’ acts of mail fraud (pursuant to 18 U.S.C. §

 1341), in connection with their use of the facilities of the No-Fault system and its assignment of

 benefits mechanism to fraudulently obtain payments from Plaintiff for medical services

 Defendants allegedly rendered to Covered Persons.

        153.    Plaintiff seeks compensatory damages to recover from Defendants all payments

 made to the Surgicore ASCs, Surgicore Orthopedic Providers, Surgicore Pain Management

 Providers, Surgicore Anesthesia Providers, Associated Health Care Providers, and the Surgicore

 Medical Network Enterprise as those terms are defined herein, together with punitive damages to

 recover payments made to the Defendants because they fraudulently obtained payments from

 Plaintiff for services purportedly rendered pursuant to and as a result of unlawful referrals,

 fraudulent billing, and/or illegal fee-splitting schemes.

        154.    Plaintiff further seeks recovery of the No-Fault claim payments made under the

 independent theory of unjust enrichment.

        155.    Plaintiff also seeks a judgment declaring that:



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               (a)    Plaintiff is under no obligation to pay any of the Surgicore ASCs
                      because they were, and continue to be, fraudulently operated in
                      violation of the substantive licensing, regulatory, and applicable
                      operating laws and requirements of New York and/or New Jersey;

               (b)    The Defendant Surgicore Health Care Providers as defined herein
                      are not entitled to recover No-Fault benefits for any health care
                      related services because Defendants engaged in a scheme to defraud
                      New York automobile insurers using unlawful fee-splitting,
                      kickbacks, and illegal referral arrangements with unlicensed persons
                      in violation of New York and New Jersey law to fraudulently bill
                      Plaintiff for medically unnecessary services;

               (c)    Surgicore Health Care Providers’ No-fault claims because the
                      billed-for services, to the extent they were provided at all, were not
                      provided as billed;

               (d)    Plaintiff is under no obligation to pay any of the Defendant
                      Surgicore Health Care Providers’ No-fault claims because the
                      billed-for services were not medically necessary and were provided
                      pursuant to a pre-determined course of treatment irrespective of
                      medical necessity, to the extent they were provided at all;

               (e)    Plaintiff is under no obligation to pay any of the Defendant
                      Surgicore Health Care Providers’ No-fault claims because the
                      billed-for Fraudulent Services, to the extent provided at all, were
                      performed pursuant to unlawful kickback or referral arrangements
                      and a predetermined fraudulent protocol to maximize billing for
                      medically unnecessary services; and

               (f)    Plaintiff is under no obligation to pay any of the Defendant
                      Surgicore Health Care Providers’ because the CPT codes used to bill
                      for the Fraudulent Services misrepresented and exaggerated the
                      services purportedly provided in order to inflate the charges
                      submitted to Plaintiff, such that they were not reimbursable.

        156.   As a result of Defendants’ actions alleged herein, Plaintiff was defrauded of an

 amount in excess of $153,000,000.00, the exact amount to be determined at trial, in payments

 which Defendants received for fraudulently billing Plaintiff for purported medical services

 provided by the improperly licensed and operated Surgicore ASCs and unlawful kickbacks and




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 referrals, pursuant to a predetermined fraudulent protocol in which the billed-for services were

 provided, if at all, irrespective of medical need.

                                            THE PARTIES

 I.     Plaintiff

        157.    Plaintiff American Transit Insurance Company is a corporation duly organized and

 existing under the laws of the State of New York, and the Brooklyn judicial district of the Eastern

 District of New York is where a substantial part of the events or omissions giving rise to the claims

 occurred, or a substantial part of property that is the subject of the action is situated, including the

 place where a number of the defendants reside and/or maintain their principal place of business

 and where the fraudulent insurance claims that are the subject of this Complaint were processed.

        158.    Plaintiff is duly organized and licensed to engage in the writing of automobile

 insurance policies in the State of New York and to provide automobile insurance coverage to their

 policyholders under and in accordance with New York State law.

 II.    The Surgicore ASCs

        159.    Defendant All City Family Healthcare Center, Inc. (“All City ASC”) was

 incorporated on or about October 14, 1997, and purports to be a corporation authorized to do

 business in the State of New York, as a licensed ASC, with its principal place of business located

 at 3632 Nostrand Avenue, Brooklyn, New York 11229. One or more of the Controllers had

 majority ownership of and/or otherwise controlled All City ASC and used All City ASC as a

 vehicle to submit fraudulent billing to Plaintiff and other insurers. At all relevant times herein,

 Defendant All City ASC was operated in violation of New York State law and was used as a

 vehicle to submit fraudulent insurance claims to American Transit in violation of New York law.




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        160.    Defendant Bronx SC, LLC doing business as Empire State Ambulatory Surgery

 Center (“Empire State ASC”) was organized on or about May 21, 2010, and purports to be a limited

 liability company authorized to do business in the State of New York, as a licensed ASC, with its

 principal place of business located at 3170 Webster Avenue, Bronx, New York 10467. One or

 more of the Controllers had majority ownership of and/or otherwise controlled Empire State ASC

 and used Empire State ASC as a vehicle to submit fraudulent billing to Plaintiff and other insurers.

 At all relevant times herein, Defendant Empire State ASC was operated in violation of New York

 State law and was used as a vehicle to submit fraudulent insurance claims to American Transit in

 violation of New York law.

        161.    Defendant Fifth Avenue Surgery Center, LLC, formerly known as Fifth Avenue

 ASC Acquisition, LLC (“Fifth Avenue ASC”) was organized on or about July 23, 2008, and

 purports to be a limited liability company authorized to do business in the State of New York, as

 a licensed ASC, with its principal place of business located at 1049 Fifth Avenue, New York, New

 York 10028. One or more of the Controllers had majority ownership of and/or otherwise controlled

 Fifth Avenue ASC and used Fifth Avenue ASC as a vehicle to submit fraudulent billing to Plaintiff

 and other insurers. At all relevant times herein, Defendant Fifth Avenue ASC was operated in

 violation of New York State law and was used as a vehicle to submit fraudulent insurance claims

 to American Transit in violation of New York law.

        162.    Defendant Manalapan Surgery Center, Inc., formerly known as Manalapan Surgery

 Center, P.A. (“Manalapan ASC”) was incorporated on or about May 20, 2003, and purports to be

 a foreign corporation authorized to do business in the State of New Jersey, as a licensed ASC, with

 its principal place of business located at 50 Franklin Lane, Suite 101, Manalapan Township, New

 Jersey 07726. One or more of the Controllers had majority ownership of and/or otherwise




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 controlled Manalapan ASC and used Manalapan ASC as a vehicle to submit fraudulent billing to

 Plaintiff and other insurers. At all relevant times herein, Defendant Manalapan ASC was operated

 in violation of New York and/or New Jersey State law and was used as a vehicle to submit bills to

 American Transit for one or more of the Fraudulent Services in violation of New York and/or New

 Jersey law. Defendant Manalapan ASC transacted business in New York State, including but not

 limited to participating in the mailing of fraudulent insurance claims in New York State seeking

 reimbursement pursuant to the New York State No-Fault Law.

        163.    Defendant New Horizon Surgical Center LLC (“New Horizon ASC”) was

 organized on or about April 13, 2009, and purports to be a foreign limited liability company

 authorized to do business in the State of New Jersey, as a licensed ASC, with its principal place of

 business located at 680 Broadway, Suites 110 & 201, Paterson, New Jersey 07514. As alleged

 herein, in or about 2011, and continuing after a confidential settlement agreement with American

 Transit that resolved pending claims between American Transit and New Horizon ASC for claims

 for reimbursement on or before October 22, 2019, one or more of the Controllers had majority

 ownership of and/or otherwise controlled New Horizon ASC and used New Horizon ASC as a

 vehicle to submit fraudulent billing to Plaintiff and other insurers. At all relevant times herein,

 Defendant New Horizon ASC was operated in violation of New York and/or New Jersey State law

 and was used as a vehicle to submit bills to American Transit for one or more of the Fraudulent

 Services in violation of New York and/or New Jersey law. Defendant New Horizon ASC

 transacted business in New York State, including but not limited to participating in the mailing of

 fraudulent insurance claims in New York State seeking reimbursement pursuant to the New York

 State No-Fault Law.




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        164.    Defendant NYEEQASC, LLC doing business as North Queens Surgical Center

 (“North Queens ASC”) was organized on or about January 7, 2011, and purports to be a limited

 liability company authorized to do business in the State of New York, as a licensed ASC, with its

 principal place of business located at 45-64 Francis Lewis Boulevard, Suite 200, Bayside, New

 York 11361. One or more of the Controllers had majority ownership of and/or otherwise controlled

 North Queens ASC and used North Queens ASC as a vehicle to submit fraudulent billing to

 Plaintiff and other insurers. At all relevant times herein, Defendant North Queens ASC was

 operated in violation of New York State law and was used as a vehicle to submit fraudulent

 insurance claims to American Transit in violation of New York law.

        165.    Defendant Rockaways ASC Development, LLC (“Rockaways ASC”) was

 organized on or about April 30, 2012, and purports to be a limited liability company authorized to

 do business in the State of New York, as a licensed ASC, with its principal place of business

 located at 105-20 Rockaway Beach Boulevard, Suite 301, Rockaway Park, New York. One or

 more of the Controllers had majority ownership of and/or otherwise controlled Rockaways ASC

 and used Rockaways ASC as a vehicle to submit fraudulent billing to Plaintiff and other insurers.

 At all relevant times herein, Defendant Rockaways ASC was operated in violation of New York

 State law and was used as a vehicle to submit fraudulent insurance claims to American Transit in

 violation of New York law.

        166.    Defendant Rockland and Bergen Surgery Center LLC (“Rockland and Bergen

 ASC”) was organized on or about June 25, 2009, and purports to be a foreign limited liability

 company authorized to do business in the State of New Jersey, as a licensed ASC, with its principal

 place of business located at 133 N. Kinderkamack Road, Montvale, New Jersey 07645. One or

 more of the Controllers had majority ownership of and/or otherwise controlled Rockland and




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 Bergen ASC and used Rockland and Bergen ASC as a vehicle to submit fraudulent billing to

 Plaintiff and other insurers. At all relevant times herein, Defendant Rockland and Bergen ASC

 was operated in violation of New York and/or New Jersey State law and was used as a vehicle to

 submit bills to American Transit for one or more of the Fraudulent Services in violation of New

 York and/or New Jersey law. Defendant Rockland and Bergen ASC transacted business in New

 York State, including but not limited to participating in the mailing of fraudulent insurance claims

 in New York State seeking reimbursement pursuant to the New York State No-Fault Law.

        167.    Defendant Surgicore of Jersey City LLC (“Jersey City ASC”) was organized on or

 about August 16, 2016, and purports to be a foreign limited liability company authorized to do

 business in the State of New Jersey, as a licensed ASC, with its principal place of business located

 at 444 Market Street, Saddlebrook, New Jersey 07663. One or more of the Controllers had majority

 ownership of and/or otherwise controlled Jersey City ASC and used Jersey City ASC as a vehicle

 to submit fraudulent billing to Plaintiff and other insurers. At all relevant times herein, Defendant

 Jersey City ASC was operated in violation of New York and/or New Jersey State law and was

 used as a vehicle to submit bills to American Transit for one or more of the Fraudulent Services in

 violation of New York and/or New Jersey law. Defendant Jersey City ASC transacted business in

 New York State, including but not limited to participating in the mailing of fraudulent insurance

 claims in New York State seeking reimbursement pursuant to the New York State No-Fault Law.

        168.    Defendant Surgicore, LLC, also known as Surgicore Surgical Center

 (“Saddlebrook ASC”) was organized on or about November 4, 2015, and purports to be a foreign

 limited liability company authorized to do business in the State of New Jersey, as a licensed ASC,

 with its principal place of business located at 444 Market Street, Saddle Brook, New Jersey 07663.

 One or more of the Controllers had majority ownership of and/or otherwise controlled Saddlebrook




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 ASC and used Saddlebrook ASC as a vehicle to submit fraudulent billing to Plaintiff and other

 insurers. At all relevant times herein, Defendant Saddlebrook ASC was operated in violation of

 New York and/or New Jersey State law and was used as a vehicle to submit bills to American

 Transit for one or more of the Fraudulent Services in violation of New York and/or New Jersey

 law. Defendant Saddlebrook ASC transacted business in New York State, including but not limited

 to participating in the mailing of fraudulent insurance claims in New York State seeking

 reimbursement pursuant to the New York State No-Fault Law.

 III.   The Controllers

        169.    Defendant Anthony Degradi (“Degradi”) resides in and is a citizen of Florida.

 Degradi has never been a licensed physician or a licensed health care professional. At all relevant

 times herein, Degradi, along with the other Controllers, had majority ownership interests in and/or

 otherwise controlled, and derived financial benefit from, the Surgicore ASCs. In order to conceal

 the referral/kickback scheme and the full extent of Degradi’s ownership and control of the

 Surgicore ASCs, Degradi purchased or otherwise acquired ownership interests in the Surgicore

 ASCs through companies that he owned and/or controlled, and/or his family members or close

 associates and/or companies that they owned and controlled; and established, owned, and

 maintained a financial interest in or otherwise derived financial benefit from the Controller

 Ancillary Entities (as defined herein); and the Surgicore ASCs issued regular payments to or for

 the benefit of Degradi, which were disguised as dividends or other cash distributions for his

 “investments” in the Surgicore ASCs, but which, in fact, were illegal kickbacks for steering or

 referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

 Degradi caused billing for the Fraudulent Services to be submitted through the Surgicore ASCs to

 American Transit.




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        170.    Degradi has a long and sordid history of involvement in No-Fault insurance fraud

 schemes, in which he owned and controlled numerous healthcare practices, despite his lack of any

 healthcare license, and used them as vehicles to submit fraudulent No-Fault insurance billing to

 insurance companies. See e.g., Allstate Ins. Co., et al. v. Payne, et al., 18-cv-03972 (E.D.N.Y.)

 (alleging that Degradi unlawfully owned, operated, and controlled multiple professional

 corporations, defrauded plaintiff insurance company through a No-Fault billing scheme, and share

 in the professional fee/profits of the professional corporations through his management

 companies); Allstate Ins. Co., et al. v. Mendoza, et al., 18-cv-04361 E.D.N.Y.) (alleging that

 Degradi and fellow defendants utilized an elaborate referral network wherein they would regularly

 funnel covered persons to related entities to increase billing submitted to plaintiff insurance

 company); Allstate Ins. Co., et al. v. Lyons Medical P.C., et al., 23-cv-08045 (E.D.N.Y.) (alleging

 that during the course of the fraudulent scheme, Degradi controlled three professional corporations

 and caused the professional corporations to fraudulently seek No-Fault reimbursement from

 plaintiff insurance company); Roosevelt Road Re, Ltd. et al. v. Hajjar, et al., 24-cv-01549

 (E.D.N.Y.) (alleging that defendants, including Degradi, exploited the New York State Workers’

 Compensation system by submitting fraudulent claims pursuant to a fraudulent treatment protocol

 including Surgicore ASCs controlled by Degradi, Kogan, Hatami, and Tylman); Gov’t Emp. Ins.

 Co. v. Lyons Medical, P.C., 20-cv-02089 (E.D.N.Y.) (alleging that Degradi devised a scheme to

 unlawfully own and control professional corporations, submit fraudulent insurance charges to

 plaintiff insurance company, and siphon the profits to himself and others through kickback

 arrangements); Farmington Casualty Company v. Patchogue Open MRI, P.C., 22-cv-00999

 (E.D.N.Y.) (alleging that Degradi unlawfully controlled, managed, and shared in the fees and




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 profits from professional corporations and Degradi caused these professional corporations to

 render fraudulent, non-compensable healthcare services to covered persons).

        171.    Defendant Wayne Hatami, P.T. (“Hatami”) resides in and is a citizen of New York,

 and was licensed as a physical therapist in the State of New York on or about February 14, 1997

 under license number 016816. Hatami has never been a licensed physician. At all relevant times

 herein, Hatami, along with the other Controllers, had majority ownership interests in and/or

 otherwise controlled, and derived financial benefit from, the Surgicore ASCs. In order to conceal

 the referral/kickback scheme and the full extent of Hatami’s ownership and control of the

 Surgicore ASCs, Hatami purchased or otherwise acquired ownership interests in the Surgicore

 ASCs through companies that he owned and/or controlled, and/or that his family members or

 close associates and/or companies owned and controlled; and established, owned, maintained a

 financial interest in or otherwise derived financial benefit from the Controller Ancillary Entities

 (as defined herein); and the Surgicore ASCs issued regular payments to or for the benefit of

 Hatami, which were disguised as dividends or other cash distributions for his “investments” in the

 Surgicore ASCs, but which, in fact, were illegal kickbacks for steering or referring, or causing to

 be steered or referred, patients to one or more of the Surgicore ASCs. Hatami caused billing for

 the Fraudulent Services to be submitted through the Surgicore ASCs to American Transit.

        172.    Defendant Hatami has a history of involvement in insurance fraud schemes, in

 which he owned and controlled numerous healthcare practices, despite not being a licensed

 physician, and used them as vehicles to submit fraudulent insurance billing to insurance

 companies.

        173.    For example, in Roosevelt Road Re, Ltd. et al. v. Hajjar, et al., 24-cv-01549

 (E.D.N.Y.), plaintiffs alleged that defendants exploited the New York State Workers’




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 Compensation system by submitting fraudulent claims pursuant to a fraudulent treatment protocol

 including billing from Surgicore ambulatory surgical centers controlled by Hatami, along with

 Degradi, Kogan, and Tylman.

        174.    In Allstate Ins. Co., et al. v. Mendoza, et al., 18-cv-04361 E.D.N.Y.), plaintiffs

 claimed that Hatami owned NY Spine/Physical Therapy, P.C. (“NY Spine”) (not named as a

 defendant herein), funneled covered persons to related entities, including New Horizon ASC, to

 increase fraudulent billing. Additionally, it was alleged that the defendants were involved in an

 elaborate kickback scheme whereby Hatami and NY Spine provided a steady stream of covered

 persons to New Horizon ASC, and in return M. Hatami, Hatami’s wife and the paper owner of NY

 Spine, received a steady stream of kickback money.

        175.    Defendant Feliks Kogan (“Kogan”) resides in and is a citizen of New York. Kogan

 has never been a licensed physician or a licensed health care professional. At all relevant times

 herein, Kogan, along with the other Controllers, had majority ownership interests in and/or

 otherwise controlled, and derived financial benefit from, the Surgicore ASCs. In order to conceal

 the referral/kickback scheme and the full extent of Kogan’s ownership and control of the

 Surgicore ASCs, Kogan purchased or otherwise acquired ownership interests in the Surgicore

 ASCs through companies that he owned and/or controlled, and/or that his family members or

 close associates and/or companies owned and controlled; and established, owned, and maintained

 a financial interest in or otherwise derived financial benefit from the Controller Ancillary Entities

 (as defined herein); and the Surgicore ASCs issued regular payments to or for the benefit of Kogan,

 which were disguised as dividends or other cash distributions for his “investments” in the

 Surgicore ASCs, but which, in fact, were illegal kickbacks for steering or referring, or causing to




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 be steered or referred, patients to one or more of the Surgicore ASCs. Kogan caused billing for the

 Fraudulent Services to be submitted through the Surgicore ASCs to American Transit.

        176.    Defendant Kogan has a history of involvement in insurance fraud schemes, in

 which he owned and controlled numerous healthcare practices, despite his lack of any healthcare

 license, and used them as vehicles to submit fraudulent insurance billing to insurance companies.

 For example, in Roosevelt Road Re, Ltd. et al. v. Hajjar, et al., 24-cv-01549 (E.D.N.Y.), plaintiffs

 alleged that defendants exploited the New York State Workers’ Compensation system by

 submitting fraudulent claims pursuant to a fraudulent treatment protocol including billing from

 Surgicore ambulatory surgical centers controlled by Kogan, along with Degradi, Hatami, and

 Tylman.

        177.    Defendant Leonid Tylman (a/k/a Lenny Tilman) (“Tylman”) resides in and is a

 citizen of New York. Tylman has never been a licensed physician or a licensed health care

 professional. At all relevant times herein, Tylman, along with the other Controllers, had majority

 ownership interests in and/or otherwise controlled, and derived financial benefit from, the

 Surgicore ASCs. In order to conceal the referral/kickback scheme and the full extent of

 Tylman’s ownership and control of the Surgicore ASCs, Tylman purchased or otherwise

 acquired ownership interests in the Surgicore ASCs through companies that he owned and/or

 controlled, and/or that his family members or close associates and/or companies that they owned

 and controlled; and established, owned, maintained a financial interest in or otherwise derived

 financial benefit from the Controller Ancillary Entities (as defined herein); and the Surgicore ASCs

 issued regular payments to or for the benefit of Tylman, which were disguised as dividends or

 other cash distributions for his “investments” in the Surgicore ASCs, but which, in fact, were

 illegal kickbacks for steering or referring, or causing to be steered or referred, patients to one or




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 more of the Surgicore ASCs. Tylman caused billing for the Fraudulent Services to be submitted

 through the Surgicore ASCs to American Transit.

        178.    Defendant Tylman has a history of involvement in insurance fraud schemes, in

 which he owned and controlled numerous healthcare practices, despite not being a licensed

 physician, and used them as vehicles to submit fraudulent insurance billing to insurance

 companies.

        179.    For example, in Roosevelt Road Re, Ltd. et al. v. Hajjar, et al., 24-cv-01549

 (E.D.N.Y.), plaintiffs alleged that defendants exploited the New York State Workers’

 Compensation system by submitting fraudulent claims pursuant to a fraudulent treatment protocol

 including billing from Surgicore ambulatory surgical centers controlled by Tylman, along with

 Degradi, Kogan, and Hatami.

        180.    In Allstate Ins. Co. v. Zhigun, 603669/2003 (N.Y. Cnty. Sup. Ct. 2003), the

 plaintiffs alleged that Tylman was owner and operator of a durable medical equipment (“DME”)

 company “whose operating procedure, patterns and practices mirrored” other DME companies,

 and was alleged to have forged illicit kickback relationships with” DME wholesalers and presided

 over two separate RICO enterprises (a DME network enterprise and a “criminal” medical network

 enterprise).

 IV.    The Surgicore Management Companies

        181.    Defendant Surgicore Management Inc (“Surgicore Management”) was incorporated

 on or about May 2, 2018, and is purported to be a domestic for-profit corporation authorized to do

 business in the State of New Jersey, with its principal place of business located at 444 Market

 Street, Saddlebrook, New Jersey. At all relevant times herein, Surgicore Management Inc has been

 owned and controlled by the Controllers. According to public records, each of the Controllers is a




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 member/director of Surgicore Management. According to public records, Surgicore Management

 is the purported “management” company for New Horizon ASC, Saddlebrook ASC, Jersey City

 ASC, and Rockland and Bergen ASC. Pursuant to the scheme to defraud as alleged herein,

 Surgicore Management is being used to conceal the full extent of the Controllers’ ownership and

 control over the Surgicore ASCs, to funnel proceeds from one or more of the Surgicore ASCs back

 to the Controllers and/or to make payments for steering or referring Covered Persons to one or

 more of the Surgicore ASCs for Fraudulent Services. Defendant Surgicore Management transacted

 business in New York State, including but not limited to participating and/or facilitating the

 fraudulent scheme described herein to conceal the full extent of the Controllers’ ownership and

 control and/or engaging in the referral/kickback scheme to steer or refer, or cause to be steered or

 referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted

 in the mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant

 to the New York State No-Fault Law.

        182.    Defendant Surgicore Management NY LLC (“Surgicore Management NY”) was

 organized on or about August 3, 2018, and is purported to be a domestic limited liability company

 authorized to do business in the State of New York, with its registered address located at 505 Park

 Avenue, New York, New York. At all relevant times herein, Surgicore Management NY has been

 owned and controlled by the Controllers. In their applications to NYDOH, Empire State ASC and

 North Queens ASC represented that the Controllers each had a 25 percent ownership interest in

 Surgicore Management NY. According to public records, Kogan is president, manager, member

 of Surgicore Management NY and Degradi was its organizer and member. According to public

 records, Surgicore Management NY is the purported “management” company for the Surgicore

 ASCs (as defined herein). Pursuant to the scheme to defraud as alleged herein, Surgicore




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 Management NY is being used to conceal the full extent of the Controllers’ ownership and control

 over the Surgicore ASCs, to funnel proceeds from one or more of the Surgicore ASCs back to the

 Controllers and/or to make payments for steering or referring Covered Persons to one or more of

 the Surgicore ASCs for Fraudulent Services.

 V.     The Surgicore Medical Directors/Administrators

        183.    Defendant John Aljian, MD (“Aljian”), is a natural person residing in the State of

 New Jersey. According to public records, Aljian has been the purported “medical director” of

 Empire State ASC since approximately 2019. Public records indicate that, since at least

 approximately 2016, Aljian has had approximately a 2.04 to 3.79 percent ownership interest in

 Empire State ASC and, on information and belief, Aljian continues to have an ownership interest

 in Empire State ASC. Defendant Aljian transacted business in New York State, including but not

 limited to participating and/or facilitating the fraudulent scheme described herein to conceal the

 full extent of the Controllers’ ownership and control and/or engaging in the referral/kickback

 scheme to steer or refer, or cause to be steered or referred, a steady stream of Covered Persons to

 one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims

 in New York State seeking reimbursement pursuant to the New York State No-Fault Law.

        184.    In furtherance of the schemes to defraud alleged herein, Aljian was employed as a

 sham “medical director” of Empire State ASC who never intended to (and never did) fulfill his

 medical director duties as required by law, and who received compensation disguised as

 legitimate investment interests in one or more Surgicore ASCs, legitimate salary and/or other

 legitimate compensation, which was in fact compensation for illegal kickbacks for steering or

 referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore




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 ASCs and/or for permitting one or more of the Controllers to operate Empire State ASC without

 the required medical director oversight.

        185.    Defendant Edwin K. Chan, MD (“Chan”), is a natural person residing in the State

 of New York. According to public records, Chan was the purported “medical director” of North

 Queens ASC in around 2019 and 2020. Public records indicate that, since approximately 2011 or

 2012, Chan has had approximately a 2.11 to 2.95 percent ownership interest in North Queens

 ASC and, on information and belief, Chan continues to have ownership interests in North

 Queens ASC. In furtherance of the schemes to defraud alleged herein, Chan was employed as a

 sham “medical director” of North Queens ASC who never intended to (and never did) fulfill his

 medical director duties as required by law, and who received compensation disguised as

 legitimate investment interests in one or more Surgicore ASCs, legitimate salary and/or other

 legitimate compensation, which was in fact compensation for illegal kickbacks for steering or

 referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

 ASCs and/or for permitting one or more of the Controllers to operate North Queens ASC without

 the required medical director oversight.

        186.    Defendant Alexander Cocoziello, DO (“Cocoziello”), is a natural person residing

 in the State of New Jersey. According to public records, since approximately 2015, Cocoziello has

 been the purported “medical director” of Saddlebrook ASC. In furtherance of the schemes to

 defraud alleged herein, Cocoziello was employed as a sham “medical director” of Saddlebrook

 ASC who never intended to (and never did) fulfill his medical director duties as required by law,

 and who received compensation disguised as legitimate investment interests in one or more

 Surgicore ASCs, legitimate salary and/or other legitimate compensation, which was in fact

 compensation for illegal kickbacks for steering or referring, or causing to be steered or referred,




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 Covered Persons to one or more of the Surgicore ASCs and/or for permitting one or more of the

 Controllers to operate Saddlebrook ASC without the required medical director oversight.

 Defendant Cocoziello transacted business in New York State, including but not limited to

 participating and/ or facilitating the fraudulent scheme described herein to conceal the full extent

 of the Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer

 or refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of

 the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York

 State seeking reimbursement pursuant to the New York State No-Fault Law.

        187.    Defendant Andrew Koplik, MD (“Koplik”), is a natural person residing in the State

 of New Jersey. According to public records, Koplik was the purported “medical director” of New

 Horizon ASC from approximately 2013 to 2019. In furtherance of the schemes to defraud alleged

 herein, Koplik was employed as a sham “medical director” of New Horizon ASC who never

 intended to (and never did) fulfill his medical director duties as required by law, and who received

 compensation disguised as legitimate investment interests in one or more Surgicore ASCs,

 legitimate salary and/or other legitimate compensation, which was in fact compensation for

 illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons

 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate New Horizon ASC without the required medical director oversight. Defendant Koplik

 transacted business in New York State, including but not limited to participating and/or facilitating

 the fraudulent scheme described herein to conceal the full extent of the Controllers’ ownership and

 control and/or engaging in the referral/kickback scheme to steer or refer, or cause to be steered or

 referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted




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 in the mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant

 to the New York State No-Fault Law.

        188.    Defendant Stuart Springer, MD (“Springer”), is a natural person residing in the

 State of New York. According to public records, Springer is or was the purported “medical

 director” of Fifth Avenue ASC. In furtherance of the schemes to defraud alleged herein, Springer

 was employed as a sham “medical director” of Fifth Avenue ASC who never intended to (and

 never did) fulfill his medical director duties as required by law, and who received compensation

 disguised as legitimate investment interests in one or more Surgicore ASCs, legitimate salary

 and/or other legitimate compensation, which was in fact compensation for illegal kickbacks

 for steering or referring, or causing to be steered or referred, Covered Persons to one or more of

 the Surgicore ASCs and/or for permitting one or more of the Controllers to operate Fifth Avenue

 ASC without the required medical director oversight.

        189.    Defendant Peter Menger, MD (“Menger”), is a natural person residing in the State

 of New York. According to public records, Menger is the purported current “medical director” of

 North Queens ASC.

        190.    In furtherance of the schemes to defraud alleged herein, Menger was employed as

 a sham “medical director” of North Queens ASC who never intended to (and never did) fulfill his

 medical director duties as required by law, and who received compensation disguised as

 legitimate investment interests in one or more Surgicore ASCs, legitimate salary and/or other

 legitimate compensation, which was in fact compensation for illegal kickbacks for steering or

 referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

 ASCs and/or for permitting one or more of the Controllers to operate North Queens ASC without

 the required medical director oversight.




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        191.    Defendant Ravi Naik, MD (“Naik”), is a natural person residing in the State of New

 Jersey. According to public records, since approximately 2019 Naik has been the purported

 “medical director” of New Horizons ASC. Public records indicate that, since approximately July

 of 2018, Naik has had approximately a 0.31 to 0.68 percent ownership interest in New Horizon

 ASC and Naik continues to have an ownership interest in New Horizon ASC; and between

 approximately 2012 and around April of 2023, Naik had approximately a 0.41 to 1.33 percent

 ownership interest in Rockland and Bergen ASC through Ramapo ASC Holdings, LLC and

 Rockland and Bergen ASC Holdings, LLC (not named as defendants herein). Defendant Naik

 transacted business in New York State, including but not limited to participating and/or facilitating

 the fraudulent scheme described herein to conceal the full extent of the Controllers’ ownership and

 control and/or engaging in the referral/kickback scheme to steer or refer, or cause to be steered or

 referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted

 in the mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant

 to the New York State No-Fault Law.

        192.    In furtherance of the schemes to defraud alleged herein, Naik was employed as a

 sham “medical director” of New Horizon ASC who never intended to (and never did) fulfill his

 medical director duties as required by law, and who received compensation disguised as

 legitimate investment interests in one or more Surgicore ASCs, legitimate salary and/or other

 legitimate compensation, which was in fact compensation for illegal kickbacks for steering or

 referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

 ASCs and/or for permitting one or more of the Controllers to operate New Horizon ASC without

 the required medical director oversight.




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        193.    Defendant Anthony Pacia, MD (“Pacia”), is a natural person residing in the State

 of New York. According to public records, Pacia was the purported “medical director” of

 Rockaways ASC in or around 2012. Public records indicate that, since approximately 2012, Pacia

 has had approximately a 10 percent ownership interest in Rockaways ASC and, on information

 and belief, Pacia continues to have an ownership interest in Rockaways ASC.

        194.    In furtherance of the schemes to defraud alleged herein, Pacia knowingly provided

 fraudulent medical and other healthcare services, including pain management procedures and/or

 surgeries, to Covered Persons that he purportedly performed at one or more of the Surgicore ASCs

 and billed to American Transit in exchange for kickbacks and/or other compensation which were

 disguised as dividends or other cash distributions for his “investment” in Rockaways ASC. In

 furtherance of the schemes to defraud alleged herein, Pacia was employed as a sham “medical

 director” of Rockaways ASC who never intended to (and never did) fulfill his medical director

 duties as required by law, and who received compensation disguised as legitimate investment

 interests in one or more Surgicore ASCs, legitimate salary and/or other legitimate

 compensation, which was in fact compensation for illegal kickbacks for steering or referring,

 or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs and/or

 for permitting one or more of the Controllers to operate Rockaways ASC without the required

 medical director oversight.

        195.    Defendant Merwin Richard, MD (“Richard”), is a natural person residing in the

 State of New York. According to public records, Richard has been the purported “medical director”

 of Jersey City ASC since approximately May of 2019. Public records indicate that, between

 approximately 2017 and 2020, Richard had approximately a 0.9 to 1.3 percent ownership interest

 in Jersey City ASC. In furtherance of the schemes to defraud alleged herein, Richard was employed




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 as a sham “medical director” of Jersey City ASC who never intended to (and never did) fulfill his

 medical director duties as required by law, and who received compensation disguised as

 legitimate investment interests in one or more Surgicore ASCs, legitimate salary and/or other

 legitimate compensation, which was in fact compensation for illegal kickbacks for steering or

 referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

 ASCs and/or for permitting one or more of the Controllers to operate Jersey City ASC without the

 required medical director oversight.

        196.    Defendant Brian Weiner, MD (“Weiner”), is a natural person residing in the State

 of Florida. According to public records, Weiner was the purported “medical director” of

 Manalapan ASC from approximately 2012 to 2016. Public records indicate that, between

 approximately 2003 and 2019, Weiner had approximately a 15.38 to 33.33 percent ownership

 interest in Manalapan ASC. In furtherance of the schemes to defraud alleged herein, Weiner was

 employed as a sham “medical director” of Manalapan ASC who never intended to (and never did)

 fulfill his medical director duties as required by law, and who received compensation disguised as

 legitimate investment interests in one or more Surgicore ASCs, legitimate salary and/or other

 legitimate compensation, which was in fact compensation for illegal kickbacks for steering or

 referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

 ASCs and/or for permitting one or more of the Controllers to operate Manalapan ASC without the

 required medical director oversight. Weiner transacted business in New York State, including but

 not limited to participating in the mailing of fraudulent insurance claims in New York State seeking

 reimbursement pursuant to the New York State No-Fault Law.

        197.    Defendant Marina Aminova (“Aminova”) is a natural person residing in the State

 of New Jersey. According to public records, since approximately 2017, Aminova has been the




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 purported “administrator” of Jersey City ASC, and, in approximately September of 2020, was the

 purported “administrator” of Saddlebrook ASC. In furtherance of the schemes to defraud alleged

 herein, Aminova was employed as a sham “administrator” of Jersey City ASC and Saddlebrook

 ASC who never intended to (and never did) fulfill her administrator duties as required by law, and

 who received compensation disguised as legitimate investment interests in one or more

 Surgicore ASCs, legitimate salary and/or other legitimate compensation, which was in fact

 compensation for illegal kickbacks for steering or referring, or causing to be steered or referred,

 Covered Persons to one or more of the Surgicore ASCs and/or for permitting one or more of the

 Controllers to operate Jersey City ASC and Saddlebrook ASC without the required administrator

 oversight. Defendant Aminova transacted business in New York State, including but not limited

 to participating and/or facilitating the fraudulent scheme described herein to conceal the full extent

 of the Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer

 or refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of

 the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York

 State seeking reimbursement pursuant to the New York State No-Fault Law.

        198.    Defendant Melissa Finnegan (“Finnegan”) is a natural person residing in the State

 of New York. According to public records, at all times relevant herein, Finnegan has been the

 purported “administrator” of Rockland and Bergen ASC. In furtherance of the schemes to defraud

 alleged herein, Finnegan was employed as a sham “administrator” of Rockland and Bergan ASC

 who never intended to (and never did) fulfill her administrator duties as required by law, and who

 received compensation disguised as legitimate investment interests in one or more Surgicore

 ASCs, legitimate salary and/or other legitimate compensation, which was in fact compensation

 for illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons




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 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate Rockland and Bergen ASC without the required administrator oversight.

        199.    Defendant Henry Kilroy (“Kilroy”), is a natural person residing in the State of New

 Jersey. According to public records, Defendant Monique Morris is Kilroy’s wife. According to

 public records, in or around 2017, Kilroy was the purported “administrator” of Jersey City ASC.

 In furtherance of the schemes to defraud alleged herein, Kilroy was employed as a sham

 “administrator” of Jersey City ASC who never intended to (and never did) fulfill her administrator

 duties as required by law, and who received compensation disguised as legitimate investment

 interests in one or more Surgicore ASCs, legitimate salary and/or other legitimate

 compensation, which was in fact compensation for illegal kickbacks for steering or referring,

 or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs and/or

 for permitting one or more of the Controllers to operate Jersey City ASC without the required

 administrator oversight. Defendant Kilroy transacted business in New York State, including but

 not limited to participating and/ or facilitating the fraudulent scheme described herein to conceal

 the full extent of the Controllers’ ownership and control and/or engaging in the referral/kickback

 scheme to steer or refer, or cause to be steered or referred, a steady stream of Covered Persons to

 one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims

 in New York State seeking reimbursement pursuant to the New York State No-Fault Law.

        200.    Defendant Paola Lopez (“Lopez”) is a natural person residing in the State of New

 Jersey. According to public records, from approximately May of 2021 to September of 2022,

 Lopez was the purported “administrator” of Saddlebrook ASC, and, is the purported

 “administrator” of Empire State ASC. In furtherance of the schemes to defraud alleged herein,

 Lopez was employed as a sham “administrator” of Saddlebrook ASC and Empire State ASC who




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 never intended to (and never did) fulfill her administrator duties as required by law, and who

 received compensation disguised as legitimate investment interests in one or more Surgicore

 ASCs, legitimate salary and/or other legitimate compensation, which was in fact compensation

 for illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons

 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate Saddlebrook ASC and Empire State ASC without the required administrator oversight.

 Defendant Lopez transacted business in New York State, including but not limited to participating

 and/or facilitating the fraudulent scheme described herein to conceal the full extent of the

 Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer or

 refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of the

 Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York State

 seeking reimbursement pursuant to the New York State No-Fault Law

        201.    Defendant Yanin Lucero (“Lucero”) is a natural person residing in the State of New

 Jersey. According to public records, since approximately September of 2022, Lucero has been the

 purported “administrator” of Saddlebrook ASC. In furtherance of the schemes to defraud alleged

 herein, Lucero was employed as a sham “administrator” of North Queens ASC who never intended

 to (and never did) fulfill her administrator duties as required by law, and who received

 compensation disguised as legitimate investment interests in one or more Surgicore ASCs,

 legitimate salary and/or other legitimate compensation, which was in fact compensation for

 illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons

 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate North Queens ASC without the required administrator oversight. Defendant Lucero

 transacted business in New York State, including but not limited to participating and/or facilitating




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 the fraudulent scheme described herein to conceal the full extent of the Controllers’ ownership and

 control and/or engaging in the referral/kickback scheme to steer or refer, or cause to be steered or

 referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted

 in the mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant

 to the New York State No-Fault Law.

        202.    Defendant Monique Morris a/k/a Monique DeMartino a/k/a Monique Kilroy

 (“Morris”) is a natural person residing in the State of New Jersey. According to public records,

 Morris is Defendant Kilroy’s wife. According to public records, in or around 2016 and between

 approximately January of 2019 and May of 2021, Morris was the purported “administrator” of

 Saddlebrook ASC. In furtherance of the schemes to defraud alleged herein, Morris was employed

 as a sham “administrator” of Saddlebrook ASC who never intended to (and never did) fulfill her

 administrator duties as required by law, and who received compensation disguised as legitimate

 investment interests in one or more Surgicore ASCs, legitimate salary and/or other legitimate

 compensation, which was in fact compensation for illegal kickbacks for steering or referring,

 or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs and/or

 for permitting one or more of the Controllers to operate Saddlebrook ASC without the required

 administrator oversight. Defendant Morris transacted business in New York State, including but

 not limited to participating and/or facilitating the fraudulent scheme described herein to conceal

 the full extent of the Controllers’ ownership and control and/or engaging in the referral/kickback

 scheme to steer or refer, or cause to be steered or referred, a steady stream of Covered Persons to

 one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims

 in New York State seeking reimbursement pursuant to the New York State No-Fault Law.




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        203.    Defendant Ilana Poch-Zybin (“Zybin”) is a natural person residing in the State of

 New York. According to public records and All City ASC’s EUO, Zybin has been the purported

 “administrator” of All City ASC since approximately 2012 or 2013 and has been the purported

 “administrator” of North Queens ASC since approximately August of 2022. Records produced by

 All City ASC indicate that, since approximately April of 2019, Zybin has had 3.839 percent

 ownership interest in All City ASC and, on information and belief, Zybin continues to have an

 ownership interest in All City ASC. In furtherance of the schemes to defraud alleged herein, Zybin

 was employed as a sham “administrator” of All City ASC and North Queens ASC who never

 intended to (and never did) fulfill her administrator duties as required by law, and who received

 compensation disguised as legitimate investment interests in one or more Surgicore ASCs,

 legitimate salary and/or other legitimate compensation, which was in fact compensation for

 illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons

 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate All City ASC and North Queens ASC without the required administrator oversight.

        204.    Defendant Amaury Romero a/k/a Amaury Sanchez (“Romero”) is a natural person

 residing in the State of New Jersey. According to public records, Romero is Defendant Ramirez’s

 husband. According to public records, Romero is also related to and/or otherwise closely

 associated with Defendant Chavez including through joint corporate ownership and real estate

 transactions, and is closely associated with Randolph, Esq., including through one or more of the

 Surgicore ASCs and multiple real estate transactions. Romero was identified in corporate filings

 as one or New Horizon ASC’s managing members when it was first formed in 2009. According to

 NJDOH records, Romero has been New Horizon ASC’s “administrator” since at least 2010, was

 Manalapan ASC’s “administrator” in or around 2015 and was Saddlebrook ASC’s “administrator”




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 in or around 2017. Corporate filings also identified Romero as New Horizon ASC’s secretary in

 2024. Though he was not identified in any records received from NJDOH as having any direct or

 indirect ownership interests in New Horizon ASC since at least as early as 2011, Romero

 repeatedly held himself out as a member/manager of New Horizon ASC on records submitted to

 NJDOH between at least 2016 and 2023. Though he was not identified in any records received

 from NJDOH as having any direct or indirect ownership interests in Saddlebrook ASC, Romero

 held himself out as a managing partner/member of Saddlebrook ASC between at least 2016 and

 2020. On information and belief, Romero and/or one or more of the John Does 2 through 20, were

 the actual owners of ASC Investment Services. Romero facilitated the scheme to defraud by

 recruiting Ramirez and Chavez to serve as straw officers/directors of New Horizon ASC and straw

 owners of New Horizon ASC, Saddlebrook ASC, and Jersey City ASC, through ASC Investment

 Services, in order to conceal Romero and/or one or more of the John Does 2 through 20’s

 ownership interests in and control over New Horizon ASC, Saddlebrook ASC, and Jersey City

 ASC and to conceal the referral/kickback scheme between one or more of the Controllers, through

 New Horizon ASC, Saddlebrook ASC, and/or Jersey City ASC, and Romero and/or one or more

 of the John Does 2 through 20, as alleged herein. In furtherance of the schemes to defraud alleged

 herein, Romero was employed as a sham “administrator” of New Horizon ASC, Manalapan ASC,

 and Saddlebrook ASC, who never intended to (and never did) fulfill her administrator duties as

 required by law, and who received compensation disguised as legitimate investment interests in

 one or more Surgicore ASCs, legitimate salary and/or other legitimate compensation, which

 was in fact compensation for illegal kickbacks for steering or referring, or causing to be steered

 or referred, Covered Persons to one or more of the Surgicore ASCs and/or for permitting one or

 more of the Controllers to operate New Horizon ASC, Manalapan ASC, and Saddlebrook ASC




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 without the required administrator oversight. Defendant Romero transacted business in New York

 State, including but not limited to participating and/or facilitating the fraudulent scheme described

 herein to conceal the full extent of the Controllers’ ownership and control and/or engaging in the

 referral/kickback scheme to steer or refer, or cause to be steered or referred, a steady stream of

 Covered Persons to one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent

 insurance claims in New York State seeking reimbursement pursuant to the New York State No-

 Fault Law.

        205.    Defendant Tami Santora (“Santora”) is a natural person residing in the State of New

 York. According to public records, from approximately November of 2019 to October of 2021,

 Santora was the purported “administrator” of North Queens ASC. In furtherance of the schemes

 to defraud alleged herein, Santora was employed as a sham “administrator” of North Queens ASC

 who never intended to (and never did) fulfill her administrator duties as required by law, and who

 received compensation disguised as legitimate investment interests in one or more Surgicore

 ASCs, legitimate salary and/or other legitimate compensation, which was in fact compensation

 for illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons

 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate North Queens ASC without the required administrator oversight.

        206.    Defendant Jose Santos (“Santos”) is a natural person residing in the State of New

 Jersey. According to public records, from approximately May of 2017 to July of 2019, Santos was

 the purported “administrator” of Manalapan ASC. In furtherance of the schemes to defraud alleged

 herein, Santos was employed as a sham “administrator” of Manalapan ASC who never intended

 to (and never did) fulfill her administrator duties as required by law, and who received

 compensation disguised as legitimate investment interests in one or more Surgicore ASCs,




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 legitimate salary and/or other legitimate compensation, which was in fact compensation for

 illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons

 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate Manalapan ASC without the required administrator oversight. Defendant Santos

 transacted business in New York State, including but not limited to participating and/or facilitating

 the fraudulent scheme described herein to conceal the full extent of the Controllers’ ownership and

 control and/or engaging in the referral/kickback scheme to steer or refer, or cause to be steered or

 referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted

 in the mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant

 to the New York State No-Fault Law.

        207.    Defendant Mark Spina (“Spina”) is a natural person residing in the State of New

 York. According to public records, in or around 2022, Spina was the purported “administrator” of

 North Queens ASC. In furtherance of the schemes to defraud alleged herein, Spina was employed

 as a sham “administrator” of North Queens ASC who never intended to (and never did) fulfill her

 administrator duties as required by law, and who received compensation disguised as legitimate

 investment interests in one or more Surgicore ASCs, legitimate salary and/or other legitimate

 compensation, which was in fact compensation for illegal kickbacks for steering or referring,

 or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs and/or

 for permitting one or more of the Controllers to operate North Queens ASC without the required

 administrator oversight.

        208.    Defendant Lana Young (“Young”) is a natural person residing in the State of New

 York. According to public records, from approximately July of 2019 to May of 2024, Young was

 the purported “administrator” of Manalapan ASC. In furtherance of the schemes to defraud alleged




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 herein, Young was employed as a sham “administrator” of Manalapan ASC who never intended

 to (and never did) fulfill her administrator duties as required by law, and who received

 compensation disguised as legitimate investment interests in one or more Surgicore ASCs,

 legitimate salary and/or other legitimate compensation, which was in fact compensation for

 illegal kickbacks for steering or referring, or causing to be steered or referred, Covered Persons

 to one or more of the Surgicore ASCs and/or for permitting one or more of the Controllers to

 operate Manalapan ASC without the required administrator oversight.

        209.    Defendant Leticia M. Langarita-Hoyle, MSN-AGNP-C, a/k/a Leticia Langarita

 a/k/a Leticia Hoyle (“Hoyle”) is a natural person residing in the State of New Jersey. According

 to public records, Hoyle is the purported “chief clinical officer” and/or “chief nursing officer” of

 the Surgicore ASCs and her duties consist of overseeing the Surgicore ASCs’ putative “directors

 of nursing.” At all relevant times herein, AEH Healthcare Management has been owned and

 controlled by Hoyle. Public records indicate that Hoyle had ownership interests in Rockland and

 Bergen ASC, Empire State ASC, and North Queens ASC through AEH Healthcare Management

 and, on information and belief, Hoyle continues to have ownership interests in Rockland and

 Bergen ASC, Empire State ASC, and North Queens ASC through AEH Healthcare Management.

 In furtherance of the schemes to defraud alleged herein, Hoyle was employed as a sham “chief

 clinical officer” and/or “chief nursing officer” of the Surgicore ASCs who ensured that each of the

 Surgicore ASCs’ “directors of nursing” did not fulfill their statutory and regulatory requirements

 and/or permitted the Surgicore ASCs to be operated solely in the pecuniary interests of the

 Controllers without regard for patient care, and ceded all decision-making and policy-making

 authority relating to the operation and management of the Surgicore ASCs, including decisions

 pertaining to the direction and quality of care of the medical services rendered at the Surgicore




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 ASCs, to the Controllers, in exchange for compensation disguised as legitimate investment

 interests in one or more Surgicore ASCs, legitimate salary and/or other legitimate

 compensation, but which was in fact compensation for illegal kickbacks for steering or

 referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

 ASCs and/or for permitting one or more of the Controllers to operate the Surgicore ASCs without

 the required nursing director oversight. Defendant Hoyle transacted business in New York State,

 including but not limited to participating and/or facilitating the fraudulent scheme described herein

 to conceal the full extent of the Controllers’ ownership and control and/or engaging in the

 referral/kickback scheme to steer or refer, or cause to be steered or referred, a steady stream of

 Covered Persons to one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent

 insurance claims in New York State seeking reimbursement pursuant to the New York State No-

 Fault Law.

 VI.    The Surgicore Orthopedic Providers

        210.    Defendant Paul Ackerman, M.D. (“Ackerman”) is a natural person residing in the

 State of New York, was licensed to practice medicine in the State of New York on or about May

 18, 1979 under license number 138111 and in the State of New Jersey on or about January 30,

 1984 under license number 25MA04374600, and is listed with the New York Departments of State

 and/or Education as one of the record owners of Contemporary Orthopedics. Public records

 indicate that Ackerman was the director of orthopedics for Saddlebrook ASC after March of 2015

 (the exact dates of which are presently unknown to Plaintiff).

        211.    In furtherance of the schemes to defraud alleged herein, Ackerman knowingly

 provided fraudulent medical and other healthcare services including arthroscopic surgeries to

 Covered Persons through Contemporary Orthopedics, which in exchange for kickbacks and/or




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 other compensation, he purportedly performed at the Surgicore ASCs including but not limited to

 All City ASC, North Queens ASC, Rockaway ASC, Fifth Avenue ASC, and Jersey City ASC, and

 billed to American Transit through each of these entities.

        212.    Based on substantial charges of negligence, failure to maintain records, and failure

 to respond to written requests from Department of Health brought by the Office of Professional

 Medical Conduct, by Consent Order and Agreement dated May 6, 2015 and modified March 30,

 2016 and again May 24, 2017, Ackerman originally agreed, inter alia, to censure and reprimand,

 and probation for a period of thirty-six months. The probation period was terminated by the Second

 Modification Order dated May 24, 2017.

        213.    Defendant Ackerman has a history of involvement in insurance fraud schemes, in

 which he owned and controlled numerous healthcare practices and used them as vehicles to submit

 fraudulent insurance billing to insurance companies. For example, in Gov’t Emp. Ins. Co., et al.,

 v. Triboro Med Supply, Inc., et al., 16-cv-2079 (E.D.N.Y.), plaintiffs allege that Ackerman

 performed basic arthroscopic surgeries on GEICO insured and, in exchange for financial and/or

 other considerations, routinely prescribed medically unnecessary post-rehabilitative equipment

 that was dispensed by durable medical equipment providers.

        214.    Defendant Contemporary Orthopedics, PLLC (“Contemporary Orthopedics”) was

 organized on or about February 25, 2009, and purports to be a professional limited liability

 company authorized to do business in the State of New York, with its principal place of business

 located at 3041 Avenue U, Brooklyn, New York 11229. Defendant Ackerman is the record owner

 of Contemporary Orthopedics and purportedly provided examinations to Covered Persons through

 Contemporary Orthopedics, and fraudulently billed American Transit for medical and other

 healthcare services, pursuant to a fraudulent predetermined treatment protocol irrespective of




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 medical necessity in exchange for kickbacks and/or other financial compensation paid by one or

 more of the Controllers and/or other entities owned, controlled and operated by them and/or one

 or more of the John Does 2 through 20 or ABC Corporations 1 through 20.

        215.    Defendant Alexios Apazidis, M.D. (“Apazidis”) is a natural person residing in the

 State of Massachusetts, was licensed to practice medicine in the State of New York on or about

 March 13, 2008 under license number 247904, in the State of New Jersey on or about March 23,

 2020 under license number 25MA10810500, and in the State of Florida on or about February 10,

 2020 under license number ME144100, and is listed with the New York Departments of State

 and/or Education as the record owner of Apazidis PC. Public records indicate that, since

 approximately August of 2018, Apazidis has had an ownership interest in All City ASC (the

 percentage of which is presently unknown to Plaintiff), and, on information and belief, Apazidis

 continues to have an ownership interest in All City ASC. In furtherance of the schemes to defraud

 alleged herein, Apazidis knowingly provided fraudulent medical and other healthcare services,

 including arthroscopic surgeries to Covered Persons through Apazidis PC that he purportedly

 performed at one or more of the Surgicore ASCs, including All City ASC and Fifth Avenue ASC,

 and billed to American Transit through each of those entities in exchange for kickbacks and/or

 other compensation which were disguised as dividends or other cash distributions for his

 “investment” in All City ASC. Apazidis transacted business in New York State, including but not

 limited to participating in the mailing of fraudulent insurance claims in New York State seeking

 reimbursement pursuant to the New York State No-Fault Law.

        216.    Based on substantial charges of negligence, incompetence, and failing to comply

 with state regulation brought by the Office of Professional Medical Conduct, by Consent Order

 and Agreement dated June 10, 2015, Apazidis agreed, inter alia, to a license suspension for thirty-




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 six months, stayed with probation for thirty-six months, and a $50,000 fine. Apazidis paid the fine

 and his probation was completed on August 17, 2018.

        217.    Defendant Apazidis has a history of involvement in insurance fraud schemes, in

 which he owned and controlled numerous healthcare practices and used them as vehicles to submit

 fraudulent insurance billing to insurance companies. For example, in Allstate Ins. Co., et al. v.

 Excell Clinical Lab, Inc., et al., 22-cv-00334 (E.D.N.Y.), plaintiffs alleged that defendants

 submitted false and fraudulent insurance claims through the U.S. Mail seeking reimbursement

 under New York’s “No-Fault” Laws (N.Y. Ins. Law 5101, et seq.) for urine drug testing and

 medical services, including surgeries and injections, that were medically unnecessary and were

 submitted using fraudulent billing practices and fake diagnoses. These allegations include

 Apazidis’ medically unnecessary provision of surgical procedures and/or injections, along with

 fraudulent referrals to an unlicensed urine drug testing laboratory where services were never

 actually provided, along with similar acts by Drs. Jones and Kotkes.

        218.    Defendant Alexios Apazidis, M.D. P.C., also known as Total Spine and Sports Care

 (“Apazidis PC”) was incorporated on or about September 22, 2015, and purports to be a

 professional corporation authorized to do business in the State of New York, with its principal

 place of business located at 1 Pine Point, Saint James, New York 11780. Defendant Apazidis is the

 record owner of Apazidis PC and purportedly provided examinations to Covered Persons through

 Apazidis PC, and fraudulently billed American Transit for medical and other healthcare services,

 pursuant to a fraudulent predetermined treatment protocol irrespective of medical necessity in

 exchange for kickbacks and/or other financial compensation paid by one or more of the Controllers

 and/or other entities owned, controlled, and operated by them and/or one or more of the John Does

 2 through 20 or ABC Corporations 1 through 20.




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        219.    Defendant Howard Baum, M.D. (“Baum”) is a natural person residing in the State

 of New York, was licensed to practice medicine in the State of New York on or about January 3,

 1991 under license number 184624, and is listed with the New York Departments of State and/or

 Education as the record owner of Bay Ridge Orthopedic. In furtherance of the schemes to defraud

 alleged herein, Baum knowingly provided fraudulent medical and other healthcare services,

 including arthroscopic surgeries to Covered Persons through Bay Ridge Orthopedic, which in

 exchange for kickbacks and/or other compensation, he purportedly performed at the Surgicore

 ASCs including but not limited to All City ASC and Empire State ASC, and billed to American

 Transit through each of these entities.

        220.    Defendant Bay Ridge Orthopedic Associates, P.C. (“Bay Ridge PC”) was

 incorporated on or about October 01, 1970, and purports to be a professional corporation

 authorized to do business in the State of New York, with its principal place of business located at

 476 Bay Ridge Parkway Brooklyn, New York 11209. Defendant Baum is the record owner of Bay

 Ridge Orthopedic and purportedly provided examinations to Covered Persons through Bay Ridge

 Orthopedic, and fraudulently billed American Transit for medical and other healthcare services,

 pursuant to a fraudulent predetermined treatment protocol irrespective of medical necessity in

 exchange for kickbacks and/or other financial compensation paid by one or more of the Controllers

 and/or other entities owned, controlled, and operated by them and/or one or more of the John Does

 2 through 20 or ABC Corporations 1 through 20.

        221.    Defendant Dov Berkowitz, M.D. (“Berkowitz”) is a natural person residing in the

 State of New York, was licensed to practice medicine in the State of New York on or about

 November 5, 1982 under license number 152385 and in the State of New Jersey on or about August

 16, 2013 under license number 25MA09367300 and in the State of Florida on or about May 10,




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 2022 and under license number ME156781, and is listed with the New York Departments of State

 and/or Education as the record owner of Advanced Orthopaedics and Gesheft Associates. Public

 records and/or records produced by All City ASC indicate that, between approximately May of

 2017 and May of 2018, Berkowitz had approximately a 2.87 percent ownership interest in New

 Horizon ASC; between approximately April of 2017 and January of 2019, Berkowitz had

 approximately a 3 to 4 percent ownership interest in Saddlebrook ASC; since approximately April

 of 2017, Berkowitz has had approximately a 3.72 to 25 percent ownership interest in Jersey City

 ASC, including though Gesheft Associates, and, on information and belief, Berkowitz continues

 to have an ownership interest in Jersey City ASC through Gesheft Associates; since approximately

 May of 2022, Berkowitz has had approximately a 3.4775 percent ownership interest in Rockland

 and Bergen ASC, including though Gesheft Associates and Surgicore RBSC, and Berkowitz

 continues to have an ownership interest in Rockland and Bergen ASC through Gesheft Associates

 and Surgicore RBSC; since approximately November of 2018, Berkowitz has had approximately

 a 2.304 percent ownership interest in All City ASC, and Berkowitz continues to have an ownership

 interest in All City ASC; since approximately January of 2023, Berkowitz has an ownership

 interest in Rockaways ASC, and Berkowitz continues to have an ownership interest in Rockaways

 ASC. On information and belief, Berkowitz also has ownership interests in Fifth Avenue ASC

 through Gesheft Associates. In furtherance of the schemes to defraud alleged herein, Berkowitz

 knowingly provided fraudulent medical and other healthcare services including arthroscopic

 surgeries to Covered Persons through Advanced Orthopaedics that he purportedly performed at

 one or more of the Surgicore ASCs, including Jersey City ASC, Fifth Avenue ASC, Manalapan

 ASC, All City ASC, Empire State ASC, Rockaways ASC and North Queens ASC, and billed to

 American Transit through each of those entities, in exchange for kickbacks and/or other




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 compensation which were disguised as dividends or other cash distributions for his “investment”

 in New Horizon ASC, Saddlebrook ASC, Jersey City ASC, Rockland and Bergen ASC, All City

 ASC and/or Rockaways ASC. Defendant

        222.   Defendant Advanced Orthopaedics, P.L.L.C., also known as Rockaway Beach

 Advanced (“Advanced Orthopaedics”) was formed on or about July 22, 1997, and purports to be

 a professional limited liability company authorized to do business in the State of New York, with

 its principal place of business located at 80-02 Kew Gardens Road, Kew Gardens, New York

 11415. Defendant Berkowitz is the record owner of Advanced Orthopaedics and purportedly

 provided examinations to Covered Persons through Advanced Orthopaedics, and fraudulently

 billed American Transit for medical and other healthcare services, pursuant to a fraudulent

 predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

 and/or other financial compensation paid by one or more of the Controllers and/or other entities

 owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

 ABC Corporations 1 through 20.

        223.   Defendant Mark Bursztyn, M.D. (“Bursztyn”) is a natural person residing in the

 State of New York, and was licensed to practice medicine in the State of New York on or about

 April 23, 2002 under license number 224551 and in the State of New Jersey on or about July 10,

 2006 under license number 25MA08105200. Records produced by All City ASC indicate that,

 since approximately August of 2018, Bursztyn has had approximately a 2.304 percent ownership

 interest in All City ASC and, Bursztyn continues to have ownership interests in All City ASC. On

 information and belief, Bursztyn was also employed by, and/or was an independent contractor of,

 McCulloch Orthopaedic, NYSJ and Advanced Orthopaedics, and purportedly provided one or

 more of the Fraudulent Services at one or more of the Surgicore ASCs, including and through




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 those entities also submitted bills to American Transit for such services. In furtherance of the

 schemes to defraud alleged herein, Bursztyn knowingly provided fraudulent medical and other

 healthcare services, including arthroscopic surgeries to Covered Persons that he purportedly

 performed at one or more of the Surgicore ASCs, including but not limited to All City ASC and

 Saddlebrook ASC and billed to American Transit through each of those entities in exchange for

 kickbacks and/or other compensation which were disguised as dividends or other cash distributions

 for his “investment” in All City ASC.

        224.   Defendant Gabriel Dassa, D.O. (“Dassa”) is a natural person residing in the State

 of New York, and was licensed to practice medicine in the State of New York on or about August

 17, 1992 under license number 190113 and in the State of New Jersey on or about April 2, 2012

 under license number 25MB09083500, and in the State of Florida on or about March 16, 2012

 under license number OS11630, and is listed with the New York Departments of State and/or

 Education as the record owner of Dassa Orthopedic. Public records indicate that, between

 approximately August of 2015 and August of 2016, Dassa had approximately a 0.7 to 1.23 percent

 ownership interest in New Horizon ASC; and, since at least approximately 2016, Dassa has had

 approximately a 1.6253 to 3.0064 percent ownership interest in Empire State ASC and Dassa

 continues to have an ownership interest in Empire State ASC. In furtherance of the schemes to

 defraud alleged herein, Dassa knowingly provided fraudulent medical and other healthcare

 services including arthroscopic surgeries to Covered Persons through Dassa Orthopedic that he

 purportedly performed at one or more of the Surgicore ASCs, including New Horizon ASC,

 Empire State ASC, and Rockland and Bergen ASC, and billed to American Transit through each

 of those entities in exchange for kickbacks and/or other compensation which were disguised as




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 dividends or other cash distributions for his “investments” in New Horizon ASC and/or Empire

 State ASC.

        225.    Defendant Dassa has a history of involvement in insurance fraud schemes, in which

 he owned and controlled numerous healthcare practices and used them as vehicles to submit

 fraudulent insurance billing to insurance companies. For example, in Allstate Ins. Co., et al., v.

 Dassa, et al., 23-cv-07515 (D.N.J.), plaintiffs alleged that defendants, both laypersons and

 healthcare providers, banded together to access and exploit the benefits available to automobile

 accident victims under New York’s “No-Fault” Laws. Dassa Orthopedic, which was registered

 under Dassa’s name, was actually owned by the layperson defendants and used to deliver

 medically unnecessary services to patients which would be billed to Allstate. Further, in Gov’t

 Emp. Ins. Co., et al., v. Datta, M.D., et al., 22-cv-10531 (S.D.N.Y.), plaintiffs alleged that Dassa,

 as owner of Dassa Orthopedic, submitted thousands of fraudulent and unlawful No-Fault insurance

 charges as a result of secret agreements with other healthcare providers to receive and give

 unlawful and medically unnecessary referrals.

        226.    Defendant Dassa Orthopedic Medical Services, P.C. (“Dassa Orthopedic”) was

 incorporated on or about April 6, 2010, and purports to be a professional corporation authorized

 to do business in the State of New York, with its principal place of business located at 43 Penwood

 Road, Mount Kisco, New York 10549. Defendant Dassa is the record owner of Dassa Orthopedic

 and purportedly provided examinations to Covered Persons through Dassa Orthopedic, and

 fraudulently billed American Transit for medical and other healthcare services, pursuant to a

 fraudulent predetermined treatment protocol irrespective of medical necessity in exchange for

 kickbacks and/or other financial compensation paid by one or more of the Controllers and/or other




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 entities owned, controlled, and operated by them and/or one or more of the John Does 2 through

 20 or ABC Corporations 1 through 20.

         227.   Defendant Albert Graziosa, M.D. (“Graziosa”) is a natural person residing in the

 State of New York, was licensed to practice medicine in the State of New York on or about August

 11, 1998 under license number 211656, and is listed with the New York Departments of State

 and/or Education as the record owner of Graziosa PC. Public records indicate that, since at least

 approximately 2016, Graziosa has had approximately a 1.0750 to 1.9884 percent ownership

 interest in Empire State ASC and Graziosa continues to have an ownership interest in Empire State

 ASC. In furtherance of the schemes to defraud alleged herein, Graziosa knowingly provided

 fraudulent medical and other healthcare services, including arthroscopic surgeries to Covered

 Persons through Graziosa PC, which in exchange for kickbacks and/or other compensation, he

 purportedly performed at the Surgicore ASCs including but not limited to North Queens ASC,

 Empire State ASC, and Rockaway ASC, and billed to American Transit through each of these

 entities.

         228.   Defendant Albert Graziosa MD, P.C. (“Graziosa PC”) was incorporated on or about

 September 07, 2005, and purports to be a professional corporation authorized to do business in the

 State of New York, with its principal place of business located at 3511A East Tremont Avenue,

 Bronx, New York 10461. Defendant Graziosa is the record owner of Graziosa PC and purportedly

 provided examinations to Covered Persons through Graziosa PC, and fraudulently billed American

 Transit for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

 protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

 compensation paid by one or more of the Controllers and/or other entities owned, controlled, and




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 operated by them and/or one or more of the John Does 2 through 20 or ABC Corporations 1

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        229.    Defendant Robert Haar, M.D. (“Haar”) is a natural person residing in the State of

 Florida, was licensed to practice medicine in the State of New York on or about July 20, 1979

 under license number 139052 and in the State of New Jersey on or about December 6, 1994 under

 license number 25MA06159900, and is listed with the New York Departments of State and/or

 Education as the record owner of Haar Orthopaedics. Public records indicate that, between

 approximately November 2015 and June 2017, Haar had approximately a 0.63 to 6.47 percent

 ownership interest in New Horizon ASC. In furtherance of the schemes to defraud alleged herein,

 Haar knowingly provided fraudulent medical and other healthcare services including arthroscopic

 surgeries to Covered Persons through Haar Orthopaedics that he purportedly performed at one or

 more of the Surgicore ASCs, including New Horizon ASC and Jersey City ASC, and billed to

 American Transit through each of those entities in exchange for kickbacks and/or other

 compensation which were disguised as dividends or other cash distributions for his “investment”

 in All City ASC. Defendant Haar transacted business in New York State, including but not limited

 to participating in the mailing of fraudulent insurance claims in New York State seeking

 reimbursement pursuant to the New York State No-Fault Law.

        230.    Defendant Haar has a history of involvement in insurance fraud schemes, in which

 he owned and controlled numerous healthcare practices and used them as vehicles to submit

 fraudulent insurance billing to insurance companies. For example, in Gov’t Emp. Ins. Co., et al. v.

 CPM Med Supply, Inc., et al, 17-cv-07041 (E.D.N.Y.), plaintiffs alleged that defendants, including

 Haar, routinely prescribed unnecessary post-rehabilitative medical equipment in exchange for

 kickbacks and other forms of financial consideration. Further, in Allstate Ins. Co., et al. v.




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 Mendoza, M.D., et al, 18-cv-04361 (E.D.N.Y.), plaintiffs alleged that Haar, as owner of Haar

 Orthopaedics, routinely provided office based surgeries despite not being an accredited office

 based surgery provider (“OBSP”). Additionally, in order to improperly bill for facility fees, Haar

 routinely billed for surgeries performed in ambulatory surgical centers and described them as

 necessary despite the fact that these surgeries should have been performed in a licensed OBSP.

        231.    Defendant Haar Orthopaedics & Sports Medicine, P.C., also known as Park East

 Imaging (“Haar Orthopaedics”) was incorporated on or about December 11, 1997, and purports to

 be a professional corporation authorized to do business in the State of New York, with its principal

 place of business located at 1735 York Avenue Suite Place, New York, New York 10128. Defendant

 Haar is the record owner of Haar Orthopaedics. Public records indicate that, between

 approximately November 2015 and March 2023, Haar Orthopaedics had approximately a 3.36 to

 6.47 percent ownership interest in New Horizon ASC. Haar purportedly provided examinations to

 Covered Persons through Haar Orthopaedics, and fraudulently billed American Transit for medical

 and other healthcare services, pursuant to a fraudulent predetermined treatment protocol

 irrespective of medical necessity in exchange for kickbacks and/or other financial compensation

 paid by one or more of the Controllers and/or other entities owned, controlled, and operated by

 them and/or one or more of the John Does 2 through 20 or ABC Corporations 1 through 20.

        232.    Defendant Emmanuel Hostin, M.D. (“Hostin”) is a natural person residing in the

 State of New York, was licensed to practice medicine in the State of New York on or about August

 6, 2002 under license number 225878, and is listed with the New York Departments of State and/or

 Education as the record owner of Hostin Orthopaedics. Public records indicate that, since at least

 approximately 2016, Hostin has had approximately a 1.0750 to 1.9884 percent ownership interest

 in Empire State ASC and continues to have ownership interests in Empire State ASC. In




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 furtherance of the schemes to defraud alleged herein, Hostin knowingly provided fraudulent

 medical and other healthcare services including arthroscopic surgeries to Covered Persons through

 Hostin Orthopaedics that he purportedly performed at one or more of the Surgicore ASCs,

 including Empire State ASC, Fifth Avenue ASC, All City ASC, New Horizon ASC, Jersey City

 ASC, Saddlebrook ASC, and Rockaway ASC, and billed to American Transit through each of

 those entities in exchange for kickbacks and/or other compensation which were disguised as

 dividends or other cash distributions for his “investment” in Empire State ASC.

        233.    Defendant Hostin Orthopaedics & Sports Medicine, P.C. (“Hostin Orthopaedics”)

 was incorporated on or about February 14, 2006, and purports to be a professional corporation

 authorized to do business in the State of New York, with its principal place of business located at

 369 Lexington Avenue, Floor 8, New York, New York 10017. Defendant Hostin is the record owner

 of Hostin Orthopaedics and purportedly provided examinations to Covered Persons through Hostin

 Orthopaedics, and fraudulently billed American Transit for medical and other healthcare services,

 pursuant to a fraudulent predetermined treatment protocol irrespective of medical necessity in

 exchange for kickbacks and/or other financial compensation paid by one or more of the Controllers

 and/or other entities owned, controlled, and operated by them and/or one or more of the John Does

 2 through 20 or ABC Corporations 1 through 20.

        234.    Defendant Barry Katzman, M.D. (“Katzman”) is a natural person residing in the

 State of New York, was licensed to practice medicine in the State of New York on or about

 September 20, 1994 under license number 197240, and is listed with the New York Departments

 of State and/or Education as the record owner of Katzman PC. Public records and/or records

 produced by All City ASC indicate that, since approximately August 2018, Katzman has had

 approximately a 1.536 percent ownership interest in All City ASC, and Katzman continues to




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 have an ownership interest in All City ASC; since sometime after March 2017 and prior to

 November 2024, Katzman has had approximately a 1.2 to 2.8 percent ownership interest in Fifth

 Avenue ASC and Katzman continues to have ownership interests in Fifth Avenue ASC. In

 furtherance of the schemes to defraud alleged herein, Katzman knowingly provided fraudulent

 medical and other healthcare services including arthroscopic surgeries to Covered Persons through

 Katzman PC that he purportedly performed at one or more of the Surgicore ASCs, including Fifth

 Avenue ASC, North Queens ASC and All City ASC, and billed to American Transit through each

 of those entities in exchange for kickbacks and/or other compensation which were disguised as

 dividends or other cash distributions for his “investment” in All City ASC.

        235.    Defendant Katzman Orthopedics P.C. (“Katzman PC”) was incorporated on or

 about February 11, 2005, and purports to be a professional corporation authorized to do business

 in the State of New York, with its principal place of business located at 261 Jericho Turnpike,

 Floral Park, New York 11001. Defendant Katzman is the record owner of Katzman PC and

 purportedly provided examinations to Covered Persons through Katzman PC, and fraudulently

 billed American Transit for medical and other healthcare services, pursuant to a fraudulent

 predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

 and/or other financial compensation paid by one or more of the Controllers and/or other entities

 owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

 ABC Corporations 1 through 20.

        236.    Defendant Kenneth McCulloch, M.D. (“McCulloch”) is a natural person residing

 in the State of New York, was licensed to practice medicine in the State of New York on or about

 January 18, 2001 under license number 220173 and in the State of New Jersey on or about October

 12, 2011 under license number 25MA09009600, and is listed with the New York Departments of




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 State and/or Education as one of the record owners of McCulloch Orthopaedic and NYSJ. Public

 records indicate that, since approximately June of 2015, McCulloch has had approximately a 6 to

 15.09 percent ownership interest in New Horizon ASC and McCulloch continues to have an

 ownership interest in New Horizon ASC; and since approximately February 2017, McCulloch has

 had approximately a 12.54 to 18.87 percent ownership interest in Saddlebrook ASC and

 McCulloch continues to have an ownership interest in Saddlebrook ASC; since sometime after

 March of 2017 and prior to November of 2024, McCulloch has had approximately a 3.4 to 7.5

 percent ownership interest in Fifth Avenue ASC and McCulloch continues to have ownership

 interests in Fifth Avenue ASC. In furtherance of the schemes to defraud alleged herein, McCulloch

 knowingly provided fraudulent medical and other healthcare services including arthroscopic

 surgeries to Covered Persons through McCulloch Orthopaedic and NYSJ that he purportedly

 performed at one or more of the Surgicore ASCs, including New Horizon ASC, Fifth Avenue

 ASC, Saddlebrook ASC, Empire State ASC, All City ASC, North Queens ASC, Rockland and

 Bergen ASC, and Jersey City ASC, and billed to American Transit through each of those entities,

 in exchange for kickbacks and/or other compensation which were disguised as dividends or other

 cash distributions for his “investment” in New Horizon ASC and/or Saddlebrook ASC.

        237.    Defendant McCulloch has a history of involvement in insurance fraud schemes, in

 which he owned and controlled numerous healthcare practices and used them as vehicles to submit

 fraudulent insurance billing to insurance companies. For example, in Allstate Ins. Co., et al., v.

 Mendoza, D.C., et al., 18-cv-04361 (E.D.N.Y.), the plaintiffs alleged that McCulloch, through his

 involvement with New Horizon ASC, took part in a fraudulent scheme that included unnecessary

 medical referrals and services. Specifically, McCulloch was alleged to have become an

 owner/investor of New Horizon ASC in approximately 2014, which was merely used as a way to




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 disguise payments for patient referrals as returns on his purported investment. The payments from

 New Horizon ASC were alleged to have far eclipsed McCulloch’s investment. This scheme was

 alleged to be part of a broader practice in which medical professionals were made partial owners

 of New Horizon ASC in exchange for patient referrals. This scheme resulted in fraudulent billing

 practices, such as billing for services that were not necessary or not performed as described.

 Additionally, McCulloch was alleged to have received substantial payments from New Horizon

 ASC before his ownership was approved by NJDOH. Also, in Gov’t Emp. Ins. Co., et al., v.

 Accelerated DME Recovery, Inc. et al., 16-CV-00132 (E.D.N.Y.), the plaintiffs alleged that

 McCulloch, with other defendants, participated in a fraudulent scheme in which McCulloch

 performed medically unnecessary arthroscopic surgeries that did not require prolonged use of

 expensive rehabilitative devices, but for which McCulloch prescribed medically unnecessary post-

 surgical rehabilitative devices, such as Continuous Passive Motion Units and Cold Therapy Units.

 These prescriptions were alleged to have been made as a result of agreements with DME providers

 from which McCulloch would receive kickbacks for his referrals.

        238.   Defendant McCulloch Orthopaedic Surgical Services, P.L.L.C., also known as

 New York Sports and Joints Orthopaedic Specialists (“McCulloch Orthopaedic”) was organized

 on or about May 17, 2010, and purports to be a professional limited liability company authorized

 to do business in the State of New York, with its principal place of business located at 125-10

 Queens Boulevard Suite 9, Kew Gardens, New York 11415. Defendant McCulloch is the record

 owner of McCulloch Orthopaedic and purportedly provided examinations to Covered Persons

 through McCulloch Orthopaedic, and fraudulently billed American Transit for medical and other

 healthcare services, pursuant to a fraudulent predetermined treatment protocol irrespective of

 medical necessity in exchange for kickbacks and/or other financial compensation paid by one or




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  more of the Controllers and/or other entities owned, controlled and operated by them and/or one

  or more of the John Does 2 through 20 or ABC Corporations 1 through 20.

         239.    Defendant New York Sports and Joints Orthopaedic Specialists PLLC (“NYSJ”)

  was organized on or about January 10, 2014, and purports to be a professional limited liability

  company authorized to do business in the State of New York, with its principal place of business

  located at 63036 99th Street, 1st Floor, Rego Park, New York 11374, until its dissolution on or about

  August 10, 2021. Defendant McCulloch is the record owner of NYSJ and purportedly provided

  examinations to Covered Persons through NYSJ, including after it, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,

  controlled, and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20.

         240.    Defendant Mark McMahon, M.D. (“McMahon”) is a natural person residing in the

  State of New York, was licensed to practice medicine in the State of New York on or about

  November 13, 1987 under license number 173006 and in the State of New Jersey on or about

  September 26, 2013 under license number 25MA09388700, and is listed with the New York

  Departments of State and/or Education as the record owner of McMahon PC. Public records

  indicate that, since sometime after March of 2017 and prior to November of 2024, McMahon has

  had approximately a 1.2 to 2.7 percent ownership interest in Fifth Avenue ASC and McMahon

  continues to have an ownership interest in Fifth Avenue ASC. In furtherance of the schemes to

  defraud alleged herein, McMahon knowingly provided fraudulent medical and other healthcare

  services including arthroscopic surgeries to Covered Persons through McMahon PC, which in




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  exchange for kickbacks and/or other compensation, he purportedly performed at the Surgicore

  ASCs including but not limited to Fifth Avenue ASC, and billed to American Transit through each

  of these entities.

          241.    Defendant Mark S. McMahon, MD, PC (“McMahon PC”) was incorporated on or

  about November 02, 1995, and purports to be a professional corporation authorized to do business

  in the State of New York, with its principal place of business located at 876 Park Avenue, New

  York, New York 10021. Defendant McMahon is the record owner of McMahon PC and purportedly

  provided examinations to Covered Persons through McMahon PC, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,

  controlled, and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20.

          242.    Defendant Passaic Orthopedic Group P.C. (“Passaic Orthopedic”) was incorporated

  on or about March 24, 2010, and purports to be a professional corporation authorized to do business

  in the State of New Jersey, with its principal place of business located at 4 Rose Haven Lane,

  Rockleigh, New Jersey 07647. Defendant R. Seldes is the record owner of Passaic Orthopedic and

  purportedly provided examinations to Covered Persons through Passaic Orthopedic, and

  fraudulently billed American Transit for medical and other healthcare services, pursuant to a

  fraudulent predetermined treatment protocol irrespective of medical necessity in exchange for

  kickbacks and/or other financial compensation paid by one or more of the Controllers and/or other

  entities owned, controlled and operated by them and/or one or more of the John Does 2 through

  20 or ABC Corporations 1 through 20. Defendant Passaic Orthopedic Group P.C. transacted




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  business in New York State, including but not limited to participating in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         243.    Defendant Richard Seldes, M.D. (“R. Seldes”) is a natural person residing in the

  State of New Jersey, was licensed to practice medicine in the State of New York on or about

  November 2, 1999 under license number 216190 and in the State of New Jersey on or about

  September 16, 2003 under license number 25MA07659600, and is listed with the New York

  Departments of State and/or Education and/or New Jersey Department of Treasury as the record

  owner of NYC Orthopedic, Passaic Orthopedic, Seldes PC and Blue Wall Management. Public

  records indicate that, since approximately March of 2013, R. Seldes has had approximately a 12.12

  to 14.86 percent ownership interest in New Horizon ASC through Blue Wall Management and R.

  Seldes continues to have an ownership interest in New Horizon ASC through Blue Wall

  Management. In furtherance of the schemes to defraud alleged herein, R. Seldes knowingly

  provided fraudulent medical and other healthcare services including arthroscopic surgeries to

  Covered Persons through NYC Orthopedic, Passaic Orthopedic, and Seldes PC that he purportedly

  performed at one or more of the Surgicore ASCs, including Empire State ASC and New Horizon

  ASC, and billed to American Transit through each of those entities in exchange for kickbacks

  and/or other compensation which were disguised as dividends or other cash distributions for his

  “investment” in New Horizon ASC. Defendant R. Seldes transacted business in New York State,

  including but not limited to participating in the mailing of fraudulent insurance claims in New

  York State seeking reimbursement pursuant to the New York State No-Fault Law.

         244.    Defendant R. Seldes has a history of involvement in insurance fraud schemes, in

  which he purported to own and control numerous health care practices and used them as vehicles




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  to submit fraudulent insurance billing to insurance companies. For example, in Allstate Ins. Co.,

  et al. v. Melgar, P.T., et al., 22-cv-07634 (E.D.N.Y.), the plaintiffs alleged that defendants

  provided medically unnecessary and excessive healthcare services from various healthcare

  facilities that were, contrary to R. Seldes’s claim of being sole owner and operator, actually

  managed and controlled by other defendants. Also, in Allstate Ins. Co., et al., v. Walter E.

  Mendoza, D.C., et al., 18-cv-04361 (E.D.N.Y.), plaintiffs alleged that Seldes and Blue Wall

  Management were financially linked to New Horizon ASC and that Seldes submitted fraudulent

  billing to plaintiff insurance companies, and, through a referral network, regularly funneled

  patients to related PCs thus increasing billing to plaintiffs.

         245.    Defendant NYC Orthopedic and Spine, P.C. (“NYC Orthopedic”) was incorporated

  on or about March 12, 2010, and purports to be a professional corporation authorized to do business

  in the State of New York, with its principal place of business located at 740 Broadway Suite 605,

  New York, New York 10003. Defendant Seldes is the record owner of NYC Orthopedic and

  purportedly provided examinations to Covered Persons through NYC Orthopedic, and

  fraudulently billed American Transit for medical and other healthcare services, pursuant to a

  fraudulent predetermined treatment protocol irrespective of medical necessity in exchange for

  kickbacks and/or other financial compensation paid by one or more of the Controllers and/or other

  entities owned, controlled and operated by them and/or one or more of the John Does 2 through

  20 or ABC Corporations 1 through 20.

         246.    Defendant Richard M. Seldes, M.D., P.C. (“Seldes PC”) was incorporated on or

  about August 15, 2003, and purports to be a professional corporation authorized to do business in

  the State of New York, with its principal place of business located at 95-25 Queens Boulevard, 1st

  Floor, Rego Park, New York 11374. Defendant Seldes is the record owner of Seldes PC and




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  purportedly provided examinations to Covered Persons through Seldes PC, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,

  controlled and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20.

         247.    Defendant Gennadiy Shamalov, P.A. (“Shamalov”) is a natural person residing in

  the State of New York, and was licensed as a physician assistant in the State of New York on or

  about July 25, 2001 under license number 008219 and in the State of New Jersey on or about

  August 26, 2021 under license number 25MP00644300. Public records indicate that, since

  approximately August of 2018, Shamalov has had approximately 0.384% ownership interests in

  All City ASC, and Shamalov continues to have an ownership interest in All City ASC. On

  information and belief, Shamalov was also employed by and/or was an independent contractor of

  Apazidis PC and purportedly provided one or more of the Fraudulent Services at one or more of

  the Surgicore ASCs, including All City ASC and Fifth Avenue ASC, and through these entities

  also submitted bills to American Transit for such services. In furtherance of the schemes to defraud

  alleged herein, Shamalov knowingly provided fraudulent medical and other healthcare services to

  Covered Persons through Apazidis PC that he purportedly performed at one or more of the

  Surgicore ASCs, including All City ASC and Fifth Avenue ASC, and billed to American Transit

  through each of those entities in exchange for kickbacks and/or other compensation which were

  disguised as dividends or other cash distributions for his “investment” in All City ASC.

         248.    Based on substantial charges of practice without adequate supervision and failure

  to maintain records brought by the Office of Professional Medical Conduct, by Consent Order and




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  Agreement dated August 18, 2009, Shamalov agreed, inter alia, to a censure and reprimand, three

  years of probation, and a $10,000 fine. Shamalov completed the terms of his order effective August

  25, 2012.

         249.    Defendant Vinayak Sinha is a natural person residing in the State of Virginia and

  is named as a Defendant herein solely in his representative capacity as the Administrator of the

  Estate of Ajoy K. Sinha, M.D. (“Ajoy Sinha”) who, until his death on or about July 24, 2023, was

  a natural person residing in the State of New York and was licensed to practice medicine in the

  State of New York on or about May 1, 1996 under license number 202830. Ajoy Sinha is the

  record owner of Sinha Orthopedics and MSJR. Public records and/or records produced by All City

  ASC indicate that, since approximately February of 2017, Ajoy Sinha has had approximately 1.68

  to 1.71 percent ownership interests in Saddlebrook ASC, since approximately August 30, 2018,

  Ajoy Sinha has had approximately a 1.536 percent ownership interest in All City ASC, and since

  sometime after March of 2017 and prior to November of 2024, Ajoy Sinha had approximately a

  0.8 to 1.8 percent ownership interest in Fifth Avenue ASC; and, on information and belief, Ajoy

  Sinha continues to have ownership interests in Saddlebrook ASC, All City ASC, and Fifth Avenue

  ASC. In furtherance of the schemes to defraud alleged herein, Ajoy Sinha knowingly provided

  fraudulent medical and other healthcare services including arthroscopic surgeries to Covered

  Persons that he purportedly performed at one or more of the Surgicore ASCs, including All City

  ASC, Saddlebrook ASC, and New Horizon ASC, and billed to American Transit through each of

  those entities in exchange for kickbacks and/or other compensation which were disguised as

  dividends or other cash distributions for his “investments” in Saddlebrook ASC, All City ASC,

  and Fifth Avenue ASC. Ajoy Sinha transacted business in New York State, including but not




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  limited to participating in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         250.    Defendant Sinha Orthopedics PC (“Sinha Orthopedics”) was incorporated on or

  about September 29, 2015, and purports to be a professional corporation authorized to do business

  in the State of New Jersey, with its principal place of business located at 680 Broadway, Suite 205,

  Paterson, New Jersey 07514. Ajoy Sinha is the record owner of Sinha Orthopedics, and

  purportedly provided examinations to Covered Persons through Sinha Orthopedics, and

  fraudulently billed American Transit for medical and other healthcare services, pursuant to a

  fraudulent predetermined treatment protocol irrespective of medical necessity in exchange for

  kickbacks and/or other financial compensation paid by one or more of the Controllers and/or other

  entities owned, controlled and operated by them and/or one or more of the John Does 2 through

  20 or ABC Corporations 1 through 20. Defendant Sinha Orthopedics transacted business in New

  York State, including but not limited to participating in the mailing of fraudulent insurance claims

  in New York State seeking reimbursement pursuant to the New York State No-Fault Law.

         251.    Defendant Musculoskeletal and Arthritis Joint Replacement of Queens (“MSJR”)

  PC was incorporated on or about December 27, 1996, and purports to be a professional corporation

  authorized to do business in the State of New York, with its principal place of business located at

  295 Northern Boulevard, Suite 212, Great Neck, New York 11021. Ajoy Sinha is the record owner

  of MSJR and purportedly provided examinations to Covered Persons through MSJR, and

  fraudulently billed American Transit for medical and other healthcare services, pursuant to a

  fraudulent predetermined treatment protocol irrespective of medical necessity in exchange for

  kickbacks and/or other financial compensation paid by one or more of the Controllers and/or other




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  entities owned, controlled, and operated by them and/or one or more of the John Does 2 through

  20 or ABC Corporations 1 through 20.

         252.    Defendant Anjani Sinha, M.D. (“Anjani Sinha”) is a natural person residing in the

  State of New York, was licensed to practice medicine in the State of New York on or about August

  21, 1981 under license number 147448 and in the State of New Jersey on or about April 28, 1987

  under license number 25MA04979400, and is listed with the New York Departments of State

  and/or Education as the record owner of Anjani PC. Public records indicate that, since

  approximately December of 2023, Anjani Sinha has had approximately 0.6098 to 0.63 percent

  ownership interest in Manalapan ASC and Anjani Sinha continues to have an ownership interest

  in Manalapan ASC. In furtherance of the schemes to defraud alleged herein, Anjani Sinha

  knowingly provided fraudulent medical and other healthcare services, including arthroscopic

  procedures and/or surgeries to Covered Persons through Anjani PC that he purportedly performed

  at one or more of the Surgicore ASCs, including All City ASC, Manalapan ASC, and Fifth Avenue

  ASC, and billed to American Transit through each of those entities in exchange for kickbacks

  and/or other compensation which were disguised as dividends or other cash distributions for his

  “investment” in Manalapan ASC.

         253.    Defendant Anjani Sinha Medical P.C. (“Anjani PC”) was incorporated on or about

  May 22, 2019, and purports to be a professional corporation authorized to do business in the State

  of New York, with its principal place of business located at 10 Colonial Drive Upper, Brookville,

  New York 11545. Defendant Sinha is the record owner of Anjani PC and purportedly provided

  examinations to Covered Persons through Anjani PC, and fraudulently billed American Transit for

  medical and other healthcare services, pursuant to a fraudulent predetermined treatment protocol

  irrespective of medical necessity in exchange for kickbacks and/or other financial compensation




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  paid by one or more of the Controllers and/or other entities owned, controlled and operated by

  them and/or one or more of the John Does 2 through 20 or ABC Corporations 1 through 20.

         254.    Defendant Upendra Sinha, M.D. (“Upendra Sinha”) is a natural person residing in

  the State of New York, was licensed to practice medicine in the State of New York on or about

  June 15, 1979 under license number 138337 and in the State of New Jersey under license number

  25MA03603100, and is listed with the New York Departments of State and/or Education as the

  record owner of UK Sinha PC. Public records indicate that, between approximately January of

  2020 through January of 2023, Upendra Sinha had approximately a 1.34 percent ownership interest

  in Saddlebrook ASC. In furtherance of the schemes to defraud alleged herein, Upendra Sinha

  knowingly provided fraudulent medical and other healthcare services, including arthroscopic

  procedures and/or surgeries to Covered Persons through UK Sinha PC that he purportedly

  performed at one or more of the Surgicore ASCs, including All City ASC and Rockaways ASC,

  and billed to American Transit through each of those entities in exchange for kickbacks and/or

  other compensation which were disguised as dividends or other cash distributions for his

  “investment” in Saddlebrook ASC.

         255.    Defendant U.K. Sinha Physician P.C. (“U.K. PC”) was incorporated on or about

  September 14, 2020, and purports to be a professional corporation authorized to do business in the

  State of New York, with its principal place of business located at 61-55 Junction Boulevard, Apt

  21L, Rego Park, New York 11374. Defendant Upendra Sinha is the record owner of U.K. PC and

  purportedly provided examinations to Covered Persons through U.K. PC, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,




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  controlled and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20.

         256.    Defendant Bradley Wasserman, M.D. (“Wasserman”) is a natural person residing

  in the State of New York, was licensed to practice medicine in the State of New York on or about

  September 10, 2007 under license number 246054 and in the State of New Jersey on or about

  January 28, 2015 under license number 25MA09628500, and is listed with the New Jersey

  Department of Treasury as the record owner of BW Orthopedics. Public records indicate that, since

  approximately December 2017, Wasserman has had approximately a 0.935 to 2 percent ownership

  interest in Jersey City ASC and Wasserman continues to have an ownership interest in Jersey City

  ASC. In furtherance of the schemes to defraud alleged herein, Wasserman knowingly provided

  fraudulent medical and other healthcare services including arthroscopic procedures and/or

  surgeries to Covered Persons through BW Orthopedics that he purportedly performed at one or

  more of the Surgicore ASCs, including Jersey City ASC, and billed to American Transit through

  each of those entities in exchange for kickbacks and/or other compensation which were disguised

  as dividends or other cash distributions for his “investment” in Jersey City ASC.

         257.    Defendant Wasserman has a history of involvement in insurance fraud schemes, in

  which he owned and controlled numerous healthcare practices and used them as vehicles to submit

  fraudulent insurance billing to insurance companies. For example, in Douglas Schottenstein, et al.,

  v. U.S. Food and Drug Administration, et al., 122-cv-10883 (S.D.N.Y.), the plaintiffs allege that

  Wasserman conspired with Orthogen to exclude plaintiffs from the right to practice under the

  Regenokine Program License, resulting in the collection of monies that should have gone to

  plaintiffs for related blood drawing procedures and violating his duty to plaintiffs with deliberate

  fraud and deceit that risked the safety of patients due to the lack of government oversight.




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         258.    Defendant BW Orthopedics, LLC (“BW Orthopedics”) was organized on or about

  May 2017, and purports to be a foreign limited liability company authorized to do business in the

  State of New Jersey, with its principal place of business located at 125 East 63rd Street, New York,

  New York 10065. Defendant Wasserman is the record owner of BW Orthopedics and purportedly

  provided examinations to Covered Persons through BW Orthopedics, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,

  controlled, and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20. Defendant BW Orthopedics transacted business in New York State,

  including but not limited to participating in the mailing of fraudulent insurance claims in New

  York State and seeking reimbursement pursuant to the New York State No-Fault Law.

  VII.   The Surgicore Pain Management Providers

         259.    Defendant Alexander Bowen, M.D. (“Bowen”) is a natural person residing in the

  State of New York, was licensed to practice medicine in the State of New York on or about May

  19, 2016 under license number 284514, and is listed with the New York Departments of State

  and/or Education as the record owner of Alexander Bowen PLLC and Bowen PLLC. In furtherance

  of the schemes to defraud alleged herein, Bowen knowingly provided or caused to be provided

  fraudulent medical and other healthcare services, including pain management procedures,

  surgeries, and/or anesthesia services to Covered Persons directly and through Alexander Bowen

  PLLC and Bowen PLLC, which in exchange for kickbacks and/or other compensation, he

  purportedly performed at the Surgicore ASCs including but not limited to Fifth Avenue ASC,

  Rockaway ASC, and North Queens ASC, and billed to American Transit through each of these




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  entities. On information and belief, Bowen was also employed by, and/or was an independent

  contractor of, Amigud PC and Sedation Vacation and purportedly provided one or more of the

  Fraudulent Services at one or more of the Surgicore ASCs and through these entities also submitted

  bills to American Transit for such service.

         260.    Defendant Bowen, MD PLLC (“Bowen PLLC”) was organized on or about January

  06, 2021, and purports to be a professional limited liability company authorized to do business in

  the State of New York, with its principal place of business located at 68-38 Yellowstone Boulevard

  Suite BB1, Forest Hills, New York 11375. Bowen is the record owner of Bowen PLLC and

  purportedly provided examinations to Covered Persons through Bowen PLLC, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities

  owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

  ABC Corporations 1 through 20.

         261.    Defendant Andrew Hall, M.D. (“Hall”) is a natural person residing in the States of

  Florida and New York, and was licensed to practice medicine in the State of New York on or about

  September 14, 2018 under license number 296074, and is listed with the New York Departments

  of State and/or Education as the record owner of Hall PLLC. In furtherance of the schemes to

  defraud alleged herein, Hall knowingly provided fraudulent medical and other healthcare services,

  including pain management procedures and/or surgeries, to Covered Persons through Hall PLLC,

  which in exchange for kickbacks and/or other compensation, he purportedly performed at the

  Surgicore ASCs including but not limited to Rockaways ASC, Fifth Avenue ASC, North Queens

  ASC, and All City ASC, and billed to American Transit through each of these entities. On




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  information and belief, Hall was also employed by, and/or was an independent contractor of,

  Amigud PC, Sedation Vacation, and Portal Medical and purportedly provided one or more of the

  Fraudulent Services at one or more of the Surgicore ASCs and through these entities also submitted

  bills to American Transit for such service. Hall transacted business in New York State, including

  but not limited to participating in the mailing of fraudulent insurance claims in New York State

  seeking reimbursement pursuant to the New York State No-Fault Law.

         262.    Defendant Andrew Hall, M.D., PLLC (“Hall PLLC”) was organized on or about

  May 13, 2021, and purports to be a professional limited liability company authorized to do business

  in the State of New York, with its principal place of business located at 10 East 26th Street, #16E,

  New York, New York 10016. Defendant Hall is the record owner of Hall PLLC and purportedly

  provided examinations to Covered Persons through Hall PLLC, and fraudulently billed American

  Transit for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

  protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

  compensation paid by one or more of the Controllers and/or other entities owned, controlled and

  operated by them and/or one or more of the John Does 2 through 20 or ABC Corporations 1

  through 20. Defendant Hall transacted business in New York State, including but not limited to

  participating in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         263.    Defendant William B. Jones, M.D. (“Jones”) is a natural person residing in the State

  of New York, and was licensed to practice medicine in the State of New York on or about

  December 2, 1997 under license number 209039 and in the State of New Jersey on or about July

  10, 2012 under license number 25MA09152600, and is listed with the New York Departments of

  State and/or Education as the record owner of Phoenix Medical. Public records indicate that,




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  between approximately February of 2018 and January of 2024 Jones had approximately a 0.958 to

  1.302 percent ownership interest in Jersey City ASC; and between approximately April of 2018

  and January of 2022 Jones had an ownership interest between approximately 1.75 to 1.90 percent

  in New Horizon ASC. In furtherance of the schemes to defraud alleged herein, Jones knowingly

  provided fraudulent medical and other healthcare services, including pain management procedures

  and/or surgeries, to Covered Persons through Phoenix Medical that he purportedly performed at

  one or more of the Surgicore ASCs, including New Horizon ASC, Jersey City ASC, North Queens

  ASC, and Fifth Avenue ASC, and billed to American Transit through each of those entities in

  exchange for kickbacks and/or other compensation which were disguised as dividends or other

  cash distributions for his “investment” in Jersey City ASC and/or New Horizon ASC.

         264.    Defendant Jones has a history of involvement in insurance fraud schemes, in which

  he owned and/or controlled numerous healthcare practices and used them as vehicles to submit

  fraudulent insurance billing to insurance companies. For example, in Allstate Ins. Co., et al. v.

  Excell Clinical Lab, Inc., et al., 22-cv-00334 (E.D.N.Y.), plaintiffs alleged that defendants

  submitted false and fraudulent insurance claims through the U.S. Mail seeking reimbursement

  under New York’s “No-Fault” Laws (N.Y. Ins. Law 5101, et seq.) for urine drug testing and

  medical services, including surgeries and injections, that were medically unnecessary and were

  submitted using fraudulent billing practices and fake diagnoses. These allegations include

  Defendant Jones’ medically unnecessary provision of surgical procedures and/or injection, along

  with fraudulent referrals to an unlicensed urine drug testing laboratory where services were never

  actually provided, along with similar acts by Defendants Kotkes and Apazidis.

         265.    Defendant Phoenix Medical Services, P.C. d/b/a Rockville Center Pain

  Management & Rehabilitation (“Phoenix Medical”) was incorporated on or about July 17, 2000,




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  and purports to be a professional corporation authorized to do business in the State of New York,

  with its principal place of business located at 165 North Village Avenue Suite 5, Rockville Central,

  New York, 11570. Defendant Jones is the record owner of Phoenix Medical and purportedly

  provided examinations to Covered Persons through Phoenix Medical, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,

  controlled, and operated by them and/or one or more of the John Does 2 through 20 or ABC

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         266.    Defendant Joseph Jimenez, M.D. (“Jimenez”) is a natural person residing in the

  State of New Jersey, and was licensed to practice medicine in the State of New York on or about

  June 2, 2017 under license number 289551 and in the State of New Jersey on or about July 2, 2007

  under license number 25MA08277400, and is listed with the New York and New Jersey State

  Department of Treasury as the record owner of J Sports and Dev Healthcare. In furtherance of the

  schemes to defraud alleged herein, Jimenez knowingly provided fraudulent medical and other

  healthcare services, including pain management procedures and/or surgeries, to Covered Persons

  through J Sports and Dev Healthcare, which in exchange for kickbacks and/or other compensation,

  he purportedly performed at the Surgicore ASCs including but not limited to Rockaways ASC,

  Empire State ASC, Saddlebrook ASC, All City ASC, Fifth Avenue ASC, North Queens ASC, and

  Jersey City ASC, and billed to American Transit through each of these entities. Defendant Jimenez

  transacted business in New York State, including but not limited to participating in the mailing of

  fraudulent insurance claims in New York State seeking reimbursement pursuant to the New York

  State No-Fault Law.




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         267.    Defendant J Sports Medicine P.C. (“J Sports”) was incorporated on or about July

  28, 2020, and purports to be a professional corporation authorized to do business in the State of

  New York, with its principal place of business located at 150 Broadhollow Road, Melville, New

  York 11747. Defendant Jimenez is the record owner of J Sports and purportedly provided

  examinations to Covered Persons through J Sports, and fraudulently billed American Transit for

  medical and other healthcare services, pursuant to a fraudulent predetermined treatment protocol

  irrespective of medical necessity in exchange for kickbacks and/or other financial compensation

  paid by one or more of the Controllers and/or other entities owned, controlled, and operated by

  them and/or one or more of the John Does 2 through 20 or ABC Corporations 1 through 20.

         268.    Defendant Dev Healthcare LLC (“Dev Healthcare”) was organized on or about

  August 14, 2018, and purports to be a foreign limited liability company authorized to do business

  in the State of New Jersey, with its principal place of business located at 679 Montgomery Street,

  Jersey City, New Jersey 07306. Defendant Jimenez is the record owner of Dev Healthcare and

  purportedly provided examinations to Covered Persons through Dev Healthcare, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities

  owned, controlled and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20. Defendant Dev Healthcare transacted business in New York State,

  including but not limited to participating in the mailing of fraudulent insurance claims in New

  York State seeking reimbursement pursuant to the New York State No-Fault Law.

         269.    Defendant Gautam Khakhar, M.D. (“Khakhar”) is a natural person residing in the

  State of New York, was licensed to practice medicine in the State of New York on or about June




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  30, 2000 under license number 218201, and is listed with the New York Departments of State

  and/or Education as the record owner of PM&R. Public records indicate that, since at least 2023,

  Khakhar had an ownership interest (the percentage of which is presently unknown to Plaintiff) in

  Empire State ASC, and, on information and belief, Defendant Khakhar continues to have an

  ownership interest in Empire State ASC; and since sometime after January of 2019, Khakhar has

  had an ownership interest in North Queens ASC (the percentage of which is presently unknown to

  Plaintiff) and, on information and belief, Khakhar continues to have an ownership interest in North

  Queens ASC. In furtherance of the schemes to defraud alleged herein, Khakhar knowingly

  provided fraudulent medical and other healthcare services, including pain management procedures

  and/or surgeries, to Covered Persons through PM&R, which he purportedly performed at one or

  more of the Surgicore ASCs, including Empire State ASC and Fifth Avenue ASC, and billed to

  American Transit through each of those entities, in exchange for kickbacks and/or other

  compensation disguised as dividends or other cash distributions for his “investments” in Empire

  State ASC and/or North Queens ASC.

         270.    Defendant Physical Medicine & Rehabilitation of New York, PC (“PM&R”) was

  incorporated on or about February 28, 2005, and purports to be a professional corporation

  authorized to do business in the State of New York, with its principal place of business located at

  3815 Putnam Avenue, Bronx, New York 10463. Defendant Khakhar is the record owner of PM&R

  and purportedly provided examinations to Covered Persons through PM&R, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities




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  owned, controlled and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20.

         271.   Herschel Kotkes, M.D. (“Kotkes”) is a natural person residing in the State of New

  York, was licensed to practice medicine in the State of New York on or about July 10, 2001 under

  license number 221937, in the State of New Jersey on or about December 6, 2001 under license

  number 25MA07344300, and in the State of Florida on or about April 13, 2023 under license

  number ME161979, and is listed with the New York Departments of State and/or Education as the

  record owner of Kotkes PC. Public records indicate that, between approximately August 2020 and

  November 2023, Defendant Kotkes had approximately a 0.238 to 0.283 percent ownership interest

  in Jersey City ASC; and, between approximately November 2012 and March 2023, Kotkes had

  approximately a 0.95 to 1.38 percent ownership interest in Rockland and Bergen ASC and

  Defendant Kotkes continues to have an ownership interest in Rockland and Bergen ASC. In

  furtherance of the schemes to defraud alleged herein, Kotkes knowingly provided fraudulent

  medical and other healthcare services, including pain management procedures and/or surgeries, to

  Covered Persons through Kotkes PC that he purportedly performed at the Surgicore ASCs

  including but not limited to Fifth Avenue ASC, and billed to American Transit through each of

  those entities in exchange for kickbacks and/or other compensation which were disguised as

  dividends or other cash distributions for his “investments” in Jersey City ASC and Rockland and

  Bergen ASC.

         272.   Defendant Kotkes has a history of involvement in insurance fraud schemes, in

  which he owned and controlled numerous healthcare practices and used them as vehicles to submit

  fraudulent insurance billing to insurance companies. For example, in Allstate Ins. Co., et al. v.

  Excell Clinical Lab, Inc., et al., 22-cv-00334 (E.D.N.Y.), plaintiffs alleged that defendants




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  submitted false and fraudulent insurance claims through the U.S. Mail seeking reimbursement

  under New York’s “No-Fault” Laws (N.Y. Ins. Law 5101, et seq.) for urine drug testing and

  medical services, including surgeries and injections, that were medically unnecessary and were

  submitted using fraudulent billing practices and fake diagnoses. These allegations include

  Defendant Kotkes’ medically unnecessary provision of surgical procedures and/or injection, along

  with fraudulent referrals to an unlicensed urine drug testing laboratory where services were never

  actually provided, along with similar acts by Drs. Jones and Apazidis. Further, in State Farm

  Mutual Automobile Insurance Company, et al. v. Herschel Kotkes, M.D., P.C., et al 22-cv-03611

  (E.D.N.Y.), plaintiffs alleged that defendants, including Defendant Kotkes, submitted fraudulent

  and misleading bills to plaintiff for services purportedly rendered to individuals involved in motor

  vehicle accidents who were eligible for No-Fault insurance benefits. The medical treatments

  rendered were the product of a fraudulent predetermined treatment protocol designed to unlawfully

  exploit the patients’ No-Fault benefits while maximizing payments to Defendant Kotkes.

         273.    Defendant Herschel Kotkes, MD, PC (“Kotkes PC”) was incorporated on or about

  March 4, 2005, and purports to be a professional corporation authorized to do business in the State

  of New York, with its principal place of business located at 77 North Central Avenue, Rockville

  Center, New York 11570. Defendant Kotkes is the record owner of Kotkes PC and purportedly

  provided examinations to Covered Persons through Kotkes PC, and fraudulently billed American

  Transit for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

  protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

  compensation paid by one or more of the Controllers and/or other entities owned, controlled, and

  operated by them and/or one or more of the John Does 2 through 20 or ABC Corporations 1

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         274.    Defendant Benjamin Portal, M.D. (“Portal”) is a natural person residing in the State

  of New York, was licensed to practice medicine in the State of New York on or about August 2,

  2018 under license number 295350, and is listed with the New York Departments of State and/or

  Education as the record owner of Portal Medical. In furtherance of the schemes to defraud alleged

  herein, Portal knowingly provided fraudulent medical and other healthcare services, including pain

  management procedures and/or surgeries, to Covered Persons through Portal Medical, which in

  exchange for kickbacks and/or other compensation, he purportedly performed at the Surgicore

  ASCs including but not limited to Rockaway ASC and Fifth Avenue ASC, and billed to American

  Transit through each of these entities. On information and belief, Portal was also employed by,

  and/or was an independent contractor of Total Anesthesia, Sedation Vacation, Kotkes PC, Bowen

  PLLC, and Hall PLLC, and purportedly provided one or more of the Fraudulent Services at one or

  more of the Surgicore ASCs and through these entities also submitted bills to American Transit

  for such services.

         275.    Defendant Portal Medical, PC (“Portal Medical”) was incorporated on or about

  December 07, 2022, and purports to be a professional corporation authorized to do business in the

  State of New York, with its principal place of business located at 37 Auerbach Lane Lawrence,

  New York 11559. Defendant Portal is the record owner of Portal Medical and purportedly provided

  examinations to Covered Persons through Portal Medical, and fraudulently billed American

  Transit for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

  protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

  compensation paid by one or more of the Controllers and/or other entities owned, controlled, and

  operated by them and/or one or more of the John Does 2 through 20 or ABC Corporations 1

  through 20.




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         276.    Defendant David Shabtian, D.O. (“Shabtian”) is a natural person residing in the

  State of New York, and was licensed to practice medicine in the State of New York on or about

  May 10, 2010 under license number 257043, and is listed with the New York Departments of State

  and/or Education as the purported owner of Total Anesthesia. Public records indicate that, since

  approximately September 2021, Shabtian had approximately a 0.768 percent ownership interest in

  All City ASC, and Defendant Shabtian continues to have an ownership interest in All City ASC.

  According to public records, Shabtian has been the purported “medical director” of All City ASC

  since approximately November 1, 2022.

         277.    In furtherance of the schemes to defraud alleged herein, Shabtian knowingly

  provided fraudulent medical and other healthcare services, including pain management procedures

  and/or surgeries, to Covered Persons through Total Anesthesia, which he purportedly performed

  at one or more of the Surgicore ASCs, including All City ASC, North Queens ASC, Rockaway

  ASC, and Fifth Avenue ASC, and billed to American Transit through each of those entities in

  exchange for kickbacks and/or other compensation disguised as dividends or other cash

  distributions for his “investment” in All City ASC. On information and belief, Shabtian was also

  employed by, and/or was an independent contractor of Sedation Vacation and purportedly

  provided one or more of the Fraudulent Services at one or more of the Surgicore ASCs and through

  these entities also submitted bills to American Transit for such services. In furtherance of the

  schemes to defraud alleged herein, Shabtian was employed as a sham “medical director” of All

  City ASC who never intended to (and never did) fulfill his medical director duties as required by

  law, and who received compensation disguised as legitimate investment interests in one or more

  Surgicore ASCs, legitimate salary, and/or other legitimate compensation, which was in fact

  compensation for illegal kickbacks for steering or referring, or causing to be steered or referred,




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  Covered Persons to one or more of the Surgicore ASCs and/or for permitting one or more of the

  Controllers to operate All City ASC without the required medical director oversight.

         278.    Defendant Total Anesthesia Provider, PC (“Total Anesthesia”) was incorporated

  on or about May 21, 2014, and is a Domestic Professional Service Corporation authorized to do

  business in the State of New York, with its principal place of business located at 4 Sands Ct Great

  Neck, New York 11023. Defendant Shabtian is the record owner of Total Anesthesia and

  purportedly provided examinations to Covered Persons through Total Anesthesia, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities

  owned, controlled, and operated by them and/or one or more John Does or ABC Corporations.

         279.    Defendant Ketan Vora, D.O. (“Vora”) is a natural person residing in the State of

  New York, was licensed to practice medicine in the State of New York on or about February 22,

  2007 under license number 243182, and in the State of New Jersey on or about April 13, 2009

  under license number 25MB08561100, and is listed with the New York Departments of State

  and/or Education as the record owner of Vora PC, KDV Medical, KV Medical, NJ Vora, and Non-

  Surgical Orthopedics. Public records indicate that, between approximately December 2015 and

  December 2022, Vora had approximately a 0.61 percent ownership interests in New Horizon ASC;

  and since approximately November 2019, Vora has had approximately 1.23 to 1.79 percent

  ownership interests in Saddlebrook ASC and Vora continues to have ownership interests in

  Saddlebrook ASC. In furtherance of the schemes to defraud alleged herein, Vora knowingly

  provided fraudulent medical and other healthcare services, including pain management procedures

  and/or surgeries, to Covered Persons through Vora PC, KDV Medical, KV Medical, NJ Vora, and




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  Non-Surgical Orthopedics that he purportedly performed at one or more of the Surgicore ASCs,

  including North Queens ASC, Rockaway ASC, Saddlebrook ASC, New Horizon ASC, and

  Rockland and Bergen ASC, and billed to American Transit through each of those entities in

  exchange for kickbacks and/or other compensation which were disguised as dividends or other

  cash distributions for his “investments” in New Horizon ASC and/or Saddlebrook ASC.

         280.    Defendant Ketan D. Vora, D.O., P.C. (“Vora PC”) was incorporated on or about

  August 13, 2010, and purports to be a professional corporation authorized to do business in the

  State of New York, with its principal place of business located at 68-60 Austin Street Suite 404,

  Forest Hills, New York 11375. Defendant Vora is the record owner of Vora PC and purportedly

  provided examinations to Covered Persons through Vora PC and fraudulently billed American

  Transit for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

  protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

  compensation paid by one or more of the Controllers and/or other entities owned, controlled, and

  operated by them and/or one or more of the John Does 2 through 20 or ABC Corporations 1

  through 20.

         281.    Defendant KDV Medical, P.C. (“KDV Medical”) was incorporated on or about

  November 18, 2020, and purports to be a professional corporation authorized to do business in the

  State of New York, with its principal place of business located at 193 North Wellwood Avenue,

  Lindenhurst, New York 11759. Defendant Vora is the record owner of KDV Medical and

  purportedly provided examinations to Covered Persons through KDV Medical, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities




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  owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

  ABC Corporations 1 through 20.

         282.    Defendant KV Medical of NY, P.C. (“KV Medical ”) was incorporated on or about

  March 23, 2018, and purports to be a professional corporation authorized to do business in the

  State of New York, with its principal place of business located at 96 East Street, Hicksville, New

  York 11801. Defendant Vora is the record owner of KV Medical and purportedly provided

  examinations to Covered Persons through KV Medical, and fraudulently billed American Transit

  for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

  protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

  compensation paid by one or more of the Controllers and/or other entities owned, controlled, and

  operated by them and/or one or more of the John Does 2 through 20 or ABC Corporations 1

  through 20.

         283.    Defendant NJ Vora Health P.C., also known as Vora Health (“NJ Vora”) was

  incorporated on or about January 9, 2020, and purports to be a foreign professional corporation

  authorized to do business in the State of New Jersey, with its principal place of business located at

  1651 Federspiel Street, Fort Lee, New Jersey 07024. Defendant Vora is the record owner of NJ

  Vora and purportedly provided examinations to Covered Persons through NJ Vora, and

  fraudulently billed American Transit for medical and other healthcare services, pursuant to a

  fraudulent predetermined treatment protocol irrespective of medical necessity in exchange for

  kickbacks and/or other financial compensation paid by one or more of the Controllers and/or other

  entities owned, controlled, and operated by them and/or one or more of the John Does 2 through

  20 or ABC Corporations 1 through 20. Defendant NJ Vora transacted business in New York State,




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  including but not limited to participating in the mailing of fraudulent insurance claims in New

  York State seeking reimbursement pursuant to the New York State No-Fault Law.

         284.    Defendant Non-Surgical Orthopedics of New Jersey, PC (“Non-Surgical

  Orthopedics”) was incorporated on or about July 7, 2011, and purports to be a foreign professional

  corporation authorized to do business in the State of New Jersey, with its principal place of

  business located at 1107 Convery Boulevard, Suite 201, Perth Amboy, New Jersey 08861.

  Defendant Vora is the record owner of Non-Surgical Orthopedics. Public records indicate that,

  between approximately December 2015 and January 2022, Non-Surgical Orthopedics had

  approximately a 0.61 to 1.29 percent ownership interest in New Horizon ASC. Vora purportedly

  provided examinations to Covered Persons through Non-Surgical Orthopedics, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities

  owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

  ABC Corporations 1 through 20. Defendant Non-Surgical Orthopedics transacted business in New

  York State, including but not limited to participating in the mailing of fraudulent insurance claims

  in New York State seeking reimbursement pursuant to the New York State No-Fault Law.

         285.    Defendant Jinghui Xie, M.D. (“Xie”) is a natural person residing in the State of

  New Jersey, and was licensed to practice medicine in the State of New York on or about October

  5, 2012 under license number 267042, and is listed with the New York Departments of State and/or

  Education as the record owner of Integrated Pain Management. Public records indicate that,

  between approximately May 2017 and March 2018, Xie had approximately a 2.15 percent

  ownership interest in Saddlebrook ASC. In furtherance of the schemes to defraud alleged herein,




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  Xie knowingly provided fraudulent medical and other healthcare services, including pain

  management procedures and/or surgeries, to Covered Persons through Integrated Pain

  Management he purportedly performed at one or more of the Surgicore ASCs, including

  Manalapan ASC, Jersey City ASC, New Horizon ASC, and Saddlebrook ASC, and billed to

  American Transit through each of those entities in exchange for kickbacks and/or other

  compensation which were disguised as dividends or other cash distributions for his “investment”

  in Saddlebrook ASC. Defendant Xie transacted business in New York State, including but not

  limited to participating in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         286.    Defendant Xie has a history of involvement in insurance fraud schemes, in which

  she owned and controlled numerous healthcare practices and used them as vehicles to submit

  fraudulent insurance billing to insurance companies. For example, in Gov’t Emp. Ins. Co., et al. v.

  Caring Pain Management PC, et al., 22-cv-05017 (D.N.J.), plaintiffs alleged that defendants

  submitted fraudulent and unlawful No-Fault insurance charges through Caring Pain Management

  PC, owned by Xie for purported health services. Xie paid unlawful compensation in exchange for

  patient referrals to Caring Pain Management PC, received unlawful compensation in exchange for

  patient referrals to other facilities, and purported to perform many fraudulent services on behalf of

  Caring Pain Management PC. Further, in Gov’t Emp. Ins. Co., et al. v. Accelerated Rehab and

  Pain Management, et al., 20-cv-16361 (D.N.J.), plaintiffs alleged that defendants submitted

  fraudulent and unlawful No-Fault insurance charges relating to medically unnecessary, illusory,

  and otherwise non-reimbursable healthcare services. As part of the fraud, Xie purported to perform

  many fraudulent services billed to GEICO through Accelerated Rehab, which included initial




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  exams in which it was represented that the covered persons presented with problems of moderate

  to high severity.

         287.    Defendant Integrated Pain Management, PLLC (“Integrated Pain Management”)

  was organized on or about May 16, 2014, and purports to be a professional limited liability

  company authorized to do business in the State of New York, with its principal place of business

  located at 4602 6th Avenue, Brooklyn, New York 11220. Defendant Xie is the record owner of

  Integrated Pain Management and purportedly provided examinations to Covered Persons through

  Integrated Pain Management, and fraudulently billed American Transit for medical and other

  healthcare services, pursuant to a fraudulent predetermined treatment protocol irrespective of

  medical necessity in exchange for kickbacks and/or other financial compensation paid by one or

  more of the Controllers and/or other entities owned, controlled, and operated by them and/or one

  or more of the John Does 2 through 20 or ABC Corporations 1 through 20.

  VIII. The Surgicore Anesthesia Providers

         288.    Defendant Alexander Bowen, MD PLLC (“Alexander Bowen PLLC”) was

  organized on or about July 10, 2017, and purports to be a professional limited liability company

  authorized to do business in the State of New York, with its principal place of business located at

  68-38 Yellowstone Boulevard Suite BB1, Forest Hills, New York 11375. Defendant Bowen is the

  record owner of Alexander Bowen PLLC and purportedly provided anesthesia services to Covered

  Persons through Alexander Bowen PLLC, and fraudulently billed American Transit for medical

  and other healthcare services, pursuant to a fraudulent predetermined treatment protocol

  irrespective of medical necessity in exchange for kickbacks and/or other financial compensation

  paid by one or more of the Controllers and/or other entities owned, controlled and operated by

  them and/or one or more of the John Does 2 through 20 or ABC Corporations 1 through 20.




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         289.    Defendant Igor Amigud, M.D. (“Amigud”) is a natural person residing in the State

  of New York, and was licensed to practice medicine in the State of New York on or about August

  11, 1995 under license number 200459, and is listed with the New York Departments of State

  and/or Education as the record owner of Amigud PC and Fifth Avenue Anesthesia. Public records

  indicate that, between at least as early as March 2017 and prior to November 2024, Amigud had

  approximately an 8 to 10 percent ownership interest in Fifth Avenue ASC. In furtherance of the

  schemes to defraud alleged herein, Amigud knowingly provided fraudulent medical and other

  healthcare services including anesthesia services to Covered Persons through Amigud PC and Fifth

  Avenue Anesthesia that he purportedly performed at one or more of the Surgicore ASCs, including

  Fifth Avenue ASC, and billed to American Transit through each of those entities in exchange for

  kickbacks and/or other compensation which were disguised as dividends or other cash distributions

  for his “investment” in All City ASC.

         290.    Based on substantial charges of failing to file a report required by the health

  department brought by the Office of Professional Medical Conduct, by Consent Order and

  Agreement dated December 21, 2006, Amigud agreed, inter alia, to a $10,000 fine.

         291.    Defendant Igor Amigud Physician P.C. (“Amigud PC”) was incorporated on or

  about February 05, 2001, and purports to be a professional corporation authorized to do business

  in the State of New York, with its principal place of business located at 211 East 53rd Street Suite

  3K New York, New York 10022. Defendant Amigud is the record owner of Amigud PC and

  purportedly provided examinations to Covered Persons through Amigud PC, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities




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  owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

  ABC Corporations 1 through 20.

         292.    Defendant Fifth Avenue Anesthesia Associates, P.C. (“Fifth Avenue Anesthesia”)

  was incorporated on or about January 09, 2002, and purports to be a professional corporation

  authorized to do business in the State of New York, with its principal place of business located at

  1409 Fifth Avenue, New York, New York 10028. Defendant Amigud is the record owner of Fifth

  Avenue Anesthesia and purportedly provided examinations to Covered Persons through Fifth

  Avenue Anesthesia, and fraudulently billed American Transit for medical and other healthcare

  services, pursuant to a fraudulent predetermined treatment protocol irrespective of medical

  necessity in exchange for kickbacks and/or other financial compensation paid by one or more of

  the Controllers and/or other entities owned, controlled, and operated by them and/or one or more

  of the John Does 2 through 20 or ABC Corporations 1 through 20.

         293.    Defendant Edward Eaton, M.D. (“Eaton”) is a natural person residing in the State

  of New Jersey, was licensed to practice medicine in the State of New York on or about November

  13, 2003 under license number 230509 and in the State of New Jersey on or about February 1,

  2006 under license 25MA08038300, and is listed with the New Jersey State Department of

  Treasury as one of the record owners of Synergy Anesthesia. In furtherance of the schemes to

  defraud alleged herein, Eaton knowingly provided fraudulent medical and other healthcare

  services, including anesthesia services, to Covered Persons through Synergy Anesthesia, which in

  exchange for kickbacks and/or other compensation, he purportedly performed at the Surgicore

  ASCs including but not limited to Rockland and Bergen ASC, and billed to American Transit

  through each of these entities. Defendant Eaton transacted business in New York State, including




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  but not limited to participating in the mailing of fraudulent insurance claims in New York State

  and seeking reimbursement pursuant to the New York State No-Fault Law.

         294.    Defendant Wael Elkholy, M.D. (“Elkholy”) is a natural person residing in the State

  of New Jersey, was licensed to practice medicine in the State of New York on or about May 23,

  1996 under license number 203076, in the State of New Jersey on or about May 1, 2000 under

  license number 25MA07057900 and in the State of Florida on or about February 15, 2024 under

  license number ME166813, and is listed with the New Jersey State Department of Treasury as the

  record owner of Precision Anesthesia. Public records indicate that, between approximately

  December 2014 and February 2018, Elkholy had approximately a 0.5 to 0.81 percent ownership

  interest in New Horizon ASC; and between at least approximately April 2015 and November 2022,

  Elkholy had approximately a 1.57 to 16.18 percent ownership interest in Manalapan ASC. In

  furtherance of the schemes to defraud alleged herein, Elkholy knowingly provided fraudulent

  medical and other healthcare services, including pain management procedures and/or surgeries, to

  Covered Persons through Precision Anesthesia that he purportedly performed at one or more of

  the Surgicore ASCs including but not limited to New Horizon ASC, Manalapan ASC and

  Saddlebrook ASC, and billed to American Transit through each of those entities in exchange for

  kickbacks and/or other compensation which were disguised as dividends or other cash distributions

  for his “investment” in Manalapan ASC. Defendant Elkholy transacted business in New York

  State, including but not limited to participating in the mailing of fraudulent insurance claims in

  New York State seeking reimbursement pursuant to the New York State No-Fault Law.

         295.    Defendant Elkholy has a history of involvement in insurance fraud schemes, in

  which he owned and controlled numerous healthcare practices and used them as vehicles to submit

  fraudulent insurance billing to insurance companies. For example, in Gov’t Emp. Ins. Co., et al.,




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  v. Wael Elkholy, et al., 21-cv-16255 (D.N.J.), plaintiffs allege that Elkholy, as owner of Precision

  Pain & Spine Institute, L.L.C., provided medically unnecessary services, if services were provided

  at all, pursuant to a pre-determined protocol designed to enrich himself rather than treat the

  insureds. Further, Elkholy received unlawful compensation in exchange for patient referrals and

  engaged in an unlawful self-referral scheme.

         296.    Defendant Precision Anesthesia Associates, P.C., formerly known as Precision

  Anesthesia Associates Inc (“Precision Anesthesia”) was incorporated on or about September 23,

  2016, and purports to be a foreign professional corporation authorized to do business in the State

  of New Jersey, with its principal place of business located at 127 Grayson Drive, Belle Mead, New

  Jersey 08502. Defendant Elkholy is the record owner of Precision Anesthesia and purportedly

  provided examinations to Covered Persons through Precision Anesthesia, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,

  controlled, and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20. Defendant Precision Anesthesia transacted business in New York

  State, including but not limited to participating in the mailing of fraudulent insurance claims in

  New York State seeking reimbursement pursuant to the New York State No-Fault Law.

         297.    Defendant Kareem Eltaki, M.D. (“Eltaki”) is a natural person residing in the State

  of New Jersey and was licensed to practice medicine in the State of New York on or about August

  17, 2012 under license number 266330 and in the State of New Jersey on or about December 3,

  2007 under license number 25MA08345400, and is listed with the New Jersey State Department

  of Treasury as one of the record owners of Quality Anesthesia. Defendant Eltaki transacted




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  business in New York State, including but not limited to participating in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         298.    In furtherance of the schemes to defraud alleged herein, Eltaki knowingly provided

  fraudulent medical and other healthcare services, including anesthesia services, to Covered

  Persons through Quality Anesthesia, which in exchange for kickbacks and/or other compensation,

  he purportedly performed at the Surgicore ASCs including but not limited to Rockland and Bergen

  ASC, and billed to American Transit through each of these entities. Defendant Eltaki transacted

  business in New York State, including but not limited to participating in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         299.    Defendant Sen Pin Kao, MD (“Kao”) is a natural person residing in the State of

  New Jersey and was licensed to practice medicine in the State of New Jersey on or about November

  16, 1973 under license number 25MA02802800, and is listed with the New Jersey State

  Department of Treasury as the record owner of Progressive-Hudson. In furtherance of the schemes

  to defraud alleged herein, Kao knowingly provided fraudulent medical and other healthcare

  services, including anesthesia services to Covered Persons through Progressive-Hudson, which in

  exchange for kickbacks and/or other compensation, he purportedly performed at the Surgicore

  ASCs and billed to American Transit through each of these entities. Defendant Kao transacted

  business in New York State, including but not limited to participating in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.




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         300.   Defendant Progressive-Hudson Anesthesia, LLC (“Progressive-Hudson”) was

  organized on or about June 11, 2009, and purports to be a professional corporation authorized to

  do business in the State of New York, with its principal place of business located at 444 Market

  Street, Saddlebrook, New Jersey 07633. Defendant Kao is the record owner of Progressive-Hudson

  and purportedly provided services to Covered Persons through Progressive-Hudson, and

  fraudulently billed American Transit for medical and other healthcare services, pursuant to a

  fraudulent predetermined treatment protocol irrespective of medical necessity in exchange for

  kickbacks and/or other financial compensation paid by one or more of the Controllers and/or other

  entities owned, controlled, and operated by them and/or one or more of the John Does 2 through

  20 or ABC Corporations 1 through 20.

         301.   Defendant Asim Khan, M.D. (“ Khan”) is a natural person residing in the State of

  New Jersey and was licensed to practice medicine in the State of New York on or about June 10,

  2024 under license number 330845, and is listed with the New Jersey State Department of Treasury

  as the record owner of Anesthesia Professionals. In furtherance of the schemes to defraud alleged

  herein, Khan knowingly provided fraudulent medical and other healthcare services, including

  anesthesia services, to Covered Persons through Anesthesia Professionals, which in exchange for

  kickbacks and/or other compensation, he purportedly performed at the Surgicore ASCs including

  but not limited to Manalapan ASC, and billed to American Transit through each of these entities.

  Khan transacted business in New York State, including but not limited to participating in the

  mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant to the

  New York State No-Fault Law.

         302.   Defendant Anesthesia Professionals PA (“Anesthesia Professionals”) was formed

  on or about February 2018, and purports to be a foreign professional association authorized to do




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  business in the State of New Jersey, with its principal place of business located at 1919 Greenfree

  Road, Cherry Hill, New Jersey 08003. Defendant Khan is the record owner of Anesthesia

  Professionals and purportedly provided examinations to Covered Persons through Anesthesia

  Professionals, and fraudulently billed American Transit for medical and other healthcare services,

  pursuant to a fraudulent predetermined treatment protocol irrespective of medical necessity in

  exchange for kickbacks and/or other financial compensation paid by one or more of the Controllers

  and/or other entities owned, controlled and operated by them and/or one or more of the John Does

  2 through 20 or ABC Corporations 1 through 20. Defendant Anesthesia Professionals transacted

  business in New York State, including but not limited to participating in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         303.    Defendant Chad Itzkovich, M.D. (“Itzkovich”) is a natural person residing in the

  State of New Jersey and was licensed to practice medicine in the State of New York on or about

  September 23, 2004 under license number 234062 and in the State of New Jersey on or about

  February 2, 2006 under license number 25MA08040300, and is listed with the New Jersey State

  Department of Treasury as one of the record owners of Synergy Anesthesia. In furtherance of the

  schemes to defraud alleged herein, Itzkovich knowingly provided fraudulent medical and other

  healthcare services, including anesthesia services, to Covered Persons through Synergy

  Anesthesia, which in exchange for kickbacks and/or other compensation, he purportedly

  performed at the Surgicore ASCs including but not limited to Rockland and Bergen ASC, and

  billed to American Transit through each of these entities. Defendant Itzkovich transacted business

  in New York State, including but not limited to participating in the mailing of fraudulent insurance




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  claims in New York State and seeking reimbursement pursuant to the New York State No-Fault

  Law.

         304.    Defendant Synergy Anesthesia LLC (“Synergy Anesthesia”) was organized on or

  about April 25, 2011, and purports to be a foreign limited liability company authorized to do

  business in the State of New Jersey, with its principal place of business located at 1 Gatehall Drive,

  Suite 206, Parsippany, New Jersey 07054. Defendants Drs. Eaton and Itzkovich are the record

  owners of Synergy Anesthesia and purportedly provided examinations to Covered Persons through

  Synergy Anesthesia, and fraudulently billed American Transit for medical and other healthcare

  services, pursuant to a fraudulent predetermined treatment protocol irrespective of medical

  necessity in exchange for kickbacks and/or other financial compensation paid by one or more of

  the Controllers and/or other entities owned, controlled, and operated by them and/or one or more

  of the John Does 2 through 20 or ABC Corporations 1 through 20. Defendant Synergy Anesthesia

  transacted business in New York State, including but not limited to participating in the mailing of

  fraudulent insurance claims in New York State and seeking reimbursement pursuant to the New

  York State No-Fault Law.

         305.    Defendant Neal Kurtti, M.D. (“Kurtti”) is a natural person residing in the State of

  New York and was licensed to practice medicine in the State of New York on or about December

  7, 1989 under license number 180952 and in the State of New Jersey on or about September 3,

  1993 under license number 25MA05987400, and is listed with the New Jersey State Department

  of Treasury as one of the record owners of Quality Anesthesia. Public records indicate that,

  between approximately May 2012 and April 2022, Kurtti had approximately 0.33 to 0.89 percent

  ownership interests in Rockland and Bergen ASC through Ramapo ASC Holdings, LLC and

  Rockland and Bergen ASC Holdings, LLC (not named as defendants herein). In furtherance of the




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  schemes to defraud alleged herein, Kurtti knowingly provided fraudulent medical and other

  healthcare services, including anesthesia services, to Covered Persons through Quality Anesthesia,

  which in exchange for kickbacks and/or other compensation, he purportedly performed at the

  Surgicore ASCs including but not limited to Rockland and Bergen ASC, and billed to American

  Transit through each of these entities.

         306.    Defendant F. Robert McCarthy III, M.D. (“McCarthy”) is a natural person residing

  in the State of New Jersey and was licensed to practice medicine in the State of New York on or

  about November 1, 1985 under license number 164625, and is listed with the New Jersey State

  Department of Treasury as one of the record owners of Quality Anesthesia. Public records indicate

  that, between approximately September 2009 and April 2022, McCarthy had approximately 0.33

  to 1.33 percent ownership interests in Rockland and Bergen ASC through Ramapo ASC Holdings,

  LLC and Rockland and Bergen ASC Holdings, LLC (not named as defendants herein).

         307.    In furtherance of the schemes to defraud alleged herein, McCarthy knowingly

  provided fraudulent medical and other healthcare services, including pain management procedures

  and/or surgeries, to Covered Persons through Quality Anesthesia, which in exchange for kickbacks

  and/or other compensation, he purportedly performed at the Surgicore ASCs including but not

  limited to Rockland and Bergen ASC, and billed to American Transit through each of these

  entities. Defendant McCarthy transacted business in New York State, including but not limited to

  participating in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         308.    Defendant Quality Anesthesia Services LLC (“Quality Anesthesia”) was organized

  on or about January 6, 2020, and purports to be a foreign limited liability company authorized to

  do business in the State of New Jersey, with its principal place of business located at 32 Bonnie




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  Way, Allendale, New Jersey 07401. Defendants Drs. Kurtti, Eltaki, and McCarthy are the record

  owners of Quality Anesthesia and purportedly provided anesthesia services to Covered Persons

  through Quality Anesthesia, and fraudulently billed American Transit for medical and other

  healthcare services, pursuant to a fraudulent predetermined treatment protocol irrespective of

  medical necessity in exchange for kickbacks and/or other financial compensation paid by one or

  more of the Controllers and/or other entities owned, controlled and operated by them and/or one

  or more of the John Does 2 through 20 or ABC Corporations 1 through 20. Defendant Quality

  Anesthesia transacted business in New York State, including but not limited to participating in the

  mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant to the

  New York State No-Fault Law.

         309.    Defendant Avishai T. Neuman, M.D. (“Neuman”) is a natural person residing in

  the State of New York and was licensed to practice medicine in the State of New York on or about

  August 9, 2007 under license number 245594, and is listed with the New York Departments of

  State and/or Education as the purported owner of Neuman PC, Neuman PLLC, Sedation Vacation,

  Centurion Midtown Anesthesia, Centurion Midtown Medical, and Centurion Anesthesia Surgical.

  In furtherance of the schemes to defraud alleged herein, Neuman was All City ASC’s purported

  Director of Anesthesia.

         310.    In furtherance of the schemes to defraud alleged herein, Neuman knowingly

  provided fraudulent medical and other healthcare services, including anesthesia services, to

  Covered Persons through Neuman PC, Neuman PLLC, Sedation Vacation, Centurion Midtown

  Anesthesia, Centurion Midtown Medical, and Centurion Anesthesia Surgical, which in exchange

  for kickbacks and/or other compensation, he purportedly performed at the Surgicore ASCs

  including but not limited to All City ASC, Empire State ASC, North Queens ASC, Rockaway




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  ASC, Fifth Avenue ASC, and New Horizon ASC, and billed to American Transit through each of

  these entities.

          311.      Defendant Avishai Neuman Medical P.C. (“Neuman PC”) was incorporated on or

  about June 9, 2015, and purports to be a professional corporation authorized to do business in the

  State of New York, with its principal place of business located at 811 Wilson Street, Valley Stream,

  New York 11581. Defendant Neuman is the record owner of Neuman PC and purportedly provided

  anesthesia services to Covered Persons through Neuman PC, and fraudulently billed American

  Transit for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

  protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

  compensation paid for by one or more of the Controllers and/or other entities owned, controlled,

  and operated by them and/or one or more of the John Does 2 through 20 or ABC Corporations 1

  through 20.

          312.      Defendant Avishai T. Neuman MD, PLLC d/b/a Centurion Anesthesia (“Neuman

  PLLC”) was organized on or about August 31, 2010, and purports to be a professional limited

  liability company authorized to do business in the State of New York, with its principal place of

  business located at 811 Wilson Street, Valley Stream, New York 11581. Defendant Neuman is the

  record owner of Neuman PLLC and purportedly provided anesthesia services to Covered Persons

  through Neuman PLLC, and fraudulently billed American Transit for medical and other healthcare

  services, pursuant to a fraudulent predetermined treatment protocol irrespective of medical

  necessity in exchange for kickbacks and/or other financial compensation paid by one or more of

  the Controllers and/or other entities owned, controlled, and operated by them and/or one or more

  of the John Does 2 through 20 or ABC Corporations 1 through 20.




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         313.    Defendant Sedation Vacation Perioperative Medicine, PLLC doing business as

  Centurion Anesthesia (“Sedation Vacation”) was organized on or about November 14, 2016, and

  purports to be a professional limited liability company authorized to do business in the State of

  New York, with its principal place of business located at 811 Wilson Street, Valley Stream, New

  York 11581. Defendant Neuman is the record owner of Sedation Vacation and purportedly

  provided anesthesia services to Covered Persons through Sedation Vacation, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities

  owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

  ABC Corporations 1 through 20.

         314.    Defendant Centurion Midtown Anesthesia, PLLC (“Centurion Midtown

  Anesthesia”) was organized on or about January 14, 2022, and purports to be a professional limited

  liability company authorized to do business in the State of New York, with its principal place of

  business located at 211 East 53rd Street Suite 3K, New York, York 10002. Defendant Neuman is

  the record owner of Centurion Midtown Anesthesia and purportedly provided anesthesia services

  to Covered Persons through Centurion Midtown Anesthesia, and fraudulently billed American

  Transit for medical and other healthcare services, pursuant to a fraudulent predetermined treatment

  protocol irrespective of medical necessity in exchange for kickbacks and/or other financial

  compensation paid by one or more of the Controllers and/or other entities owned, controlled and

  operated by them and/or one or more of the John Does 1 through 20 or ABC Corporations 1

  through 20.




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         315.    Defendant Centurion Midtown Medical, PLLC (“Centurion Midtown Medical”)

  was organized on or about January 18, 2022, and purports to be a professional limited liability

  company authorized to do business in the State of New York, with its principal place of business

  located at 211 East 53 Street Suite 3K, New York, York 10002. Defendant Neuman is one of the

  record owners of Centurion Midtown Medical along with Amigud and purportedly provided

  anesthesia services to Covered Persons through Centurion Midtown Medical, and fraudulently

  billed American Transit for medical and other healthcare services, pursuant to a fraudulent

  predetermined treatment protocol irrespective of medical necessity in exchange for kickbacks

  and/or other financial compensation paid by one or more of the Controllers and/or other entities

  owned, controlled, and operated by them and/or one or more of the John Does 2 through 20 or

  ABC Corporations 1 through 20.

         316.    Defendant Centurion Anesthesia Surgical Centers, LLC (“Centurion Anesthesia

  Surgical”) was organized on or about September 24, 2021, and purports to be a foreign limited

  liability company authorized to do business in the State of New Jersey, with its principal place of

  business located at 411 Hackensack Avenue, 5th Floor, Hackensack, New Jersey 07601. Defendant

  Neuman is the record owner of Centurion Anesthesia Surgical and purportedly provided anesthesia

  services to Covered Persons through Centurion Anesthesia Surgical, and fraudulently billed

  American Transit for medical and other healthcare services, pursuant to a fraudulent predetermined

  treatment protocol irrespective of medical necessity in exchange for kickbacks and/or other

  financial compensation paid by one or more of the Controllers and/or other entities owned,

  controlled, and operated by them and/or one or more of the John Does 2 through 20 or ABC

  Corporations 1 through 20. Defendant Centurion Anesthesia Surgical transacted business in New




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  York State, including but not limited to participating in the mailing of fraudulent insurance claims

  in New York State seeking reimbursement pursuant to the New York State No-Fault Law.

         317.    Defendant Athanasios Scinas, M.D. (“Scinas”) is a natural person residing in the

  State of New Jersey and was licensed to practice medicine in the State of New Jersey on or about

  July 26, 1999 under license number 25MA06945500, and is listed with the New Jersey State

  Department of Treasury as the record owner of Roxbury Anesthesia. Public records indicate that

  Scinas had ownership interests in Journal Square Surgical Center, LLC (not named as a defendant

  herein) before its assets were acquired by Jersey City ASC. In furtherance of the schemes to

  defraud alleged herein, Defendant Scinas knowingly provided fraudulent medical and other

  healthcare services, including anesthesia services, to Covered Persons through Roxbury

  Anesthesia, which in exchange for kickbacks and/or other compensation, he purportedly

  performed at the Surgicore ASCs including but not limited to Jersey City ASC and Manalapan

  ASC, and billed to American Transit through each of these entities. Defendant Scinas transacted

  business in New York State, including but not limited to participating in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         318.    Defendant Roxbury Anesthesia, LLC (“Roxbury Anesthesia”) was organized on or

  about December 27, 2006, and purports to be a foreign limited liability company authorized to do

  business in the State of New Jersey, with its principal place of business located at 550 Newark

  Avenue 5th Floor, Jersey City, New Jersey 07306. Defendant Scinas is the record owner of Roxbury

  Anesthesia and purportedly provided anesthesia services to Covered Persons through Roxbury

  Anesthesia, and fraudulently billed American Transit for medical and other healthcare services,

  pursuant to a fraudulent predetermined treatment protocol irrespective of medical necessity in




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  exchange for kickbacks and/or other financial compensation paid by one or more of the Controllers

  and/or other entities owned, controlled, and operated by them and/or one or more of the John Does

  2 through 20 or ABC Corporations 1 through 20. Defendant Roxbury Anesthesia transacted

  business in New York State, including but not limited to participating in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

  IX.    The Associated Companies/Individuals

         319.    Defendant Advanced PMR Management Ltd Liability Co. (“Advanced PMR”) was

  organized on or about February 13, 2017 and purports to be a foreign limited liability company

  authorized to do business in the State of New Jersey with its principal place of business located at

  46 Newman Springs Road East, Red Bank, New Jersey 07701. At all relevant times herein,

  Advanced PMR has been owned on paper by Harris Hafeez and Daniel Reizis. According to

  corporate filings, Hafeez and Reizis were Advanced PMR’s sole members/managers. Public

  records indicate that, between approximately August 2019 and June 2021, either Advanced PMR

  or its principals, Hafeez and Reizis, collectively had approximately a 1.18 to 1.52 percent

  ownership interest in Manalapan ASC. In or about 2018, Advanced PMR was acquired by

  Defendant Health Plus Management and served, in part, as a feeder of Covered Persons to one or

  more of the Surgicore ASCs. Defendant Advanced PMR transacted business in New York State,

  including but not limited to participating in and/or facilitating the fraudulent scheme described

  herein to conceal the full extent of the Controllers’ ownership and control and/or engaging in the

  referral/kickback scheme to steer or refer, or cause to be steered or referred, a steady stream of

  Covered Persons to one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent




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  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         320.    Defendant AEH Healthcare Management Consulting LLC (“AEH Healthcare

  Management”) was organized on or about March 8, 2019 and purports to be a foreign limited

  liability company authorized to do business in the States of New Jersey and New York, with its

  principal place of business located at 709 Kingsland Avenue, Ridgefield, New Jersey 07657. At

  all relevant times herein, AEH Healthcare Management has been owned and controlled by Hoyle.

  Rockland and Bergen ASC represented to the New Jersey Department of Health (“NJDOH”) that

  AEH Healthcare Management was owned solely by Hoyle. According to its corporate filings,

  Hoyle is AEH Healthcare Management’s sole member/manager and registered agent. Public

  records indicate that, since approximately March of 2021, AEH Healthcare Management has had

  approximately a 0.4285 percent ownership interest in Rockland and Bergen ASC and AEH

  Healthcare Management continues to have an ownership interest in Rockland and Bergen ASC;

  since at least approximately 2023, AEH Healthcare Management has had an ownership interest in

  Empire State ASC (the percentage of which is presently unknown to Plaintiff) and AEH Healthcare

  Management continues to have an ownership interest in Empire State ASC; and since sometime

  after January 2019, AEH Healthcare Management has had an ownership interest in North Queens

  ASC (the percentage of which is presently unknown to Plaintiff) and AEH Healthcare

  Management continues to have an ownership interest in North Queens ASC.

         321.    Defendant ASC Investment Services LLC (“ASC Investment Services”) was

  organized on or about February 23, 2011 and purports to be a foreign limited liability company

  authorized to do business in the State of New Jersey, with its principal place of business located at

  2 Deer Trail Court, Ringwood, New Jersey 07465. At all relevant times herein, ASC Investment




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  Services has been owned on paper by Amanda Chavez and/or Maribel Ramirez. From 2013

  through May 2020, New Horizon ASC represented to NJDOH that ASC Investment Services was

  owned solely by Chavez. New Horizon ASC represented to NJDOH that the registered owner of

  ASC Investment Services changed from Chavez to Ramirez on May 1, 2020. According to its

  corporate filings, in 2011, Chavez was ASC Investment Services’ sole member/manager, and

  registered agent. In 2017, Ramirez replaced Chavez as ASC Investment Services’ registered agent.

  Though New Horizon ASC and Saddlebrook ASC represented that ASC Investment Services was

  only owned only by Chavez or Ramirez, “Amaury,” i.e., Romero was identified as ASC

  Investment Services’ only owner in a record dated January 1, 2023 received from NJDOH that

  was presumably prepared by Saddlebrook ASC and/or prepared by NJDOH based on information

  provided by Saddlebrook ASC to NJDOH. Though he has not been identified as an owner of New

  Horizon ASC since at least as early as 2011, Romero repeatedly held himself out as a

  member/manager of New Horizon ASC on records submitted to NJDOH between at least 2016

  and 2023. Public records indicate that, since approximately February of 2011, ASC Investment

  Services has had approximately a 6.19 percent ownership interest in New Horizon ASC and ASC

  Investment Services continues to have an ownership interest in New Horizon ASC; and since

  approximately February of 2017, ASC Investment Services has had approximately a 1.12 percent

  ownership interest in Saddlebrook ASC and ASC Investment Services continues to have an

  ownership interest in Saddlebrook ASC. At all relevant times herein, Chavez and/or Ramirez were

  nominal or straw owners of ASC Investment Services, which was actually owned and/or controlled

  by Romero and/or one or more of the John Does 2 through 20. Defendant ASC Investment Services

  transacted business in New York State, including but not limited to participating and/or facilitating

  the fraudulent scheme described herein to conceal the full extent of the Controllers’ ownership and




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  control and/or engaging in the referral/kickback scheme to steer or refer, or cause to be steered or

  referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted

  in the mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant

  to the New York State No-Fault Law.

         322.    Defendant ASAR Healthcare LLC (“ASAR Healthcare”) was organized on or

  about November 16, 2012 and purports to be a foreign limited liability company authorized to do

  business in the State of New Jersey, with its principal place of business located at 680 Broadway,

  Suite 205, Paterson, New Jersey 07501. At all relevant times herein, ASAR Healthcare has been

  owned on paper by Beata Kogan, Alla Revutsky and/or Tylman. In 2013, New Horizon ASC

  represented to NJDOH that ASAR Healthcare was jointly and equally owned by B. Kogan and

  Revutsky. In 2013 and 2014, New Horizon ASC represented to NJDOH that B. Kogan and/or

  ASAR Healthcare owned fifty percent of New Horizon ASC. However, in December of 2019,

  Rockland and Bergen ASC represented to NJDOH that ASAR Healthcare was owned solely by

  Tylman. Additionally, in its November 2016 license application, Jersey City ASC represented to

  NJDOH that ASAR Healthcare was owned by Tylman. In UCC financing statements filed with

  the Delaware State Division of Corporations (“DSDC”) on November 18, 2019, Ortuz LLC was

  identified as having an ownership interest in ASAR Healthcare. Public records indicate that, since

  approximately March of 2013, ASAR Healthcare has had approximately a 30.96 percent

  ownership interest in New Horizon ASC and ASAR Healthcare continues to have an ownership

  interest in New Horizon ASC. At all relevant times herein, B. Kogan and Revutsky were nominal

  or straw owners of ASAR Healthcare, which was actually owned and/or controlled by Tylman,

  including through Ortuz, and/or Kogan. Defendant ASAR Healthcare transacted business in New

  York State, including but not limited to participating in and/or facilitating the fraudulent scheme




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  described herein to conceal the full extent of the Controllers’ ownership and control and/or

  engaging in the referral/kickback scheme to steer or refer, or cause to be steered or referred, a

  steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted in the

  mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant to the

  New York State No-Fault Law.

         323.    Defendant AS Med Invest LLC (“AS Med Invest”) was organized on or about

  March 2, 2022 and purports to be a limited liability company authorized to do business in the State

  of New York, with its principal place of business located at 7009 Austin Street Suite 204, Forest

  Hills, New York 11375. At all relevant times herein AS Med Invest has been owned on paper by

  Albert Shakarov. According to the articles of organization filed with the New York Department of

  State (“NYDOS”), AS Med Invest was organized by Shakarov. Public records indicate that, since

  approximately November of 2022, AS Med Invest has had approximately a 1.26 to 1.3 percent

  ownership interest in New Horizon ASC and AS Med Invest continues to have an ownership

  interest in New Horizon ASC; since approximately March 2022, AS Med Invest has had

  approximately a 0.56 percent ownership interest in Saddlebrook ASC and AS Med Invest

  continues to have an ownership interest in Saddlebrook ASC; and since approximately February

  2022, AS Med Invest has had approximately a 0.935 percent ownership interest in Jersey City

  ASC and AS Med Invest continues to have an ownership interest in Jersey City ASC. At all

  relevant times herein, Shakarov was a nominal or straw owner of AS Med Invest, which was

  actually owned and/or controlled by one or more of the John Does 2 through 20.

         324.    Defendant BDP Ventures Inc (“BDP Ventures Inc.”) was incorporated on or about

  May 1, 2018 and purports to be a corporation authorized to do business in the States of New York

  and New Jersey, with its principal place of business located at 573 Remsens Lane, Oyster Bay,




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  New York 11753. At all relevant times herein, BDP Ventures Inc. has been owned on paper by

  Mary Hatami, Hatami and/or Degradi. According to its corporate filings, on May 1, 2018, the same

  date that BDP Ventures LLC was dissolved, BDP Ventures Inc was incorporated and listed M.

  Hatami as its registered agent. Per its 2024 annual report filed with NJDOT, M. Hatami is BDP

  Ventures Inc.’s CEO and director. In or around January 15, 2020, BDP Ventures Inc. filed a

  certificate of authority to conduct business in New Jersey with the New Jersey Department of

  Treasury (“NJDOT”), listing Hatami as its president. According to its annual reports filed with

  NJDOT, in 2021 and 2022, Degradi was listed as BDP Ventures Inc.’s director and manager, and

  in 2023 and 2024, M. Hatami was listed as BDP Ventures Inc.’s director and owner. Since

  approximately May 2018, BDP Ventures Inc. has had approximately a 6.25 to 7.74 percent

  ownership interest in New Horizon ASC and BDP Ventures Inc. continues to have an ownership

  interest in New Horizon ASC. At all relevant times herein, M. Hatami was a nominal or straw

  owner of BDP Ventures Inc., which was actually owned and/or controlled by Hatami and/or

  Degradi.

         325.    Defendant BDP Ventures LLC (“BDP Ventures LLC”) was organized on or about

  November 4, 2014 and purported to be a domestic limited liability company authorized to do

  business in the State of New York, with its principal place of business located at 9 The Preserve,

  Woodbury, New York 11797, until its dissolution on or about May 1, 2018. At all relevant times

  herein, BDP Ventures LLC has been owned on paper by M. Hatami and/or Hatami. New Horizon

  ASC represented to NJDOH that BDP Ventures LLC was solely owned by M. Hatami. According

  to its corporate filings, BDP Ventures LLC was formed by M. Hatami and reported Hatami as its

  member in 2016. Public records indicate that, since approximately June 2015, BDP Ventures LLC

  has had approximately a 6.25 to 7.74 percent ownership interest in New Horizon ASC and BDP




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  Ventures LLC continues to have an ownership interest in New Horizon ASC, despite its dissolution

  on or about May 1, 2018. At all relevant times herein, M. Hatami was a nominal or straw owner

  of BDP Ventures LLC, which was actually owned and/or controlled by Hatami.

         326.    Defendant Blue Wall Management, LLC (“Blue Wall Management”) was

  organized on or about June 12, 2012 and purports to be a foreign limited liability company

  authorized to do business in the State of New Jersey, with its principal place of business located at

  4 Rose Haven Lane, Rockleigh, New Jersey 07647. At all relevant times herein, Blue Wall

  Management has been owned on paper by Seldes or Marla Seldes. According to its certificate of

  formation, Blue Wall Management provides “consulting services” and M. Seldes was its

  member/manager. New Horizon ASC also represented to NJDOH in 2013 that M. Seldes was Blue

  Wall Management’s sole member. Since 2016, New Horizon ASC has represented that “Richard

  Seldes, MD c/o Blue Wall Management, LLC” is one of New Horizon ASC’s owners. In 2013 and

  2014, New Horizon ASC represented to NJDOH that Blue Wall Management and/or M. Seldes

  owned fifteen percent of New Horizon ASC. Public records indicate that, since approximately

  March of 2013, Blue Wall Management has had approximately a 13.62 to 15 percent ownership

  interest in New Horizon ASC and Blue Wall Management continues to have an ownership interest

  in New Horizon ASC. At all relevant times herein, M. Seldes was a nominal or straw owner of

  Blue Wall Management, which was actually owned and/or controlled by Seldes. Defendant Blue

  Wall Management transacted business in New York State, including but not limited to

  participating and/ or facilitating the fraudulent scheme described herein to conceal the full extent

  of the Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer

  or refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of




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  the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York

  State seeking reimbursement pursuant to the New York State No-Fault Law.

         327.    Defendant Boost HS LLC (“Boost HS”) was organized on or about July 8, 2021

  and purports to be a limited liability company authorized to do business in the State of New York,

  with its principal place of business located at 73-35 195th Street, Fresh Meadows, New York

  11366. At all relevant times herein, Boost HS has been owned on paper by Roza Yadgarov.

  Saddlebrook ASC and Rockland and Bergen ASC represented to NJDOH that Boost HS is owned

  solely by Yadgarov. According to its corporate filings, Yadgarov was the organizer and registered

  agent for Boost HS. Public records indicate that, between approximately September 2021 and

  January 2024, Boost HS had approximately a 1.17 to 1.19 percent ownership interest in

  Saddlebrook ASC; and, since approximately May 2022, Boost HS had approximately a 0.8569

  percent ownership interest in Rockland and Bergen ASC and Boost HS continues to have an

  ownership interest in Rockland and Bergen ASC.

         328.    Defendant Capleo Holdings, LLC (“Capleo Holdings”) was organized on or about

  April 24, 2024 and purports to be a foreign limited liability company authorized to do business in

  the State of New Jersey with its principal place of business located at 101 Bristol Drive, Woodbury,

  New York 11797. At all relevant times, Capleo Holdings has been owned and controlled by Jeffrey

  Rubin. Saddlebrook ASC represented to NJDOH that Capleo Holdings is owned solely by Rubin.

  According to its corporate filings, Rubin filed the certificate of formation for Capleo Holdings and

  was listed as its sole member/manager. Public records indicate that, since approximately June of

  2024, Capleo Holdings has had approximately a 1.69 percent ownership interest in Saddlebrook

  ASC and Capleo Holdings continues to have an ownership interest in Saddlebrook ASC.

  Defendant Capleo Holdings transacted business in New York State, including but not limited to




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  participating and/ or facilitating the fraudulent scheme described herein to conceal the full extent

  of the Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer

  or refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of

  the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York

  State seeking reimbursement pursuant to the New York State No-Fault Law.

         329.    Defendant Conte De Fees Inc (“Conte De Fees”) was incorporated on or about July

  27, 2015 and purports to be a corporation authorized to do business in the State of New York, with

  its principal place of business located at 253 Route 211 East Suite 201, Middletown, New York

  10940, until its dissolution on or about September 16, 2024. At all relevant times herein, Conte De

  Fees was owned and controlled by Sergey Denevich. New Horizon ASC, Jersey City ASC, and

  Rockland and Bergen ASC reported that Conte De Fees was solely owned by Denevich. According

  to its corporate filings with NYDOS, Conte De Fees was incorporated by Denevich and reported

  Denevich as its sole officer/director. In a July 31, 2015 letter to NJDOH that Denevich apparently

  authored, Denevich represented to NJDOH that he was the sole owner of Conte De Fees and

  intended to remain its sole owner for an indefinite period of time. Public records indicate that,

  between approximately August 2015 and May 2024, Conte De Fees had approximately a 0.63 to

  1.4 percent ownership interest in New Horizon ASC; between approximately December 2022 and

  February 2024, Conte De Fees had approximately a 0.93 percent ownership interest in Jersey City

  ASC; and since approximately April 2023, Conte De Fees has had approximately a 1.7832 to

  2.5629 percent ownership interest in Rockland and Bergen ASC and Conte De Fees continues to

  have an ownership interest in Rockland and Bergen ASC.

         330.    Defendant Fiaba LLC (“Fiaba”) was organized on or about July 27, 2015 and

  purports to be a limited liability company authorized to do business in the State of New York, with




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  its principal place of business located at 253 Route 211 East, Suite 201, Middletown NY 10940.

  At all relevant times, Fiaba was owned and controlled by Denevich. New Horizon ASC and Jersey

  City ASC represented to NJDOH that Fiaba was owned solely by Denevich. According to its

  corporate filings, Denevich is the organizer and president of Fiaba. Public records indicate that,

  since approximately May of 2024, Fiaba has had approximately a 0.63 percent ownership interest

  in New Horizon ASC and Fiaba continues to have an ownership interest in New Horizon ASC;

  and, since approximately February of 2024, Fiaba has had approximately a 0.935 percent

  ownership interest in Jersey City ASC and Fiaba continues to have an ownership interest in Jersey

  City ASC.

         331.    Defendant 50 Franklin Ln Realty LLC (“50 Franklin Ln Realty”) was formed on or

  about June 4, 2018, and is purported to be a domestic limited liability company authorized to do

  business in the State of New Jersey, with its principal place of business located at 50 Franklin

  Lane, Manalapan, New Jersey 07726. According to public records, 50 Franklin Ln Realty

  purchased 50 Franklin Lane, Manalapan, New Jersey, the location of Manalapan ASC, on or about

  October 25, 2018. At all relevant times herein, 50 Franklin Ln Realty has been owned by one or

  more of the Controllers. Public records identify Kogan and Tylman as members/managers of 50

  Franklin Ln Realty. On information and belief, pursuant to the scheme to defraud as alleged herein,

  50 Franklin Ln Realty is being used to conceal the full extent of the Controllers’ ownership and

  control over Manalapan ASC, to funnel proceeds from Manalapan ASC back to the Controllers

  and/or to make payments for steering or referring Covered Persons to one or more of the Surgicore

  ASCs for Fraudulent Services. Defendant 50 Franklin Ln Realty transacted business in New York

  State, including but not limited to participating in and/or facilitating the fraudulent scheme

  described herein to conceal the full extent of the Controllers’ ownership and control and/or




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  engaging in the referral/kickback scheme to steer or refer, or cause to be steered or referred, a

  steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted in the

  mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant to the

  New York State No-Fault Law.

         332.    Defendant FIWA 1049 Realty, LLC (“FIWA 1049 Realty”) was formed on or about

  April 12, 2019, and is purported to be a domestic limited liability company authorized to do

  business in the State of New York, with its principal place of business located at 505 Park Avenue,

  17th Floor, New York, New York, 10022. According to public records, FIWA 1049 Realty

  purchased 305 East 47th Street, Suite 1A, New York, NY 10017, the location of Fifth Avenue

  ASC), on or about September 26, 2019. Public records identify Kogan as the managing member

  of FIWA 1049 Realty. On information and belief, FIWA 1049 Realty is owned by one or more of

  the Controllers. On information and belief, pursuant to the scheme to defraud as alleged herein,

  FIWA 1049 Realty is being used to conceal the full extent of the Controllers’ ownership and

  control over Fifth Avenue ASC, to funnel proceeds from Fifth Avenue ASC back to the Controllers

  and/or to make payments for steering or referring Covered Persons to one or more of the Surgicore

  ASCs for Fraudulent Services.

         333.    Defendant FLBD Management LLC (“FLBD Management”) was organized on or

  about August 16, 2016 and purports to be a foreign limited liability company authorized to do

  business in the State of New Jersey with its principal place of business located at 444 Market

  Street, Saddlebrook, New Jersey 07663. At all relevant times herein, FLBD Management has been

  owned and controlled by Tylman and Kogan. Manalapan ASC, Jersey City ASC, and Saddlebrook

  ASC represented to NJDOH records that FLBD Management was owned solely by Tylman and

  Kogan. According to its certificate of formation filed by Tylman with NJDOT, Kogan, and Tylman




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  are the sole members/managers of FLBD Management. Public records indicate that, since

  approximately May 2017, FLBD Management has had approximately an 85.07 percent ownership

  interest in Manalapan ASC and FLBD Management continues to have an ownership interest in

  Manalapan ASC; since approximately February of 2017, FLBD Management has had

  approximately a 22.19 percent ownership interest in Saddlebrook ASC and FLBD Management

  continues to have an ownership interest in Saddlebrook ASC; and since approximately 2018,

  FLBD Management has had approximately a 27 to 38 percent ownership interest in Jersey City

  ASC and FLBD Management continues to have an ownership interest in Jersey City ASC.

  Defendant FLBD Management transacted business in New York State, including but not limited

  to participating in and/or facilitating the fraudulent scheme described herein to conceal the full

  extent of the Controllers’ ownership and control and/or engaging in the referral/kickback scheme

  to steer or refer, or cause to be steered or referred, a steady stream of Covered Persons to one or

  more of the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New

  York State seeking reimbursement pursuant to the New York State No-Fault Law.

         334.    Defendant Four D Investments Inc (“Four D Investments Inc”) was incorporated

  on or about May 2, 2018 and purports to be a foreign corporation authorized to do business in the

  State of New Jersey, with its principal place of business located at 444 Market Street, Saddlebrook,

  New Jersey 07663. At all relevant times herein, Four D Investments Inc has been owned and

  controlled by Degradi. According to its corporate filings with NJDOT, Degradi was the sole

  director and registered agent for Four D Investments Inc. Since approximately May 2018, Four D

  Investments Inc has had approximately a 9.69 percent ownership interest in Saddlebrook ASC and

  approximately a 14 to 23 percent ownership interest in Jersey City ASC, and Four D Investments

  Inc continues to have ownership interests in Saddlebrook ASC and Jersey City ASC. Defendant




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  Four D Investments Inc transacted business in New York State, including but not limited to

  participating in and/or facilitating the fraudulent scheme described herein to conceal the full extent

  of the Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer

  or refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of

  the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York

  State seeking reimbursement pursuant to the New York State No-Fault Law.

         335.    Defendant Four D Investments LLC (“Four D Investments LLC”) was organized

  on or about August 10, 2016 and purports to be a foreign limited liability company authorized to

  do business in the State of New Jersey, with its principal place of business located at 444 Market

  Street, Saddlebrook, New Jersey, 07663, until its dissolution on or about May 2, 2018. At all

  relevant times herein, Four D Investments LLC has been owned and controlled by Degradi.

  Saddlebrook ASC and Jersey City ASC represented to NJDOH that Degradi was the sole owner

  of Four D Investments LLC. According to corporate filings with NJDOT, Degradi was the sole

  director and registered agent for Four D Investments LLC. Public records indicate that, since

  approximately February of 2017, Four D Investments LLC has had approximately a 9.69 percent

  ownership interest in Saddlebrook ASC and Four D Investments LLC continues to have an

  ownership interest in Saddlebrook ASC, despite its dissolution on or about May 2, 2018; and since

  about 2018, Four D Investments LLC has had approximately a 14 to 23 percent ownership interest

  in Jersey City ASC and Four D Investments LLC continues to have an ownership interest in Jersey

  City ASC, despite its dissolution on or about May 2, 2018. Defendant Four D Investments LLC

  transacted business in New York State, including but not limited to participating in and/or

  facilitating the fraudulent scheme described herein to conceal the full extent of the Controllers’

  ownership and control and/or engaging in the referral/kickback scheme to steer or refer, or cause




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  to be steered or referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs,

  which resulted in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         336.    Defendant Gesheft Associates LLC (“Gesheft Associates”) was organized on or

  about January 12, 2018 and purports to be a limited liability company authorized to do business in

  the State of New York, with its principal place of business located at 80-02 Kew Gardens Road,

  5th Floor, Kew Gardens, New York 11415. At all relevant times herein, Gesheft Associates has

  been owned and controlled by Berkowitz. New Horizon ASC and Rockland and Bergen ASC

  represented to NJDOH that Gesheft Associates was owned solely by Berkowitz. Public records

  indicate that, since sometime after August 2017, Gesheft Associates has had approximately a

  14.496 to 25 percent ownership interest in Jersey City ASC and Gesheft Associates continues to

  have an ownership interest in Jersey City ASC; since approximately 2022, Gesheft Associates had

  approximately a 3.4775 percent ownership interest in Rockland and Bergen ASC through

  Surgicore RBSC and Gesheft Associates continues to have an ownership interest through

  Surgicore RBSC in Rockland and Bergen ASC; and since sometime after March 2017 and prior to

  November 2024, Gesheft Associates has had approximately a 0.9 to 3.1 percent ownership interest

  in Fifth Avenue ASC and Gesheft Associates continues to have an ownership interest in Fifth

  Avenue ASC.

         337.    Defendant HDS Investments, LLC (“HDS Investments”) was formed on or about

  February 17, 2011, and is purported to be a domestic limited liability company authorized to do

  business in the State of New Jersey, with its principal place of business located at 680 Broadway,

  Paterson, New Jersey 07514. According to public records, HDS Investments purchased 680

  Broadway, Unit 1U, Paterson, New Jersey, the location of New Horizon ASC, on or about January




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  23, 2018. Public records identify Hatami, Degradi, Kogan, Tylman, and R. Seldes as

  member/managers of HDS Investments. At all relevant times herein, HDS Investments has been

  owned and controlled by the Controllers. On information and belief, pursuant to the scheme to

  defraud as alleged herein, HDS Investments is being used to conceal the full extent of the

  Controllers’ ownership and control over New Horizon ASC, to funnel proceeds from New Horizon

  ASC back to the Controllers and/or to make payments for steering or referring Covered Persons to

  one or more of the Surgicore ASCs for Fraudulent Services. Defendant HDS Investments

  transacted business in New York State, including but not limited to participating in and/or

  facilitating the fraudulent scheme described herein to conceal the full extent of the Controllers’

  ownership and control and/or engaging in the referral/kickback scheme to steer or refer, or cause

  to be steered or referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs,

  which resulted in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         338.    Defendant Health Plus Management, LLC, formerly known as ACC Intermediate

  Holding Company I, LLC (“Health Plus Management”) was formed on or about March 23, 2007,

  and purports to be a foreign limited liability company authorized to do business in the States of

  Delaware and New York, with its principal place of business located at 50 Charles Lindbergh

  Boulevard, Uniondale, New York 11553. According to public records, Stuart Blumberg, is Health

  Plus Management’s president and CEO, Rubin, is its chief marketing officer, Salvatore Passanisi

  is its current director of property management and Gary Klein is or was its vice president of site

  operations and S. Passanisi is its vice president of site operations. On information and belief, one

  or more of the Controllers entered into a sham “investor” referral/kickback arrangements with

  the Health Plus Defendants (as defined herein), which includes Health Plus Management, by




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  which one or more of the Health Plus Defendants were provided with “investment” interests

  in Saddlebrook ASC, Jersey City, All City ASC, Empire State ASC, and North Queens ASC,

  in exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. Pursuant to the Health Plus Defendants’ direct

  or indirect “investment” interests in Saddlebrook ASC, Jersey City ASC, All City ASC, Empire

  State ASC, and/or North Queens ASC issued regular payments to or for the benefit of the Health

  Plus Defendants, which, in fact, were illegal kickbacks for referrals.

         339.    Defendant Kostanian Consulting Associates Inc (“Kostanian Consulting

  Associates”) was incorporated on or about April 8, 2013 and purports to be a corporation

  authorized to do business in the State of New York, with its principal place of business located at

  246 Broadway, Newburgh, New York 12550. At all relevant times herein, Kostanian Consulting

  Associates was owned and controlled by Arthur Kostanian. Jersey City ASC and Rockland and

  Bergen ASC reported that Kostanian Consulting Associates was solely owned by Denevich.

  According to its corporate filings with NYDOS, Kostanian Consulting Associates was

  incorporated by Kostanian and reported Kostanian as its sole officer/director. Public records

  indicate that, since approximately November 2022, Kostanian Consulting Associates has had

  approximately a 0.63 percent ownership interest in New Horizon ASC and Kostanian Consulting

  Associates continues to have an ownership interest in New Horizon ASC; since approximately

  December 2022, Kostanian Consulting Associates had approximately a 0.935 percent ownership

  interest in Jersey City ASC and Kostanian Consulting Associates continues to have an ownership

  interest in Jersey City ASC; and since approximately April 2023, Kostanian Consulting Associates

  has had approximately a 2.5629 percent ownership interest in Rockland and Bergen ASC and




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  Kostanian Consulting Associates continues to have an ownership interest in Rockland and Bergen

  ASC.

         340.    Defendant Main Street Medical Management Inc. (“Main Street Medical”) was

  incorporated on or about July 1, 1997 and purports to be a corporation authorized to do business

  in the State of New York, with its principal place of business located at 239 East Main Street,

  Patchogue, New York 11772. At all relevant times herein, Main Street Medical has been owned

  and controlled by Degradi. New Horizon ASC represented to NJDOH that Degradi was the sole

  owner of Main Street Medical. According to its corporate filings, Degradi was the sole president,

  owner and officer of Main Street Medical with the exception of 2013, when Kristen Degradi

  (identified therein by her alternate name, Kristen Laird) was also identified as a co-president with

  Degradi. Public records indicate that, since approximately October of 2015, Main Street Medical

  has had approximately a 7.74 to 25 percent ownership interest in New Horizon ASC and Main

  Street Medical continues to have an ownership interest in New Horizon ASC.

         341.    Defendant MEDA Management, LLC (“MEDA Management”) was organized on

  or about April 21, 2017 and purports to be a foreign limited liability company authorized to do

  business in the State of New Jersey, with its principal place of business located at Princeton South

  Corporate Center, Suite 160, 100 Charles Ewing Blvd., Ewing, New Jersey 08628. At all relevant

  times herein, MEDA Management has been owned and controlled by Blumberg. Jersey City ASC

  represented to NJDOH that MEDA Management was owned solely by Blumberg. Public records

  indicate that, since approximately August of 2017, MEDA Management has had approximately a

  1.87 percent ownership interest in Jersey City ASC and MEDA Management continues to have an

  ownership interest in Jersey City ASC. Defendant MEDA Management transacted business in New

  York State, including but not limited to participating in and/or facilitating the fraudulent scheme




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  described herein to conceal the full extent of the Controllers’ ownership and control and/or

  engaging in the referral/kickback scheme to steer or refer, or cause to be steered or referred, a

  steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted in the

  mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant to the

  New York State No-Fault Law.

         342.    Defendant Mega Group Solution, Inc. (“Mega Group Solution”) was incorporated

  on or about August 18, 2020 and purports to be a foreign corporation authorized to do business in

  the State of New Jersey with its registered address located at 2667 Coney Island Avenue, Suite 2,

  Brooklyn, New York 11223. At all relevant times herein, Mega Group Solution has been owned

  on paper by Yura Yaguda. Fifth Avenue ASC represented to NYDOH that Mega Group Solution

  was owned solely by Yaguda. According to its corporate filings, Mega Group Solution was

  incorporated by Yaguda. Public records indicate that, since approximately 2022, Mega Group

  Solution has had approximately a 0.999 percent ownership interest in Empire State ASC and Mega

  Group Solution continues to have an ownership interest in Empire State ASC. Since approximately

  November of 2024, Mega Group Solution has had approximately a 1.3 to 2.3 percent ownership

  interest of Fifth Avenue ASC and continues to have ownership interests in Fifth Avenue ASC. At

  all relevant times herein, Yaguda was a nominal or straw owner of Mega Group Solution, which

  was actually owned and/or controlled by one or more of the John Does 2 through 20. Defendant

  Mega Group Solution transacted business in New York State, including but not limited to

  participating and/or facilitating the fraudulent scheme described herein to conceal the full extent

  of the Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer

  or refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of




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  the Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York

  State seeking reimbursement pursuant to the New York State No-Fault Law.

         343.    Defendant MEH Investments Inc (“MEH Investments”) was incorporated on or

  about May 2, 2018 and purports to be a foreign corporation authorized to do business in the State

  of New Jersey with its principal place of business located at 444 Market Street, Saddlebrook, New

  Jersey 07663. At all relevant times herein, MEH Investments has been owned on paper by M.

  Hatami. Saddlebrook ASC and Jersey City ASC represented to NJDOH that MEH Investments

  was owned solely by M. Hatami. According to corporate filings, M. Hatami is the only member

  of MEH Investments’ board of directors. Public records indicate that, since approximately

  February 2017, MEH Investments has had approximately a 9.69 percent ownership interest in

  Saddlebrook ASC and MEH Investments continues to have an ownership interest in Saddlebrook

  ASC; and since approximately 2018, MEH Investments has had approximately a 7.143 percent

  ownership interest in Jersey City ASC and MEH Investments continues to have an ownership

  interest in Jersey City ASC. At all relevant times herein, M. Hatami was a nominal or straw owner

  of MEH Investments, which was actually owned and/or controlled by Hatami. Defendant MEH

  Investments transacted business in New York State, including but not limited to participating in

  and/or facilitating the fraudulent scheme described herein to conceal the full extent of the

  Controllers’ ownership and control and/or engaging in the referral/kickback scheme to steer or

  refer, or cause to be steered or referred, a steady stream of Covered Persons to one or more of the

  Surgicore ASCs, which resulted in the mailing of fraudulent insurance claims in New York State

  seeking reimbursement pursuant to the New York State No-Fault Law.

         344.    Defendant MK Med Invest LLC (“MK Med Invest”) was organized on or about

  February 25, 2022 and purports to be a limited liability company authorized to do business in the




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  State of New York, with its principal place of business located at 7009 Austin Street Suite 204,

  Forest Hills, New York 11375. At all relevant times herein MK Med Invest has been owned on

  paper by Marina Keyserman. According to the articles of organization filed with NYDOS, MK

  Med Invest was organized by Keyserman. Public records indicate that, since approximately

  November 2022, MK Med Invest has had approximately a 1.89 to 1.95 percent ownership interest

  in New Horizon ASC and MK Med Invest continues to have an ownership interest in New Horizon

  ASC; since approximately March 2022, MK Med Invest has had approximately a 2.25 percent

  ownership interest in Saddlebrook ASC and MK Med Invest continues to have an ownership

  interest in Saddlebrook ASC; and since approximately February 2022, MK Med Invest has had

  approximately a 0.935 percent ownership interest in Jersey City ASC and MK Med Invest

  continues to have an ownership interest in Jersey City ASC. At all relevant times herein,

  Keyserman was a nominal or straw owner of MK Med Invest, which was actually owned and/or

  controlled by one or more of the John Does 2 through 20.

         345.    Defendant Midtown 305 Realty, LLC (“Midtown 305 Realty”) was formed on or

  about June 10, 2019, and is purported to be a domestic limited liability company authorized to do

  business in the State of New York, with its principal place of business located at 505 Park Avenue,

  17th Floor, New York, New York, 10022. According to public records, Midtown 305 Realty

  purchased 305 East 47th Street, Unit Nos. 1-B, C, B-8, B-2 and B-3, New York, New York 10017,

  the location of Fifth Avenue ASC (Midtown Extension), on or about September 27, 2019. At all

  relevant times, Midtown 305 Realty has been owned and controlled by one or more of the

  Controllers. Public records identify Kogan as the chief executive officer and member of Midtown

  305 Realty and Hatami as its managing member. On information and belief, Midtown 305 Realty

  is being used to conceal the full extent of the Controllers’ ownership and control over Fifth Avenue




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  ASC, to funnel proceeds from Fifth Avenue ASC back to the Controllers and/or to make payments

  for steering or referring Covered Persons to one or more of the Surgicore ASCs for Fraudulent

  Services.

         346.   Defendant Ortuz LLC (“Ortuz”) was organized on or about January 19, 2007 and

  purports to be a foreign limited liability company authorized to do business in the States of

  Delaware and New Jersey, with its principal place of business located at 160 West 66th Street,

  Suite 34G, New York, New York 10023. At all relevant times herein, Ortuz has been owned and

  controlled by Tylman. On March 15, 2018, Ortuz filed a certificate of registration as a foreign

  business with the NJDOT identifying Tylman as a general partner, and on September 18, 2019,

  Tylman filed a certificate of revival for Ortuz with the DSDC. In UCC financing statements filed

  with the DSDC on November 18, 2019, Ortuz was identified as having an ownership interest in

  ASAR Healthcare. Public records indicate that, since at least as early as November 2019, Ortuz

  has had an ownership interest in New Horizon ASC through ASAR Healthcare (the percentage of

  which is presently unknown to Plaintiff) and Ortuz continues to have an ownership interest in New

  Horizon ASC through ASAR Healthcare.

         347.   Defendant Redy Ventures LLC (“Redy Ventures”) was organized on or about June

  1, 2020 and purports to be a limited liability company authorized to do business in the States of

  New Jersey and New York, with its principal place of business located at 65-24 Ellwell Crescent,

  Rego Park, New York 11374. At all relevant times herein, Redy Ventures has been owned and

  controlled by Jacob Katanov. Rockland and Bergen ASC represented to NJDOH in 2022 that Redy

  Ventures is solely owned by J. Katanov. Public records indicate that, since approximately January

  2022, Redy Ventures has had approximately a 1.89 to 2.09 percent ownership interest in New

  Horizon ASC and Redy Ventures continues to have an ownership interest in New Horizon ASC;




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  since approximately July 2020, Redy Ventures has had approximately a 0.61 percent ownership

  interest in Saddlebrook ASC and Redy Ventures continues to have an ownership interest in

  Saddlebrook ASC; since approximately June 2020, Redy Ventures has had approximately a 2.806

  percent ownership interest in Jersey City ASC and Redy Ventures continues to have an ownership

  interest in Jersey City ASC; and since approximately 2021, Redy Ventures has had approximately

  a 2.6161 percent ownership interest in Rockland and Bergen ASC and Redy Ventures continues

  to have an ownership interest in Rockland and Bergen ASC.

         348.    Defendant SignMe, LLC (“SignMe”) was organized on December 29, 2021 and

  purports to be a limited liability company authorized to do business in the State of New York with

  its principal place of business located at 6524 Ellwell Cress, Rego Park, New York 11374. At all

  relevant times herein, SignMe has been owned on paper by Svetlana Katanov. Fifth Avenue ASC

  represented to NYDOH that SignMe was owned solely by S. Katanov. According to its corporate

  filings, S. Katanov was the organizer of SignMe. Since approximately November 2024, SignMe

  has had approximately a 3.4 to 6.2 percent ownership interest in Fifth Avenue ASC and continues

  to have an ownership interest in Fifth Avenue ASC.

         349.    Defendant SJ2 Ventures (“SJ2 Ventures”) was organized on or about April 21, 2017

  and purports to be a foreign limited liability company authorized to do business in the State of

  New Jersey, with its principal place of business located at Princeton South Corporate Ctr, Ste 160,

  100 Charles Ewing Blvd, Ewing, New Jersey 08628. At all relevant times herein, SJ2 Ventures

  has been owned and controlled by Blumberg. Jersey City ASC represented to NJDOH that SJ2

  Ventures was owned solely by Blumberg. Public records indicate that, since approximately August

  2017, SJ2 Ventures has had approximately a 0.935 percent ownership interest in Jersey City ASC

  and SJ2 Ventures continues to have an ownership interest in Jersey City ASC. Defendant SJ2




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  Ventures transacted business in New York State, including but not limited to participating in and/or

  facilitating the fraudulent scheme described herein to conceal the full extent of the Controllers’

  ownership and control and/or engaging in the referral/kickback scheme to steer or refer, or cause

  to be steered or referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs,

  which resulted in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         350.    Defendant Surgicore 5th Avenue LLC (“Surgicore 5th Avenue”) was organized on

  or about October 26, 2016 and purports to be a limited liability company authorized to do business

  in the State of New York, with its registered address located at 1049 Fifth Avenue, New York,

  New York 10028. At all relevant times herein, Surgicore 5th Avenue has been owned and

  controlled by the Controllers. According to public records, each of the Controllers had a 25 percent

  ownership interest in Surgicore 5th Avenue as its members/managers. Public records indicate that,

  since approximately December 2017, Surgicore 5th Avenue has had approximately a 60 percent

  ownership interest in Fifth Avenue ASC, since approximately November 2019 Surgicore 5th

  Avenue has had approximately a 70 percent ownership interest in Empire State ASC, and since

  approximately November 2019, Surgicore 5th Avenue has had approximately a 75 percent

  ownership interests in North Queens ASC, and Surgicore 5th Avenue continues to have ownership

  interests in Fifth Avenue ASC, Empire State ASC and North Queens ASC.

         351.    Defendant Surgicore RBSC, LLC (“Surgicore RBSC”) was organized on or about

  December 13, 2019 and purports to be a foreign limited liability company authorized to do business

  in the State of New Jersey, with its principal place of business located at 133 N. Kinderkamack

  Road, Montvale, New Jersey 07645. At all relevant times herein, Surgicore RBSC has been owned

  on paper by Degradi, Tylman, Kogan, and M. Hatami. According to its articles of organization,




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  Degradi and Kogan are Surgicore RBSC’s sole members/managers. In March of 2020, Rockland

  and Bergen ASC represented to NJDOH that Surgicore RBSC was owned equally by Degradi,

  Tylman, Kogan, and M. Hatami. Rockland and Bergen ASC represented to NJDOH that in or

  around 2021, Degradi, Tylman, and M. Hatami collectively sold 3.62 percent of their ownership

  interests in Surgicore RBSC to Redy Ventures. In or around 2022, Degradi, Tylman, Kogan, and

  M. Hatami collectively sold 4.812 percent of their ownership interests in Surgicore RBSC to

  Gesheft Associates. Public records indicate that, since approximately March 2020, Surgicore

  RBSC has had approximately a 66.1742 to 94.413 percent ownership interest in Rockland and

  Bergen ASC and Surgicore RBSC continues to have an ownership interest in Rockland and Bergen

  ASC. At all relevant times herein, M. Hatami was a nominal or straw owner for Hatami, who was

  the actual owner of M. Hatami’s ownership interest in Surgicore RBSC. Defendant Surgicore

  RBSC transacted business in New York State, including but not limited to participating in and/or

  facilitating the fraudulent scheme described herein to conceal the full extent of the Controllers’

  ownership and control and/or engaging in the referral/kickback scheme to steer or refer, or cause

  to be steered or referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs,

  which resulted in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         352.    Defendant YCentury LLC (“YCentury”) was organized on or about January 19,

  2018 and purports to be a foreign limited liability company authorized to do business in the State

  of New Jersey, with its principal place of business located at 547 Asbury Street, New Milford,

  New Jersey 07646. At all relevant times herein, YCentury has been owned on paper by Yaguda.

  New Horizon ASC, Saddlebrook ASC, Jersey City ASC, and Rockland and Bergen ASC

  represented to NJDOH that Yaguda was the sole owner of YCentury. According to its corporate




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  filings, YCentury was formed by Yaguda who was also listed as its sole member/manager. Public

  records indicate that, between approximately March 2018 and January 2022, YCentury had

  approximately a 1.17 to 1.27 percent ownership interest in New Horizon ASC, approximately a

  2.33 percent ownership interest in Saddlebrook ASC, and approximately a 3 percent ownership

  interest in Jersey City ASC; and since approximately March 2021, YCentury has had

  approximately a 4.2866 to 5 percent ownership interest in Rockland and Bergen ASC and

  YCentury continues to have an ownership interest in Rockland and Bergen ASC. At all relevant

  times herein, Yaguda was a nominal or straw owner for one or more of the John Does 2 through

  20, who were the actual owners of YCentury. Defendant YCentury transacted business in New

  York State, including but not limited to participating in and/or facilitating the fraudulent scheme

  described herein to conceal the full extent of the Controllers’ ownership and control and/or

  engaging in the referral/kickback scheme to steer or refer, or cause to be steered or referred, a

  steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted in the

  mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant to the

  New York State No-Fault Law.

         353.    Defendant Jonathan Arredondo-Calle (“Arredondo-Calle”) is a natural person

  residing in the State of New York. According to public records, Arredondo-Calle is the president

  and CEO of YJH Marketing Consultants, LLC and the founder of MedLegal HQ (not named as

  defendants herein), two consulting companies that advertise referral services for legal and medical

  services and/or patients. In, 2019, Arredondo-Calle was charged with second-degree theft by

  unlawful taking by the Essex County prosecutor’s office in New Jersey for stealing more than

  $75,000 from the Nutley Volunteer Emergency and Rescue Squad. On December 5, 2022, he was

  sentenced to probation for four years. Public record indicate that, since sometime after January of




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  2019, Arredondo-Calle has had ownership interests in North Queens ASC (the percentage of which

  is presently unknown to Plaintiff) and Arredondo-Calle continues to have an ownership interest in

  North Queens ASC. At all relevant times herein, Arredondo-Calle facilitated the scheme to defraud

  by engaging in the referral/kickback scheme between one or more of the Controllers, through

  North Queens ASC, as alleged herein.

         354.   Defendant Stuart Blumberg (“Blumberg”) is a natural person residing in the State

  of New York, and is one of the Health Plus Defendants (as defined herein). According to its

  website, Blumberg has been Health Plus Management’s president and CEO since at least 2017. At

  all relevant times herein, MEDA Management and SJ2 Ventures have been owned and controlled

  by one or more of the Health Plus Defendants including Blumberg. Public records and/or records

  produced by All City ASC indicate that, since approximately November 2017, Blumberg has had

  approximately a 7.22 percent ownership interest in All City ASC, as a voting shareholder and

  Blumberg continues to have ownership interests in All City ASC as a voting shareholder; since

  approximately 2023, Blumberg has had ownership interests in Empire State ASC (the percentage

  of which is presently unknown to Plaintiff) and Blumberg continues to have ownership interests

  in Empire State ASC; and since approximately 2019, Blumberg has had ownership interests in

  North Queens ASC (the percentage of which is presently unknown to Plaintiff) and Blumberg

  continues to have an ownership interest in North Queens ASC. Public records indicate that

  Blumberg also had ownership interests in Jersey City ASC through MEDA Management and/or

  SJ2 Ventures and Blumberg continues to have ownership interests in Jersey City ASC through

  MEDA Management and/or SJ2 Ventures. At all relevant times herein, Blumberg facilitated the

  scheme to defraud by engaging in the referral/kickback scheme between one or more of the

  Controllers, through All City ASC, Empire State ASC, North Queens ASC, and/or Jersey City




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  ASC, including through MEDA Management and/or SJ2 Ventures, and one or more of the Health

  Plus Defendants, as alleged herein.

         355.    Defendant Amanda Chavez (“Chavez”) is a natural person residing in the State of

  New Jersey. According to public records, Chavez is related to and/or otherwise closely associated

  with Romero and Ramirez, including through joint corporate ownership and real estate

  transactions, and is closely associated with Randolph, Esq., including through one or more of the

  Surgicore ASCs and multiple real estate transactions. According to New Horizon ASC’s corporate

  filings, between 2010 to 2019, Chavez was an officer/director of New Horizon ASC. At all relevant

  times herein, ASC Investment Services has been owned on paper by Chavez and/or Ramirez.

  Public records indicate that Chavez had ownership interests in New Horizon ASC and Saddlebrook

  ASC through ASC Investment Services and Chavez continues to have ownership interests in New

  Horizon ASC and Saddlebrook ASC through ASC Investment Services. At all relevant times

  herein, Chavez was a nominal or straw owner of ASC Investment Services, which was actually

  owned and/or controlled by Romero and/or one or more of the John Does 2 through 20. At all

  relevant times, Chavez was a straw officer/director of New Horizon ASC for Romero, who was

  the actual officer/director for New Horizon ASC. At all relevant times mentioned herein, Chavez

  facilitated the scheme to defraud by serving as a straw owner and/or straw officer/director of one

  or more of the Surgicore ASCs, including New Horizon ASC and Saddlebrook ASC, in order to

  conceal Romero and/or one or more of the John Does 2 through 20’s ownership interests in and/or

  control over New Horizon ASC and Saddlebrook ASC, and to conceal the referral/kickback

  scheme between one or more of the Controllers, through New Horizon ASC and/or Saddlebrook

  ASC, and Romero and/or one or more of the John Does 2 through 20, as alleged herein. Defendant

  Chavez transacted business in New York State, including but not limited to participating in and/or




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  facilitating the fraudulent scheme described herein to conceal the full extent of the Controllers’

  ownership and control and/or engaging in the referral/kickback scheme to steer or refer, or cause

  to be steered or referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs,

  which resulted in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         356.    Defendant Kristen Degradi a/k/a Kristen Laird (“K. Degradi”) is a natural person

  residing in the State of Florida. According to public records, K. Degradi is Degradi’s wife. Public

  records indicate that, since approximately November 2017, K. Degradi has had ownership interests

  in All City ASC and K. Degradi continues to have ownership interests in All City ASC. Records

  produced by All City ASC indicate that, since approximately November 2017, K. Degradi has had

  approximately a 6.367 percent ownership interest in All City ASC and K. Degradi continues to

  have ownership interests in All City ASC. At all relevant times herein, K. Degradi facilitated the

  scheme to defraud by serving as a straw owner of one or more of the Surgicore ASCs, including

  All City ASC, in order to conceal the full extent of Degradi’s ownership interests in and/or control

  over All City ASC, and to conceal the referral/kickback scheme between one or more of the

  Controllers, through All City ASC, and Degradi, as alleged herein.

         357.    Defendant Sergey Denevich (“Denevich”) is a natural person residing in the State

  of New York. Kostanian and Denevich have a well-documented history of engaging in schemes to

  defraud insurance companies, including by unlawfully owning and operating medical PCs through

  which they submitted bills for fraudulent and/or medically unnecessary services. Public records

  indicate that, prior to August 2015, Denevich had approximately a 0.5 to 1.74 percent ownership

  interest in New Horizon ASC. At all relevant times herein, Conte De Fees has been owned and

  controlled by Denevich. At all relevant times, Fiaba was owned and controlled by Denevich, public




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  records indicate that Denevich also had ownership interests in New Horizon ASC, Jersey City

  ASC, and Rockland and Bergen ASC through Conte De Fees and/or Fiaba and Denevich continues

  to have ownership interests in New Horizon ASC, Jersey City ASC, and Rockland and Bergen

  ASC through Conte De Fees and/or Fiaba. At all relevant times mentioned herein, Denevich

  facilitated the scheme to defraud by engaging in the referral/kickback scheme between one or more

  of the Controllers, through New Horizon ASC, Jersey City ASC, and/or Rockland and Bergen

  ASC, as alleged herein.

         358.    Defendant Harris Hafeez, M.D. (“Hafeez”) is a natural person residing in the State

  of New Jersey. At all relevant times herein, Advanced PMR has been owned on paper by Hafeez

  and/or Reizis. Public records indicate that, between approximately August 2019 and June 2021,

  either Advanced PMR or its principals, Hafeez and Reizis, had ownership interests Manalapan

  ASC. At all relevant times herein, Hafeez and Reizis were nominal or straw owners of Advanced

  PMR, which was actually owned and/or controlled by one or more of the Health Plus Defendants.

  At all relevant times herein, Hafeez and Reizis were nominal or straw owners for the Health Plus

  Defendants, who were the actual owners of Hafeez and Reizis’s ownership interests in Manalapan

  ASC. At all relevant times herein, Hafeez facilitated the scheme to defraud by serving as a straw

  owner and/or straw officer/director of one or more of the Surgicore ASCs, including Manalapan

  ASC, in order to conceal the Health Plus Defendants’ ownership interests in and/or control over

  Manalapan ASC and to conceal the referral/kickback scheme between one or more of the

  Controllers, through Manalapan ASC, and the Health Plus Defendants as alleged herein. Defendant

  Hafeez transacted business in New York State, including but not limited to participating in and/or

  facilitating the fraudulent scheme described herein to conceal the full extent of the Controllers’

  ownership and control and/or engaging in the referral/kickback scheme to steer or refer, or cause




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  to be steered or referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs,

  which resulted in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         359.    Defendant Mary Hatami (“M. Hatami”) is a natural person residing in the State of

  New York. According to public records, M. Hatami is Hatami’s wife. According to public records,

  in or about 2017, M. Hatami became the “treasurer” of New Horizon ASC. At all relevant times

  herein, BDP Ventures LLC and BDP Ventures Inc. have been owned on paper by M. Hatami

  and/or Hatami. At all relevant times herein, MEH Investments has been owned on paper by M.

  Hatami. At all relevant times herein, M. Hatami has been an owner on paper of Surgicore RBSC.

  Public records indicate that M. Hatami had ownership interests in New Horizon ASC, Saddlebrook

  ASC, Jersey City ASC, Rockland and Bergen ASC, All City ASC and Fifth Avenue ASC, through

  BDP Ventures LLC, BDP Ventures Inc., MEH Investments, and/or Surgicore RBSC and M.

  Hatami continues to have ownership interests in New Horizon ASC, Saddlebrook, Jersey City

  ASC, and Rockland and Bergen ASC through BDP Ventures LLC, BDP Ventures Inc., MEH

  Investments, and/or Surgicore RBSC. At all relevant times herein, M. Hatami was a nominal or

  straw owner of BDP Ventures LLC, BDP Ventures Inc. and MEH Investments, which were

  actually owned and/or controlled by Hatami. At all relevant times herein, M. Hatami was a nominal

  or straw owner for Hatami, who was the actual owner of M. Hatami’s ownership interest in

  Surgicore RBSC. Records produced by All City ASC indicate that, since approximately November

  2017, M. Hatami has had approximately a 6.367 percent ownership interest in All City ASC and

  M. Hatami continues to have ownership interests in All City ASC. At all relevant times mentioned

  herein, M. Hatami facilitated the scheme to defraud by serving as a straw owner and/or straw

  officer/director of one or more of the Surgicore ASCs, including New Horizon ASC, Saddlebrook




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  ASC, Jersey City ASC, Rockland and Bergen ASC, All City ASC, and Fifth Avenue ASC, in order

  to conceal Hatami’s ownership interests in and/or control over New Horizon ASC, Saddlebrook

  ASC, Jersey City ASC, Rockland and Bergen ASC, All City ASC, and Fifth Avenue ASC, and to

  conceal the referral/kickback scheme between one or more of the Controllers, through New

  Horizon ASC, Saddlebrook ASC, Jersey City ASC, Rockland and Bergen ASC, All City ASC,

  and/or Fifth Avenue ASC, and Hatami, as alleged herein.

         360.    Defendant Svetlana Katanov, D.O. (“S. Katanov”) is a natural person residing in

  the State of New York and was licensed to practice optometry in the State of New York on or

  about July 7, 2000 under license number 006255. According to public records, S. Katanov is

  Katanov’s wife. Public records and/or records produced by All City ASC indicate that, since

  approximately 2012, S. Katanov had approximately a 2.05 percent ownership interest in New

  Horizon ASC and S. Katanov continues to have an ownership interest in New Horizon ASC; and

  since approximately June of 2020, S. Katanov had approximately 0.768 percent ownership interest

  in All City ASC and S. Katanov continues to have an ownership interest in All City ASC. Public

  records from November 2024 indicate that S. Katanov, is also a proposed owner of Fifth Avenue

  ASC, through a company that she purportedly solely owns, SignMe and S. Katanov is a current

  owner of Fifth Avenue ASC through SignMe. At all relevant times herein, S. Katanov was a

  nominal or straw owner of SignMe, which was actually owned and/or controlled by J. Katanov.

  At all relevant times mentioned herein, S. Katanov facilitated the scheme to defraud by serving as

  a straw owner and/or straw officer/director of one or more of the Surgicore ASCs, including New

  Horizon ASC and All City ASC, in order to conceal J. Katanov’s ownership interests in New

  Horizon ASC and All City ASC, and to conceal the referral/kickback scheme between one or more




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  of the Controllers, through New Horizon ASC and/or All City ASC, and J. Katanov, as alleged

  herein.

            361.   Defendant Jacob Katanov, P.A. (“J. Katanov”) is a natural person residing in the

  State of New York and was licensed as a physician assistant in the State of New York on or about

  December 15, 2020 under license number 007935. According to public records, J. Katanov is S.

  Katanov’s husband. At all relevant times herein, Redy Ventures has been owned and controlled by

  J. Katanov. Public records indicate that, between approximately 2018 and 2020, J. Katanov had

  approximately a 0.91 to 1.08 percent ownership interest in Saddlebrook ASC. Public records

  indicate that J. Katanov had ownership interests in New Horizon ASC, Saddlebrook ASC, Jersey

  City ASC, and Rockland and Bergen ASC through Redy Ventures and Surgicore RBSC and J.

  Katanov continues to have ownership interests in New Horizon ASC, Saddlebrook ASC, Jersey

  City ASC, and Rockland and Bergen ASC through Redy Ventures and Surgicore RBSC. At all

  relevant times mentioned herein, J. Katanov facilitated the scheme to defraud by engaging in the

  referral/kickback scheme between one or more of the Controllers, through New Horizon ASC,

  Saddlebrook ASC, Jersey City ASC, Rockland and Bergen ASC, All City ASC, Fifth Avenue

  ASC, and Rockaways ASC, as alleged herein.

            362.   Defendant Marina Keyserman (“Keyserman”) is a natural person residing in the

  State of New York. According to public records, Yaguda, Keyserman, Shakarov, and Yadgarov

  are associated with 7009 Austin Street and are related to and/or otherwise closely associated with

  the owners of several DME companies that operated from 7009 Austin and were sued for civil

  RICO violations and insurance fraud. At all relevant times herein, MK Med Invest has been owned

  on paper by Keyserman. Public records indicate that Keyserman had ownership interests in New

  Horizon ASC, Saddlebrook ASC, and Jersey City ASC through MK Med Invest and Keyserman




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  continues to have ownership interests in New Horizon ASC, Saddlebrook ASC, and Jersey City

  ASC through MK Med Invest. At all relevant times herein, Keyserman was a nominal or straw

  owner of MK Med Invest, which was actually owned and/or controlled by one or more of the John

  Does 2 through 20. At all relevant times mentioned herein, Keyserman facilitated the scheme to

  defraud by serving as a straw owner of one or more of the Surgicore ASCs, including New Horizon

  ASC, Saddlebrook ASC, and Jersey City ASC, in order to conceal one or more of the John Does

  2 through 20’s ownership interests in New Horizon ASC, Saddlebrook ASC, and Jersey City ASC,

  and to conceal the referral/kickback scheme between one or more of the Controllers, through New

  Horizon ASC, Saddlebrook ASC, and/or Jersey City ASC, and one or more of the John Does 2

  through 20, as alleged herein.

         363.    Defendant Gary Klein (“Klein”) is a natural person residing in the State of New

  York and is one of the Health Plus Defendants (as defined herein). According to public records,

  Klein was the vice president of site operations, for Health Plus Management Services L.L.C. Public

  records and/or records produced by All City ASC indicate that, since approximately November

  2017, Klein has had approximately a 0.808 percent ownership interest in All City ASC and Klein

  continues to have ownership interests in All City ASC; since approximately 2023, Klein has had

  ownership interests in Empire State ASC (the percentage of which is presently unknown to

  Plaintiff) and Klein continues to have ownership interests in Empire State ASC; and since

  sometime after January 2019, Klein has had ownership interests in North Queens ASC (the

  percentage of which is presently unknown to Plaintiff) and Klein continues to have ownership

  interests in North Queens ASC. At all relevant times mentioned herein, Klein facilitated the

  scheme to defraud by engaging in the referral/kickback scheme between one or more of the




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  Controllers, through All City ASC, Empire State ASC, and/or North Queens ASC, and one or more

  of the Health Plus Defendants, as alleged herein.

         364.    Defendant Beata Kogan (“B. Kogan”) is a natural person residing in the State of

  New York. According to public records, B. Kogan is F. Kogan’s wife. According to New Horizon

  ASC’s corporate filings, between 2017 and 2022, B. Kogan served as the “secretary” of New

  Horizon ASC. At all relevant times herein, ASAR Healthcare has been owned on paper by B.

  Kogan, Revutsky, and/or Tylman. Records produced by All City ASC indicate that, since

  approximately November of 2017, B. Kogan has had approximately a 6.367 percent ownership

  interest in All City ASC and B. Kogan continues to have an ownership interest in All City ASC.

  Public records indicate that B. Kogan also had ownership interests in New Horizon ASC through

  ASAR Healthcare and B. Kogan continues to have ownership interests in New Horizon ASC

  through ASAR Healthcare. At all relevant times herein, B. Kogan was a nominal or straw owner

  of ASAR Healthcare, which was actually owned and/or controlled by Tylman, including through

  Ortuz and/or Kogan. At all relevant times, B. Kogan was a straw officer/director of New Horizon

  ASC for Kogan, who was the actual officer/director for New Horizon ASC. At all relevant times

  mentioned herein, B. Kogan facilitated the scheme to defraud by serving as a straw owner and/or

  straw officer/director of one or more of the Surgicore ASCs, including New Horizon ASC and All

  City ASC, in order to conceal Kogan’s ownership interests in and/or control over New Horizon

  ASC and All City ASC, and to conceal the referral/kickback scheme between one or more of the

  Controllers, through New Horizon ASC and/or All City ASC, and Kogan, as alleged herein.

         365.    Defendant Arthur Kostanian (“Kostanian”) is a natural person residing in the State

  of New Jersey. Kostanian and Denevich have a well-documented history of engaging in schemes

  to defraud insurance companies, including by unlawfully owning and operating medical PCs




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  through which they submitted bills for fraudulent and/or medically unnecessary services. At all

  relevant times herein, Kostanian Consulting Associates has been owned and controlled by

  Kostanian. Public records indicate that Kostanian had ownership interests in New Horizon ASC,

  Jersey City ASC, and Rockland and Bergen ASC through Kostanian Consulting Associates and

  Kostanian continues to have ownership interests in New Horizon ASC, Jersey City ASC, and

  Rockland and Bergen ASC through Consulting Associates. At all relevant times mentioned herein,

  Kostanian facilitated the scheme to defraud by engaging in the referral/kickback scheme between

  one or more of the Controllers, through New Horizon ASC, Jersey City ASC, and/or Rockland

  and Bergen ASC, as alleged herein. Defendant Kostanian transacted business in New York State,

  including but not limited to participating in and/or facilitating the fraudulent scheme described

  herein to conceal the full extent of the Controllers’ ownership and control and/or engaging in the

  referral/kickback scheme to steer or refer, or cause to be steered or referred, a steady stream of

  Covered Persons to one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         366.    Defendant Lisa Passanisi (“L. Passanisi”) is a natural person residing in the State

  of New York and is one of the Health Plus Defendants (as defined herein). On information and

  belief, L. Passanisi is or was an employee of Health Plus Management and/or is otherwise

  associated with Health Plus Management. Records produced by All City ASC indicate that, since

  approximately November 2017, L. Passanisi has had approximately a 2.019 percent ownership

  interest in All City ASC and L. Passanisi continues to have an ownership interest in All City ASC.

  At all relevant times mentioned herein, L. Passanisi facilitated the scheme to defraud by engaging




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  in the referral/kickback scheme between one or more of the Controllers, through All City ASC,

  and one or more of the Health Plus Defendants, as alleged herein.

            367.   Defendant Salvatore Passanisi (“S. Passanisi”) is a natural person residing in the

  State of New York and is one of the Health Plus Defendants (as defined herein). On information

  and belief, S. Passanisi is or was an employee of Health Plus Management and/or is otherwise

  associated with Health Plus Management. Public records and/or records produced by All City ASC

  indicate that, since approximately November 2017, S. Passanisi has had approximately a 0.808

  percent ownership interest in All City ASC and S. Passanisi continues to have an ownership

  interest in All City ASC; and since at least approximately 2023, S. Passanisi has had an ownership

  interest (the percentage of which is presently unknown to Plaintiff) in Empire State ASC and S.

  Passanisi continues to have an ownership interest in Empire State ASC; and since sometime after

  January of 2019, S. Passanisi has had an ownership interest (the percentage of which is presently

  unknown to Plaintiff) in North Queens ASC and S. Passanisi continues to have an ownership

  interest in North Queens ASC. At all relevant times mentioned herein, S. Passanisi facilitated the

  scheme to defraud by engaging in the referral/kickback scheme between one or more of the

  Controllers, through All City ASC, and one or more of the Health Plus Defendants, as alleged

  herein.

            368.   Defendant Sharen Pyatetskaya (“Pyatetskaya”) is a natural person residing in the

  State of New York. On information and belief, Pyatetskaya is an immediate family member or

  spouse of, and/or otherwise closely associated with, Tylman. Records produced by All City ASC

  indicate that, since approximately December 2020, Pyatetskaya has had approximately a 6.367

  percent ownership interest in All City ASC and Pyatetskaya continues to have an ownership

  interest in All City ASC. At all relevant times herein, Pyatetskaya facilitated the scheme to defraud




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  by serving as a straw owner of one or more of the Surgicore ASCs, including All City ASC, in

  order to conceal Tylman’s ownership interests in and/or control over All City ASC, and to conceal

  the referral/kickback scheme between one or more of the Controllers, through All City ASC, and

  Tylman, as alleged herein.

         369.    Defendant Maribel Ramirez a/k/a Maribel Romero a/k/a Maribel Ramirez-Pimienta

  a/k/a Maribel Pimienta (“Ramirez”) is a natural person residing in the State of New Jersey.

  According to public records, Ramirez is Romero’s wife. According to public records, Ramirez is

  also related to and/or otherwise closely associated with Chavez, including through joint corporate

  ownership and real estate transactions, and is closely associated with Randolph, Esq., including

  through one or more of the Surgicore ASCs and multiple real estate transactions. According to

  New Horizon ASC’s corporate filings, in or around 2019, Ramirez became an officer/director of

  New Horizon ASC. At all relevant times herein, ASC Investment Services has been owned on

  paper by Chavez and/or Ramirez. Public records indicate that Ramirez had ownership interests in

  New Horizon ASC and Saddlebrook ASC through ASC Investment Services and Ramirez

  continues to have ownership interests in New Horizon ASC and Saddlebrook ASC through ASC

  Investment Services. At all relevant times herein, Ramirez was a nominal or straw owner of ASC

  Investment Services, which was actually owned and/or controlled by Romero and/or one or more

  of the John Does 2 through 20. At all relevant times, Ramirez was a straw officer/director of New

  Horizon ASC for Romero, who was the actual officer/director for New Horizon ASC. At all

  relevant times mentioned herein, Ramirez facilitated the scheme to defraud by serving as a straw

  owner and/or straw officer/director of one or more of the Surgicore ASCs, including New Horizon

  ASC and Saddlebrook ASC, in order to conceal Romero and/or one or more of the John Does 2

  through 20’s ownership interests in and/or control over New Horizon ASC and Saddlebrook ASC,




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  and to conceal the referral/kickback scheme between one or more of the Controllers, through New

  Horizon ASC and/or Saddlebrook ASC, and Romero and/or one or more of the John Does 2

  through 20, as alleged herein. Defendant Ramirez transacted business in New York State,

  including but not limited to participating in and/or facilitating the fraudulent scheme described

  herein to conceal the full extent of the Controllers’ ownership and control and/or engaging in the

  referral/kickback scheme to steer or refer, or cause to be steered or referred, a steady stream of

  Covered Persons to one or more of the Surgicore ASCs, which resulted in the mailing of fraudulent

  insurance claims in New York State seeking reimbursement pursuant to the New York State No-

  Fault Law.

         370.    Defendant Daniel Reizis, M.D. (“Reizis”) is a natural person residing in the State

  of New Jersey. At all relevant times herein, Advanced PMR has been owned on paper by Reizis

  and/or Hafeez. Public records indicate that, between approximately August 2019 and June 2021,

  either Advanced PMR or its principals, Hafeez and Reizis, had ownership interests Manalapan

  ASC. At all relevant times herein, Hafeez and Reizis were nominal or straw owners of Advanced

  PMR, which was actually owned and/or controlled by one or more of the Health Plus Defendants.

  At all relevant times herein, Hafeez and Reizis were nominal or straw owners for the Health Plus

  Defendants, who were the actual owners of Hafeez and Reizis’s ownership interests in Manalapan

  ASC. At all relevant times herein, Reizis facilitated the scheme to defraud by serving as a straw

  owner and/or straw officer/director of one or more of the Surgicore ASCs, including Manalapan

  ASC, in order to conceal the Health Plus Defendants’ ownership interests in and/or control over

  Manalapan ASC and to conceal the referral/kickback scheme between one or more of the

  Controllers, through Manalapan ASC, and the Health Plus Defendants as alleged herein. Defendant

  Reizis transacted business in New York State, including but not limited to participating in and/or




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  facilitating the fraudulent scheme described herein to conceal the full extent of the Controllers’

  ownership and control and/or engaging in the referral/kickback scheme to steer or refer, or cause

  to be steered or referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs,

  which resulted in the mailing of fraudulent insurance claims in New York State seeking

  reimbursement pursuant to the New York State No-Fault Law.

         371.    Defendant Alla Revutsky (“Revutsky”) is a natural person residing in the State of

  California. On information and belief, Revutsky is Tylman’s sister and/or otherwise closely

  associated with him. At all relevant times herein, ASAR Healthcare has been owned on paper by

  B. Kogan, Revutsky, and/or Tylman. According to Manalapan ASC’s corporate filings, between

  2015 and 2019, Revutsky was identified as an officer/director and general partner of Manalapan

  ASC, before she was replaced in 2020 by Tylman. Public records and/or records produced by All

  City ASC indicate that, between approximately February 2012 and 2015, Revutsky had

  approximately a 15 to 40 percent ownership interest in Manalapan ASC; and, between

  approximately November 2017 and December 2020, Revutsky had approximately a 6.367 percent

  ownership interest in All City ASC. Public records indicate that Revutsky also had an ownership

  interest in New Horizon ASC through ASAR Healthcare and Revutsky continues to have

  ownership interests in New Horizon ASC through ASAR Healthcare. At all relevant times herein,

  Revutsky was a nominal or straw owner of ASAR Healthcare, which was actually owned and/or

  controlled by Tylman, including through Ortuz and/or Kogan. At all relevant times, Revutsky was

  a straw officer/director of Manalapan ASC for Tylman, who was the actual officer/director for

  Manalapan ASC. At all relevant times herein, Revutsky facilitated the scheme to defraud by

  serving as a straw owner and/or straw officer/director of one or more of the Surgicore ASCs,

  including All City ASC, Manalapan ASC, and New Horizon ASC, in order to conceal Tylman’s




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  ownership interests in and/or control over All City ASC, Manalapan ASC, and New Horizon ASC,

  and to conceal the referral/kickback scheme between one or more of the Controllers, through All

  City ASC, Manalapan ASC, and/or New Horizon ASC, and Tylman, as alleged herein.

         372.       Defendant Jeffrey Rubin (“Rubin”) is a natural person residing in the State of New

  York, and is one of the Health Plus Defendants (as defined herein). According to its website, Rubin

  has been Health Plus Management’s chief marketing officer, since at least 2018. At all relevant

  times herein, Capleo Holdings has been owned and controlled by one or more of the Health Plus

  Defendants including Rubin. Public records and/or records produced by All City ASC indicate

  that, since approximately November 2017, Rubin has had approximately a 1.615 percent

  ownership interest in All City ASC, as a voting shareholder and Rubin continues to have an

  ownership interest in All City ASC as a voting shareholder; since approximately 2023, Rubin has

  had ownership interests in Empire State ASC (the percentage of which is presently unknown to

  Plaintiff) and Rubin continues to have an ownership interest in Empire State ASC; and since

  sometime after January 2019, Rubin has had an ownership interest in North Queens ASC (the

  percentage of which is presently unknown to Plaintiff) and Rubin continues to have an ownership

  interest in North Queens ASC. Public records indicate that Rubin also had an ownership interest

  in Saddlebrook ASC through Capleo Holdings and Rubin continues to have an ownership interest

  in Saddlebrook ASC through Capleo Holdings. At all relevant times mentioned herein, Rubin

  facilitated the scheme to defraud by engaging in the referral/kickback scheme between one or more

  of the Controllers, through All City ASC, Empire State ASC, North Queens ASC, and/or Jersey

  City ASC, including through Capleo Holdings, and one or more of the Health Plus Defendants, as

  alleged herein.




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         373.    Defendant Marla Seldes (“M. Seldes”) is a natural person residing in the State of

  New Jersey. According to public records, M. Seldes is R. Seldes’ wife. According to New Horizon

  ASC’s corporate filings, M. Seldes replaced R. Seldes as an officer/director of New Horizon ASC

  in 2019. At all relevant times herein, Blue Wall Management has been owned on paper by R.

  Seldes and/or M. Seldes. Public records indicate that M. Seldes had an ownership interest in New

  Horizon ASC through Blue Wall Management and M. Seldes continues to have an ownership

  interest in New Horizon ASC through Blue Wall Management. At all relevant times herein, M.

  Seldes was a nominal or straw owner of Blue Wall Management, which was actually owned and/or

  controlled by R. Seldes. At all relevant times, M. Seldes was a straw officer/director of New

  Horizon ASC for R. Seldes, who was the actual officer/director for New Horizon ASC. At all

  relevant times herein, M. Seldes facilitated the scheme to defraud by serving as a straw owner

  and/or straw officer/director of one or more of the Surgicore ASCs, including New Horizon ASC,

  in order to conceal R. Seldes’ ownership interests in and/or control over New Horizon ASC, and

  to conceal the referral/kickback scheme between one or more of the Controllers, through New

  Horizon ASC, and R. Seldes, as alleged herein. Defendant M. Seldes transacted business in New

  York State, including but not limited to participating in and/or facilitating the fraudulent scheme

  described herein to conceal the full extent of the Controllers’ ownership and control and/or

  engaging in the referral/kickback scheme to steer or refer, or cause to be steered or referred, a

  steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted in the

  mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant to the

  New York State No-Fault Law.

         374.    Defendant Albert Shakarov (“Shakarov”) is a natural person residing in the State

  of New York. According to public records, Yaguda, Keyserman, Shakarov, and Yadgarov are




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  associated with 7009 Austin Street and are related to and/or otherwise closely associated with the

  owners of several DME companies that operated from 7009 Austin and were sued for civil RICO

  violations and insurance fraud. At all relevant times herein, AS Med Invest has been owned on

  paper by Shakarov. Public records indicate that Shakarov had ownership interests in New Horizon

  ASC, Saddlebrook ASC, and Jersey City ASC through AS Med Invest and Shakarov continues to

  have ownership interests in New Horizon ASC, Saddlebrook ASC, and Jersey City ASC through

  AS Med Invest. At all relevant times herein, Shakarov was a nominal or straw owner of AS Med

  Invest, which was actually owned and/or controlled by one or more of the John Does 2 through

  20. At all relevant times mentioned herein, Shakarov facilitated the scheme to defraud by serving

  as a straw owner of one or more of the Surgicore ASCs, including New Horizon ASC, Saddlebrook

  ASC, and Jersey City ASC, in order to conceal one or more of the John Does 2 through 20’s

  ownership interests in New Horizon ASC, Saddlebrook ASC, and Jersey City ASC, and to conceal

  the referral/kickback scheme between one or more of the Controllers, through New Horizon ASC,

  Saddlebrook ASC, and/or Jersey City ASC, and one or more of the John Does 2 through 20, as

  alleged herein.

         375.       Defendant Roza Yadgarov (“Yadgarov”) is a natural person residing in the State of

  New York. According to public records, Yaguda, Keyserman, Shakarov, and Yadgarov are

  associated with 7009 Austin Street and are related to and/or otherwise closely associated with the

  owners of several DME companies that operated from 7009 Austin and were sued for civil RICO

  violations and insurance fraud. At all relevant times herein, Boost HS has been owned on paper by

  Yadgarov. Public records indicate that Yadgarov had ownership interests in Saddlebrook ASC and

  Rockland and Bergen ASC through Boost HS, and Yadgarov continues to have an ownership

  interest in Saddlebrook ASC through Boost HS. Public records indicate that Yadgarov is also a




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  proposed owner of a forthcoming New York ASC, Bridge Street ASC, LLC (not named as a

  defendant herein), which will also be owned by one or more of the Controllers, through another

  company, LGL ASC Holding, LLC (not named as a defendant herein). At all relevant times herein,

  Yadgarov was a nominal or straw owner of Boost HS, which was actually owned and/or controlled

  by one or more of the John Does 2 through 20. At all relevant times mentioned herein, Yadgarov

  facilitated the scheme to defraud by serving as a straw owner of one or more of the Surgicore

  ASCs, including Saddlebrook ASC and Rockland and Bergen ASC, in order to conceal one or

  more of the John Does 2 through 20’s ownership interests in Saddlebrook ASC and Rockland and

  Bergen ASC, and to conceal the referral/kickback scheme between one or more of the Controllers,

  through Saddlebrook ASC and/or Rockland and Bergen ASC, and one or more of the John Does

  2 through 20, as alleged herein.

         376.    Defendant Yura Yaguda (“Yaguda”) is a natural person residing in the State of New

  Jersey. According to public records, Yaguda, Keyserman, Shakarov, and Yadgarov are associated

  with 7009 Austin Street and are related to and/or otherwise closely associated with the owners of

  several DME companies that operated from 7009 Austin and were sued for civil RICO violations

  and insurance fraud. At all relevant times herein, YCentury and Mega Group Solution have been

  owned on paper by Yaguda. Public records indicate that, since approximately July of 2019, Yaguda

  has had approximately a 1.536 percent ownership interests in All City ASC and Yaguda continues

  to have ownership interests in All City ASC. Public records indicate that Yaguda also had

  ownership interests in New Horizon ASC, Saddlebrook ASC, Rockland and Bergen ASC, Empire

  State ASC, and North Queens ASC through YCentury, Mega Group Solution, and/or one or more

  of the ABC Corporations 1 through 20, and Yaguda continues to have ownership interests in

  Rockland and Bergen ASC, Empire State ASC, and North Queens ASC through YCentury, Mega




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  Group Solution, and/or one or more of the ABC Corporations 1 through 20. Public records from

  November 2024 indicate that Yaguda is also a proposed owner of Fifth Avenue ASC through Mega

  Group Solution and, on information and belief, Yaguda is a current owner of Fifth Avenue ASC

  through Mega Group Solution. At all relevant times herein, Yaguda was a nominal or straw owner

  of YCentury, Mega Group Solution, and/or one or more of the ABC Corporations 1 through 20,

  which were actually owned and/or controlled by one or more of the John Does 2 through 20. At

  all relevant times mentioned herein, Yaguda facilitated the scheme to defraud by serving as a straw

  owner of one or more of the Surgicore ASCs, including New Horizon ASC, Saddlebrook ASC,

  Rockland and Bergen ASC, Empire State ASC, and North Queens ASC in order to conceal one or

  more of the John Does 2 through 20’s ownership interests in New Horizon ASC, Saddlebrook

  ASC, Rockland and Bergen ASC, Empire State ASC, and North Queens ASC, and to conceal the

  referral/kickback scheme between one or more of the Controllers, through New Horizon ASC,

  Saddlebrook ASC, Rockland and Bergen ASC, Empire State ASC, and/or North Queens ASC, and

  one or more of the John Does 2 through 20, as alleged herein. Defendant Yaguda transacted

  business in New York State, including but not limited to participating in and/or facilitating the

  fraudulent scheme described herein to conceal the full extent of the Controllers’ ownership and

  control and/or engaging in the referral/kickback scheme to steer or refer, or cause to be steered or

  referred, a steady stream of Covered Persons to one or more of the Surgicore ASCs, which resulted

  in the mailing of fraudulent insurance claims in New York State seeking reimbursement pursuant

  to the New York State No-Fault Law.

  X.     The John Doe Defendants

         377.    John Doe 1 was employed by and/or associated with the Rockland and Bergen ASC

  Enterprise as its medical director and, at all times relevant herein, facilitated the fraudulent scheme




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  as a nominal, disengaged sham medical director by failing to perform the duties enumerated by

  law for medical directors of an ASC and provided the essential means for the Controllers, through

  the Rockland and Bergen ASC Enterprise, to form and operate a bogus ASC in violation of New

  York and New Jersey law.

         378.    John Doe Defendants 2 through 20 are individuals who conspired, participated,

  conducted, and assisted in the fraudulent and unlawful conduct alleged herein. These individuals

  will be added as defendants when their names and the extent of their participation become known

  through discovery.

  XI.    The ABC Corporations

         379.    The Defendant ABC Corporations 1 through 20 are additional companies that

  conspired, participated, conducted, and assisted in the fraudulent and unlawful conduct alleged

  herein. These companies will be added as defendants when their names and the extent of their

  participation become known through discovery.

         380.    In addition to transacting business by their participation in the mailing of fraudulent

  claims to American Transit, each individual Defendant residing outside of the state of New York and

  business entity Defendant with a principle place of business outside the state of New York participated

  in the scheme to defraud alleged herein in carrying out their respective, defined roles alleged here

  knowing that bills for the Fraudulent Services would be mailed to American Transit.

                                   JURISDICTION AND VENUE

         381.    The jurisdiction of the Court arises under the Racketeer Influenced and Corrupt

  Organizations Act (“RICO”), 18 U.S.C. § 1961, et seq.; 28 U.S.C. §§ 1331; and principles of

  pendent jurisdiction.




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          382.   The Court has supplemental jurisdiction over the claims arising under state law

  pursuant to 28 U.S.C. § 1367(a) and under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

  2202.

          383.   Pursuant to 18 U.S.C. § 1965, 28 U.S.C. § 1367 and New York CPLR § 302(a),

  this Court has personal jurisdiction over any non-domiciliary defendant.

          384.   Venue lies in this District Court under the provisions of 28 U.S.C. § 1391, as the

  Eastern District of New York is the district where one or more of the Defendants reside and

  because this is the district where a substantial amount of the activities forming the basis of the

  Complaint occurred.

          385.   For example, the Defendants submitted or caused to be submitted a massive amount

  of fraudulent billing to Plaintiff under New York automobile insurance policies, for treatment that

  they purported to provide to Plaintiff’s New York-based Insureds. In reliance on the fraudulent

  claims, personnel at Plaintiff’s office in the Eastern District of New York issued payments on the

  fraudulent claims.

          386.   What is more, and as set forth herein, the Defendants transacted substantial business

  in New York, and derived a substantial amount of revenue based on their fraudulent and unlawful

  business activities in New York. Moreover, as set forth herein, the Defendants regularly committed

  tortious acts in New York and in New Jersey that caused injury to Plaintiff in New York.

          FACTUAL ALLEGATIONS APPLICABLE TO ALL CAUSES OF ACTION

          387.   Plaintiff underwrites automobile insurance in New York State and participates as

  an insurer in New York State’s No-Fault programs.




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          388.    The Defendants’ scheme as set forth herein implicates both New York and New

  Jersey law because, as detailed herein, the Fraudulent Services were provided by one or more of

  the Defendants in New York and New Jersey.

  I.      Relevant Laws Governing No-Fault Reimbursement

          A.      Relevant New York Laws and Regulations

          389.    Under the No-Fault Law, Plaintiff is required to pay, inter alia, for health service

  expenses that are reasonably incurred as a result of injuries suffered by ,Covered Persons that arise

  from the use or operation of such motor vehicles in the state of New York (hereinafter, “PIP

  Benefits”).

          390.    Personal line auto insurers that insure personal or private passenger vehicles are

  required to provide statutory mandated PIP Benefits up to $50,000.00 per Covered Person for

  necessary expenses that are, among other things, incurred for health care goods and services,

  including but not limited to physician services, diagnostic services, procedures, surgeries, pain

  management services, chiropractic care, physical therapy services, and acupuncture services.

          391.    Commercial automobile insurers, such as Plaintiff, that insure yellow cabs (picking

  up street-hailing passengers), livery cars, and ride-share vehicles operating in the City of New

  York are required to provide the statutory mandated PIP Benefits up to $200,000 per Covered

  Person. Each of the Defendant Surgicore Health Care Providers are ostensibly health care

  providers (“HCPs”) that bill for medical services to, among others, Covered Persons. In exchange

  for their services, the Defendant Surgicore Health Care Providers accept assignments of benefits

  from Covered Persons and submit claims for payment to No-Fault insurance carriers, in general,

  and to Plaintiff, in particular.




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         392.    In accordance with the No-Fault Law and 11 N.Y.C.R.R. §§ 65 et seq., the

  Defendant Surgicore Health Care Providers submitted, and continue to submit, their claims to

  Plaintiff using the claim forms prescribed by the New York State Department of Financial Services

  f/k/a the Department of Insurance (“DFS”), including the “No-fault Assignment of Benefits Form”

  or form “NF-AOB” and a bill in the form of the “Verification of Treatment by Attending Physician

  or Other Provider of Health Service” or “NYS form NF-3” (hereinafter “NF-3”), or a substantially

  similar form (such as the “Health Insurance Claim Form” or “CMS Form 1500”).

         393.    Pursuant to N.Y. Ins. Law § 403, all bills submitted by a HCP to Plaintiff and all

  other insurers must be verified by the HCP subject to—in substance—the following warning:

         Any person who knowingly and with intent to defraud any insurance company or other
         person files an application for insurance or statement of claim containing any
         materially false information, or conceals for the purpose of misleading, information
         concerning any fact material thereto, commits a fraudulent insurance act, which is a
         crime.

         394.    Under the No-Fault Law and implementing regulations, HCPs, including

  ambulatory surgical centers (“ASCs”) governed by Article 28 of the New York Public Health Law

  (“N.Y. Pub. Health Law”) are not eligible for reimbursement under § 5102(a)(1) of the New York

  Insurance Law (“N.Y. Ins. Law”) if the HCP fails to meet any applicable New York or local

  licensing requirements necessary to perform such services in New York or fails to meet any

  applicable licensing requirements necessary to perform such services in any other state in which

  such service is performed.

         395.    For instance, the implementing regulation adopted by the New York

  Superintendent of Insurance, 11 N.Y.C.R.R. § 65-3.16(a)(12) states, in pertinent part, as follows:

         A provider of healthcare services is not eligible for reimbursement under section
         5102(a)(1) of the N.Y. Ins. Law if the provider fails to meet any applicable New
         York State or local licensing requirement necessary to perform such service in New




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          York or meet any applicable licensing requirement necessary to perform such
          service in any other state in which such service is performed.

           (Emphasis added).

          396.    In New York, only licensed healthcare professionals (and not unlicensed individuals)

  may: (i) practice the pertinent healthcare profession; (ii) own and control a professional corporation

  authorized to operate a professional healthcare practice; (iii) employ and supervise other healthcare

  professionals; and (iv) derive economic benefit from healthcare professional services, absent statutory

  exceptions not applicable in this case.

          397.    New York law also requires the shareholders of a professional corporation to be

  engaged in the practice of their profession through the professional corporation in order for it to be

  lawfully licensed. See, e.g., N.Y. Business Corporation Law § 1507.

          398.    New York law prohibits anyone from engaging in any for profit business or service

  that includes referring or recommending persons to any health related facility for any form of

  medical care or treatment, prohibits any facility delivering health care from splitting fees with a

  medical referral service, and prohibits licensed healthcare services providers from paying or

  accepting compensation in exchange for patient referrals. See N.Y. Pub. Health Law §§ 4501;

  2811; New York Education Law §§ 6509-a; 6530(18); and 6531.

          399.    New York law also prohibits unlicensed persons not authorized to practice a

  profession from practicing the profession and from sharing in the fees for professional services.

  See, e.g., New York Education Law §§ 6512, 6530 (11), & (19).

          400.    Similarly, under New York Education Law § 6530(17) it is unlawful for a medical

  professional to exercise undue influence on a patient, including the promotion or the sale of goods

  or services in such a manner as to exploit the patient for financial gain for the medical professional

  or a third party.



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         401.    Pursuant to New York Education Law § 6509(7), it is professional misconduct

  when an individual who has been licensed by New York to practice in a profession, permits, aides,

  or abets an unlicensed person to perform activities requiring a license. Thus, under the New York

  No-Fault Law, a HCP is not eligible to receive PIP Benefits if it is fraudulently incorporated,

  fraudulently licensed, if it engages in unlawful fee-splitting with unlicensed non-professionals, or

  if it pays or receives unlawful compensation in exchange for patient referrals.

         402.    In State Farm Mut. Auto. Ins. Co. v. Mallela, 4 N.Y.3d 313, 320 (2005), the New

  York Court of Appeals confirmed that HCPs that fail to comply with licensing requirements are

  ineligible to collect PIP Benefits, and that insurers may look beyond a facially-valid license to

  determine whether there was a failure to abide by state and local law.

         403.    In New York, insurers are allowed to seek affirmative recovery against individuals

  and entities who have violated the above statutes and/or regulations. See State Farm v. Mallela, 4

  N.Y.3d 313 (2005); Metroscan Imaging, P.C. v. GEICO, 823 N.Y.S. 2d 818 (2d Dep’t 2006); see

  also Andrew Carothers, M.D., P.C. v. Progressive Ins. Co., 33 N.Y.3d 389 (June 11, 2019)

  (reasoning that only licensed physicians may practice medicine in New York because of the

  concern that unlicensed physicians are “not bound by ethical rules that govern the quality of care

  delivered by a physician to a patient.”).

        i.       Laws Governing ASCs in New York

         404.    Article 28 of the N.Y. Pub. Health Law and its corresponding regulations govern

  the formation and operation of NY ASCs.

         405.    N.Y. Pub. Health Law § 2801(1) defines “hospital,” in pertinent part, to include

  any “facility or institution engaged principally in providing services by or under the supervision




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  of a physician. . .for the prevention, diagnosis or treatment of human disease, pain, injury,

  deformity or physical condition. . .”

         406.    Unlike other medical practices in New York, non-physicians may own, control, or

  derive economic benefit from the operation of NY ASCs.

         407.    While unlicensed non-physicians may own, control, and derive economic benefit

  from the operation of NY ASCs, the regulations promulgated pursuant to N.Y. Pub. Health Law §

  2803 require that NY ASCs, such as the Surgicore NY ASCs, appoint a physician licensed in New

  York as a medical director to supervise patient care.

         408.    10 N.Y.C.R.R. § 751.4 expressly requires that operators of NY ASCs “shall appoint

  a medical director who: (a) is qualified by training, experience and administrative ability to assume

  responsibility for the position; (b) is delegated the authority and is responsible to the operator for

  the professional, organizational and administrative aspects of the adequacy and quality of care

  provided to patients in the center; (c) is a physician licensed by and currently registered with the

  New York Education Department. . .; (d) develops and recommends to the operator policies and

  procedures governing patient care in accordance with generally accepted standards of professional

  practice; (e) develops and recommends to the operator policies and procedures concerning the

  appointment of medical and dental staff, the assignment of their clinical privileges and reviews of

  such appointments; and (f) is responsible for the supervision of the quality assurance program and

  for reporting the activities of the program to the operator.”

         409.    Pursuant to 10 N.Y.C.R.R. § 751.8, NY ASCs’ quality assurance programs must

  include a “planned and systematic process for monitoring and assessing the quality and

  appropriateness of patient care and clinical performance on an ongoing basis.”




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         410.    Because NY ASCs are an exception to the general prohibition in New York against

  unlicensed non-physicians owning, controlling, or deriving economic benefit from a medical

  practice or the provision of physician services, medical directors of NY ASCs play an essential

  role in ensuring that patient care is not subordinated to the base, pecuniary interests of unlicensed

  laypersons.

         411.    Article 10 of N.Y.C.R.R. also sets forth certain requirements of operators and

  administrators of NY ASCs. Under 10 N.Y.C.R.R. § 751.2, operators of NY ASCs are “responsible

  for the establishment of policies and the management and operation of the center in compliance

  with all applicable laws, rules and regulations,” including, among other things: appointing a

  medical director and administrator; “ensuring that all patients receive quality health care and

  services provided in accordance with generally accepted standards of professional practice”;

  reviewing the appointment of medical staff every two years”; “ensuring that all equipment is

  maintained in safe and working order”; ensuring “the provision of staff, space, facilities, supplies

  and equipment for all functions and services adequate to meet the health care and safety needs of

  its patient population and to facilitate the efficient operation of the center”; and prohibiting

  “splitting or sharing of fees between a referral agency and the [NY ASC],” and cannot “enter into

  any agreement limiting such responsibility.” 10 N.Y.C.R.R. § 751.2. Additionally, subject to

  certain exceptions for sole proprietors not applicable here, operators of NY ASCs are required to

  establish committees and hold regular meetings at least on a quarterly basis. 10 N.Y.C.R.R. §

  751.2(d)-(e). Additionally, operators of NY ASCs must ensure that certain documents, including

  meeting minutes, are retained on file. See 10 N.Y.C.R.R. § 751.2(f).




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          412.   Under 10 N.Y.C.R.R. § 751.3, administrators of NY ASCs must have “training and

  experience related to the services provided at the center” and “executive authority and

  responsibility for the operation of the center.”

          413.   Under New York law, NY ASCs must obtain written approval of the Public Health

  and Health Planning Council, a branch of the New York Department of Health (“NYDOH”) in

  order to be established in New York. See N.Y. Pub. Health Law § 2801-a(1).

          414.   Anyone seeking to own a hospital, even in part, must undergo a review of

  “character, competence and standing in the community” by the NYDOH. N.Y. Pub. Health Law §

  2801-a(3).

          415.   Additionally, any transfers, assignments or dispositions involving ten percent or

  more interest or voting rights in an NY ASC to a new partner or member require advanced

  approval, otherwise known as a certificate of need (“CON”). See N.Y. Pub. Health Law § 2801-

  a(4)(b)(i).

          416.   In New York, CONs are also required for the establishment, construction or

  renovation of, or for any acquisitions of major medical equipment, adding or deleting services, or

  modifying services areas by, NY ASCs. See 10 N.Y.C.R.R. § 710.1(c).

          417.   Transfers, assignments, or dispositions involving less than ten percent interest or

  voting rights in a NY ASC are not effective “unless at least ninety days prior to the intended

  effective date thereof, the [NY ASC] fully completes and files with the [NYDOH] notice on a

  form, to be developed by the [NYDOH], which shall disclose such information as may reasonably

  be necessary for the [NYDOH] to determine whether it should bar the transaction” because: (A)

  the equity position of the NY ASC would be reduced; (B) the transaction would result in the

  ownership by any persons convicted of a felony; (C) there are “reasonable grounds to believe that




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  the proposed transaction does not satisfy the character and competence criteria set forth in [N.Y.

  Pub. Health Law § 2801-a(3);]” or (D) “the transaction, together with all transactions during a five

  year period would, in the aggregate, involve twenty-five percent or more of the interest in the

  partnership.” N.Y. Pub. Health Law § 2801-a(4)(b)(ii).

           418.   The NYDOH “shall not approve” an application for establishment of a NY ASC

  unless it is satisfied as to, among other things, “the public need for the existence of the institution

  at the time and place and under the circumstances proposed.” See N.Y. Pub. Health Law § 2801-

  a(3).

           419.   In determining the public need for a NY ASC, the NYDOH is required to consider

  an applicant’s submission regarding the need that the population served or to be served has for the

  services proposed to be offered or expanded, and the extent to which all residents in the area, and

  in particular low income persons, racial persons, and other underserved groups and the elderly,

  will have access to those services. See N.Y. Pub. Health Law § 2801-a(3); 10 N.Y.C.R.R. §§ 600.1,

  670.1.

           420.   Once a NY ASC is approved for establishment, it still cannot operate without first

  obtaining a valid operating certificate. An operating certificate will not be issued unless it is

  determined that the premises, equipment, personnel, rules and by-laws, standards of medical care,

  and hospital service are fit and adequate and that the NY ASC will be operated in the manner

  required by Article 28 of the N.Y. Pub. Health Law and its rules and regulations. See N.Y. Pub.

  Health Law § 2805.

           421.   In keeping with the public need prerequisites for establishment of NY ASCs, and

  to ensure that community needs are served by NY ASCs operating in a given community, Article




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  28 facility operating certificates generally are site specific, and limit performance of services to

  the location designated in the certificate. See 10 N.Y.C.R.R. §§ 401.1, 401.2.

          422.     Article 28 of the N.Y. Pub. Health Law specifically prohibits NY ASCs from

  paying for patient referrals. See N.Y. Pub. Health Law § 2811.

          423.     10 N.Y.C.R.R. §600.5(a)(1) provides that the Public Health Council (hereinafter,

  also referred to as “NYDOH”) may revoke, limit, or annul its approval of a NY ASC if, among

  other things, the established operator “has been guilty of fraud or deceit in procuring the

  approval[,]” “has transferred his ownership interest in the operation of the facility without

  [NYDOH’s] approval, and that such person has terminated his participation in the operation of the

  facility[,]” or “the established operator has failed to comply fully with any condition, limitation or

  other requirement imposed as part of, or in conjunction with the approval. . ..” 10 N.Y.C.R.R.

  §600.5(a)(1), (7), (10).

          424.     On March 31, 2016, the New York Court of Appeals held that office based surgery

  centers (unlike hospitals or ASCs) were not entitled to reimbursement of facility fees, reasoning

  that there is no specific fee schedule that had been adopted by the Superintendent under the No-

  Fault Law that provided for reimbursement of facility fees for office based surgery centers. See

  Gov’t Emp. Ins. Co. v. Avanguard Med. Group, PLLC, 27 N.Y. 3d 22 (N.Y. 2016). Since the New

  York Court of Appeals decision in Avanguard Med. Group, 27 N.Y. 3d 22, HCPs seeking to

  maximize their profits have been incentivized to perform procedures at ASCs so that they may bill

  for facility fees.

                  ii. Anti-Kickback Laws

          425.     New York prohibits anyone from engaging in any for profit business or service that

  either in whole or in part includes the referring or recommending of persons to a physician,




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  hospital, ASC, health related facility, or dispensary for any form of medical care or treatment. See

  N.Y. Pub. Health Law § 4501.

         426.    Under Article 28 of the N.Y. Pub. Health Law pertaining to NY ASCs, no hospital,

  ASC, or other facility delivering health care services shall in any manner split fees with a medical

  referral service. See N.Y. Pub. Health Law §2811.

         427.    New York law also prohibits licensed healthcare services providers from paying or

  accepting compensation in exchange for patient referrals. See, e.g., New York Education Law §§

  6509-a; 6530(18); and 6531.

         428.    Therefore, under the No-Fault Law, a HCP is not eligible to receive PIP Benefits

  if, among other things, it engages in unlawful fee-splitting, or if it pays or receives unlawful

  kickbacks in exchange for patient referrals.

                iii. Reimbursement under the No-Fault Law

         429.    In New York, claims for PIP Benefits are governed by the New York Workers’

  Compensation Fee Schedule (the “Fee Schedule”).

         430.    When a healthcare services provider submits a claim for PIP Benefits using the

  current procedural terminology (“CPT”) codes set forth in the Fee Schedule, it represents that: (i)

  the service described by the specific CPT code that is used was performed in a competent manner

  in accordance with applicable laws and regulations; (ii) the service described by the specific CPT

  code that is used was reasonable and medically necessary; and (iii) the service and the attendant

  fee were not excessive.

         431.    Prior to January 23, 2018, providers rendering treatment outside of New York under

  a New York automobile insurance policy were permitted to bill at the prevailing fee in the

  geographic location of the health provider. In May 2017, the New York Department of Financial




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  Services (“DFS”) announced amendments to the No-Fault Law to limit out-of-state charges for

  medical treatment rendered pursuant to a New York automobile insurance policy. These

  amendments, which became effective on January 23, 2018, limited such out-of-state treatment to

  the lowest of (a) the amount of the fee in the region in New York that has the highest applicable

  amount in the fee schedule for that service; (b) the amount charged by the provider; or (c) the

  prevailing fee in the geographic location of the provider. See 11 N.Y.C.R.R. 68.6(b). The

  “prevailing fee” is defined as “the amount prescribed in that jurisdiction's fee schedule.” 11

  N.Y.C.R.R. 68.6(c).

         432.    As DFS explained, these amendments were promulgated to address “the ongoing

  exploitation of the no-fault system with respect to out-of-state providers who, taking advantage of

  current provisions in the regulation, submit grossly inflated bills for services rendered, thus quickly

  depleting the $50,000 No-Fault coverage limit available to an eligible injured party.” N.Y. Dep’t

  of Fin. Servs. Assessment of Public Cmts. to 33rd Amend. to 11 N.Y.C.R.R. 68.

         B.      Relevant New Jersey Laws and Regulations

         433.    New Jersey, like New York, also has stringent licensing requirements for health

  care professions and their related professional entities. New Jersey, like New York, also has a

  comprehensive statutory system designed to ensure that motor vehicle accident victims are

  compensated for their injuries. The statutory system is embodied within the Compulsory Insurance

  Law (N.J.S.A. 39:6B-1 to 3) and the Automobile Reparation Reform Act (N.J.S.A. 39:6A-1 et

  seq.) (collectively referred to as the “New Jersey No-fault Law”), which require automobile

  insurers to pay, inter alia, for health services expenses that are reasonably incurred as a result of

  injuries suffered by Covered Persons that arise from the use or operation of such motor vehicles

  in New Jersey (also referred to as “PIP Benefits”).




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         434.    As in New York, under the New Jersey No-Fault Law, a Covered Person can assign

  his or her right to PIP Benefits to HCPs in exchange for those services. Pursuant to a duly executed

  assignment, a HCP may submit claims directly to an automobile insurance company in order to

  receive payment for medically necessary services, using the required claim forms, including the

  HCFA-1500 form.

         435.    In order for a HCP to be eligible to receive PIP Benefits, it must comply with all

  relevant laws and regulations governing healthcare practice in New Jersey. Thus, a HCP is not

  entitled to receive PIP Benefits where it has failed to comply with all applicable statutory and

  regulatory requirements governing healthcare practice in New Jersey, regardless of whether or not

  the underlying services were medically necessary. See, e.g., Liberty Mut. Ins. Co. v. Healthcare

  Integrated Servs., No. A-2174-05T3, 2008 WL 2595922 at *2 (N.J. Super. Ct. App. Div. July 2,

  2008); Varano, Damian & Finkel, L.L.C. v. Allstate Ins. Co., 366 N.J. Super. 1, 6 (N.J. Super. Ct.

  App. Div. Jan, 6, 2004) (HCP operated in violation of pertinent regulatory standards “is not eligible

  to receive PIP benefits.”); Allstate Ins. Co. v. Orthopedic Evaluations, Inc., 300 N.J. Super. 510,

  515-519 (N.J. Super. Ct. App. Div. May 2, 1997) (HCP’s non-compliance with pertinent

  regulatory standards rendered it ineligible to collect PIP Benefits, whether or not the underlying

  services were medically necessary).

         436.    Moreover, in order for a specific healthcare service to be eligible for reimbursement

  of PIP Benefits, the service itself must be provided in compliance with all relevant laws and

  regulations governing healthcare practice in New Jersey. See, e.g., Liberty Mut. Ins. Co. v.

  Healthcare Integrated Servs., No. A-2174-05T3, 2008 WL 2595922 at *2 (N.J. Super. Ct. App.

  Div. July 2, 2008); Allstate Ins. Co. v. Orthopedic Evaluations, Inc., 300 N.J. Super. 510, 515-519

  (N.J. Super. Ct. App. Div. May 2, 1997).




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         437.    Accordingly, insurers such as Plaintiff are not obligated to make any payments of

  PIP Benefits to healthcare services providers that are not in compliance with all applicable

  statutory and regulatory requirements governing healthcare practice in New Jersey or for

  healthcare services that are not rendered in compliance with all applicable statutory and regulatory

  requirements governing healthcare practice in New Jersey.

         438.    All of the bills submitted by the Defendants to Plaintiff seek reimbursement of PIP

  Benefits for medical services purportedly provided to Covered Persons under New York’s No-

  Fault Law based on commercial automobile policies written in New York State that were issued

  to New York insureds.

         439.    Pursuant to 11 N.Y.C.R.R. § 65-3.16(a)(12), medical providers purporting to

  provide services outside of New York State, including the Surgicore NJ ASCs, seeking

  reimbursement of PIP Benefits under a New York insurance policy that “fails to meet any

  applicable licensing requirement necessary to perform such service in any other state in which

  such service is performed” is ineligible to recover such benefits.

          i. Laws Governing ASCs in New Jersey

         440.     In New Jersey, Chapter 43A of the New Jersey Administrative Code (“N.J.A.C.”)

  provides the standards for licensing of ambulatory care facilities in New Jersey (“NJ ASCs”) (NY

  ASCs and NJ ASCs are collectively referred to as “ASCs”). The purpose of the N.J.A.C.

  regulations governing NJ ASCs “is to protect the health and safety of patients who receive

  ambulatory care services by establishing minimum rules and standards of care with which an

  ambulatory care facility must comply in order to be licensed to operate in New Jersey.” N.J.A.C.

  § 8:43A-1.2.




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         441.    Pursuant to N.J.A.C. § 8:43A-3.2, NJ ASCs are required to comply with applicable

  state laws and regulations, including laws prohibiting patient referrals.

         442.    Thus under New Jersey law, HCPs and NJ ASCs that pay or receive compensation in

  exchange for patient referrals in contravention of New Jersey law are not eligible to receive PIP

  Benefits.

         443.    N.J.A.C. § 8:43A also sets forth various requirements regarding the licensure and

  operation of NJ ASCs, including for administrators, anesthesiologists, directors of nursing services

  and medical directors, among others. See N.J.A.C. § 8:43A-1.4-1.28.

         444.    Among other things, NJ ASCs are required to have a physician on staff as medical

  director who is “responsible for the direction, provision, and quality of medical services provided to

  patients,” including “[d]eveloping and maintaining written objectives, policies, a procedure manual,

  an organizational plan, and a quality assurance program for the medical service,” and “[e]nsur[ing]

  that medical staffing patterns are implemented.” The medical director also must develop, implement,

  and review “written medical policies, including medical staff bylaws, in cooperation with the medical

  staff.” The medical director, or another physician designated by the medical director in writing, must

  be available to the ambulatory care facility “at all times.” N.J.A.C. § 8:43A-7.2 - N.J.A.C. § 8:43A-

  7.4.

         445.    In addition to having a medical director, every NJ ASC is required to have a

  registered professional nurse on staff as the director of nursing, “who shall be on the premises of

  the facility during its hours of operation,” and who must be responsible for, among other things,

  “the direction, provision, and quality of nursing services provided to patients.” N.J.A.C. § 8:43A-

  8.3.




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         446.    NJ ASCs must also have an administrator who has a “baccalaureate degree and two

  years of full-time, or full-time equivalent, administrative or supervisory experience in a health care

  facility.” N.J.A.C. § 8:43A-1.4; see N.J.A.C. § 8:43A-5.1. Administrators (or designated

  alternatives) must be “availably in the facility during its hours of operation,” N.J.A.C. § 8:43A-

  5.1, and are responsible for: “1. Ensuring the development, implementation, and enforcement of

  all policies and procedures, including patient rights; 2. Planning for, and administration of, the

  managerial, operational, fiscal, and reporting components of the facility; 3. Participating in the

  quality assurance program for patient care and staff performance; 4. Ensuring that all personnel

  are assigned duties based upon their education, training, competencies, and job descriptions; 5.

  Ensuring the provision of staff orientation and staff education; and 6. Establishing and maintaining

  liaison relationships and communication with facility staff and services, with support services and

  community resources, and with patients.” N.J.A.C. § 8:43A-5.2.

         447.    N.J.A.C. § 8:43A-3.5 requires every NJ ASC to “develop written job descriptions

  and ensure that personnel are assigned duties based upon their education, training, and

  competencies, and in accordance with their job descriptions.” Additionally, N.J.A.C. § 8:43A-9.3,

  9.5 set forth certain requirements for NJ ASCs with respect to administration, control and storage

  of medications and N.J.A.C. § 8:43A-12.6 and N.J.A.C. § 8:43A-14.1 to N.J.A.C. § 8:43A-14.7

  set forth certain requirements regarding surgical and anesthesia services, including for infection

  prevention and control.

         448.    N.J.A.C. § 8:43A-3.3 also requires that licensees disclose ownership of the NJ

  ASCs and the property where they are located, and report “any proposed changes in ownership to

  the Director of the New Jersey Division of Certificate of Need and Licensing [(“NJDOH”)] in




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  writing at least 30 days prior to the change and in conformance with requirements for Certificate

  of Need applications.”

         449.    Subject to certain exceptions for publicly held corporations not applicable here, NJ

  ASC applications for transfers of ownership “shall specify each and every principal in the entity

  which is the prospective owner and shall account for 100 percent of the ownership of the facility.

  . ..” N.J.A.C. § 8:33-3.3(g).

         450.    New Jersey requires ASCs to obtain a certificate of need approval by the NJDOH

  in certain instances. See N.J.A.C. § 8:33-3.1, et seq. Transfers of ownership of a NJ ASC that result

  in an owner who previously did not have ten percent or more ownership interest in the NJ ASC,

  but which resulted in such owner acquiring ten percent or more ownership interests in the NJ ASC

  require a certificate of need approval from NJDOH. See N.J.A.C. § 8:33-3.3(h)(1).

         451.    “Each applicant for a certificate of need shall show how the proposed project shall

  promote access to low income persons, racial and ethnic minorities, women, disabled persons, the

  elderly, and persons with HIV infections and other persons who are unable to obtain care.”

  N.J.A.C. § 8:33-4.10(a).

         452.    “In determining the extent to which the proposed service promotes access and

  availability to the aforementioned populations, the applicant, where appropriate, shall address in

  writing the following:”

                 1. The contribution of the proposed service in meeting the health related
                 needs of members of medically underserved groups as may be identified in
                 the applicant's service area;

                 2. The extent to which medically underserved populations currently use the
                 applicant's service or similar services in comparison to the percentage of the
                 population in the applicant's service area which is medically underserved,
                 and the extent to which medically underserved populations are expected to
                 use the proposed services if approved;




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                 3. The performance of the applicant in meeting its obligation, if any, under
                 any applicable State and Federal regulations requiring provision of
                 uncompensated care, community services, or access by minorities and
                 handicapped persons to programs receiving Federal financial assistance
                 (including the existence of any civil rights access complaints against the
                 applicant);

                 4. How and to what extent the applicant will provide services to the
                 medically indigent, Medicare recipients, Medicaid recipients and members
                 of medically underserved groups;

                 5. The extent to which the applicant offers a range of means by which its
                 service (for example, outpatient services, admission by house staff,
                 admission by personal physician) will be accessible and available to a
                 person;

                 6. The amount of charity care, both free and below cost service, that will be
                 provided by the applicant;

                 7. Access by public or private transportation to the proposed project,
                 including applicant-sponsored transportation services;

                 8. As applicable, means of assuring effective communication between the
                 staff of the proposed project and non-English speaking people and those
                 with speech, hearing, or visual handicaps must be documented; and

                 9. Where applicable, the extent to which the project will eliminate
                 architectural barriers to care for handicapped individuals.

  N.J.A.C. § 8:33-4.10(b).

         453.    Each applicant for a certificate of need also must “demonstrate character and

  competence, quality of care, and an acceptable track record of past and current compliance with

  State licensure requirements, applicable Federal requirements, and State certificate of need

  requirements. . ..” N.J.A.C. § 8:33-4.10(d).

         454.    N.J.A.C. § 8:33-3.3(h) sets forth various circumstances in which a certificate of

  need approval by NJDOH is not required, but which otherwise require “prior written notice to the

  Certificate of Need and Acute Care Licensure Program or Long Term Care Licensing and




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  Certification Program, as applicable, of any such sale and identification of ownership changes.”

  N.J.A.C. § 8:33-3.3(h)(1).

         455.    Under N.J.A.C. § 8:33-3.3(h)(1), purchases or sales of less than 10 percent of the

  outstanding stock (preferred or common) in a business corporation that do not result in any

  individual holding 10 percent or more of the corporation’s outstanding stock when such individual

  previously held less than 10 percent of the stock, do not require a certificate of need, but do require

  prior written notice.

         456.    Under N.J.A.C. § 8:33-3.3(h)(2), “purchases or sales of limited partnership interests

  in a limited partnership, where a written limited partnership agreement prohibiting participation in

  management of the partnership by limited partners has been submitted to” NJDOH do not require

  a certificate of need, but do require prior written notice. However, this exception does not apply to

  “general or managing partners or to any partner who participates in management.” N.J.A.C. § 8:33-

  3.3(h)(2).

         457.    Under N.J.A.C. § 8:33-3.3(h)(3), changes in the membership of a nonprofit

  corporation, where the members are individuals or nonprofit corporations, and there is no purchase

  or sale of assets do not require a certificate of need, but do require prior written notice.

         458.    Under N.J.A.C. § 8:33-3.3(h)(4), “[a] change in ownership which does not involve

  acquisition of an ownership interest by a new principal; that is, the change involves only the

  percentage owned by the principals in the entity which is the licensed operator of the facility or

  involves withdrawal of one or more principals from ownership in the facility” does not require a

  certificate of need, but does require prior written notice.

         459.    Under N.J.A.C. § 8:33-3.3(h)(5), “[t]he death of a principal in a health care facility,

  which shall be reported to the Department's Certificate of Need and Acute Care Licensure Program




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  or Long-Term Care Licensing and Certification Program, as applicable, together with the identity

  of the heir(s) to the ownership interest of the deceased principal” does not require a certificate of

  need, but does require prior written notice. However, “[i]f the heir(s) intends to retain the

  ownership interest, the heir(s) shall be subject to investigation of licensure track record.”

         460.    Under N.J.A.C. § 8:33-3.3(h)(6), “[a] transfer, which involves a change in the

  controlling legal entity, but not in individuals with ownership interests, including, but not limited

  to: i. A change in the type of organizational entity owning the facility only, with no change in the

  principals with ownership interests (for example, a change from a corporation to a partnership or

  vice versa); ii. The merger or consolidation of a corporation with or into its wholly-owned

  subsidiary; iii. The merger or consolidation of a corporation with or into a corporation with

  identical common ownership; iv. A transfer of assets to an entity with identical common

  ownership; v. A transfer of assets to a wholly-owned subsidiary corporation; vi. A transfer of assets

  from a wholly-owned subsidiary corporation to its parent; vii. A transfer of stock to a wholly-

  owned subsidiary; or viii. A transfer of stock to an entity with identical common ownership” does

  not require a certificate of need, but does require prior written notice.

         461.    NJ ASCs that fail to comply with these requirements, or the other significant

  regulatory requirements applicable to NJ ASCs, are not eligible to receive PIP Benefits.

         ii. Anti-Kickback Laws

         462.    In New Jersey, individuals who are licensed by the New Jersey Board of Medical

  Examiners, which includes but are not limited to doctors of medicine, doctors of osteopathy,

  podiatrists, certified acupuncturists, and physician assistants, are prohibited from paying or

  receiving compensation, either directly or indirectly, in exchange for patient referrals. N.J.A.C. §

  13:35-6.17; see also N.J.A.C. § 13:35-6.16.




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         463.    N.J.A.C. § 13:35-6.17(c)(1) specifies, in pertinent part, that:

                 A licensee shall not, directly or indirectly, give to or receive from any
                 licensed or unlicensed source a gift of more than nominal (negligible) value,
                 or any fee, commission, rebate or bonus or other compensation however
                 denominated, which a reasonable person would recognize as having been
                 given or received in appreciation for or to promote conduct by a licensee
                 including: purchasing a medical product, ordering or promoting the sale or
                 lease of a device or appliance or other prescribed item, prescribing any type
                 of item or product for patient use or making or receiving a referral to or
                 from another for professional services. . ..

         464.    N.J.A.C. § 13:35-6.17(c)(1) is “construed broadly to effectuate its remedial intent.”

  N.J.A.C. § 13:35-6.17(c)(1)(ii).

         465.    Consistent with broad anti-kickback prohibitions in N.J.A.C. § 13:35-6.17(c)(1),

  N.J.A.C. § 13:35-6.17(h) provides, in pertinent part, that “licensee may lease space or medical

  equipment to or from another licensed health care professional to whom patients are referred, only

  where rent is a fixed fee set in advance and determined by the fair market value, or less, and is for

  a regular term and not for sporadic use of the space or equipment.”

          iii. Prohibition on Self-Referrals

         466.    In New Jersey, physicians and other “practitioners” generally may not refer patients

  to a “healthcare service” in which they, or their immediate family, have a “significant beneficial

  interest.” Specifically, N.J.S.A. § 45:9-22.5 (the “Codey Law”) provides that:

                 A practitioner shall not refer a patient or direct an employee of the
                 practitioner to refer a patient to a healthcare service in which the
                 practitioner, or the practitioner's immediate family, or the practitioner in
                 combination with the practitioner's immediate family has a significant
                 beneficial interest.

         467.    Pursuant to N.J.S.A. § 45:9-22.4:

                 “Healthcare service” means a business entity which provides on an inpatient
                 or outpatient basis: testing for or diagnosis or treatment of human disease
                 or dysfunction; or dispensing of drugs or medical devices for the treatment
                 of human disease or dysfunction. Healthcare service includes, but is not



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                  limited to, a bioanalytical laboratory, pharmacy, home healthcare agency,
                  rehabilitation facility, nursing home, hospital, or a facility which provides
                  radiological or other diagnostic imagery services, physical therapy,
                  ambulatory surgery, or ophthalmic services.

                  “Practitioner” means a physician, chiropractor or podiatrist licensed
                  pursuant to Title 45 of the Revised Statutes.

                  “Significant beneficial interest” means any financial interest; but does not
                  include ownership of a building wherein the space is leased to a person at
                  the prevailing rate under a straight lease agreement, or any interest held in
                  publicly traded securities.

          468.    Pursuant to N.J.S.A. § 45:9-22-5(c)(1), the Codey Law’s restrictions on patient

  referrals do not apply to “medical treatment or a procedure that is provided at the practitioner’s

  medical office and for which a bill is issued directly in the name of the practitioner or the

  practitioner’s medical office. . ..”

          469.    Pursuant to N.J.S.A. § 45:9-22-5(c)(3), the Codey Law’s restrictions on patient

  referrals also do not apply to referrals to an ambulatory care facility—such as an ambulatory

  surgery center—in which the referring physician has a significant beneficial interest, so long as

  certain conditions are met (the “NJ ASC Exception”).

          470.    In particular, pursuant to the NJ ASC Exception set forth in N.J.S.A. § 45:9-

  22.5(c)(3), the Codey Law’s restrictions do not apply to:

                  ambulatory surgery or procedures involving the use of any anesthesia
                  performed at a surgical practice registered with the Department of Health. .
                  . or at an ambulatory care facility licensed by the Department of Health to
                  perform surgical and related services or lithotripsy services, if the following
                  conditions are met:

                  (a) the practitioner who provided the referral personally performs the
                  procedure;

                  (b) the practitioner’s remuneration as an owner of or investor in the practice
                  or facility is directly proportional to the practitioner’s ownership interest
                  and not to the volume of patients the practitioner refers to the practice or
                  facility;



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                 (c) all clinically-related decisions at a facility owned in part by non-
                 practitioners are made by practitioners and are in the best interests of the
                 patient; and

                 (d) disclosure of the referring practitioner’s significant beneficial interest in
                 the practice or facility is made to the patient in writing, at or prior to the
                 time that the referral is made, consistent with the provisions of section 3 of
                 P.L. 1989, c. 19 (C.45:9-22.6).

         471.    Prior to January 16, 2019, the Codey Law’s restrictions did not apply to

  “ambulatory surgery or procedures requiring anesthesia performed at a [NJ ASC].” Thus, prior to

  January 16, 2019, if a physician referred patients to an ambulatory care facility she owned, for

  procedures not “requiring anesthesia,” the referrals would not receive the benefit of the ASC

  Exception to the Codey Law.

         472.    Thus, at all relevant times, if a physician self-referred a patient for a procedure to

  be performed at an ASC, the referral would not qualify for the ASC Exception, and therefore

  would violate the Codey Law, unless—among other things—the referring physician disclosed

  his/her (or immediate family member's) significant beneficial interest in the practice of facility

  to the patient in writing, at or prior to the time when the referral was made.

         473.    HCPs that operate in violation of the Codey Law are not eligible to receive PIP

  Benefits.

         474.    Physicians, ASCs, and hospitals which engage in self-referral arrangements that

  violate the Codey Law are not eligible to receive PIP Benefits.

         475.    Pursuant to N.J.S.A § 14A:17-5, a foreign professional entity cannot offer medical

  professional services in New Jersey without being properly organized or incorporated under New

  Jersey law.




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         476.    Therefore, insurers such as Plaintiff are not obligated to make any payments of

  PIP Benefits to healthcare services providers that unlawfully operate in New Jersey as foreign

  professional entities.

  II.    Backdrop and the Surgicore Health Care Providers’ Submission of Fraudulent Bills

         477.    In purported compliance with the No-Fault Law and 11 N.Y.C.R.R. 65, et seq., the

  Surgicore Health Care Providers and/or Associated Health Care Providers submitted proof of their

  claims to Plaintiff, using the NF-3 and/or HCFA-1500 claim forms.

         478.    Pursuant to § 403 of the N.Y. Ins. Law, the claim forms submitted to Plaintiff by

  the Surgicore Health Care Providers and/or Associated Health Care Providers contained the

  following warning at the foot of the page:

                 Any person who knowingly and with intent to defraud any insurance
                 company or other person files an application for insurance or statement
                 of claim containing any materially false information, or conceals for the
                 purpose of misleading, information concerning any fact material thereto,
                 commits a fraudulent insurance act, which is a crime.

         479.    To process and verify claims submitted by the Defendant Surgicore Health Care

  Providers, Plaintiff required, and the Defendants submitted, to the extent applicable, narrative

  reports, pre-operative and post-operative reports, test results, and other medical records relative to

  the purported medical services and treatment rendered to Covered Persons, for which the

  Defendant Surgicore Health Care Providers and/or Associated Health Care Providers were seeking

  payment from Plaintiff.

         480.    Pursuant to the No-Fault Law and implementing regulations, as well as the

  applicable policies of insurance, Plaintiff was (and is) required to promptly process claims within

  30 days of receipt of proof of claim.




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         481.    To fulfill its obligation to promptly process claims, Plaintiff justifiably relied upon

  the bills and documentation submitted by Defendants in support of their claims, and paid

  Defendants based on the representations and information that they mailed to Plaintiff.

         482.    At all relevant times mentioned herein, the Surgicore ASCs were ASCs in name

  only. For all practical and legal purposes, the ASCs were created and used to defraud insurers into

  paying fraudulent No-Fault claims.

         483.    On information and belief, the Defendant Surgicore Health Care Providers engaged

  in systematic and pervasive fraudulent practices that distinguished them from legitimate HCPs. By

  way of example and not limitation:

            Unlike legitimate ASCs, the Surgicore ASCs employed sham medical directors
             and administrators who did not implement or supervise any sort of legitimate
             quality assurance programs, did not fulfill the statutory or regulatory
             requirements applicable to them and/or permitted the Surgicore ASCs to be
             operated solely in the pecuniary interests of the Controllers without regard for
             patient care, and ceded all decision-making and policy-making authority
             relating to the operation and management of the Surgicore ASCs, including
             decisions pertaining to the direction and quality of care of the medical services
             rendered at the Surgicore ASCs, to the Controllers and/or others unknown to
             Plaintiff acting under their direction and control who were not (and have never
             been) licensed physicians;

            Unlike legitimate ASCs operating in New Jersey, the Surgicore NJ ASCs
             employed a sham chief clinical officer/chief nursing officer, Hoyle, who
             ensured that the putative “directors of nursing” at the Surgicore ASCs did not
             fulfill the statutory and regulatory requirements applicable to them and/or
             permitted the Surgicore ASCs to be operated solely in the pecuniary interests
             of the Controllers without regard for patient care, and ceded all decision-making
             and policy-making authority relating to the operation and management of the
             Surgicore ASCs, including decisions pertaining to the direction and quality of
             care of the medical services rendered at the Surgicore ASCs, to the Controllers
             who were not (and have never been) licensed physicians;

            Unlike legitimate ASCs, the Surgicore ASCs paid kickbacks to one or more of
             the Surgicore Owners and/or other individuals or entities unknown to Plaintiff,
             which they frequently disguised as dividends or other cash distributions for
             their “investments” in the Surgicore ASCs, so that the Surgicore Owners would


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           supply a steady stream of persons purportedly involved in traffic accidents for
           treatment. The Surgicore ASCs paid the kickbacks knowing that they could
           recover the amount of the kickbacks many times over through fraudulent billing
           submitted to insurers, including Plaintiff;

          Unlike legitimate providers, the Defendant Surgicore Health Care Providers
           misrepresented the existence or severity of any injuries that Covered Persons
           may have had, to the extent they were injured at all, and the course of any
           treatments;

          Unlike legitimate providers, the Surgicore Health Care Providers routinely
           submitted claims for Fraudulent Services that were medically unnecessary,
           and/or performed below the required standard of care for the performance of
           such services and in a sub-standard manner from which no useful medical
           information could be derived, and submitted false medical reports in support of
           those services;

          Unlike legitimate providers, the Surgicore Health Care Providers submitted
           claims for Fraudulent Services pursuant to a predetermined fraudulent protocol;

          Unlike legitimate providers, rather than perform valid procedures, pain
           management services, treatment and/or tests according to prevailing standards
           of medical care as they must, or refer to a legitimate practitioner, the Defendant
           Surgicore Health Care Providers performed invalid, medically unnecessary, and
           bogus treatments and/or diagnostic tests that willfully misrepresented medical
           facts and potentially endangered the safety and health of Covered Persons;

          Unlike legitimate providers, the Surgicore Health Care Providers submitted
           bills, using NF-3s and HCFA-1500 forms wherein Defendants knowingly, with
           intent to deceive Plaintiff and induce payment as a result thereof, and falsely
           misrepresented the services reflected therein (the Fraudulent Services) were
           causally related to an accident and medically necessary when in fact they were
           not;

          Unlike legitimate providers, the Surgicore Health Care Providers submitted
           claims to Plaintiff for reimbursement in which they falsely represented that they
           were in compliance with all applicable laws governing their eligibility for
           reimbursement of No-Fault benefits, including under § 6530(18) of New York’s
           Education Law, which prohibits “[d]irectly or indirectly offering, giving,
           soliciting, or receiving or agreeing to receive, any fee or other consideration to
           or from a third party for the referral of a patient or in connection with the
           performance of professional services. . .,” when in fact, they were not; and




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            Unlike legitimate providers, the Surgicore ASCs submitted claims to Plaintiff
             for reimbursement in which they falsely represented that they were eligible for
             reimbursement for services purportedly rendered to Covered Persons under §
             5102(a)(l) of the N.Y. Ins. Law, when in fact, the Surgicore ASCs failed to meet
             applicable New York State and local licensing requirements necessary to
             perform such service in New York.

         484.    In these and numerous other ways, Defendants sought to deceive Plaintiff into

  paying fraudulent claims that typically exceeded thousands of dollars per Covered Person.

         485.    On information and belief, the Controllers, through the Surgicore ASCs, engaged

  in the illegal scheme alleged herein in numerous ways. By way of example and not limitation, in

  furtherance of the scheme to defraud, the Controllers:

                Recruited sham medical directors and administrators who the Controllers
                 knew would not implement or supervise any sort of legitimate quality
                 assurance programs, did not fulfill the statutory or regulatory requirements
                 applicable to them and/or permitted the Surgicore ASCs to be operated
                 solely in the pecuniary interests of the Controllers without regard for patient
                 care, and ceded all decision-making and policy-making authority relating to
                 the operation and management of the Surgicore ASCs, including decisions
                 pertaining to the direction and quality of care of the medical services
                 rendered at the Surgicore ASCs, to the Controllers who were not (and have
                 never been) licensed physicians, and permitted the Surgicore ASCs to be
                 operated solely in the pecuniary interests of the Controllers without regard
                 for patient care;
                Installed sham medical directors, including but not limited to the Defendant
                 Medical Directors to allow them to conceal the fact that the Controllers were
                 illegally exercising the oversight responsibilities charged to licensed
                 physicians by applicable state laws and that the Surgicore ASCs were not
                 eligible for No-Fault benefits;
                Recruited a sham chief clinical officer/chief nursing officer, who the
                 Controllers knew would ensure that the putative “directors of nursing” at
                 the Surgicore NJ ASCs would not fulfill the statutory and regulatory
                 requirements applicable to them and/or would permit the Surgicore NJ
                 ASCs to be operated solely in the pecuniary interests of the Controllers
                 without regard for patient care, and ceded all decision-making and policy-
                 making authority relating to the operation and management of the Surgicore
                 ASCs, including decisions pertaining to the direction and quality of care of
                 the medical services rendered at the Surgicore ASCs, to the Controllers who
                 were not (and have never been) licensed physicians;



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                Entered into secret, illegal referral/kickback arrangements with the
                 Surgicore Owners and/or other individuals or entities unknown to Plaintiff,
                 whereby the Surgicore ASCs paid the Surgicore Owners to steer or refer, or
                 cause to be steered or referred, Covered Persons to the Surgicore ASCs, for
                 one or more of the Fraudulent Services;
                Prepared or caused to be prepared fraudulent medical reports documenting
                 test results and diagnoses submitted through the Surgicore ASCs that they
                 knew contained materially false and misleading information;
                Prepared or caused to be prepared bills, through the Surgicore ASCs, for the
                 Fraudulent Services and sending them to Plaintiff;
                Through the Surgicore ASCs, paying individuals that purportedly provided
                 services for the Surgicore ASCs for services that they knew or should have
                 known were not causally related to an automobile accident, provided as
                 billed, and were medically unnecessary;
                Paid kickbacks to one or more of the Surgicore Owners and/or other
                 individuals or entities unknown to Plaintiff to ensure a steady stream of
                 Covered Persons upon which the Defendants could bill for one or more of
                 the Fraudulent Services in connection with purported accidents involving
                 minor impact that, if legitimate, resulted in soft-tissue injuries that did not
                 require the performance of such services; and
                Prepared, or caused those acting under their direction, to prepare and mail
                 bogus claims, knowing that they contained materially false and misleading
                 information.

         486.    On information and belief, the Defendant Medical Directors and Defendant

  Administrators, acting in concert and in furtherance of the scheme to defraud alleged herein,

  participated in the fraudulent conduct in numerous ways. For example, by agreeing to serve and

  act as sham medical directors and administrators of the Surgicore ASCs, they abdicated to the

  Controllers their responsibilities to fulfill the statutory and regulatory requirements applicable to

  them and/or permit the Surgicore ASCs to be operated solely in the pecuniary interests of the

  Controllers without regard for patient care, and by ceding medical decision-making and policy-

  making authority relating to the operation and management of the Surgicore ASCs, including

  decisions pertaining to the direction and quality of care of the medical services rendered at the

  Surgicore ASCs, to the Controllers who were not (and have never been) licensed physicians.



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         487.    On information and belief, Hoyle engaged in the illegal scheme alleged herein in

  numerous ways, including by ensuring that the Surgicore NJ ASCs’ putative “directors of nursing”

  did not fulfill the statutory and regulatory requirements applicable to them and/or permitted the

  Surgicore ASCs to be operated solely in the pecuniary interests of the Controllers without regard

  for patient care, and ceded all decision-making and policy-making authority relating to the

  operation and management of the Surgicore ASCs, including decisions pertaining to the direction

  and quality of care of the medical services rendered at the Surgicore ASCs, to the Controllers who

  were not (and have never been) licensed physicians.

         488.    At all relevant times mentioned herein, the Controllers knew that the Surgicore

  ASCs were not properly licensed and therefore were ineligible to recover No-Fault benefits due to

  their installation of the sham Defendant Medical Directors.

         489.    At all relevant times mentioned herein, the Controllers and the Surgicore Health

  Care Providers knew or should have known that the Fraudulent Services were not performed as

  billed, were provided, if at all, at, by and through the Surgicore ASCs that were not properly

  licensed in accordance with applicable state law; were provided pursuant to a predetermined

  fraudulent protocol and were not causally related to an automobile accident.

         490.    At all relevant times mentioned herein, the Controllers through the Surgicore ASCs,

  directly or through others acting under and pursuant to their directions, instructions, and control,

  submitted or caused to be submitted bills for Fraudulent Services, in furtherance of the scheme to

  defraud alleged herein, to obtain payment from Plaintiff.

         491.    At all relevant times mentioned herein, the Surgicore Orthopedic Providers,

  Surgicore Pain Management Providers, and the Surgicore Anesthesia Providers, through their

  respective professional corporations, directly or through others acting under and pursuant to their




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  directions, instructions, and control, submitted or caused to be submitted bills for Fraudulent

  Services, in furtherance of the scheme to defraud alleged herein, to obtain payment from Plaintiff.

         492.    The alleged fraudulent conduct attributed to the Defendants and described herein

  are part of a systematic attack on New York’s No-Fault system by nefarious medical providers

  that compromises the ability of the No-Fault Law to fulfill its objectives, while compromising the

  health and safety of the general public.

         493.    As a result of the Defendants’ fraudulent billing scheme, Plaintiff has paid

  Defendants in excess of $153,000,000.00 on fraudulent and unnecessary medical services.

                     THE MECHANICS OF THE SCHEME TO DEFRAUD

  I.     Overview of Defendants Fraudulent Scheme

         494.    Beginning in or around 2009, and continuing until the present day, the Controllers

  masterminded and implemented a massive fraudulent scheme whereby they excessively billed

  Plaintiff more than $63,000,000.00 through the Surgicore ASCs that they owned and/or controlled,

  but which were not eligible for payment under the No-Fault Law.

         495.    In furtherance of the scheme, the Controllers acquired majority ownership interests

  in and/or control over the Surgicore ASCs; devised an elaborate, unlawful referral/kickback

  scheme in order to ensure a steady stream of patients to the Surgicore ASCs and so that they could

  bill Plaintiff and other insurers for medically unnecessary medically unnecessary interventional

  pain management and/or arthroscopic procedures and/or surgeries including but not limited to

  trigger point injections, epidural steroid injections, epidurograms, discograms, percutaneous

  discectomies, and intradiscal electrothermoplasties (also known as annuloplasties) (“IDETs”),

  and/or shoulder, knee, wrist, and ankle arthroscopies, anesthesia services, and ASC facility fees

  (collectively referred to as the “Fraudulent Services”); and recruited individuals to serve as phony




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  “medical directors” and “administrators,” and a phony “chief clinical officer” and/or “chief nursing

  officer” who oversaw phony “directors of nursing” for the Surgicore ASCs, when in fact it was

  the Controllers who exercised authority and control over the Surgicore ASCs and patient care in

  contravention of New York and New Jersey laws.

         496.    The Controllers sought out, acquired, or formed multiple ASCs to own and control

  in order to obscure and maximize the volume of fraudulent PIP billing that was submitted to

  insurers without drawing unwanted attention by regulatory authorities, insurer investigative

  departments, law enforcement, or the general public.

         497.    Towards that end, the Controllers initially formed and/or acquired majority

  ownership interests and/or control of ASCs in New Jersey, specifically, New Horizon ASC,

  Manalapan ASC, Saddlebrook ASC, Jersey City ASC, and Rockland and Bergen ASC

  (collectively, the “Surgicore NJ ASCs”). As detailed herein, after New Horizon ASC was sued in

  Gov’t Emp. Ins. Co., et al. v. Trnovski, et al., 16-cv-4662 (D.N.J.) and the DFS announced

  rulemaking limiting reimbursement of No-Fault health care services provided outside of New

  York, the Controllers formed and/or acquired additional majority ownership interests and/or

  control of ASCs in New Jersey, specifically, All City ASC, Fifth Avenue ASC, Empire State ASC,

  North Queens ASC, and Rockaways ASC (collectively, the “Surgicore NY ASCs”).

         498.    Upon acquiring control of the Surgicore ASCs, as a part of the scheme to defraud

  and in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the

  Controllers, through the Surgicore ASCs entered into sham “investor” referral/kickback

  arrangements with the Controllers, Main Street Medical, ASAR Healthcare, BDP Ventures LLC,

  BDP Ventures Inc., ASC Investment Services, Ramirez, Chavez, Romero, Blue Wall

  Management, R. Seldes, M. Seldes, McCulloch, Redy Ventures, MK Med Invest, Keyserman, AS




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  Med Invest, Shakarov, Naik, S. Katanov, Fiaba, Kostanian Consulting Associates, Kostanian,

  Conte De Fees, Denevich, YCentury, Jones, Berkowitz, Non-Surgical Orthopedics, Elkholy,

  Dassa, Haar Orthopedics, Haar, FLBD Management, Anjani Sinha, Advanced PMR, Hafeez,

  Reizis, Revutsky, Weiner, Four D Investments LLC, Four D Investments Inc, MEH Investments,

  Ajoy Sinha, Vora, Capleo Holdings, J. Katanov, Xie, Upendra Sinha, MEDA Management, SJ2

  Ventures, Wasserman, Gesheft Associates, M. Hatami, Jones, Kotkes, Richard, Surgicore RBSC,

  AEH Healthcare Management, Boost HS, Yadgarov, Kurtti, McCarthy, Health Plus Management,

  Blumberg, Rubin, Klein, S. Passanisi, L. Passanisi, K. Degradi, Pyatetskaya, B. Kogan, Apazidis,

  Shamalov, Katzman, Bursztyn, Zybin, Yaguda, Shabtian, Surgicore 5th Avenue, McMahon,

  SignMe, Mega Group Solution, Amigud, Aljian, Khakhar, Dassa, Graziosa, Hostin, Chan,

  Arredondo-Calle, Pacia, and one or more of the John Does 2 through 20 and/or one or more of the

  ABC Corporations 1 through 20 (collectively the “Surgicore Owners”) who directly or indirectly

  purchased or otherwise acquired shares in the Surgicore ASC to make it appear that payments

  made by the Surgicore ASCs were dividends or other cash distributions for their “investments” in

  the Surgicore ASCs when, in fact, the payments were compensation for illegally and/or

  unnecessarily steering or referring Covered Persons to one or more of the Surgicore ASCs.

         499.   One or more of the Controllers, individually or through entities in which they or

  their family members or close associates maintained financial interests, also participated in the

  scheme to defraud by steering or referring, or causing to be steered or referred, Covered Persons

  to one or more of the Surgicore ASCs for Fraudulent Services in exchange for illegal compensation

  from the Surgicore ASCs.




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         500.    The Surgicore Owners routinely steered or referred, or caused to be steered or

  referred, Covered Persons from the No-Fault Clinics in New York to the Surgicore ASCs through

  which the Fraudulent Services were purportedly provided.

         501.    In exchange for their “investor” interests in the Surgicore ASCs, the Surgicore

  Owners engaged in the unlawful referral/kickback scheme by secretly agreeing to steer or refer

  those Covered Persons to the Surgicore ASCs for Fraudulent Services.

         502.    To conceal the referral/kickback scheme and their ownership interests in, and,

  with respect to the Controllers, the full extent of their ownership and control of, the Surgicore

  ASCs, the Surgicore Owners purchased or otherwise acquired ownership interests in the

  Surgicore ASCs through companies that they owned and/or controlled, and/or their family

  members or close associates and/or companies that they owned and controlled. The Surgicore

  Owners, either directly or indirectly through their companies, family members, or close associates,

  or their family members’ or close associates’ companies, received payments from the Surgicore

  ASCs that were disguised as dividends or other cash distributions for their “investments” in the

  Surgicore ASCs, when in fact, the payments were compensation for steering or referring, or

  causing to be steered or referred, patients to one or more of the Surgicore ASCs.

         503.    In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over the Surgicore ASCs, the Controllers established, owned, maintained a

  financial interest in or otherwise derived financial benefit through the Surgicore ASCs from a web

  of associated companies, including Surgicore Management, Surgicore Management NY, HDS

  Investments, 50 Franklin Ln Realty, FIWA 1049 Realty, Midtown 305 Realty, and one or more of

  the ABC Corporations 1 through 20 (collectively referred to herein as the “Controller Ancillary

  Entities”), that purport to serve as landlord, management, and/or other financing companies and




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  which purported to enter into lease, management services, financing agreements and other

  contracts with one or more of the Surgicore ASCs, but which, in fact, were used to conceal the full

  extent of the Controllers ownership and control over the Surgicore ASCs, to funnel proceeds from

  one or more of the Surgicore ASCs back to the Controllers and/or to make payments for steering

  or referring Covered Persons to one or more of the Surgicore ASCs for Fraudulent Services.

         504.    By way of example and not limitation, in Allstate Ins. Co. v. Mendoza, D.C., et al.,

  608378/2018, ECF No. 28 (Nassau Cnty. Sup. Feb. 13, 2019), the plaintiffs credibly alleged that

  New Horizon ASC issued over half-a-million dollars in purported lease payments to PB & Goose

  LLC (not named as a defendant herein), a company owned by Degradi, which did not own the

  premises where New Horizon ASC operated, but instead owned 239 E. Main Street, Patchogue,

  New York (“239 E. Main Street”).

         505.    Towards that end, one or more of the Controllers formed Surgicore Management,

  which was incorporated on May 2, 2018. At all relevant times herein, Surgicore Management Inc

  has been owned and controlled by the Controllers. According to its certificate of incorporation,

  Surgicore Management’s board of directors consisted of all four Controllers. According to its

  annual reports, Surgicore Management’s main business address is Saddlebrook ASC’s clinic

  location. Rockland and Bergen ASC represented to NJDOH that Degradi, Kogan, and Tylman

  have ownership interests in Surgicore Management. According to filings with NJDOH, Surgicore

  Management is the purported “management” company for New Horizon ASC, Saddlebrook ASC,

  Jersey City ASC, and Rockland and Bergen ASC.

         506.    Surgicore Management was also identified as a creditor for Empire State ASC and

  North Queens ASC in UCC financing statements filed on December 31, 2019. According to its




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  UCC filings, Surgicore Management Inc indicated its address as Surgicore’s headquarters at 505

  Park Avenue, Suite 303, New York, New York.

         507.    Additionally, barely three months after incorporating Surgicore Management, on

  August 3, 2018, Surgicore Management NY was formed and listed Degradi as its organizer. At all

  relevant times herein, Surgicore Management NY has been owned and controlled by the

  Controllers. According to its corporate filings, Kogan signed the certificate of amendment to

  Surgicore Management NY’s articles of organization as its president, manager and member, which

  he filed on or about September 24, 2019. Surgicore Management NY’s address for service of

  process was also listed as Surgicore’s headquarters, located at 505 Park Avenue, New York, New

  York. In their applications to NYDOH, Empire State ASC and North Queens ASC represented

  that the Controllers each had a 25 percent ownership interest in Surgicore Management NY.

  According to filings with NJDOH and NYDOH, Surgicore Management NY is the purported

  “management” company for the Surgicore NY ASCs.

         508.    In connection with Surgicore Management and/or Surgicore Management NY, one

  or more of the Controllers attested that the Surgicore ASCs would retain ultimate authority,

  responsibility, and control in all final decisions and would not illegally delegate any reserve powers

  that could not be delegated. In fact, in contravention of the laws of New York and/or New Jersey,

  the Controllers did improperly delegate reserve powers and ultimate decision making to Surgicore

  Management and Surgicore Management NY.

         509.    Additionally, one or more of the Controllers formed one or more purported realty

  companies, including HDS Investments, 50 Franklin Ln Realty, FIWA 1049 Realty, and Midtown

  305 Realty that purchased the properties where at least four of the Surgicore ASCs (New Horizon

  ASC, Manalapan ASC, and Fifth Avenue ASC’s clinic located at 1049 Fifth Avenue, New York,




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  New York (the “Fifth Avenue ASC Manhattan”)), and Fifth Avenue ASC’s extension clinic

  located at E. 47th Street New York, New York (“Fifth Avenue ASC Midtown”) are located.

         510.    In addition to the monies they received directly from the Surgicore ASCs, the

  Controllers also formed management service and real estate holding companies to funnel money

  from the Surgicore ASCs to companies that one or more of them owned and controlled.

         511.    Additionally, according to its corporate filings, on July 29, 2016, Degradi formed

  KTHD Investments LLC (not named as a defendant herein). KTHD Investments LLC is owned

  and controlled by one or more of the Controllers, including Degradi, Hatami and Kogan. Degradi,

  Hatami, and Kogan were identified as owners of KTHD Investments LLC on a UCC financing

  statement filed by ECRC Group M-2 LLC on March 8, 2023, in which their interests in KTHD

  Investments LLC were listed as collateral. On December 21, 2017 ECRC Group M-2 LLC filed

  another UCC financing statement identifying KTHD Investments LLC, Surgicore of Jersey City

  ASC, and Fifth Avenue ASC as co-debtors.

         512.    In the original complaint in Roosevelt Road Re, Ltd. et al. v. Hajjar et al., 24-cv-

  1549, ECF No. 1 (E.D.N.Y. Mar. 1, 2024), the Controllers were alleged to created KTHD

  Investments LLC, which uses the acronym “KTHD” for their last names, in order to obtain millions

  of dollars in foreign funding through the “EB-5” visa program and specifically the East Coast

  Regional Center to expand their network of ASCs. Specifically, it was alleged that the Controllers,

  through one or more entities, had raised $7.5 million from 15 foreign investors to develop an ASC

  in Queens (believed to be North Queens ASC) and $6.5 million to acquire and operate ASCs in

  New Jersey (believed to be Jersey City ASC) and Fifth Avenue, New York City (believed to be

  Fifth Avenue ASC). On East Coast Regional Center’s website, the acquisition of ASCs in Jersey

  City and Fifth Avenue Manhattan was identified as project “ECRC Group M-2.”




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         513.    In Hajjar, East Coast Regional Center’s website was alleged to have stated that

  KTHD Investments LLC was an ASC operator that had been established by the Controllers for the

  purpose of acquiring distressed ASCs, that KTHD Investments LLC utilized a “proven-successful

  business model to turn-around its acquiring [ASCs],” and that its management team expected to

  achieve “not only substantially increased revenue but higher than industry-average rate of return

  for its equity owners.”

         514.    On information and belief, the Controllers, through the Surgicore ASCs, disguised

  illegal payments to the Surgicore Owners for steering or referring, or causing to be steered or

  referred, Covered Persons to one or more of the Surgicore ASCs, either as dividends, cash

  distributions, salaries, or other compensation to or for their benefit, including as payments through

  one or more of the Controller Ancillary Entities.

         515.    In exchange for the purported returns on their “investments,” the Surgicore Owners

  systematically steered or referred, or caused to be steered or referred, Covered Persons to one or

  more of the Surgicore ASCs.

         516.    The Surgicore Owners steered or referred, or caused to be steered or referred,

  Covered Persons to the Surgicore ASCs as part of a predetermined fraudulent medical protocol

  that they determined, without regard to medical necessity.

         517.    Thereafter, the Surgicore Orthopedic Providers and Surgicore Pain Management

  Providers, and others employed by the Surgicore ASCs, would purportedly render surgical, pain

  management and/or other medical services purportedly rendered at the Surgicore ASCs to as many

  Covered Persons as possible, for which the Surgicore Health Care Providers billed insurance

  companies in general and, Plaintiff in particular for the Fraudulent Services.




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         518.    To recruit orthopedists and pain management doctors to participate in the scheme

  to defraud, the Controllers, through the Surgicore ASCs’ website (www.surgicoreasc.com),

  advertised and marketed “investment opportunities” to physicians as a “benefit” of working for

  the Surgicore ASCs.

         519.    As alleged herein, KTHD Investments LLC, which is owned and controlled by one

  or more of the Controllers, including Degradi, Hatami, and Kogan, is associated with at least three

  of the Surgicore ASCs (Jersey City ASC, Fifth Avenue ASC, and New Horizon ASC).

         520.    On information and belief, KTHD Investments LLC was an ASC operator that had

  been established by the Controllers for the purpose of acquiring distressed ASCs and maximizing

  returns for its equity owners. Unlike legitimate investments, the Controllers, through the Surgicore

  ASCs had no need for capital and generally offered the “investment” opportunity only to those

  individuals with the potential to direct (or cause to be directed) a large volume of referrals to the

  Surgicore ASCs (i.e., physicians, HPCs, and their affiliates). These “investments” were not

  available to ordinary investors or those who otherwise could not refer or cause a substantial number

  of referrals to the Surgicore ASCs.

         521.    Unlike legitimate investments, on information and belief, the Surgicore Owners

  recouped their supposed investments within a matter of months, thereafter earning several times

  their original investment within a matter of a few months or years.

         522.    Unlike legitimate investments, on information and belief, in some instances, the

  Surgicore Owners were allowed to borrow money from the Surgicore ASCs to finance their

  investment, but then began receiving payments from the Surgicore ASCs, before their payments

  were even due.




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         523.    Unlike legitimate investments, on information and belief, in some instances, the

  Surgicore Owners began receiving supposed returns on their investment before their ownership of

  the Surgicore ASCs had been approved by NJDOH or NYDOH. By way of example and not

  limitation, in Allstate Ins. Co. v. Mendoza, D.C., et al., 608378/2018, ECF No. 28 (Nassau Cnty.

  Sup. Feb. 13, 2019), the plaintiffs credibly alleged that McCulloch was repaid his entire investment

  before NJDOH had even approved his ownership interest in New Horizon ASC.

         524.    Unlike legitimate investments, on information and belief, once the Surgicore

  Owners ceased steering or referring, or causing to be steered or referred, a substantial number of

  Covered Persons to the Surgicore ASCs, they ceased receiving supposed returns on their

  investments, and returned their shares.

         525.    To ensure a steady flow of Covered Persons upon which to perform one or more of

  the Fraudulent Services, under the terms of All City ASC’s amended and restated shareholders’

  agreement, dated November 1, 2017, at least one-third of procedures performed by each physician-

  owner of All City ASC were required to be performed at All City ASC.

         526.    By way of example and not limitation, in Allstate Ins. Co. v. Mendoza,

  608378/2018, ECF No. 28 (Nassau Cnty. Sup. Feb. 13, 2019), the plaintiffs credibly alleged that

  Dassa, a former owner of New Horizon ASC, was receiving $13,000 per month in supposed returns

  on his investment in New Horizon ASC, when he returned his entire interest to New Horizon ASC

  for the original investment price of $30,000, despite that there appeared to be no sound economic

  reason for doing so.

         527.    At all relevant times mentioned herein, the Surgicore Owners conspired with the

  Controllers, through the Surgicore ASCs, and knowingly participated in the scheme to defraud.




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         528.    By way of example and not limitation, in exchange for their “investment” interests

  in one or more of the Surgicore ASCs and/or other improper financial arrangements, the Surgicore

  Owners knowingly steered or referred, or caused to be steered or referred, Covered Persons to the

  Surgicore ASCs for one or more of the Fraudulent Services; and performed one or more of the

  Fraudulent Services that were not medically necessary, were not causally related to automobile

  accidents, billed for such services that were provided (if at all) pursuant to a predetermined

  fraudulent protocol based on kickbacks or other improper financial arrangements with the

  Controllers, Surgicore ASCs, and No-Fault Clinics at which they purportedly initially examined

  Covered Persons.

         529.    The Controllers, through the Surgicore ASCs, knowingly submitted bills to insurers

  for the Fraudulent Services (including facility fees) that were the result of the unlawful

  referral/kickback scheme alleged herein.

         530.    Additionally, the Surgicore Owners knowingly billed for one or more of the

  Fraudulent Services for Covered Persons whom they had steered or referred, or caused to be

  steered or referred, to the Surgicore ASCs pursuant to the unlawful referral/kickback scheme,

  which were not medically necessary and submitted bills to insurers for those services.

         531.    At all relevant times mentioned herein, the Surgicore Owners and Controllers knew

  or should have known that Covered Persons were directed and/or steered to the Surgicore ASCs

  pursuant to a predetermined fraudulent medical protocol that resulted from the financial

  arrangement or unlawful referral/kickback scheme they agreed to participate in with one or more

  of the Controllers, through the Surgicore ASCs, irrespective of medical necessity.

         532.    Defendants entire artifice was predicated on the construction of an ASC empire that

  concealed the improper licensing and operation of the Surgicore ASCs; the concealment of the




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  Controllers use of sham medical directors, administrators, and Hoyle to operate the Surgicore

  ASCs in violation of applicable state laws and the referral network they created with the Surgicore

  Owners to bill for the Fraudulent Services as alleged herein.

            533.   At all relevant times mentioned herein, the Controllers knowingly caused the

  Surgicore ASCs, the Surgicore Orthopedic Providers and the Surgicore Pain Management

  Providers to submit bills seeking reimbursement for services purportedly rendered to the Covered

  Persons, that the Controllers or others, acting pursuant to their directions, instructions and control,

  directed and/or steered to the Surgicore ASCs, in furtherance of the scheme to defraud alleged

  herein.

            534.   At all relevant times mentioned herein, the Controllers, acting in concert with the

  Surgicore Owners and the Surgicore ASCs, participated in, conducted, controlled, conspired

  together, aided and abetted, and furthered the fraudulent schemes through a common course of

  conduct and purpose, which was to defraud insurers in general, and Plaintiff in particular, of

  money.

            535.   At all relevant times mentioned herein, the Surgicore Owners knew or should have

  known that the services they provided to the Covered Persons, referred to the Surgicore ASCs by

  one or more of the Controllers and/or others under the Controllers’ supervision and control, were

  rendered pursuant to the unlawful “investor” referral/kickback arrangement.

            536.   At all relevant times mentioned herein, in furtherance of the scheme to defraud

  alleged herein, the Surgicore Owners knowingly allowed and provided the means for the

  Controllers, through the Surgicore ASCs, to submit or cause to be submitted fraudulent bills for

  medically unnecessary services rendered as a result of the unlawful “investor” referral/kickback

  arrangement in order to obtain payment in connection with fraudulent claims.




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         537.    At all relevant times mentioned herein, the Surgicore Owners, acting in concert

  with the Controllers, one or more of the Defendant Surgicore Health Care Providers and/or others

  unknown to Plaintiff, participated in, conducted, controlled, conspired together, aided and abetted,

  and furthered the fraudulent schemes through a common course of conduct and purpose, which

  was to defraud insurers in general, and Plaintiff in particular, of money through the billing for the

  Fraudulent Services.

         538.    At all relevant times mentioned herein, the unlawful referral/kickback scheme

  pursuant to which the Surgicore Owners steered or referred, or caused to be steered and referred,

  Covered Persons to the Surgicore ASCs, together with the billing fraud scheme alleged herein,

  provided the essential means by which the Defendants were able to further their scheme to defraud

  as alleged in this Complaint.

         539.    At all relevant times mentioned herein, the Controllers knew that ASCs such as the

  Surgicore ASCs were required to have a qualified and legitimate medical director and

  administrator on staff, and were required to comply with the numerous statutory and regulatory

  requirements applicable to ASCs, which are designed to protect the public health and welfare by

  ensuring that patient care is entrusted to the qualified judgment, experience, and training of a

  licensed physicians, not laypersons who may be improperly incentivized to maximize profits at

  the expense of public safety.

         540.    Notwithstanding the statutory mandates with respect to the required installation of

  bona fide medical directors, the Controllers were concerned that, if they appointed legitimate

  physicians and personnel to serve as the Surgicore ASCs’ medical directors and administrators,

  such individuals would impede the fraudulent and unlawful scheme described herein.




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         541.    Accordingly, upon acquiring control of the Surgicore ASCs, the Controllers

  recruited one or more of the Defendant Medical Directors and Defendant Administrators, who

  were willing to pose as the sham “medical directors” and “administrators” at the Surgicore ASCs.

         542.    In furtherance of the scheme to defraud, the Controllers recruited Hoyle, who was

  willing to pose as the sham “chief clinical officer” and/or “chief nursing officer” overseeing the

  sham “directors of nursing” at one or more of the Surgicore ASCs.

         543.    In order to circumvent New Jersey and New York law, and induce the NJDOH and

  NYDOH to maintain the Surgicore ASCs’ licenses and permit them to operate as ASCs, the

  Controllers, through the Surgicore ASCs, entered into a secret scheme with the Defendant

  Surgicore Medical Directors and Administrators, whereby, in exchange for compensation

  (disguised as direct or indirect ownership interests in one or more of the Surgicore ASCs and/or

  as salaries), the Defendant Surgicore Medical Directors and Administrators agreed to falsely pose

  as the true medical directors and administrators of the Surgicore ASCs, without ever fulfilling the

  statutory and regulatory requirements applicable to them.

         544.    In order to circumvent New Jersey and New York law, and induce the NJDOH and

  NYDOH to maintain the Surgicore ASCs’ licenses and permit them to operate as ASCs, the

  Controllers, through the Surgicore ASCs, also entered into a secret scheme with Hoyle, whereby,

  in exchange for compensation (disguised as direct or indirect ownership interests in one or more

  of the Surgicore ASCs and/or as salaries), Hoyle agreed to serve as the sham “chief clinical officer”

  and/or “chief nursing officer” overseeing the sham “directors of nursing” at the Surgicore ASCs.

         545.    The Controllers knew that the physicians that they recruited to serve as the

  Surgicore ASCs’ putative “medical directors” would not implement or supervise any sort of

  legitimate quality assurance program and/or fulfill the statutory and regulatory requirements




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  applicable to them, and instead would cede all medical decision-making and policy-making

  authority relating to the medical operation and management of the Surgicore ASCs, including

  decisions pertaining to the direction and quality of care of the medical services rendered at the

  Surgicore ASCs, to the Controllers who were not (and have never been) licensed physicians, and

  permit the Surgicore ASCs to be operated solely in the pecuniary interests of the Controllers

  without regard for patient care.

         546.    The Defendant Medical Directors agreed to relinquish responsibilities for the

  direction, provision, and quality of medical services provided to patients at the ASCs, and failed

  to develop, maintain, or implement written medical policies or quality assurance programs for the

  ASCs in accordance with applicable laws, and, instead, ceded all medical decision-making and

  policy-making authority relating to the operation and management of the Surgicore ASCs,

  including decisions pertaining to the direction and quality of care of the medical services rendered

  at the Surgicore ASCs, to the Controllers who were not licensed physicians.

         547.    Often times, the Defendant Medical Directors could not legitimately have fulfilled

  their responsibilities as the Surgicore ASCs’ medical directors, because, during the same period

  when they were purporting to serve as the medical director at one of the Surgicore ASCs, they

  were operating other medical clinics and/or maintaining extremely busy practices as treating

  physicians. These activities prevented the Defendant Medical Directors from being available to

  the Surgicore ASCs to fulfill their statutorily required duties as the Surgicore ASCs’ medical

  directors. By way of example and not limitation:

            All City ASC’s “administrator” Zybin testified during an EUO on March 12,
             2024 and April 11, 2024, conducted by Plaintiff, that there is no requirement
             regarding how often its medical director must be onsite. She further testified
             that All City ASC’s purported medical director, Shabtian, does not do any
             onsite supervision or monitoring of any of the surgeries or procedures, and does
             not do any anesthesiology peer reviews at All City ASC. Zybin testified that, in



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             addition to his medical director duties, Shabtian performed procedures at All
             City ASC on Wednesdays and Sundays and she did not know how he allocated
             his time between medical director and clinician. Zybin also refused to answer
             whether Shabtian or any of All City ASC’s other medical directors did any
             assessments regarding the medical necessity and appropriateness of care for All
             City ASC’s patients.

            All City ASC’s “medical director” Shabtian testified during an examination
             under oath on August 15, 2024 and August 16, 2024, conducted by Plaintiff,
             that he is only at All City ASC two days per week (Wednesdays and Sundays)
             where he works all day doing injections or procedures (from around seven a.m.
             to about four or five p.m.). When he is not at All City ASC, he is running his
             anesthesia practice, Total Anesthesia, which has offices in Valley Stream, New
             York and around seven or eight satellite offices and employs another doctor and
             five physician assistants who Shabtian supervises. Shabtian works all day at
             Total Anesthesia on Mondays, Tuesdays and Thursdays, where he sees patients
             from nine a.m. to five or six p.m. and runs the day-to-day operations afterward
             until eight to ten p.m. He also performs procedures at North Queens ASC once
             per month and works at a plastic surgeon’s office on Fridays from around 7 a.m.
             until the afternoon when he stops working to observe the Sabbath. Shabtian
             testified that he is a one percent owner of All City ASC, has no voting rights,
             but is required to perform a minimum number of services at one or more of the
             Surgicore ASCs. He further testified that he did not know who was on All City
             ASC’s board of directors (other than Kogan), despite having served as its
             medical director since around 2022 and as one of its owners since 2021. He also
             did not know who owned the Surgicore ASCs (other than Kogan) and did not
             know any of the other owners of All City ASC. He also testified has is not on
             All City ASC’s board of directors and has never gone to any of All City ASC’s
             voting board sessions or meetings because he is running around six days a week
             and has no time. Shabtian further testified that he received his ownership
             interest in All City ASC when he began bringing cases there and that it is
             common practice for surgeons to be made part-owners when they bring cases
             to the Surgicore ASCs (and that there is a minimum required number of cases
             before a surgeon can be made a part-owner). Shabtian testified that he has been
             receiving distributions for his ownership interest since 2021 and also receives a
             salary as All City ASC’s “medical director.”

         548.    On information and belief, all of the Defendant Medical Directors were either

  unqualified to serve as medical directors due to their lack of experience and training and/or were

  otherwise engaged in busy practices of their own that prevented them from fulfilling the statutory

  requirements as medical directors for the Surgicore ASCs.




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         549.    Similarly, the Controllers knew that the personnel that they recruited to serve as the

  Surgicore ASCs’ putative “administrators” did not have the requisite training and experience

  related to the services provided at the Surgicore NJ ASCs; would not ensure the development,

  implementation, and enforcement of all policies and procedures, including patient rights, would

  not ensure compliance with all applicable laws, rules, and regulations; would not ensure that all

  patients received quality healthcare services provided in accordance with generally accepted

  standards of professional practice; would not fulfill the statutory and regulatory requirements

  applicable to them; and/or would permit the Surgicore ASCs to be operated solely in the pecuniary

  interests of the Controllers without regard for patient care, and ceded all decision-making and

  policy-making authority relating to the operation and management of the Surgicore ASCs,

  including decisions pertaining to the direction and quality of care of the medical services rendered

  at the Surgicore ASCs, to the Controllers who were not (and have never been) licensed physicians.

         550.    Likewise, the Controllers knew that Hoyle would ensure that the putative “directors

  of nursing” at the Surgicore ASCs did not fulfill the statutory and regulatory requirements

  applicable to them and/or permitted the Surgicore ASCs to be operated solely in the pecuniary

  interests of the Controllers without regard for patient care, and ensure that the putative “directors

  of nursing” at the Surgicore ASCs instead ceded all decision-making and policy-making authority

  relating to the operation and management of the Surgicore ASCs, including decisions pertaining

  to the direction and quality of care of the medical services rendered at the Surgicore ASCs, to the

  Controllers who were not licensed physicians.

         551.    Moreover, in order to circumvent New Jersey and/or New York law, and induce the

  NJDOH and NYDOH to maintain the Surgicore ASCs’ licenses and permit them to operate as

  ASCs, the Controllers, through the Surgicore ASCs, often, if not always, misrepresented the




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  percentage of their revenues that would come from No-Fault claims and the local communities

  that would be served, including by misrepresenting that the Surgicore NJ ASCs were intended to

  serve local communities in New Jersey, when, in fact, the Controllers knew that the vast majority

  of patients at the Surgicore NJ ASCs would be transported from New York.

         552.    In addition to the sham “medical directors,” “administrators,” and Hoyle, in

  furtherance of the scheme to defraud and in order to ensure a steady stream of patients to the

  Surgicore ASCs, the Controllers devised an elaborate, unlawful referral/kickback scheme whereby

  the Controllers, through the Surgicore ASCs, entered into secret, illegal referral/kickback

  arrangements (and created sham paperwork) with physicians, other HCPs, and unlicensed

  individuals (referred to herein as the Surgicore Owners) who purchased or otherwise acquired

  shares in the Surgicore ASCs to make it appear that payments made by the Surgicore ASCs were

  dividends or other cash distributions for their “investments” in the Surgicore ASCs when, in fact,

  the payments were illegal compensation for (and based on the volume of) referrals for medically

  unnecessary interventional pain management procedures, anesthesia services, and facility fees,

  which were pursuant to a predetermined medical protocol, irrespective of medical necessity, that

  resulted from the referral/kickback arrangement that they negotiated with the Controllers.

         553.    The Defendant Surgicore Medical Directors, Defendant Surgicore Administrators,

  and Hoyle participated in the scheme to defraud by unlawfully ceding all decision-making and

  policy-making authority relating to the operation and management of the Surgicore ASCs,

  including decisions pertaining to the direction and quality of care of the medical services rendered

  at the Surgicore ASCs, to the Controllers, and by the Surgicore ASCs to funnel the proceeds of the

  fraud scheme, by making payments disguised as dividends or other cash distributions,

  management, marketing, rent, utilities and/or other payments, directly or indirectly to the




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  Surgicore Owners and the Controllers, and/or others under their supervision and control so that

  the Surgicore ASCs would continue to receive a steady stream of patients whom they could “treat”

  from the Surgicore Owners, Controllers, and/or their affiliates.

         554.    Since acquiring ownership and/or control the Surgicore ASCs, the Controllers have

  operated one or more of the Surgicore ASCs in violation of the pertinent statutes and regulations

  as detailed herein.

         555.    On information and belief, the Surgicore ASCs, the Controllers, and the Surgicore

  Owners regularly did not disclose their financial relationships to patients. The Surgicore ASCs,

  the Controllers, and the Surgicore Owners never disclosed the details of their financial

  relationships to patients including that their ownership in the Surgicore ASCs was in fact a sham,

  illegal referral/kickback arrangement. When provided, the ownership disclosures were often times,

  incomplete or not up to date and/or misreported owners’ names. Ownership interests were also

  concealed through companies or family members, so patients were never aware of the actual

  owners or the extent of their ownership interests in the Surgicore ASCs.

         556.    The Controllers and the Surgicore ASCs were aware that compensation to the

  Controllers and the Surgicore Owners could not vary by the number of referrals. Nevertheless,

  compensation did vary by referrals and the amount of shares was related to the referral activity

  and was adjusted up and down dependent upon volume. In order to conceal this fact, the

  Controllers, through the Surgicore ASCs, created sham paperwork to make it appear that

  ownership interests were being purchased as investments and that payments made were returns on

  investments. Thus, not only did these Defendants engage in illegal and unnecessary

  referrals/kickbacks, and not only were payments issued in consideration of the referrals, these




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  Defendants engaged in an elaborate scam to conceal and hide the actual arrangement in a knowing

  attempt to conceal their violations of the law.

          557.    The referral of Covered Persons between these financially related entities and

  individuals was (and is) illegal under both New York and New Jersey law.

          558.    In addition to the unlawful kickback and financial arrangements alleged herein with

  respect to the Surgicore Owners, the Controllers, through one or more of the Surgicore ASCs

  and/or others unknown to Plaintiff acting at their direction, also paid kickbacks to and/or entered

  into unlawful compensation arrangements with Bowen, Jimenez, Hall, Portal, Eltaki, Scinas,

  Khan, Kao, Eaton, Itzkovich, Neuman, and/or one or more of the John Does 2 through 20, who

  Plaintiff has not been able to confirm have any financial interest in the Surgicore ASCs. Such

  kickbacks and unlawful compensation were paid to these doctors in exchange for their agreement

  to steer or refer a high volume of Covered Persons to one or more of the Surgicore ASCs, for

  which they or others acting under their control then provided one or more of the Fraudulent

  Services and for which they and/or the Controllers, through the Surgicore ASCs, submitted

  fraudulent bills to Plaintiff for, among other things, facility fees.

  II.     The Documented Fraudulent History of the Surgicore ASCs

          559.    The Surgicore ASCs have a long history of fraudulent conduct.

          560.    According to press reports, in 2004, as a part of a settlement with the New York

  Attorney General, All City ASC agreed to repay taxpayers $6 million for false claims that it

  submitted and, as a part of the settlement, admitted that it knowingly operated its clinics and

  intentionally billed Medicaid for services it provided in violation of state regulations governing

  part-time clinics. As a part of the settlement, All City ASC also agreed to close its diagnostic

  treatment center and remaining part-time clinic, and employ a compliance officer to monitor the




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  operation of the ASC. Per press reports, its two owners collected $1.4 million in salaries in 2002

  and one of the owners, Rossia Pokh (“Pokh”) (not named as a defendant herein), identified therein

  as All City ASC’s director and vice president, and who, as alleged herein, is Zybin’s mother,

  pleaded guilty to grand larceny in connection with the case for knowingly causing All City ASC

  to submit thousands of reimbursement claims for services that it provided in violation of state

  regulations. The case also led to the criminal convictions of several other people at All City ASC,

  and the revocation of at least one physical therapist’s license as a result of his criminal conviction

  for illegally billing Medicaid.

         561.    In Simon v. Francinvest, S.A., 162867/2014 (N.Y. Cnty. Sup. Sept, 24, 2018), Fifth

  Avenue ASC and its founding member, Charles Raab (not named as a defendant herein), were

  named as defendants in an alleged scheme to defraud. In Simon v. Francinvest, S.A., Charles Raab

  was alleged to have left another ASC, French-American Surgery Center, Inc. (not named as a

  defendant herein), in 2007 in order to form Fifth Avenue ASC and secretly and illegally acquire

  French-American Surgery Center, Inc. in a below market-rate transaction which was ultimately

  deemed by NYDOH to be an “inside transaction.” Fifth Avenue ASC Midtown and its property

  owner, JJS Group, Inc. (not named as a defendant herein), were alleged to have been misused to

  fill “personal coffers” and commit “corporate waste” and that Charles Raab, as JJS Group, Inc.’s

  principal, treasurer and “primary contact person,” had “unfettered access” to its bank accounts.

  Additionally, Charles Raab was alleged to have formed three purported billing companies that

  fraudulently “triple-dipped” in billing fees received from Fifth Avenue ASC and/or French-

  American Surgery Center, Inc. Specifically, Charles Raab was alleged to have owned Empire

  Fiscal Management, Inc. (not named as a defendant herein) which received over $1.5 million in

  “billing” fees from French-American Surgery Center, Inc. between 2005 through 2010, despite the




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  fact that Empire Fiscal Management, Inc. had dissolved in 1993. Charles Raab was also alleged to

  have misrepresented to NYDOH that he was Empire Fiscal Management, Inc.’s current president

  in 2009. In 2007, Fifth Avenue ASC’s managing board, which consisted of Charles Raab, Amigud,

  and Gregg Rock, DPM (not named as a defendant herein) was alleged to have created a second

  company, Madison Associates ASC Management, Inc. (not named as a defendant herein), which

  received $180,000 per year from Fifth Avenue ASC in “management” fees, as well as more than

  $1.2 million in additional billing fees between 2008 and 2010. In 2010, Charles Raab was also

  alleged to have created a third company, SEM Services, LLC (not named as a defendant herein),

  in order to bill ASC facility fees, for which SEM Services, LLC was to receive a fixed rate

  $535,000 per year from Fifth Avenue ASC, regardless of the number of patients or bills submitted.

         562.   In Gov’t Emp. Ins. Co., et al. v. Trnovski, et al., 16-cv-4662 (D.N.J.), a civil

  RICO/insurance fraud action, New Horizon ASC was alleged to have received unlawful self-

  referrals from two of its members for medically unnecessary treatment, including medically

  unnecessary pain management injections that did not require anesthesia.

         563.   In Allstate Ins. Co., et al. v. Mendoza, et al., 608378/2018, ECF No. 28 (N.Y. Sup.

  Ct. [Nassau] Feb. 13, 2019), the plaintiffs credibly alleged that the defendants, which included

  New Horizon ASC, Degradi, Main Street Medical, Hatami, McCulloch, Seldes, Haar, NY Spine,

  and Haar Orthopaedics, among others, were a part of an illegal referral/kickback arrangement

  where patients were brought from New York to New Horizon ASC so that New Horizon ASC

  could bill insurers for medically unnecessary services, including unnecessary facility fees. The

  patients were credibly alleged to have been steered or referred to New Horizon ASC through a

  referral network that included New Horizon ASC’s owners and their associated HCPs. New

  Horizon ASC’s owners were alleged to have entered into sham “investment” relationships with




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  New Horizon ASC whereby their “investments” in New Horizon ASC were used as cover for

  kickbacks for the referrals, which were disguised as dividends or other cash distributions for their

  “investments” in New Horizon ASC. Degradi was alleged to be at the “center of the fraudulent

  and abusive claims” and “responsible for a network that [] made improper referrals to each other

  and ultimately to New Horizon” ASC. Allstate Ins. Co., et al. v. Mendoza, et al., 608378/2018,

  Am. Compl. (N.Y. Sup. Ct. Nassau County Feb. 13, 2019).

         564.    In Personal Service Ins. Co., et al. v. Monace, et al., ESX-L-002755-20 (N.J. Super.

  Ct. 2020), the plaintiffs credibly alleged that the defendants, which included New Horizon ASC

  and Manalapan ASC, among others, submitted claims and medical bills to plaintiffs for staged and

  fraudulent hit and run accidents.

         565.    In State Farm Guaranty Ins. Co., et al. v. Kettia Dernier, et al., ESX-L-007323-19

  (N.J. Super. Ct. 2019)., the plaintiffs credibly alleged that the defendants, which included Jersey

  City ASC, Manalapan ASC, Synergy Anesthesia, and Precision Anesthesia, among others,

  targeted the plaintiffs as part of a staged and caused motor vehicle accident ring involving

  predetermined low speed vehicular collisions that resulted in supposed soft tissue injuries followed

  by treatment from typically the same HCPs, which misrepresented treatment and made medically

  unnecessary referrals. The plaintiffs credibly alleged that many of the claimants in the staged

  accidents were connected through familial ties or prior staged accidents.

         566.    In Allstate Ins. Co., et al. v. Matturro, D.C., et al., BER-L-002707-20 (N.J. Super.

  Ct. 2020), a qui tam civil RICO and insurance fraud action in which the New Jersey Commissioner

  of the Department of Banking and Insurance intervened, the plaintiffs credibly alleged that the

  defendants, which included Saddlebrook ASC, among others, engaged in a fraudulent

  referral/kickback scheme in which the treating providers performed steroid injections with the use




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  of medically unnecessary sedation anesthesia, which they used as a basis to perform the procedures

  at ASCs, such as Saddlebrook ASC and to bill the plaintiffs for unnecessary ASC facility fees,

  when such procedures required only a local anesthetic and, thus, could have been performed at the

  HCPs’ private offices.

         567.    In Roosevelt Road Re, Ltd., et al. v. Wingate, Russotti, Shapiro, Moses, Halperin,

  LLP, et al., 24-06259 (E.D.N.Y. 2024), Saddlebrook ASC, Fifth Avenue ASC, and North Queens

  ASC, among others, were named as defendants for their roles in a widespread scheme to defraud

  involving staged construction accidents, fraudulent workers’ compensation claims, and personal

  injury lawsuits, and medically unnecessary and excessive healthcare services. For their role in the

  scheme, Saddlebrook ASC, Fifth Avenue ASC, and North Queens ASC were alleged to have

  intentionally submitted fraudulent medical documentation for reimbursement for medical services

  that were unnecessary, excessive, unwarranted, costly, and/or were not causally related to the

  alleged accident, and provided such fraudulent documentation to law firms knowing that they

  would be used to falsely bolster and add value to claimants’ workers’ compensation claims and

  personal injury lawsuits, thereby inflating the settlement value of such claims and lawsuits.

  Saddlebrook ASC, Fifth Avenue ASC, and North Queens ASC were alleged to have knowingly

  profited from reimbursements for the unnecessary medical services and the increased number of

  patients treated at their facilities as a part of the scheme. In the original complaint, filed on March

  1, 2024 under Index No. 24-cv-1549, the Controllers, along with two physicians, were alleged to

  have rendered the fraudulent treatment protocol, along with several limited liability companies

  purporting to provide realty, management, anesthesia, and other services.




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  III.   Illegal Operation of the Surgicore NJ ASCs

         568.      Beginning in or around 2009, Degradi and one or more of the other Controllers,

  who did not have any prior experience operating ASCs, began acquiring ownership in ASCs

  located outside of New York and specifically in New Jersey that they could own and control and

  use to submit excessive billing for unnecessary medical treatment to insurers, including Plaintiff.

         569.      The Controllers specifically sought out-of-state ASCs so that they could take

  advantage of the absence of specific fee schedules at the time, and submit excessive charges based

  on exaggerated claims that were well above the corresponding sections of the Fee Schedule

  applicable to those services, which led to available PIP benefits being depleted more quickly to

  Covered Persons’ detriment. As a result of such abuses by out-of-state providers (and as further

  detailed herein), in 2016 DFS announced proposed rulemaking to limit reimbursement for such

  services, which was ultimately adopted and went into effect on January 23, 2018.

         570.      Though the Surgicore NJ ASCs purported to serve their local communities in New

  Jersey, many of their patients resided in New York, often a significant distance from the Surgicore

  NJ ASCs, and were otherwise treated in New York for injuries purportedly suffered in automobile

  accidents that reportedly occurred in New York State pursuant to insurance policies issued in New

  York State to New York insureds who were covered under the New York No-Fault Law.

         571.      The Surgicore NJ ASCs paid to transport these New York patients to New Jersey

  for medical treatment, even though such services could have otherwise been performed in an in-

  office setting in New York, so that the Surgicore NJ ASCs could bill under the New Jersey fee

  schedule, thus affording significantly higher reimbursement and avoiding limitations under New

  York’s fee schedule, for, among other things, thousands of dollars in unnecessary facilities fees

  per procedure.




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         572.    The incentive to transport patients to the Surgicore NJ ASCs increased markedly

  after the New York Court of Appeals issued its decision in Gov’t Emp. Ins. Co. v. Avanguard Med.

  Group, PLLC, 27 N.Y. 3d 22 (N.Y. 2016) that office based surgery centers (unlike hospitals or

  ASCs) were not entitled to reimbursement of facility fees.

         573.    Thus, by way of example and not limitation, in Allstate Ins. Co. v. Mendoza,

  608378/2018, ECF No. 28 (Nassau Cnty. Sup. Feb. 13, 2019), the plaintiffs credibly alleged that

  Haar had been performing in-office procedures in New York before he became an “investor” in

  New Horizon ASC and switched his surgeries to New Horizon ASC in or around November of

  2016, where he billed for unnecessary facility fees.

         574.    The Controllers ensured a steady stream of New York patients to the Surgicore NJ

  ASCs by entering into sham “investment,” referral kickback relationships with the Surgicore

  Owners, including providers who primarily practiced in New York and/or others associated with

  HCPs in New York, and provided them with lucrative returns on their “investments” in the

  Surgicore NJ ASCs, and employed an extensive network of interrelated providers who referred

  patients to each other and to the Surgicore NJ ASCs.

         575.    In many instances, the providers that steered and/or otherwise directed patients to

  the Surgicore NJ ASCs failed to inform those patients that services would be provided outside of

  New York, often advertising their services as being provided at their offices in New York.

         576.    The free transportation offered by the Surgicore NJ ASCs to bring New York

  patients to New Jersey was an illegal gratuity designed to provide a patient population to the

  Surgicore NJ ASCs to allow them to bill for facility fees relating to the Fraudulent Services

  provided at, by, and through the Surgicore NJ ASCs.




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         577.    Additionally, the Surgicore NJ ASCs, Surgicore Orthopedic Providers and

  Surgicore Pain Management Providers never disclosed to the patients how much of their New

  York coverage was going to be depleted by their excessive charges and never disclosed that the

  Surgicore ASCs would be billing for unnecessary facility fees that would not be charged if the

  services were provided at the physician’s offices in New York.

         578.    Patients were not brought to New Jersey to provide better services or services that

  were not otherwise available in New York. Rather, patients were brought to New Jersey to allow

  the Surgicore NJ ASCs to bill for facility fees, which they could not do if the services were

  provided at an office based surgery center.

         579.    The Surgicore NJ ASCs obtained their licenses from NJDOH without disclosing to

  NJDOH that the vast majority of their patients would be and are brought from New York to New

  Jersey with transportation paid for by the Surgicore NJ ASCs to allow the Surgicore NJ ASCs to

  “treat” them and bill for the Fraudulent Services under New York No-Fault Laws. Had the

  Surgicore NJ ASCs disclosed this scheme (and its systematic plan to import New York insureds

  without fulfilling any need for their services in New Jersey), the approval of their operating

  licenses by NJDOH would have been at risk.

         580.    The Surgicore NJ ASCs are ineligible for reimbursement insofar as they have

  operated in violation of the New Jersey Standards for Licensing of ASCs, including the

  requirements for ASC medical directors, administrators, and directors of nursing, and prohibitions

  against kickbacks for medical referrals.




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         A. The Illegal Operation of New Horizon ASC

                 i. The Fraudulent “Investor” Referral/Kickback Scheme

         581.   In or around 2011, New Horizon ASC sought and obtained approval from NJDOH

  for Degradi to acquire a 60% ownership interest in the NJ ASC, New Horizon ASC.

         582.   Despite not having been approved as an owner until 2011, on its 2010 annual report

  filed with the New Jersey Department of the Treasury (“NJDOT”) (and all annual reports filed

  since then, through 2024), New Horizon ASC represented that Degradi was its CEO. According

  to NJDOH records, Degradi has been an owner of New Horizon ASC since at least 2011 or 2012.

  Between at least 2013 and around June 2015, Degradi had ownership interests in New Horizon

  ASC through Jamesport Equities, LLC (not named as a defendant herein). Since around October

  2015, Degradi has had ownership interests in New Horizon ASC through Main Street Medical.

         583.   At all relevant times herein, Jamesport Equities, LLC has been owned and

  controlled by Degradi. New Horizon ASC represented to NJDOH that Degradi was the sole owner

  of Jamesport Equities, LLC. According to its corporate filings, Jamesport Equities, LLC was

  organized by Degradi, Hatami, and Guy Mitchel Serbes (not named as a defendant herein) in 2009,

  and represented that Degradi was its president and/or member on all annual reports filed with the

  NJDOT since it was formed. On its certificate of formation and annual reports, the only address

  listed for Jamesport Equities, LLC is an residential property, located at 103 Waterview Drive,

  Sound Beach, New York (“103 Waterview Drive”) in Nassau County, New York, owned solely

  by Degradi since 2007.

         584.   At all relevant times herein, Main Street Medical has been owned and controlled

  by Degradi. New Horizon ASC represented to NJDOH that Degradi was the sole owner of Main

  Street Medical. According to its corporate filings, Degradi was the sole president, owner, and




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  officer of Main Street Medical, with the exception of 2013, when K. Degradi (identified therein

  by her alternate name, Kristen Laird) was also identified as a co-president with Degradi. In 2013,

  Main Street Medical changed its principal executive office from 475 E. Main Street, Patchogue,

  New York, to 239 E. Main Street.

         585.    Degradi has a history of using Main Street Medical to perpetrate insurance fraud.

  In addition to other lawsuits filed against Degradi that are alleged herein, Degradi and Main Street

  Medical were also named as defendants in two RICO and/or insurance fraud actions.

         586.    First, in Allstate Ins. Co., et al. v. Payne, et al., 18-cv-3972 (E.D.N.Y. 2018)

  Degradi was alleged to have unlawfully managed and controlled three MRI facilities using his

  management companies, including Main Street Medical and PB & Goose LLC, to unlawfully

  operate one or more medical PC companies and unlawfully share in the professional physician

  fees and profits collected by them.

         587.    Second, in Farmington Cas. Co., et al. v. Patchogue Open MRI, P.C., et al., 22-cv-

  00999-HG-SIL (E.D.N.Y. 2022), the plaintiffs credibly alleged that the defendants, which

  included Degradi and Main Street Medical, among others, engaged in scheme to defraud via the

  facilitation and cover-up of Degradi’s illegal and unlawful ownership and control of the corporate

  defendants, an illegal kick-back scheme, and the implementation of a pre-determined fraudulent

  treatment protocol. The plaintiffs credibly alleged that Degradi unlawfully operated and controlled

  the several medical PCs and conspired with other defendants through a series of agreements

  between the medical PCs and purported management companies that Degradi also owned and

  controlled, including PB & Goose LLC, Main Street Medical, Patchogue Open MRI, LLC, and

  JAVS Ventures Inc. Degradi was credibly alleged to have recruited physicians to act as the

  purported owners of the medical PCs that he unlawfully operated and controlled, and to have




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  unlawfully shared in the professional physician fees and profits collected by the medical PCs. The

  plaintiffs also credibly alleged that one or more of the medical PCs assigned their healthcare

  receivables to Main Street Medical despite the fact that it was not a professional healthcare service

  entity and therefore, had no legitimate or lawful reason for holding any rights to unpaid healthcare

  insurance receivables or health insurance proceeds.

         588.    According to corporate filings, 239 E. Main Street is affiliated with several other

  companies owned and/or controlled by one or more of the Controllers, including KDH Consulting

  Group LLC, ASAR Healthcare, Jersey City ASC, WHAD Consulting Corp., and the billing

  company used by one or more of the Surgicore ASCs, Vcarve, LLC d/b/a MD Manage d/b/a

  ThoughtSpark (not named as defendants herein).

         589.    According to public records, K. Degradi is Degradi’s wife.

         590.    Since 2012, PB & Goose LLC has owned 239 E. Main Street. PB & Goose LLC’s

  registered agent on file with the New York Department of State (“NYDOS”) is Degradi at 103

  Waterview Drive.

         591.    Degradi was also listed as a debtor with Jamesport Equities, LLC, Main Street

  Medical, and PB & Goose LLC on a 2017 UCC financing statement.

         592.    New Horizon ASC filed its certificate of formation with the NJDOT on or about

  April 14, 2009 and represented that its managing members were Olga Sanchez-Pena (not named

  as a defendant herein) and Romero.

         593.    According to NJDOH records, between at least 2010 and 2011, Jose Sanchez-Pena,

  M.D. (not named as a defendant herein) was New Horizon ASC’s CEO.

         594.    According to court filings, Jose Sanchez-Pena, M.D. is Romero’s uncle and Olga

  Sanchez-Pena is Jose Sanchez-Pena, M.D.’s wife.




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         595.    According to NJDOH records, Romero has been New Horizon ASC’s

  “administrator” since at least 2010. Corporate filings also identified Romero as New Horizon

  ASC’s secretary in 2024.

         596.    Romero had ownership interests in New Horizon ASC in or around 2009 through

  2011, but was replaced either before or at the same time that Degradi acquired ownership interests

  in New Horizon ASC in or around 2011. NJDOH records indicate that Romero signed New

  Horizon ASC’s amended license application, dated June 17, 2010, as its “member/manager,” and

  also identified himself therein as New Horizon ASC’s “administrator,” registered agent and

  emergency contact.

         597.    Though he was not identified in any records received from NJDOH as having any

  direct or indirect ownership interests in New Horizon ASC since at least as early as 2011, Romero

  repeatedly held himself out as a member/manager of New Horizon ASC on records submitted to

  NJDOH between at least 2016 and 2023, including on many of the purported membership unit

  purchase agreements for New Horizon ASC, including for Seldes, McCulloch, and Haar, wherein

  he signed as “managing member” on behalf of New Horizon ASC; on New Horizon ASC’s license

  renewal application, dated March 13, 2013, wherein he signed as “administrator/managing

  partner” on behalf of New Horizon ASC; and on attestations as to New Horizon ASC’s ownership

  dated December 18, 2017 and May 16, 2018, and purportedly submitted to meet the

  certification/attestation requirements for approval requested by NJDOH, in which Romero was

  identified as the “managing director” of New Horizon ASC and signed as an attorney-in-fact for

  New Horizon ASC’s owners. Both attestations were also signed by Jeffrey Randolph, Esq.

  (“Randolph, Esq.”) (not named as a defendant herein).




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         598.   As alleged herein, according to NJDOH records, Romero was also the

  “administrator” for Manalapan ASC in or around 2015 and Saddlebrook ASC in or around 2017,

  and also held himself out as a managing partner/member of Saddlebrook ASC between at least

  2016 and 2018.

         599.   Before 2012, Randolph, Esq. was identified on annual reports as New Horizon

  ASC’s agent. According to NJDOH records, Randolph Esq. served as counsel for New Horizon

  ASC from at least 2012 through 2022, and prospective owners of New Horizon ASC were directed,

  per the terms of the purported “membership unit purchase agreements,” to make their

  “investments” in New Horizon ASC payable to his law firm’s trust account.

         600.   As alleged herein, according to NJDOH records, Randolph, Esq. also served as

  counsel for Manalapan ASC in or around 2015, and prospective owners of Manalapan ASC were

  directed, per the terms of the purported “membership unit purchase agreements,” to make their

  “investments” in Manalapan ASC payable to his law firm’s trust account.

         601.   As alleged herein, according to NJDOH records, Randolph, Esq. also served as

  counsel for Saddlebrook ASC in or around 2017, and prospective owners of Saddlebrook ASC

  were directed, per the terms of the purported “membership unit purchase agreements,” to make

  their “investments” in Saddlebrook ASC payable to his law firm’s trust account.

         602.   As alleged herein, according to NJDOH records, prospective owners of Jersey City

  ASC were directed, per the terms of the purported “membership unit purchase agreements,” to

  make their “investments” in Jersey City ASC payable to Randolph, Esq.’s law firm’s trust account.

         603.   Randolph, Esq. is a No-Fault defense attorney in New Jersey who has defended

  dozens of medical providers accused of insurance fraud in New York and New Jersey. In Jackson

  v. North Jersey Center for Surgery, P.A., 08-cv-2526 (D.N.J. 2008), Randolph, Esq. was identified




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  as an owner/shareholder of another NJ ASC, North Jersey Center for Surgery, P.A., which was

  alleged to have been operated illegally without a license by the NJDOH.

          604.    In Allstate Ins. Co., et al. v. Matturro, D.C., et al., BER-L-002707-20 (N.J. Super.

  Ct. 2020), a qui tam civil RICO and insurance fraud action against Saddlebrook ASC, among

  others, in which the Commission of New Jersey Department of Banking and Insurance intervened,

  one of the orthopedist defendants admitted in his settlement agreement that “based upon the advice

  of [Randolph, Esq.] who held himself out improperly as counsel for Defendant, he unknowingly

  became involved in an unlawful business structure. . .in violation of the New Jersey Insurance

  Fraud Prevention Act.”

          605.    According to its annual reports filed with the NJDOT: (i) between 2010 and 2016,

  New Horizon ASC’s officers/directors consisted of Degradi, Seldes, and Chavez; (ii) in 2017 and

  2018, New Horizon ASC’s officers/directors expanded to include M. Hatami, as treasurer, and B.

  Kogan, as secretary, respectively; (iii) in 2019, Ramirez replaced Chavez, and M. Seldes replaced

  R. Seldes, as New Horizon ASC’s officer/directors; and (iv) in 2023, Romero replaced B. Kogan

  as New Horizon ASC’s secretary.

          606.    According to public records, Romero and Ramirez are related to and/or otherwise

  closely associated with each other including through joint corporate ownership and real estate

  transactions. According to public records, Chavez, Romero, and Ramirez are also closely

  associated with Randolph, Esq., including through one or more of the Surgicore ASCs and multiple

  real estate transactions.

          607.    According to public records, Ramirez is or was Romero’s wife.

          608.    According to public records, M. Seldes is Seldes’ wife.

          609.    According to public records, M. Hatami is Hatami’s wife.




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         610.   According to public records, B. Kogan is Kogan’s wife.

         611.   At all relevant times herein, M. Seldes was a straw officer/director of New Horizon

  ASC for Seldes, who was the actual officer/director for New Horizon ASC.

         612.   At all relevant times herein, M. Hatami was a straw treasurer of New Horizon ASC

  for W. Hatami, who was the actual treasurer for New Horizon ASC.

         613.   At all relevant times herein, B. Kogan was a straw secretary of New Horizon ASC

  for F. Kogan, who was the actual secretary for New Horizon ASC.

         614.   At all relevant times herein, Chavez and Ramirez were straw officers/directors of

  New Horizon ASC for Romero, who was the actual officer/director for New Horizon ASC.

         615.   On information and belief, the Controllers, Seldes, and Romero recruited their

  wives and Chavez to serve as straw officers/directors of New Horizon ASC in order to conceal the

  full extent of their control over New Horizon ASC.

         616.   At all times as alleged herein, the Controllers, Romero, Ramirez, Chavez, S.

  Katanov, J. Katanov, Seldes, M. Seldes, R. Seldes, B. Kogan, Revutsky, M. Hatami, McCulloch,

  Haar, Naik, Keyserman, Shakarov, Denevich, Kostanian, Yaguda, Berkowitz, Dassa, Elkholy, and

  one or more of the John Does 2 through 20 (collectively, the “New Horizon ASC Owners”) have

  had direct or indirect ownership interests in New Horizon ASC.

         617.   At all relevant times while they were owners of New Horizon ASC, the New

  Horizon ASC Owners were responsible for the operation and control of New Horizon ASC and its

  compliance with State and Federal laws, as well as its own policies and procedures in making

  employment-related decisions.




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          618.   At all relevant times since acquiring 60 percent ownership interest in New Horizon

  ASC in or around 2011, the Controllers have had a majority ownership interest in and/or otherwise

  controlled New Horizon ASC.

          619.   Upon acquiring control of New Horizon ASC, as part of the scheme to defraud and

  in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through New Horizon ASC entered into sham “investor” referral/kickback arrangements with the

  New Horizon ASC Owners who purchased or otherwise acquired shares in New Horizon ASC to

  make it appear that payments made by New Horizon ASC were dividends or other cash

  distributions for their “investments” in New Horizon ASC when, in fact, the payments were

  compensation for illegally and/or unnecessarily steering or referring Covered Persons to one

  or more of the Surgicore ASCs.

          620.   One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.

          621.   In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of, New

  Horizon ASC, the New Horizon ASC Owners purchased or otherwise acquired ownership

  interests in New Horizon ASC through companies that they owned and/or controlled, and/or

  their family members or close associates and/or companies that they owned and controlled. The

  New Horizon ASC Owners, either directly or indirectly through their companies, family members

  or close associates, or their family members’ or close associates’ companies, received payments

  from New Horizon ASC that were disguised as dividends or other cash distributions for their




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  “investments” in New Horizon ASC, when in fact, the payments were compensation for steering

  or referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

         622.    In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over New Horizon ASC, the Controllers established, owned, maintained a

  financial interest in, or otherwise derived financial benefit from a web of associated companies,

  including Surgicore Management, which purports to be the “management” company for New

  Horizon ASC, HDS Investments, which purports to be the “landlord” of New Horizon ASC, and

  one or more of the ABC Corporations 1 through 20, that purport to serve as landlord, management,

  and/or other financing companies and which purported to enter into lease, management services,

  financing agreements, and other contracts with New Horizon ASC, but which, in fact, were used

  to conceal the full extent of the Controllers ownership and control over New Horizon ASC, to

  funnel proceeds from New Horizon ASC back to the Controllers and/or to make payments for

  steering or referring Covered Persons to one or more of the Surgicore ASCs for Fraudulent

  Services.

         623.    Towards that end, according to the recorded deed, on or about February 14, 2018,

  HDS Investments purchased 680 Broadway, Unit 1U, Paterson, New Jersey, where New Horizon

  ASC is located. At all relevant times, HDS Investments has been owned and controlled by one or

  more of the Controllers. Hatami, acting as a member of HDS Investments, signed the deed for New

  Horizon ASC’s office. According to the certificate of amendment filed with NJDOT on June 13,

  2018, HDS Investments’ members/managers consisted of the Controllers and Seldes.

         624.    In addition to Degradi’s ownership interests in New Horizon ASC, according to

  NJDOH records, ASC Investment Services has had ownership interests in New Horizon ASC since

  approximately February 2011.




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         625.    At all relevant times herein, ASC Investment Services has been owned on paper by

  Chavez and/or Ramirez. From 2013 through May 2020, New Horizon ASC represented to NJDOH

  that ASC Investment Services was owned solely by Chavez. New Horizon ASC represented to

  NJDOH that the registered owner of ASC Investment Services changed from Chavez to Ramirez

  on May 1, 2020.

         626.    According to its corporate filings, in 2011, Chavez was ASC Investment Services’

  sole member/manager, and registered agent. In 2017, Ramirez replaced Chavez as ASC Investment

  Services registered agent and reported her address at 2 Deer Trail Ct. Ringwood New Jersey (“2

  Deer Trail Ct.”).

         627.    As alleged herein, ASC Investment Services is also an owner of Saddlebrook ASC.

         628.    On October 27, 2015, ASC Investment Services purchased 3-18 31st Street, Fair

  Lawn, NJ from Ramirez for a reported sale price of $175,000 (nearly $100,000 less than Ramirez

  paid for the same property in 2004).

         629.    In 2013, Chavez purchased 2 Deer Trail Ct. from Romero and Ramirez for a

  reported sale price of $505,000 (over $450,000 less than Romero and Ramirez paid for the same

  property in 2007). In 2019 (the same year that Ramirez replaced Chavez as one of New Horizon

  ASC’s officers/directors), Chavez sold 2 Deer Trail Ct. to Ramirez for $1.00 subject to a life estate

  for the benefit of Randolph, Esq. Though not listed on the 2019 deed as an owner, Romero, along

  with Ramirez, took out a $500,000 home equity line of credit on 2 Deer Trail Ct. in 2022.

         630.    In Allstate Ins. Co. v. Mendoza, 608378/2018, ECF No. 28 (Nassau Cnty. Sup. Feb.

  13, 2019), Romero (a defendant in the action) was credibly alleged to have been the “most common

  transportation provider” of patients from New York to New Horizon ASC, i.e., a key facilitator of

  New Horizon ASC’s scheme to defraud insurance companies by submitting grossly inflated




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  charges for medically unnecessary out-of-state services, including unnecessary ASC facility fees.

  Romero is the registered agent for Safe & Sound Transportation LLC (not named as a defendant

  herein), which shares the same address as New Horizon ASC.

         631.    Additionally, Romero was sued in two adversarial proceedings in Chapter 11

  bankruptcy filed by his uncle, Jose Sanchez-Pena, M.D., in 2007, for his role as a “willing

  participant” in Jose Sanchez-Pena, M.D.’s scheme to defraud his creditors by transferring his

  assets to third-parties and family members. See In re Jose R. Sanchez-Pena, 07-br-15054

  (E.D.N.Y. 2007); Biase v. Surgical Center at Jersey City LLC, et al., 08-ap-1331 (E.D.N.Y. 2008);

  Biase v. Surgical Center at Jersey City LLC, et al., 08-ap-1336 (E.D.N.Y. 2008). Specifically,

  Romero was alleged to have engaged in a conspiracy to deprive the bankruptcy estate and its

  creditors of the true value of Jose Sanchez-Pena, M.D.’s interest in Gregory Surgical Services LLC

  (not named as a defendant herein), which per public court filings operated an ASC at Jersey City

  ASC’s clinic location, and to force the trustee to sell Jose Sanchez-Pena, M.D.’s interest in Gregory

  Surgical Services LLC at a reduced price. Romero, who was alleged to be Gregory Surgical

  Services LLC’s administrator, CFO, and part-owner with Jose Sanchez-Pena, M.D., was alleged

  to have served as a “strawman” for Jose Sanchez-Pena, M.D. and was alleged, along with Jose

  Sanchez-Pena, M.D., to have used Gregory Surgical Services LLC’s as his “personal piggybank,”

  including by using Gregory Surgical Services LLC to loan himself $195,000. Gregory Surgical

  Services LLC’s expenses and payroll were alleged to be “excessive and unusual for a surgical

  center” and “grossly disproportionate to the revenue” that it generated. The trustee further alleged

  that Romero’s conduct demonstrated “a blatant and gross conflict of interest and gross

  mismanagement of Gregory Surgical [Services LLC].” See Biase v. Surgical Center at Jersey City

  LLC, et al., 08-ap-1331 (E.D.N.Y. 2008). Additionally, Romero was alleged to have been involved




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  in the alleged intentionally fraudulent transfer for less than fair consideration of several suites

  located at Jersey City ASC’s clinic location (550 Newark Avenue, Jersey City, New Jersey). See

  Biase v. Surgical Center at Jersey City LLC, et al., 08-ap-1336 (E.D.N.Y. 2008). Specifically,

  Romero was alleged to have fraudulently purchased several of the suites at 550 Newark Avenue,

  Jersey City, New Jersey, through several companies that he owned, including Jersey City

  Investment Group, Inc. and Gregory Realty, LLC (not named as defendants herein). The trustee

  alleged that Romero “could not have accumulated funds necessary to pay fair consideration for the

  properties” and that the transfer of partial ownership of Gregory Realty, LLC to Romero was also

  done with actual intent to defraud and for less than fair consideration. The trustee also noted the

  suspicious nature of the purported loans that Romero obtained from Gregory Surgical Services

  LLC, which were made shortly after Romero purportedly purchased ownership interests in several

  properties including several suites at 550 Newark Avenue, Jersey City ASC, and a separate

  purported loan that Romero obtained from his other company, Gregory Anesthesia Services LLC

  (not named as a defendant herein). Romero was also alleged to have been “wrongfully collecting

  rent” from Gregory Surgical Services LLC for 550 Newark Avenue, Suite 501, Jersey City, New

  Jersey through his company Jersey City Investment Group, Inc. and to have refinanced the

  mortgage on 550 Newark Avenue, Suite 501, Jersey City, New Jersey, and to have derived

  substantial proceeds therefrom.

         632.    According to public records, Gregory Anesthesia Services LLC, Jersey City

  Investment Group, Inc., Gregory Realty, LLC, and Comprehensive Imaging Center LLC (not

  named as a defendant herein), for which Romero is listed as the registered agent, share the same

  address as Jersey City ASC.




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         633.    According to public records, Romero was also the owner/operator of Barnert

  Imaging Center, LLC (not named as a defendant herein), which shares the same address as New

  Horizon ASC.

         634.    Though New Horizon ASC and Saddlebrook ASC represented that ASC

  Investment Services was only owned by Chavez or Ramirez, “Amaury,” i.e., Romero was

  identified as ASC Investment Services’ only owner in a record dated January 1, 2023 received

  from NJDOH that was presumably prepared by Saddlebrook ASC and/or prepared by NJDOH

  based on information provided by Saddlebrook ASC to NJDOH.

         635.    Additionally, as alleged herein, though he has not been identified as an owner of

  New Horizon ASC since at least as early as 2011, Romero repeatedly held himself out as a

  member/manager of New Horizon ASC on records submitted to NJDOH between at least 2016

  and 2023.

         636.    At all relevant times herein, Chavez and/or Ramirez were nominal or straw owners

  of ASC Investment Services, which was actually owned and controlled by Romero and/or one or

  more of the John Does 2 through 20.

         637.    On information and belief, New Horizon ASC did not disclose to its patients that

  Romero and/or one or more of the John Does 2 through 20 had ownership interests in New Horizon

  ASC through ASC Investment Services, including that they were receiving compensation for

  steering or referring, or causing to be steered or referred, Covered Persons to New Horizon ASC

  in order to ensure a steady stream of patients to New Horizon ASC, irrespective of medical need.

         638.    According to NYDOH records, S. Katanov has had ownership interests in New

  Horizon ASC since approximately 2012. Additionally, according to NJDOH records, Redy

  Ventures has had an ownership interest in New Horizon ASC since at least January 2022.




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          639.   According to public records, S. Katanov is the wife of J. Katanov.

          640.   At all relevant times herein, Redy Ventures has been owned and controlled by J.

  Katanov. Rockland and Bergen ASC represented to NJDOH in 2022 that Redy Ventures is owned

  solely by Katanov. Redy Ventures’ registered address is a residential property located at 65-24

  Ellwell Crescent, Rego Park, NY, which in 2012 was sold by J. Katanov and S. Katanov to S.

  Katanov, as trustee, for a reported sale price of $0.00.

          641.   S. Katanov is also an owner of All City ASC and, on information and belief, Fifth

  Avenue ASC.

          642.   Redy Ventures is also an owner of Rockland and Bergen ASC.

          643.   In Allstate Ins. Co. v. Mendoza, 608378/2018, ECF No. 28 (Nassau Cnty. Sup. Feb.

  13, 2019), the plaintiffs credibly alleged S. Katanov became an owner of New Horizon ASC in

  December 2014. However, according to historic archives for New Horizon ASC’s website, S.

  Katanov was not reported as an owner on New Horizon ASC’s website until sometime after July

  2016.

          644.   In Allstate Ins. Co. v. Mendoza, 608378/2018, ECF No. 28 (Nassau Cnty. Sup. Feb.

  13, 2019), the plaintiffs also credibly alleged that, after S. Katanov became an owner of New

  Horizon ASC, New Horizon ASC began billing for procedures in which Metropolitan Surgical

  Services and J. Katanov provided physician services, that Metropolitan Surgical Services then

  billed the plaintiffs for the same procedures, and that no disclosure of this financial relationship

  was made to patients.

          645.   At all relevant times herein, S. Katanov was a nominal or straw owner for J.

  Katanov, who was the actual owner of S. Katanov’s ownership interest in New Horizon ASC.




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         646.   According to NJDOH records, Blue Wall Management and ASAR Healthcare has

  also had ownership interests in New Horizon ASC since approximately March 2013.

         647.   At all relevant times herein, Blue Wall Management has been owned on paper by

  R. Seldes and/or M. Seldes. According to its certificate of formation, Blue Wall Management

  provides “consulting services” and M. Seldes was its member/manager. New Horizon ASC also

  represented to NJDOH in 2013 that M. Seldes was Blue Wall Management’s sole member. Since

  2016, New Horizon ASC has represented that “Richard Seldes, MD c/o Blue Wall Management,

  LLC” is one of New Horizon ASC’s owners. In 2013 and 2014, New Horizon ASC represented to

  NJDOH that Blue Wall Management and/or M. Seldes owned 15 percent of New Horizon ASC.

         648.   According to public records, M. Seldes is Seldes’ wife.

         649.   At all relevant times herein, M. Seldes was a nominal or straw owner of Blue Wall

  Management, which was actually owned and/or controlled by Seldes.

         650.   At all relevant times herein, ASAR Healthcare has been owned on paper by B.

  Kogan, Revutsky, and/or Tylman. In 2013, New Horizon ASC represented to NJDOH that ASAR

  Healthcare, was jointly and equally owned by B. Kogan and Revutsky. In 2013 and 2014, New

  Horizon ASC represented to NJDOH that B. Kogan and/or ASAR Healthcare, owned 50 percent

  of New Horizon ASC. However, in December 2019, Rockland and Bergen ASC represented to

  NJDOH that ASAR Healthcare was owned solely by Tylman. Additionally, in its November 2016

  license application, Jersey City ASC represented to NJDOH that ASAR Healthcare was owned by

  Tylman.

         651.   At all relevant times herein, Ortuz has been owned and controlled by Tylman. On

  March 15, 2018, Ortuz filed a certificate of registration as a foreign business with the NJDOT,

  identifying Tylman as a general partner, and on September 18, 2019, Tylman filed a certificate of




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  revival for Ortuz with the State of Delaware. Ortuz was identified in corporate filings as a

  “management and consulting” company. In UCC financing statements filed with the Delaware

  State Division of Corporations on November 18, 2019, Ortuz was identified as having an

  ownership interest in ASAR Healthcare.

         652.    On information and belief, Revutsky is Tylman’s sister and/or otherwise closely

  associated with him.

         653.    Revutsky was also an owner of Manalapan ASC between 2012 and 2015, and All

  City ASC through December 30, 2020.

         654.    As alleged herein, B. Kogan is also a purported owner of All City ASC.

         655.    Tylman, one of the Controllers, was named as a defendant in Allstate Ins. Co., et

  al. v. Zhigun, et al., 603669/2003 (N.Y. Cnty. Sup. Ct. 2003), wherein he was credibly alleged to

  be the owner and operator of a durable medical equipment (“DME”) company “whose operating

  procedure, patterns and practices mirrored” other DME companies, and was alleged to have forged

  illicit kickback relationships with” DME wholesalers and presided over two separate RICO

  enterprises (a DME network enterprise and a “criminal” medical network enterprise).

         656.    At all relevant times herein, ASAR Healthcare has been owned and controlled by

  Tylman and/or Kogan, including through Ortuz.

         657.    At all relevant times herein, B. Kogan and Revutsky were nominal or straw owners

  of ASAR Healthcare, which was actually owned and/or controlled by Tylman, including through

  Ortuz and/or Kogan.

         658.    On information and belief, New Horizon ASC, did not disclose to its patients that

  Tylman and/or Kogan had ownership interests in New Horizon ASC through ASAR Healthcare

  and/or Ortuz, including that they were receiving compensation for steering or referring, or causing




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  to be steered or referred, Covered Persons to New Horizon ASC in order to ensure a steady stream

  of patients to New Horizon ASC, irrespective of medical need.

          659.   According to NJDOH records, BDP Ventures LLC and/or BDP Ventures Inc., and

  McCulloch have also had ownership interests in New Horizon ASC since approximately June

  2015.

          660.   At all relevant times herein, BDP Ventures LLC has been owned on paper by M.

  Hatami and/or Hatami. New Horizon ASC represented to NJDOH that BDP Ventures, LLC was

  owned solely by M. Hatami. According to its corporate filings, BDP Ventures LLC was formed

  on November 4, 2014 by M. Hatami, reported Hatami as its member in 2016, and dissolved on

  May 1, 2018.

          661.   At all relevant times herein, BDP Ventures Inc. has been owned on paper by M.

  Hatami, Hatami, and/or Degradi. According to its corporate filings with NYDOS, on May 1, 2018,

  the same date that BDP Ventures LLC was dissolved, BDP Ventures Inc. was incorporated and

  listed M. Hatami as its registered agent. In or around January 15, 2020, BDP Ventures Inc. filed a

  certificate of authority to conduct business in New Jersey with the NJDOT, listing Hatami as its

  president. According to its annual reports filed with NJDOT, in 2021 and 2022, Degradi was listed

  as BDP Ventures Inc.’s director and manager, and in 2023 and 2024, M. Hatami was listed as BDP

  Ventures Inc’s director and owner. Per its 2024 annual report filed with NYDOS, M. Hatami is

  BDP Ventures Inc.’s CEO and director.

          662.   In Allstate Ins. Co. v. Mendoza, 608378/2018, ECF No. 28 (Nassau Cnty. Sup. Feb.

  13, 2019), the plaintiffs alleged that BDP Ventures LLC’s ownership in New Horizon ASC was

  approved by NJDOH with an effective date of August 7, 2015. However, according to historic




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  archives for New Horizon ASC’s website, BDP Ventures LLC was not reported as an owner on

  New Horizon ASC’s website until sometime after July of 2016.

         663.   On information and belief, BDP Ventures Inc. (and not BDP Ventures LLC) has

  been an owner of New Horizon ASC since BDP Ventures LLC was dissolved on May 1, 2018.

         664.   According to records received from NJDOH for New Horizon ASC, New Horizon

  ASC did not provide NJDOH with any notice of the transfer of ownership interests from BDP

  Ventures LLC to BDP Ventures Inc.

         665.   According to records received from NJDOH for New Horizon ASC, New Horizon

  ASC did not provide NJDOH with any prior notice of the transfer of ownership interests from

  BDP Ventures LLC to BDP Ventures Inc.

         666.   On information and belief, New Horizon ASC misrepresented to its patients that

  BDP Ventures LLC had an ownership interests in New Horizon ASC after May 1, 2018.

         667.   On information and belief, New Horizon ASC did not disclose to its patients that

  BDP Ventures Inc. had an ownership interest in New Horizon ASC after May 1, 2018.

         668.   At all relevant times herein, M. Hatami was a nominal or straw owner of BDP

  Ventures LLC, which was actually owned and/or controlled by Hatami.

         669.   At all relevant times herein, M. Hatami was a nominal or straw owner of BDP

  Ventures Inc., which was actually owned and/or controlled by Hatami and/or Degradi.

         670.   As alleged herein, though Saddlebrook ASC and Jersey City ASC represented that

  M. Hatami was the sole owner of MEH Investments (another company through which she

  purportedly acquired ownership interests in one or more of the Surgicore ASCs), “Wayne,” i.e.,

  Hatami, was identified as MEH Investments’ owner in a record dated January 1, 2023 received




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  from NJDOH that was presumably prepared by Saddlebrook ASC and/or prepared by NJDOH

  based on information provided by Saddlebrook ASC to NJDOH.

         671.   Moreover, as alleged herein, though M. Hatami (and not Hatami) was listed as a

  purported 25 percent owner, along with Degradi, Kogan, and Tylman, of Surgicore RBSC, which

  ultimately acquired over 94 percent ownership interests in Rockland and Bergen ASC in or around

  March 2020, in Rockland and Bergen ASC’s December 2019 application for an amended license,

  Rockland and Bergen ASC submitted a fully executed binding term sheet, dated December 2,

  2019, wherein Hatami (not M. Hatami) was listed as a purported 25 percent owner, along with

  Degradi, Kogan, and Tylman, of the company (identified therein as Newco, LLC (not named as a

  defendant herein)) that was to purchase 90 percent of Rockland and Bergen ASC. Hatami (and not

  M. Hatami) was also listed as a “buyer representative” on correspondence from NJDOH approving

  the transfer of 90 percent ownership interest in Rockland and Bergen ASC to Surgicore RBSC in

  February 2020.

         672.   Additionally, as alleged herein, though M. Hatami (and not Hatami) was a

  purported owner of Surgicore RBSC, counsel for Rockland and Bergen ASC communicated with

  Hatami (and not M. Hatami) regarding Surgicore RBSC including regarding NJDOH’s approval

  of Surgicore RBSC’s acquisition of ownership interests in Rockland and Bergen ASC.

         673.   On information and belief, New Horizon ASC did not disclose to its patients that

  Hatami had ownership interests in New Horizon ASC through BDP Ventures LLC and/or BDP

  Ventures Inc., including that he was receiving compensation for steering or referring, or causing

  to be steered or referred, Covered Persons to New Horizon ASC in order to ensure a steady stream

  of patients to New Horizon ASC, irrespective of medical need. According to NJDOH records,




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  Haar Orthopaedics also had ownership interests in New Horizon ASC between approximately

  November 2015 and March 2023.

          674.   At all relevant times herein, Haar Orthopaedics has been owned and controlled by

  Haar. New Horizon ASC represented to NJDOH that Haar Orthopaedics was owned solely by

  Haar.

          675.   According to NJDOH records, Naik has also had ownership interests in New

  Horizon ASC since approximately July 2018.

          676.   According to NJDOH records, MK Med Invest and AS Med Invest have had

  ownership interests in New Horizon ASC since approximately November 2022.

          677.   At all relevant times herein, MK Med Invest has been owned on paper by

  Keyserman. According to the articles of organization, which were filed with NYDOS by the

  Akbashev Tax Group Inc. (“Akbashev Tax Group”) (not named as a defendant herein) on February

  25, 2022, MK Med Invest was organized by Keyserman and reports an address located at 7009

  Austin Street, Suite 204, Forest Hills, New York (“7009 Austin Street”).

          678.   At all relevant times herein, AS Med Invest has been owned on paper by Shakarov.

  According to the articles of organization, which were also filed with NYDOS by the Akbashev

  Tax Group on March 2, 2022 (less than one week after MK Med Invest filed its articles of

  organization), AS Med Invest was organized by Shakarov and also reports an address located at

  7009 Austin Street.

          679.   At all relevant times herein, Shakarov was also the record owner of the New York

  DME company, Med-Top Solutions Inc. (not named as a defendant herein) and is listed in public

  records as the incorporator and CEO of Priority Care Pharmacy Inc (not named as a defendant

  herein), which is also associated with 7009 Austin Street and/or the Akbashev Tax Group.




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         680.    In LM Gen. Ins., et al. v. Franklin Square Services Inc., et al., 24-cv-4369, ECF

  No. 1 (E.D.N.Y. July 2, 2024), multiple DME companies, including Franklin Square Services Inc.,

  Healing Services Inc., Flatbush Medworks Inc., SP One Services Inc., and Supply Choice NYC

  Inc (not named as defendants herein), which were operating out of and/or otherwise associated

  with 7009 Austin Street, and the Akbashev Tax Group, were credibly alleged to have engaged in

  a DME scheme to defraud in which they stole hundreds of thousands of dollars from New York

  No-Fault insurers through fraudulent billing practices, paid kickbacks to the same group of

  referring providers, and used the same wholesaler. The plaintiffs further credibly alleged that the

  record owners of those DME companies were straw or nominal owners for one or more individuals

  who were unknown to the plaintiffs in that case.

         681.    More than 45 DME companies that submitted claims to Plaintiff in connection with

  claimants who purportedly received one or more of the Fraudulent Services at one or more of the

  Surgicore ASCs are associated with 7009 Austin Street.

         682.    At all relevant times herein, Keyserman was a nominal or straw owner of MK Med

  Invest, which was actually owned and/or controlled by one or more of the John Does 2 through

  20.

         683.    On information and belief, New Horizon ASC did not disclose to its patients that

  one or more of the John Does 2 through 20 had an ownership interest in New Horizon ASC through

  MK Med Invest, including that they were receiving compensation for steering or referring, or

  causing to be steered or referred, Covered Persons to New Horizon ASC in order to ensure a steady

  stream of patients to New Horizon ASC, irrespective of medical need.




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          684.   At all relevant times herein, Shakarov was a nominal or straw owner of AS Med

  Invest, which was actually owned and/or controlled by one or more of the John Does 2 through

  20.

          685.   On information and belief, at all relevant times herein, New Horizon ASC did not

  disclose to its patients that one or more of the John Does 2 through 20 had an ownership interest

  in New Horizon ASC through AS Med Invest, including that they were receiving compensation

  for steering or referring, or causing to be steered or referred, Covered Persons to New Horizon

  ASC in order to ensure a steady stream of patients to New Horizon ASC, irrespective of medical

  need.

          686.   According to NJDOH records, Conte De Fees had an ownership interest in New

  Horizon ASC between approximately August 2015 and May 2024, at which point in time, its

  ownership interests were transferred to Fiaba. Prior to August 2015, Denevich had direct

  ownership interests in New Horizon ASC which he transferred in approximately August 2015 to

  Conte De Fees. In a letter that he apparently authored requesting the transfer, Denevich represented

  to NJDOH that he was the sole owner of Conte De Fees and intended to remain its sole owner for

  an indefinite period of time.

          687.   Though Conte De Fees has apparently been an owner of New Horizon ASC since

  approximately August 2015, and Denevich apparently had been an owner of New Horizon ASC

  prior to August of 2015, according to historic archives of New Horizon ASC’s website, neither

  Denevich nor Conte De Fees were listed as an owner on New Horizon ASC’s ownership disclosure

  on its website between October 2015 and at least January 2019, with Conte De Fees first appearing

  on New Horizon ASC’s ownership disclosure on its website in or around September 2023.




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          688.    On information and belief, New Horizon ASC did not disclose to its patients that

  Denevich, or any companies that he owns, had an ownership interest in New Horizon ASC between

  October 2015 and September 2023.

          689.    According to NJDOH records, Kostanian Consulting Associates has had an

  ownership interest in New Horizon ASC since approximately November 2022.

          690.    At all relevant times herein, Conte De Fees has been owned and controlled by

  Denevich. Jersey City ASC and Rockland and Bergen ASC reported that Conte De Fees was

  owned solely by Denevich. According to its corporate filings with NYDOS, Conte De Fees was

  incorporated by Denevich and was dissolved on August 21, 2024, and reported Sergey Denevich

  as its sole officer/director.

          691.    As alleged herein, Conte De Fees is also an owner of Rockland and Bergen ASC,

  and was also an owner of Jersey City ASC before its ownership interests were transferred to Fiaba,

  which, at all relevant times herein, has also been owned and controlled by Denevich.

          692.    At all relevant times, Fiaba was owned and controlled by Denevich. New Horizon

  ASC and Jersey City ASC represented to NJDOH that Fiaba was owned solely by Denevich.

  According to its corporate filings, Denevich is the organizer and president of Fiaba.

          693.    At all relevant times herein, Kostanian Consulting Associates has been owned and

  controlled by Kostanian. Jersey City ASC and Rockland and Bergen ASC reported that Kostanian

  Consulting Associates was owned solely by Denevich. According to its corporate filings with

  NYDOS, Kostanian Consulting Associates was incorporated by Kostanian and reported Kostanian

  as its sole officer/director.

          694.    As alleged herein, Kostanian Consulting Associates is also an owner of Jersey City

  ASC and Rockland and Bergen ASC.




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         695.   Though the ownership disclosure on New Horizon ASC’s website indicates that

  “Kostanian Consulting Services” (and not Kostanian Consulting Associates) has ownership

  interests in New Horizon ASC, no companies with such name have registered to do business in

  New Jersey or New York.

         696.   According to NJDOH records, Kostanian Consulting Associates (and not Kostanian

  Consulting Services), is an owner of New Horizon ASC.

         697.   According to NJDOH records, Kostanian Consulting Associates is also an owner

  of Jersey City ASC and Rockland and Bergen ASC.

         698.   On information and belief, New Horizon ASC misrepresented to its patients that

  Kostanian Consulting Services had an ownership interest in New Horizon ASC.

         699.   On information and belief, New Horizon ASC did not disclose to its patients that

  Kostanian Consulting Associates had an ownership interest in New Horizon ASC.

         700.   Kostanian and Denevich have a well-documented history of engaging in schemes

  to defraud insurance companies, including by unlawfully owning and operating medical PCs

  through which they submitted bills for fraudulent and/or medically unnecessary services.

         701.   In Allstate Ins. Co., et al. v. Gabriel Dassa, D.O., et al., 23-cv-07515 (S.D.N.Y.

  2023), the plaintiffs credibly alleged that the defendants, which included Dassa, Kostanian,

  Denevich, and Dassa Orthopedic, among others, conspired to exploit the benefits available to

  automobile accident victims under the No-Fault Law. Kostanian and Denevich were alleged to

  have unlawfully owned and operated three medical PCs, including Dassa Orthopedic, and were

  alleged to have owned and operated Skazka, LLC (not named as a defendant herein), through

  which they unlawfully operated and controlled several multidisciplinary medical clinics where

  Dassa Orthopedic purportedly treated patients. The HCP defendants, including Dassa Orthopedic,




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  were alleged to have provided medically unnecessary services to patients pursuant to an agreement

  between Dassa, and Kostanian and Denevich for management, marketing, administrative, and

  consulting services, which was a façade allowing Kostanian and Denevich to unlawfully control

  those entities and unlawfully siphon their profits. The plaintiffs also alleged that the scheme

  involved unlawful referrals by the multidisciplinary clinics to the medical PCs that Kostanian and

  Denevich were alleged to unlawfully own and operate.

         702.    In Dassa Orthopedic Med. Serv., P.C. v. Skazka LLC, 801006/2023, Doc Nos. 1-2

  (Bronx Cnty. Sup. Jan, 19, 2023), Denevich and Kostanian were credibly alleged to have owned

  and/or operated a management company (Skazka LLC), which was alleged to have entered into a

  license and administrative services agreement with Dassa’s company, Dassa Orthopedic in 2011.

  Specifically, Denevich was alleged to be principal of and Kostanian was alleged to be affiliated

  with Skazka, LLC. NYDOH records also indicate that Denevich was the president of Skazka, LLC

  for over 11 years. In Dassa Orthopedic Med. Serv., P.C. v. Skazka LLC, 801006/2023, Doc Nos.

  1-2 (Bronx Cnty. Sup. Jan, 19, 2023), the plaintiffs alleged that Denevich engaged in the unlawful

  practice of medicine by, among other things, forming two orthopedic medical services companies

  (Elite Orthopedics Partners LLC and Elite Orthopedics and Rehabilitation P.A. (not named as

  defendants herein)) and “poaching, steering and referring” patients to physicians employed by

  those companies, including Springer, the “medical director” for Fifth Avenue ASC Midtown, who

  was also named as a defendant therein.

         703.    Additionally, in Gov’t Emp. Ins. Co., et al. v. Damien, M.D., et al., 10-cv-5409

  (E.D.N.Y.), a RICO/insurance fraud action, Denevich was alleged to be the unlawful secret owner

  of several medical PCs, including through a purported management company (Alba Management,

  Inc. (not named as a defendant herein)).




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         704.   According to NJDOH records, YCentury had ownership interests in New Horizon

  ASC between approximately March 2018 and January 2022.

         705.   At all relevant times herein, YCentury has been owned on paper by Yaguda. New

  Horizon ASC, Saddlebrook ASC, Jersey City ASC, and Rockland and Bergen ASC represented to

  NJDOH that Yaguda was the sole owner of YCentury. According to its corporate filings, YCentury

  was formed by Yaguda who was also listed as its sole member/manager.

         706.   As alleged herein, according to NYDOH and NJDOH records, Yaguda is also a

  former owner of Saddlebrook ASC and Jersey City ASC (through YCentury), and a current owner

  of Rockland and Bergen ASC (through YCentury), All City ASC (directly) and Empire State ASC

  (through Mega Group Solution). Yaguda is also a proposed owner of Fifth Avenue ASC per

  NYDOH records from November 2024, through Mega Group Solution and, on information and

  belief, is a current owner of Fifth Avenue ASC through Mega Group Solution.

         707.   According to its corporate filings, Mega Group Solution was incorporated by

  Yaguda and reports an address for process is 2667 Coney Island Avenue, Suite 2, Brooklyn, New

  York (“2667 Coney Island Avenue”).

         708.   At least four DME companies that submitted claims to Plaintiff in connection with

  claimants who purportedly received one or more of the Fraudulent Services at one or more of the

  Surgicore ASCs are associated with 2667 Coney Island Avenue.

         709.   According to public records, Yaguda is related to and/or otherwise closely

  associated with the New York DME company, Right Choice Supply Inc. and/or its record owner

  Irene Yagudayev, and Medzanum Gulkarov, Lazar Yadgarov, and Rafo Yaguda a/k/a Rafail

  Yagudayev (not named as defendants herein), all of whom have been named as defendants in civil

  RICO and insurance fraud actions.




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         710.    Yaguda, as a trustee, owns certain property located at 122 81st Avenue, Kew

  Gardens, New York, the principal place of business for Right Choice Supply Inc. (not named as a

  defendant herein), which was previously owned by Right Choice Supply Inc.’s record owner, Irene

  Yagudayev and Medzanum Gulkarov before it was sold in 2015 to a trust, with Yaguda as trustee,

  reportedly for no consideration.

         711.    Irene Yagudayev and Right Choice Supply Inc. were named as defendants in

  Allstate Ins. Co. v. Right Choice Supply Inc, 23-cv-5920 (E.D.N.Y.), a civil RICO and insurance

  fraud action based on the submission of more than $490,000 in fraudulent insurance claims for

  DME devices. Medzanum Gulkarov, who is Yagudayev’s husband, was named as a defendant,

  along with Lazar Yadgarov in Allstate Ins. Co. v. Yadgarov, 11-cv-6187 (E.D.N.Y.) for their role

  in a $6.2 million civil RICO and insurance fraud scheme involving multiple DME companies.

         712.    Yaguda jointly owns at least two properties in New Jersey with Rafo Yaguda a/k/a

  Rafail Yagudayev. Rafo Yaguda was named as a defendant in two civil RICO and insurance fraud

  actions. See Allstate Ins. Co., et al. v. New Century Pharmacy Inc., et al., 19-cv-5702 (E.D.N.Y.);

  Gov’t Emp. Ins. Co., et al. v. Direct RX Pharmacy Inc., et al., 19-cv-5876 (E.D.N.Y.). In Gov’t

  Emp. Ins. Co., et al. v. Direct RX Pharmacy Inc., et al., 19-cv-5876 (E.D.N.Y.), Rafo Yaguda was

  credibly alleged to have “spearheaded” a fraudulent scheme involving more than $2.6 million in

  fraudulent pharmaceutical billing, including through Rafo Yaguda’s company, Direct RX

  Pharmacy Inc. (not named as a defendant herein). Specifically, Rafo Yaguda was credibly alleged

  to have engaged in illegal, collusive agreements with several prescribing HCPs who generated

  medically unnecessary prescriptions in violation of the law. In Allstate Ins. Co., et al. v. New

  Century Pharmacy Inc., et al., 19-cv-5702 (E.D.N.Y.), Rafo Yaguda was credibly alleged to have




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  systematically defrauded the plaintiffs through dispensing of illegal bulk compounded products

  and other medications that were fraudulently billed and/or medically unnecessary.

         713.      On information and belief, Yaguda, Keyserman, Shakarov, and Yadgarov, who has

  an ownership interest in Rockland and Bergen ASC through her company Boost HS, are related to

  and/or otherwise closely associated with several DME companies that either have been sued for

  civil RICO violations and insurance fraud and/or are otherwise associated with 7009 Austin Street.

  See LM Gen. Ins., et al. v. Franklin Square Services Inc., et al., 24-cv-4369, ECF No. 1 (E.D.N.Y.

  July 2, 2024).

         714.      As alleged herein, Boost HS is a former owner of Saddlebrook ASC and a current

  owner of Rockland and Bergen ASC and, at all relevant times, has been owned on paper by

  Yadgarov. Yadgarov was also identified in NYDOH records as a proposed owner of a forthcoming

  NY ASC, Bridge Street ASC, LLC (not named as a defendant herein), through another company,

  LGL ASC Holding, LLC (not named as a defendant herein). Degradi, Hatami, and Kogan are also

  seeking NYDOH’s approval to become owners of Bridge Street ASC, LLC through a separate

  company, Dumbo 79 Management, LLC (not named as a defendant herein).

         715.      Yadgarov is associated through relatives, close associates, and/or corporate filings

  with 7009 Austin Street.

         716.      According to its corporate filings, Akbashev Tax Group, reporting its address at

  7009 Austin Street, filed the articles of organization for Boost HS.

         717.      According to public records, Yadgarov also worked at Group Seven Capital LLC

  (not named as a defendant herein) in or around 2024, which reports its address at 7009 Austin

  Street. Public records also indicate that Yadgarov is associated with several other companies that

  appear to be related to Group Seven Capital LLC, including Capital 7 MD Funding LLC and




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  Capital 7 R.E. Funding LLC (not named as defendants herein), which report their addresses at

  7009 Austin Street and previously reported their addresses at 73-35 195th Street, Fresh Meadows,

  New York (“73-35 195th Street), a residential property address in New York owned solely by

  Yadgarov since approximately 1999, and Capital 7 Claim Funding LLC, which reports Yadgarov

  as its registered agent.

          718.    Yadgarov is also related to and/or otherwise associated with Lazar Yadgarov, who

  has used 73-35 195th Street as his mailing address and as the principal executive office for a

  company for which public records indicate he is the CEO. Yadgarov is also related to and/or

  otherwise associated through corporate filings with Radion Aminov (not named as a defendant

  herein), who was a co-defendant with Lazar Yadgarov in two lawsuits alleging fraud in connection

  with their joint real estate ventures, and also pled guilty to healthcare fraud and was ordered to pay

  $116,000 in restitution and serve two years imprisonment. See US v. Vilshanetski, 08-cr-00751

  (S.D.N.Y. 2008).

          719.    At all relevant times herein, Yaguda was a nominal or straw owner for one or more

  of the John Does 2 through 20, who were the actual owners of YCentury.

          720.    On information and belief, at all relevant times herein, New Horizon ASC did not

  disclose to its patients that one or more of the John Does 2 through 20 had an ownership interest

  in New Horizon ASC through YCentury, including that they were receiving compensation for

  steering or referring, or causing to be steered or referred, Covered Persons to New Horizon ASC

  in order to ensure a steady stream of patients to New Horizon ASC, irrespective of medical need.

          721.    According to NJDOH records, Berkowitz had an ownership interest in New

  Horizon ASC between approximately May 2017 and 2018.




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          722.   According to NJDOH records, Dassa had an ownership interest in New Horizon

  ASC between approximately August 2015 and August 2016.

          723.   According to NJDOH records, Jones also had an ownership interest in New Horizon

  ASC between approximately April 2018 and January 2022.

          724.   According to NJDOH records, Non-Surgical Orthopedics had an ownership interest

  in New Horizon ASC between approximately December 2015 and January 2022.

          725.   At all relevant times herein, Non-Surgical Orthopedics has been owned and

  controlled by Vora. New Horizon ASC represented to NJDOH that Non-Surgical Orthopedics was

  owned solely by Vora.

          726.   According to NJDOH records, Elkholy had an ownership interest in New Horizon

  ASC between approximately December 2014 and February 2018.

          727.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Degradi either directly or indirectly through

  Main Street Medical and BDP Ventures Inc. Degradi was provided with a direct or indirect

  “investment” interest in New Horizon ASC through Main Street Medical and BDP Ventures

  Inc. in exchange for his agreement to steer or refer, or cause to be steered or referred, a steady

  stream of patients to one or more of the Surgicore ASCs. On information and belief, in exchange

  for Degradi’s indirect “investment” interest in New Horizon ASC, New Horizon ASC issued

  regular payments to or for the benefit of Degradi, which, in fact, were illegal kickbacks for

  referrals.

          728.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Romero and/or one or more of the John Does 2

  through 20, through Ramirez and/or Chavez, and ASC Investment Services. Romero was




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  provided with an indirect “investment” interest in New Horizon ASC, through Ramirez and/or

  Chavez, and ASC Investment Services in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Romero and/or one or more of the John Does 2 through

  20’s indirect “investment” interest in New Horizon ASC, New Horizon ASC issued regular

  payments to or for the benefit of Romero and/or one or more of the John Does 2 through 20, which,

  in fact, were illegal kickbacks for referrals.

          729.    One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with J. Katanov through S. Katanov and Redy

  Ventures. J. Katanov was provided with an indirect “investment” interest in New Horizon ASC

  through S. Katanov and Redy Ventures in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for J. Katanov’s indirect “investment” interest in New Horizon

  ASC, New Horizon ASC issued regular payments to or for the benefit of J. Katanov, which, in

  fact, were illegal kickbacks for referrals.

          730.    One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Seldes through M. Seldes and Blue Wall

  Management. Seldes was provided with an indirect “investment” interest in New Horizon ASC

  through M. Seldes and Blue Wall Management in exchange for his agreement to steer or refer,

  or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Seldes’ indirect “investment” interest in New Horizon

  ASC, New Horizon ASC issued regular payments to or for the benefit of Seldes, which, in fact,

  were illegal kickbacks for referrals.




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          731.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Tylman and/or Kogan through B. Kogan,

  Revutsky, and ASAR Healthcare. Tylman and/or Kogan were provided with an indirect

  “investment” interest in New Horizon ASC through B. Kogan, Revutsky, and ASAR Healthcare

  in exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for

  Tylman’s and/or Kogan’s indirect “investment” interest in New Horizon ASC, New Horizon ASC

  issued regular payments to or for the benefit of Romero, which, in fact, were illegal kickbacks for

  referrals.

          732.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Hatami through M. Hatami, and BDP Ventures

  LLC and/or BDP Ventures Inc. Hatami was provided with an indirect “investment” interest in

  New Horizon ASC through M. Hatami and BDP Ventures LLC and/or BDP Ventures Inc. in

  exchange for his agreement to steer or refer, or cause to be steered or referred, a steady stream of

  patients to one or more of the Surgicore ASCs. On information and belief, in exchange for

  Hatami’s indirect “investment” interest in New Horizon ASC, New Horizon ASC issued regular

  payments to or for the benefit of Hatami, which, in fact, were illegal kickbacks for referrals.

          733.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Keyserman and/or one or more of the John Does

  2 through 20, through MK Med Invest. Keyserman and/or one or more of the John Does 2

  through 20 were provided with an indirect “investment” interest in New Horizon ASC through

  MK Med Invest in exchange for their agreement to steer or refer, or cause to be steered or referred,

  a steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in




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  exchange for one or more of the John Does 2 through 20’s indirect “investment” interest in New

  Horizon ASC, New Horizon ASC issued regular payments to or for the benefit of Keyserman

  and/or one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for

  referrals.

          734.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Shakarov and/or one or more of the John Does

  2 through 20, through AS Med Invest. Shakarov and/or one or more of the John Does 2 through

  20 were provided with an indirect “investment” interest in New Horizon ASC through AS Med

  Invest in exchange for their agreement to steer or refer, or cause to be steered or referred, a steady

  stream of patients to one or more of the Surgicore ASCs. On information and belief, in exchange

  for one or more of the John Does 2 through 20’s indirect “investment” interest in New Horizon

  ASC, New Horizon ASC issued regular payments to or for the benefit of Shakarov and/or one or

  more of the John Does 2 through 20, which, in fact, were illegal kickbacks for referrals.

          735.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Denevich directly and indirectly through Conte

  De Fees and Fiaba. Denevich was provided with direct and indirect “investment” interests in

  New Horizon ASC through Conte De Fees and Fiaba in exchange for his agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for Denevich’s direct and indirect “investment”

  interests in New Horizon ASC, New Horizon ASC issued regular payments to or for the benefit of

  Denevich, which, in fact, were illegal kickbacks for referrals.

          736.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Kostanian through Kostanian Consulting




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  Associates or Kostanian Consulting Services. Kostanian was provided with an indirect

  “investment” interest in New Horizon ASC through Kostanian Consulting Associates or

  Kostanian Consulting Services in exchange for his agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Kostanian’s indirect “investment” interest in New Horizon

  ASC, New Horizon ASC issued regular payments to or for the benefit of Kostanian, which, in

  fact, were illegal kickbacks for referrals.

          737.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Yaguda and/or one or more of the John Does 2

  through 20, through YCentury. Yaguda and/or one or more of the John Does 2 through 20 were

  provided with an indirect “investment” interest in New Horizon ASC through YCentury in

  exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for

  Yaguda and/or one or more of the John Does 2 through 20’s indirect “investment” interest in

  New Horizon ASC, New Horizon ASC issued regular payments to or for the benefit of Yaguda

  and/or one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for

  referrals.

          738.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with McCulloch. McCulloch was provided with an

  “investment” interest in New Horizon ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for McCulloch’s “investment” interest in New Horizon




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  ASC, New Horizon ASC issued regular payments to or for the benefit of McCulloch, which, in

  fact, were illegal kickbacks for referrals.

         739.    One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Naik. Naik was provided with an “investment”

  interest in New Horizon ASC in exchange for his agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Naik’s “investment” interest in New Horizon ASC, New

  Horizon ASC issued regular payments to or for the benefit of Naik, which, in fact, were illegal

  kickbacks for referrals.

         740.    One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Jones. Jones was provided with an “investment”

  interest in New Horizon ASC in exchange for his agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Jones’s “investment” interest in New Horizon ASC, New

  Horizon ASC issued regular payments to or for the benefit of Jones, which, in fact, were illegal

  kickbacks for referrals.

         741.    One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Berkowitz. Berkowitz was provided with an

  “investment” interest in New Horizon ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Berkowitz’s “investment” interest in New Horizon

  ASC, New Horizon ASC issued regular payments to or for the benefit of Berkowitz, which, in

  fact, were illegal kickbacks for referrals.




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          742.     One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Vora through Non-Surgical Orthopedics. Vora

  was provided with an indirect “investment” interest in New Horizon ASC through Non-

  Surgical Orthopedics in exchange for his agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Vora’s indirect “investment” interest in New Horizon ASC, New Horizon

  ASC issued regular payments to or for the benefit of Vora, which, in fact, were illegal kickbacks

  for referrals.

          743.     One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Dassa. Dassa was provided with an

  “investment” interest in New Horizon ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Dassa’s “investment” interest in New Horizon ASC,

  New Horizon ASC issued regular payments to or for the benefit of Dassa, which, in fact, were

  illegal kickbacks for referrals.

          744.     One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Haar through Haar Orthopaedics. Haar was

  provided with an indirect “investment” interest in New Horizon ASC through Haar

  Orthopaedics in exchange for his agreement to steer or refer, or cause to be steered or referred, a

  steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Haar’s indirect “investment” interest in New Horizon ASC, New Horizon ASC

  issued regular payments to or for the benefit of Haar, which, in fact, were illegal kickbacks for

  referrals.




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          745.     One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with Elkholy. Elkholy was provided with an

  “investment” interest in New Horizon ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Elkholy’s “investment” interest in New Horizon ASC,

  New Horizon ASC issued regular payments to or for the benefit of Elkholy, which, in fact, were

  illegal kickbacks for referrals.

          746.     One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the John Does 2 through 20,

  either directly or indirectly through one or more of the ABC Corporations 1 through 20. On

  information and belief, one or more of the John Does 2 through 20 were provided with direct

  or indirect “investment” interests in New Horizon ASC through one or more of the ABC

  Corporations 1 through 20 in exchange for their agreement to steer or refer, or cause to be steered

  or referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for one or more of the John Does 2 through 20’s direct or indirect

  “investment” interests in New Horizon ASC, New Horizon ASC issued regular payments to or for

  the benefit of one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks

  for referrals.

                   ii. The Sham “Medical Directors” and “Administrators”

          747.     In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Defendant Naik, Defendant Koplik, and one or more of the John Does 2

  through 20 to serve as sham “medical directors” of New Horizon ASC in contravention of New

  Jersey law.




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         748.    Defendant Koplik, became New Horizon ASC’s “medical director” sometime after

  2013 and was New Horizon ASC’s purported “medical director” through sometime in 2019. In

  2019 Defendant Naik succeeded Defendant Koplik as New Horizon ASC’s “medical director” and,

  according to NJDOH records, is New Horizon ASC’s current “medical director.”

         749.    One or more of the Controllers, through New Horizon ASC, entered into sham

  “investor” or employment referral/kickback relationships with Defendant Naik, Defendant Koplik,

  and/or one or more of the John Does 2 through 20, who purchased or otherwise acquired shares in

  New Horizon ASC to make it appear that the shares were being purchased as investments and

  payments made by New Horizon ASC were dividends or other cash distributions for their

  “investment” (or who otherwise received payments disguised as legitimate salary or other

  compensation) when, in fact, the payments were compensation for Defendant Naik, Defendant

  Koplik, and/or one or more of the John Does 2 through 20’s agreement to serve as sham “medical

  directors” and, in some instances, for steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs. In fact, Defendant Naik, Defendant

  Koplik, and/or one or more of the John Does 2 through 20 never intended to (and never did fulfill)

  their medical director duties as required by law and the compensation they received was actually

  for permitting one or more of the Controllers to operate the New Horizon ASC without the required

  medical director oversight and/or steering or referring, or causing to be steered or referred, Covered

  Persons to one or more of the Surgicore ASCs.

         750.    In addition to the sham “medical directors,” one or more of the Controllers recruited

  Romero to serve as sham “administrator” of Manalapan ASC in contravention of New Jersey law.

         751.    As alleged herein, according to NJDOH records, Romero has been New Horizon

  ASC’s “administrator” since around 2010.




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          752.   One or more of the Controllers, through New Horizon ASC, entered into a sham

  “investor” or employment referral/kickback relationship with Romero, who purchased or

  otherwise acquired shares in New Horizon ASC to make it appear that the shares were being

  purchased as investments and payments made by New Horizon ASC were dividends or other

  cash distributions for his “investment” (or who otherwise received payments disguised as

  legitimate salary or other compensation) when, in fact, the payments were compensation for

  Romero’s agreement to serve as sham “administrator” and, in some instances, for steering or

  referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

  ASCs. In fact, Romero never intended to (and never did fulfill) his administrator duties as required

  by law and the compensation he received was actually for permitting one or more of the Controllers

  to operate the New Horizon ASC without the required administrator oversight and/or steering or

  referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

  ASCs.

          B.     Illegal Operation of Manalapan ASC

                 i. The Fraudulent “Investor” Referral/Kickback Scheme

          753.   In or around February 2012, Kogan and Revutsky, who are not licensed physicians

  or HCP, acquired 40 percent ownership of the NJ ASC, Manalapan ASC.

          754.   Manalapan ASC was first formed by Weiner and others (not named as defendants

  herein) in or around 2003 and was licensed as an NJ ASC in or around May 2005.

          755.   Since acquiring ownership in or around February 2012, corporate filings and

  NJDOH records indicate that Kogan has served as Manalapan ASC’s president and CEO.

          756.   According to its annual reports, between 2015 and 2019, Revutsky was identified

  as an officer/director and general partner of Manalapan ASC. In 2020, Tylman replaced Revutsky




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  as an officer/director and general partner of Manalapan ASC. Since 2017, the only

  officers/directors of Manalapan ASC, as indicated in its annual reports filed with the NJDOT, have

  been Kogan, Revutsky, and/or Tylman.

         757.    At all relevant times herein, Revutsky, who, as alleged herein is Tylman’s sister

  and/or otherwise closely associated with him, was a straw officer/director of Manalapan ASC for

  Tylman, who was the actual officer/director for Manalapan ASC.

         758.    On information and belief, Tylman recruited Revutsky to serve as a straw

  officer/director of Manalapan ASC in order to conceal the full extent of his control over Manalapan

  ASC.

         759.    According to NJDOH records, Randolph, Esq. served as counsel for Manalapan

  ASC in or around 2015, and prospective owners of Manalapan ASC were directed, per the terms

  of the purported “membership unit purchase agreements,” to make their “investments” in

  Manalapan ASC payable to his law firm’s trust account.

         760.    In or around 2015, according to NJDOH records, Revutsky transferred all of her

  interest in Manalapan ASC to Tylman.

         761.    In or around May 2017, Kogan and Tylman transferred all of their ownership

  interests, which at the time amounted to over 85 percent of Manalapan ASC, to FLBD

  Management.

         762.    At all relevant times herein, FLBD Management has been owned and controlled by

  Tylman and Kogan. Manalapan ASC, Jersey City ASC, and Saddlebrook ASC represented to

  NJDOH records that FLBD Management was owned solely by Tylman and Kogan. According to

  its certificate of formation, filed by Tylman with NJDOT, Kogan and Tylman are the sole

  members/managers of FLBD Management.




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         763.    NJDOH records indicate that FLBD Management is also an owner of Saddlebrook

  ASC and Jersey City ASC.

         764.    According to the ownership disclosure on Manalapan ASC’s website, FLBD, LLC

  (not named as a defendant herein) (and not FLBD Management) is an owner of Manalapan ASC.

         765.    On information and belief, Manalapan ASC misrepresented to its patients that

  FLBD, LLC had an ownership interest in Manalapan ASC.

         766.    On information and belief, Manalapan ASC did not disclose to its patients that

  FLBD Management had an ownership interest in Manalapan ASC.

         767.    At all times as alleged herein, one or more of the Controllers, including Kogan and

  Tylman, Hafeez, Reizis, Revutsky, Elkholy, Anjani Sinha, Weiner, one or more of the Health Plus

  Defendants (as defined herein) and one or more of the John Does 2 through 20 (collectively, the

  “Manalapan ASC Owners”) have had direct or indirect ownership interests in Manalapan ASC.

         768.    At all relevant times while they were owners of Manalapan ASC, the Manalapan

  ASC Owners were responsible for the operation and control of Manalapan ASC and its compliance

  with State and Federal laws, as well as its own policies and procedures in making employment-

  related decisions.

         769.    At all relevant times since they acquired ownership interests, in or around February

  2012 and/or 2015, one or more of the Controllers, including Kogan and Tylman have had majority

  ownership interest in and/or otherwise controlled Manalapan ASC.

         770.    Upon acquiring control of Manalapan ASC, as part of the scheme to defraud and in

  order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through Manalapan ASC entered into sham “investor” referral/kickback arrangements with the

  Manalapan ASC Owners who purchased or otherwise acquired shares in Manalapan ASC to make




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  it appear that payments made by Manalapan ASC were dividends or other cash distributions for

  their “investments” in Manalapan ASC when, in fact, the payments were compensation for

  illegally and/or unnecessarily steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs.

         771.    In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to one or more of the Controllers, the full extent of their ownership and

  control of Manalapan ASC, the Manalapan ASC Owners purchased or otherwise acquired

  ownership interests in Manalapan ASC through companies that they owned and/or controlled,

  and/or through their family members or close associates and/or companies that they owned and/or

  controlled. The Manalapan ASC Owners, either directly or indirectly through their companies,

  family members or close associates, or their family members’ or close associates’ companies,

  received payments from Manalapan ASC that were disguised as dividends or other cash

  distributions for their “investments” in Manalapan ASC, when in fact, the payments were

  compensation for steering or referring, or causing to be steered or referred, patients to one or more

  of the Surgicore ASCs.

         772.    In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over Manalapan ASC, the Controllers established, owned, maintained a

  financial interest in, or otherwise derived financial benefit from a web of associated companies,

  including 50 Franklin Ln Realty and one or more of the ABC Corporations 1 through 20, that

  purport to serve as landlord, management, and/or other financing companies and which purported

  to enter into lease, management services, financing agreements, and other contracts with

  Manalapan ASC, but which, in fact, were used to conceal the full extent of the Controllers

  ownership and control over Manalapan ASC, to funnel additional proceeds from Manalapan ASC




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  back to the Controllers and/or to make payments for steering or referring, or causing to be steered

  or referred, Covered Persons to one or more of the Surgicore ASCs for Fraudulent Services.

         773.    Towards that end, according to the recorded deed, on or about October 25, 2018,

  50 Franklin Ln Realty purchased 50 Franklin Lane, Suite 101, Manalapan Township, New Jersey,

  where Manalapan ASC is located. At all relevant times herein, 50 Franklin Ln Realty has been

  owned by one or more of the Controllers. Tylman and Kogan, acting as members of 50 Franklin

  Ln Realty, signed the mortgage for Manalapan ASC’s clinic location, dated October 25, 2018. 50

  Franklin Ln Realty’s certificate of formation also listed Kogan and Tylman as its sole

  members/managers.

         774.    In addition to Kogan and Tylman’s ownership interest in Manalapan ASC, through

  FLBD Management, according to NJDOH records, Advanced PMR and/or its purported

  principals, Hafeez and Reizis, have been owners of Manalapan ASC since around August of 2019,

  when they collectively purchased or otherwise acquired approximately 1.28 percent interest in

  Manalapan ASC. According to NJDOH records, Manalapan ASC initially misreported that

  Advanced PMR purchased the ownership interest, when, according to Manalapan ASC, the

  ownership interest was purchased by Advanced PMR’s purported principals, Hafeez and Reizis.

  According to NJDOH records, Advanced PMR and/or Hafeez and Reizis relinquished their

  ownership interest in Manalapan ASC in or around June of 2021.

         775.    According to Manalapan ASC’s website, Advanced PMR (and not Hafeez and

  Reizis) is an owner of Manalapan ASC.

         776.    At all relevant times herein, Advanced PMR has been owned on paper by Hafeez

  and Reizis. According to corporate filings, Hafeez and Reizis were Advanced PMR’s sole




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  members/managers and its purpose was “to provide specialized management services to businesses

  and other organizations operating within the healthcare industry. . ..”

         777.    According to press releases, Advanced PMR managed several physical therapy

  practices and, in or around June 2018, was acquired by Health Plus Management. According to

  press releases, Health Plus Management’s acquisition of Advanced PMR “expanded Health Plus

  Management’s footprint of managed practices from 24 to 30 locations and set[] the stage for Health

  Plus Management to build a regional presence in [New Jersey].”

         778.    According to its website, Health Plus Management was founded in 1994 on Long

  Island, New York, “to advanced new and well-established musculoskeletal practices.” Health Plus

  Management advertises itself on its website as “a physician support organization” for a growing

  network of top orthopedist, physical medicine and rehabilitation, and physical therapy practices.

  According to Health Plus Management’s website, PM&R, which is owned by Khakhar, is part of

  its network of HCPs.

         779.    According to its website, Blumberg has been Health Plus Management’s president

  and CEO, and Rubin has been its chief marketing officer, since at least 2017 and 2018,

  respectively. Public records indicate that Blumberg was also the president of two companies

  (Health Plus Management Holdco, Inc. (now known as STBL Holdings, Inc.) and Health Plus

  Management Services, L.LC., which merged into Health Plus Management Holdco, Inc.) (not

  named as defendants herein).

         780.    According to its website, Rubin also plays a “key role” in Health Plus

  Management’s associated brand, Musculoskeletal Resources Concierge (“MSR Concierge”) (not

  named as a defendant herein), which advertises itself as a concierge and support liaison to physical

  medicine and rehabilitation practices. According to public records, Blumberg is MSR Concierge’s




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  president and CEO and Rubin is its chief marketing officer. According to MSR Concierge’s

  website, PM&R, which is owned by Khakhar, is part of its network of HCPs.

         781.    According to public records, Klein is or was the vice president of site operations,

  for Health Plus Management Services L.L.C. On information and belief, Klein is or was the vice

  president of site operations, for Health Plus Management and not Health Plus Management

  Services, L.L.C., which was merged out of existence in 2011.

         782.    Blumberg, Rubin, and Klein were formerly licensed chiropractors in New York.

         783.    According to public records, S. Passanisi is the current director of property

  management at Health Plus Management and L. Passanisi is the current vice president of site

  operations at Health Plus Management Services, L.L.C. On information and belief, L. Passanisi is

  the current vice president of site operations at Health Plus Management and not Health Plus

  Management Services, L.L.C., which was merged out of existence in 2011.

         784.    As alleged herein, NYDOH records indicate that Blumberg, Rubin, Klein, and S.

  Passanisi have ownership interests in All City ASC, Empire State ASC, and North Queens ASC,

  and L. Passanisi has ownership interests in All City ASC. Health Plus Management, Blumberg,

  Rubin, Klein, S. Passanisi, L. Passanisi, and one or more of the John Does 2 through 20 are

  collectively referred to as the “Health Plus Defendants.”

         785.    At all relevant times herein, Hafeez and Reizis were nominal or straw owners of

  Advanced PMR, which was actually owned and/or controlled by one or more of the Health Plus

  Defendants.

         786.    At all relevant times herein, Hafeez and Reizis were nominal or straw owners for

  the Health Plus Defendants, who were the actual owners of Hafeez and Reizis’s ownership

  interests in Manalapan ASC.




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         787.    On information and belief, at all relevant times herein, Manalapan ASC did not

  disclose to its patients that Hafeez and Reizis had ownership interests in Manalapan ASC.

         788.    On information and belief, Manalapan ASC did not disclose to its patients that one

  or more of the Health Plus Defendants had ownership interests in Manalapan ASC through Hafeez

  and Reizis and/or Advanced PMR, including that they were receiving compensation for steering

  or referring, or causing to be steered or referred, Covered Persons to Manalapan ASC in order to

  ensure a steady stream of patients to Manalapan ASC, irrespective of medical need.

         789.    On information and belief, Blumberg, Rubin, Klein, S. Passanisi, L. Passanisi,

  Hafeez, Reizis, and/or Advanced PMR, through Health Plus Management, caused and continue to

  cause one more of the No-Fault Clinics Health Plus Management purportedly manages to refer

  Covered Persons to one or more of the Surgicore ASCs for performance of one or more of the

  Fraudulent Services. Those No-Fault Clinics include, but are not limited to PM&R (whose owner,

  Khakhar, has ownership interests in one or more of the Surgicore ASCs), Advanced PMR and

  Interventional Physical Medicine & Rehabilitation, PC (not named as a defendant herein).

  Blumberg, Rubin, Klein, S. Passanisi, L. Passanisi, Hafeez, Reizis, and/or Advanced PMR were

  given their “investment” interests in one or more of the Surgicore ASCs as described herein by the

  Controllers in exchange for using Health Plus Management as a feeder of Covered Persons from

  one or more of the No-Fault Clinics they managed to one or more of the Surgicore ASCs. These

  Defendants, together with others acting under their direction and control, knowingly established a

  predetermined fraudulent protocol at the No-Fault Clinics managed by Health Plus Management

  to document the history necessary to create the false justification for referrals for Fraudulent

  Services to be provided at, by, and through one or more of the Surgicore ASCs from which they

  profited.




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         790.   According to NJDOH records, Anjani Sinha has had an ownership interest in

  Manalapan ASC since approximately December 2023.

         791.   According to NJDOH records, Elkholy had an ownership interest in Manalapan

  ASC from around April 2015 through around November 2022. According to NJDOH records,

  prior to 2017, Elkholy had less than 7.5 percent ownership interest in Manalapan ASC. Prior to

  redeeming his shares in or around November 2022, Elkholy owned more than 14 percent of

  Manalapan ASC.

         792.   According to NJDOH records, one or more of the Controllers, through Manalapan

  ASC, failed to submit the requisite change of ownership application for Elkholy in or around

  November 2017 when his interest exceeded 10 percent of Manalapan ASC.

         793.   According to NJDOH records, Revutsky had an ownership interest in Manalapan

  ASC from around February 2012 through 2015.

         794.   As alleged herein, on information and belief, Revutsky is Tylman’s sister and/or

  otherwise closely associated with him.

         795.   At all relevant times herein, Revutsky was a nominal or straw owner for Tylman,

  who was the actual owner of Revutsky’s ownership interest in Manalapan ASC.

         796.   On information and belief, Manalapan ASC did not disclose to its patients that

  Tylman had an ownership interest in Manalapan ASC between approximately 2012 and 2015.

         797.   According to NJDOH records, Weiner had ownership interests in Manalapan ASC

  between approximately 2003 and 2019. As alleged herein, Weiner was also the purported “medical

  director” of Manalapan ASC in or around 2012, and was also identified in NJDOH records as

  Manalapan ASC’s CEO prior to 2012. In or around 2012, Weiner transferred some or all of his

  ownership interests to Revutsky and Kogan.




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          798.    One or more of the Controllers, through Manalapan ASC, entered into a sham

  “investor” referral/kickback arrangement with Kogan, including through FLBD Management.

  Kogan was provided with direct and indirect “investment” interests in Manalapan ASC,

  including through FLBD Management in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Kogan’s direct and indirect “investment” interests in

  Manalapan ASC, Manalapan ASC issued regular payments to or for the benefit of Kogan, which,

  in fact, were illegal kickbacks for referrals.

          799.    One or more of the Controllers caused Manalapan ASC to enter into a sham

  “investor” referral/kickback arrangement with Tylman, including through FLBD Management

  and Revutsky. Tylman was provided with direct and indirect “investment” interests in

  Manalapan ASC, including through FLBD Management and Revutsky in exchange for his

  agreement to steer or refer, or cause to be steered or referred, a steady stream of patients to one or

  more of the Surgicore ASCs. On information and belief, in exchange for Tylman’s direct and

  indirect “investment” interest in Manalapan ASC, Manalapan ASC issued regular payments to or

  for the benefit of Tylman, which, in fact, were illegal kickbacks for referrals.

          800.    One or more of the Controllers, through Manalapan ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the Health Plus Defendants

  through Hafeez and Reizis and/or Advanced PMR. One or more of the Health Plus Defendants

  were provided with an indirect “investment” interest in Manalapan ASC through Hafeez and

  Reizis and/or Advanced PMR, in exchange for their agreement to market, steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for one or more of the Health Plus Defendants’ indirect




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  “investment” interest in Manalapan ASC, Manalapan ASC issued regular payments to or for the

  benefit of one or more of the Health Plus Defendants, which, in fact, were illegal kickbacks for

  referrals.

          801.    One or more of the Controllers, through Manalapan ASC, entered into a sham

  “investor” referral/kickback arrangement with Anjani Sinha. Anjani Sinha was provided with

  an “investment” interest in Manalapan ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Anjani Sinha’s “investment” interest in Manalapan

  ASC, Manalapan ASC issued regular payments to or for the benefit of Anjani Sinha, which, in

  fact, were illegal kickbacks for referrals.

          802.    One or more of the Controllers, through Manalapan ASC, entered into a sham

  “investor” referral/kickback arrangement with Elkholy. Elkholy was provided with an

  “investment” interest in Manalapan ASC in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Elkholy’s “investment” interest in Manalapan ASC,

  Manalapan ASC issued regular payments to or for the benefit of Elkholy, which, in fact, were

  illegal kickbacks for referrals.

          803.    One or more of the Controllers, through Manalapan ASC, entered into a sham

  “investor” referral/kickback arrangement with Weiner. Weiner was provided with an

  “investment” interest in Manalapan ASC in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Weiner’s “investment” interest in Manalapan ASC,




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  Manalapan ASC issued regular payments to or for the benefit of Weiner, which, in fact, were

  illegal kickbacks for referrals.

          804.    One or more of the Controllers, through Manalapan ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the John Does 2 through 20,

  either directly or indirectly through one or more of the ABC Corporations 1 through 20. One

  or more of the John Does 2 through 20 were provided with direct or indirect “investment”

  interests in Manalapan ASC through one or more of the ABC Corporations 1 through 20 in

  exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for one

  or more of the John Does 2 through 20’s direct or indirect “investment” interest in Manalapan

  ASC, Manalapan ASC issued regular payments to or for the benefit of one or more of the John

  Does 2 through 20, which, in fact, were illegal kickbacks for referrals.

                  ii. The Sham “Medical Directors” and “Administrators”

          805.    In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Weiner and/or one or more of the John Does 2 through 20 to serve as sham

  “medical directors” of Manalapan ASC in contravention of New Jersey law.

          806.    According to NJDOH records, Weiner was Manalapan ASC’s purported “medical

  director” in or around 2012 through approximately 2015.

          807.    One or more of the Controllers, through Manalapan ASC, entered into sham

  “investor” or employment referral/kickback relationships with Weiner and/or one or more of the

  John Does 2 through 20, who purchased or otherwise acquired shares in Manalapan ASC to make

  it appear that the shares being purchased as investments and payments made by Manalapan

  ASC were dividends or other cash distributions for their “investments” (or who otherwise




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  received payments disguised as legitimate salary or other compensation) when, in fact, the

  payments were compensation for Weiner’s and/or one or more of the John Does 2 through 20’s

  agreement to serve as sham “medical directors” and, in some instances, for steering or referring,

  or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs.

  In fact, Weiner and/or one or more of the John Does 2 through 20 never intended to (and never did

  fulfill) their medical director duties as required by law and the compensation they received was

  actually for permitting one or more of the Controllers to operate the Manalapan ASC without the

  required medical director oversight and/or steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs.

         808.    In addition to the sham “medical directors,” one or more of the Controllers recruited

  Kogan to serve as sham “administrator” of Manalapan ASC in contravention of New Jersey law.

         809.    According to NJDOH records, Kogan has been Manalapan ASC’s “administrator”

  since approximately 2012. However, according to NJDOH records, Romero was also Manalapan

  ASC’s “administrator” in or around July 2015 through November 2015, Santos was Manalapan

  ASC’s “administrator” in or around May 2017, and Young was Manalapan ASC’s “administrator”

  in or around July 2019 through May 2024.

         810.    One or more of the Controllers, through Manalapan ASC, entered into a sham

  “investor” or employment referral/kickback relationship with Kogan, Romero, Santos, and/or

  Young who purchased or otherwise acquired shares in Manalapan ASC to make it appear that the

  shares were being purchased as investments and payments made by Manalapan ASC were

  dividends or other cash distributions for his “investment” (or who otherwise received payments

  disguised as legitimate salary or other compensation) when, in fact, the payments were

  compensation for Kogan, Romero, Santos, and/or Young’s agreement to serve as sham




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  “administrator” and, in some instances, for steering or referring, or causing to be steered or

  referred, Covered Persons to one or more of the Surgicore ASCs. In fact, Kogan, Romero,

  Santos, and/or Young never intended to (and never did fulfill) their administrator duties as required

  by law and the compensation they received was actually for permitting one or more of the

  Controllers to operate the Manalapan ASC without the required administrator oversight and/or

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs.

          C.     Illegal Operation of Saddlebrook ASC

                   i. The Fraudulent “Investor” Referral/Kickback Scheme

          811.   In February 2016, NJDOH approved the transfer of ownership of the NJ ASC,

  Market Street Surgical Center, LLC (not named as a defendant herein) to Saddlebrook ASC.

          812.   According to its corporate filings, Degradi has been an owner of Saddlebrook ASC,

  and its sole officer, director, and president since it was formed on or about November 4, 2015.

  Degradi was also identified as Saddlebrook ASC’s CEO on records submitted by Saddlebrook

  ASC to NJDOH.

          813.   According to NJDOH records, Romero was Saddlebrook ASC’s “administrator” in

  2017.

          814.   Though he was not identified in any records received from NJDOH as having any

  direct or indirect ownership interests in Saddlebrook ASC, Romero held himself out as a managing

  partner/member of Saddlebrook ASC between at least 2016 and 2020, including on many of the

  purported membership unit purchase agreements for Saddlebrook ASC, including for McCulloch

  and YCentury, wherein he signed as “managing member” on behalf of Saddlebrook ASC; and on




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  Saddlebrook ASC’s license renewal application, dated January 22, 2017, wherein he signed as

  “managing director” on behalf of Saddlebrook ASC.

         815.    According to NJDOH records, after the Controllers acquired ownership interests in

  Saddlebrook ASC, prospective owners of Saddlebrook ASC were directed, per the terms of the

  purported “membership unit purchase agreements,” to make their “investments” in Saddlebrook

  ASC payable to his law firm’s trust account. Randolph, Esq. also served as counsel for

  Saddlebrook ASC in or around 2017.

         816.    Consistent with the allegations set forth herein, on May 7, 2020, Allstate Ins. Co.

  brought a civil action against Saddlebrook ASC and others alleging thirty-three causes of action,

  including for fraud, violations of New Jersey’s civil RICO statute, and unlawful self- and other

  referrals. See Allstate Ins. Co. v. Matturro, D.C., BERL002707-20 (Berg. Cnty. N.J. Sup. May 7,

  2020). Specifically, chiropractors who had previously been indicted for their role in a scheme that

  involved bribing police officers to obtain police reports and then paying “runners” to solicit

  purported accident victims to treat at their facilities, were alleged to have formed multiple, No-

  Fault medical practices in order to operate an unlawful self-referral and insurance fraud scheme to

  maximize payment for PIP Benefits and increase the value of those patients’ bodily injury cases

  for the benefit of defense counsel. The scheme involved referrals from defense counsel to the

  chiropractors and their various medical practices, and then to ASCs, including Saddlebrook ASC,

  which then billed for unnecessary facility, anesthesia, and other fees, and for which the

  chiropractors were alleged to receive kickbacks.

         817.    At all times as alleged herein, the Controllers, M. Hatami, Chavez, Ramirez,

  Romero, McCulloch, Ajoy Sinha, J. Katanov, Keyserman, Shakarov, Rubin, Yaguda, Yadgarov,

  Vora, Xie, Upendra Sinha, Berkowitz, one or more of the Health Plus Defendants, and one or more




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  of the John Does 2 through 20 (collectively, the “Saddlebrook ASC Owners”) have had direct or

  indirect ownership interests in Saddlebrook ASC.

         818.    At all relevant times while they were owners of Saddlebrook ASC, the Saddlebrook

  ASC Owners were responsible for the operation and control of Saddlebrook ASC and its

  compliance with State and Federal laws, as well as its own policies and procedures in making

  employment-related decisions.

         819.    At all relevant times since acquiring an ownership interests in Saddlebrook ASC in

  or around February of 2016, the Controllers have had a majority ownership interest in and/or

  otherwise controlled Saddlebrook ASC.

         820.    NJDOH records indicate that, initially, ownership of Saddlebrook ASC was divided

  equally between Degradi, Kogan, Tylman, and M. Hatami.

         821.    In or around February 2017, according to NJDOH records, Degradi’s ownership

  interests in Saddlebrook ASC were transferred to Four D Investments LLC, Kogan and Tylman’s

  ownership interests in Saddlebrook ASC were transferred to FLBD Management, and M. Hatami’s

  purported ownership interests in Saddlebrook ASC were transferred to MEH Investments.

         822.    At all relevant times herein, Four D Investments LLC has been owned and

  controlled by Degradi. Saddlebrook ASC and Jersey City ASC represented to NJDOH that Degradi

  was the sole owner of Four D Investments LLC. According to corporate filings with NJDOT,

  Degradi was the sole director and registered agent for Four D Investments LLC, which reported

  that its office was located at Saddlebrook ASC’s clinic location, and reported Degradi’s address at

  239 E. Main Street.

         823.    According to its corporate filings with NJDOH, Four D Investments LLC was

  dissolved on or about May 2, 2018, the same date that Four D Investments Inc was formed.




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         824.   At all relevant times herein, Four D Investments Inc has been owned and controlled

  by Degradi. According to its corporate filings with NJDOT, Degradi is the sole director and

  registered agent for Four D Investments Inc, which reported that its office was located at

  Saddlebrook ASC’s clinic location, and reported Degradi’s address at 239 E. Main Street.

         825.   As alleged herein, Four D Investments LLC and/or Four D Investments Inc also

  have or had ownership interests in Jersey City ASC.

         826.   On information and belief, Four D Investments Inc (and not Four D Investments

  LLC) has had an ownership interest in Saddlebrook ASC since approximately May 2, 2018.

         827.   According to records received from NJDOH for Saddlebrook ASC, Saddlebrook

  ASC did not provide NJDOH with any notice of the transfer of ownership interests from Four D

  Investments LLC to Four D Investments Inc.

         828.   According to records received from NJDOH for Saddlebrook ASC, Saddlebrook

  ASC did not provide NJDOH with any prior notice of the transfer of ownership interests from Four

  D Investments LLC to Four D Investments Inc.

         829.   On information and belief, Saddlebrook ASC misrepresented to its patients that

  Four D Investments LLC had an ownership interests in Saddlebrook ASC after May 2, 2018.

         830.   On information and belief, Saddlebrook ASC did not disclose to its patients that

  Four D Investments Inc had an ownership interest in Saddlebrook ASC after May 2, 2018.

         831.   As alleged herein, at all relevant times herein, FLBD Management has been owned

  and controlled by Tylman and Kogan.

         832.   At all relevant times herein, MEH Investments has been owned on paper by M.

  Hatami. Saddlebrook ASC and Jersey City ASC represented to NJDOH that MEH Investments




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  was owned solely by M. Hatami. According to corporate filings, M. Hatami is the only member

  of MEH Investments’ board of directors.

         833.    As alleged herein, MEH Investments is also an owner of Jersey City ASC.

         834.    Though Saddlebrook ASC and Jersey City ASC represented that M. Hatami was

  the sole owner of MEH Investments, “Wayne,” i.e., Hatami was identified as MEH Investments’

  only owner in a record dated January 1, 2023 received from NJDOH that, on information and

  belief, was prepared by Saddlebrook ASC and/or prepared by NJDOH based on information

  provided by Saddlebrook ASC to NJDOH.

         835.    Additionally, in correspondence from Saddlebrook ASC to NJDOH, dated August

  31, 2016, informing them of the proposed transfer of ownership interests to Four D Investments

  LLC, FLBD Management and MEH Investments, Saddlebrook ASC’s referred to Hatami (and not

  M. Hatami) as one of the original owner.

         836.    At all relevant times herein, M. Hatami was a nominal or straw owner of MEH

  Investments, which was actually owned and/or controlled by Hatami.

         837.    On information and belief, Saddlebrook ASC did not disclose to its patients that

  Hatami had ownership interests in Saddlebrook ASC through MEH Investments, including that he

  was receiving compensation for steering or referring, or causing to be steered or referred, Covered

  Persons to Saddlebrook ASC in order to ensure a steady stream of patients to Saddlebrook ASC,

  irrespective of medical need.

         838.    Upon acquiring control of Saddlebrook ASC, as part of the scheme to defraud and

  in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through Saddlebrook ASC entered into sham “investor” referral/kickback arrangements with the

  Saddlebrook ASC Owners who purchased or otherwise acquired shares in Saddlebrook ASC to




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  make it appear that payments made by Saddlebrook ASC were dividends or other cash

  distributions for their “investments” in Saddlebrook ASC when, in fact, the payments were

  compensation for illegally and/or unnecessarily steering or referring Covered Persons to one

  or more of the Surgicore ASCs.

          839.   One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.

          840.   In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of,

  Saddlebrook ASC, the Saddlebrook ASC Owners purchased or otherwise acquired ownership

  interests in Saddlebrook ASC through companies that they owned and/or controlled, and/or their

  family members or close associates and/or companies that they owned and controlled. The

  Saddlebrook ASC Owners, either directly or indirectly through their companies, family members

  or close associates, or their family members’ or close associates’ companies, received payments

  from Saddlebrook ASC that were disguised as dividends or other cash distributions for their

  “investments” in Saddlebrook ASC, when in fact, the payments were compensation for steering or

  referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

          841.   In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over Saddlebrook ASC, the Controllers established, owned, maintained a

  financial interest in, or otherwise derived financial benefit from a web of associated companies,

  including Surgicore Management, which purports to be the “management” company for

  Saddlebrook ASC and one or more of the ABC Corporations 1 through 20, that purport to serve




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  as landlord, management, and/or other financing companies and which purported to enter into

  lease, management services, financing agreements and other contracts with Saddlebrook ASC, but

  which, in fact, were used to conceal the full extent of the Controllers ownership and control over

  Saddlebrook ASC, to funnel proceeds from Saddlebrook ASC back to the Controllers and/or to

  make payments for steering or referring Covered Persons to one or more of the Surgicore ASCs

  for Fraudulent Services.

         842.    According to NJDOH records, in addition to the Controllers’ ownership interests

  in Saddlebrook ASC, ASC Investment Services, McCulloch, and Ajoy Sinha have also had

  ownership interests in Saddlebrook ASC since approximately February 2017.

         843.    As alleged herein, Romero was also identified in NJDOH records that, on

  information and belief, were prepared by Saddlebrook ASC as the sole owner/contact for ASC

  Investment Services, despite that one or more of the Surgicore ASCs maintained that ASC

  Investment Services was owned solely either by Chavez or Ramirez.

         844.    At all relevant times herein, Chavez and/or Ramirez were nominal or straw owners

  of ASC Investment Services, which was actually owned and/or controlled by Romero and/or one

  or more of the John Does 2 through 20.

         845.    As alleged herein, though New Horizon ASC and Saddlebrook ASC represented

  that ASC Investment Services was only owned by Chavez or Ramirez, “Amaury,” i.e., Romero

  was identified as ASC Investment Services’ only owner in a record dated January 1, 2023 received

  from NJDOH that was presumably prepared by Saddlebrook ASC and/or prepared based on

  information provided by Saddlebrook ASC to NJDOH.

         846.    On information and belief, Saddlebrook ASC did not disclose to its patients that

  Romero and/or one or more of the John Does 2 through 20 had ownership interests in Saddlebrook




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  ASC through ASC Investment Services, including that they were receiving compensation for

  steering or referring, or causing to be steered or referred, Covered Persons to Saddlebrook ASC in

  order to ensure a steady stream of patients to Saddlebrook ASC, irrespective of medical need.

         847.    According to NJDOH records, J. Katanov has had ownership interests in

  Saddlebrook ASC since approximately December 2018, and Redy Ventures has had ownership

  interests in Saddlebrook ASC since approximately July 2020.

         848.    As alleged herein, J. Katanov and/or S. Katanov, either directly or indirectly, also

  have ownership interests in New Horizon ASC, Jersey City ASC, Rockland and Bergen ASC, All

  City ASC, Fifth Avenue ASC, and Rockaways ASC.

         849.    According to NJDOH records, Vora has had ownership interests in Saddlebrook

  ASC since approximately November 2019.

         850.    According to NJDOH records, MK Med Invest and AS Med Invest have also had

  ownership interests in Saddlebrook ASC since approximately March 2022.

         851.    As alleged herein, MK Med Invest and AS Med Invest also have ownership

  interests in New Horizon ASC and Jersey City ASC and, at all relevant times, were actually owned

  by one or more of the John Does 2 through 20.

         852.    On information and belief, Saddlebrook ASC did not disclose to its patients that

  one or more of the John Does 2 through 20 had an ownership interest in Saddlebrook ASC through

  MK Med Invest, including that they were receiving compensation for steering or referring, or

  causing to be steered or referred, Covered Persons to Saddlebrook ASC in order to ensure a steady

  stream of patients to Saddlebrook ASC, irrespective of medical need.

         853.    On information and belief, Saddlebrook ASC did not disclose to its patients that

  one or more of the John Does 2 through 20 had an ownership interest in Saddlebrook ASC through




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  AS Med Invest, including that they were receiving compensation for steering or referring, or

  causing to be steered or referred, Covered Persons to Saddlebrook ASC in order to ensure a steady

  stream of patients to Saddlebrook ASC, irrespective of medical need.

         854.    According to NJDOH records, Capleo Holdings has had ownership interests in

  Saddlebrook ASC since approximately June 2024.

         855.    At all relevant times, Capleo Holdings has been owned and controlled by Rubin.

  Saddlebrook ASC represented to NJDOH that Capleo Holdings is owned solely by Rubin.

  According to its corporate filings, Rubin filed the certificate of formation for Capleo Holdings and

  was listed as its sole member/manager.

         856.    On information and belief, Blumberg was a nominal or straw owner of Capleo

  Holdings, which was actually owned by one or more of the Health Plus Defendants.

         857.    According to NJDOH records, YCentury had ownership interests in Saddlebrook

  ASC between approximately March 2018 and January 2022.

         858.    At all relevant times herein, Yaguda was a nominal or straw owner for one or more

  of the John Does 2 through 20, who were the actual owners of YCentury.

         859.    On information and belief, Saddlebrook ASC did not disclose to its patients that

  one or more of the John Does 2 through 20 had ownership interests in Saddlebrook ASC through

  YCentury, including that they were receiving compensation for steering or referring, or causing to

  be steered or referred, Covered Persons to Saddlebrook ASC in order to ensure a steady stream of

  patients to Saddlebrook ASC, irrespective of medical need.

         860.    According to NJDOH records, Boost HS had ownership interests in Saddlebrook

  ASC between approximately September 2021 and January 2024.




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         861.    At all relevant times herein, Boost HS has been owned on paper by Yadgarov.

  Saddlebrook ASC and Rockland and Bergen ASC represented to NJDOH that Boost HS is owned

  solely by Yadgarov. According to its corporate filings, Yadgarov was the organizer and registered

  agent for Boost HS. As alleged herein, Akbashev Tax Group (the same company that filed the

  articles of organization for MK Med Invest and AS Med Invest), reporting its address at 7009

  Austin Street, filed the articles of organization for Boost HS.

         862.    As alleged herein, Boost HS is also a current owner of Rockland and Bergen ASC.

         863.    At all relevant times herein, Yadgarov was a nominal or straw owner of Boost HS,

  which was actually owned and/or controlled by one or more of the John Does 2 through 20.

         864.    On information and belief, Saddlebrook ASC did not disclose to its patients that

  one or more of the John Does 2 through 20 had ownership interests in Saddlebrook ASC through

  Boost HS, including that they were receiving compensation for steering or referring, or causing to

  be steered or referred, Covered Persons to Saddlebrook ASC in order to ensure a steady stream of

  patients to Saddlebrook ASC, irrespective of medical need.

         865.    According to NJDOH records, Xie had ownership interests in Saddlebrook ASC

  between approximately May 2017 and March 2018.

         866.    According to NJDOH records, Upendra Sinha had ownership interests in

  Saddlebrook ASC between approximately January 2020 and January 2023.

         867.    According to NJDOH records, Berkowitz had ownership interests in Saddlebrook

  ASC between approximately April 2017 and January 2019.

         868.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Degradi directly and indirectly through Four D

  Investments LLC and/or Four D Investments Inc. Degradi was provided with a direct and




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  indirect “investment” interest in Saddlebrook ASC through Four D Investments LLC and/or

  Four D Investments Inc in exchange for his agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Degradi’s direct and indirect “investment” interests in Saddlebrook ASC,

  Saddlebrook ASC issued regular payments to or for the benefit of Degradi, which, in fact, were

  illegal kickbacks for referrals.

          869.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Kogan directly and indirectly through FLBD

  Management. Kogan was provided with direct and indirect “investment” interests in

  Saddlebrook ASC through FLBD Management, in exchange for his agreement to steer or refer,

  or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Kogan’s direct and indirect “investment” interests in

  Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of Kogan,

  which, in fact, were illegal kickbacks for referrals.

          870.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Tylman directly and indirectly through FLBD

  Management. Tylman was provided with direct and indirect “investment” interests in

  Saddlebrook ASC through FLBD Management in exchange for his agreement to steer or refer,

  or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Tylman’s direct and indirect “investment” interests in

  Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of Tylman,

  which, in fact, were illegal kickbacks for referrals.




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          871.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Hatami through M. Hatami and MEH

  Investments. Hatami was provided with an indirect “investment” interest in Saddlebrook ASC

  through M. Hatami and MEH Investments in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Hatami’s indirect “investment” interest in Saddlebrook

  ASC, Saddlebrook ASC issued regular payments to or for the benefit of Hatami, which, in fact,

  were illegal kickbacks for referrals.

          872.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Romero and/or one or more of the John Does 2

  through 20, through Ramirez and/or Chavez, and ASC Investment Services. Romero was

  provided with an indirect “investment” interest in Saddlebrook ASC through Ramirez and/or

  Chavez, and ASC Investment Services in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Romero and/or one or more of the John Does 2 through

  20’s indirect “investment” interest in Saddlebrook ASC, Saddlebrook ASC issued regular

  payments to or for the benefit of Romero and/or one or more of the John Does 2 through 20, which,

  in fact, were illegal kickbacks for referrals.

          873.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with J. Katanov directly and indirectly through Redy

  Ventures. J. Katanov was provided with direct and indirect “investment” interests in

  Saddlebrook ASC through Redy Ventures in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.




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  On information and belief, in exchange for J. Katanov’s direct and indirect “investment” interests

  in Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of J.

  Katanov, which, in fact, were illegal kickbacks for referrals.

          874.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Keyserman and/or one or more of the John Does

  2 through 20 through MK Med Invest. Keyserman and/or one or more of the John Does 2

  through 20 were provided with an indirect “investment” interest in Saddlebrook ASC through

  MK Med Invest in exchange for their agreement to steer or refer, or cause to be steered or referred,

  a steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Keyserman and/or one or more of the John Does 2 through 20’s indirect

  “investment” interest in Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for

  the benefit of Keyserman and/or one or more of the John Does 2 through 20, which, in fact,

  were illegal kickbacks for referrals.

          875.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Shakarov and/or one or more of the John Does

  2 through 20 through AS Med Invest. Shakarov and/or one or more of the John Does 2 through

  20 were provided with an indirect “investment” interest in Saddlebrook ASC through AS Med

  Invest in exchange for their agreement to steer or refer, or cause to be steered or referred, a steady

  stream of patients to one or more of the Surgicore ASCs. On information and belief, in exchange

  for Shakarov and/or one or more of the John Does 2 through 20’s indirect “investment” interest

  in Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of Shakarov

  and/or one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for

  referrals.




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          876.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the Health Plus Defendants

  through Rubin and Capleo Holdings. One or more of the Health Plus Defendants were provided

  with direct or indirect “investment” interests in Saddlebrook ASC through Rubin and Capleo

  Holdings in exchange for their agreement to steer or refer, or cause to be steered or referred, a

  steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for one or more of the Health Plus Defendants’ direct or indirect “investment” interests

  in Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of one or

  more of the Health Plus Defendants, which, in fact, were illegal kickbacks for referrals.

          877.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Yaguda and/or one or more of the John Does 2

  through 20, through YCentury. Yaguda and/or one or more of the John Does 2 through 20 was

  provided with an indirect “investment” interest in Saddlebrook ASC through YCentury in

  exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for

  Yaguda and/or one or more of the John Does 2 through 20’s indirect “investment” interest in

  Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of Yaguda

  and/or one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for

  referrals.

          878.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Yadgarov and/or one or more of the John Does

  2 through 20, through Boost HS. Yadgarov and/or one or more of the John Does 2 through 20

  was provided with an indirect “investment” interest in Saddlebrook ASC through Boost HS in




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  exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for

  Yadgarov and/or one or more of the John Does 2 through 20’s indirect “investment” interest in

  Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of Yadgarov

  and/or one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for

  referrals.

          879.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with McCulloch. McCulloch was provided with an

  “investment” interest in Saddlebrook ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for McCulloch’s “investment” interest in Saddlebrook

  ASC, Saddlebrook ASC issued regular payments to or for the benefit of McCulloch, which, in

  fact, were illegal kickbacks for referrals.

          880.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Ajoy Sinha. Ajoy Sinha was provided with an

  “investment” interest in Saddlebrook ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Ajoy Sinha’s “investment” interest in Saddlebrook

  ASC, Saddlebrook ASC issued regular payments to or for the benefit of Ajoy Sinha, which, in

  fact, were illegal kickbacks for referrals.

          881.   One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Xie. Xie was provided with an “investment”

  interest in Saddlebrook ASC in exchange for his agreement to steer or refer, or cause to be steered




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  or referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Xie’s “investment” interest in Saddlebrook ASC, Saddlebrook ASC issued

  regular payments to or for the benefit of Xie, which, in fact, were illegal kickbacks for referrals.

         882.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Upendra Sinha. Upendra Sinha was provided

  with an “investment” interest in Saddlebrook ASC in exchange for his agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for Upendra Sinha’s “investment” interest in

  Saddlebrook ASC, Saddlebrook ASC issued regular payments to or for the benefit of Upendra

  Sinha, which, in fact, were illegal kickbacks for referrals.

         883.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” referral/kickback arrangement with Berkowitz. Berkowitz was provided with an

  “investment” interest in Saddlebrook ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Berkowitz’s “investment” interest in Saddlebrook

  ASC, Saddlebrook ASC issued regular payments to or for the benefit of Berkowitz, which, in fact,

  were illegal kickbacks for referrals.

         884.    On information and belief, one or more of the Controllers, through Saddlebrook

  ASC, entered into a sham “investor” referral/kickback arrangement with one or more of the

  John Does 2 through 20, either directly or indirectly through one or more of the ABC

  Corporations 1 through 20. On information and belief, one or more of the John Does 2 through

  20 were provided with direct or indirect “investment” interests in Saddlebrook ASC through

  one or more of the ABC Corporations 1 through 20 in exchange for their agreement to steer or




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  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for one or more of the John Does 2 through 20’s

  direct or indirect “investment” interest in Saddlebrook ASC, Saddlebrook ASC issued regular

  payments to or for the benefit of one or more of the John Does 2 through 20, which, in fact, were

  illegal kickbacks for referrals.

                    ii. The Sham “Medical Directors” and “Administrators”

          885.    In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Defendant Cocoziello to serve as sham “medical director” of Saddlebrook

  ASC in contravention of New Jersey law.

          886.    According to NJDOH records, Defendant Cocoziello has been Jersey City ASC’s

  “medical director” since March 2015.

          887.    One or more of the Controllers, through Saddlebrook ASC, entered into a sham

  “investor” or employment referral/kickback relationship with Defendant Cocoziello, who

  purchased or otherwise acquired shares in Saddlebrook ASC to make it appear that the shares

  were being purchased as investments and that payments made by Saddlebrook ASC were

  dividends or other cash distributions for their “investments” (or who otherwise received

  payments disguised as legitimate salary or other compensation) when, in fact, the payments

  were compensation for Defendant Cocoziello’s agreement to serve as sham “medical director”

  and, in some instances, for steering or referring, or causing to be steered or referred, Covered

  Persons to one or more of the Surgicore ASCs. In fact, Defendant Cocoziello never intended to

  (and never did fulfill) his medical director duties as required by law and the compensation he

  received was actually for permitting one or more of the Controllers to operate the Saddlebrook




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  ASC without the required medical director oversight and/or steering or referring, or causing to be

  steered or referred, Covered Persons to one or more of the Surgicore ASCs.

         888.    In addition to the sham “medical directors,” one or more of the Controllers recruited

  Lucero, Lopez, Morris, Aminova, and Romero to serve as sham “administrators” of Saddlebrook

  ASC in contravention of New Jersey law.

         889.    According to NJDOH records, Lucero has been Saddlebrook ASC’s

  “administrator” since September 2022.

         890.    According to NJDOH records, Lopez was Saddlebrook ASC’s “administrator”

  between approximately May 2021 and September 2022.

         891.    According to NJDOH records, Morris was Saddlebrook ASC’s “administrator” in

  or around 2016 and between approximately January 2019 and May 2021. According to public

  records, Morris is Kilroy’s wife.

         892.    According to NJDOH records, Aminova was Saddlebrook ASC’s “administrator”

  in or around September 2020. In 2023, Aminova signed verifications for complaints filed in New

  York by New Horizon ASC, Manalapan ASC, Saddlebrook ASC, Jersey City ASC, and the New

  York DME company, PRC Supplies, Inc. (not named as a defendant herein), which, per public

  records, lists its address at a different suite at New Horizon ASC’s clinic location.

         893.    According to NJDOH records, Romero was Saddlebrook ASC’s “administrator” in

  or around 2017.

         894.    One or more of the Controllers, through Saddlebrook ASC, entered into sham

  “investor” or employment referral/kickback relationships with Lucero, Lopez, Morris, Aminova,

  and/or Romero, who purchased or otherwise acquired shares in Saddlebrook ASC to make it

  appear that the shares were being purchased as investments and that payments made by




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  Saddlebrook ASC were dividends or other cash distributions for his “investment” (or who

  otherwise received payments disguised as legitimate salary or other compensation) when, in

  fact, the payments were compensation for Lucero, Lopez, Morris, Aminova, and/or Romero’s

  agreement to serve as sham “administrators” and, in some instances, for steering or referring,

  or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs.

  In fact, Lucero, Lopez, Morris, Aminova, and/or Romero never intended to (and never did fulfill)

  their administrator duties as required by law and the compensation they received was actually for

  permitting one or more of the Controllers to operate the Saddlebrook ASC without the required

  administrator oversight and/or steering or referring, or causing to be steered or referred, Covered

  Persons to one or more of the Surgicore ASCs.

         D.      Illegal Operation of Jersey City ASC

                     i. The Fraudulent “Investor” Referral/Kickback Scheme

         895.    In or around March 2017, NJDOH approved the transfer of ownership of the NJ

  ASC, Journal Square Surgical Center, LLC (not named as a defendant herein) to Jersey City ASC.

         896.    According to its corporate filings, Degradi has been an owner of Jersey City ASC,

  and its sole officer, director, and president since it was formed on or about August 16, 2016.

  According to NYDOH records, the Controllers acquired ownership interests in Jersey City ASC

  in September 2016.

         897.    According to the Surgicore ASCs’ website, in September 2016, Jersey City ASC

  entered into an “asset purchase agreement” to acquire 100 percent of Journal Square Surgical

  Center, LLC.

         898.    According to court filings, Gregory Surgical Services, LLC, which, as alleged

  herein, previously operated an ASC at Jersey City ASC’s clinic location and was owned by New




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  Horizon ASC’s founding members, Jose Sanchez-Pena, M.D. and Romero, and the subject of a

  fraudulent conveyance-adversarial proceeding in Jose Sanchez-Pena, M.D.’s bankruptcy

  proceeding, sold its assets to Journal Square Surgical Center, LLC in or around 2009. According

  to NJDOH records, Scinas had ownership interests in Journal Square Surgical Center, LLC before

  it was sold to Jersey City ASC.

         899.    As alleged herein, in addition to his connections with New Horizon ASC, Romero

  owned and/or was affiliated with several additional companies that operated out of and/or owned

  suites at Jersey City ASC’s clinic location, including Gregory Anesthesia Services LLC, Jersey

  City Investment Group, Inc., Gregory Realty, LLC, and Comprehensive Imaging Center LLC.

         900.    According to NJDOH records, after the Controllers acquired ownership interests in

  Jersey City ASC, prospective owners of Jersey City ASC were directed, per the terms of the

  purported “membership unit purchase agreements,” to make their “investments” in Jersey City

  ASC payable to Randolph, Esq.’s law firm’s trust account.

         901.    At all times as alleged herein, the Controllers, M. Hatami, Blumberg, Berkowitz, J.

  Katanov, Keyserman, Shakarov, Kostanian, Denevich, Yaguda, Wasserman, Jones, Kotkes,

  Richard, one or more of the Health Plus Defendants, and one or more of the John Does 2 through

  20 (collectively, the “Jersey City ASC Owners”) have had direct or indirect ownership interests in

  Jersey City ASC.

         902.    At all relevant times while they were owners of Jersey City ASC, the Jersey City

  ASC Owners were responsible for the operation and control of Jersey City ASC and its compliance

  with State and Federal laws, as well as its own policies and procedures in making employment-

  related decisions.




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         903.   At all relevant times since acquiring an ownership interests in Jersey City ASC in

  or around September 2016, the Controllers have had a majority ownership interest in and/or

  otherwise controlled Jersey City ASC.

         904.   NJDOH records indicate that, initially, ownership of Jersey City ASC was divided

  equally between Degradi, Kogan, Tylman, and M. Hatami.

         905.   In or around 2018, according to NJDOH records, Degradi’s ownership interests in

  Jersey City ASC were transferred to Four D Investments LLC, Kogan and Tylman’s ownership

  interests in Jersey City ASC were transferred to FLBD Management, and M. Hatami’s purported

  ownership interests in Jersey City ASC were transferred to M. Hatami MEH Investments.

         906.   As alleged herein, at all relevant times Degradi owned and controlled Four D

  Investments LLC, which dissolved on or about May 2, 2018.

         907.   As alleged herein, at all relevant times Degradi owned and controlled Four D

  Investments Inc.

         908.   On information and belief, Four D Investments Inc (and not Four D Investments

  LLC) has had an ownership interest in Jersey ASC since approximately May 2, 2018.

         909.   According to records received from NJDOH for Jersey City ASC, Jersey City ASC

  did not provide NJDOH with any notice of the transfer of ownership interests from Four D

  Investments LLC to Four D Investments Inc.

         910.   According to records received from NJDOH for Jersey City ASC, Jersey City ASC

  did not provide NJDOH with any prior notice of the transfer of ownership interests from Four D

  Investments LLC to Four D Investments Inc.

         911.   On information and belief, Jersey City ASC misrepresented to its patients that Four

  D Investments LLC had an ownership interests in Jersey City ASC after May 2, 2018.




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          912.   On information and belief, Jersey City ASC did not disclose to its patients that Four

  D Investments Inc had an ownership interest in Jersey City ASC after May 2, 2018.

          913.   As alleged herein, at all relevant times Kogan and Tylman owned and controlled

  FLBD Management.

          914.   At all relevant times herein, M. Hatami was a nominal or straw owner of MEH

  Investments, which was actually owned and/or controlled by Hatami.

          915.   On information and belief, Jersey City ASC did not disclose to its patients that

  Hatami had ownership interests in Jersey City ASC through MEH Investments, including that they

  were receiving compensation for steering or referring, or causing to be steered or referred, Covered

  Persons to Jersey City ASC in order to ensure a steady stream of patients to Jersey City ASC,

  irrespective of medical need.

          916.   Upon acquiring control of Jersey City ASC, as part of the scheme to defraud and in

  order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through Jersey City ASC entered into sham “investor” referral/kickback arrangements with the

  Jersey City ASC Owners who purchased or otherwise acquired shares in Jersey City ASC to make

  it appear that payments made by Jersey City ASC were dividends or other cash distributions for

  their “investments” in Jersey City ASC when, in fact, the payments were compensation for

  illegally and/or unnecessarily steering or referring Covered Persons to one or more of the

  Surgicore ASCs. One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.




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         917.    In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of, Jersey

  City ASC, the Jersey City ASC Owners purchased or otherwise acquired ownership interests

  in Jersey City ASC through companies that they owned and/or controlled, and/or their family

  members or close associates and/or companies that they owned and controlled. The Jersey City

  ASC Owners, either directly or indirectly through their companies, family members or close

  associates, or their family members’ or close associates’ companies, received payments from

  Jersey City ASC that were disguised as dividends or other cash distributions for their

  “investments” in Jersey City ASC, when in fact, the payments were compensation for steering or

  referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

         918.    In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over Jersey City ASC, the Controllers established, owned, maintained a

  financial interest in, or otherwise derived financial benefit from a web of associated companies,

  including Surgicore Management, which purports to be the “management” company for Jersey

  City ASC, and one or more of the ABC Corporations 1 through 20 that purport to serve as landlord,

  management and/or other financing companies and which purported to, enter into lease,

  management services, financing agreements, and other contracts with Jersey City ASC, but which,

  in fact, were used to conceal the full extent of the Controllers ownership and control over Jersey

  City ASC, to funnel proceeds from Jersey City ASC back to the Controllers and/or to make

  payments for steering or referring Covered Persons to one or more of the Surgicore ASCs for

  Fraudulent Services.




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         919.   According to NJDOH records, in addition to the Controllers’ ownership interests

  in Saddlebrook ASC, MEDA Management, and SJ2 Ventures have also had ownership interests

  in Jersey City ASC since approximately August 2017.

         920.   At all relevant times herein, MEDA Management has been owned and controlled

  by one or more of the Health Plus Defendants including Blumberg. Jersey City ASC represented

  to NJDOH that MEDA Management was owned solely by Blumberg.

         921.   At all relevant times herein, SJ2 Ventures has been owned and controlled by one or

  more of the Health Plus Defendants including Blumberg. Jersey City ASC represented to NJDOH

  that SJ2 Ventures was owned solely by Blumberg.

         922.   According to NJDOH records, Berkowitz has had ownership interests in Jersey City

  ASC since approximately August 2017 and, sometime thereafter, transferred his ownership

  interests in Jersey City ASC to Gesheft Associates.

         923.   At all relevant times herein, Gesheft Associates has been owned and controlled by

  Berkowitz. New Horizon ASC and Rockland and Bergen ASC represented to NJDOH that Gesheft

  Associates was owned solely by Berkowitz.

         924.   As alleged herein, Gesheft Associates has also been an owner of Rockland and

  Bergen ASC and continues to be an owner of Rockland and Bergen ASC through Surgicore RBSC.

         925.   According to NJDOH records, Redy Ventures has also had ownership interests in

  Jersey City ASC since approximately June 2020.

         926.   According to NJDOH records, MK Med Invest and AS Med Invest also have had

  ownership interests in Jersey City ASC since approximately February 2022.




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         927.    As alleged herein, MK Med Invest and AS Med Invest also have ownership

  interests in New Horizon ASC and Saddlebrook ASC and, on information and belief, at all relevant

  times were actually owned by one or more of the John Does 2 through 20.

         928.    On information and belief, Jersey City ASC did not disclose to its patients that one

  or more of the John Does 2 through 20 had an ownership interest in Jersey City ASC through MK

  Med Invest, including that they were receiving compensation for steering or referring, or causing

  to be steered or referred, Covered Persons to Jersey City ASC in order to ensure a steady stream

  of patients to Jersey City ASC, irrespective of medical need.

         929.    On information and belief, Jersey City ASC did not disclose to its patients that one

  or more of the John Does 2 through 20 had an ownership interest in Jersey City ASC through AS

  Med Invest, including that they were receiving compensation for steering or referring, or causing

  to be steered or referred, Covered Persons to Jersey City ASC in order to ensure a steady stream

  of patients to Jersey City ASC, irrespective of medical need.

         930.    According to NJDOH records, Kostanian Consulting Associates has also had

  ownership interests in Jersey City ASC since approximately December 2022.

         931.    As alleged herein, Kostanian Consulting Associates, which is owned solely by

  Kostanian, is also an owner of Saddlebrook ASC and Rockland and Bergen ASC.

         932.    According to NJDOH records, Conte De Fees also had ownership interests in Jersey

  City ASC from approximately December 2022 through February 2024, at which point in time, its

  ownership interests were transferred to Fiaba.

         933.    As alleged herein, at all relevant times herein, Conte De Fees and Fiaba were owned

  and controlled by Denevich. As alleged herein, Conte De Fees was also an owner of New Horizon




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  ASC and is a current owner for Rockland and Bergen ASC. As alleged herein, Fiaba is also an

  owner of New Horizon ASC.

         934.    According to NJDOH records, YCentury also had ownership interests in Jersey

  City ASC between approximately March 2018 and February 2022.

         935.    As alleged herein, YCentury, which is owned solely by Yaguda, is also an owner

  of New Horizon ASC and Rockland and Bergen ASC, and a former owner of Saddlebrook ASC.

  As alleged herein, Yaguda is also an owner of All City ASC (directly) and Empire State ASC

  (through Mega Group Solution), and was a proposed owner as of November 2024 of Fifth Avenue

  ASC (through Mega Group Solution) and, on information and belief, is a current owner of Fifth

  Avenue ASC (through Mega Group Solution).

         936.    At all relevant times herein, Yaguda was a nominal or straw owner for one or more

  of the John Does 2 through 20, who were the actual owners of YCentury.

         937.    On information and belief, Jersey City ASC did not disclose to its patients that one

  or more of the John Does 2 through 20 had ownership interests in Jersey City ASC through

  YCentury, including that they were receiving compensation for steering or referring, or causing to

  be steered or referred, Covered Persons to Jersey City ASC in order to ensure a steady stream of

  patients to Jersey City ASC, irrespective of medical need.

         938.    According to NJDOH records, Wasserman has had ownership interests in Jersey

  City ASC since approximately December 2017.

         939.    According to NJDOH records, Jones had ownership interests in Jersey City ASC

  between approximately February 2018 and January 2024.

         940.    According to NJDOH records, Kotkes had ownership interests in Jersey City ASC

  between approximately August 2020 and November 2023.




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          941.    According to NJDOH records, Richard had ownership interests in Jersey City ASC

  between approximately 2017 and 2020. As alleged herein, Richards has also been Jersey City

  ASC’s purported “medical director” since 2019.

          942.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Degradi directly and indirectly through Four D

  Investments LLC and/or Four D Investments Inc. Degradi was provided with direct and

  indirect “investment” interests in Jersey City ASC through Four D Investments LLC and/or

  Four D Investments Inc in exchange for his agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Degradi’s direct and indirect “investment” interests in Jersey City ASC,

  Jersey City ASC issued regular payments to or for the benefit of Degradi, which, in fact, were

  illegal kickbacks for referrals.

          943.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Kogan directly and indirectly through FLBD

  Management. Kogan was provided with direct and indirect “investment” interests in Jersey

  City ASC through FLBD Management, in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Kogan’s direct and indirect “investment” interests in Jersey

  City ASC, Jersey City ASC issued regular payments to or for the benefit of Kogan, which, in fact,

  were illegal kickbacks for referrals.

          944.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Tylman directly and indirectly through FLBD

  Management. Tylman was provided with direct and indirect “investment” interests in Jersey




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  City ASC through FLBD Management in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Tylman’s direct and indirect “investment” interests in

  Jersey City ASC, Jersey City ASC issued regular payments to or for the benefit of Tylman, which,

  in fact, were illegal kickbacks for referrals.

          945.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Hatami through M. Hatami and MEH

  Investments. Hatami was provided with an indirect “investment” interest in Jersey City ASC

  through M. Hatami and MEH Investments in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Hatami’s indirect “investment” interest in Jersey City

  ASC, Jersey City ASC issued regular payments to or for the benefit of Hatami, which, in fact,

  were illegal kickbacks for referrals.

          946.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the Health Plus Defendants

  through Blumberg, MEDA Management, and SJ2 Ventures. One or more of the Health Plus

  Defendants were provided with direct or indirect “investment” interests in Jersey City ASC

  through Blumberg, MEDA Management, and SJ2 Ventures in exchange for their agreement to

  steer or refer, or cause to be steered or referred, a steady stream of patients to one or more of the

  Surgicore ASCs. On information and belief, in exchange for one or more of the Health Plus

  Defendants’ direct or indirect “investment” interests in Jersey City ASC, Jersey City ASC issued

  regular payments to or for the benefit of one or more of the Health Plus Defendants, which, in

  fact, were illegal kickbacks for referrals.




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          947.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with J. Katanov through Redy Ventures. J. Katanov

  was provided with an indirect “investment” interest in Jersey City ASC through Redy Ventures

  in exchange for his agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for J.

  Katanov’s indirect “investment” interest in Jersey City ASC, Jersey City ASC issued regular

  payments to or for the benefit of J. Katanov, which, in fact, were illegal kickbacks for referrals.

          948.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Keyserman and/or one or more of the John Does

  2 through 20 through MK Med Invest. Keyserman and/or one or more of the John Does 2

  through 20 were provided with an indirect “investment” interest in Jersey City ASC through

  MK Med Invest in exchange for their agreement to steer or refer, or cause to be steered or referred,

  a steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Keyserman and/or one or more of the John Does 2 through 20’s indirect

  “investment” interest in Jersey City ASC, Jersey City ASC issued regular payments to or for the

  benefit of Keyserman and/or one or more of the John Does 2 through 20, which, in fact, were

  illegal kickbacks for referrals.

          949.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Shakarov and/or one or more of the John Does

  2 through 20 through AS Med Invest. Shakarov and/or one or more of the John Does 2 through

  20 was provided with an indirect “investment” interest in Jersey City ASC through AS Med

  Invest in exchange for their agreement to steer or refer, or cause to be steered or referred, a steady

  stream of patients to one or more of the Surgicore ASCs. On information and belief, in exchange




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  for Shakarov and/or one or more of the John Does 2 through 20’s indirect “investment” interest

  in Jersey City ASC, Jersey City ASC issued regular payments to or for the benefit of Shakarov

  and/or one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for

  referrals.

          950.   One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Kostanian through Kostanian Consulting

  Associates. Kostanian was provided with an indirect “investment” interest in Jersey City ASC

  through Kostanian Consulting Associates in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Kostanian’s indirect “investment” interest in Jersey City

  ASC, Jersey City ASC issued regular payments to or for the benefit of Kostanian, which, in fact,

  were illegal kickbacks for referrals.

          951.   One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Denevich through Conte De Fees and Fiaba.

  Denevich was provided with an indirect “investment” interest in Jersey City ASC through

  Conte De Fees and Fiaba in exchange for his agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Denevich’s indirect “investment” interest in Jersey City ASC, Jersey City

  ASC issued regular payments to or for the benefit of Denevich, which, in fact, were illegal

  kickbacks for referrals.

          952.   One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Yaguda and/or one or more of the John Does 2

  through 20, through YCentury. Yaguda and/or one or more of the John Does 2 through 20 were




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  provided with an indirect “investment” interest in Jersey City ASC through YCentury in

  exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for

  Yaguda and/or one or more of the John Does 2 through 20’s indirect “investment” interest in

  Jersey City ASC, Jersey City ASC issued regular payments to or for the benefit of Yaguda and/or

  one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for referrals.

          953.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Berkowitz directly and indirectly through

  Gesheft Associates. Berkowitz was provided with direct and indirect “investment” interests in

  Jersey City ASC through Gesheft Associates in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Berkowitz’s direct and indirect “investment” interests

  in Jersey City ASC, Jersey City ASC issued regular payments to or for the benefit of Berkowitz,

  which, in fact, were illegal kickbacks for referrals.

          954.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Wasserman. Wasserman was provided with an

  “investment” interest in Jersey City ASC in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Wasserman’s “investment” interest in Jersey City ASC,

  Jersey City ASC issued regular payments to or for the benefit of Wasserman, which, in fact, were

  illegal kickbacks for referrals.

          955.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Jones. Jones was provided with an “investment”




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  interest in Jersey City ASC in exchange for his agreement to steer or refer, or cause to be steered

  or referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Jones’s “investment” interest in Jersey City ASC, Jersey City ASC issued

  regular payments to or for the benefit of Jones, which, in fact, were illegal kickbacks for referrals.

         956.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Kotkes. Kotkes was provided with an

  “investment” interest in Jersey City ASC in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Kotkes’s “investment” interest in Jersey City ASC, Jersey

  City ASC issued regular payments to or for the benefit of Kotkes, which, in fact, were illegal

  kickbacks for referrals.

         957.    One or more of the Controllers, through Jersey City ASC, entered into a sham

  “investor” referral/kickback arrangement with Richard. Richard was provided with an

  “investment” interest in Jersey City ASC in exchange for his agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Richard’s “investment” interest in Jersey City ASC, Jersey

  City ASC issued regular payments to or for the benefit of Richard, which, in fact, were illegal

  kickbacks for referrals.

         958.    On information and belief, one or more of the Controllers, through Jersey City

  ASC, entered into a sham “investor” referral/kickback arrangement with one or more of the

  John Does 2 through 20, either directly or indirectly through one or more of the ABC

  Corporations 1 through 20. On information and belief, one or more of the John Does 2 through

  20 were provided with direct or indirect “investment” interests in Jersey City ASC through one




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  or more of the ABC Corporations 1 through 20 in exchange for their agreement to steer or refer,

  or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for one or more of the John Does 2 through 20’s direct

  or indirect “investment” interests in Jersey City ASC, Jersey City ASC issued regular payments

  to or for the benefit of one or more of the John Does 2 through 20, which, in fact, were illegal

  kickbacks for referrals.

                   ii.   The Sham “Medical Directors” and “Administrators”

         959.    In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Defendant Richard and/or one or more of the John Does 2 through 20 to serve

  as sham “medical directors” of Jersey City ASC in contravention of New Jersey law.

         960.    Jersey City ASC represented to NJDOH that Defendant Richard was Jersey City

  ASC’s “medical director” as of May 1, 2019.

         961.    One or more of the Controllers, through Jersey City ASC, entered into sham

  “investor” or employment referral/kickback relationships with Defendant Richard and/or one or

  more of the John Does 2 through 20, who purchased or otherwise acquired shares in Jersey City

  ASC to make it appear that the shares were being purchased as investments and that payments

  made by Jersey City ASC were dividends or other cash distributions for their “investments”

  (or who otherwise received payments disguised as legitimate salary or other compensation)

  when, in fact, the payments were compensation for Defendant Richard and/or one or more of

  the John Does 2 through 20’s agreement to serve as sham “medical directors” and, in some

  instances, for steering or referring, or causing to be steered or referred, Covered Persons to

  one or more of the Surgicore ASCs. In fact, Defendant Richard and/or one or more of the John

  Does 1 through 2 never intended to (and never did fulfill) their medical director duties as required




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  by law and the compensation they received was actually for permitting one or more of the

  Controllers to operate the Jersey City ASC without the required medical director oversight and/or

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs.

         962.    In addition to the sham “medical directors,” one or more of the Controllers recruited

  Aminova and/or one or more of the John Does 2 through 20 to serve as sham “administrators” of

  Jersey City ASC in contravention of New Jersey law.

         963.    According to NJDOH records, Aminova is Jersey City ASC’s current

  “administrator.”

         964.    One or more of the Controllers, through Jersey City ASC, entered into sham

  “investor” or employment referral/kickback relationships with Aminova and/or one or more of the

  John Does 2 through 20, who purchased or otherwise acquired shares in Jersey City ASC to make

  it appear that the shares were being purchased as investments and that payments made by Jersey

  City ASC were dividends or other cash distributions for his “investment” (or who otherwise

  received payments disguised as legitimate salary or other compensation) when, in fact, the

  payments were compensation for Aminova’s agreement to serve as sham “administrator” and,

  in some instances, for steering or referring, or causing to be steered or referred, Covered

  Persons to one or more of the Surgicore ASCs. In fact, Aminova never intended to (and never

  did fulfill) her administrator duties as required by law and the compensation she received was

  actually for permitting one or more of the Controllers to operate the Jersey City ASC without the

  required administrator oversight and/or steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs.




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         E.     Illegal Operation of Rockland and Bergen ASC

                  i.    The Fraudulent “Investor” Referral/Kickback Scheme

         965.   In or around March 2020, according to NJDOH records, NJDOH approved

  Surgicore RBSC’s acquisition of over 94 percent ownership interest in Rockland and Bergen ASC.

         966.   Surgicore RBSC initially acquired 90 percent ownership interest in Rockland and

  Bergen ASC, which was approved by NJDOH in or around February 2020.

         967.   At all relevant times since around March 13, 2020, Surgicore RBSC has had a

  majority and/or controlling interest in Rockland and Bergen ASC.

         968.   At all relevant times as alleged herein, Surgicore RBSC has been owned on paper

  by Degradi, Tylman, Kogan, and M. Hatami.

         969.   According to its corporate filings, Surgicore RBSC was formed on December 13,

  2019, and reported Degradi and Kogan as its sole members/managers.

         970.   In March 2020, Rockland and Bergen ASC represented to NJDOH that Surgicore

  RBSC was owned equally by Degradi, Tylman, Kogan, and M. Hatami.

         971.   In Rockland and Bergen ASC’s application for an amended license, dated

  December 19, 2019, Rockland and Bergen ASC represented to NJDOH that a separate company,

  Newco, LLC (and not Surgicore RBSC), which would be jointly owned and controlled by the

  Controllers, with each as 25 percent owners, would purchase 90 percent interest in Rockland and

  Bergen ASC, and submitted a fully executed binding term sheet, dated December 2, 2019,

  regarding the purchase. Hatami (and not M. Hatami) was also listed as a “buyer representative” on

  correspondence from NJDOH approving the transfer of 90 percent ownership interests in Rockland

  and Bergen ASC to Surgicore RBSC in February of 2020.




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         972.    On information and belief, though M. Hatami (and not Hatami) was a purported

  owner of Surgicore RBSC, counsel for Rockland and Bergen ASC communicated with Hatami

  (and not M. Hatami) regarding Surgicore RBSC including regarding NJDOH’s approval of

  Surgicore RBSC’s acquisition of ownership interests in Rockland and Bergen ASC.

         973.    At all relevant times herein, M. Hatami was a nominal or straw owner for Hatami,

  who was the actual owner of M. Hatami’s ownership interest in Surgicore RBSC.

         974.    On information and belief, Rockland and Bergen ASC did not disclose to its

  patients that Hatami had an ownership interest in Rockland and Bergen ASC, including that he

  was receiving compensation for steering or referring, or causing to be steered or referred, Covered

  Persons to Rockland and Bergen ASC in order to ensure a steady stream of patients to Rockland

  and Bergen ASC, irrespective of medical need.

         975.    Rockland and Bergen ASC represented to NJDOH that in or around 2021, Degradi,

  Tylman, and M. Hatami collectively sold 3.62 percent of their ownership interests in Surgicore

  RBSC to Redy Ventures. In or around 2022, Degradi, Tylman, Kogan, and M. Hatami collectively

  sold 4.812 percent of their ownership interests in Surgicore RBSC to Gesheft Associates.

         976.    As alleged herein, at all relevant times herein, Redy Ventures has been owned and

  controlled by Katanov.

         977.    As alleged herein, at all relevant times herein, Gesheft Associates has been owned

  and controlled by Berkowitz.

         978.    With its March 13, 2020 application for approval of the proposed change of

  ownership in Rockland and Bergen ASC, Kogan, acting as President of Rockland and Bergen

  ASC, attested that Rockland and Bergen ASC would “own, operate and manage Rockland and

  Bergen [ASC] in accordance with applicable regulations,” that he “read, understand, and will




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  comply with the requirements set forth in [N.J.A.C.] 8:43A Manual for Standards for Licensing of

  [NJ ASCs], including those incorporated by reference, as well as other applicable State and Federal

  requirements,” and that Rockland and Bergen ASC “understands its responsibility as a licensee to

  adhere to the applicable regulations….” Kogan further attested that all information contained in

  the application and any attachments submitted were “true and correct.”

         979.    Since 2020, according to its corporate filings, Rockland and Bergen ASC’s

  officers/directors have consisted of Kogan, Degradi, Tylman, and M. Hatami, with Kogan serving

  as its CEO.

         980.    At all relevant times herein, M. Hatami, who, as alleged herein is Hatami’s wife,

  was a straw officers/directors of Rockland and Bergen ASC for Hatami, who was the actual

  officer/director for Rockland and Bergen ASC.

         981.    On information and belief, Hatami recruited M. Hatami to serve as a straw

  officer/director of Rockland and Bergen ASC in order to conceal the full extent of his control over

  Rockland and Bergen ASC.

         982.    At all times as alleged herein, the Controllers, M. Hatami, J. Katanov, Berkowitz,

  Yaguda, Hoyle, Yadgarov, Kostanian, Denevich, Naik, Kotkes, Kurtti, McCarthy, and one or more

  of the John Does 2 through 20 (collectively, the “Rockland and Bergen ASC Owners”) have had

  direct or indirect ownership interests in Rockland and Bergen ASC.

         983.    On information and belief, at all relevant times while they were owners of Rockland

  and Bergen ASC, the Rockland and Bergen ASC Owners were responsible for the operation and

  control of Rockland and Bergen ASC and its compliance with State and Federal laws, as well as

  its own policies and procedures in making employment-related decisions.




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          984.   At all relevant times since acquiring ownership interests in Rockland and Bergen

  ASC, through Surgicore RBSC, in or around March of 2020, the Controllers have had a majority

  ownership interest in and/or otherwise controlled Rockland and Bergen ASC.

          985.   Upon acquiring control of Rockland and Bergen ASC, as part of the scheme to

  defraud and in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of

  the Controllers, through Rockland and Bergen ASC entered into sham “investor” referral/kickback

  arrangements with the Rockland and Bergen ASC Owners who purchased or otherwise acquired

  shares in Rockland and Bergen ASC to make it appear that payments made by Rockland and

  Bergen ASC were dividends or other cash distributions for their “investments” in Rockland and

  Bergen ASC when, in fact, the payments were compensation for illegally and/or unnecessarily

  steering or referring Covered Persons to one or more of the Surgicore ASCs.

          986.   One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.

          987.   In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of,

  Rockland and Bergen ASC, the Rockland and Bergen ASC Owners purchased or otherwise

  acquired ownership interests in Rockland and Bergen ASC through companies that they owned

  and/or controlled, and/or their family members or close associates and/or companies that they

  owned and controlled. The Rockland and Bergen ASC Owners, either directly or indirectly through

  their companies, family members or close associates, or their family members’ or close associates’

  companies, received payments from Rockland and Bergen ASC that were disguised as dividends




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  or other cash distributions for their “investments” in Rockland and Bergen ASC, when in fact, the

  payments were compensation for steering or referring, or causing to be steered or referred, patients

  to one or more of the Surgicore ASCs.

         988.    In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over Rockland and Bergen ASC, the Controllers established, owned,

  maintained a financial interest in or otherwise derived financial benefit from a web of associated

  companies, including Surgicore Management, which purports to be the “management” company

  for Rockland and Bergen ASC and one or more of the ABC Corporations 1 through 20, that purport

  to serve as landlord, management, and/or other financing companies and which purported to enter

  into lease, management services, financing agreements, and other contracts with Rockland and

  Bergen ASC, but which, in fact, were used to conceal the full extent of the Controllers ownership

  and control over Rockland and Bergen ASC, to funnel proceeds from Rockland and Bergen ASC

  back to the Controllers and/or to make payments for steering or referring Covered Persons to one

  or more of the Surgicore ASCs for Fraudulent Services.

         989.    In addition to the Controllers, J. Katanov and Berkowitz have had ownership

  interests in Rockland and Bergen ASC, through Surgicore RBSC, Redy Ventures and Gesheft

  Associates; Rockland and Bergen ASC also represented to NJDOH that YCentury and AEH

  Healthcare Management have also had ownership interests in Rockland and Bergen ASC since

  around March of 2021. According to NYDOH records, Yaguda has had an indirect ownership

  interest in Rockland Bergen ASC since 2020.

         990.    At all relevant times herein, Yaguda was a nominal or straw owner of YCentury,

  which was actually owned and/or controlled by one or more of the John Does 2 through 20.




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          991.   At all relevant times herein, AEH Healthcare Management has been owned and

  controlled by Hoyle. Rockland and Bergen ASC represented to NJDOH that AEH Healthcare

  Management was owned solely by Hoyle. According to its corporate filings, Hoyle is AEH

  Healthcare Management’s sole member/manager and registered agent. As alleged herein, Hoyle

  was recruited by one or more of the Controllers to falsely pose as the “chief clinical officer” and/or

  “chief nursing officer” overseeing the sham “directors of nursing” at the Surgicore ASCs.

          992.   Rockland and Bergen ASC also represented to NJDOH that Boost HS has also had

  ownership interests in Rockland and Bergen ASC since around May of 2022.

          993.   Rockland and Bergen ASC represented to NJDOH that Boost HS was owned solely

  by Yadgarov and, according to its corporate filings, Yadgarov was Boost HS’s organizer and

  registered agent. As alleged herein, Akbashev Tax Group, reporting its address at 7009 Austin

  Street, filed the articles of organization for Boost HS.

          994.   At all relevant times herein, Yadgarov was a nominal or straw owner of Boost HS,

  which was actually owned and/or controlled by one or more of the John Does 2 through 20.

          995.   On information and belief, Rockland and Bergen ASC did not disclose to its

  patients that one or more of the John Does 2 through 20 had an ownership interest in Rockland

  and Bergen ASC through Boost HS, including that they were receiving compensation for steering

  or referring, or causing to be steered or referred, Covered Persons to Rockland and Bergen ASC

  in order to ensure a steady stream of patients to Rockland and Bergen ASC, irrespective of medical

  need.

          996.   In addition, Rockland and Bergen ASC also represented to NJDOH that Conte De

  Fees and Kostanian Consulting Associates also have had ownership interests in Rockland and

  Bergen ASC since around April of 2023.




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         997.    Rockland and Bergen ASC also represented to NJDOH that Naik had ownership

  interests in Rockland and Bergen ASC through Ramapo ASC Holdings, LLC and Rockland and

  Bergen ASC Holdings, LLC (not named as defendants herein) from around 2012 through around

  April 2023. As alleged herein, Naik is also the purported “medical director” of New Horizon ASC.

         998.    According to NJDOH records, Kotkes had ownership interests in Rockland and

  Bergen ASC between approximately November 2012 and March 2020.

         999.    According to NJDOH records, Kurtti had ownership interests in Rockland and

  Bergen ASC through Ramapo ASC Holdings, LLC and Rockland and Bergen ASC Holdings, LLC

  between approximately May 2012 and April 2022.

         1000. According to NJDOH records, McCarthy had ownership interests in Rockland and

  Bergen ASC through Ramapo ASC Holdings, LLC and Rockland and Bergen ASC Holdings, LLC

  approximately September 2009 and April 2022.

         1001. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with the Controllers through Surgicore RBSC.

  The Controllers were provided with indirect “investment” interests in Rockland and Bergen

  ASC through Surgicore RBSC in exchange for their agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for the Controllers’ indirect “investment” interest in Rockland

  and Bergen ASC, Rockland and Bergen ASC issued regular payments to or for the benefit of one

  or more of the Controllers, which, in fact, were illegal kickbacks for referrals.

         1002. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with J. Katanov through Redy Ventures and

  Surgicore RBSC. J. Katanov was provided with an indirect “investment” interest in Rockland




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  and Bergen ASC through Redy Ventures and Surgicore RBSC in exchange for his agreement to

  steer or refer, or cause to be steered or referred, a steady stream of patients to one or more of the

  Surgicore ASCs. On information and belief, in exchange for J. Katanov’s indirect “investment”

  interest in Rockland and Bergen ASC, Rockland and Bergen ASC issued regular payments to or

  for the benefit of J. Katanov, which, in fact, were illegal kickbacks for referrals.

          1003. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Berkowitz through Gesheft Associates

  and Surgicore RBSC. Berkowitz was provided with an indirect “investment” interest in

  Rockland and Bergen ASC through Gesheft Associates and Surgicore RBSC in exchange for

  his agreement to steer or refer, or cause to be steered or referred, a steady stream of patients to one

  or more of the Surgicore ASCs. On information and belief, in exchange for Berkowitz’s indirect

  “investment” interest in Rockland and Bergen ASC, Rockland and Bergen ASC issued regular

  payments to or for the benefit of Berkowitz, which, in fact, were illegal kickbacks for referrals.

          1004. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Yaguda and/or one or more of the John

  Does 2 through 20 through YCentury. Yaguda and/or one or more of the John Does 2 through

  20 were provided with an indirect “investment” interest in Rockland and Bergen ASC through

  YCentury in exchange for their agreement to steer or refer, or cause to be steered or referred, a

  steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Yaguda and/or one or more of the John Does 2 through 20’s indirect “investment”

  interest in Rockland and Bergen ASC, Rockland and Bergen ASC issued regular payments to or

  for the benefit of Yaguda and/or one or more of the John Does 2 through 20, which, in fact, were

  illegal kickbacks for referrals.




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         1005. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Hoyle through AEH Healthcare

  Management. Hoyle was provided with an indirect “investment” interest in Rockland and

  Bergen ASC through AEH Healthcare Management in exchange for her agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for Hoyle’s indirect “investment” interest in

  Rockland and Bergen ASC, Rockland and Bergen ASC issued regular payments to or for the

  benefit of Hoyle, which, in fact, were illegal kickbacks for referrals.

         1006. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Yadgarov and/or one or more of the John

  Does 2 through 20 through Boost HS. Yadgarov and/or one or more of the John Does 2 through

  20 were provided with an indirect “investment” interest in Rockland and Bergen ASC through

  Boost HS in exchange for their agreement to steer or refer, or cause to be steered or referred, a

  steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Yadgarov and/or one or more of the John Does 2 through 20’s indirect

  “investment” interest in Rockland and Bergen ASC, Rockland and Bergen ASC issued regular

  payments to or for the benefit of Yadgarov and/or one or more of the John Does 2 through 20,

  which, in fact, were illegal kickbacks for referrals.

         1007. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Denevich through Conte De Fees.

  Denevich was provided with an indirect “investment” interest in Rockland and Bergen ASC

  through Conte De Fees in exchange for his agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and




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  belief, in exchange for Denevich’s indirect “investment” interest in Rockland and Bergen ASC,

  Rockland and Bergen ASC issued regular payments to or for the benefit of Denevich, which, in

  fact, were illegal kickbacks for referrals.

         1008. one or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Kostanian through Kostanian Consulting

  Associates or Kostanian Consulting Services. Kostanian was provided with an indirect

  “investment” interest in Rockland and Bergen ASC through Kostanian Consulting Associates

  or Kostanian Consulting Services in exchange for his agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Kostanian’s indirect “investment” interest in Rockland

  and Bergen ASC, Rockland and Bergen ASC issued regular payments to or for the benefit of

  Kostanian, which, in fact, were illegal kickbacks for referrals.

         1009. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Naik through Ramapo ASC Holdings,

  LLC and Rockland and Bergen ASC Holdings, LLC (not named as defendants herein). Naik

  was provided with an indirect “investment” interest in Rockland and Bergen ASC in exchange

  for his agreement to steer or refer, or cause to be steered or referred, a steady stream of patients to

  one or more of the Surgicore ASCs. On information and belief, in exchange for Naik’s indirect

  “investment” interest in Rockland and Bergen ASC, Rockland and Bergen ASC issued regular

  payments to or for the benefit of Naik, which, in fact, were illegal kickbacks for referrals.

         1010. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Kotkes. Kotkes was provided with an

  “investment” interest in Rockland and Bergen ASC in exchange for his agreement to steer or




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  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for Kotkes’s “investment” interest in Rockland and

  Bergen ASC, Rockland and Bergen ASC issued regular payments to or for the benefit of Kotkes,

  which, in fact, were illegal kickbacks for referrals.

         1011. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with Kurtti through Ramapo ASC Holdings,

  LLC and Rockland and Bergen ASC Holdings, LLC (not named as defendants herein). Kurtti

  was provided with an indirect “investment” interest in Rockland and Bergen ASC in exchange

  for his agreement to steer or refer, or cause to be steered or referred, a steady stream of patients to

  one or more of the Surgicore ASCs. On information and belief, in exchange for Kurtti’s indirect

  “investment” interest in Rockland and Bergen ASC, Rockland and Bergen ASC issued regular

  payments to or for the benefit of Kurtti, which, in fact, were illegal kickbacks for referrals.

         1012. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  a sham “investor” referral/kickback arrangement with McCarthy through Ramapo ASC

  Holdings, LLC and Rockland and Bergen ASC Holdings, LLC (not named as defendants

  herein). McCarthy was provided with an indirect “investment” interest in Rockland and Bergen

  ASC in exchange for his agreement to steer or refer, or cause to be steered or referred, a steady

  stream of patients to one or more of the Surgicore ASCs. On information and belief, in exchange

  for McCarthy’s indirect “investment” interest in Rockland and Bergen ASC, Rockland and Bergen

  ASC issued regular payments to or for the benefit of McCarthy, which, in fact, were illegal

  kickbacks for referrals.

         1013. On information and belief, one or more of the Controllers, through Rockland

  and Bergen ASC, entered into a sham “investor” referral/kickback arrangement with one or




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  more of the John Does 2 through 20, either directly or indirectly through one or more of the

  ABC Corporations 1 through 20. On information and belief, one or more of the John Does 2

  through 20 were provided with direct or indirect “investment” interests in Rockland and

  Bergen ASC through one or more of the ABC Corporations 1 through 20 in exchange for their

  agreement to steer or refer, or cause to be steered or referred, a steady stream of patients to one or

  more of the Surgicore ASCs. On information and belief, in exchange for one or more of the John

  Does 2 through 20’s direct or indirect “investment” interests in Rockland and Bergen ASC,

  Rockland and Bergen ASC issued regular payments to or for the benefit of one or more of the

  John Does 2 through 20, which, in fact, were illegal kickbacks for referrals.

                   ii.   The Sham “Medical Directors” and “Administrators”

         1014. In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited one or more of the John Does 2 through 20 to serve as sham “medical

  directors” of Rockland and Bergen ASC in contravention of New Jersey law.

         1015. One or more of the Controllers, through Rockland and Bergen ASC, entered into

  sham “investor” or employment referral/kickback relationships with one or more of the John Does

  2 through 20, who purchased or otherwise acquired shares in Rockland and Bergen ASC to make

  it appear that the shares were being purchased as investments and that payments made by

  Rockland and Bergen ASC were dividends or other cash distributions for their “investments”

  (or who otherwise received payments disguised as legitimate salary or other compensation)

  when, in fact, the payments were compensation for one or more of the John Does 2 through 20’s

  agreement to serve as sham “medical directors” and, in some instances, for steering or referring,

  or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs.

  In fact, one or more of the John Does 2 through 20 never intended to (and never did fulfill) their




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  medical director duties as required by law and the compensation they received was actually for

  permitting one or more of the Controllers to operate the Rockland and Bergen ASC without the

  required medical director oversight and/or steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs.

         1016. In addition to the sham “medical directors,” one or more of the Controllers recruited

  Finnegan to serve as sham “administrator” of Rockland and Bergen ASC in contravention of New

  Jersey law.

         1017. According to NJDOH records, Finnegan has been Rockland and Bergen ASC’s

  “administrator” since around 2020 and around the same time or shortly after the Controllers

  acquired majority ownerships in Rockland and Bergen ASC through Surgicore RBSC.

         1018. One or more of the Controllers, through Rockland and Bergen ASC, entered into a

  sham “investor” or employment referral/kickback relationship with Finnegan, who purchased or

  otherwise acquired shares in Rockland and Bergen ASC to make it appear that the shares were

  being purchased as investments and that payments made by Rockland and Bergen ASC were

  dividends or other cash distributions for his “investment” (or who otherwise received payments

  disguised as legitimate salary or other compensation) when, in fact, the payments were

  compensation for Finnegan’s agreement to serve as sham “administrator” and, in some

  instances, for steering or referring, or causing to be steered or referred, Covered Persons to

  one or more of the Surgicore ASCs. In fact, Finnegan never intended to (and never did fulfill)

  her administrator duties as required by law and the compensation she received was actually for

  permitting one or more of the Controllers to operate the Rockland and Bergen ASC without the

  required administrator oversight and/or steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs.




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  IV.    Illegal Operation of the Surgicore NY ASCs

         1019. On August 2, 2016, GEICO brought a civil action alleging RICO and other claims

  against New Horizon ASC and other HCPs to recover more than $3 million in damages arising out

  of activity at New Horizon’s clinic location. See Gov’t Emp. Ins. Co., et al. v. Trnovski, et al., 16-

  cv-4662 (D.N.J.). The complaint alleged, among other things, that co-owners of New Horizon

  ASC submitted inflated charges for medically unnecessary services and that many of those charges

  were the product of illegal self-referrals between and among the defendants under New Jersey law.

         1020. Additionally, on September 28, 2016, DFS announced proposed rulemaking to

  amend section 68.6 (Regulation 83) of Title 11 N.Y.C.R.R. in order address abuses by certain out-

  of-state providers by “[l]imit[ing] reimbursement of No-fault health care services provided

  outside.” New York. XXXVIII N.Y. Reg. 66-67 (Sept. 28, 2016). Thereafter on May 24, 2017,

  DFS announced proposed revised rulemaking for 11 N.Y.C.R.R. 68.6. XXXIX N.Y. Reg. 30-32

  (May 24, 2017). DFS explained that the rule change was “necessary because under the current

  regulation, there has been a marked increase in the submission of over-inflated claims from out-

  of-state providers….” XXXIX N.Y. Reg. 31 (May 24, 2017). DFS went on to explain that “[n]o-

  fault claimants [we]re being referred to certain health care providers outside New York, usually in

  New Jersey, who take advantage of the absence of specific fee schedules and submit excessive

  charges under exaggerated claims, well above the corresponding New York State fee schedules

  applicable to those health care services rendered,” which resulted in available PIP Benefits “being

  depleted more quickly, to [injured persons’] detriment.” XXXIX N.Y. Reg. 31 (May 24, 2017).

  After a public comment period was held, on October 10, 2017 DFS announced that it had finalized

  the new regulations, which went into effect on January 9, 2018. See Press Release, New York

  Department of Financial Services, DFS Announces New Regulation to Strengthen New York No-




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  fault            Insurance               Law              (Oct.              10,             2017),

  https://www.dfs.ny.gov/reports_and_publications/press_releases/pr1710101; 11 N.Y.C.R.R. 68.6.

          1021. Following commencement of a lawsuit by GEICO in the matter of Gov’t Emp. Ins.

  Co., et al. v. Trnovski, et al., 16-cv-4662 (D.N.J.) and the forthcoming regulatory changes for out-

  of-state medical providers proposed by DFS, in furtherance of the scheme to defraud alleged

  herein, the Controllers acquired ASCs within New York that they could use as vehicles to submit

  inflated charges under the No-Fault Law, and undertook additional efforts to further conceal the

  full extent of their ownership and control of the Surgicore ASCs.

          1022. Towards that end, on October 26, 2016 the Controllers formed Surgicore 5th

  Avenue in which they each had 25 percent ownership interests and through which they acquired

  majority ownership interests in at least three of the Surgicore NY ASCs, as represented in their

  CON applications to NYDOH.

          1023. In connection with the CON applications submitted to NYDOH, the Controllers

  represented that they each had 25 percent ownership interests in Surgicore Management NY.

          1024. Public records on file with the NYDOS list the address for service of process for

  Surgicore Management NY at 505 Park Avenue, New York, New York, an address that is also

  associated with several other healthcare and related companies owned and/or affiliated with the

  Controllers and/or the Surgicore ASCs.

          1025. By way of example and not limitation, Surgicore Midtown, LLC (not named as a

  defendant herein), which, according to its corporate filings, is owned by Kogan and was listed as

  a co-debtor with Surgicore 5th Avenue on UCC records on file with NYDOS, and Surgicore Far

  Rockaway LLC (not named as a defendant herein), which, according to its corporate filings, was




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  formed by Degradi and lists Kogan as its agent for service of process, list their addresses at 505

  Park Avenue, New York, New York.

         1026. At all relevant times herein, Surgicore 5th Avenue and Surgicore Management NY

  are owned and/or controlled by one or more of the Controllers and, on information and belief, were

  used to conceal the full extent of the Controllers’ illegal control over the Surgicore NY ASCs and

  billing for Fraudulent Services, to funnel proceeds from one or more of the Surgicore ASCs back

  to the Controllers and/or to make payments for steering or referring Covered Persons to one or

  more of the Surgicore ASCs for Fraudulent Services.

         1027. As with the Surgicore NJ ASC, the Controllers ensured a steady stream of patients

  to the Surgicore NY ASCs by entering into sham “investment,” referral kickback relationships

  with providers who primarily practiced in New York and provided them with lucrative returns on

  their “investments” in the Surgicore NY ASCs, and employed an extensive network of interrelated

  providers who referred patients to each other and to the Surgicore NY ASCs.

         1028. The Surgicore NY ASCs are ineligible for reimbursement insofar as they have

  operated in violation of the New York laws and regulations governing ASCs, including the

  requirements for ASC medical directors and administrators, and prohibitions against kickbacks for

  medical referrals.

         A. Illegal Operation of All City ASC

                  i. The Fraudulent “Investor” Referral/Kickback Scheme

         1029. In or around November of 2017, less than one month after DFS announced its

  adoption of new regulations governing out-of-state providers, the Controllers acquired an

  ownership interest in All City ASC.




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         1030. Specifically, on November 1, 2017, All City ASC and the Controllers, among

  others, entered into a purported amended and restated shareholders’ agreement. Under the

  amended and restated shareholders’ agreement, Nasser Hassan, the Controllers, Blumberg, and

  Rubin were deemed “investor” or “voting” shareholders of All City ASC with authority to

  nominate individuals, which could include themselves, to serve on the six-member board of

  directors for All City ASC.

         1031. Under the amended and restated shareholders’ agreement, each of the Controllers

  had 17.30 voting shares, Hasan had 30 voting shares, Blumberg had 19 shares, and Rubin had 4.25

  voting shares, in All City ASC, thus totaling 122.45 or a majority of the shares issued by All City

  ASC.

         1032. The amended and restated shareholders’ agreement provided that the Controllers’

  shares in All City ASC were encumbered by security interests granted under a certain Security and

  Pledge Agreement by and among the Controllers and Nasser Hassan.

         1033. Additionally, under the terms of the amended and restated shareholders’ agreement,

  Nasser Hassan and the Controllers each had authority to nominate one person as a director, and

  Blumberg and Rubin collectively had authority to nominate one person as director.

         1034. In addition to “investor” or “voting” shares, the amended and restated shareholders’

  agreement deemed six individuals to possess “non-voting” shares, specifically Klein (2.13 shares),

  S. Passanisi (2.13 shares), L. Passanisi (5.31 shares), M. Hatami (17 shares), K. Degradi (17

  shares), B. Kogan (17 shares) and Revutsky (17 shares).

         1035. On information and belief, S. Passanisi and L. Passanisi are or were employees of,

  or otherwise associated with, Health Plus Management.




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         1036. Under the terms of the amended and restated shareholders’ agreement, the

  Controllers, M. Hatami, K. Degradi, B. Kogan, and Revutsky collectively possessed 137.2, or a

  majority of, the approximate 200 shares issued by All City ASC.

         1037. On December 30, 2020, Revutsky transferred her shares in All City ASC to

  Pyatetskaya.

         1038. On information and belief, Pyatetskaya is an immediate family member and/or

  spouse of, or otherwise closely associated with Tylman.

         1039. At all relevant times herein, K. Degradi was a nominal or straw owner for Degradi,

  who was the actual owner of K. Degradi’s ownership interest in All City ASC.

         1040. At all relevant times herein, M. Hatami was a nominal or straw owner for Hatami,

  who was the actual owner of M. Hatami’s ownership interest in All City ASC.

         1041. At all relevant times herein, B. Kogan was a nominal or straw owner for Kogan,

  who was the actual owner of Kogan’s ownership interest in All City ASC.

         1042. At all relevant times herein, Revutsky and Pyatetskaya were nominal or straw

  owners for Tylman, who was the actual owner of Revutsky and Pyatetskaya’s ownership interest

  in All City ASC.

         1043. At all relevant times herein, Blumberg, Klein, Rubin, S. Passanisi and L. Passanisi

  have collectively owned more than 12 percent of All City ASC.

         1044. On information and belief, Blumberg, Klein, Rubin, S. Passanisi and L. Passanisi

  were nominal or straw owners for one or more of the Health Plus Defendants, who were the actual

  owners of Blumberg’s, Rubin’s, S. Passanisi’s and L. Passanisi’s ownership interests in All City

  ASC.




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          1045. At all relevant times herein, the Controllers and their family members have owned

  more than 50 percent of All City ASC.

          1046. At all relevant times herein, the Controllers, Nasser, Blumberg and Rubin have been

  the only All City ASC shareholders with authority to nominate individuals as All City ASC’s

  directors.

          1047. According to its corporate filings, All City ASC was incorporated by Pokh and

  Nasser Hassan in or around December 15, 1996, and operated thereafter as a purported NY ASC.

  In 1997, Zybin was identified as All City ASC’s president and “administrator” on a certificate of

  change of agent filed with the NYDOS. Until 2017, Nasser Hassan was listed as the CEO of All

  City ASC on all of its annual reports, at which point in time Degradi replaced Nasser Hassan.

          1048. According to press reports and as alleged herein, in or around 2004, Pokh, who was

  All City ASC’s director and vice president, pled guilty to grand larceny in connection with a

  criminal case against All City ASC for false claims that it submitted and for which it ultimately

  agreed to pay $6 million

          1049. At the EUO of All City ASC, Zybin testified that Pokh is her mother, and that they

  are longtime friends of Tylman.

          1050. At all times as alleged herein, the Controllers, K. Degradi, M. Hatami, B. Kogan,

  Revutsky, Pyatetskaya, Blumberg, Rubin, Klein, S. Passanisi, L. Passanisi, Zybin, S. Katanov. J.

  Katanov, Yaguda, Shabtian, Apazidis, Ajoy Sinha, Shamalov, Katzman, Bursztyn, Berkowitz, one

  or more of the Health Plus Defendants and one or more of the John Does 2 through 20 (collectively,

  the “All City ASC Owners”) have had direct or indirect ownership interests in All City ASC.

          1051. On information and belief, at all relevant times while they were owners of All City

  ASC, the All City ASC Owners were responsible for the operation and control of All City ASC




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  and its compliance with State and Federal laws, as well as its own policies and procedures in

  making employment-related decisions.

          1052. At all relevant times since acquiring ownership interests in All City ASC in or

  around November 2017, the Controllers have had a majority ownership interest in and/or otherwise

  controlled All City ASC.

          1053. Upon acquiring control of All City ASC, as part of the scheme to defraud and in

  order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through All City ASC entered into sham “investor” referral/kickback arrangements with the All

  City ASC Owners who purchased or otherwise acquired shares in All City ASC to make it appear

  that payments made by All City ASC were dividends or other cash distributions for their

  “investments” in All City ASC when, in fact, the payments were compensation for illegally

  and/or unnecessarily steering or referring Covered Persons to one or more of the Surgicore

  ASCs.

          1054. One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.

          1055. In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of, All

  City ASC, the All City ASC Owners purchased or otherwise acquired ownership interests in

  All City ASC through companies that they owned and/or controlled, and/or their family members

  or close associates and/or companies that they owned and controlled. The All City ASC Owners,

  either directly or indirectly through their companies, family members or close associates, or their




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  family members’ or close associates’ companies, received payments from All City ASC that were

  disguised as dividends or other cash distributions for their “investments” in All City ASC, when

  in fact, the payments were compensation for steering or referring, or causing to be steered or

  referred, patients to one or more of the Surgicore ASCs.

         1056. In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over All City ASC, the Controllers established, owned, maintained a

  financial interest in or otherwise derived financial benefit from a web of associated companies,

  including Surgicore Management NY, which purports to be the “management” company for All

  City ASC and one or more of the ABC Corporations 1 through 20, that purport to serve as landlord,

  management and/or other financing companies and which purported to enter into lease,

  management services, financing agreements and other contracts with All City ASC, but which, in

  fact, were used to conceal the full extent of the Controllers ownership and control over All City

  ASC, to funnel proceeds from All City ASC back to the Controllers and/or to make payments for

  steering or referring Covered Persons to one or more of the Surgicore ASCs for Fraudulent

  Services.

         1057. Towards that end, Surgicore Management NY purportedly entered into an

  administrative services agreement (“ASA”) with All City ASC on or about May 1, 2019, under

  which, Surgicore Management NY would receive an annual fee of $600,000 (or $50,000 per

  month). The ASA further provided that All City ASC “retains all authority and responsibility”

  over all final decisions associated with the services.

         1058. According to NJDOH records, with respect to Surgicore Management NY, one or

  more of the Controllers also submitted an executed attestation to NYDOH “acknowledging




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  understanding of the reserve powers that cannot be delegated, and that they w[ould] not willingly

  engage in any such illegal delegations of authority.”

         1059. In addition to the owners mentioned above, since entering into the amended and

  restated shareholders’ agreement in or around November 2017, approximately nine health care

  professionals and six other individuals have been added as owners of All City ASC, including

  Defendants Apazidis, Shamalov, Ajoy Sinha, Katzman, Bursztyn and Berkowitz, All City ASC’s

  “administrator,” Zybin, Yaguda, S. Katanov, and All City’s “medical director,” Shabtian, with

  Apazidis, Ajoy Sinha, Shamalov, Katzman and Bursztyn acquiring ownership interests on or about

  August 30, 2018, Berkowitz acquiring ownership interests on or about November 1, 2018, Zybin

  acquiring approximately 3.839 percent interest on or about April 18, 2019, Yaguda acquiring

  approximately 1.536 percent interest on or about July 9, 2019, S. Katanov acquiring approximately

  0.768 interest on or about June 7, 2020, and Shabtian acquiring approximately 0.768 percent

  interest on or about September 10, 2021.

         1060. Though the ownership disclosure provided by All City ASC reported that Zybin

  did not acquire an ownership interest in All City ASC until 2019, Zybin testified at All City ASC’s

  EUO that she became an owner of All City ASC in or around October of 2017.

         1061. At all relevant times herein, Yaguda was a nominal or straw owner for one or more

  of the John Does 2 through 20, who were the actual owners of Yaguda’s ownership interest in All

  City ASC.

         1062. On information and belief, All City ASC did not disclose to its patients that one or

  more of the John Does 2 through 20 had an ownership interest in All City ASC, including that they

  were receiving compensation for steering or referring, or causing to be steered or referred, Covered




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  Persons to All City ASC in order to ensure a steady stream of patients to All City ASC, irrespective

  of medical need.

          1063. At all relevant times herein, S. Katanov was a nominal or straw owner for J.

  Katanov, who was the actual owner of S. Katanov’s ownership interest in All City ASC.

          1064. On information and belief, All City ASC did not disclose to its patients that J.

  Katanov had an ownership interest in All City ASC, including that he was receiving compensation

  for steering or referring, or causing to be steered or referred, Covered Persons to All City ASC in

  order to ensure a steady stream of patients to All City ASC, irrespective of medical need.

          1065. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Degradi, including through K. Degradi. Degradi

  was provided with direct and indirect “investment” interests in All City ASC through K.

  Degradi, in exchange for his agreement to steer or refer, or cause to be steered or referred, a steady

  stream of patients to one or more of the Surgicore ASCs. On information and belief, in exchange

  for Degradi’s direct and indirect “investment” interests in All City ASC, All City ASC issued

  regular payments to or for the benefit of Degradi, which, in fact, were illegal kickbacks for

  referrals.

          1066. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Hatami, including through M. Hatami. Hatami

  was provided with direct and indirect “investment” interests in All City ASC including through

  M. Hatami, in exchange for his agreement to steer or refer, or cause to be steered or referred, a

  steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Hatami’s direct and indirect “investment” interests in All City ASC, All City ASC




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  issued regular payments to or for the benefit of Hatami, which, in fact, were illegal kickbacks for

  referrals.

          1067. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Kogan, including through B. Kogan. Hatami

  was provided with direct and indirect “investment” interests in All City ASC including through

  B. Kogan, in exchange for his agreement to steer or refer, or cause to be steered or referred, a

  steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Kogan’s direct and indirect “investment” interests in All City ASC, All City ASC

  issued regular payments to or for the benefit of Kogan, which, in fact, were illegal kickbacks for

  referrals.

          1068. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Tylman, including through Revutsky and

  Pyatetskaya. Tylman was provided with direct and indirect “investment” interests in All City

  ASC including through Revutsky and Pyatetskaya, in exchange for his agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for Tylman’s direct and indirect “investment”

  interests in All City ASC, All City ASC issued regular payments to or for the benefit of Tylman,

  which, in fact, were illegal kickbacks for referrals.

          1069. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the Health Plus Defendants

  through Blumberg, Rubin, Klein, S. Passanisi and/or L. Passanisi. One or more of the Health

  Plus Defendants were provided with direct or indirect “investment” interests in All City ASC

  through Blumberg, Rubin, Klein, S. Passanisi and/or L. Passanisi, in exchange for their agreement




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  to steer or refer, or cause to be steered or referred, a steady stream of patients to one or more of

  the Surgicore ASCs. On information and belief, in exchange for one or more of the Health Plus

  Defendants’ direct or indirect “investment” interests in All City ASC, All City ASC issued

  regular payments to or for the benefit of one or more of the Health Plus Defendants, which, in

  fact, were illegal kickbacks for referrals.

          1070. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Zybin. Zybin was provided with an

  “investment” interest in All City ASC, in exchange for her agreement to steer or refer, or cause

  to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Zybin’s “investment” interest in All City ASC, All City

  ASC issued regular payments to or for the benefit of Zybin, which, in fact, were illegal kickbacks

  for referrals.

          1071. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Yaguda and/or one or more of the John Does 2

  through 20. Yaguda and/or one or more of the John Does 2 through 20 were provided with

  direct or indirect “investment” interests in All City ASC, including through Yaguda, in

  exchange for their agreement to steer or refer, or cause to be steered or referred, a steady stream

  of patients to one or more of the Surgicore ASCs. On information and belief, in exchange for

  Yaguda and/or one or more of the John Does 2 through 20’s direct or indirect “investment”

  interests in All City ASC, All City ASC issued regular payments to or for the benefit of Yaguda

  and/or one or more of the John Does 2 through 20, which, in fact, were illegal kickbacks for

  referrals.




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         1072. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with S. Katanov and/or J. Katanov through S.

  Katanov. S. Katanov and/or J. Katanov was provided with direct or indirect “investment”

  interests in All City ASC through S. Katanov in exchange for their agreement to steer or refer,

  or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for S. Katanov and/or J. Katanov’s direct or indirect

  “investment” interests in All City ASC, All City ASC issued regular payments to or for the benefit

  of S. Katanov and/or J. Katanov, which, in fact, were illegal kickbacks for referrals.

         1073. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Shabtian. Shabtian was provided with an

  “investment” interest in All City ASC in exchange for his agreement to steer or refer, or cause to

  be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Shabtian’s “investment” interest in All City ASC, All

  City ASC issued regular payments to or for the benefit of Shabtian, which, in fact, were illegal

  kickbacks for referrals.

         1074. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Apazidis. Apazidis was provided with an

  “investment” interest in All City ASC in exchange for his agreement to steer or refer, or cause to

  be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Apazidis’ “investment” interest in All City ASC, All City

  ASC issued regular payments to or for the benefit of Apazidis, which, in fact, were illegal

  kickbacks for referrals.




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         1075. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Shamalov. Shamalov was provided with an

  “investment” interest in All City ASC in exchange for his agreement to steer or refer, or cause to

  be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Shamalov’s “investment” interest in All City ASC, All

  City ASC issued regular payments to or for the benefit of Shamalov, which, in fact, were illegal

  kickbacks for referrals.

         1076. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Ajoy Sinha. Ajoy Sinha was provided with an

  “investment” interest in All City ASC in exchange for his agreement to steer or refer, or cause to

  be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Ajoy Sinha’s “investment” interest in All City ASC, All

  City ASC issued regular payments to or for the benefit of Ajoy Sinha, which, in fact, were illegal

  kickbacks for referrals.

         1077. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Katzman. Katzman was provided with an

  “investment” interest in All City ASC in exchange for his agreement to steer or refer, or cause to

  be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Katzman’s “investment” interest in All City ASC, All

  City ASC issued regular payments to or for the benefit of Katzman, which, in fact, were illegal

  kickbacks for referrals.

         1078. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Bursztyn. Bursztyn was provided with an




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  “investment” interest in All City ASC in exchange for his agreement to steer or refer, or cause to

  be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Bursztyn’s “investment” interest in All City ASC, All

  City ASC issued regular payments to or for the benefit of Bursztyn, which, in fact, were illegal

  kickbacks for referrals.

         1079. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” referral/kickback arrangement with Berkowitz. Berkowitz was provided with an

  “investment” interest in All City ASC in exchange for his agreement to steer or refer, or cause to

  be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Berkowitz’s “investment” interest in All City ASC, All

  City ASC issued regular payments to or for the benefit of Berkowitz, which, in fact, were illegal

  kickbacks for referrals.

         1080. On information and belief, one or more of the Controllers, through All City

  ASC, entered into a sham “investor” referral/kickback arrangement with one or more of the

  John Does 2 through 20, either directly or indirectly through one or more of the ABC

  Corporations 1 through 20. On information and belief, one or more of the John Does 2 through

  20 were provided with direct or indirect “investment” interests in All City ASC through one

  or more of the ABC Corporations 1 through 20 in exchange for their agreement to steer or refer,

  or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for one or more of the John Does 2 through 20’s direct

  or indirect “investment” interests in All City ASC, All City ASC issued regular payments to or

  for the benefit of one or more of the John Does 2 through 20, which, in fact, were illegal

  kickbacks for referrals.




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                 ii. The Sham “Medical Directors” and “Administrators”

         1081. In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Shabtian and one or more of the John Does 2 through 20 to serve as sham

  “medical directors” of All City ASC in contravention of New York law.

         1082. According to records received from All City ASC, Shabtian became All City ASC’s

  “medical director” on or about November 1, 2022. According to the terms of the purported,

  employment agreement, Shabtian was to earn $80,000 per year as All City ASC’s “medical

  director.” On information and belief, Shabtian is All City ASC’s current “medical director.”

         1083. One or more of the Controllers, through All City ASC, entered into sham “investor”

  or employment referral/kickback relationships with Shabtian and/or one or more of the John Does

  2 through 20, who purchased or otherwise acquired shares in All City ASC to make it appear that

  the shares were being purchased as investments and that payments made by All City ASC were

  dividends or other cash distributions for their “investments” (or who otherwise received

  payments disguised as legitimate salary or other compensation) when, in fact, the payments

  were compensation for Shabtian and/or one or more of the John Does 2 through 20’s agreement

  to serve as sham “medical directors” and, in some instances, for steering or referring, or causing

  to be steered or referred, Covered Persons to one or more of the Surgicore ASCs. In fact,

  Shabtian and/or one or more of the John Does 2 through 20 never intended to (and never did fulfill)

  their medical director duties as required by law and the compensation they received was actually

  for permitting one or more of the Controllers to operate the All City ASC without the required

  medical director oversight and/or steering or referring, or causing to be steered or referred, Covered

  Persons to one or more of the Surgicore ASCs.




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         1084. By way of example and not limitation, as alleged herein, Shabtian testified that he

  is only at All City ASC two days per week (Wednesdays and Sundays) where he works all day

  doing injections or procedures (from around seven a.m. to about four or five p.m.). When he is not

  at All City ASC, he is running his anesthesia practice, Total Anesthesia, which has offices in

  Valley Stream, New York and around seven or eight satellite offices and employs another doctor

  and five physician assistants who Shabtian supervises. Shabtian works all day at Total Anesthesia

  on Mondays, Tuesdays and Thursdays, where he sees patients from nine a.m. to five or six p.m.

  and runs the day-to-day operations afterward until eight to ten p.m. He also performs procedures

  at North Queens ASC once per month and works at a plastic surgeon’s office on Fridays from

  around 7 a.m. until the afternoon when he stops working to observe the Sabbath. Shabtian testified

  that he is a one percent owner of All City ASC, has no voting rights, but is required to perform a

  minimum number of services at one or more of the Surgicore ASCs. He further testified that he

  did not know who was on All City ASC’s board of directors (other than Kogan), despite having

  served as its medical director since around 2022 and as one of its owners since 2021. He also did

  not know who owned the Surgicore ASCs (other than Kogan) and did not know any of the other

  owners of All City ASC. He also testified has is not on All City ASC’s board of directors and has

  never gone to any of All City’s voting board sessions or meetings because he is running around

  six days a week and has no time. Shabtian further testified that he received his ownership interest

  in All City ASC when he began bringing cases there and that it is common practice for surgeons

  to be made part-owners when they bring cases to the Surgicore ASCs (and that there is a minimum

  required number of cases before a surgeon can be made a part-owner). Shabtian testified that he

  has been receiving distributions for his ownership interest since 2021 and also receives a salary as

  All City ASC’s “medical director.”




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         1085. In addition to the sham “medical directors,” one or more of the Controllers recruited

  Zybin to serve as sham “administrator” of All City ASC in contravention of New York law.

         1086. At All City ASC’s EUO, Zybin testified that she has “been running All City [ASC]

  for 20 years” and was promoted to “administrator” by Nasser Hassan in or around 2012 of 2013.

  Ms. Zybin testified that she has also been the “administrator” of North Queens ASC since August

  of 2022 and that she was paid through her consulting company, IEE Consulting, Inc. (not named

  as a defendant herein).

         1087. One or more of the Controllers, through All City ASC, entered into a sham

  “investor” or employment referral/kickback relationship with Zybin, who purchased or otherwise

  acquired shares in All City ASC to make it appear that the shares were being purchased as

  investments and payments made by All City ASC were dividends or other cash distributions

  for her “investment” (or who otherwise received payments disguised as legitimate salary or

  other compensation) when, in fact, the payments were compensation for Zybin’s agreement to

  serve as sham “administrator” and, in some instances, for steering or referring, or causing to

  be steered or referred, Covered Persons to one or more of the Surgicore ASCs. In fact, Zybin

  never intended to (and never did fulfill) her administrator duties as required by law and the

  compensation she received (including through one or more of the ABC Corporations 1 through 20

  that she owned and/or controlled) was actually for permitting one or more of the Controllers to

  operate the All City ASC without the required administrator oversight and/or steering or referring,

  or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs.




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         B.      Illegal Operation of Fifth Avenue ASC

                   i.    The Fraudulent “Investor” Referral/Kickback Scheme

         1088. According to NJDOH records, in or around March of 2017, Fifth Avenue ASC

  requested approval from the NYDOH to transfer 60 percent of its ownership interest from nine

  health care professionals to Surgicore 5th Avenue, which NYDOH approved in or around

  December of 2017.

         1089. In or around March of 2017, Fifth Avenue ASC had one clinic located at 1049 Fifth

  Avenue, New York, New York (the Fifth Avenue ASC Manhattan).

         1090. At all relevant times herein, Surgicore 5th Avenue has been owned and controlled

  by the Controllers. In their March 2017 application, Fifth Avenue ASC represented to NYDOH

  that Surgicore 5th Avenue was wholly owned by the Controllers, with each possessing 25 percent

  interest. According to its corporate filings, Surgicore 5th Avenue was organized by the Controllers,

  and Kogan is its president.

         1091. In or around 2019, the Controllers sought out a location to open the Fifth Avenue

  ASC Midtown extension clinic located at E. 47th Street New York, New York.

         1092. Thereafter, in or around July of 2020, Fifth Avenue ASC requested approval to

  certify Fifth Avenue ASC Midtown, which NYDOH approved in or around October of 2020.

         1093. At all relevant times herein, the Controllers have had a controlling ownership

  interest in and/or otherwise controlled Fifth Avenue ASC.

         1094. In their March 2017 application to NYDOH, Fifth Avenue ASC and the Controllers

  reported that, at that time, approximately 5% of Fifth Avenue ASC’s revenues came from workers’

  compensation, private pay and No-fault claims, with the remaining 95 percent coming from

  commercial, Medicare and Medicaid claims.




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         1095. In their March 2017 application to NYDOH, Fifth Avenue ASC and the Controllers

  reported that Fifth Avenue ASC’s revenues were projected to increase by more than 250 percent

  in the year after Surgicore 5th Avenue acquired of 60 percent ownership interest in Fifth Avenue

  ASC.

         1096. On information and belief, Fifth Avenue ASC and the Controllers represented to

  NYDOH that, upon approval of their March 2017 application, Fifth Avenue ASC would

  “implement a policy to reflect its commitment to bring in greater numbers of Medicaid and charity

  care patients.”

         1097. In their March 2017 application, Fifth Avenue ASC and the Controllers falsely

  represented to NYDOH that approximately one-third of its revenues would come from workers’

  compensation, private pay and No-fault claims in the first year following Surgicore 5th Avenue’s

  acquisition of 60 percent ownership interest in Fifth Avenue ASC.

         1098. In their July 2020 application to NYDOH, Fifth Avenue ASC and the Controllers

  falsely represented that it projected utilizing 3 percent Medicaid and 5.1 percent Charity Care by

  year three.

         1099. Fifth Avenue ASC and the Controllers knew that these representations were false

  when they were made, and made the false representations solely for the purpose of inducing

  NYDOH to permit Surgicore 5th Avenue to acquire 60 percent ownership interest in Fifth Avenue

  ASC and/or to permit Fifth Avenue ASC to operate.

         1100. Notwithstanding its disclosures to the NYDOH, since Surgicore 5th Avenue

  acquired 60 percent ownership interest in Fifth Avenue ASC, Fifth Avenue ASC has primarily

  served No-fault patients, and receives a substantial percent of its revenue from No-Fault insurance

  payments. Fifth Avenue ASC routinely gives Covered Persons preferential access to the Fifth




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  Avenue ASC Manhattan, regardless of medical need, in order to maximize profits and because

  catering to No-fault claims is more profitable.

         1101. At all times as alleged herein, the Controllers, Ajoy Sinha, McMahon, Katzman,

  McCulloch, Berkowitz, Amigud and, on information and belief, Yaguda, S. Katanov, J. Katanov

  and one or more of the John Does 2 through 20 (collectively, the “Fifth Avenue ASC Owners”)

  have had direct or indirect ownership interests in Fifth Avenue ASC.

         1102. At all relevant times while they were owners of Fifth Avenue ASC, the Fifth

  Avenue ASC Owners were responsible for the operation and control of Fifth Avenue ASC and its

  compliance with State and Federal laws, as well as its own policies and procedures in making

  employment-related decisions.

         1103. At all relevant times since acquiring 60 percent ownership interest in Fifth Avenue

  ASC through Surgicore 5th Avenue in or around December of 2017, the Controllers have had a

  majority ownership interest in and/or otherwise controlled Fifth Avenue ASC.

         1104. Upon acquiring control of Fifth Avenue ASC, as part of the scheme to defraud and

  in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through Fifth Avenue ASC entered into sham “investor” referral/kickback arrangements with the

  Fifth Avenue ASC Owners who purchased or otherwise acquired shares in Fifth Avenue ASC to

  make it appear that payments made by Fifth Avenue ASC were dividends or other cash

  distributions for their “investments” in Fifth Avenue ASC when, in fact, the payments were

  compensation for illegally and/or unnecessarily steering or referring Covered Persons to one

  or more of the Surgicore ASCs.

         1105. One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the




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  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.

          1106. In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of, Fifth

  Avenue ASC, the Fifth Avenue ASC Owners purchased or otherwise acquired ownership

  interests in Fifth Avenue ASC through companies that they owned and/or controlled, and/or

  their family members or close associates and/or companies that they owned and controlled. The

  Fifth Avenue ASC Owners, either directly or indirectly through their companies, family members

  or close associates, or their family members’ or close associates’ companies, received payments

  from Fifth Avenue ASC that were disguised as dividends or other cash distributions for their

  “investments” in Fifth Avenue ASC, when in fact, the payments were compensation for steering

  or referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

          1107. In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over Fifth Avenue ASC, the Controllers established, owned, maintained a

  financial interest in or otherwise derived financial benefit from a web of associated companies,

  including Surgicore Management NY, which purports to be the “management” company for Fifth

  Avenue ASC, FIWA 1049 Realty, which purports to be the “landlord” of Fifth Avenue ASC

  Manhattan, Midtown 305 Realty, which purports to be the “landlord” of Fifth Avenue ASC

  Midtown, and one or more of the ABC Corporations 1 through 20, that purport to serve as landlord,

  management and/or other financing companies and which purported to enter into lease,

  management services, financing agreements and other contracts with Fifth Avenue ASC, but

  which, in fact, were used to conceal the full extent of the Controllers ownership and control over

  Fifth Avenue ASC, to funnel proceeds from Fifth Avenue ASC back to the Controllers and/or to




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  make payments for steering or referring Covered Persons to one or more of the Surgicore ASCs

  for Fraudulent Services.

          1108. Towards that end, according to the recorded deed, on or about September 26, 2019,

  FIWA 1049 Realty purchased 1049 Fifth Avenue, Suite 1A, New York, New York where all or a

  portion of Fifth Avenue ASC Manhattan is located. At all relevant times herein, FIWA 1049 Realty

  has been owned and/or controlled by one or more of the Controllers. Kogan, acting as managing

  member of FIWA 1049 Realty, signed the deed for 1049 Fifth Avenue, Suite 1A, New York, New

  York.

          1109. According to the recorded deed, on or about September 27, 2019, Midtown 305

  Realty purchased E. 47th Street New York, New York, which ultimately served as the location for

  Fifth Avenue ASC’s extension clinic (hereinafter, “Fifth Avenue ASC Midtown”). On information

  and belief, at all relevant times herein, Degradi Hatami and Kogan have been the sole members of

  Midtown 305 Realty. Hatami, acting as manager/member of Midtown 305 Realty, signed the deed

  for Fifth Avenue ASC Midtown.

          1110. In addition to the Controllers’ ownership interest in Fifth Avenue ASC through

  Surgicore 5th Avenue, Fifth Avenue ASC represented to NYDOH that, at some time after March

  of 2017 and prior to November of 2024, Ajoy Sinha, McMahon, Katzman, McCulloch and Gesheft

  Associates acquired ownership interests in Fifth Avenue ASC.

          1111. According to NYDOH records, Amigud had ownership interests in Fifth Avenue

  ASC since at least March of 2017 through sometime prior to November of 2024.

          1112. In or around November of 2024, Fifth Avenue ASC also represented to NYDOH

  that S. Katanov and Yaguda were proposed owners of Fifth Avenue ASC through SignMe and




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  Mega Group Solution, respectively and, on information and belief, S. Katanov and Yaguda are

  current owners of Fifth Avenue ASC through SignMe and Mega Group Solution, respectively.

         1113. At all relevant times herein, Mega Group Solution has been owned on paper by

  Yaguda. Fifth Avenue ASC represented to NYDOH that Mega Group Solution was owned solely

  by Yaguda. According to its corporate filings, Mega Group Solution was incorporated by Yaguda.

  As alleged herein, according to its corporate filings, Mega Group Solution was incorporated by

  Yaguda.

         1114. At all relevant times herein, Yaguda was the nominal or straw owner of Mega

  Group Solution, which was actually owned and/or controlled by one or more of the John Does 2

  through 20.

         1115. On information and belief, Fifth Avenue ASC did not disclose to its patients that

  one or more of the John Does 2 through 20 had an ownership interest in Fifth Avenue ASC through

  Mega Group Solution, including that they were receiving compensation for steering or referring,

  or causing to be steered or referred, Covered Persons to Fifth Avenue ASC in order to ensure a

  steady stream of patients to Fifth Avenue ASC, irrespective of medical need.

         1116. At all relevant times herein, SignMe has been owned on paper by S. Katanov. Fifth

  Avenue ASC represented to NYDOH that SignMe was owned solely by S. Katanov. According to

  its corporate filings, S. Katanov was the organizer of SignMe and the articles of organization were

  filed by the Akbashev Tax Group at 7009 Austin Street, the same company that filed the articles

  of organization for MK Med Invest and AS Med Invest.

         1117. At all relevant times herein, S. Katanov was a nominal or straw owner of SignMe,

  which was actually owned and/or controlled by J. Katanov and/or one or more of the John Does 2

  through 20 through SignMe.




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         1118. On information and belief, Fifth Avenue ASC did not disclose to its patients that J.

  Katanov and/or one or more of the John Does 2 through 20 had an ownership interest in Fifth

  Avenue ASC, including that they were receiving compensation for steering or referring, or causing

  to be steered or referred, Covered Persons to Fifth Avenue ASC in order to ensure a steady stream

  of patients to Fifth Avenue ASC, irrespective of medical need.

         1119. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with the Controllers through Surgicore 5th Avenue.

  the Controllers were provided with an indirect “investment” interest in Fifth Avenue ASC

  through Surgicore 5th Avenue in exchange for their agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for the Controllers’ indirect “investment” interest in Fifth

  Avenue ASC, Fifth Avenue ASC issued regular payments to or for the benefit of the Controllers,

  which, in fact, were illegal kickbacks for referrals.

         1120. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with Ajoy Sinha. Ajoy Sinha was provided with an

  “investment” interest in Fifth Avenue ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Ajoy Sinha’s “investment” interest in Fifth Avenue

  ASC, Fifth Avenue ASC issued regular payments to or for the benefit of Ajoy Sinha, which, in

  fact, were illegal kickbacks for referrals.

         1121. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with McMahon. McMahon was provided with an

  “investment” interest in Fifth Avenue ASC in exchange for his agreement to steer or refer, or




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  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for McMahon’s “investment” interest in Fifth Avenue

  ASC, Fifth Avenue ASC issued regular payments to or for the benefit of McMahon, which, in

  fact, were illegal kickbacks for referrals.

          1122. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with Katzman. Katzman was provided with an

  indirect “investment” interest in Fifth Avenue ASC in exchange for his agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for Katzman’s “investment” interest in Fifth

  Avenue ASC, Fifth Avenue ASC issued regular payments to or for the benefit of Katzman, which,

  in fact, were illegal kickbacks for referrals.

          1123. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with McCulloch. McCulloch was provided with an

  indirect “investment” interest in Fifth Avenue ASC in exchange for his agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for McCulloch’s “investment” interest in Fifth

  Avenue ASC, Fifth Avenue ASC issued regular payments to or for the benefit of McCulloch,

  which, in fact, were illegal kickbacks for referrals.

          1124. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with Berkowitz through Gesheft Associates.

  Berkowitz was provided with an indirect “investment” interest in Fifth Avenue ASC through

  Gesheft Associates in exchange for his agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and




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  belief, in exchange for Berkowitz’s indirect “investment” interest in Fifth Avenue ASC, Fifth

  Avenue ASC issued regular payments to or for the benefit of Berkowitz, which, in fact, were

  illegal kickbacks for referrals.

          1125. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with Amigud. Amigud was provided with an

  “investment” interest in Fifth Avenue ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Amigud’s “investment” interest in Fifth Avenue ASC,

  Fifth Avenue ASC issued regular payments to or for the benefit of Amigud, which, in fact, were

  illegal kickbacks for referrals.

          1126. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with Yaguda and/or one or more of the John Does 2

  through 20, through Mega Group Solution. Yaguda and/or one or more of the John Does 2

  through 20 was provided with an indirect “investment” interest in Fifth Avenue ASC through

  Mega Group Solution in exchange for their agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for the Controllers’ indirect “investment” interest in Fifth Avenue ASC, Fifth

  Avenue ASC issued regular payments to or for the benefit of Yaguda and/or one or more of the

  John Does 2 through 20, which, in fact, were illegal kickbacks for referrals.

          1127. One or more of the Controllers, through Fifth Avenue ASC, entered into a sham

  “investor” referral/kickback arrangement with S. Katanov and/or J. Katanov through SignMe.

  S. Katanov and/or J. Katanov was provided with an indirect “investment” interest in Fifth

  Avenue ASC through SignMe in exchange for their agreement to steer or refer, or cause to be




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  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for S. Katanov and/or J. Katanov’s indirect “investment”

  interest in Fifth Avenue ASC, Fifth Avenue ASC issued regular payments to or for the benefit of

  S. Katanov and/or J. Katanov, which, in fact, were illegal kickbacks for referrals.

          1128. On information and belief, one or more of the Controllers, through Fifth Avenue

  ASC, entered into a sham “investor” referral/kickback arrangement with one or more of the

  John Does 2 through 20, either directly or indirectly through one or more of the ABC

  Corporations 1 through 20. On information and belief, one or more of the John Does 2 through

  20 were provided with direct or indirect “investment” interests in Fifth Avenue ASC through

  one or more of the ABC Corporations 1 through 20 in exchange for their agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for one or more of the John Does 2 through 20’s

  direct or indirect “investment” interest in Fifth Avenue ASC, Fifth Avenue ASC issued regular

  payments to or for the benefit of one or more of the John Does 2 through 20, which, in fact, were

  illegal kickbacks for referrals.

                    ii.   The Sham “Medical Directors” and “Administrators”

          1129. In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited one or more of the John Does 2 through 20 to serve as sham “medical

  directors” of Fifth Avenue ASC Manhattan in contravention of New York law.

          1130. One or more of the Controllers, through Fifth Avenue ASC, entered into sham

  “investor” or employment referral/kickback relationships with one or more of the John Does 2

  through 20, who purchased or otherwise acquired shares in Fifth Avenue ASC to make it appear

  that the shares were being purchased as investments and that payments made by Fifth Avenue




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  ASC were dividends or other cash distributions for their “investments” (or who otherwise

  received payments disguised as legitimate salary or other compensation) when, in fact, the

  payments were compensation for one or more of the John Does 2 through 20’s agreement to serve

  as sham “medical directors” and, in some instances, for steering or referring, or causing to be

  steered or referred, Covered Persons to one or more of the Surgicore ASCs. In fact, one or more

  of the John Does 2 through 20 never intended to (and never did fulfill) their medical director duties

  as required by law and the compensation they received was actually for permitting one or more of

  the Controllers to operate the Fifth Avenue ASC Manhattan without the required medical director

  oversight and/or steering or referring, or causing to be steered or referred, Covered Persons to one

  or more of the Surgicore ASCs.

         1131. On information and belief, one or more of the Controllers recruited Springer and/or

  one or more of the John Does 2 through 20 to serve as sham “medical directors” of Fifth Avenue

  ASC Midtown in contravention of New York law.

         1132. One or more of the Controllers, through Fifth Avenue ASC, entered into sham

  “investor” or employment referral/kickback relationships with Springer and/or one or more of the

  John Does 2 through 20, who purchased or otherwise acquired shares in Fifth Avenue ASC to

  make it appear that the shares were being purchased as investments and that payments made

  by Fifth Avenue ASC were dividends or other cash distributions for their “investments” (or

  who otherwise received payments disguised as legitimate salary or other compensation) when,

  in fact, the payments were compensation for Springer and/or one or more of the John Does 2

  through 20’s agreement to serve as sham “medical directors” and, in some instances, for steering

  or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs. In fact, Springer and/or one or more of the John Does 2 through 20 never




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  intended to (and never did fulfill) their medical director duties as required by law and the

  compensation they received was actually for permitting one or more of the Controllers to operate

  the Fifth Avenue ASC Midtown without the required medical director oversight and/or steering or

  referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

  ASCs.

          1133. In addition to the sham “medical directors,” one or more of the Controllers recruited

  one or more of the John Does 2 through 20 to serve as sham “administrators” of Fifth Avenue ASC

  Manhattan and Fifth Avenue ASC Midtown in contravention of New York law.

          1134. On information and belief, one or more of the Controllers, through Fifth Avenue

  ASC, entered into sham “investor” or employment referral/kickback relationships with one or

  more of the John Does 2 through 20, who purchased or otherwise acquired shares in Fifth Avenue

  ASC to make it appear that the shares were being purchased as investments and that payments

  made by Fifth Avenue ASC were dividends or other cash distributions for his “investment” (or

  who otherwise received payments disguised as legitimate salary or other compensation) when,

  in fact, the payments were compensation for one or more of the John Does 2 through 20’s

  agreement to serve as sham “administrator” and, in some instances, for steering or referring, or

  causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs. In

  fact, one or more of the John Does 2 through 20 never intended to (and never did fulfill) their

  administrator duties as required by law and the compensation they received was actually for

  permitting one or more of the Controllers to operate the Fifth Avenue ASC Manhattan without the

  required administrator oversight and/or steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs.




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         1135. On information and belief, one or more of the Controllers, through Fifth Avenue

  ASC, entered into sham “investor” or employment referral/kickback relationships with one or

  more of the John Does 2 through 20, who purchased or otherwise acquired shares in Fifth Avenue

  ASC to make it appear that the shares were being purchased as investments and that payments

  made by Fifth Avenue ASC were dividends or other cash distributions for his “investment” (or

  who otherwise received payments disguised as legitimate salary or other compensation) when,

  in fact, the payments were compensation for one or more of the John Does 2 through 20’s

  agreement to serve as sham “administrator” and, in some instances, for steering or referring, or

  causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs. In

  fact, one or more of the John Does 2 through 20 never intended to (and never did fulfill) their

  administrator duties as required by law and the compensation they received was actually for

  permitting one or more of the Controllers to operate the Fifth Avenue ASC Midtown without the

  required administrator oversight and/or steering or referring, or causing to be steered or referred,

  Covered Persons to one or more of the Surgicore ASCs.

         C.      Illegal Operation of Empire State ASC

                   i.    The Fraudulent “Investor” Referral/Kickback Scheme

         1136. According to NJDOH records, in or around January of 2019, Empire State ASC

  requested approval to transfer 70 percent of its ownership interest from various HCPs to Surgicore

  5th Avenue, which NYDOH approved in or around November of 2019.

         1137. According to historic archives for Empire State ASC’s website, despite having

  acquiring their ownership interests in or around November of 2019 through Surgicore 5th Avenue,

  neither the Controllers nor Surgicore 5th Avenue were listed as owners of Empire State ASC on

  the ownership disclosure posted on its website until sometime after October of 2021.




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         1138. On information and belief, Empire State ASC did not disclose to its patients that

  the Controllers or Surgicore 5th Avenue had an ownership interest in Empire State ASC until

  sometimes after October of 2021.

         1139. In their January 2019 application to NYDOH, Empire State ASC represented to

  NYDOH that, upon NYDOH’s approval, the managers of Empire State ASC would include the

  Controllers and three other individuals.

         1140. In their January 2019 application to NYDOH, Empire State ASC and the

  Controllers falsely represented that Empire State’s revenues were projected to increase by more

  than 135 percent in the year after Surgicore 5th Avenue acquired 70 percent ownership interest in

  Empire State ASC, with more than $4 million (or over 40 percent) of its revenues coming from

  commercial, Medicare and Medicaid claims.

         1141. Empire State ASC and the Controllers knew that these representations were false

  when they were made, and made the false representations solely for the purpose of inducing

  NYDOH to permit Surgicore 5th Avenue to acquire 60 percent ownership interest in Empire State

  ASC and/or to permit Empire State ASC to operate.

         1142. In reliance on the misrepresentations by Empire State ASC and the Controllers, the

  NYDOH permitted Surgicore 5th Avenue to acquire 60 percent ownership interest in Empire State

  ASC and permitted Empire State ASC to operate.

         1143. Instead, since Surgicore 5th Avenue acquired 70 percent ownership interest in

  Empire State ASC, Empire State ASC has primarily served No-fault patients, and receives a

  substantial percent of its revenues through PIP Benefits. Empire State ASC routinely gives

  Covered Persons preferential access to their clinic location, regardless of medical need, in order to

  maximize profits and because catering to No-fault claims is more profitable.




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          1144. At all times as alleged herein, the Controllers, Aljian, Khakhar, Dassa, Grazioso

  and Hostin, Yaguda, Blumberg, Rubin, Klein, S. Passanisi, Hoyle, one or more of the Health Plus

  Defendants and one or more of the John Does 2 through 20 (collectively, the “Empire State ASC

  Owners”) have had direct or indirect ownership interests in Empire State ASC.

          1145. On information and belief, at all relevant times while they were owners of Empire

  State ASC, the Empire State ASC Owners were responsible for the operation and control of Empire

  State ASC and its compliance with State and Federal laws, as well as its own policies and

  procedures in making employment-related decisions.

          1146. At all relevant times since acquiring 70 percent ownership interest in Empire State

  ASC in or around November of 2019, the Controllers have had a majority ownership interest in

  and/or otherwise controlled Empire State ASC.

          1147. Upon acquiring control of Empire State ASC, as part of the scheme to defraud and

  in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through Empire State ASC entered into sham “investor” referral/kickback arrangements with the

  Empire State ASC Owners who purchased or otherwise acquired shares in Empire State ASC to

  make it appear that payments made by Empire State ASC were dividends or other cash

  distributions for their “investments” in Empire State ASC when, in fact, the payments were

  compensation for illegally and/or unnecessarily steering or referring Covered Persons to one

  or more of the Surgicore ASCs.

          1148. One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.




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         1149. In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of, Empire

  State ASC, the Empire State ASC Owners purchased or otherwise acquired ownership interests

  in Empire State ASC through companies that they owned and/or controlled, and/or their family

  members or close associates and/or companies that they owned and controlled. The Empire State

  ASC Owners, either directly or indirectly through their companies, family members or close

  associates, or their family members’ or close associates’ companies, received payments from

  Empire State ASC that were disguised as dividends or other cash distributions for their

  “investments” in Empire State ASC, when in fact, the payments were compensation for steering

  or referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

         1150. In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over Empire State ASC, the Controllers established, owned, maintained a

  financial interest in or otherwise derived financial benefit from a web of associated companies,

  including Surgicore Management NY, which purports to be the “management” company for

  Empire State ASC and one or more of the ABC Corporations 1 through 20, that purport to serve

  as landlord, management and/or other financing companies and which purported to enter into lease,

  management services, financing agreements and other contracts with Empire State ASC, but

  which, in fact, were used to conceal the full extent of the Controllers ownership and control over

  Empire State ASC, to funnel proceeds from Empire State ASC back to the Controllers and/or to

  make payments for steering or referring Covered Persons to one or more of the Surgicore ASCs

  for Fraudulent Services.

         1151. Towards that end, In their January 2019 application to NYDOH, Empire State ASC

  and the Controllers reported that Empire State ASC would enter into an ASA with Surgicore




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  Management NY upon NYDOH’s approval of the application, under which Surgicore

  Management NY would receive an annual fee of $300,000 (or $25,000 per month).

         1152. The proposed ASA further provided that Empire State ASC “retains ultimate

  authority, responsibility, and control in all final decisions associated with the services and

  acknowledges the reserve powers that must not be delegated.”

         1153. Empire State ASC and/or the Controllers also submitted an executed attestation to

  NYDOH “acknowledging understanding of the reserve powers that cannot be delegated, and that

  they w[ould] not willingly engage in any such illegal delegations of authority.”

         1154. In addition to the Controllers ownership interests through Surgicore 5th Avenue,

  according to historic archives for Empire State ASC’s website, Aljian, Khakhar, Dassa, Grazioso

  and Hostin have had ownership interests in Empire State ASC since at least 2016.

         1155. According to NYDOH records, Mega Group Solution has had ownership interests

  in Empire State ASC since 2022.

         1156. At all relevant times herein, Mega Group Solution has been owned on paper by

  Yaguda. At all relevant times herein, Yaguda was the nominal or straw owner of Mega Group

  Solution, which was actually owned and/or controlled by one or more of the John Does 2 through

  20.

         1157. Though she has apparently been an owner of Empire State ASC, through Mega

  Group Solution, since 2022, neither Yaguda, nor any of her known companies including Mega

  Group Solution, are listed as owners on Empire State ASC’s ownership disclosure on its website.

         1158. On information and belief, Empire State ASC did not disclose to its patients that

  Yaguda or any companies that she owns had an ownership in Empire State ASC.




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          1159. According to historic archives of Empire State’s website, Blumberg, Rubin, Klein

  S. Passanisi and AEH Healthcare Management have had ownership interests in Empire State ASC

  since at least 2023.

          1160. On information and belief, Blumberg, Rubin, Klein and S. Passanisi were nominal

  or straw owners for one or more of the Health Plus Defendants, who were the actual owners of

  Blumberg, Rubin, Klein and S. Passanisi’s ownership interests in Empire State ASC.

          1161. As alleged herein, at all relevant times herein, AEH Healthcare Management has

  been owned and controlled by Hoyle.

          1162. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with the Controllers through Surgicore 5th Avenue.

  The Controllers were provided with an indirect “investment” interest in Empire State ASC

  through Surgicore 5th Avenue in exchange for their agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for the Controllers’ indirect “investment” interest in Empire

  State ASC, Empire State ASC issued regular payments to or for the benefit of the Controllers,

  which, in fact, were illegal kickbacks for referrals.

          1163. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with Aljian. Aljian was provided with an

  “investment” interest in Empire State ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Aljian’s “investment” interest in Empire State ASC,

  Empire State ASC issued regular payments to or for the benefit of Aljian, which, in fact, were

  illegal kickbacks for referrals.




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          1164. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with Khakhar. Khakhar was provided with an

  “investment” interest in Empire State ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Khakhar’s “investment” interest in Empire State ASC,

  Empire State ASC issued regular payments to or for the benefit of Khakhar, which, in fact, were

  illegal kickbacks for referrals.

          1165. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with Dassa. Dassa was provided with an

  “investment” interest in Empire State ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Dassa’s “investment” interest in Empire State ASC,

  Empire State ASC issued regular payments to or for the benefit of Dassa, which, in fact, were

  illegal kickbacks for referrals.

          1166. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with Graziosa. Graziosa was provided with an

  “investment” interest in Empire State ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Graziosa’s “investment” interest in Empire State ASC,

  Empire State ASC issued regular payments to or for the benefit of Graziosa, which, in fact, were

  illegal kickbacks for referrals.

          1167. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with Hostin. Hostin was provided with an




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  “investment” interest in Empire State ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Hostin’s “investment” interest in Empire State ASC,

  Empire State ASC issued regular payments to or for the benefit of Hostin, which, in fact, were

  illegal kickbacks for referrals.

          1168. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with Yaguda and/or one or more of the John Does 2

  through 20, through Mega Group Solution. Yaguda and/or one or more of the John Does 2

  through 20 was provided with an indirect “investment” interest in Empire State ASC through

  Mega Group Solution in exchange for their agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Yaguda’s indirect “investment” interest in Empire State ASC, Empire State

  ASC issued regular payments to or for the benefit of Yaguda and/or one or more of the John

  Does 2 through 20, which, in fact, were illegal kickbacks for referrals.

          1169. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the Health Plus Defendants

  through Blumberg, Rubin, Klein and/or S. Passanisi. One or more of the Health Plus Defendants

  were provided with an indirect “investment” interest in Empire State ASC through Blumberg,

  Rubin, Klein and/or S. Passanisi, in exchange for their agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for one or more of the Health Plus Defendants’ indirect

  “investment” interest in Empire State ASC, Empire State ASC issued regular payments to or for




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  the benefit of one or more of the Health Plus Defendants, which, in fact, were illegal kickbacks

  for referrals.

          1170. One or more of the Controllers, through Empire State ASC, entered into a sham

  “investor” referral/kickback arrangement with Hoyle through AEH Healthcare Management.

  Hoyle was provided with an indirect “investment” interest in Empire State ASC through AEH

  Healthcare Management in exchange for her agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Hoyle’s indirect “investment” interest in Empire State ASC, Empire State

  ASC issued regular payments to or for the benefit of Hoyle, which, in fact, were illegal kickbacks

  for referrals.

          1171. On information and belief, one or more of the Controllers, through Empire State

  ASC, entered into a sham “investor” referral/kickback arrangement with one or more of the

  John Does 2 through 20, either directly or indirectly through one or more of the ABC

  Corporations 1 through 20. On information and belief, one or more of the John Does 2 through

  20 were provided with direct or indirect “investment” interests in Empire State ASC through

  one or more of the ABC Corporations 1 through 20 in exchange for their agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for one or more of the John Does 2 through 20’s

  direct or indirect “investment” interest in Empire State ASC, Empire State ASC issued regular

  payments to or for the benefit of one or more of the John Does 2 through 20, which, in fact, were

  illegal kickbacks for referrals.




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                   ii.   The Sham “Medical Directors” and “Administrators”

         1172. In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Aljian and one or more of the John Does 2 through 20 to serve as sham

  “medical directors” of Empire State ASC in contravention of New York law.

         1173. According to NJDOH records, Aljian has been Empire State’s “medical director”

  since in or around 2019.

         1174. One or more of the Controllers, through Empire State ASC, entered into sham

  “investor” or employment referral/kickback relationships with Aljian and/or one or more of the

  John Does 2 through 20, who purchased or otherwise acquired shares in Empire State ASC to

  make it appear that the shares were being purchased as investments and that payments made

  by Empire State ASC were dividends or other cash distributions for their “investments” (or

  who otherwise received payments disguised as legitimate salary or other compensation) when,

  in fact, the payments were compensation for Aljian and/or one or more of the John Does 2

  through 20’s agreement to serve as sham “medical directors” and, in some instances, for steering

  or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs. In fact, Aljian and/or one or more of the John Does 2 through 20 never intended

  to (and never did fulfill) their medical director duties as required by law and the compensation

  they received was actually for permitting one or more of the Controllers to operate the Empire

  State ASC without the required medical director oversight and/or steering or referring, or causing

  to be steered or referred, Covered Persons to one or more of the Surgicore ASCs.

         1175. In addition to the sham “medical directors,” one or more of the Controllers recruited

  Lopez to serve as sham “administrator” of Empire State ASC in contravention of New York law.




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         1176. According to NYDOH records, Lopez was also Empire State ASC’s

  “administrator” in 2019.

         1177. One or more of the Controllers, through Empire State ASC, entered into sham

  “investor” or employment referral/kickback relationships with Lopez and/or one or more of the

  John Does 2 through 20, who purchased or otherwise acquired shares in Empire State ASC to

  make it appear that the shares were being purchased as investments and that payments made

  by Empire State ASC were dividends or other cash distributions for his “investment” (or who

  otherwise received payments disguised as legitimate salary or other compensation) when, in

  fact, the payments were compensation for Lopez and/or one or more of the John Does 2 through

  20’s agreement to serve as sham “administrators” and, in some instances, for steering or

  referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

  ASCs. In fact, Lopez and/or one or more of the John Does 2 through 20 never intended to (and

  never did fulfill) their administrator duties as required by law and the compensation they received

  was actually for permitting one or more of the Controllers to operate the Empire State ASC without

  the required administrator oversight and/or steering or referring, or causing to be steered or

  referred, Covered Persons to one or more of the Surgicore ASCs.

         D.      Illegal Operation of North Queens ASC

                   i.   The Fraudulent “Investor” Referral/Kickback Scheme

         1178. According to NYDOH records, in or around January of 2019, North Queens ASC

  requested approval to transfer 75 percent of its ownership interest from various HCPs and other

  individuals to Surgicore 5th Avenue, which NYDOH approved in or around November of 2019.




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         1179. In their January 2019 application to NYDOH, North Queens ASC and the

  Controllers represented that, upon NYDOH’s approval, the managers of Empire State ASC would

  include the Controllers and three other individuals.

         1180. In their January 2019 application to NYDOH, North Queens ASC and the

  Controllers represented that North Queen’s revenues were projected to increase by more than 120

  percent in the year after Surgicore 5th Avenue acquired of 75 percent ownership interest in North

  Queens ASC.

         1181. In their January 2019 application to NYDOH, North Queens ASC and the

  Controllers represented that North Queen ASC’s more than $4.2 million (or over 40 percent) of its

  revenues would come from commercial, Medicare and Medicaid claims in the year after Surgicore

  5th Avenue acquired of 75 percent ownership interest in North Queens ASC.

         1182. North Queens ASC and the Controllers knew that these representations were false

  when they were made, and made the false representations solely for the purpose of inducing

  NYDOH to permit Surgicore 5th Avenue to acquire 75 percent ownership interest in North Queens

  ASC and/or to permit North Queens ASC to operate.

         1183. In reliance on the misrepresentations by North Queens ASC and the Controllers,

  the NYDOH permitted Surgicore 5th Avenue to acquire 75 percent ownership interest in North

  Queens ASC and permitted North Queens ASC to operate.

         1184. Instead, since Surgicore 5th Avenue acquired 75 percent ownership interest in

  North Queens ASC, North Queens ASC has primarily served No-fault patients, and receives a

  substantial percent of its revenues through PIP Benefits. North Queens ASC routinely gives

  Covered Persons preferential access to their clinic location, regardless of medical need, in order to

  maximize profits and because catering to No-fault claims is more profitable.




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         1185. In their subsequent application to NYDOH for an indefinite life operating

  certificate in or around March of 2020, North Queens ASC and the Controllers represented that

  North Queen ASC’s revenues were projected to increase by more than 165 percent in the year after

  North Queens ASC acquired an indefinite life operating certificate, with an increase from 13.6

  percent to 55.3 percent in revenue from workers’ compensation, self-pay and No-fault claims.

         1186. In their March 2020 application to NYDOH, North Queens ASC and the

  Controllers represented that North Queen’s projected increased revenues were “a result of the

  affiliation with Surgicore 5th Avenue” and that “[a]dditional cases projected as a result of

  affiliation with Surgicore 5th Avenue w[ould] put [North Queens ASC] in a stronger financial

  position.”

         1187. At all times as alleged herein, the Controllers, Blumberg, Rubin, Klein, S. Passanisi,

  Hoyle, Arredondo-Calle, Chan, Yaguda, Khakhar, one or more of the Health Plus Defendants and

  one or more of the John Does 2 through 20 (collectively, the “North Queens ASC Owners”) have

  had direct or indirect ownership interests in North Queens ASC.

         1188. On information and belief, at all relevant times while they were owners of North

  Queens ASC, the North Queens ASC Owners were responsible for the operation and control of

  North Queens ASC and its compliance with State and Federal laws, as well as its own policies and

  procedures in making employment-related decisions.

         1189. At all relevant times since acquiring 75 percent ownership interest in North Queens

  ASC in or around November of 2019, the Controllers have had a majority ownership interest in

  and/or otherwise controlled North Queens ASC.

         1190. Upon acquiring control of North Queens ASC, as part of the scheme to defraud and

  in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,




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  through North Queens ASC entered into sham “investor” referral/kickback arrangements with the

  North Queens ASC Owners who purchased or otherwise acquired shares in North Queens ASC to

  make it appear that payments made by North Queens ASC were dividends or other cash

  distributions for their “investments” in North Queens ASC when, in fact, the payments were

  compensation for illegally and/or unnecessarily steering or referring Covered Persons to one

  or more of the Surgicore ASCs.

          1191. One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.

          1192. In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of, North

  Queens ASC, the North Queens ASC Owners purchased or otherwise acquired ownership

  interests in North Queens ASC through companies that they owned and/or controlled, and/or

  their family members or close associates and/or companies that they owned and controlled. The

  North Queens ASC Owners, either directly or indirectly through their companies, family members

  or close associates, or their family members’ or close associates’ companies, received payments

  from North Queens ASC that were disguised as dividends or other cash distributions for their

  “investments” in North Queens ASC, when in fact, the payments were compensation for steering

  or referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

          1193. In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over North Queens ASC, the Controllers established, owned, maintained a

  financial interest in or otherwise derived financial benefit from a web of associated companies,




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  including Surgicore Management NY, which purports to be the “management” company for North

  Queens ASC and one or more of the ABC Corporations 1 through 20, that purport to serve as

  landlord, management and/or other financing companies and which purported to enter into lease,

  management services, financing agreements and other contracts with North Queens ASC, but

  which, in fact, were used to conceal the full extent of the Controllers ownership and control over

  North Queens ASC, to funnel proceeds from North Queens ASC back to the Controllers and/or to

  make payments for steering or referring Covered Persons to one or more of the Surgicore ASCs

  for Fraudulent Services.

         1194. In that regard, in their January 2019 application to NYDOH, North Queens ASC

  and the Controllers reported that North Queens ASC would enter into an ASA with Surgicore

  Management NY upon NYDOH’s approval of the application, under which Surgicore

  Management NY would receive an annual fee of $450,000 (or $37,500 per month).

         1195. On information and belief, the proposed ASA further provided that North Queens

  ASC “retains ultimate authority, responsibility, and control in all final decisions associated with

  the services including authority over the appointment/dismissal of management level employees,

  the right to approve operating/capital budgets, control over books/records and possession of all

  medical records and facility databases.”

         1196. North Queens ASC and/or the Controllers also submitted an executed attestation to

  NYDOH “acknowledging understanding of the reserve powers that cannot be delegated, and that

  they w[ould] not willingly engage in any such illegal delegations of authority,” in accordance with

  NYDOH’s policy effective December 13, 2016.




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         1197. In addition to the Controllers’ ownership interest in North Queens ASC through

  Surgicore 5th Avenue, Fifth Avenue ASC represented to NYDOH that Yaguda has also had an

  indirect ownership interest in North Queens ASC since 2022.

         1198. At all relevant times herein, Yaguda was the nominal or straw owner of one or more

  of the ABC Corporations 1 through 20, which were actually owned and/or controlled by one or

  more of the John Does 2 through 20.

         1199. Though she has apparently been an owner of North Queens ASC since 2022, neither

  Yaguda, nor any of her known companies, are listed as an owner on North Queens ASC’s

  ownership disclosure on its website.

         1200. On information and belief, North Queens ASC did not disclose to its patients that

  Yaguda or any companies that she owns had an ownership in North Queens ASC.

         1201. According to the ownership disclosure on the Surgicore ASC’s website for North

  Queens ASC, Blumberg, Rubin, Klein, S. Passanisi, AEH Healthcare Management, Arredondo-

  Calle, Chan and Khakhar also have ownership interests in North Queens ASC, which, according

  to NYDOH records, they acquired sometime after January of 2019.

         1202. Blumberg, Rubin, Klein and S. Passanisi were nominal or straw owners for one or

  more of the Health Plus Defendants, who were the actual owners of Blumberg, Rubin, Klein and

  S. Passanisi’s ownership interests in North Queens ASC.

         1203. As alleged herein, at all relevant times herein, AEH Healthcare Management has

  been owned and controlled by Hoyle.

         1204. According to public records, Arredondo-Calle is the president and CEO of YJH

  Marketing Consultants, LLC and the founder of MedLegal Hq (not named as defendants herein).

  According to public records, YJH Marketing Consultants, LLC is a consulting company that




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  advertises itself as a “referral service and lead generation for physicians and law firms.” According

  to its website, MedLegal Hq advertises itself as a consulting firm and “one-stop-shop for all legal

  and medical resources,” with a network of personal injury attorneys and car accident doctors.

  MedLegal Hq’s website also advertises “courtesy medical transportation” to patients’ medical

  appointments. In, 2019, Arredondo-Calle was charged with second-degree theft by unlawful taking

  by the Essex County prosecutor’s office in New Jersey for stealing more than $75,000 from the

  Nutley Volunteer Emergency and Rescue Squad, of which he was the president, from May 1, 2019,

  to August 31, 2020. See New Jersey v. Arredondo-Calle, Jonathan, Indictment No. 21-05-00698-

  I (N.J. Super. Ct. Essex Cty. Dec. 5, 2022). Arredondo-Calle was indicted by a grand jury on May

  6, 2021 and pled guilty on July 11, 2022. On December 5, 2022, he was sentenced to probation for

  four years.

         1205. One or more of the Controllers, through North Queens ASC, entered into a sham

  “investor” referral/kickback arrangement with the Controllers through Surgicore 5th Avenue.

  The Controllers were provided with an indirect “investment” interest in North Queens ASC

  through Surgicore 5th Avenue in exchange for their agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for the Controllers’ indirect “investment” interest in North

  Queens ASC, North Queens ASC issued regular payments to or for the benefit of the Controllers,

  which, in fact, were illegal kickbacks for referrals.

         1206. One or more of the Controllers, through North Queens ASC, entered into a sham

  “investor” referral/kickback arrangement with one or more of the Health Plus Defendants

  through Blumberg, Rubin, Klein and S. Passanisi. One or more of the Health Plus Defendants

  were provided with an indirect “investment” interest in North Queens ASC through Blumberg,




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  Rubin, Klein and S. Passanisi, in exchange for their agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for one or more of the Health Plus Defendants’ indirect

  “investment” interest in North Queens ASC, North Queens ASC issued regular payments to or

  for the benefit of the Health Plus Defendants, which, in fact, were illegal kickbacks for referrals.

         1207. One or more of the Controllers, through North Queens ASC, entered into a sham

  “investor” referral/kickback arrangement with Hoyle through AEH Healthcare Management.

  Hoyle was provided with an indirect “investment” interest in North Queens ASC through AEH

  Healthcare Management in exchange for her agreement to steer or refer, or cause to be steered or

  referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Hoyle’s indirect “investment” interest in North Queens ASC, North

  Queens ASC issued regular payments to or for the benefit of Hoyle, which, in fact, were illegal

  kickbacks for referrals.

         1208. One or more of the Controllers, through North Queens ASC, entered into a sham

  “investor” referral/kickback arrangement with Arredondo-Calle. Arredondo-Calle was

  provided with an “investment” interest in North Queens ASC in exchange for his agreement to

  steer or refer, or cause to be steered or referred, a steady stream of patients to one or more of the

  Surgicore ASCs. On information and belief, in exchange for Arredondo-Calle’s “investment”

  interest in North Queens ASC, North Queens ASC issued regular payments to or for the benefit

  of Arredondo-Calle, which, in fact, were illegal kickbacks for referrals.

         1209. One or more of the Controllers, through North Queens ASC, entered into a sham

  “investor” referral/kickback arrangement with Chan. Chan was provided with an “investment”

  interest in North Queens ASC in exchange for his agreement to steer or refer, or cause to be




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  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for Chan’s “investment” interest in North Queens ASC, North

  Queens ASC issued regular payments to or for the benefit of Chan, which, in fact, were illegal

  kickbacks for referrals.

         1210. One or more of the Controllers, through North Queens ASC, entered into a sham

  “investor” referral/kickback arrangement with Khakhar. Khakhar was provided with an

  “investment” interest in North Queens ASC in exchange for his agreement to steer or refer, or

  cause to be steered or referred, a steady stream of patients to one or more of the Surgicore ASCs.

  On information and belief, in exchange for Khakhar’s “investment” interest in North Queens

  ASC, North Queens ASC issued regular payments to or for the benefit of Khakhar, which, in fact,

  were illegal kickbacks for referrals.

         1211. One or more of the Controllers, through North Queens ASC, entered into a sham

  “investor” referral/kickback arrangement with Yaguda and/or one or more of the John Does 2

  through 20, through one or more of the ABC Corporations 1 through 20. Yaguda and/or one

  or more of the John Does 2 through 20 was provided with an indirect “investment” interest in

  North Queens ASC through one or more of the ABC Corporations 1 through 20 in exchange

  for their agreement to steer or refer, or cause to be steered or referred, a steady stream of patients

  to one or more of the Surgicore ASCs. On information and belief, in exchange for Yaguda and/or

  one or more of the John Does 2 through 20’s “investment” interest in North Queens ASC, North

  Queens ASC issued regular payments to or for the benefit of Yaguda and/or one or more of the

  John Does 2 through 20, which, in fact, were illegal kickbacks for referrals.

         1212. On information and belief, one or more of the Controllers, through North

  Queens ASC, entered into a sham “investor” referral/kickback arrangement with one or more




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  of the John Does 2 through 20, either directly or indirectly through one or more of the ABC

  Corporations 1 through 20. On information and belief, one or more of the John Does 2 through

  20 were provided with direct or indirect “investment” interests in North Queens ASC through

  one or more of the ABC Corporations 1 through 20 in exchange for their agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for one or more of the John Does 2 through 20’s

  direct or indirect “investment” interest in North Queens ASC, North Queens ASC issued regular

  payments to or for the benefit of one or more of the John Does 2 through 20, which, in fact, were

  illegal kickbacks for referrals.

                    ii.   The Sham “Medical Directors” and “Administrators”

          1213. In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Menger, Chan and one or more of the John Does 2 through 20 to serve as

  sham “medical directors” of North Queens ASC in contravention of New Jersey law.

          1214. According to public records, Menger is North Queens ASC’s current “medical

  director.” According to NYDOH records, Chan was North Queens ASC’s “medical director” in or

  around 2019 and 2020.

          1215. One or more of the Controllers, through North Queens ASC, entered into sham

  “investor” or employment referral/kickback relationships with Menger, Chan and/or one or more

  of the John Does 2 through 20, who purchased or otherwise acquired shares in North Queens ASC

  to make it appear that the shares were being purchased as investments and that payments made

  by North Queens ASC were dividends or other cash distributions for their “investments” (or

  who otherwise received payments disguised as legitimate salary or other compensation) when,

  in fact, the payments were compensation for Menger, Chan and/or one or more of the John Does




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  2 through 20’s agreement to serve as sham “medical directors” and, in some instances, for

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of

  the Surgicore ASCs. In fact, Menger, Chan and/or one or more of the John Does 2 through 20

  never intended to (and never did fulfill) their medical director duties as required by law and the

  compensation they received was actually for permitting one or more of the Controllers to operate

  the North Queens ASC without the required medical director oversight and/or steering or referring,

  or causing to be steered or referred, Covered Persons to one or more of the Surgicore ASCs.

         1216. In addition to the sham “medical directors,” one or more of the Controllers recruited

  Zybin, Spina and Santora and one or more John Does 2 through 20 to serve as sham

  “administrators” of North Queens ASC in contravention of New Jersey law.

         1217. As alleged herein, Zybin testified that she became North Queens ASC’s

  “administrator” in or around August of 2022. According to her testimony at All City ASC’s EUO,

  she was paid through her consulting company, IEE Consulting, Inc. (not named as a defendant

  herein). According to public records, Santora was North Queens ASC’s “administrator” between

  November of 2019 and October of 2021, and Spina was North Queens ASC’s “administrator”

  before Zybin.

         1218. One or more of the Controllers, through North Queens ASC, entered into sham

  “investor” or employment referral/kickback relationships with Zybin, Spina, Santora and/or one

  or more John Does 2 through 20, who purchased or otherwise acquired shares in North Queens

  ASC to make it appear that the shares were being purchased as investments and that payments

  made by North Queens ASC were dividends or other cash distributions for his “investment” (or

  who otherwise received payments disguised as legitimate salary or other compensation) when,

  in fact, the payments were compensation for Zybin, Spina, Santora and/or one or more John Does




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  2 through 20’s agreement to serve as sham “administrators” and, in some instances, for steering

  or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs. In fact, Zybin, Spina, Santora and/or one or more John Does 2 through 20 never

  intended to (and never did fulfill) their administrator duties as required by law and the

  compensation they received (including through one or more of the ABC Corporations 1 through

  20 that they owned and/or controlled) was actually for permitting one or more of the Controllers

  to operate the North Queens ASC without the required administrator oversight and/or steering or

  referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

  ASCs.

          E.     Illegal Operation of Rockaways ASC

                   i.    The Fraudulent “Investor” Referral/Kickback Scheme

          1219. On information and belief, in or around 2021 or 2022, the Controllers acquired

  control of Rockaways ASC.

          1220. According to historic archives of the website for the Surgicore ASCs

  (www.surgicoreasc.com), Rockaways ASC has been listed as one of the Surgicore ASCs on their

  website and referred to therein as “an affiliate of Surgicore Surgical Centers” since at least 2021.

          1221. According to NJDOH records, the Controllers, Berkowitz and S. Katanov were

  proposed owners of Rockaways ASC in or around 2022 or 2023. Additionally, according to

  NYDOH records, Pacia has had ownership interests in Rockaways ASC since at least 2012.

          1222. At all relevant times herein, S. Katanov was a nominal or straw owner for J.

  Katanov, who was the actual owner of S. Katanov’s ownership interest in Rockaways ASC.




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         1223. At all relevant times herein, S. Katanov was a nominal or straw owner for one or

  more of the John Does 2 through 20, who were the actual owners of S. Katanov’s ownership

  interest in Rockaways ASC.

         1224. On information and belief, Rockaways ASC did not disclose to its patients that J.

  Katanov had an ownership interest in Rockaways ASC, including that he was receiving

  compensation for steering or referring, or causing to be steered or referred, Covered Persons to

  Rockaways ASC in order to ensure a steady stream of patients to Rockaways ASC, irrespective of

  medical need.

         1225. At all times as alleged herein, the Controllers, S. Katanov, J. Katanov Berkowitz,

  Pacia and one or more of the John Does 2 through 20 (collectively, the “Rockaways ASC Owners”)

  have had direct or indirect ownership interests in Rockaways ASC.

         1226. On information and belief, at all relevant times while they were owners of

  Rockaways ASC, the Rockaways ASC Owners were responsible for the operation and control of

  Rockaways ASC and its compliance with State and Federal laws, as well as its own policies and

  procedures in making employment-related decisions.

         1227. At all relevant times since acquiring ownership interests in Rockaways ASC, the

  Controllers have had a majority ownership interest in and/or otherwise controlled Rockaways

  ASC.

         1228. Upon acquiring control of Rockaways ASC, as part of the scheme to defraud and

  in order to ensure a steady stream of patients to the Surgicore ASCs, one or more of the Controllers,

  through Rockaways ASC entered into sham “investor” referral/kickback arrangements with the

  Rockaways ASC Owners who purchased or otherwise acquired shares in Rockaways ASC to make

  it appear that payments made by Rockaways ASC were dividends or other cash distributions for




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  their “investments” in Rockaways ASC when, in fact, the payments were compensation for

  illegally and/or unnecessarily steering or referring Covered Persons to one or more of the

  Surgicore ASCs.

          1229. One or more of the Controllers also participated in the scheme to defraud by

  steering or referring, or causing to be steered or referred, Covered Persons to one or more of the

  Surgicore ASCs for Fraudulent Services in exchange for illegal compensation from the Surgicore

  ASCs.

          1230. In order to conceal the referral/kickback scheme and their ownership interests

  in, and, with respect to the Controllers, the full extent of their ownership and control of,

  Rockaways ASC, the Rockaways ASC Owners purchased or otherwise acquired ownership

  interests in Rockaways ASC through companies that they owned and/or controlled, and/or their

  family members or close associates and/or companies that they owned and controlled. The

  Rockaways ASC Owners, either directly or indirectly through their companies, family members

  or close associates, or their family members’ or close associates’ companies, received payments

  from Rockaways ASC that were disguised as dividends or other cash distributions for their

  “investments” in Rockaways ASC, when in fact, the payments were compensation for steering or

  referring, or causing to be steered or referred, patients to one or more of the Surgicore ASCs.

          1231. In order to conceal the referral/kickback scheme and the full extent of their

  ownership and control over Rockaways ASC, the Controllers established, owned, maintained a

  financial interest in or otherwise derived financial benefit from a web of associated companies,

  including Surgicore Management NY, which purports to be the “management” company for

  Rockaways ASC, and one or more of the ABC Corporations 1 through 20, that purport to serve as

  landlord, management and/or other financing companies and which purported to enter into lease,




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  management services, financing agreements and other contracts with Rockaways ASC, but which,

  in fact, were used to conceal the full extent of the Controllers ownership and control over

  Rockaways ASC, to funnel proceeds from Rockaways ASC back to the Controllers and/or to make

  payments for steering or referring Covered Persons to one or more of the Surgicore ASCs for

  Fraudulent Services.

          1232. one or more of the Controllers, through Rockaways ASC, entered into a sham

  “investor” referral/kickback arrangement with the Controllers either directly or indirectly

  through one or more of the ABC Corporations 1 through 20. The Controllers were provided

  with a direct or indirect “investment” interest in Rockaways ASC through one or more of the

  ABC Corporations 1 through 20 in exchange for their agreement to steer or refer, or cause to be

  steered or referred, a steady stream of patients to one or more of the Surgicore ASCs. On

  information and belief, in exchange for the Controllers’ direct or indirect “investment” interests

  in Rockaways ASC, Rockaways ASC issued regular payments to or for the benefit of the

  Controllers, which, in fact, were illegal kickbacks for referrals.

          1233. One or more of the Controllers, through Rockaways ASC, entered into a sham

  “investor” referral/kickback arrangement with Pacia either directly or indirectly through one

  or more of the ABC Corporations 1 through 20. Pacia was provided with a direct or indirect

  “investment” interest in Rockaways ASC through one or more of the ABC Corporations 1

  through 20 in exchange for his agreement to steer or refer, or cause to be steered or referred, a

  steady stream of patients to one or more of the Surgicore ASCs. On information and belief, in

  exchange for Pacia’s direct or indirect “investment” interest in Rockaways ASC, Rockaways ASC

  issued regular payments to or for the benefit of Pacia, which, in fact, were illegal kickbacks for

  referrals.




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          1234. One or more of the Controllers, through Rockaways ASC, entered into a sham

  “investor” referral/kickback arrangement with J. Katanov through S. Katanov and/or one or

  more of the ABC Corporations 1 through 20. J. Katanov was provided with an indirect

  “investment” interest in Rockaways ASC through S. Katanov and/or one or more of the ABC

  Corporations 1 through 20 in exchange for his agreement to steer or refer, or cause to be steered

  or referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for J. Katanov’s indirect “investment” interest in Rockaways ASC, Rockaways

  ASC issued regular payments to or for the benefit of J. Katanov, which, in fact, were illegal

  kickbacks for referrals.

          1235. One or more of the Controllers, through Rockaways ASC, entered into a sham

  “investor” referral/kickback arrangement with Berkowitz either directly or indirectly through

  one or more of the ABC Corporations 1 through 20. Berkowitz was provided with a direct or

  indirect “investment” interest in Rockaways ASC through one or more of the ABC

  Corporations 1 through 20 in exchange for his agreement to steer or refer, or cause to be steered

  or referred, a steady stream of patients to one or more of the Surgicore ASCs. On information and

  belief, in exchange for Berkowitz’s direct or indirect “investment” interest in Rockaways ASC,

  Rockaways ASC issued regular payments to or for the benefit of Berkowitz, which, in fact, were

  illegal kickbacks for referrals.

          1236. On information and belief, one or more of the Controllers, through Rockaways

  ASC, entered into a sham “investor” referral/kickback arrangement with one or more of the

  John Does 2 through 20, either directly or indirectly through one or more of the ABC

  Corporations 1 through 20. On information and belief, one or more of the John Does 2 through

  20 were provided with direct or indirect “investment” interests in Rockaways ASC through




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  one or more of the ABC Corporations 1 through 20 in exchange for their agreement to steer or

  refer, or cause to be steered or referred, a steady stream of patients to one or more of the Surgicore

  ASCs. On information and belief, in exchange for one or more of the John Does 2 through 20’s

  direct or indirect “investment” interest in Rockaways ASC, Rockaways ASC issued regular

  payments to or for the benefit of one or more of the John Does 2 through 20, which, in fact, were

  illegal kickbacks for referrals.

                    ii.   The Sham “Medical Directors” and “Administrators”

          1237. In addition to the sham “investor” referral/kickback scheme, one or more of the

  Controllers recruited Pacia and one or more of the John Does 2 through 20 to serve as sham

  “medical directors” of Rockaways ASC in contravention of New Jersey law.

          1238. According to NYDOH records, Pacia was Rockaways ASC’s “medical director” in

  or around 2012.

          1239. One or more of the Controllers, through Rockaways ASC, entered into sham

  “investor” or employment referral/kickback relationships with Pacia and/or one or more of the

  John Does 2 through 20, who purchased or otherwise acquired shares in Rockaways ASC to make

  it appear that the shares were being purchased as investments and that payments made by

  Rockaways ASC were dividends or other cash distributions for their “investments” (or who

  otherwise received payments disguised as legitimate salary or other compensation) when, in

  fact, the payments were compensation for Pacia and/or one or more of the John Does 2 through

  20’s agreement to serve as sham “medical directors” and, in some instances, for steering or

  referring, or causing to be steered or referred, Covered Persons to one or more of the Surgicore

  ASCs. In fact, Pacia and/or one or more of the John Does 2 through 20 never intended to (and

  never did fulfill) their medical director duties as required by law and the compensation they




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  received was actually for permitting one or more of the Controllers to operate the Rockaways ASC

  without the required medical director oversight and/or steering or referring, or causing to be steered

  or referred, Covered Persons to one or more of the Surgicore ASCs.

         1240. In addition to the sham “medical directors,” one or more of the Controllers recruited

  one or more John Does 2 through 20 to serve as sham “administrators” of Rockaways ASC in

  contravention of New Jersey law.

         1241. On information and belief, one or more of the Controllers, through Rockaways

  ASC, entered into sham “investor” or employment referral/kickback relationships with one or

  more John Does 2 through 20, who purchased or otherwise acquired shares in Rockaways ASC to

  make it appear that the shares were being purchased as investments and that payments made

  by Rockaways ASC were dividends or other cash distributions for his “investment” (or who

  otherwise received payments disguised as legitimate salary or other compensation) when, in

  fact, the payments were compensation for one or more of the John Does 2 through 20’s agreement

  to serve as sham “administrators” and, in some instances, for steering or referring, or causing

  to be steered or referred, Covered Persons to one or more of the Surgicore ASCs. In fact, one

  or more of the John Does 2 through 20 never intended to (and never did fulfill) their administrator

  duties as required by law and the compensation they received was actually for permitting one or

  more of the Controllers to operate the Rockaways ASC without the required administrator

  oversight and/or steering or referring, or causing to be steered or referred, Covered Persons to one

  or more of the Surgicore ASCs.

  V.     The Illegal Kickback and Referral Relationships

         1242. In addition to the foregoing illicit financial relationships and in furtherance of the

  scheme to defraud alleged herein, the Defendant Surgicore Orthopedic Providers and Defendant




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  Surgicore Pain Management Providers referred Covered Persons to the Surgicore ASCs for one or

  more of the Fraudulent Services purportedly performed by the Surgicore Orthopedic Providers,

  Surgicore Pain Management Providers, and or other doctors and healthcare professionals under

  their direction or control, in exchange for kickbacks or other financial arrangements.

         1243. As stated above, in order to ensure a steady stream of patients to the Surgicore

  ASCs, the Controllers devised an elaborate, unlawful referral scheme whereby the Surgicore ASCs

  through one or more of the Controllers and one or more and/or other entities controlled by the

  Controllers, entered into secret, illegal “investor” referral, kickback arrangements, whereby the

  Surgicore ASCs paid many of the Surgicore Orthopedists, Surgicore Pain Management Doctors

  and hundreds of thousands of dollars, if not millions of dollars, to steer or refer, or cause to be

  steered or referred, Covered Persons to the Surgicore ASCs, often times for the Fraudulent

  Services.

         1244. The Controllers, Surgicore ASCs, Surgicore Orthopedists, and Surgicore Pan

  Management Doctors were all aware that compensation to patient referrals could not vary based

  on the volume of referrals. Nevertheless, the number of shares and compensation varied based

  on the volume of referrals, and the referring providers, including orthopedists and pain

  management doctors, were required to give up their shares when their referrals ceased.

         1245. In furtherance of the scheme to defraud, the Controllers and the Surgicore ASCs

  engaged in an elaborate scam to conceal and hide the actual arrangement in a knowing attempt

  to conceal their violations of the law.

         1246. In that regard, in order to create a facade that the Surgicore ASCs were not paying

  for referrals and to make it appear these were arm’s-length reasonable transactions, the Controllers,

  through the Surgicore ASCs, created sham paperwork in which they offered referring providers




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  ownership as “investors” who purchased or were given shares in the Surgicore ASCs to make it

  appear that the shares were being purchased as investments and payments were made as returns

  on investment. The entire arrangement was a scam designed to conceal illegal payments for

  referrals from Plaintiff and other insurers, and not to meet any pecuniary need of the Surgicore

  ASCs.

          1247. Defendant Apazidis, record owner of Defendant Apazidis PC entered into a secret,

  illegal referral kickback relationship with one or more of the Controllers in exchange for which

  Apazidis, through Apazidis PC and other practices in which Apazidis is associated with, would

  refer Covered persons to the Surgicore ASCs.

          1248. In that regard, Apazidis with the purported assistance of one or more physicians

  assistants, purportedly performs one or more of the Fraudulent Services, at one or of the Defendant

  Surgicore ASCs, including but not limited to Defendants All City ASC, and Fifth Avenue ASC.

          1249. Apazidis, and one or more other orthopedists and other healthcare professionals

  working under his direction and control, purportedly performed one or more of the Fraudulent

  Services through Defendant Apazidis PC, and other practices in which Apazidis is associated, at

  the Surgicore ASCs, including but limited to Defendants All City ASC and Fifth Avenue ASC, in

  exchange for receiving kickbacks from the Controllers in the form of an ownership or “investment

  interest” in All City ASC.

          1250. In exchange for receiving referrals from Apazidis, through Apazidis PC, and other

  practices in which Apazidis is associated, the Controllers gave Apazidis the opportunity to

  “purchase” a nominal ownership or “investment interest” in All City ASC.

          1251. In actuality, the “investment interest,” reflective of nominal ownership shares in

  All City ASC, was a kickback paid by the Controllers, through All City ASC, in which Apazidis’




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  purported investment was quickly repaid and thereafter he received kickbacks in the form of

  substantial payments that were disguised as dividends or other cash distributions disproportionate

  with his nominal “investment interest” in All City ASC.

          1252. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Apazidis’

  ownership interest in one or more of the Surgicore ASCs, including All City ASC.

          1253. Apazidis was provided with an “investment interest” in All City ASC in exchange

  for his agreement to provide (or cause to be provided) a steady stream of referrals from medical

  practices in which he was the record owner or otherwise associated with, including Defendant

  Apazidis PC to the Surgicore ASCs.

          1254. On information and belief, All City ASC and/or other entities controlled by the

  Controllers issued regular payments to Apazidis purporting to be returns on his “investment

  interest” in All City ASC when in fact such payments, in excess of his “investment interest,” were

  kickbacks based on the volume of referrals from (and/or caused by) Apazidis, for medically

  unnecessary surgeries and procedures performed, if at all, on Covered Persons pursuant to a

  predetermined fraudulent protocol.

          1255. Defendant Berkowitz, record owner of Advanced Orthopaedics entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Berkowitz, through Advanced Orthopaedics would refer Covered persons to the Surgicore

  ASCs.

          1256. In that regard, Berkowitz and/or other orthopedists and healthcare professionals

  working under his direction and control purportedly performs one or more of the Fraudulent




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  Services at one or of the Defendant Surgicore ASCs, including but not limited to Defendants All

  City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC, North Queens ASC, and

  Jersey City ASC.

         1257. Berkowitz, and one or more other orthopedists and healthcare professionals

  working under his direction and control, purportedly performed one or more of the Fraudulent

  Services through Defendant Advanced Orthopedics, at the Surgicore ASCs, including but limited

  to City Family Healthcare, Empire State ASC, Fifth Avenue ASC, Manalapan ASC, North Queens

  ASC, and Jersey City ASC, in exchange for receiving kickbacks from the Controllers in the form

  of ownership or “investment interests” in All City ASC, Fifth Avenue ASC, Jersey City ASC, and

  Rockland and Bergen ASC.

         1258. In exchange for receiving referrals from Berkowitz, through Advanced

  Orthopedics, the Controllers provided Berkowitz with the opportunity to “purchase” a 2.3%

  ownership or “investment interest” in All City ASC, an ownership or “investment interest” in Fifth

  Avenue ASC through Gesheft Associates last reported to be 2.1%, an ownership or “investment

  interest” in Jersey City ASC last reported to be 14.5%, a 4.8% ownership or “investment interest”

  in Rockland and Bergen ASC’s once 80% majority shareholder, Surgicore RBSC, ultimately

  receiving a 3.5% interest in Rockland and Bergen ASC directly through Gesheft Associates, and

  retaining a 4.8% interest in Rockland and Bergen ASC’s parent, Surgicore RBSC, now a roughly

  66% shareholder.

         1259. In actuality, the “investment interests” in All City ASC, Fifth Avenue ASC, Jersey

  City ASC, and Rockland and Bergen ASC, were kickbacks paid by the Controllers, through All

  City ASC, Fifth Avenue ASC, Jersey City ASC, and Rockland and Bergen ASC, respectively, in

  which Berkowitz’s purported investments were quickly repaid and thereafter he received




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  kickbacks in the form of substantial payments that were disguised as dividends or other cash

  distributions disproportionate with his “investment interests” in All City ASC, Fifth Avenue ASC,

  Jersey City ASC, and Rockland and Bergen ASC.

         1260. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Berkowitz’s

  ownership interest in one or more of the Surgicore ASCs, including All City ASC, Fifth Avenue

  ASC, Jersey City ASC, and Rockland and Bergen ASC.

         1261. Berkowitz was provided with an “investment interests” in All City ASC, Fifth

  Avenue ASC, Jersey City ASC, and Rockland and Bergen ASC in exchange for his agreement to

  provide (or cause to be provided) a steady stream of referrals from medical practices in which he

  was the record owner, including Defendant Advanced Orthopaedics to the Surgicore ASCs.

         1262. On information and belief, All City ASC, Fifth Avenue ASC, Jersey City ASC,

  Rockland and Bergen ASC and/or other entities controlled by the Controllers issued regular

  payments to Berkowitz purporting to be returns on his “investment interests” in All City ASC,

  Fifth Avenue ASC, Jersey City ASC, and Rockland and Bergen ASC, when in fact such payments,

  in excess of his “investment interests,” were kickbacks based on the volume of referrals from

  (and/or caused by) Berkowitz, for performing, or causing to be performed, the Fraudulent Services,

  if at all, on Covered Persons at one or more of the Surgicore ASCs pursuant to a predetermined

  fraudulent protocol.

         1263. Defendant Bursztyn, associated with Defendants NYSJ, McCulloch Orthopaedic,

  and Advanced Orthopaedics, entered into a secret, illegal referral kickback relationship with one




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  or more of the Controllers in exchange for which Bursztyn, NYSJ, McCulloch Orthopaedic and

  Advanced Orthopaedics, would refer Covered persons to the Surgicore ASCs.

         1264. In that regard, Bursztyn purportedly performs one or more of the Fraudulent

  Services at one or of the Defendant Surgicore ASCs, including but not limited to Defendants All

  City ASC, Jersey City ASC, and Saddlebrook ASC.

         1265. Bursztyn purportedly performed one or more of the Fraudulent Services through

  Defendants NYSJ, McCulloch Orthopaedic and Advanced Orthopaedics, including but limited to

  All City ASC, Jersey City ASC, and Saddlebrook ASC, in exchange for receiving kickbacks from

  the Controllers in the form of an ownership or “investment interest” in All City ASC.

         1266. In exchange for receiving referrals from Bursztyn, and/or Bursztyn performing one

  or more Fraudulent Services referred to the Surgicore ASC, through NYSJ, McCulloch

  Orthopaedic and Advanced Orthopaedics, the Controllers provided Bursztyn with the opportunity

  to “purchase” an ownership or “investment interest” in All City ASC last known to be 2.3%

         1267. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through All City ASC, in which Bursztyn’s purported investment was quickly repaid and thereafter

  he received kickbacks in the form of substantial payments that were disguised as dividends or other

  cash distributions disproportionate with his 2.3% “investment interest” in All City ASC.

         1268. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Bursztyn’s

  ownership interest in one or more of the Surgicore ASCs, including All City ASC.

         1269. On information and belief, Bursztyn was provided with an “investment interest” in

  All City ASC in exchange for his agreement to perform the Fraudulent Services in connection with




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  a steady stream of referrals from medical practices in which he is associated, including Defendants

  NYSJ, McCulloch Orthopaedic and Advanced Orthopaedics, to the Surgicore ASCs.

         1270. On information and belief, All City ASC and/or other entities controlled by the

  Controllers issued regular payments to Bursztyn purporting to be returns on his “investment

  interest” in All City ASC when in fact such payments, in excess of his “investment interest,” were

  kickbacks for the performance of Fraudulent Services referred from NYSJ, McCulloch

  Orthopaedic and Advanced Orthopaedics, based on the volume of his purported performance of

  the Fraudulent Services, if at all, on Covered Persons at one or more of the Surgicore ASCs

  pursuant to a predetermined fraudulent protocol.

         1271. Defendant Dassa, record owner of Defendant Dassa Orthopedic entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Dassa, through Dassa Orthopedic would refer Covered persons to the Surgicore ASCs.

         1272. In that regard, Dassa, with the assistance of one or more physician assistants or

  other healthcare professionals working under his direction and control purportedly performs one

  or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not

  limited to Defendants Empire State ASC and New Horizon ASC.

         1273. Dassa, assisted by and one or more physician assistants other healthcare

  professionals working under his direction and control, purportedly performed one or more of the

  Fraudulent Services through Defendant Dassa Orthopedic, at the Surgicore ASCs, including but

  limited to Empire State ASC and New Horizon ASC in exchange for receiving kickbacks from the

  Controllers in the form of an ownership or “investment interest” in Empire State ASC.




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         1274. In exchange for receiving referrals from Dassa, through Dassa Orthopedic, the

  Controllers provided Dassa with the opportunity to “purchase” an ownership or “investment

  interest” in Empire State ASC, last known to be 1.6%

         1275. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Empire State ASC, in which Dassa’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his “investment interest” in Empire

  State ASC.

         1276. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Dassa’

  ownership interest in one or more of the Surgicore ASCs, including Empire State ASC.

         1277. On information and belief, Dassa was provided with an “investment interest” in

  Empire State ASC in exchange for his agreement to provide (or cause to be provided) a steady

  stream of referrals from medical practices in which he was the record owner, including Defendant

  Dassa Orthopedic to the Surgicore ASCs.

         1278. On information and belief, Empire State ASC and/or other entities controlled by

  the Controllers issued regular payments to Dassa purporting to be returns on his “investment

  interest” in Empire State ASC when in fact such payments, in excess of his “investment interest,”

  were kickbacks based on the volume of referrals from (and/or caused by) Dassa, for performing,

  or causing to be performed, the Fraudulent Services, if at all, on Covered Persons at one or more

  of the Surgicore ASCs pursuant to a predetermined fraudulent protocol.




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         1279. Defendant Graziosa, record owner of Defendant Graziosa PC entered into a secret,

  illegal referral kickback relationship with one or more of the Controllers in exchange for which

  Graziosa, through Graziosa PC would refer Covered persons to the Surgicore ASCs.

         1280. In that regard, Graziosa, with the assistance of one or more physician assistants or

  other healthcare professionals working under his direction and control purportedly performs one

  or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not

  limited to Defendants All City ASC, Empire State ASC, North Queens ASC, and Rockaways ASC.

         1281. Graziosa, assisted by and one or more physician assistants other healthcare

  professionals working under his direction and control, purportedly performed one or more of the

  Fraudulent Services through Defendant Graziosa PC, at the Surgicore ASCs, including but limited

  to All City ASC, Empire State ASC, North Queens ASC, and Rockaways ASC, in exchange for

  receiving kickbacks from the Controllers in the form of an ownership or “investment interest” in

  Empire State ASC.

         1282. In exchange for receiving referrals from Graziosa, through Graziosa PC, the

  Controllers provided Graziosa with the opportunity to “purchase” an ownership or “investment

  interest” in Empire State ASC, which has fluctuated over time between 1% and 2%.

         1283. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Empire State ASC, in which Graziosa’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his less than 2% “investment interest”

  in Empire State ASC.

         1284. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which




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  American Transit relied, the Controllers were able to conceal from American Transit, Graziosa’s

  ownership interest in one or more of the Surgicore ASCs, including Empire State ASC.

         1285. Graziosa was provided with an “investment interest” in Empire State ASC in

  exchange for his agreement to provide (or cause to be provided) a steady stream of referrals from

  medical practices in which he was the record owner, including Defendant Graziosa PC to the

  Surgicore ASCs.

         1286. On information and belief, Empire State ASC and/or other entities controlled by

  the Controllers issued regular payments to Graziosa purporting to be returns on his “investment

  interest” in Empire State ASC when in fact such payments, in excess of his “investment interest,”

  were kickbacks based on the volume of referrals from (and/or caused by) Graziosa, for performing,

  or causing to be performed, the Fraudulent Services, if at all, on Covered Persons at one or more

  of the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1287. Defendant Haar, record owner of Defendant Haar Orthopaedics, entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Haar, through Haar Orthopaedics, would refer Covered persons to the Surgicore ASCs.

         1288. In that regard, Harr purportedly performs one or more of the Fraudulent Services at

  one or of the Defendant Surgicore ASCs, including but not limited to Defendants New Horizon

  ASC and Jersey City ASC.

         1289. Haar, assisted by and one or more physician assistants and other healthcare

  professionals working under his direction and control, purportedly performed one or more of the

  Fraudulent Services through Haar Orthopaedics, at the Surgicore ASCs, including but limited to

  New Horizon ASC and Jersey City ASC, in exchange for receiving kickbacks from the Controllers

  in the form of an ownership or “investment interest” in New Horizon ASC.




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         1290. In exchange for receiving referrals from Haar, through Haar Orthopaedics, the

  Controllers provided Harr through Haar Orthopaedics, the opportunity to “purchase” an ownership

  or “investment interest” in New Horizon ASC last reported to be 3.7%.

         1291. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through New Horizon ASC, in which Haar’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his 3.7% “investment interest” in New

  Horizon ASC.

         1292. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Haar’s

  ownership interest in one or more of the Surgicore ASCs, including New Horizon ASC.

         1293. On information and belief, Haar was provided with an “investment interest” in New

  Horizon ASC in exchange for his agreement to provide (or cause to be provided) a steady stream

  of referrals from medical practices in which he was the record owner, including Haar Orthopaedics

  to the Surgicore ASCs.

         1294. On information and belief, New Horizon ASC and/or other entities controlled by

  the Controllers issued regular payments to Haar purporting to be returns on his “investment

  interest” in New Horizon ASC when in fact such payments, in excess of his “investment interest,”

  were kickbacks based on the volume of referrals from (and/or caused by) Haar, for performing, or

  causing to be performed, the Fraudulent Services, if at all, on Covered Persons at one or more of

  the Surgicore ASCs pursuant to a predetermined fraudulent protocol.




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         1295. Defendant Hostin, record owner of Defendant Hostin Orthopaedics entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Hostin, through Hostin Orthopaedics would refer Covered persons to the Surgicore ASCs.

         1296. In that regard, Hostin, with the assistance of one or more physician assistants or

  other healthcare professionals working under his direction and control purportedly performs one

  or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not

  limited to Defendants Empire State ASC and Fifth Avenue ASC.

         1297. Hostin, assisted by and one or more physician assistants other healthcare

  professionals working under his direction and control, purportedly performed one or more of the

  Fraudulent Services through Defendant Hostin Orthopaedics, at the Surgicore ASCs, including but

  limited to Empire State ASC and Fifth Avenue ASC, in exchange for receiving kickbacks from

  the Controllers in the form of an ownership or “investment interest” in Empire State ASC.

         1298. In exchange for receiving referrals from Hostin, through Hostin Orthopaedics, the

  Controllers provided Hostin with the opportunity to “purchase” an ownership or “investment

  interest” in Empire State ASC, last known to be roughly 1%.

         1299. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Empire State ASC, in which Hostin’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his less than 2% “investment interest”

  in Empire State ASC.

         1300. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which




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  American Transit relied, the Controllers were able to conceal from American Transit, Hostin’s

  ownership interest in one or more of the Surgicore ASCs, including Empire State ASC.

         1301. On information and belief, Hostin was provided with an “investment interest” in

  Empire State ASC in exchange for his agreement to provide (or cause to be provided) a steady

  stream of referrals from medical practices in which he was the record owner, including Defendant

  Hostin Orthopaedics to the Surgicore ASCs.

         1302. On information and belief, Empire State ASC and/or other entities controlled by

  the Controllers issued regular payments to Hostin purporting to be returns on his “investment

  interest” in Empire State ASC when in fact such payments, in excess of his “investment interest,”

  were kickbacks based on the volume of referrals from (and/or caused by) Hostin, for performing,

  or causing to be performed, the Fraudulent Services, if at all, on Covered Persons at one or more

  of the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1303. Defendant Katzman, record owner of Katzman PC entered into a secret, illegal

  referral kickback relationship with one or more of the Controllers in exchange for which Katzman,

  through Katzman PC, would refer Covered persons to the Surgicore ASCs.

         1304. In that regard, Katzman and/or other orthopedists and physician assistants or other

  healthcare professionals working under his direction and control purportedly performs one or more

  of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited

  to Defendants All City ASC, Fifth Avenue ASC and North Queens ASC.

         1305. Katzman, and one or more other orthopedists and other healthcare professionals

  working under his direction and control, purportedly performed one or more of the Fraudulent

  Services through Defendant Katzman PC, at the Surgicore ASCs, including but limited to All City

  ASC, Fifth Avenue ASC and North Queens ASC, in exchange for receiving kickbacks from the




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  Controllers in the form of ownership or “investment interests” in All City ASC and Fifth Avenue

  ASC.

         1306. In exchange for receiving referrals from Katzman, through Katzman PC, the

  Controllers provided Katzman with the opportunity to “purchase” an “investment interest” in All

  City ASC last known to be 1.5% and an ownership or “investment interest” in Fifth Avenue ASC

  last reported to be 1.2%.

         1307. In actuality, the “investment interests were kickbacks paid by the Controllers,

  through All City ASC and Fifth Avenue ASC, in which Katzman’s purported investment was

  quickly repaid and thereafter he received kickbacks in the form of substantial payments that were

  disguised as dividends or other cash distributions disproportionate with his 1.5% “investment

  interest” in All City ASC and 1.2% “investment interest” in Fifth Avenue ASC.

         1308. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Katzman’s

  ownership interest in one or more of the Surgicore ASCs, including All City ASC and Fifth Avenue

  ASC.

         1309. On information and belief, Katzman was provided with an “investment interest” in

  All City ASC and Fifth Avenue ASC in exchange for his agreement to provide (or cause to be

  provided) a steady stream of referrals from medical practices in which he was the record owner or

  otherwise associated, including Defendant Katzman PC to the Surgicore ASCs.

         1310. On information and belief, All City ASC, Fifth Avenue ASC, and/or other entities

  controlled by the Controllers issued regular payments to Katzman purporting to be returns on his

  “investment interests” in All City ASC and Fifth Avenue ASC when in fact such payments, in




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  excess of his “investment interest,” were kickbacks based on the volume of referrals from (and/or

  caused by) Katzman, for performing, or causing to be performed, the Fraudulent Services, if at all,

  on Covered Persons at one or more of the Surgicore ASCs pursuant to a predetermined fraudulent

  protocol.

         1311. Defendant McCulloch, record owner of Defendants McCulloch Orthopaedic and

  NYSJ entered into a secret, illegal referral kickback relationship with one or more of the

  Controllers in exchange for which McCulloch, through McCulloch Orthopaedic and/or NYSJ

  would refer Covered persons to the Surgicore ASCs.

         1312. In that regard, McCulloch, and/or one or more other health care professionals under

  McCulloch’s direction and control, purportedly performs one or more of the Fraudulent Services,

  through McCulloch Orthopaedic and/or NYSJ, at one or of the Defendant Surgicore ASCs,

  including but not limited to Defendants Empire State ASC, Fifth Avenue ASC, Jersey City ASC,

  New Horizon ASC, North Queens ASC, Rockland and Bergen ASC, and Saddlebrook ASC.

         1313. McCulloch, and one or more other orthopedists and other healthcare professionals

  working under his direction and control, purportedly performed one or more of the Fraudulent

  Services through Defendant McCulloch Orthopaedic, at the Surgicore ASCs, including but limited

  to Empire State ASC, Fifth Avenue ASC, Jersey City ASC, New Horizon ASC, North Queens

  ASC, Rockland and Bergen ASC, and Saddlebrook ASC, in exchange for receiving kickbacks

  from the Controllers in the form of ownership or “investment interests” in Fifth Avenue ASC, New

  Horizon ASC and Saddlebrook ASC.

         1314. In exchange for receiving referrals from McCulloch, through McCulloch

  Orthopaedic and/or NYSJ, the Controllers provided McCulloch with the opportunity to “purchase”




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  ownership or “investment interests” in Fifth Avenue ASC last reported to be 3.4%, New Horizon

  ASC last reported to be 14.8%, and Saddlebrook ASC last reported to be 12.9%.

         1315. In actuality, the “investment interests” were kickbacks paid by the Controllers,

  through Fifth Avenue ASC, New Horizon ASC, and Saddlebrook ASC, respectively, in which

  McCulloch’s purported investment was quickly repaid and thereafter he received kickbacks in the

  form of substantial payments that were disguised as dividends or other cash distributions

  disproportionate with his “investment interests” in Fifth Avenue ASC, New Horizon ASC, and

  Saddlebrook ASC.

         1316. On information and belief, McCulloch was provided with an “investment interests”

  in Fifth Avenue ASC, New Horizon ASC, and Saddlebrook ASC, in exchange for his agreement

  to provide (or cause to be provided) a steady stream of referrals from medical practices in which

  he was the record owner, including Defendant McCulloch Orthopaedic and/or NYSJ to the

  Surgicore ASCs.

         1317. On information and belief, Fifth Avenue ASC, New Horizon ASC, Saddlebrook

  ASC, and/or other entities controlled by the Controllers issued regular payments to McCulloch

  purporting to be returns on his “investment interest” in Fifth Avenue ASC, New Horizon ASC,

  and Saddlebrook ASC when in fact such payments, in excess of his “investment interest,” were

  kickbacks for referrals from (and/or caused by) McCulloch, for performing, or causing to be

  performed, the Fraudulent Services, if at all, on Covered Persons at one or more of the Surgicore

  ASCs pursuant to a predetermined fraudulent protocol.

         1318. Defendant McMahon, record owner of Defendant McMahon PC entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for




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  which McMahon individually and/or, through McMahon PC would refer Covered persons to the

  Surgicore ASCs.

         1319. In that regard, McMahon, and/or one or more other health care professionals under

  McMahon’s direction and control, purportedly performs one or more of the Fraudulent Services,

  through McMahon PC at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendants Fifth Avenue ASC and Rockaways ASC.

         1320. McMahon, and one or more other orthopedists and other healthcare professionals

  working under his direction and control, purportedly performed one or more of the Fraudulent

  Services through Defendant McMahon PC, at the Surgicore ASCs, including but limited to Fifth

  Avenue ASC and Rockaways ASC, in exchange for receiving kickbacks from the Controllers in

  the form of ownership or “investment interest” in Fifth Avenue ASC.

         1321. In exchange for receiving referrals from McMahon, through McMahon PC, the

  Controllers provided McMahon PC with the opportunity to “purchase” ownership or “investment

  interests” in Fifth Avenue ASC last reported to be 1.2%.

         1322. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Fifth Avenue ASC, in which McMahon’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his “investment interest” in Fifth

  Avenue ASC.

         1323. On information and belief, McMahon was provided with an “investment interest”

  in Fifth Avenue ASC in exchange for his agreement to provide (or cause to be provided) a steady

  stream of referrals from medical practices in which he was the record owner, including Defendant

  McMahon PC to the Surgicore ASCs.




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         1324. On information and belief, Fifth Avenue ASC and/or other entities controlled by

  the Controllers issued regular payments to McMahon purporting to be returns on his “investment

  interest” in Fifth Avenue ASC, when in fact such payments, in excess of his “investment interest,”

  were kickbacks for referrals from (and/or caused by) McMahon, for performing, or causing to be

  performed, the Fraudulent Services, if at all, on Covered Persons at one or more of the Surgicore

  ASCs pursuant to a predetermined fraudulent protocol.

         1325. Defendant Seldes, record owner of Defendants Seldes PC, NYC Orthopedic, and

  Passaic Orthopedic entered into a secret, illegal referral kickback relationship with one or more of

  the Controllers in exchange for which Seldes through Seldes PC, NYC Orthopedic, and/or Passaic

  Orthopedic would refer Covered persons to the Surgicore ASCs.

         1326. In that regard, Seldes, with the purported assistance of one or more physicians

  assistants, purportedly performs one or more of the Fraudulent Services at one or of the Defendant

  Surgicore ASCs, including but not limited to Defendants New Horizon ASC and Empire State

  ASC.

         1327. Seldes, assisted by one or more physician assistants and other healthcare

  professionals working under his direction and control, purportedly performed one or more of the

  Fraudulent Services through Defendants Seldes PC, NYC Orthopedic, and/or Passaic Orthopedic,

  at the Surgicore ASCs, including but limited to New Horizon ASC and Empire State ASC, in

  exchange for receiving kickbacks from the Controllers in the form of an ownership or “investment

  interest” in New Horizon ASC.

         1328. In exchange for receiving referrals from Seldes, through Seldes PC, NYC

  Orthopedic, and/or Passaic Orthopedic, the Controllers provided Seldes, through his control of




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  Blue Wall Management, the opportunity to “purchase” a an ownership or “investment interest” in

  New Horizon ASC, last reported to be 10.6%.

         1329. In actuality, the “investment interest,” reflective of 10.6% ownership shares in New

  Horizon ASC, was a kickback paid by the Controllers, through New Horizon ASC, in which

  Seldes’s purported investment was quickly repaid and thereafter he received kickbacks in the form

  of substantial payments that were disguised as dividends or other cash distributions

  disproportionate with his 10.6% “investment interest” in New Horizon ASC.

         1330. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Seldes’

  ownership interest in one or more of the Surgicore ASCs, including New Horizon ASC.

         1331. On information and belief, Seldes was provided with an “investment interest” in

  New Horizon ASC in exchange for his agreement to provide (or cause to be provided) a steady

  stream of referrals from medical practices in which he was the record owner, including Defendants

  Seldes PC, NYC Orthopedic, and Passaic Orthopedic to the Surgicore ASCs.

         1332. On information and belief, New Horizon ASC and/or other entities controlled by

  the Controllers issued regular payments to Seldes and/or Blue Wall Management purporting to be

  returns on his “investment interest” in New Horizon ASC when in fact such payments, in excess

  of his “investment interest,” were kickbacks based on the volume of referrals from (and/or caused

  by) Seldes, for performing, or causing to be performed, the Fraudulent Services, if at all, on

  Covered Persons at one or more of the Surgicore ASCs pursuant to a predetermined fraudulent

  protocol.




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         1333. Ajoy Sinha, record owner of Defendants MSJR and Sinha Orthopedics, entered into

  a secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Ajoy Sinha, through MSJR and Sinha Orthopedics, and one or more other practices in which

  Ajoy Sinha was associated, would refer Covered persons to the Surgicore ASCs.

         1334. In that regard, Ajoy Sinha and/or other orthopedists, with the assistance of one or

  more physician assistants or other healthcare professionals working under his direction and control

  purportedly performed one or more of the Fraudulent Services at one or of the Defendant Surgicore

  ASCs, including but not limited to Defendants All City ASC, Fifth Avenue ASC, and Saddlebrook

  ASC.

         1335. Ajoy Sinha, and one or more other orthopedists, assisted by one or more physician

  assistants and other healthcare professionals working under his direction and control, purportedly

  performed one or more of the Fraudulent Services through Defendants MSJR and Sinha

  Orthopedics, and other medical practices he was associated with, at the Surgicore ASCs, including

  but limited to All City ASC, Fifth Avenue ASC, and Saddlebrook ASC, in exchange for receiving

  kickbacks from the Controllers in the form of an ownership or “investment interests” in All City

  ASC, Fifth Avenue ASC, and Saddlebrook ASC.

         1336. In exchange for receiving referrals from Ajoy Sinha, through MSJR and Sinha

  Orthopedics, and other medical practices he was associated with, the Controllers provided Ajoy

  Sinha with the opportunity to “purchase” ownership or “investment interests” in All City ASC last

  known to be 1.5%, in Fifth Avenue ASC last reported to be 0.8%, and in Saddlebrook ASC, last

  reported to be 1.7%

         1337. In actuality, the “investment interests” were a kickback paid by the Controllers,

  through All City ASC, Fifth Avenue ASC and Saddlebrook ASC, in which Ajoy Sinha’s purported




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  investment was quickly repaid and thereafter he received kickbacks in the form of substantial

  payments that were disguised as dividends or other cash distributions disproportionate with his

  “investment interests” in All City ASC, Fifth Avenue ASC, and Saddlebrook ASC.

         1338. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Ajoy Sinha’s

  ownership interest in one or more of the Surgicore ASCs, including All City ASC, Fifth Avenue

  ASC, and Saddlebrook ASC.

         1339. On information and belief, Ajoy Sinha was provided with “investment interests” in

  All City ASC, Fifth Avenue ASC, and Saddlebrook ASC in exchange for his agreement to provide

  (or cause to be provided) a steady stream of referrals from medical practices in which he was the

  record owner or otherwise associated with, including Defendants MSJR and Sinha Orthopedics to

  the Surgicore ASCs.

         1340. On information and belief, All City ASC, Fifth Avenue ASC, Saddlebrook ASC

  and/or other entities controlled by the Controllers issued regular payments to Ajoy Sinha

  purporting to be returns on his “investment interests” in All City ASC, Fifth Avenue ASC, and

  Saddlebrook ASC, when in fact such payments, in excess of his “investment interest,” were

  kickbacks based on the volume of referrals from (and/or caused by) Ajoy Sinha, for performing,

  or causing to be performed, the Fraudulent Services, if at all, on Covered Persons at one or more

  of the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1341. Defendant Sinha, record owner of Defendant Anjani PC entered into a secret, illegal

  referral kickback relationship with one or more of the Controllers in exchange for which Anjani

  Sinha, through Anjani PC, would refer Covered persons to the Surgicore ASCs.




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         1342. In that regard, Sinha, with the assistance of one or more physician assistants or

  other healthcare professionals working under his direction and control purportedly performs one

  or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not

  limited to Defendants All City ASC, Fifth Avenue ASC, Rockaway ASC, and Manalapan ASC.

         1343. Anjani Sinha, assisted by and one or more physician assistants other healthcare

  professionals working under his direction and control, purportedly performed one or more of the

  Fraudulent Services through Defendant Anjani PC, at the Surgicore ASCs, including but limited

  to All City ASC, Fifth Avenue ASC, Rockaways ASC, and Manalapan ASC in exchange for

  receiving kickbacks from the Controllers in the form of an ownership or “investment interest” in

  Manalapan ASC.

         1344. In exchange for receiving referrals from Anjani Sinha, through Anjani PC, the

  Controllers provided Sinha with the opportunity to “purchase” an ownership or “investment

  interest” in Manalapan ASC last reported to be 0.6%.

         1345. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Manalapan ASC, in which Sinha’s purported investment was quickly repaid and thereafter

  he received kickbacks in the form of substantial payments that were disguised as dividends or other

  cash distributions disproportionate with his 0.6% “investment interest” in Manalapan ASC.

         1346. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Anjani

  Sinha’s ownership interest in one or more of the Surgicore ASCs, including Manalapan ASC.

         1347. On information and belief, Sinha was provided with an “investment interest” in

  Manalapan ASC in exchange for his agreement to provide (or cause to be provided) a steady stream




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  of referrals from medical practices in which he was the record owner, including Defendant Anjani

  PC to the Surgicore ASCs.

         1348. On information and belief, Manalapan ASC and/or other entities controlled by the

  Controllers issued regular payments to Sinha purporting to be returns on his “investment interest”

  in Manalapan ASC when in fact such payments, in excess of his “investment interest,” were

  kickbacks based on the volume of referrals from (and/or caused by) Sinha, for performing, or

  causing to be performed, the Fraudulent Services, if at all, on Covered Persons at one or more of

  the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1349. Defendant Upendra Sinha, record owner of Defendant U.K. PC entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Upendra Sinha, through U.K. PC would refer Covered persons to the Surgicore ASCs.

         1350. In that regard, Upendra Sinha and one or more physician assistants working under

  Upendra Sinha’s direction and control, purportedly performs one or more of the Fraudulent

  Services at one or of the Defendant Surgicore ASCs, including but not limited to Defendants All

  City ASC, Empire State ASC, Fifth Avenue ASC, and Rockaways ASC.

         1351. Upendra Sinha and physician assistants working under Upendra Sinha’s direction

  and control, purportedly performed one or more of the Fraudulent Services in his individual

  capacity and/or through Defendant U.K. PC, at the Surgicore ASCs, including but limited to All

  City ASC, Empire State ASC, Fifth Avenue ASC, and Rockaways ASC, in exchange for receiving

  kickbacks from the Controllers in the form of ownership or “investment interests” in Saddlebrook

  ASC.




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         1352. In exchange for receiving referrals from Upendra Sinha through U.K. PC, the

  Controllers gave Upendra Sinha the opportunity to “purchase” a roughly 1.3% ownership or

  “investment interest” in Saddlebrook ASC, held until January 2023.

         1353. In actuality, the “investment interests” was a kickback paid by the Controllers,

  through Saddlebrook ASC, in which Upendra Sinha’s purported investment was quickly repaid

  and thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his nominal “investment interest” in

  Saddlebrook ASC.

         1354. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Upendra

  Sinha’s ownership interest in one or more of the Surgicore ASCs, including Saddlebrook ASC.

         1355. On information and belief, Upendra Sinha was provided with “investment interest”

  in Saddlebrook ASC in exchange for his agreement to provide (or cause to be provided) a steady

  stream of referrals from medical practices in which he was the record owner, including Defendant

  U.K. PC to the Surgicore ASCs. On information and belief, in exchange for Upendra Sinha’s

  “investment interest” in Saddlebrook ASC, Saddlebrook ASC, and/or other entities controlled by

  the Controllers issued regular payments to Upendra Sinha purporting to be returns on his

  “investment interest” in Saddlebrook ASC when in fact such payments, in excess of his

  “investment interest,” were kickbacks based on the volume of referrals from (and/or caused by)

  Upendra Sinha for performing, or causing to be performed, the Fraudulent Services, if at all, on

  Covered Persons at one or more of the Surgicore ASCs pursuant to a predetermined fraudulent

  protocol.




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         1356. Defendant Wasserman, record owner of Defendant BW Orthopedics entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Wasserman, through BW Orthopedics would refer Covered persons to the Surgicore ASCs.

         1357. In that regard, Wasserman, with the assistance of one or more physician assistants

  or other healthcare professionals working under his direction and control purportedly performs

  one or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but

  not limited to Defendant Surgicore ASC.

         1358. Wasserman, assisted by and one or more physician assistants other healthcare

  professionals working under his direction and control, purportedly performed one or more of the

  Fraudulent Services through Defendant BW Orthopedics, at the Surgicore ASCs, including but

  limited to Jersey City ASC in exchange for receiving kickbacks from the Controllers in the form

  of an ownership or “investment interest” in Jersey City ASC.

         1359. In exchange for receiving referrals from Wasserman, through BW Orthopedics, the

  Controllers provided Wasserman with the opportunity to “purchase” an ownership or “investment

  interest” in Jersey City ASC, last reported to be roughly 0.9%.

         1360. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Jersey City ASC, in which Wasserman’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his less than 0.9% “investment interest”

  in Jersey City ASC.

         1361. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which




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  American Transit relied, the Controllers were able to conceal from American Transit,

  Wasserman’s ownership interest in one or more of the Surgicore ASCs, including Jersey City ASC.

         1362. On information and belief, Wasserman was provided with an “investment interest”

  in Manalapan ASC in exchange for his agreement to provide (or cause to be provided) a steady

  stream of referrals from medical practices in which he was the record owner, including Defendant

  BW Orthopedics to the Surgicore ASCs.

         1363. On information and belief, Jersey City ASC and/or other entities controlled by the

  Controllers issued regular payments to Wasserman purporting to be returns on his “investment

  interest” in Jersey City ASC when in fact such payments, in excess of his “investment interest,”

  were kickbacks based on the volume of referrals from (and/or caused by) Wasserman, for

  performing, or causing to be performed, the Fraudulent Services, if at all, on Covered Persons at

  one or more of the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1364. Defendant Shamalov entered into a secret, illegal referral kickback relationship

  with one or more of the Controllers in exchange for which he would purportedly assist in one or

  more physicians performance of Fraudulent Services purportedly performed on Covered Persons

  at the Surgicore ASCs.

         1365. In that regard, Shamalov purportedly assisted in the performance of one or more of

  the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendants All City ASC, Fifth Avenue ASC and Rockaways ASC.

         1366. Shamalov, assisted in the purported performance of one or more of the Fraudulent

  Services through one or more medical practices, at the Surgicore ASCs, including but limited to

  All City ASC, Fifth Avenue ASC and Rockaways ASC, in exchange for receiving kickbacks from

  the Controllers in the form of an ownership or “investment interest” in All City ASC.




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         1367. In exchange for assisting one or more referring providers in the performance of one

  or more of the Fraudulent Services, the Controllers gave Shamalov the opportunity to “purchase”

  an ownership or “investment interest” in All City ASC, most recently set at roughly 0.4%.

         1368. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through All City ASC, in which Shamalov’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his 0.4% “investment interest” in All

  City ASC.

         1369. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Shamalov’s

  ownership interest in one or more of the Surgicore ASCs, including All City ASC.

         1370. On information and belief, notwithstanding his “investment interest” in All City

  ASC, nearly half of the Fraudulent Services assisted by Shamalov, were performed at a Surgicore

  ASC other than All City ASC.

         1371. On information and belief, Shamalov was provided with an “investment interest”

  in All City ASC in exchange for his agreement to assist in the provision of the Fraudulent Services

  to a steady stream of Covered Persons referred to the Surgicore ASCs.

         1372. On information and belief, All City ASC and/or other entities controlled by the

  Controllers issued regular payments Shamalov purporting to be returns on his “investment

  interest” in All City when in fact such payments, in excess of his “investment interest,” were

  kickbacks for Shamalov’s provision of assistance in orthopedic surgeons’ performance of the




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  Fraudulent Services, based on the volume of Fraudulent Services assisted, if at all, on Covered

  Persons at one or more of the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1373. Defendant Jones, record owner of Defendant Phoenix Medical, entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Jones, through Phoenix Medical would refer Covered persons to the Surgicore ASCs.

         1374. In that regard, one or more pain management physicians and physician assistants

  working under Jones’ direction and control, purportedly performs one or more of the Fraudulent

  Services at one or of the Defendant Surgicore ASCs, including but not limited to Defendants Fifth

  Avenue ASC, New Horizon ASC, North Queens ASC, Rockaways ASC, and Jersey City ASC.

         1375. Pain management physicians and physician assistants working under Jones’

  direction and control, purportedly performed one or more of the Fraudulent Services through

  Phoenix Medical, at the Surgicore ASCs, including but limited to Fifth Avenue ASC, New Horizon

  ASC, North Queens ASC, Rockaways ASC, and Jersey City ASC, in exchange for receiving

  kickbacks from the Controllers in the form of ownership or “investment interests” in New Horizon

  ASCs and Jersey City ASC.

         1376. In exchange for receiving referrals from Jones and other pain management

  physicians under his control, through Phoenix Medical PC, the Controllers gave Jones the

  opportunity to “purchase” a roughly 1% ownership or “investment interest” in Jersey City ASC,

  held until January 2024, and the opportunity to “purchase” an ownership or “investment interest”

  in New Horizon ASC last reported to be 1.9%.

         1377. In actuality, the “investment interests” was a kickback paid by the Controllers,

  through New Horizon ASC and Jersey City ASC, in which Jones’ purported investment was

  quickly repaid and thereafter he received kickbacks in the form of substantial payments that were




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  disguised as dividends or other cash distributions disproportionate with his nominal “investment

  interests” in New Horizon ASC and Jersey City ASC.

         1378. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Jones’

  ownership interest in one or more of the Surgicore ASCs, including New Horizon ASC and Jersey

  City ASC.

         1379. On information and belief, Jones was provided with “investment interests” in New

  Horizon ASC and Jersey City ASC in exchange for his agreement to provide (or cause to be

  provided) a steady stream of referrals from medical practices in which he was the record owner,

  including Defendant Phoenix Medical to the Surgicore ASCs. On information and belief, in

  exchange for Jones’ “investment interests” in New Horizon ASC and Jersey City ASC, New

  Horizon ASC, Jersey City ASC, and/or other entities controlled by the Controllers issued regular

  payments to Jones purporting to be returns on his “investment interests” in New Horizon ASC and

  Jersey City ASC when in fact such payments, in excess of his “investment interest,” were

  kickbacks based on the volume of referrals from (and/or caused by) Jones for performing, or

  causing to be performed, the Fraudulent Services, if at all, on Covered Persons at one or more of

  the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1380. Defendant Khakhar, record owner of Defendant PM&R entered into a secret, illegal

  referral kickback relationship with one or more of the Controllers in exchange for which Khakhar,

  through PM&R would refer Covered persons to the Surgicore ASCs.

         1381. In that regard, one or more pain management physicians and physician assistants

  working under Khakhar’s direction and control, purportedly performs one or more of the




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  Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendants Fifth Avenue ASC, and North Queens ASC.

         1382. Pain management physicians and physician assistants working under Khakhar’s

  direction and control, purportedly performed one or more of the Fraudulent Services through

  Defendant PM&R, at the Surgicore ASCs, including but limited to Fifth Avenue ASC, and North

  Queens ASC, in exchange for receiving kickbacks from the Controllers in the form of an ownership

  or “investment interest” in Empire State ASC and North Queens ASC.

         1383. In exchange for receiving referrals from Khakhar and other pain management

  physicians under his control, through PM&R, the Controllers gave Khakhar the opportunity to

  “purchase” a nominal ownership or “investment interest” in Empire State ASC and North Queens

  ASC.

         1384. In actuality, the “investment interest” were kickbacks paid by the Controllers,

  through Empire State ASC and North Queens ASC, in which Khakhar’s purported investment was

  quickly repaid and thereafter he received kickbacks in the form of substantial payments that were

  disguised as dividends or other cash distributions disproportionate with his nominal “investment

  interest” in Empire State ASC and North Queens ASC.

         1385. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Khakhar’s

  ownership interest in one or more of the Surgicore ASCs, including Empire State ASC and North

  Queens ASC.

         1386. On information and belief, Khakhar was provided with an “investment interest” in

  Empire State ASC and North Queens ASC in exchange for his agreement to provide (or cause to




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  be provided) a steady stream of referrals from medical practices in which he was the record owner,

  including PM&R, to the Surgicore ASCs. On information and belief, in exchange for Khakhar’s

  “investment interest” in Empire State ASC and North Queens ASC, Empire State ASC, North

  Queens ASC, and/or other entities controlled by the Controllers issued regular payments to

  Khakhar purporting to be returns on his “investment interest” in Empire State ASC and North

  Queens ASC when in fact such payments, in excess of his “investment interest,” were kickbacks

  based on the volume of referrals from (and/or caused by) Khakhar for performing, or causing to

  be performed, the Fraudulent Services, if at all, on Covered Persons at one or more of the Surgicore

  ASCs pursuant to a predetermined fraudulent protocol.

         1387. Defendant Kotkes, record owner of Defendant Kotkes PC entered into a secret,

  illegal referral kickback relationship with one or more of the Controllers in exchange for which

  Kotkes, through Kotkes PC would refer Covered persons to the Surgicore ASCs.

         1388. In that regard, one or more pain management physicians and physician assistants

  working under Kotkes’s direction and control, purportedly performs one or more of the Fraudulent

  Services at one or of the Defendant Surgicore ASCs, including but not limited to Defendants All

  City ASC, Rockaways ASC, North Queens ASC, and Jersey City ASC.

         1389. Pain management physicians and physician assistants working under Kotkes’s

  direction and control, purportedly performed one or more of the Fraudulent Services through

  Defendant Kotkes PC, at the Surgicore ASCs, including but limited to All City ASC, Rockaways

  ASC, North Queens ASC, and Jersey City ASC, in exchange for receiving kickbacks from the

  Controllers in the form of ownership or “investment interests” in Rockland and Bergen ASC and

  Jersey City ASC.




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         1390. In exchange for receiving referrals from Kotkes and other pain management

  physicians under his control, through Kotkes PC, the Controllers gave Kotkes the opportunity to

  “purchase” a roughly 1% ownership or “investment interest” in Rockland and Bergen ASC, held

  until January 2020, and an ownership or “investment interest” in Jersey City ASC fluctuating

  between 0.25% and 0.5%, held until September 2023.

         1391. In actuality, the “investment interests” were kickbacks paid by the Controllers,

  through Rockland and Bergen ASC and Jersey City ASC, in which Kotkes’ purported investment

  was quickly repaid and thereafter he received kickbacks in the form of substantial payments that

  were disguised as dividends or other cash distributions disproportionate with his nominal

  “investment interests” in Rockland and Bergen ASC and Jersey City ASC.

         1392. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Kotkes’

  ownership interest in one or more of the Surgicore ASCs, including Rockland and Bergen ASC

  and Jersey City ASC.

         1393. On information and belief, Kotkes was provided with “investment interests” in

  Rockland and Bergen ASC and Jersey City ASC in exchange for his agreement to provide (or

  cause to be provided) a steady stream of referrals from medical practices in which he was the

  record owner, including Defendant Kotkes PC to the Surgicore ASCs. On information and belief,

  in exchange for Kotkes’ “investment interest” in Rockland and Bergen ASC and Jersey City ASC,

  Rockland and Bergen ASC, Jersey City ASC, and/or other entities controlled by the Controllers

  issued regular payments to Kotkes purporting to be returns on his “investment interest” in

  Rockland and Bergen ASC and Jersey City ASC when in fact such payments, in excess of his




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  “investment interest,” were kickbacks based on the volume of referrals from (and/or caused by)

  Kotkes for performing, or causing to be performed, the Fraudulent Services, if at all, on Covered

  Persons at one or more of the Surgicore ASCs pursuant to a predetermined fraudulent protocol.

         1394. Defendant Shabtian, record owner of Defendant Total Anesthesia entered into a

  secret, illegal referral kickback relationship with one or more of the Controllers in exchange for

  which Shabtian, through Total Anesthesia would refer Covered persons to the Surgicore ASCs.

         1395. In that regard, Shabtian and other pain management physicians and physician

  assistants working under his direction and control, purportedly performs one or more of the

  Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendants All City ASC, Fifth Avenue ASC, North Queens ASC, and Rockaways ASC.

         1396. Shabtian and other pain management physicians and physician assistants working

  under his direction and control, purportedly performed one or more of the Fraudulent Services

  through Defendant Total Anesthesia, at the Surgicore ASCs, including but limited to All City ASC,

  Fifth Avenue ASC, North Queens ASC, and Rockaways ASC, in exchange for receiving kickbacks

  from the Controllers in the form of an ownership or “investment interest” in All City ASC.

         1397. In exchange for receiving referrals from Shabtian, through Total Anesthesia, the

  Controllers gave Shabtian the opportunity to “purchase” an ownership or “investment interest” in

  All City ASC.

         1398. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through All City ASC, in which Shabtian’s purported investment was quickly repaid and thereafter

  he received kickbacks in the form of substantial payments that were disguised as dividends or other

  cash distributions disproportionate with his 0.8% “investment interest” in All City ASC.




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         1399. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Shabtian’s

  ownership interest in one or more of the Surgicore ASCs, including All City ASC, Fifth Avenue

  ASC, North Queens ASC, and Rockaways ASC.

         1400. On information and belief, Shabtian was provided with an “investment interest” in

  All City ASC in exchange for his agreement to provide (or cause to be provided) a steady stream

  of referrals from medical practices in which he was the record owner, including Defendant Total

  Anesthesia to the Surgicore ASCs.

         1401. On information and belief, in exchange for Shabtian’s “investment interest” in All

  City ASC, All City ASC and/or other entities controlled by the Controllers issued regular payments

  to Shabtian purporting to be returns on his “investment interest” in All City ASC when in fact such

  payments, in excess of his “investment interest,” were kickbacks based on the volume of referrals

  from (and/or caused by) Shabtian, for performing, or causing to be performed, the Fraudulent

  Services, if at all, on Covered Persons at one or more of the Surgicore ASCs pursuant to a

  predetermined fraudulent protocol.

         1402. Defendant Vora, record owner of Defendants KDV Medical, KV Medical, NJ Vora,

  Ketan PC, and Non-Surgical Orthopedics, entered into a secret, illegal referral kickback

  relationship with one or more of the Controllers in exchange for which Vora, through KDV

  Medical, KV Medical, NJ Vora, Ketan PC, and Non-Surgical Orthopedics would refer Covered

  persons to the Surgicore ASCs.

         1403. In that regard, one or more pain management physicians and physician assistants

  working under Vora’s direction and control, purportedly performs one or more of the Fraudulent




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  Services at one or of the Defendant Surgicore ASCs, including but not limited to Defendants

  Manalapan ASC, New Horizon ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen

  ASC, and Saddlebrook ASC.

         1404. Pain management physicians and physician assistants working under Vora’s

  direction and control, purportedly performed one or more of the Fraudulent Services through KDV

  Medical, KV Medical, NJ Vora, Vora PC, and/or Non-Surgical Orthopedics, at the Surgicore

  ASCs, including but limited to Manalapan ASC, New Horizon ASC, North Queens ASC,

  Rockaways ASC, Rockland and Bergen ASC, and Saddlebrook ASC, in exchange for receiving

  kickbacks from the Controllers in the form of ownership or “investment interests” in New Horizon

  ASC and Saddlebrook ASC.

         1405. In exchange for receiving referrals from Vora and other pain management

  physicians under his control, through KDV Medical, KV Medical, NJ Vora, Vora PC, and/or Non-

  Surgical Orthopedics, the Controllers gave Vora the opportunity to “purchase” a roughly 1%

  ownership or “investment interest” in New Horizon ASC, held through December 2020, through

  Non-Surgical Orthopedics, and an ownership or “investment interest” in Saddlebrook ASC, last

  reported to be roughly 1.8%.

         1406. In actuality, the “investment interests” was a kickback paid by the Controllers,

  through New Horizon ASC and Saddlebrook ASC, in which Vora’s purported investment was

  quickly repaid and thereafter he received kickbacks in the form of substantial payments that were

  disguised as dividends or other cash distributions disproportionate with his “investment interests”

  in New Horizon ASC and Saddlebrook ASC.

         1407. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which




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  American Transit relied, the Controllers were able to conceal from American Transit, Vora’s

  ownership interest in one or more of the Surgicore ASCs, including New Horizon ASC.

         1408. On information and belief, Vora was provided with an “investment interest” in New

  Horizon ASC in exchange for his agreement to provide (or cause to be provided) a steady stream

  of referrals from medical practices in which he was the record owner, including Defendant through

  KDV Medical, KV Medical, NJ Vora, Vora PC, and/or Non-Surgical Orthopedics to the Surgicore

  ASCs. On information and belief, in exchange for Vora’s “investment interests” in New Horizon

  ASC and Saddlebrook ASC, New Horizon ASC, Saddlebrook ASC, and/or other entities

  controlled by the Controllers issued regular payments to Vora purporting to be returns on his

  “investment interests” in New Horizon ASC and Saddlebrook ASC, when in fact such payments,

  in excess of his “investment interest,” were kickbacks based on the volume of referrals from

  (and/or caused by) Vora for performing, or causing to be performed, the Fraudulent Services, if at

  all, on Covered Persons at one or more of the Surgicore ASCs pursuant to a predetermined

  fraudulent protocol.

         1409. In addition to the foregoing, in furtherance of the scheme to defraud alleged herein,

  the Surgicore Orthopedists and Surgicore Pain Management Doctors that do not have a known

  ownership interest in one or more of the Surgicore ASCs, including but not limited to Defendants

  Baum, through Bay Ridge PC, Ackerman, in his individual capacity and/or through Contemporary

  Orthopedics, Bowen, in his individual capacity and/or through Alexander Bowen PLLC and/or

  Bowen PLLC, Jimenez, through J Sports and/or Dev Healthcare, Hall, in his individual capacity,

  and or through Hall PLLC, Portal, through Portal Medical, and Xie through Integrated

  Management, referred Covered Persons to the Surgicore ASCs for one or more of the Fraudulent

  Services purportedly performed by the Surgicore Orthopedists, Surgicore Pain Management




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  Doctors, and or other doctors and healthcare professionals under their direction or control, in

  exchange for kickbacks or other financial arrangements.

         1410. In furtherance of the scheme to defraud alleged herein, the Surgicore

  Anesthesiologists, in exchange for kickbacks or other financial arrangements, purportedly

  performed anesthesia services at one or more of the Surgicore ASCs, during the purported

  performances of the Fraudulent Services by Surgicore Orthopedists, Surgicore Pain Management

  Doctors, and or other doctors and healthcare professionals under their direction or control,

  providing the Controllers an essential means, without which the Controllers would not be able to

  carry out the scheme to defraud alleged herein.

         1411. Defendant Amigud, record owner of Defendants Amigud PC and Fifth Avenue

  Anesthesia, and until May 2023, record co-owner of Centurion Midtown Medical, and until May

  2023, Centurion Midtown Anesthesia, entered into a secret, illegal kickback relationship with one

  or more of the Controllers in exchange for which Amigud, through Amigud PC, Fifth Avenue

  Anesthesia, Centurion Midtown Medical, and Centurion Midtown Anesthesia, would provide

  anesthesia services attendant to the Fraudulent Services for which Covered Persons were referred

  to the Surgicore ASCs.

         1412. In that regard, Amigud and other anesthesiologists or nurse anesthetists under his

  direction and control, purportedly performs anesthesia services in connection with one or more of

  the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendant Fifth Avenue ASC.

         1413. Amigud and other anesthesiologists or nurse anesthetists working under his

  direction and control, purportedly perform anesthesia services Amigud, through Amigud PC, Fifth

  Avenue Anesthesia, Centurion Midtown Medical, and Centurion Midtown Anesthesia, in




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  connection with one or more of the Fraudulent Services at the Surgicore ASCs, including but

  limited to Fifth Avenue ASC, in exchange for receiving kickbacks from the Controllers in the form

  of an ownership or “investment interest” in Fifth Avenue ASC.

         1414. In exchange for the provision of anesthesia services by Amigud, through Amigud,

  through Amigud PC, Fifth Avenue Anesthesia, Centurion Midtown Medical, and Centurion

  Midtown Anesthesia, in connection with the Fraudulent Services referred by the Surgicore

  Orthopedic Providers and/or Surgicore Pain Management Providers, the Controllers gave Amigud

  the opportunity to “purchase” an 8% ownership or “investment interest” in Fifth Avenue ASC.

         1415. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Fifth Avenue ASC, in which Amigud’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his 8% “investment interest” in Fifth

  Avenue ASC.

         1416. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Amigud’s

  ownership interest in one or more of the Surgicore ASCs, including Fifth Avenue ASC.

         1417. On information and belief, Amigud was provided with an “investment interest” in

  Fifth Avenue ASC in exchange for his agreement to provide (or cause to be provided) a steady

  stream of anesthesia services through, medical practices in which he was the record owner or

  otherwise associated with, including Defendants Amigud, through Amigud PC, Fifth Avenue

  Anesthesia, Centurion Midtown Medical, and Centurion Midtown Anesthesia to Covered Persons

  at the Surgicore ASCs, providing Controllers the essential means for the Surgicore ASCs,




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  Surgicore Orthopedic Providers and Surgicore Pain Management Providers to continue to

  purportedly perform, and bill for the Fraudulent Services pursuant to a predetermined fraudulent

  protocol. On information and belief, in exchange for Amigud’s “investment interest” in Fifth

  Avenue ASC, Fifth Avenue ASC and/or other entities controlled by the Controllers issued regular

  payments to Amigud purporting to be returns on his “investment interest” in Fifth Avenue ASC

  when in fact such payments, in excess of his “investment interest,” were kickbacks based on the

  volume of anesthesia services attendant to the Fraudulent Services, in which Amigud provided (or

  caused to be provided), if at all, on Covered Persons at one or more of the Surgicore ASCs, in

  excess of the fair market value for the purported staffing of anesthesiologists or nurse anesthetists.

         1418. Defendant Elkholy, record owner of Defendant Precision Anesthesia, PC, entered

  into a secret, illegal kickback relationship with one or more of the Controllers in exchange for

  which Elkholy, through Precision Anesthesia, PC, would provide anesthesia services attendant to

  the Fraudulent Services for which Covered Persons were referred to the Surgicore ASCs.

         1419. In that regard, Elkholy and other anesthesiologists or nurse anesthetists working

  under his direction and control, purportedly performs anesthesia services in connection with one

  or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not

  limited to Defendant All City ASC, New Horizon ASC, Manalapan ASC, and Saddlebrook ASC.

         1420. Elkholy and other anesthesiologists or nurse anesthetists working under his

  direction and control, purportedly performed purportedly performs anesthesia services through

  Precision Anesthesia, PC, in connection with one or more of the Fraudulent Services at the

  Surgicore ASCs, including but limited to All City ASC, New Horizon ASC, Manalapan ASC, and

  Saddlebrook ASC, in exchange for receiving kickbacks from the Controllers in the form of an

  ownership or “investment interest” in Manalapan ASC.




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         1421. In exchange for the provision of anesthesia services by Elkholy, through Precision

  Anesthesia, PC in connection with the Fraudulent Services referred by the Surgicore Orthopedic

  Providers and/or Surgicore Pain Management Providers, the Controllers gave Elkholy the

  opportunity to “purchase” an ownership or “investment interest” in Manalapan ASC, fluctuating

  over time and reaching 14% in 2022.

         1422. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Manalapan ASC, in which Elkholy’s purported investment was quickly repaid and

  thereafter he received kickbacks in the form of substantial payments that were disguised as

  dividends or other cash distributions disproportionate with his “investment interest” in Manalapan

  ASC.

         1423. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Elkholy’s

  ownership interest in one or more of the Surgicore ASCs, including Manalapan ASC.

         1424. On information and belief, Elkholy was provided with an “investment interest” in

  Manalapan ASC in exchange for his agreement to provide (or cause to be provided) a steady stream

  of anesthesia services through medical practices in which he was the record owner or otherwise

  associated with, including Precision Anesthesia, PC to Covered Persons at the Surgicore ASCs,

  providing Controllers the essential means for the Surgicore ASCs, Surgicore Orthopedic Providers

  and Surgicore Pain Management Providers to continue to purportedly perform, and bill for the

  Fraudulent Services pursuant to a predetermined fraudulent protocol. On information and belief,

  in exchange for Elkholy’s “investment interest” in Manalapan ASC, Manalapan ASC and/or other

  entities controlled by the Controllers issued regular payments to Elkholy purporting to be returns




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  on his “investment interest” in Manalapan ASC when in fact such payments, in excess of his

  “investment interest,” were kickbacks based on the volume of anesthesia services attendant to the

  volume of Fraudulent Services, in which Elkholy provided (or caused to be provided), if at all, on

  Covered Persons at one or more of the Surgicore ASCs, in excess of the fair market value for the

  purported staffing of anesthesiologists or nurse anesthetists.

         1425. Defendants Kurtti, McCarthy, and Eltaki record owners of Defendant Quality

  Anesthesia, entered into a secret, illegal kickback relationship with one or more of the Controllers

  in exchange for which Quality Anesthesia, would provide anesthesia services attendant to the

  Fraudulent Services for which Covered Persons were referred to the Surgicore ASCs.

         1426. In that regard, Kurtti, McCarthy, Eltaki, and other anesthesiologists or nurse

  anesthetists working under his direction and control, purportedly performs anesthesia services in

  connection with one or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs,

  including but not limited to Defendant Rockland and Bergen ASC.

         1427. Kurtti, McCarthy, Eltaki, and other anesthesiologists or nurse anesthetists working

  under his direction and control, purportedly performed purportedly performs anesthesia services

  through Quality Anesthesia, in connection with one or more of the Fraudulent Services at the

  Surgicore ASCs, including but limited to Rockland and Bergen ASC, in exchange for receiving

  kickbacks from the Controllers in the form of an ownership or “investment interest” in Rockland

  and Bergen ASC, or some other form of financial compensation.

         1428. On information and belief, in exchange for the provision of anesthesia services by

  Kurtti, McCarthy, and Eltaki, through Quality Anesthesia, in connection with the Fraudulent

  Services referred by the Surgicore Orthopedists and/or Surgicore Pain Management Physicians,

  the Controllers gave Kurtti and McCarthy the opportunity to “purchase” fractional ownership or




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  “investment interests” in Rockland and Bergen ASC through fractional interests in one of a string

  of shell corporations controlled by the Controllers.

         1429. In actuality, the “investment interest” was a kickback paid by the Controllers,

  through Rockland and Bergen ASC, in which Kurtti’s and McCarthy’s purported investment was

  quickly repaid and thereafter they received kickbacks in the form of substantial payments that were

  disguised as dividends or other cash distributions disproportionate with the value of their

  “investment interests” in Rockland and Bergen ASC.

         1430. As the ownership interests in an ASC are made in corporate records not provided

  to American Transit as part of the Surgicore ASC’s facially valid billing submissions upon which

  American Transit relied, the Controllers were able to conceal from American Transit, Kurtti’s and

  McCarthy’s ownership interest in one or more of the Surgicore ASCs, including Rockland and

  Bergen ASC.

         1431. On information and belief, Kurtti and McCarthy were provided with an “investment

  interest” in one in a string of shell corporations with stake in Rockland and Bergen ASC, and

  Eltaki, kickbacks in some other form of financial compensation, in exchange for their agreement

  to provide (or cause to be provided) a steady stream of anesthesia services through medical

  practices in which he was the record owner or otherwise associated with, including Quality

  Anesthesia to Covered Persons at the Surgicore ASCs, providing Controllers the essential means

  for the Surgicore ASCs, Surgicore Orthopedic Providers and Surgicore Pain Management

  Providers to continue to purportedly perform, and bill for the Fraudulent Services pursuant to a

  predetermined fraudulent protocol. On information and belief, in exchange for Kurtti’s and

  McCarthy ’s “investment interest” in shell company shareholders of Rockland and Bergen ASC,

  Rockland and Bergen ASC and/or other entities controlled by the Controllers issued regular




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  payments to Kurtti and McCarthy purporting to be returns on their “investment interest” in shell

  company shareholders of Rockland and Bergen ASC, when in fact such payments, in excess of

  their “investment interest,” were kickbacks based on the volume of anesthesia services attendant

  to Fraudulent Services, in which Quality Anesthesia provided (or caused to be provided), if at all,

  on Covered Persons at one or more of the Surgicore ASCs.

         1432. On information and belief, such payments to Kurtti and McCarthy, and additional

  kickbacks in the form of other financial compensation to Eltaki were in excess of the fair market

  value for the purported staffing of anesthesiologists or nurse anesthetists.

         1433. In addition to the foregoing, one or more Surgicore Anesthesiologists who do not

  hold an ownership interest in one or more of the Surgicore ASCs, provide anesthesia services

  attendant to the Fraudulent Services for which Covered Persons were referred to the Surgicore

  ASCs, in exchange for illegal kickbacks or other financial compensation, often disguised as

  compensation pursuant to staffing agreements.

         1434. Defendant Neuman, record owner of Defendants Neuman PC, Neuman PLLC,

  Sedation Vacation, Centurion Midtown Anesthesia, Centurion Midtown Medical, and Centurion

  Anesthesia, entered into a secret, illegal kickback relationship with one or more of the Controllers

  in exchange for which Neuman, through Neuman PC, Neuman PLLC, Sedation Vacation,

  Centurion Midtown Anesthesia, Centurion Midtown Medical, and Centurion Anesthesia would

  provide anesthesia services attendant to the Fraudulent Services for which Covered Persons were

  referred to the Surgicore ASCs.

         1435. In that regard, Neuman and other anesthesiologists or nurse anesthetists under his

  direction and control, purportedly performs anesthesia services in connection with one or more of

  the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to




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  Defendants All City ASC, Empire State ASC, North Queens ASC, Rockaways ASC, and Fifth

  Avenue ASC.

         1436. On information and belief, to bill for the Fraudulent Services purportedly

  performed at, by, and through the Surgicore ASCs, the Controllers required anesthesiologists to

  be staffed at sufficient levels at each of the Surgicore ASCs.

         1437. On information and belief, in exchange for the payment of kickbacks, Defendant

  Neuman, and or one or more of the corporate entities under his control, purportedly exclusively

  staffed one or more Surgicore ASCs, including but not limited to Defendants All City ASC, Empire

  State ASC, North Queens ASC, Rockaways ASC, for which Neuman, through Neuman PC,

  Neuman PLLC, Sedation Vacation, Centurion Midtown Anesthesia, Centurion Midtown Medical,

  and Centurion Anesthesia, bills the insurers directly, and in which Neuman received kickback

  payments by the Surgicore ASCs, Controllers, and/or other entities under their control. Such

  payments were disguised as sham exclusive staffing agreements in which Neuman, through

  Neuman PC, Neuman PLLC, Sedation Vacation, Centurion Midtown Anesthesia, and Centurion

  Midtown Medical, and would staff the operating rooms with anesthesiologists or nurse anesthetists

  at one or more Surgicore ASCs, in which the Surgicore ASC and one of the anesthesia practices

  for which Neuman is the record owner, would bill for one or more of the Fraudulent Services.

         1438. On information and belief, Neuman and other anesthesiologists or nurse

  anesthetists working under his direction and control, purportedly perform anesthesia services

  through Neuman PC, Neuman PLLC, Sedation Vacation, Centurion Midtown Anesthesia,

  Centurion Midtown Medical, and Centurion Anesthesia, in connection with one or more of the

  Fraudulent Services at the Surgicore ASCs, including but limited to All City ASC, Empire State

  ASC, North Queens ASC, Rockaways ASC, and Fifth Avenue ASC, in exchange for receiving




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  kickbacks or other financial compensation from the Surgicore ASCs, Controllers, and/or other

  entities controlled by the Controllers.

         1439. On information and belief, the kickbacks and/or other financial compensation paid

  to Neuman were based on the volume of anesthesia services attendant to the Fraudulent Services,

  in which Neuman provided (or caused to be provided), if at all, on Covered Persons at one or more

  of the Surgicore ASCs, in excess of the fair market value for the purported staffing of

  anesthesiologists or nurse anesthetists.

         1440. Defendant Scinas, record owner of Defendant Roxbury Anesthesia, entered into a

  secret, illegal kickback relationship with one or more of the Controllers in exchange for which

  Scinas, through Roxbury Anesthesia would provide anesthesia services attendant to the Fraudulent

  Services for which Covered Persons were referred to the Surgicore ASCs.

         1441. In that regard, Scinas and other anesthesiologists or nurse anesthetists under his

  direction and control, purportedly performs anesthesia services in connection with one or more of

  the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendants Jersey City ASC and Manalapan ASC.

         1442. On information and belief, Scinas and other anesthesiologists or nurse anesthetists

  working under his direction and control, purportedly perform anesthesia services through Roxbury

  Anesthesia, in connection with one or more of the Fraudulent Services at the Surgicore ASCs,

  including but limited to Jersey City ASC and Manalapan, in exchange for receiving kickbacks or

  other financial compensation from the Surgicore ASCs, Controllers, and/or other entities

  controlled by the Controllers.

         1443. On information and belief, to bill for the Fraudulent Services purportedly

  performed at, by, and through the Surgicore ASCs, the Controllers required anesthesiologists to




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  be staffed at sufficient levels at each of the Surgicore ASCs. In exchange for the payment of

  kickbacks Defendant Scinas, through Roxbury Anesthesia, staffed one or more Surgicore ASCs,

  including but not limited to Defendants Jersey City ASC and Manalapan ASC, for which Scinas,

  through Roxbury Anesthesia, bills the insurers directly, and in which Scinas received kickback

  payments by the Surgicore ASCs, Controllers, and/or other entities under their control. Such

  payments were disguised as a sham staffing agreement, in which Scinas, through Roxbury

  Anesthesia would staff the operating rooms with anesthesiologists or nurse anesthetists at one or

  more Surgicore ASCs, in which both Roxbury Anesthesia and the Surgicore ASC would bill for

  one or more of the Fraudulent Services.

         1444. On information and belief, Scinas was provided with kickbacks or other financial

  compensation in exchange for his agreement to provide (or cause to be provided) a steady stream

  of anesthesia services through, medical practices in which he was the record owner or otherwise

  associated with, including through Defendant Roxbury Anesthesia, to Covered Persons at the

  Surgicore ASCs, providing Controllers the essential means for the Surgicore ASCs, Surgicore

  Orthopedic Providers and Surgicore Pain Management Providers to continue to purportedly

  perform, and bill for the Fraudulent Services pursuant to a predetermined fraudulent protocol.

         1445. On information and belief, the kickbacks and/or other financial compensation paid

  to Scinas were based on the volume of anesthesia services attendant to the Fraudulent Services, in

  which Scinas provided (or caused to be provided), if at all, on Covered Persons at one or more of

  the Surgicore ASCs, in excess of the fair market value for the purported staffing of

  anesthesiologists or nurse anesthetists.

         1446. Defendant Khan, record owner of Anesthesia Professionals, entered into a secret,

  illegal kickback relationship with one or more of the Controllers in exchange for which Khan,




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  through Anesthesia Professionals would provide anesthesia services attendant to the Fraudulent

  Services for which Covered Persons were referred to the Surgicore ASCs.

         1447. In that regard, Khan and other anesthesiologists or nurse anesthetists under his

  direction and control, purportedly performs anesthesia services in connection with one or more of

  the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendant Manalapan ASC.

         1448. On information and belief, Khan and other anesthesiologists or nurse anesthetists

  working under his direction and control, purportedly perform anesthesia services through

  Anesthesia Professionals, in connection with one or more of the Fraudulent Services at the

  Surgicore ASCs, including but limited to Manalapan ASC, in exchange for receiving kickbacks or

  other financial compensation from the Surgicore ASCs, Controllers, and/or other entities

  controlled by the Controllers.

         1449. On information and belief, to bill for the Fraudulent Services purportedly

  performed at, by, and through the Surgicore ASCs, the Controllers required anesthesiologists to

  be staffed at sufficient levels at each of the Surgicore ASCs. In exchange for the payment of

  kickbacks Defendant Khan, through Anesthesia Professionals staffed one or more Surgicore ASCs,

  including but not limited to Defendant Manalapan ASC, for which Khan, through Anesthesia

  Professionals bills the insurers directly, and in which Khan received kickback payments by the

  Surgicore ASCs, Controllers, and/or other entities under their control. Such payments were

  disguised as a sham staffing agreement, in which Khan, through Anesthesia Professionals would

  staff the operating rooms with anesthesiologists or nurse anesthetists at one or more Surgicore

  ASCs, in which both Anesthesia Professionals and the Surgicore ASC would bill for one or more

  of the Fraudulent Services.




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         1450. On information and belief, Khan was provided with kickbacks or other financial

  compensation in exchange for his agreement to provide (or cause to be provided) a steady stream

  of anesthesia services through, medical practices in which he was the record owner or otherwise

  associated with, including through Defendant Anesthesia Professionals, to Covered Persons at the

  Surgicore ASCs, providing Controllers the essential means for the Surgicore ASCs, Surgicore

  Orthopedic Providers and Surgicore Pain Management Providers to continue to purportedly

  perform, and bill for the Fraudulent Services pursuant to a predetermined fraudulent protocol.

         1451. On information and belief, the kickbacks and/or other financial compensation paid

  to Khan were based on the volume of anesthesia services attendant to the Fraudulent Services, in

  which Khan provided (or caused to be provided), if at all, on Covered Persons at one or more of

  the Surgicore ASCs, in excess of the fair market value for the purported staffing of

  anesthesiologists or nurse anesthetists.

         1452. Defendant Kao, record owner of Defendant Progressive-Hudson, entered into a

  secret, illegal kickback relationship with one or more of the Controllers in exchange for which

  Kao, through Progressive-Hudson would provide anesthesia services attendant to the Fraudulent

  Services for which Covered Persons were referred to the Surgicore ASCs.

         1453. In that regard, Kao and other anesthesiologists or nurse anesthetists under his

  direction and control, purportedly performs anesthesia services in connection with one or more of

  the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not limited to

  Defendant Saddlebrook ASC.

         1454. On information and belief, Kao and other anesthesiologists or nurse anesthetists

  working under his direction and control, purportedly perform anesthesia services through

  Progressive-Hudson, in connection with one or more of the Fraudulent Services at the Surgicore




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  ASCs, including but limited to Saddlebrook ASC, in exchange for receiving kickbacks or other

  financial compensation from the Surgicore ASCs, Controllers, and/or other entities controlled by

  the Controllers.

         1455. On information and belief, to bill for the Fraudulent Services purportedly

  performed at, by, and through the Surgicore ASCs, the Controllers required anesthesiologists to

  be staffed at sufficient levels at each of the Surgicore ASCs. In exchange for the payment of

  kickbacks Defendant Kao, Progressive-Hudson, staffed one or more Surgicore ASCs, including

  but not limited to Defendant Saddlebrook ASC, for which he bills the insurers directly, and in

  which Kao received kickback payments by the Surgicore ASCs, Controllers, and/or other entities

  under their control. Such payments were disguised as a sham staffing agreement, in which Kao,

  through Progressive-Hudson would staff the operating rooms with anesthesiologists or nurse

  anesthetists at one or more Surgicore ASCs, in which both Progressive-Hudson and the Surgicore

  ASC would bill for one or more of the Fraudulent Services.

         1456. On information and belief, Kao was provided with kickbacks or other financial

  compensation in exchange for his agreement to provide (or cause to be provided) a steady stream

  of anesthesia services through, medical practices in which he was the record owner or otherwise

  associated with, including through Defendant Progressive-Hudson, to Covered Persons at the

  Surgicore ASCs, providing Controllers the essential means for the Surgicore ASCs, Surgicore

  Orthopedic Providers and Surgicore Pain Management Providers to continue to purportedly

  perform, and bill for the Fraudulent Services pursuant to a predetermined fraudulent protocol.

         1457. On information and belief, the kickbacks and/or other financial compensation paid

  to Kao were based on the volume of the anesthesia services attendant to the Fraudulent Services,

  in which Kao provided (or caused to be provided), if at all, on Covered Persons at one or more of




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  the Surgicore ASCs, in excess of the fair market value for the purported staffing of

  anesthesiologists or nurse anesthetists.

          1458. Defendants Eaton and Itzkovich, record owners of Defendant Synergy Anesthesia,

  entered into a secret, illegal kickback relationship with one or more of the Controllers in exchange

  for which Eaton and Itzkovich, through Synergy Anesthesia would provide anesthesia services

  attendant to the Fraudulent Services for which Covered Persons were referred to the Surgicore

  ASCs.

          1459. In that regard, Eaton, Itzkovich and other anesthesiologists or nurse anesthetists

  under his direction and control, purportedly performs anesthesia services in connection with one

  or more of the Fraudulent Services at one or of the Defendant Surgicore ASCs, including but not

  limited to Defendant New Horizon ASC and Rockland and Bergen ASC.

          1460. On information and belief, Eaton, Itzkovich and other anesthesiologists or nurse

  anesthetists working under his direction and control, purportedly perform anesthesia services

  through Synergy Anesthesia, in connection with one or more of the Fraudulent Services at the

  Surgicore ASCs, including but limited to Saddlebrook ASC, in exchange for receiving kickbacks

  or other financial compensation from the Surgicore ASCs, Controllers, and/or other entities

  controlled by the Controllers.

          1461. On information and belief, to bill for the Fraudulent Services purportedly

  performed at, by, and through the Surgicore ASCs, the Controllers required anesthesiologists to

  be staffed at sufficient levels at each of the Surgicore ASCs. In exchange for the payment of

  kickbacks Defendants Eaton and Itzkovich, through Synergy Anesthesia, staffed one or more

  Surgicore ASCs, including but not limited to Defendants New Horizon ASC and Rockland and

  Bergen ASC, for which Eaton and Itzkovich, through Synergy Anesthesia bills the insurers




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  directly, and in which Eaton and Itzkovich received kickback payments by the Surgicore ASCs,

  Controllers, and/or other entities under their control. Such payments were disguised as a sham

  staffing agreement, in which Eaton and Itzkovich, through Synergy Anesthesia, would staff the

  operating rooms with anesthesiologists or nurse anesthetists at one or more Surgicore ASCs, in

  which both Synergy Anesthesia and the Surgicore ASC would bill for one or more of the

  Fraudulent Services.

         1462. On information and belief, Eaton and Itzkovich were provided with kickbacks or

  other financial compensation in exchange for his agreement to provide (or cause to be provided) a

  steady stream of anesthesia services through, medical practices in which he was the record owner

  or otherwise associated with, including through Defendant Synergy Anesthesia, to Covered

  Persons at the Surgicore ASCs, providing Controllers the essential means for the Surgicore ASCs,

  Surgicore Orthopedic Providers and Surgicore Pain Management Providers to continue to

  purportedly perform, and bill for the Fraudulent Services pursuant to a predetermined fraudulent

  protocol.

         1463. On information and belief, the kickbacks and/or other financial compensation paid

  to Eaton and Itzkovich were based on the volume of anesthesia services attendant to the Fraudulent

  Services, in which Eaton and Itzkovich provided (or caused to be provided), if at all, on Covered

  Persons at one or more of the Surgicore ASCs, in excess of the fair market value for the purported

  staffing of anesthesiologists or nurse anesthetists.

  VI.    No-Fault Fraudulent Billing Scheme

         A. The No-Fault Clinics Exist to Advance Insurance Fraud

         1464. Separate and apart from and in addition to the illegal licensing violations and illegal

  financial arrangements alleged herein, Defendants engaged in a fraudulent billing scheme in which




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  Covered Persons purportedly underwent a predetermined course of treatment irrespective of

  medical necessity or risk to covered persons.

         1465. In furtherance of the scheme to defraud alleged herein, individuals who were

  purportedly involved in low-impact automobile collisions and purportedly sustained soft-tissue

  injuries would present to one of the numerous No-Fault Clinics in the New York metropolitan

  area, which would automatically trigger treatment protocols designed to fraudulently bill insurance

  companies, in general, and American Transit, in particular, for inter alia, medical evaluations,

  diagnostic tests, pain management injections, chiropractic treatment, and physical therapy,

  irrespective of medical necessity.

         1466. As part of a fraudulent protocol of treatment, after purportedly receiving a standard

  battery of medical treatment, many of the Covered Persons are eventually referred for orthopedic

  surgical evaluations and/or pain management evaluations at the No-Fault Clinics, resulting in

  referral for and purported performance of the Fraudulent Services at the Surgicore ASCs and

  other ASCs located in New York and New Jersey. Covered Persons were then often instructed to

  return to the same No-Fault Clinics for post-operative follow-up care.

         1467. Though seemingly organized to provide a range of healthcare services from a single

  location, virtually all the No-Fault Clinics at which Covered Persons presented for purported

  treatment and were referred to the Surgicore Orthopedic Providers and Surgicore Pain

  Management Providers were in actuality pay to play medical mills, that were established to provide

  one-stop shops for a wide range of multi-disciplinary medical services, irrespective of medical

  necessity and for the purpose of committing fraud.

         1468. In keeping with the fact that unlicensed laypersons controlled many of the No-Fault

  Clinics and that the Surgicore ASCs paid illegal kickbacks in exchange for patient referrals, several




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  of the No-Fault Clinics, from which the referrals to the Surgicore ASCs originated are identified

  in criminal prosecutions as clinics owned and controlled by laypersons and engaged in illegal “pay

  to play” No-Fault fraud schemes, involving, among other things, the payment of kickbacks and

  illegal referral arrangements. By way of example and not limitation, clinic locations identified

  during the investigation and prosecution of United States v. Anthony Rose, et al., 19-cr-00789

  (PGG) (S.D.N.Y.) (“USA v. Rose”) as being controlled by laypersons and as receiving patients as

  a result of illegal kickback and referral arrangements, including but not limited to No-Fault Clinics

  located at 1353 Utica Avenue Brooklyn NY 11203, 145 East 98th Street Brooklyn NY 11212, 2

  Wilson Place 3rd Floor Mt Vernon NY 10550, 2273 65th Street Brooklyn NY 11204, 2426

  Eastchester Road Bronx NY 10469, 2625 Atlantic Avenue Brooklyn NY 11207, 6937 Myrtle

  Avenue Glendale NY 11385, and 7909 Northern Boulevard Jackson Heights NY 11372, supplied

  one or more of the Surgicore ASCs, including but not limited to All City ASC, Empire State ASC,

  Fifth Avenue ASC, New Horizon ASC, North Queens ASC, Rockaways ASC, Rockland and

  Bergen ASC, Jersey City ASC and Saddlebrook ASC, with referrals for one or more of the

  Fraudulent Services.

         1469. Similarly, clinic locations associated with Alex Gulkarov, who, in United States v.

  Gulkarov, et al., 1:22-cr-00020 (S.D.N.Y. 2022), was prosecuted for engaging in complex No-

  Fault insurance schemes, including fraudulent lay-ownership of healthcare practices and unlawful

  referrals, including those located at 10510 Flatlands Avenue Brooklyn NY 11236, 20412 Hillside

  Avenue Hollis NY 11423, 6555 Woodhaven Boulevard Rego Park NY 11374, identified supplied

  one or more of the Surgicore ASCs, including but not limited to All City ASC, Empire State ASC,

  Fifth Avenue ASC, New Horizon ASC, Jersey City ASC and Saddlebrook ASC with referrals for

  one or more of the Fraudulent Services.




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         1470. In addition to the foregoing, No-Fault clinics where Covered Persons were

  purported treated by Rutland Medical PC (not named as a defendant herein), owned on paper by

  Marvin Moy MD (not named as a defendant herein), who was prosecuted for engaging in a

  complex No-Fault insurance scheme, involving both the fraudulent incorporation of medical

  practices and unlawful referrals of claimants in United States v. Pierre, 1:22-cr-00019 (S.D.N.Y.

  2022), including those clinics located at 135-25 79th Street, Suite 2A Howard Beach NY 11414,

  145 East 98th Street Brooklyn NY 11212, 145-25 79th Street Suite 2A Howard Beach NY 11414,

  71 South Central Avenue Suite 101 Valley Stream NY 11580, 951 Brook Avenue Bronx NY

  10451, supplied one or more of the Surgicore ASCs, including but not limited to North Queens

  ASC, Rockaways ASC, Fifth Avenue ASC, Empire State ASC, Jersey City ASC, All City ASC,

  Rockland and Bergen ASC, New Horizon ASC and Manalapan ASC with referrals for one or more

  of the Fraudulent Services.

         1471. In addition to the foregoing, in furtherance of the scheme to defraud, many of the

  referrals for one or more of the Fraudulent Services, resulting in claims submitted by one or more

  of the Surgicore ASC’s to Plaintiff, were issued from No-Fault Clinics, including but not limited

  to those located at 55 East 115th Street, New York NY 10029; 332 East 149 NY Street, Bronx,

  NY 10451; 951 Brook Avenue, Bronx, NY 10451; 14 Bruckner Boulevard, Bronx, 10454; 599-

  601 Southern Boulevard, Bronx, NY 10455; 1320 Louis Nine Boulevard, Bronx, NY 10459; 3626

  Bailey Avenue, Bronx, NY 10463; 4250 White Plains Road, Bronx, NY 10466; 2558 Holland

  Avenue, Bronx, NY 10467; 3407 White Plains Road, Bronx, NY 10467; 665 Pelham Pkwy N,

  Bronx, NY 10467; 2386 Jerome Avenue, Bronx, NY 10468; 647 Bryant Avenue, Bronx, NY

  10474; 3910 Church Avenue, Brooklyn, NY 11203; 632 Utica Avenue, Brooklyn, NY 11203; 108

  Kenilworth Place, Brooklyn, NY 11210; 409 Rockaway Avenue, Brooklyn, NY 11212; 513




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  Church Avenue, Brooklyn, NY 11218; 611 East 76th Street, Brooklyn, NY 11236; 5127 Queens

  Blvd, Woodside, NY 11377; 10748 Guy R Brewer Boulevard, Jamaica, NY 11433; 13742 Guy R

  Brewer Boulevard, Jamaica, NY 11434; 219 Hempstead Turnpike, West Hempstead NY 11552;

  and 71 South Central Avenue, Valley Stream, NY 11580, where healthcare professionals

  purportedly provided medical services through Atlantic Medical & Diagnostic PC (not named as

  a defendant herein), a professional corporation in which Jonathan Landow (“Landow”) (not named

  as a defendant herein) is listed as the record owner.

         1472. Landow and several professional corporations in which he is listed as the record

  owner, including Atlantic Medical & Diagnostic, P.C. were sued by multiple No-Fault insurance

  carriers for allegedly engaging in a multimillion-dollar fraud scheme involving, among other

  things, rendering healthcare services pursuant to fraudulent billing and treatment protocols and

  engaging in illegal kickback and referral arrangements, in actions that remain pending or that

  ultimately settled. See Allstate Ins. Co., et al v. Landow, M.D., et al., 24-cv-02010 (E.D.N.Y.);

  Gov’t Emp. Ins. Co., et al. v. Landow, M.D., et al., 21-cv-01440 (E.D.N.Y.); Gov’t Emp. Ins. Co.,

  et al. v. Urban Medical, P.C., M.D., et al., 18-cv-02956 (E.D.N.Y.); Travelers Pers. Ins. Co., et

  al. v. Landow, M.D., et al., Index No. 656567/2021 (N.Y. Sup. Ct., N.Y. Cty.).

         1473. By way of further example but not limitation, numerous fraudulent referrals for the

  Fraudulent Services, resulting in claims submitted by the Surgicore ASCs to Plaintiff, were also

  issued from No-Fault Clinics including but not limited to those located at 1767 Southern

  Boulevard, Bronx, NY 10460; 409 Rockaway Avenue, Brooklyn, NY 11212; 3041 Avenue U,

  Brooklyn, NY 11229; 10510 Flatlands Avenue, Brooklyn, NY 11236; 20412 Hillside Avenue,

  Hollis, NY 11423; and 16059 Rockaway Boulevard, Jamaica, NY 11434, where healthcare

  professionals that purportedly provided medical services through Tri-Borough NY Medical




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  Practice, P.C. (not named as a defendant herein), a professional corporation in which Leonid

  Shapiro (“Shapiro”) (not named as a defendant herein) is the record owner.

         1474.   Shapiro, and several professional corporations in which he is listed as the record

  owner, including Tri-borough NY Medical Practice, P.C. have been sued by multiple No-Fault

  insurance carriers for allegedly engaging in various multimillion-dollar fraud schemes involving,

  among other things, rendering healthcare services pursuant to fraudulent billing and treatment

  protocols and engaging in illegal kickback and referral arrangements, in actions that remain

  pending or that ultimately settled. See Gov’t Emp. Ins. Co., et al. v. Moshe, et al., 20-cv-1098

  (FB)(RER) (E.D.N.Y. 2020); State Farm Mut. Auto. Ins. Co. et al. v. Metro Pain Specialists P.C.,

  et al, 21-cv-5523 (MKB)(PK) (E.D.N.Y. 2021); Allstate Ins. Co. et al v. Metro Pain Specialists

  Professional Corporation et al, 21-cv-5586 (DG)(RER) (E.D.N.Y. 2021).

         1475. By way of further example but not limitation, numerous fraudulent referrals for the

  Fraudulent Services, resulting in claims submitted by the Surgicore ASCs to Plaintiff, were also

  issued from No-Fault Clinics including but not limited to those located at 719 Southern Boulevard,

  Bronx, NY 10455; 4014A Boston Road, Bronx, NY 10475; 1655 Richmond Avenue, Staten

  Island, NY 10314; 6269 99th Street, Rego Park, NY 11374; 441 Willis Avenue, Bronx, NY 10455;

  2354 Westchester Avenue, Bronx, NY 10462; 9208 Liberty Avenue, Jamaica, NY 11417; and

  7945 Metropolitan Avenue, Middle Village, NY 11379, where healthcare professionals that

  purportedly provided medical services through Bronx County Medical Care PC (not named as a

  defendant herein) and/or Far Rockaway Medical PC (not named as a defendant herein),

  professional corporations in which Jean-Pierre Georges Barakat (“Barakat”) (not named as a

  defendant herein) is the record owner.




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         1476.    Barakat, and several professional corporations in which he is listed as the record

  owner, have been sued by multiple No-Fault insurance carriers for allegedly engaging in various

  fraudulent billing schemes involving, among other things, rendering healthcare services and/or

  issuing prescriptions pursuant to fraudulent billing and treatment protocols and engaging in illegal

  kickback and referral arrangements, in actions that remain pending or that ultimately settled. See

  Gov’t Emp. Ins. Co., et al. v. Barakat, et al., 22-cv-0753 (E.D.N.Y. 2022); Gov’t Emp. Ins. Co., et

  al. v. Barakat, et al., 17-cv-1066 (E.D.N.Y 2017); Gov’t Emp. Ins. Co., et al. v. Direct RX

  Pharmacy Inc. d/b/a Sharonas Pharmacy, et al., 19-cv-05876 (E.D.N.Y. 2019); Allstate Ins. Co.

  et al. v. New Century Pharmacy, et, al, 19-cv-05702 (E.D.N.Y. 2019).

         1477. By way of further example but not limitation, a numerous fraudulent referrals for

  the Fraudulent Services, resulting in claims submitted by the Surgicore ASCs to Plaintiff, were

  also issued from No-Fault Clinics including but not limited to those located at 1647 Macombs

  Road, Bronx, NY 10453; 560 Prospect Avenue, Bronx, NY 10455; 145 East 98th Street, Brooklyn,

  NY 11212; 1568 Ralph Avenue, Brooklyn, NY 11234; 10520 Northern Boulevard, Corona, NY

  11368; 11247 Queens Boulevard, Forest Hills, NY 11375; and 24351 Merrick Blvd, Rosedale, NY

  11422, where healthcare professionals that purportedly provided medical services through

  Metropolitan Medical & Surgical PC (not named as a defendant herein), a professional corporation

  in which Mark Gladstein (“Gladstein”) (not named as a defendant herein) is the record owner.

         1478.    Gladstein has been sued by multiple No-Fault insurance carriers for allegedly

  engaging in various fraudulent billing schemes involving, among other things, rendering

  healthcare services pursuant to fraudulent billing and treatment protocols and engaging in illegal

  kickback and referral arrangements, in actions that remain pending or that ultimately settled. See

  Liberty Mutual Mid. Atlantic Ins. Co. et al. v. Advanced Comprehensive Laboratory, LLC, et al,




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  22-cv-3541 (E.D.N.Y. 2022); State Farm Mut. Auto. Ins. Co., et al. v. Metro Pain Specialists, P.C.,

  21-cv-5523 ((E.D.N.Y. 2021); Gov’t Emp. Ins. Co., et al. v. Advanced Comprehensive Laboratory,

  LLC, et al., 20-cv-2391 (E.D.N.Y. 2020).

         1479. By way of further example but not limitation, a numerous fraudulent referrals for

  the Fraudulent Services, resulting in claims submitted by the Surgicore ASCs to Plaintiff, were

  issued from No-Fault Clinics including but not limited to those located at 599-601 Southern

  Boulevard, Bronx, NY 10455; 607 Westchester Avenue, Bronx, NY 10455; 717 Southern

  Boulevard, Bronx, NY 10455; 1894 Eastchester Road, Bronx, NY 10461; 1894 Eastchester Road,

  Bronx, NY 10461; 3432 East Tremont Avenue, Brooklyn, NY 10465; 150 Graham Avenue

  Brooklyn, NY 11206; 1611 East New York Avenue, Brooklyn, NY 11212; 282-284 Avenue X,

  Brooklyn, NY 11223; 146 Empire Boulevard, Brooklyn, NY 11225; 2088 B Flatbush Avenue,

  Brooklyn, NY 11234; 5414 Avenue N, Brooklyn, NY 11234; 3703 92nd Street, Jackson Heights,

  NY 11372; 7945 Metropolitan Avenue, Middle Village, NY 11379; 615 Seneca Avenue,

  Ridgewood, NY 11385; 9701 101st Avenue, Ozone Park, NY 11416; and 9208 Jamaica Avenue,

  Woodhaven, NY 11421, at which Joseph Raia MD (not named as a defendant herein) purportedly

  treated Covered Persons.

         1480. Raia has been sued multiple times for allegedly engaging in various fraudulent

  billing schemes involving, among other things, rendering healthcare services pursuant to

  fraudulent billing and treatment protocols and engaging in illegal kickback and referral

  arrangements, in actions that remain pending or that ultimately settled. See, e.g., Gov’t Emp. Ins.

  Co., et al. v. Badia, M.D., et al, 13-cv-01720 (E.D.N.Y. 2013); Gov’t Emp. Ins. Co., et al. v.

  Prescott, et al, 14-cv-00057 (E.D.N.Y. 2014).




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         1481. By way of further example but not limitation, a numerous fraudulent referrals for

  the Fraudulent Services, resulting in claims submitted by the Surgicore ASCs to Plaintiff, were

  issued from No-Fault Clinics including but not limited to those located at 2598 Third Avenue,

  Bronx, NY 10454; 4226A Third Avenue, Bronx, NY 10457; 900 B East Tremont Avenue, Bronx,

  New York 10460; and 3703 92nd Street, Jackson Heights, NY 11372, at which Colin Clarke MD

  (not named as a defendant herein) purportedly treated Covered Persons.

         1482. Clarke has been sued multiple times for allegedly engaging in various multimillion-

  dollar fraud schemes involving, among other things, rendering healthcare services pursuant to

  fraudulent billing and treatment protocols and engaging in illegal kickback and referral

  arrangements, in actions that remain pending or that ultimately settled. See, e.g., Gov’t Emp. Ins.

  Co., et al. v. Clarke, M.D., et, al, 23-cv-04605 (E.D.N.Y. 2023); Allstate Ins. Co. v. Rose, Sr. et

  al., 22-cv-00279 (E.D.N.Y. 2022); Gov’t Emp. Ins. Co., et al. v. Exon Medical Equipment, Inc.,

  et, al, 20-cv-02457 (E.D.N.Y. 2020); Allstate Ins. Co., et al. v. Halima, M.D., 06-cv-01316

  (E.D.N.Y. 2006).

         1483. By way of further example but not limitation, a numerous fraudulent referrals for

  the Fraudulent Services, resulting in claims submitted by the Surgicore ASCs to Plaintiff, were

  also issued from No-fault Clinics located at 10408 Roosevelt Avenue, Corona, NY 11368; and

  10704 Jamaica Avenue, Jamaica, NY 11418, the locations of a multimillion-dollar fraud scheme

  involving, among other things, rendering healthcare services pursuant through fraudulently

  incorporated healthcare practices pursuant to fraudulent billing and treatment protocols and

  engaging in illegal kickback and referral arrangements, and the subject of numerous RICO actions

  that ultimately settled. See, e.g. State Farm Ins. Co. v. Corona Medical Plaza, P.C., 17-cv-258

  (FB)(VMS) (E.D.N.Y. 2017); Allstate Ins. Co. v. Avellini, 21-cv-4951 (BMC) (E.D.N.Y. 2021).




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         1484. Notwithstanding that legitimate treatment plans for patients with non-specific neck

  and back pain, such as was reported by Covered Persons during their emergency room visits, and/or

  upon the Covered Persons’ first appearance at the No-Fault Clinics, may be limited to rest, over-

  the-counter pain medications, and application of heat or cold packs, or involve no treatment at all,

  Covered Persons purportedly treated at the No-Fault Clinics were routinely assessed similar

  general diagnoses and subjected to similar pre-determined treatments irrespective of medical

  necessity.

         1485. On information and belief, the protocols of treatment in operation at the No-Fault

  Clinics failed to take into account the needs of any particular Covered Person, and rarely, if ever,

  varied based upon a Covered Person’s age, medical history, circumstances of alleged accident,

  physical condition, symptoms, prior treatment or severity or location of alleged injury and/or the

  treatment provided was medically unnecessary, improperly performed, and/or was of diagnostic

  and/or treatment value.

         1486. Rather than taking into account the needs of individual Covered Persons, the No-

  fault Clinic implemented and/or participated in a fraudulent treatment apparatus through which

  they, as a matter of pattern, practice and protocol, provided Covered Persons with, and billed

  American Transit for, among other things, initial and follow-up examinations, chiropractic,

  physical therapy, diagnostic imaging, electrodiagnostic testing, and durable medical equipment.

         1487. Exhibit “1” in the Compendium of exhibits contains a representative sample of

  claims demonstrating the near uniformity of reported diagnoses, No-Fault Clinic treatments, pain

  management procedures, and surgeries purportedly performed on Covered Persons referred to the

  Surgicore ASCs to undergo the Fraudulent Services.




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         1488. In furtherance of the scheme to defraud alleged herein, Covered Persons, who

  during the course of receiving a battery of reoccurring modalities consisting of chiropractic,

  physical therapy, acupuncture treatments, as well as various other diagnostic services pursuant to

  a predetermined fraudulent protocol at a No-Fault Clinic, would ultimately be referred for

  surgeries and/or pain management procedures at one or more of the Defendant Surgicore ASCs.

         1489. Indicative that the Fraudulent Services were provided at the Surgicore ASCs, if at

  all, pursuant to the illegal kickback and/or self-referral scheme alleged herein and pursuant to a

  predetermined treatment protocol irrespective of medical necessity, let alone the safety of the

  Covered Persons, the vast majority of Covered Persons were involved in minor impact (if any)

  automobile collisions in which they reported suffering soft tissue injuries, to the extent they

  suffered any injuries at all, that did not require emergent transportation by paramedics to a hospital

  for emergent care immediately following the purported collision.

         1490. In many instances, following the purported collision, Covered Persons did not seek

  emergency medical attention. By way of example and without limitation:

                Despite purportedly being involved in an automobile collision involving a
                 minor impact on November 7, 2022, Covered Person C.V., claim number
                 1121406-01, was neither transported to the emergency room from the scene
                 of the reported incident, nor subsequently sought medical attention at an
                 emergency room. Nonetheless, starting November 8, 2022, C.V. underwent
                 a predetermined course of evaluations and purported treatment at a No-fault
                 Clinic located at 11 East Hawthorne Avenue, 3rd Street, Valley Stream, NY,
                 and was ultimately referred for an arthroscopic shoulder surgery
                 purportedly performed by Sanford R. Wert, MD (not named as a defendant
                 herein) through Sanford R. Wert, MD PC (not named as a defendant herein)
                 on April 24, 2023, at defendant All City ASC.

                Despite purportedly being involved in an automobile collision involving a
                 minor impact on November 7, 2022, Covered Person K.S., claim number
                 1121738-02, was neither transported to the emergency room from the scene
                 of the reported incident, nor subsequently sought medical attention at an
                 emergency room. Nonetheless, starting the next day, K.S. underwent a
                 predetermined course of evaluations and purported treatment at a No-fault



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             Clinic located at 119-60 Metropolitan Avenue, Kew Gardens, NY, and was
             ultimately referred for an arthroscopic knee surgery purportedly performed
             by Defendant Ackerman through Compassion Medical Care PLLC (not
             named as a defendant herein) on January 26, 2023, at Defendant Rockaways
             ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on May 6, 2022, Covered Person S.Y., claim number
             1113673-01, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting May 7, 2022, S.Y. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 29-36 Union Street, Flushing, NY, and was ultimately
             referred for pain management injections purportedly performed by David
             R. Adin, DO (not named as a defendant herein) on June 27, 2022, and for
             an arthroscopic knee surgery purportedly performed by Daniel Feghhi, MD
             (not named as a defendant herein), all through New York Spine & Pain Care
             PC (not named as a defendant herein), at Defendant Rockland and Bergen
             ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on February 6, 2022, Covered Person C.Z., claim number
             1109439-02, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting February 10, 2022, C.Z. underwent
             a predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 3227 East Tremont Avenue, Bronx, NY, and was
             ultimately referred for an arthroscopic shoulder surgery purportedly
             performed by David R. Capiola, MD (not named as a defendant herein)
             through Defendant McCulloch Orthopaedic, on March 29, 2023, at
             Defendant New Horizon ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on December 20, 2021, Covered Person J.C.R., claim number
             1107122-01, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting December 27, 2021, J.C.R.
             underwent a predetermined course of evaluations and purported treatment
             at a No-fault Clinic located at 86-01 101 Avenue, Ozone Park, NY, and was
             ultimately referred for an arthroscopic shoulder surgery purportedly
             performed by William M. King, MD (not named as a defendant herein) on
             January 21, 2022, at Defendant Rockaways ASC.

            Despite purportedly being involved in an automobile collision on August 2,
             2021, Covered Person J.L., claim number 1101534-08, was neither
             transported to the emergency room from the scene of the reported incident,
             nor subsequently sought medical attention at an emergency room.


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             Nonetheless, starting August 10, 2021, J.L. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 552 East 180th Street, Bronx, NY, and was ultimately referred for an
             arthroscopic shoulder surgery purportedly performed by Defendant Haar
             through Defendant Haar Orthopaedics, on October 5, 2021, at Defendant
             New Horizon ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on August 1, 2021, Covered Person M.P., claim number
             1100952-01, refused medical attention to scene of the reported incident, and
             subsequently did not seek medical attention at an emergency room.
             Nonetheless, starting August 2, 2021, M.P. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 86-01 101 Avenue, Ozone Park, NY, and was ultimately referred for an
             arthroscopic shoulder surgery purportedly performed by William L. King,
             MD (not named as a defendant herein) on October 9, 2021, at Defendant
             North Queens ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on April 20, 2021, Covered Person S.L., claim number
             1096921-01, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting April 23, 2024, S.L. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 154-08 Northern Boulevard, Jamaica, NY, and was
             ultimately referred for an arthroscopic knee surgery purportedly performed
             by Neofitos Stefanides, MD (not named as a defendant herein) through
             Neofitos Stefanides, MD PC (not named as a defendant herein) on July 22,
             2021, at Defendant All City ASC, and pain management injections
             purportedly performed by Michael Ko, MD (not named as a defendant
             herein) through Pain Physicians NY, PLLC (not named as a defendant
             herein) on September 10, 2021, and October 22, 2021, at Defendant North
             Queens ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on January 15, 2021, Covered Person F.J., claim number
             1093897-01, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting February 8, 2021, F.J. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 217-04 Northern Boulevard, Bayside, NY, and was
             ultimately referred for a percutaneous discectomy purportedly performed
             by Elbaz Tamer, MD (not named as a defendant herein) through Pain
             Physicians NY PLLC (not named as a defendant herein) at Defendant Jersey
             City ASC, as well as, an arthroscopic right knee surgery on April 25, 2023,
             an arthroscopic left knee surgery on May 16, 2023, and an arthroscopic



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             shoulder surgery on August 29, 2023, all three purported performed by
             Defendant McMahon, at Defendant Fifth Avenue Surgery Center.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on November 11, 2020, Covered Person B.M., claim number
             1091218-02, refused medical attention to scene of the reported incident, and
             subsequently did not seek medical attention at an emergency room.
             Nonetheless, starting December 2, 2020, B.M. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 188 Montague Street, Brooklyn, NY, and was ultimately referred for an
             arthroscopic knee surgery purportedly performed by Defendant Seldes,
             through Defendant Passaic Orthopedic, on March 29, 2021, at Defendant
             New Horizon ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on August 31, 2020, Covered Person C.P., claim number
             1087807-02, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting September 1, 2020, C.P. underwent
             a predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 51-27 Queens Boulevard, Woodside, NY, and was
             ultimately referred for an arthroscopic shoulder surgery purportedly
             performed by Laxmidhar Diwan, MD (not named as a defendant herein)
             through Queens Arthroscopy & Sports Medicine (not named as a defendant
             herein) on November 9, 2020, at Defendant Jersey City ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on July 17, 2020, Covered Person C.C., claim number
             1086270-03, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting July 28, 2020, C.C. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 2510 Westchester Avenue, Bronx, NY, and was ultimately
             referred for an arthroscopic shoulder surgery purportedly performed by
             Mark Kramer, MD (not named as a defendant herein) through Cohen &
             Kramer, MD PC (not named as a defendant herein) on October 8, 2020, at
             defendant Empire State ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on June 24, 2020, Covered Person S.B., claim number
             1085949-02, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting July 6, 2020, S.B. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 279 Burnside Avenue, Lawrence, NY, and was ultimately
             referred for arthroscopic knee surgery purportedly performed by Hank
             Ross, MD (not named as a defendant herein) through Hank Ross MD PC


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             (not named as a defendant herein) on December 14, 2020, at Defendant
             North Queens ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on June 16, 2020, Covered Person T.T., claim number
             1085337-04, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, following a week of initial treatment from
             June 22, 2024 through July 1, 2024, at a No-fault clinic located at 55 East
             115th Street, New York, NY, on July 8, 2024, T.T. ultimately presented for
             evaluation and an extended predetermined course of purported treatment at
             a No-fault Clinic located at 1894 Eastchester Road, Bronx, NY 10461, and
             was ultimately referred for an arthroscopic shoulder surgery purportedly
             performed by Defendant Graziosa through Defendant Graziosa PC on
             February 9, 2021, at Defendant Empire State ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on May 23, 2020, Covered Person A.M., claim number
             1084559-02, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting June 4, 2020, A.M. underwent a
             predetermined course of evaluations and purported treatment at a
             fraudulently incorporated No-fault Clinic located at 145 East 98 Street,
             Brooklyn, NY, in which Bradley Pierre, a layperson who is not licensed to
             practice any healthcare profession and was its true owner was recently
             convicted in the United State District Court for the Southern District of New
             York on health insurance fraud related charges, and was ultimately referred
             for pain management injections purportedly performed by Defendant Vora,
             at Defendant Rockland and Bergen ASC on July 25, 2020, and at Defendant
             North Queens ASC on August 18, 2020 and September 22, 2020.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on May 11, 2020, Covered Person A.L., claim number
             1084119-02, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting May 15, 2020, A.L. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 4720 Avenue N, Brooklyn, NY, and was ultimately
             referred for an arthroscopic shoulder surgery purportedly performed by
             Harvey Manes, MD (not named as a defendant herein) through Harvey
             Manes MD PC (not named as a defendant herein) on July 22, 2020, at
             Defendant North Queens ASC.

            Despite purportedly being involved in an automobile collision on January
             16, 2020, Covered Person S.A., claim number 1078121-01, was neither
             transported to the emergency room from the scene of the reported incident,
             nor subsequently sought medical attention at an emergency room.


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             Nonetheless, starting January 21, 2020, S.A. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 1314 Coney Island Avenue, Brooklyn, NY, and was ultimately referred
             for an arthroscopic knee surgery purportedly performed by Defendant
             Upendra Sinha through Defendant Sinha Orthopedics on May 30, 2020, at
             Defendant Saddlebrook ASC, and subsequently for an arthroscopic
             shoulder surgery also purportedly performed by Defendant Upendra Sinha,
             through Defendant MSJR on October 23, 2020, at Defendant Fifth Avenue
             Surgery Center.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on January 6, 2020, Covered Person F.N., claim number
             1076407-02, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting January 27, 2020, F.N. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 1115 Ocean Parkway, Brooklyn, NY, and was ultimately
             referred for an arthroscopic knee surgery on February 25, 2020, and an
             arthroscopic shoulder surgery on September 25, 2020, both purported
             performed Defendant McMahon at Defendant Fifth Avenue Surgery
             Center.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on August 23, 2019, Covered Person E.G., claim number
             1067733-01, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting September 12, 2010, E.G.
             underwent a predetermined course of evaluations and purported treatment
             at a No-fault Clinic located at 82-25 Queens Boulevard, Elmhurst, NY, and
             was ultimately referred for manipulation of the spine under anesthesia,
             purportedly performed by Defendant Jimenez, through City Pain Docs PC
             (not named as a defendant herein) on October 23, 2019 and October 27,
             2019, at Defendant Manalapan ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on August 19, 2019, Covered Person N.C., claim number
             1066106-01, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting August 29, 2019, N.C. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 68-60 Austin Street, Forest Hills, NY, and was ultimately
             referred for pain management injections purportedly provided by Defendant
             Vora through Defendant Non-Surgical Orthopedics on November 23, 2019,
             at defendant Saddlebrook ASC, a percutaneous discectomy purportedly
             performed by Defendant Vora through Defendant NJ Vora on January 4,
             2020 at Defendant Saddlebrook ASC, pain management injections
             purportedly performed by Michael R. Jurkowich, MD (not named as a


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             defendant herein) through Defendant NJ Vora on February 29, 2020 at
             Defendant Saddlebrook ASC, and pain management injections purportedly
             performed by Defendant Vora. through Defendant NJ Vora on March 14,
             2020, at Defendant New Horizon ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on May 26, 2019, Covered Person M.M., claim number
             1061412-02, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting May 30, 2019, M.M. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 2940 Grand Concourse, Bronx, NY, and was ultimately
             referred for an arthroscopic knee surgery purportedly performed by Aron
             D. Rovner, MD (not named as a defendant herein) through Aron Rovner
             M.D., PLLC (not named as a defendant herein) on September 19, 2019, at
             Defendant Rockaways ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on December 17, 2018, Covered Person A.G., claim number
             1049176-03, was neither transported to the emergency room from the scene
             of the reported incident, nor subsequently sought medical attention at an
             emergency room. Nonetheless, starting that same day, A.G. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 3432 East Tremont Avenue, Bronx, NY, and was
             ultimately referred for an arthroscopic knee surgery purportedly performed
             by Defendant Berkowitz through Defendant Advanced Orthopaedics on
             January 18, 2023, at Defendant Jersey City ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on September 29, 2018, Covered Person J.R., claim number
             1039993-03, refused medical attention to scene of the reported incident, and
             subsequently did not seek medical attention at an emergency room.
             Nonetheless, starting October 3, 2018, J.R. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 82-25 Queens Boulevard, Elmhurst, NY, and was ultimately referred for
             manipulation of the spine under anesthesia, purportedly performed by
             Moore Harris, DC (not named as a defendant herein on December 2, 2018,
             by Diana Vavikova, DC (not named a Defendant in the Complaint) on
             December 8, 2018, and by Anthony Riotto, DC (not named as a defendant
             herein) on December 16, 2019, all through Sufficient Chiropractic Care PC
             (not named as a defendant herein), at Defendant Manalapan ASC.

            Despite purportedly being involved in an automobile collision involving a
             minor impact on July 3, 2018, Covered Person G.Z., claim number
             1032903-03, refused medical attention to scene of the reported incident, and
             subsequently did not seek medical attention at an emergency room.
             Nonetheless, starting July 17, 2018, G.Z. underwent a predetermined course


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                 of evaluations and purported treatment at a No-fault Clinic located at 80-12
                 Jamaica Avenue, Woodhaven, NY, and was ultimately referred for pain
                 management injections on August 16, 2018, a cervical percutaneous
                 discectomy on November 1, 2018, and a lumbar percutaneous discectomy,
                 on November 29, 2018, all purportedly performed by Defendant Xie
                 through Defendant Integrated Pain Management at Defendant Manalapan
                 ASC.

         1491. Fraudulent No-Fault claims submitted in connection with the Covered Persons

  mentioned in Paragraph 1490 are identified in the Appendix to the Complaint which sets forth a

  representative sample of fraudulent No-Fault claims mailed by the Defendants to Plaintiff, that

  were if at all, pursuant to the fraudulent protocol of treatment described herein, in violation of state

  licensing requirements, as part of a kickback or other financial compensation scheme, in order to

  exploit and manipulate the payment formulas under the No-fault Law to maximize the charges

  they could submit to Plaintiff.

         1492. By way of further example and without limitation, attached as Exhibit “6,” in the

  accompanying Compendium of Exhibits, is a spreadsheet listing a representative sample of

  Covered Persons who, following a predetermined fraudulent protocol of medically unnecessary

  services at a No-Fault Clinic, did not seek emergency medical attention on the day of or shortly

  following their involvement in a minor impact automobile collision who ultimately received one

  or more of the identified Fraudulent Services at one or more of the Surgicore ASCs.

         1493. In addition to the numerous Covered Persons receiving one or more of the

  Fraudulent Services at one or more of the Surgicore ASCs following reportedly being involved in

  low-impact automobile collisions in which they received no emergent care, the vast majority of

  Covered Persons who did report to a hospital following such a collision, with complaints of what

  can best be described as soft tissue injuries were discharged within a few hours without any

  objective finding of serious injury. By way of example and without limitation:




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            Following their purported involvement in an automobile collision on March
             30, 2023, Covered Person H.L., claim number 1127969-02 was taken from
             the scene of the reported incident to the emergency room at Maimonides
             Medical Center (not named as a defendant herein) on March 30, 2023, and
             discharged the same day without any objective finding of serious injury.
             Nonetheless, starting April 3, 2023, H.L. underwent a predetermined course
             of evaluations and purported treatment at a No-fault Clinic located at 5314
             7th Avenue, Brooklyn, NY, and was ultimately referred for an arthroscopic
             knee surgery purportedly performed by Milan K. Sen, MD (not named as a
             defendant herein) through Leviathan Wellness PLLC (not named as a
             defendant herein) on June 6, 2023, at Defendant Empire State ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on March 3, 2023, Covered Person J.P, claim number
             1127839-02 went on their own to the emergency room at Bellevue Hospital
             (not named as a defendant herein) on March 3, 2023, and discharged the
             same day without any objective finding of serious injury. Nonetheless,
             starting March 9, 2023, J.P. underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 12 West
             32 Street, New York, NY, and was ultimately referred for pain management
             injections on May 27, 2023, and a cervical percutaneous discectomy on
             October 7, 2023, at Defendant Manalapan ASC and for pain management
             injections on July 15, 2023 and September 16, 2023 at Defendant
             Saddlebrook ASC, all purportedly performed by Defendant Xie through
             Defendant Integrated Pain Management.

            Following their purported involvement in an automobile collision involving
             a minor impact on January 4, 2023, Covered Person A.P., claim number
             1124202-01 was taken from the scene of the reported incident to the
             emergency room at Elmhurst Hospital (not named as a defendant herein) on
             January 4, 2023, and discharged within a few hours without any objective
             finding of serious injury. Nonetheless, starting January 6, 2023, A.P.
             underwent a predetermined course of evaluations and purported treatment
             at a No-fault Clinic located at 193-02 Northern Boulevard, Flushing, NY,
             and was ultimately referred for pain management injections purportedly
             performed by Jignyasa Desai, DO (not named as a defendant herein)
             through NY Interventional Pain PLLC (not named as a defendant herein)
             on February 25, 2023, at Defendant New Horizon ASC, and for an
             arthroscopic knee surgery purportedly performed by Peter A. Tomasello,
             DO (not named as a defendant herein) through Cross Bay Orthopedic
             Surgery P.C. (not named as a defendant herein) on April 17, 2023, at
             Defendant Fifth Avenue Surgery Center.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 16, 2022, Covered Person C.S., claim number
             1121836-02 was taken from the scene of the reported incident to the
             emergency room at NYU Langone Hospital Long Island (not named as a


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             defendant herein), and discharged the same day without any objective
             finding of serious injury. Nonetheless, starting November 30, 2022, C.S.
             underwent a predetermined course of evaluations and purported treatment
             at a No-fault Clinic located at 600 Hempstead Turnpike, West Hempstead,
             NY, and was ultimately referred for an arthroscopic shoulder surgery
             purportedly performed by Peter A. Tomasello, DO (not named as a
             defendant herein) through Cross Bay Orthopedic Surgery P.C. (not named
             as a defendant herein) on January 28, 2023, at Defendant Fifth Avenue
             Surgery Center.

            Following their purported involvement in an automobile collision involving
             a minor impact on May 13, 2022, Covered Person H.A., claim number
             1113717-04, was taken from the scene of the reported incident to the
             emergency room at Montefiore Medical Center (not named as a defendant
             herein), and discharged the same day without any objective finding of
             serious injury. Nonetheless, starting May 18, 2022, H.A. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 12 East 44 Street, 6th Fl, New York, NY, and was
             ultimately referred for an arthroscopic knee surgery purportedly performed
             by Peter A. Tomasello, DO (not named as a defendant herein) through Cross
             Bay Orthopedic Surgery P.C. (not named as a defendant herein) on January
             25, 2023, at Defendant Fifth Avenue Surgery Center.

            Following their purported involvement in an automobile collision involving
             a minor impact on April 16, 2022, Covered Person I.L., claim number
             1112746-02 was taken from the scene of the reported incident to the
             emergency room at St. Barnabas Hospital (not named as a defendant
             herein), and discharged within a few hours without any objective finding of
             serious injury. Nonetheless, starting May 10, 2022, I.I. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 3815 Putnam Avenue, Bronx, NY, and was ultimately
             referred for an arthroscopic shoulder surgery purportedly performed by
             Defendant Baum through Defendant Bay Ridge PC on September 16, 2022,
             at Defendant Empire State ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on March 9, 2022, Covered Person N.H., claim number
             1110280-01 was taken from the scene of the reported incident to the
             emergency room at Elmhurst Hospital (not named as a defendant herein),
             and discharged the same day without any objective finding of serious injury.
             Nonetheless, starting March 10, 2022, N.H. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 41-09 108th Street, Corona, NY, and was ultimately referred for an
             arthroscopic shoulder surgery purportedly performed by Ajoy Sinha, MD
             through Defendant Sinha Orthopaedics on June 13, 2022 at Defendant
             Saddlebrook ASC.



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            Following their purported involvement in an automobile collision involving
             a minor impact on November 1, 2021, Covered Person D.R., claim number
             1105880-02 went on their own to the emergency room at Flushing Hospital
             Medical Center (not named as a defendant herein) on November 1, 2021,
             and discharged the same day without for any objective finding of serious
             injury. Nonetheless, starting November 11, 2021, D.R. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 95-20 Queens Boulevard, Rego Park, NY, and was
             ultimately referred for an arthroscopic surgery of the right knee on February
             2, 2022, at Defendant Jersey City ASC, and both an arthroscopic shoulder
             surgery on March 15, 2022, and an arthroscopic surgery on the left knee on
             April 19, 2022, at Defendant Manalapan ASC, all purportedly performed
             by Defendant Berkowitz, through Defendant Advanced Orthopaedics.

            Following their purported involvement in an automobile collision involving
             a minor impact on October 3, 2021, Covered Person R.R., claim number
             1103438-02 was taken from the scene of the reported incident to the
             emergency room at Jamaica Hospital (not named as a defendant herein), and
             discharged without any objective finding of serious injury. Nonetheless,
             starting October 7, 2021, R.R. underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 86-01
             101 Avenue, Ozone Park, NY, and was ultimately referred for an
             arthroscopic shoulder surgery purportedly performed by Defendant
             Berkowitz through Defendant Advanced Orthopaedics on November 16,
             2021, at Defendant Manalapan ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on March 7, 2021, Covered Person K.F., claim number
             1096069-02 went on their own to the emergency room at Brooklyn
             Hospital, and discharged the same day without any objective finding of
             serious injury. Nonetheless, starting March 19, 2021, K.F. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 865 Cypress Avenue, Ridgewood, NY, and was ultimately
             referred for pain management injections purportedly performed by Jared
             Rosenberg, MD (not named as a defendant herein) through Multi-specialty
             Pain Management PC (not named as a defendant herein) on November 15,
             2021, at Defendant Fifth Avenue Surgery Center, and for a shoulder
             arthroscopy purportedly performed by Daniel Yoo MD (not named as a
             defendant herein) through Advanced Shoulder Knee Orthopedic PC (not
             named as a defendant herein) on January 27, 2023, at Rockland and Bergen
             ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on December 11, 2020, Covered Person K.D., claim number
             1091911-03 was taken from the scene of the reported incident to the
             emergency room at Ji Medical Center (not named as a defendant herein),
             and discharged the same day without any objective finding of serious injury.


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             Nonetheless, starting December 14, 2020, K.D. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 3350 White Plains Road, Bronx, NY, and was ultimately referred for an
             arthroscopic surgery of the left knee on March 8, 2021, and an arthroscopic
             surgery of the right knee on December 20, 2021, both purportedly
             performed by John A. Mitamura, MD (not named as a defendant herein), at
             Defendant Rockland and Bergen ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 11, 2020, Covered Person A.P., claim number
             1092375-02 was taken from the scene of the reported incident to the
             emergency room at St. Barnabas Hospital (not named as a defendant
             herein), on November 11, 2020, and discharged the same day without any
             objective finding of serious injury. Nonetheless, starting December 4, 2020,
             A.P. underwent a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 1320 Louis Nine Boulevard, Bronx,
             NY, and was ultimately referred for pain management injections on April
             2, 2021, a percutaneous discectomy on April 23, 2021, and further pain
             management injections on March 11, 2022, and July 29, 2022, all
             purportedly performed by Elbaz Tamer, MD (not named as a defendant
             herein) through Pain Physicians NY, PLLC (not named as a defendant
             herein), at Defendant Jersey City ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on October 29, 2020, Covered Person T.M., claim number
             1090230-02 was taken from the scene of the reported incident to the
             emergency room at Montefiore Medical Center (not named as a defendant
             herein), and discharged the same day without any objective finding of
             serious injury. Nonetheless, starting November 6, 2020, T.M. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 2488 Grand Concourse, Bronx, NY, and was ultimately
             referred for trigger point injections purportedly performed by Timothy J.
             Canty, MD (not named as a defendant herein) through Tim Canty MD
             PLLC (not named as a defendant herein) on May 5, 2021 and May 27, 2021,
             at Defendant Empire State ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on October 16, 2020, Covered Person C.L., claim number
             1090085-01 was taken from the scene of the reported incident to the
             emergency room at Jamaica Hospital (not named as a defendant herein), and
             discharged within a few hours without any objective finding of serious
             injury. Nonetheless, starting November 25, 2020, C.L. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 144 East 98 Street, Brooklyn, NY, and was ultimately
             referred for an arthroscopic shoulder surgery purportedly performed by
             Laxmidhar Diwan, MD (not named as a defendant herein) through Queens



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             Arthroscopy & Sports Medicine (not named as a defendant herein) on
             February 3, 2021, at Defendant Rockaways ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on August 30, 2020, Covered Person E.A., claim number
             1088186-03 went on their own to the emergency room at Coney Island
             Hospital (not named as a defendant herein) on August 30, 2020, and
             discharged the same day without any objective finding of serious injury.
             Nonetheless, starting September 3, 2020, E.A. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 3003 Ocean Parkway, Brooklyn, NY, and was ultimately referred for an
             arthroscopic knee surgery purportedly performed by Harvey Manes, MD
             (not named as a defendant herein) through Harvey Manes MD PC (not
             named as a defendant herein) on March 24, 2021, at Defendant North
             Queens ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on July 30, 2020, Covered Person M.L., claim number
             1087394-01 went on their own to the emergency room at North Shore LIJ
             Hospital (not named as a defendant herein) on July 30, 2020, and discharged
             the same day without any objective finding of serious injury. Nonetheless,
             starting July 31, 2020, M.L. underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 175
             Fulton Avenue, Hempstead, NY, and was ultimately referred for an
             arthroscopic shoulder surgery purportedly performed by Peter A.
             Tomasello, DO (not named as a defendant herein) through Cross Bay
             Orthopedic Surgery P.C. (not named as a defendant herein) on January 23,
             2021, at Defendant Fifth Avenue Surgery Center.

            Following their purported involvement in an automobile collision involving
             a minor impact on July 28, 2020, Covered Person D.C., claim number
             1087056-02 was taken from the scene of the reported incident to the
             emergency room at Coney Island Hospital (not named as a defendant
             herein) on July 28, 2020, and discharged the same day without any objective
             finding of serious injury. Nonetheless, starting August 4, 2020, D.C.
             underwent a predetermined course of evaluations and purported treatment
             at a No-fault Clinic located at 611 East 76th Street, Brooklyn, NY, and was
             ultimately referred for manipulations of the spine, hip, and shoulder under
             anesthesia purportedly performed by Dominic E Onyema, MD (not named
             as a defendant herein) through Healthwise Medical Associates PC (not
             named as a defendant herein) on September 9, 2020, September 10, 2020,
             and September 22, 2020, at Defendant All City ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on June 4, 2020, Covered Person M.I.S., claim number
             1084811-01 presented to the emergency room at Coney Island Hospital (not
             named as a defendant herein), and discharged the same day without any


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             objective finding of serious injury. Nonetheless, starting June 12, 2020,
             M.I.S. underwent a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 3857 Kings Highway, Brooklyn,
             NY, and was ultimately referred for an arthroscopic knee surgery
             purportedly performed by Sean Thompson, MD (not named as a defendant
             herein) through Thompson Medical PC (not named as a defendant herein)
             on January 8, 2021, at Defendant Rockland and Bergen ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on May 19, 2020, Covered Person A.S.C., claim number
             1084567-04 went on their own to the emergency room at New York
             Presbyterian-Lawrence Hospital (not named as a defendant herein), and
             discharged the same day without any objective finding of serious injury.
             Nonetheless, starting June 8, 2020, A.S.C. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 2273 65th Street, Brooklyn, NY, and was ultimately referred for
             manipulation of the spine, shoulder, hip, and knee under anesthesia
             purportedly performed by Abdalla Adam, MD (not named as a defendant
             herein) on July 19, 2020, August 8, 2020, and August 9, 2020, at Defendant
             Rockaways ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on January 7, 2020, Covered Person M.C., claim number
             1078217-01 was taken from the scene of the reported incident to the
             emergency room at St. Barnabas Hospital (not named as a defendant herein)
             on January 7, 2020, and discharged the same day without any objective
             finding of serious injury. Nonetheless, starting January 13, 2020, M.C.
             underwent a predetermined course of evaluations and purported treatment
             at a No-fault Clinic located at 2488 Grand Concourse, Bronx, NY, and was
             ultimately referred for an arthroscopic knee surgery purportedly performed
             by Defendant Dassa through Defendant Dassa Orthopedic, on December 2,
             2020, at Defendant New Horizon ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on October 31, 2019, Covered Person K.M., claim number
             1074190-05 was taken from the scene of the reported incident to the
             emergency room at Kings County Hospital (not named as a defendant
             herein), and discharged the same day without any objective finding of
             serious injury. Nonetheless, starting December 3, 2019, K.M. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 1765 Broadway, Brooklyn, NY, and was ultimately
             referred for an arthroscopic shoulder surgery purportedly performed by
             Defendant Bursztyn through Defendant NYSJ on January 19, 2019, at
             Defendant Saddlebrook ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on September 22, 2019, Covered Person J.E., claim number


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             1069497-02 was taken from the scene of the reported incident to the
             emergency room at Bellevue Hospital Center (not named as a defendant
             herein), and discharged the same day without any objective finding of
             serious injury. Nonetheless, starting October 1, 2019, J.E. underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 84 Linden Boulevard, Brooklyn, NY, and was ultimately
             referred for pain management injections purportedly performed by
             Defendant Shabtian through Defendant Total Anesthesia on January 28,
             2020, February 17, 2020, February 24, 2020, and March 6, 2020, at
             Defendant North Queens ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on February 14, 2019, Covered Person T.M.D.A., claim
             number 1052644-02 was taken from the scene of the reported incident to
             the emergency room at St. Barnabas Hospital (not named as a defendant
             herein) on February 14, 2019, and discharged the same day without any
             objective finding of serious injury. Nonetheless, starting March 6, 2019,
             T.M.D.A. underwent a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 2386 Jerome Avenue, Bronx, NY,
             and was ultimately referred for manipulation of the spine and shoulder
             under anesthesia, purportedly performed by Rytis Valskys, MD (not named
             as a defendant herein) through Amazing Anesthesia (not named as a
             defendant herein) on July 22, 2019, July 24, 2019, and July 26, 2019, at
             Defendant Jersey City ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on January 29, 2019, Covered Person L.K., claim number
             1051117-02 was taken from the scene of the reported incident to the
             emergency room at Jamaica Hospital Medical Center (not named as a
             defendant herein) on January 29, 2019, and discharged the same day without
             any objective finding of serious injury. Nonetheless, starting February 4,
             2019, L.K. underwent a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 1220 East New York Avenue,
             Brooklyn, NY, and was ultimately referred for an arthroscopic knee surgery
             purportedly performed by Defendant McCulloch through Defendant
             McCulloch Orthopaedic on January 9, 2020, at Defendant New Horizon
             ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on February 12, 2018, Covered Person R.W., claim number
             1019827-02 refused medical attention at the reported incident and
             subsequently went on their own to the emergency room at Brookdale
             Hospital (not named as a defendant herein) on February 13, 2018, and
             discharged the same day without any objective finding of serious injury.
             Nonetheless, starting February 19, 2018, R.W. underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 10510 Flatlands Avenue, Brooklyn, NY, and was ultimately referred for


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                 arthroscopic wrist surgery purportedly performed by Defendant Apazidis
                 on September 20, 2019, at Defendant All City ASC.

         1494. Fraudulent No-Fault claims submitted in connection with the Covered Persons

  mentioned in Paragraph 1493 are identified in the Appendix to the Complaint which sets forth a

  representative sample of fraudulent No-Fault claims mailed by the Defendants to Plaintiff, that

  were if at all, pursuant to the fraudulent protocol of treatment described herein, in violation of state

  licensing requirements, as part of a kickback or other financial compensation scheme, in order to

  exploit and manipulate the payment formulas under the No-Fault Law to maximize the charges

  that they could submit to Plaintiff.

         1495. By way of further example and without limitation, attached as Exhibit “7,” in the

  accompanying Compendium of Exhibits, is a spreadsheet listing a representative sample of

  Covered Persons who, following a predetermined fraudulent protocol of medically unnecessary

  services at a No-Fault Clinic, presented at hospital emergency rooms on the day of or shortly

  following their involvement in a minor impact automobile collision, yet despite no objective proof

  of any serious injuries demonstrated at the emergency rooms, ultimately received one or more of

  the identified Fraudulent Services at one or more of the Surgicore ASCs.

         1496. Among the numerous Covered Persons who sought to document their subjective

  complaints of pain at an emergency room on the day of or shortly following their involvement in

  a minor impact automobile collision, despite the absence of any objective evidence of serious

  injury, on numerous occasions, numerous Covered Persons receiving one or more of the

  Fraudulent Services at one or more of the Surgicore ASCs, received such services on parts of their

  body for which they did not complain of any injury during their emergency room visit. By way of

  example and not limitation:

                Following their purported involvement in an automobile collision involving
                 a minor impact on September 1, 2022, Covered Person D.R., claim number


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             118679-02, was taken from the scene of the reported incident to the
             emergency room at Mount Sinai Beth Israel Hospital (not named as a
             defendant herein) on September 1, 2022, where D.R. complained of left
             neck, lower back, left wrist, and left thigh pain. Nonetheless, during a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 265 Madison Avenue, 4th Floor, New York, NY, D.R. was
             ultimately referred for an arthroscopic surgery on the right knee purportedly
             performed by Defendant McCulloch, through Defendant McCulloch
             Orthopaedic, on July 27, 2023, at Defendant New Horizon ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on May 20, 2022, Covered Person E.R., claim number
             1113727-03, was taken from the scene of the reported incident to the
             emergency room at Ji Medical Center (not named as a defendant herein) on
             May 20, 2022, where E.R. complained of neck pain but denied pain in the
             extremities. Nonetheless, during a predetermined course of evaluations and
             purported treatment at a No-fault Clinic located at 2510 Westchester
             Avenue, Bronx, NY, E.R. was ultimately referred for an arthroscopic knee
             surgery purportedly performed by Mark M. Kramer, MD (not named as a
             defendant herein), on September 19, 2022, at Defendant All City ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on February 17, 2022, Covered Person J.T., claim number
             1110111-03, was taken from the scene of the reported incident to the
             emergency room at Jamaica Hospital Medical Center (not named as a
             defendant herein) on February 17, 2022, where J.T. complained of lower
             back pain and spasms, but no injury to the extremities. Nonetheless, during
             a predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 137-42 Guy R Brewer Boulevard, Jamaica, NY, J.T. was
             ultimately referred for arthroscopic knee surgery purportedly performed by
             Azriel Benaroya, MD (not named as a defendant herein), through Anarefena
             Medical PLLC (not named as a defendant herein), on January 7, 2023, at
             Defendant North Queens ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 21, 2021, Covered Person K.H., claim number
             1105697-02, was taken from the scene of the reported incident to the
             emergency room at Montefiore Medical Center (not named as a defendant
             herein) on November 21, 2021, where K.H. complained of head, neck, and
             thoracic back pain, but no injuries in the extremities. Nonetheless, during a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 552 East 180 Street, Bronx, NY, K.H. was ultimately
             referred for an arthroscopic shoulder surgery purportedly performed by
             Ronald A. Daly, MD (not named as a defendant herein), on February 26,
             2020, at Defendant Jersey City ASC.




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            Following their purported involvement in an automobile collision involving
             a minor impact on November 19, 2021, Covered Person E.P., claim number
             1105751-01, went on his own to the emergency room at Jamaica Hospital
             Medical Center (not named as a defendant herein) on November 20, 2020,
             where E.P. complained of lower back pain and pain in the torso, but denied
             all other injuries. Nonetheless, during a predetermined course of evaluations
             and purported treatment at a No-fault Clinic located at 86-01 101 Avenue,
             Ozone Park, NY, E.P. was ultimately referred for an arthroscopic shoulder
             purportedly performed by William King, MD (not named as a defendant
             herein), through William L. King, MD, PC (not named as a defendant
             herein), on January 30, 2022, at Defendant All City ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 8, 2021, Covered Person J.A., claim number
             1105535-01, was taken from the scene of the reported incident to the
             emergency room at NYU Langone Hospital (not named as a defendant
             herein) on November 8, 2021, where J.A. complained of chest pain, back
             pain and left leg pain, but did not complaint of pain in either shoulder.
             Nonetheless, during a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 69-37 Myrtle Avenue, Glendale,
             NY, A.Q. was ultimately referred for an arthroscopic shoulder surgery
             purportedly performed by Defendant Graziosa, through Defendant Graziosa
             PC, on January 25, 2020, at Defendant Empire State ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on March 11, 2021, Covered Person P.A., claim number
             1095162-03, P.A. went on her own to the emergency room at Montefiore
             Medical Center (not named as a defendant herein) on March 11, 2021,
             where P.A. complained of head and neck pain but did not complain about
             either shoulder. Nonetheless, during a predetermined course of evaluations
             and purported treatment at a No-fault Clinic located at 599-601 Southern
             Boulevard, Bronx, NY, P.A. was ultimately referred for an arthroscopic
             shoulder surgery purportedly performed by William L. King, MD (not
             named as a defendant herein), through William L. King, MD, PC (not
             named as a defendant herein), on March 28, 2022, at Defendant Fifth
             Avenue Surgery Center.

            Following their purported involvement in an automobile collision involving
             a minor impact on February 4. 2021, Covered Person S.T., claim number
             1094531-02, went to the emergency room at Montefiore Mount Vernon
             Hospital (not named as a defendant herein) on February 4. 2021, where S.T.
             complained of a headache and back pain, but no injuries to the extremities.
             Nonetheless, during a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 704 Locust Street, Mount Vernon,
             NY, S.T. was ultimately referred for an arthroscopic knee surgery
             purportedly performed by Edward Feliciano, MD (not named as a defendant



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             herein), through Newburgh Primary Care, PC. (not named as a defendant
             herein), on May 26, 2022, at Defendant Rockland and Bergen ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 11, 2020, Covered Person A.Q., claim number
             1091406-01, was taken from the scene of the reported incident to the
             emergency room at New York Presbyterian Hospital (not named as a
             defendant herein) on November 11, 2020, where A.Q. complained of chest
             and back pain, but no injuries in the extremities. Nonetheless, during a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 69-37 Myrtle Avenue, Glendale, NY, A.Q. was ultimately
             referred for an arthroscopic knee surgery purportedly performed by
             Defendant Graziosa, through Defendant Graziosa PC, on April 6, 2021, at
             Defendant Rockaways ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 3, 2020, Covered Person K.R., claim number
             1091174-02, was taken from the scene of the reported incident to the
             emergency room at Mount Sinai West (not named as a defendant herein) on
             November 3, 2020, where K.R. complained of neck and upper back pain
             but no injury to the extremities. Nonetheless, during a predetermined course
             of evaluations and purported treatment at a No-fault Clinic located at 27-51
             27 Street, Astoria, NY, K.R. was ultimately referred for bilateral
             arthroscopic shoulder surgeries, purportedly performed at Defendant All
             City ASC on April 13, 2021 and May 18, 2021, and bilateral knee surgeries,
             purportedly performed by Defendant Berkowitz, on February 3, 2021 and
             February 24, 2021, at Defendant Jersey City ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on September 21, 2020, Covered Person A.J., claim number
             1088627-03, was taken from the scene of the reported incident to the
             emergency room at Interfaith Medical Center (not named as a defendant
             herein) on September 21, 2020, where A.J. complained of neck pain, but no
             injuries in the extremities. Nonetheless, during a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 2132
             Ralph Avenue, Brooklyn, NY, A.J. was ultimately referred for an
             arthroscopic shoulder surgery purportedly performed by Defendant
             Berkowitz, through Defendant Advanced Orthopaedics, on November 17,
             2020, at Defendant Manalapan ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on May 20, 2020, Covered Person A.B., claim number
             1084296-01, was taken from the scene of the reported incident to the
             emergency room at Bronx Care Hospital Center (not named as a defendant
             herein) on May 20, 2020, where A.B. complained of neck and back pain,
             but no pain in the arms or legs. Nonetheless, during a predetermined course
             of evaluations and purported treatment at a No-fault Clinic located at 1963


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             Grand Concourse, Bronx, NY, A.B. was ultimately referred for an
             arthroscopic shoulder surgery purportedly performed by Sean Thompson,
             MD (not named as a defendant herein), through Thompson Medical PC (not
             named as a defendant herein), on November 23, 2020, at Defendant
             Rockland and Bergen ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on January 13, 2020, Covered Person M.B., claim number
             1078077-02, was taken from the scene of the reported incident to the
             emergency room to the emergency room at North Central Bronx Hospital
             (not named as a defendant herein) on January 13, 2020, where M.B.
             complained of back pain, abdominal pain, and later nausea, but no injury to
             any of her limbs. Nonetheless, during a predetermined course of evaluations
             and purported treatment at a No-fault Clinic located at 3227 East Tremont
             Avenue, Bronx, NY, M.B. was ultimately referred for an arthroscopic
             shoulder surgery purportedly performed by David Capiola, MD (not named
             as a defendant herein), through Defendant McCulloch Orthopaedic, on June
             10, 2020, at Defendant New Horizon ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 25, 2019, Covered Person M.S., claim number
             1075080-02, went on their own to the emergency room at Montefiore
             Medical Center (not named as a defendant herein) on November 25, 2019,
             where M.S. complained of head pain but denied any other injury.
             Nonetheless, during a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 2386 Jerome Avenue, Bronx, NY,
             M.S. was ultimately referred for manipulation of the spine and hip joints
             under anesthesia purportedly performed by Natalia Hershkowitz, MD (not
             named as a defendant herein), through Professional Medical Care PC (not
             named as a defendant herein), on March 1, 2020 and March 10, 2020, at
             Defendant Rockaways ASC.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 11, 2019, Covered Person E.K., claim number
             1074099-04, was taken from the scene of the reported incident to the
             emergency room at Staten Island University Hospital (not named as a
             defendant herein) on November 11, 2019, where E.K. complained of an
             exacerbation of her chronic lower back pain, but no other injuries.
             Nonetheless, during a predetermined course of evaluations and purported
             treatment at a No-fault Clinic located at 318 Seguine Avenue, Staten Island,
             NY, E.K. was ultimately referred for an arthroscopic knee surgeries on both
             the right and left knees, both purportedly performed by Andrew J. Dowd,
             MD (not named as a defendant herein), on January 30, 2020, and August 1,
             2020, respectively, both at Defendant Fifth Avenue Surgery Center.




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         1497. Fraudulent No-Fault claims submitted in connection with the Covered Persons

  mentioned in Paragraph 1496 are identified in the Appendix to the Complaint which sets forth a

  representative sample of fraudulent No-Fault claims mailed by the Defendants to Plaintiff, that

  were if at all, pursuant to the fraudulent protocol of treatment described herein, in violation of state

  licensing requirements, as part of a kickback or other financial compensation scheme, in order to

  exploit and manipulate the payment formulas under the No-Fault Law to maximize the charges

  that they could submit to Plaintiff.

         1498. By way of further example and without limitation, attached as Exhibit “8,” in the

  accompanying Compendium of Exhibits, is a spreadsheet listing a representative sample of

  Covered Persons who, following a predetermined fraudulent protocol of medically unnecessary

  services at a No-Fault Clinic, presented at hospital emergency rooms on the day of or shortly

  following their involvement in a minor impact automobile collision, making subjective complaints

  of pain to certain parts of their body, yet ultimately received one or more of the identified

  Fraudulent Services at one or more of the Surgicore ASCs on parts of their body not complained

  of at their emergency room visit.

         1499. In addition to the foregoing, based on the findings of biomechanical engineers

  review of at least 450 reported automobile collisions involving Covered Persons, including the

  force of the impact, the Covered Persons’ positioning in the vehicle, and the loads and mechanisms

  on the Covered Persons’ bodies, to the extent such collisions occurred at all, for vast majority of

  Covered Persons, the reported injuries were not causally related to the reported incidents.

  Nevertheless, Covered Persons sought treatment at one or more No-fault Clinics and were referred

  for one or more of the Fraudulent Services at one or more of the Surgicore ASCs. By way of

  example but not limitation:




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            Following their purported involvement in an automobile collision involving
             a minor impact on March 30, 2022, Covered Person A.D., claim number
             1112486-02, starting April 25, 2022, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 548
             Howard Avenue, Brooklyn, NY. As part of the treatment protocol, A.D. was
             referred for an arthroscopic shoulder surgery, purportedly performed by
             Defendant Amigud, on May 24, 2022, at Defendant Fifth Avenue Surgery
             Center, and a percutaneous discectomy, purportedly performed by
             Defendant Jimenez, through Defendant J Sports, on September 3, 2022, at
             Defendant Saddlebrook ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s back and shoulder not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on March 27, 2022, Covered Person S.R., claim number
             1111207-01, starting March 29, 2022, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 615
             Seneca Avenue, Ridgewood, NY. As part of the treatment protocol, S.R.
             was referred for a percutaneous discectomy on July 30, 2022, and pain
             management injections on both June 28, 2022, and August 9, 2022,
             purportedly performed by Defendant Vora, through Defendant KDV
             Medical, at Defendant North Queens ASC, despite the loads and mechanism
             required to cause an acute traumatic injury of the affected area not being
             present at the time of the purported collision, and the reported injury to the
             Covered Person’s spine not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on January 26, 2022, Covered Person A.M., claim number
             1109882-02, starting February 3, 2022, underwent a predetermined course
             of evaluations and purported treatment at a No-fault Clinic located at 64
             Nagle Avenue, New York, NY. As part of the treatment protocol, A.M. was
             referred for an arthroscopic shoulder surgery purportedly performed by
             Aleksandr Khaimov, DO (not named as a defendant herein) through Quality
             Orthopedics & Complete Joint Care PC (not named as a defendant herein)
             on April 28, 2022, at Defendant All City ASC, pain management injections
             on June 18, 2022, July 9, 2022, July 23, 2022, August 6, 2022, October 1,
             2022, and October 15, 2022, and percutaneous discectomy on September
             17, 2022, purportedly performed by Yvette R. Abraham, MD (not named as
             a defendant herein), through Trinity Pain Management of Staten Island
             PLLC (not named as a defendant herein), at Defendant Jersey City ASC,
             despite the loads and mechanism required to cause an acute traumatic injury
             of the affected area not being present at the time of the purported collision,
             and the reported injury to the Covered Person’s shoulders and spine not
             being causally related to the collision.




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            Following their purported involvement in an automobile collision involving
             a minor impact on November 25, 2021, Covered Person A.R., claim number
             1105961-02, starting November 30, 2021, underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 8. As part of the treatment protocol, A.R. was referred for an arthroscopic
             knee surgery, purportedly performed by William L. King, MD (not named
             as a defendant herein), on December 17, 2021, and for a percutaneous
             discectomy on March 2, 2022, and pain management injections on February
             16, 2022 and March 23, 2022, purportedly performed by Matthew R.
             Kohler, MD (not named as a defendant herein), through Defendant Bowen
             PLLC, all at Defendant Rockaways ASC, despite the loads and mechanism
             required to cause an acute traumatic injury of the affected area not being
             present at the time of the purported collision, and the reported injury to the
             Covered Person’s knee, shoulders, and spine not being causally related to
             the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 18, 2021, Covered Person J.H., claim number
             1106524-05, starting November 23, 2021, underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 137-42 Guy R Brewer Boulevard, Jamaica, NY. As part of the treatment
             protocol, J.H. was referred for an arthroscopic shoulder surgery,
             purportedly performed by William King, MD (not named as a defendant
             herein), on January 9, 2022, at Defendant All City ASC, despite the loads
             and mechanism required to cause an acute traumatic injury of the affected
             area not being present at the time of the purported collision, and the reported
             injury to the Covered Person’s shoulder not being causally related to the
             collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on July 3, 2021, Covered Person R.G., claim number
             1100447-02, starting July 8, 2021, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 107-15
             Northern Boulevard, Corona, NY. As part of the treatment protocol, R.G.
             was referred for an arthroscopic knee surgery, purportedly performed by
             William King, MD (not named as a defendant herein), on September 12,
             2021, at Defendant All City ASC, despite the loads and mechanism required
             to cause an acute traumatic injury of the affected area not being present at
             the time of the purported collision, and the reported injury to the Covered
             Person’s knee not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on May 3, 2021, Covered Person R.C., claim number
             1097540-02, starting June 16, 2021, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 2510
             Westchester Avenue, Bronx, NY. As part of the treatment protocol, R.C.
             was referred for an arthroscopic shoulder surgery, purportedly performed


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             by Mark M. Kramer, MD (not named as a defendant herein), through Cohen
             & Kramer MD PC (not named as a defendant herein), on August 23, 2021,
             at Defendant Empire State ASC, despite the loads and mechanism required
             to cause an acute traumatic injury of the affected area not being present at
             the time of the purported collision, and the reported injury to the Covered
             Person’s shoulder not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on April 24, 2021, Covered Person M.G.P., claim number
             1096770-01, starting April 24, 2021, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 69-37
             Myrtle Avenue, Glendale, NY. As part of the treatment protocol, M.G.P
             was referred for an arthroscopic knee surgery, purportedly performed by
             Defendant Graziosa, through Defendant Graziosa PC, on July 27, 2021, at
             Defendant Empire State ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s knee not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on March 18, 2021, Covered Person L.M., claim number
             1095487-03, starting March 29, 2021, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 3040
             Nostrand Avenue, Brooklyn, NY. As part of the treatment protocol, L.M.
             was referred for an arthroscopic shoulder surgery, purportedly performed
             by Defendant Baum, through Defendant Bay Ridge PC, on May 21, 2021,
             at Defendant All City ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s shoulder not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on February 1, 2021, Covered Person S.P., claim number
             1093791-01, starting February 24, 2021, underwent a predetermined course
             of evaluations and purported treatment at a No-fault Clinic located at 188
             Montague Street, Brooklyn, NY. As part of the treatment protocol, S.P. was
             referred for an arthroscopic shoulder surgery, purportedly performed by
             Defendant Seldes, through Defendant Seldes PC, on April 19, 2021, at
             Defendant New Horizon ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s shoulder not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 28, 2020, Covered Person E.V.P., claim
             number 1091975-01, starting December 7, 2020, underwent a
             predetermined course of evaluations and purported treatment at a No-fault


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             Clinic located at 3432 East Tremont Avenue, Bronx, NY. As part of the
             treatment protocol, E.V.P. was referred for an arthroscopic knee surgery,
             purportedly performed by Sharma Siddhartha (not named as a defendant
             herein), through Defendant McCulloch Orthopaedic, on July 30, 2021, at
             Defendant Saddlebrook ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s ankle not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 10, 2020, Covered Person K.D., claim number
             1090665-02, starting November 11, 2020, underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 60 Belmont Avenue, Brooklyn, NY. As part of the treatment protocol,
             K.D. was referred for cervical and lumbar percutaneous discectomies on
             February 7, 2021 and September 26, 2021, purportedly performed by
             Defendant Jimenez, through Defendant JS Sports, at Defendant Rockaways
             ASC, and an arthroscopic shoulder surgery, purportedly performed by
             Ronald A. Daly, MD (not named as a defendant herein), on May 22, 2021,
             at Defendant Jersey City ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s shoulders and spine not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 12, 2020, Covered Person S.N., claim number
             1091037-01, starting November 16, 2020, underwent a predetermined
             course of evaluations and purported treatment at a No-fault Clinic located
             at 37-03 92 Street, Jackson Heights, NY. As part of the treatment protocol,
             S.N. was referred for an arthroscopic shoulder surgery, purportedly
             performed by Peter A. Tomasello, DO (not named as a defendant herein),
             through Cross Bay Orthopedic Surgery P.C. (not named as a defendant
             herein), on July 31, 2021, at Defendant Fifth Avenue Surgery Center,
             despite the loads and mechanism required to cause an acute traumatic injury
             of the affected area not being present at the time of the purported collision,
             and the reported injury to the Covered Person’s shoulder not being causally
             related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on November 3, 2020, Covered Person A.R., claim number
             1090347-02, starting November 5, 2020, underwent a predetermined course
             of evaluations and purported treatment at a No-fault Clinic located at 95-25
             Jamaica Avenue, Woodhaven, NY. As part of the treatment protocol, A.R.
             was referred for an arthroscopic shoulder surgery, purportedly performed
             by Peter A. Tomasello, DO (not named as a defendant herein), through
             Cross Bay Orthopedic Surgery P.C. (not named as a defendant herein), on
             January 23, 2021, at Defendant Fifth Avenue Surgery Center, despite the


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             loads and mechanism required to cause an acute traumatic injury of the
             affected area not being present at the time of the purported collision, and
             the reported injury to the Covered Person’s shoulder not being causally
             related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on August 14, 2020, Covered Person A.B., claim number
             1087420-02, starting August 19, 2020, underwent a predetermined course
             of evaluations and purported treatment at a No-fault Clinic located at 31-09
             Newton Avenue, Astoria, NY. As part of the treatment protocol, A.B. was
             referred for arthroscopic surgeries on the left shoulder on August 19, 2021,
             and on the right shoulder on October 21, 2021, both purportedly performed
             by Defendant McCulloch, through Defendant McCulloch Orthopaedic, at
             Defendant New Horizon ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injuries to the Covered
             Person’s shoulders not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on June 24, 2020, Covered Person E.P., claim number
             1085172-01, starting the same day as the incident, underwent a
             predetermined course of evaluations and purported treatment at a No-fault
             Clinic located at 647 Bryant Avenue, Brooklyn, NY. As part of the
             treatment protocol, E.P. was referred for a series of pain management
             injections on August 6, 2020, August 25, 2020, August 27, 2020, and
             October 1, 2020, and a percutaneous discectomy on August 31, 2020, at
             Rockaways ASC, and a pain management injection at All City ASC, all
             purportedly performed by Defendant Kotkes through Defendant Kotkes PC,
             and a knee arthroscopy, purportedly performed by Hank Ross, MD (not
             named as a defendant herein), through Hank Ross Medical PC (not named
             as a defendant herein), on October 5, 2020, at Defendant North Queens,
             despite the loads and mechanism required to cause an acute traumatic injury
             of the affected area not being present at the time of the purported collision,
             and the reported injury to the Covered Person’s knee and spine not being
             causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on June 23, 2020, Covered Person C.P., claim number
             1085037-01, starting June 25, 2020 underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 401
             Ditmas Avenue, Brooklyn, NY. As part of the treatment protocol, C.P. was
             referred for an arthroscopic knee surgery, purportedly performed by
             Stanislav Avshalumov, DO (not named as a defendant herein), through
             Advanced Orthopedics and Joint Preservation PC (not named as a defendant
             herein), on August 6, 2020, at Defendant Rockaways ASC, despite the loads
             and mechanism required to cause an acute traumatic injury of the affected
             area not being present at the time of the purported collision, and the reported


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             injury to the Covered Person’s knee not being causally related to the
             collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on June 16, 2020, Covered Person L.D., claim number
             1085337-02, starting June 24, 2020, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 1894
             Eastchester Road, Bronx, NY. As part of the treatment protocol, L.D. was
             referred for an arthroscopic knee surgery, purportedly performed by
             Defendant Graziosa, through Defendant Graziosa PC, on April 13, 2021, at
             Defendant Empire State ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s knee not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on May 28, 2020, Covered Person A.H., claim number
             1084656-01, starting May 28, 2020, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 632 Utica
             Avenue, Brooklyn, NY. As part of the treatment protocol, A.H. was referred
             for an arthroscopic knee surgery, purportedly performed by Laxmidhar
             Diwan, MD (not named as a defendant herein), on August 19, 2020, at
             Defendant Rockaways ASC, despite the loads and mechanism required to
             cause an acute traumatic injury of the affected area not being present at the
             time of the purported collision, and the reported injury to the Covered
             Person’s knee not being causally related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on April 8, 2019, Covered Person Y.S.S., claim number
             1055401-03, starting April 10, 2019, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 208-01
             Northern Boulevard, Bayside, NY. As part of the treatment protocol, Y.S.S.
             was referred for an arthroscopic shoulder surgery, purportedly performed
             by Boris Khaimov, DO (not named as a defendant herein), through Passaic
             Orthopedic on August 19, 2019, at Defendant New Horizon ASC, despite
             the loads and mechanism required to cause an acute traumatic injury of the
             affected area not being present at the time of the purported collision, and
             the reported injury to the Covered Person’s shoulder not being causally
             related to the collision.

            Following their purported involvement in an automobile collision involving
             a minor impact on April 6, 2019, Covered Person R.R., claim number
             1055339-01, starting May 22, 2019, underwent a predetermined course of
             evaluations and purported treatment at a No-fault Clinic located at 200
             Madison Avenue, New York, NY. As part of the treatment protocol, R.R.
             was referred for an arthroscopic knee surgery, purportedly performed by
             Steven Struhl, MD (not named a Defendant in the Complaint), on August


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                26, 2019, at Defendant Jersey City ASC, despite the loads and mechanism
                required to cause an acute traumatic injury of the affected area not being
                present at the time of the purported collision, and the reported injury to the
                Covered Person’s knee not being causally related to the collision.

               Following their purported involvement in an automobile collision involving
                a minor impact on February 10, 2019, Covered Person C.O.A., claim
                number 1051654-02, starting February 12, 2019, underwent a
                predetermined course of evaluations and purported treatment at a No-fault
                Clinic located at 2379 Ralph Avenue, Brooklyn, NY. As part of the
                treatment protocol, C.O.A. was referred for an arthroscopic shoulder
                surgery, purportedly performed by Christopher Durant, MD (not named as
                a defendant herein), on April 27, 2019, at Defendant North Queens ASC,
                despite the loads and mechanism required to cause an acute traumatic injury
                of the affected area not being present at the time of the purported collision,
                and the reported injury to the Covered Person’s shoulder not being causally
                related to the collision.

               Following their purported involvement in an automobile collision involving
                a minor impact on June 27, 2018, Covered Person D.S., claim number
                1032542-02, starting July 2, 2018, underwent a predetermined course of
                evaluations and purported treatment at a No-fault Clinic located at 41-08
                108 Street, Corona, NY. As part of the treatment protocol, D.S. was referred
                for an arthroscopic shoulder surgery, purportedly performed by Defendant
                Berkowitz, through Defendant Advanced Orthopaedics, on September 12,
                2018, at Defendant Manalapan ASC, despite the loads and mechanism
                required to cause an acute traumatic injury of the affected area not being
                present at the time of the purported collision, and the reported injury to the
                Covered Person’s shoulders not being causally related to the collision.

               Following their purported involvement in an automobile collision involving
                a minor impact on May 10, 2018, Covered Person K.M., claim number
                1028065-01, starting May 11, 2018, underwent a predetermined course of
                evaluations and purported treatment at a No-fault Clinic located at 193-02
                Northern Boulevard, Flushing, NY. As part of the treatment protocol, K.M.
                was referred for an arthroscopic shoulder surgery, purportedly performed
                by Ajoy Sinha, through Defendant Sinha Orthopedics, on October 15, 2018,
                at Defendant Saddlebrook ASC, despite the loads and mechanism required
                to cause an acute traumatic injury of the affected area not being present at
                the time of the purported collision, and the reported injury to the Covered
                Person’s shoulder not being causally related to the collision.

         1500. Fraudulent No-Fault claims submitted in connection with the Covered Persons

  mentioned in Paragraph 1499 are identified in the Appendix to the Complaint which sets forth a

  representative sample of fraudulent No-fault claims mailed by the Defendants to Plaintiff, that


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  were if at all, pursuant to the fraudulent protocol of treatment described herein, in violation of state

  licensing requirements, as part of a kickback or other financial compensation scheme, in order to

  exploit and manipulate the payment formulas under the No-Fault Law to maximize the charges

  that they could submit to Plaintiff.

         1501. By way of further example and without limitation, attached as Exhibit “5,” in the

  accompanying Compendium of Exhibits, is a spreadsheet listing 450 Covered Persons who,

  following a predetermined fraudulent protocol of medically unnecessary services at a No-Fault

  Clinic, ultimately received one or more of the identified Fraudulent Services at one or more of the

  Surgicore ASCs despite a biomechanical review of the purported automobile collision revealing

  that the loads and mechanisms on the purportedly injured parts of the Covered Persons’ bodies

  caused by the purported automobile collision were insufficient to cause traumatic injury and/or the

  reported injuries were not causally related to the automobile collision.

         1502. Demonstrative of the fact that Covered Persons were referred to the Surgicore

  ASCs for orthopedic surgeries irrespective of medical necessity, in many instances, multiple

  individuals who were purportedly involved in the same low-impact collision in the same car, and

  who were different ages, weight, height, and physical condition, sought treatment at one of the

  numerous No-Fault Clinics in the New York metropolitan area through which they were ultimately

  referred to one or more of the Surgicore ASCs and/or other ASCs not named defendants in the

  Complaint, for orthopedic surgeries in furtherance of scheme to fraudulently enrich one or more

  Defendants, while subjecting Covered Persons to dangerous services and procedures without

  regard to their well-being.




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         1503. It is improbable that two or more Covered Persons in the same low-impact

  automobile collision would each require surgical intervention, let alone, in some instances,

  multiple surgeries as a result of a minor automobile collision.

         1504. In furtherance of the scheme to defraud alleged herein, pursuant to a fraudulent

  protocol of treatment, the Surgicore Orthopedic Providers routinely referred to two or more

  Covered Persons who were involved in the same low-impact collision to one or more of the

  Surgicore ASCs for one or more arthroscopic surgeries, at times on the same day, notwithstanding

  that the minor impact collisions are unlikely to result in injuries requiring arthroscopic surgery on

  one passenger, let alone multiple passengers. By way of example and not limitation:

                Following a purported low-impact automobile collision on March 11, 2022,
                 Covered Persons E.Z., claim no. 1098852-01, J.M., claim no. 1098852-02,
                 and M.O., claim no. 1098852-04, E.Z. and J.M. were taken to and M.O.
                 went to the emergency room at Maimonides Medical Center, and were
                 discharged the same day with reported diagnoses of no more than soft tissue
                 injuries. Thereafter, E.Z., J.M., and M.O. purportedly underwent a
                 predetermined course of treatment at the same No-fault Clinic at 410 Ditmas
                 Avenue, Brooklyn, NY, resulting in referrals for each for one or more
                 arthroscopic surgeries. On July 8, 2021, J.M. purportedly underwent
                 arthroscopic surgery on his right shoulder, purportedly performed by
                 Stanislav Avshalumov, DO (not named as a defendant herein), through
                 Advanced Orthopedics and Joint Preservation PC (not named as a defendant
                 herein), at Defendant Jersey City ASC. Nearly a month later on August 5,
                 2021, both E.Z. and M.O. purportedly underwent arthroscopic surgeries on
                 their left and right knees, respectively, both purportedly performed by Dr.
                 Avshalumov, through Advanced Orthopedics and Joint Preservation PC, at
                 Jersey City ASC. Finally, J.M. purportedly underwent an arthroscopic
                 surgery of his right knee, purportedly performed by Dr. Avshalumov,
                 through Advanced Orthopedics and Joint Preservation PC, at Jersey City
                 ASC. Ultimately, Plaintiff was billed for in excess of $51,000.00 by the
                 Surgicore ASCs and Surgicore Orthopedists in connection with 4 surgeries
                 on three people purportedly involved in a single low-impact automobile
                 collision.

                Following a purported low- impact automobile collision on March 11, 2022,
                 Covered Persons S.D., claim no. 1082264-01, M.B. 1082264-02, and R.W.
                 1082264-03, were taken to the emergency room at Jamaica Hospital
                 Medical Center, and ultimately released within a few hours with reported



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             diagnoses of no more than headaches, neck pain, and back pain. Thereafter
             passengers S.D. and M.B. purportedly underwent a predetermined course
             of treatment at a No-fault Clinic at 188 Montague Street, Brooklyn, NY,
             and the driver insured R.W., purportedly underwent a predetermined course
             of treatment at a No-fault Clinic at 381 Sunrise Highway, Lynbrook, NY,
             each resulting in referrals for one or more arthroscopic surgeries. On June
             19, 2020, M.B. purportedly underwent arthroscopic surgery on her left
             shoulder, purportedly performed by Defendant Seldes through Defendant
             Passaic Orthopedic at Defendant New Horizon ASC. Less than two months
             later, on August 10, 2020, S.D. also purportedly underwent arthroscopic
             surgery on her left shoulder, purportedly performed by Seldes at Defendant
             New Horizon ASC. Thereafter, on January 28, 2021, R.W. purportedly
             underwent arthroscopic surgery on his right shoulder, purportedly
             performed by Stanislav Avshalumov, DO (not named as a defendant
             herein), through Advanced Orthopedics and Joint Preservation PC (not
             named as a defendant herein) at Defendant Jersey City ASC. Finally, on
             March 18, 2021, R.W. purportedly underwent arthroscopic surgery on his
             right knee, purportedly performed by Dr. Avshalumov through Advanced
             Orthopedics and Joint Preservation PC at Defendant Jersey City ASC.
             Ultimately, Plaintiff was billed for in excess of $64,000.00 by the Surgicore
             ASCs and Surgicore Orthopedists in connection with 4 surgeries on three
             people purportedly involved in a single low-impact automobile collision.

            Following a purported low impact automobile collision on February 11,
             2020, Covered Person X.E., claim number 1079840-01 was taken, and
             Covered Person E.G. went on his own, to the emergency room at Jamaica
             Hospital Medical Center, and were ultimately discharged the same day with
             reported diagnoses for X.E. of neck and lower back pain, and for E.G. of
             neck pain and pain in his left and right shoulder. Thereafter, X.E. and G.E.
             both purportedly underwent a predetermined course of treatment at a No-
             fault Clinic at 107-15 Northern Boulevard, Corona NY, resulting in referrals
             for multiple arthroscopic surgeries for both Covered Persons. On May 31,
             2020, both X.E. and E.G. purportedly underwent arthroscopic surgery on
             their right shoulders, purportedly performed by Peter A. Tomasello, DO
             (not named as a defendant herein) through Vital Anesthesia Services PLLC
             d/b/a Vital Medical of Forest Hills (“Vital Medical”) (not named as a
             defendant herein) at Defendant All City ASC. A week later on August 8,
             2020, X.E. purportedly underwent arthroscopic surgery on her left shoulder,
             purportedly performed by Dr. Tomasello through Vital Medical at
             Defendant All City ASC. Two weeks later, on August 23, 2020, E.G.
             purportedly underwent arthroscopic surgery on his left shoulder,
             purportedly performed by Dr. Tomasello through Vital Medical at
             Defendant All City ASC. Finally, on November 7, 2020, X.E. purportedly
             underwent an arthroscopic shoulder on her left knee, purportedly performed
             by Dr. Tomasello through Vital Medical at Defendant Fifth Avenue ASC.
             Ultimately, Plaintiff was billed for in excess of $89,000.00 by the Surgicore



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             ASCs and Surgicore Orthopedists in connection with 5 surgeries on two
             people purportedly involved in a single low-impact automobile collision.

            Following a purported low-impact automobile collision on December 27,
             2019, in which Covered Persons P.G., claim no. 1077130-01, was the
             driver, and Covered Persons S.R., claim no. 1077130-02, A.C., claim no.
             1077130-03, and L.T., claim no. 1077130-05, were passengers, P.G. and
             S.R. purportedly underwent a predetermined course of treatment at a No-
             fault Clinic located at 332 East 149th Street, Bronx, New York, and Covered
             Persons A.C., and L.T. purportedly underwent a predetermined course of
             treatment at a No-fault Clinic located at 79-09 Northern Boulevard, Jackson
             Heights, NY, resulting in referrals for multiple arthroscopic surgeries. On
             February 22, 2020, S.R., A.C., and L.T., each purportedly underwent
             arthroscopic surgeries on their right shoulders, each purportedly performed
             by Peter A. Tomasello, DO (not named as a defendant herein) through Vital
             Medical (not named as a defendant herein) at Defendant All City ASC.
             Thereafter, on June 5, 2020, S.R. also purportedly underwent an
             arthroscopic surgery on his right knee each purportedly performed by Dr.
             Tomasello through Vital Medical at Defendant All City ASC. On December
             29, 2020, P.G. purportedly underwent an arthroscopic surgery on his right
             knee, and on March 11, 2021, an arthroscopic surgery on his left shoulder,
             both purportedly performed by Stanislav Avshalumov, DO (not named as a
             defendant herein), through Advanced Orthopedics & Joint Preservation PC
             (not named as a defendant herein) at Defendant Jersey City ASC.
             Ultimately, Plaintiff was billed for in excess of $92,000.00 by the Surgicore
             ASCs and Surgicore Orthopedists in connection with 6 surgeries on four
             people purportedly involved in a single low-impact automobile collision.

            Following a purported low-impact automobile collision on November 22,
             2019, Covered Persons G.L., claim no. 1074602-03, and C.S., claim no.
             1074602-05, did not seek medical attention, and instead purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 60 Belmont Avenue, Brooklyn, NY, resulting in referrals for multiple
             arthroscopic surgeries. On June 3, 2020, C.S. purportedly underwent an
             arthroscopic surgery of the right knee, and on August 19, 2020, purportedly
             underwent an arthroscopic surgery of the left shoulder, both purportedly
             performed by Richard Pearl, MD (not named as a defendant herein), through
             HMP Orthopaedics PC (not named as a defendant herein), at Defendant All
             City ASC. On August 19, 2020, G.L. purportedly underwent an
             arthroscopic surgery of the left knee, purportedly performed by Dr. Pearl,
             through HMP Orthopaedics PC, at Defendant All City ASC. Finally, on
             November 24, 2020, G.L. purportedly underwent an arthroscopic surgery
             of the right knee, purportedly performed by Defendant McMahon, at
             Defendant Fifth Avenue ASC. Ultimately, Plaintiff was billed for in excess
             of $67,000.00 by the Surgicore ASCs and Surgicore Orthopedists in
             connection with 4 surgeries on two people purportedly involved in a single
             low-impact automobile collision.


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                Following a purported low-impact automobile collision on October 3, 2019,
                 Covered Persons H.J., claim number 1070584-02, and W.R., claim number
                 1070584-05, refused emergency medical treatment at the scene of the
                 incident, and thereafter purportedly underwent a predetermined course of
                 treatment at a No-fault Clinic located at 607 Westchester Avenue, Bronx,
                 NY, resulting in referrals for multiple arthroscopic surgeries. On December
                 12, 2019, H.J. purportedly underwent an arthroscopic surgery of the left
                 knee, purportedly performed by Defendant Apazidis, at Defendant All City
                 ASC. A week later, on December 20, 2019, W.R. purportedly underwent an
                 arthroscopic surgery of the right knee, purportedly performed by Defendant
                 Apazidis, at Defendant All City ASC. Thereafter, on January 17, 2020, both
                 H.J. and W.R. purportedly underwent arthroscopic surgeries of their right
                 shoulders, purportedly performed by Defendant Apazidis, at Defendant All
                 City ASC. Ultimately, Plaintiff was billed for in excess of $64,000.00 by
                 the Surgicore ASCs and Surgicore Orthopedists in connection with 4
                 surgeries on two people purportedly involved in a single low-impact
                 automobile collision.

                Following a purported low-impact automobile collision on November 14,
                 2018, covered persons R.N., claim no. 1045895-01, J.P., claim no.
                 1045895-03, S.V., claim no. 1045895-03, and J.A., claim no. 1045895-04,
                 were taken to the emergency room at Mount Sinai Hospital Queens, which
                 reported diagnoses of strains and sprains of the neck, back, and limbs.
                 Thereafter, R.N., J.P., S.V., and J.A., all purportedly underwent a
                 predetermined course of treatment at a No-fault Clinic located at 104-08
                 Roosevelt Avenue, Corona, NY, which resulted in referrals for arthroscopic
                 surgeries. On January 25, 2019, J.P. purportedly underwent an arthroscopic
                 surgery of the left shoulder, purportedly performed by Defendant Apazidis,
                 at Defendant All City ASC. on April 5, 2019, J.A. purportedly underwent
                 an arthroscopic surgery of the right knee, purportedly performed by
                 Defendant Apazidis at Defendant All City ASC. R.N. and S.V. purportedly
                 underwent arthroscopic surgeries of the left knee, purportedly performed by
                 Defendant Apazidis, at Defendant All City ASC, on February 8, 2019, and
                 April 12, 2019, respectively. Ultimately, Plaintiff was billed for in excess
                 of $55,000.00 by the Surgicore ASCs and Surgicore Orthopedists in
                 connection with 4 surgeries on two people purportedly involved in a single
                 low-impact automobile collision.

         1505. By way of further example and without limitation, attached as Exhibit “12,” in the

  accompanying Compendium of Exhibits, is a spreadsheet listing a representative sample of claims

  where the Surgicore Orthopedic Providers referred two or more Covered Persons who were

  involved in the same low-impact collision to one or more of the Surgicore ASCs for one or more

  arthroscopic surgeries, at times on the same day, notwithstanding that the minor impact collisions


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  are unlikely to result in injuries requiring arthroscopic surgery on one passenger, let alone multiple

  passengers.

         1506. In addition to the foregoing, demonstrative of the fact that Covered Persons were

  referred to the Surgicore ASCs for orthopedic surgeries irrespective of medical necessity, in many

  instances, multiple individuals who were purportedly involved in the same low-impact collision in

  the same car, and who were different ages, weight, height, position in the vehicle and physical

  condition, were referred to one or more of the Surgicore ASCs for orthopedic surgeries on the

  same limb. By way of example but not limitation:

                On or about September 30, 2022, Covered Persons S.B., claim no. 1120268-
                 01, and A.N., claim no. 1120268-03, were purportedly involved in the same
                 low-impact automobile collision. Despite the fact that these Covered
                 Persons were different ages, different sizes, in different physical conditions
                 and sitting in different locations within the vehicle, they both purportedly
                 underwent a predetermined course of treatment at No-fault Clinics located
                 at 3250 Westchester Avenue, Bronx, NY, which resulted in each Covered
                 Person being referred for arthroscopic surgeries of the left knee. On
                 November 30, 2022, S.B. purportedly underwent an arthroscopic surgery of
                 the left knee, purportedly performed by Defendant Berkowitz, through
                 Defendant Advanced Orthopaedics, at Defendant Jersey City ASC. that
                 Same day, A.N. purportedly underwent an arthroscopic surgery of the right
                 knee, purportedly performed by Defendant Berkowitz, through Defendant
                 Advanced Orthopaedics, at Defendant Jersey City ASC. Thereafter, A.N.
                 also purportedly underwent an arthroscopic surgery of the left knee,
                 purportedly performed by Defendant Berkowitz, through Defendant
                 Advanced Orthopaedics, at Defendant Jersey City ASC.

                On or about April 15, 2021, Covered Persons N.I., claim no. 1096609-02
                 and E.R., claim no. 1096609-03, were purportedly involved in the same
                 low-impact automobile collision. Despite the fact that these Covered
                 Persons were different ages, different sizes, in different physical conditions
                 and sitting in different locations within the vehicle, they both purportedly
                 underwent a predetermined course of treatment at No-fault Clinics located
                 at 282-284 Avenue X, Brooklyn, NY, and 352 Neptune Avenue, Brooklyn,
                 NY, respectively, which resulted in each Covered Person being referred for
                 arthroscopic surgeries on both their right and left knees. N.I. purportedly
                 underwent arthroscopic surgery on the right knee on July 1, 2021, and on
                 the left knee on September 23, 2021, both purportedly performed by
                 Aleksandr Khaimov, DO (not named as a defendant herein), through



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             Quality Orthopedics and Complete Joint Care PC (not named as a defendant
             herein) at Defendant All City ASC. E.R. purportedly underwent
             arthroscopic surgery on the right knee on July 2, 2021, and on the left knee
             on July 30, 2021, both also purportedly performed by Defendant Baum,
             through Defendant Bay Ridge Orthopedic at Defendant All City ASC.

            On or about March 18, 2021, Covered Persons M.R., claim no. 1095487-02
             and L.M., claim no. 1095487-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 1122 Coney Island Avenue, Brooklyn, NY, which resulted in each
             Covered Person being referred for arthroscopic surgeries on their right
             shoulders. L.M. purportedly underwent an arthroscopic surgery on the right
             shoulder on May 21, 2019, purportedly performed by Defendant Baum,
             through Defendant Bay Ridge PC at Defendant All City ASC. M.R.
             purportedly underwent an arthroscopic surgery on the right shoulder on July
             19, 2021 purportedly performed by Defendant Upendra Sinha, through
             Defendant MSJR, at Defendant All City ASC.

            On or about May 22, 2021, Covered Persons T.L., claim no. 1097393-01,
             and R.L., claim no. 1097393-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at No-fault Clinics located
             at 2017-2019 Williamsbridge Road, Bronx, NY, which resulted in each
             Covered Person being referred for arthroscopic surgeries of the left
             shoulder. On September 11, 2021, R.L. purportedly underwent an
             arthroscopic surgery of the left shoulder, purportedly performed by William
             L. King, MD (not named as a defendant herein, at Defendant North Queens
             ASC. Thereafter, on January 21, 2021, T.L. purportedly underwent an
             arthroscopic surgery of the left shoulder, purportedly performed by
             Defendant Anjani Sinha, through Defendant Anjani PC, at Defendant All
             City ASC.

            On or about November 3, 2020, Covered Persons A.R., claim no. 1090347-
             02 and A.M., claim no. 1090347-04, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 95-25 Jamaica Avenue, Woodhaven, NY, which resulted in each Covered
             Person being referred for arthroscopic surgeries on their left shoulders. On
             January 23, 2021, Both A.R. and A.M. underwent arthroscopic surgeries of
             their left shoulders, purportedly performed the same day by Peter A.


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             Tomasello, DO (not named as a defendant herein) through Vital Anesthesia
             Services PLLC d/b/a Vital Medical of Forest Hills (not named as a
             defendant herein) at Defendant Fifth Avenue ASC.

            On or about August 22, 2020, Covered Persons J.W., claim no. 1087348-01
             and R.W., claim no. 1087348-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 2 East 86th Street, New York, NY, which resulted in each Covered Person
             being referred for arthroscopic surgeries on both their right and left
             shoulders. R.W. purportedly underwent arthroscopic surgery on her right
             shoulder on November 6, 2020, and on her left shoulder on April 30, 2021,
             both purportedly performed by Steven Struhl, MD (not named as a
             defendant herein), through Steven Struhl MD PC (not named as a defendant
             herein) at Defendant Jersey City ASC. J.W. purportedly underwent
             arthroscopic surgery on her left shoulder on January 29, 2021, and on her
             right shoulder on March 5, 2021, both also purportedly performed by Steven
             Struhl, MD (not named as a defendant herein), through Steven Struhl MD
             PC (not named as a defendant herein) at Defendant Jersey City ASC.

            On or about August 17, 2020, Covered persons R.W., claim no. 1087441-
             02, and C.S., claim no. 1087441-04, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 2132 Ralph Avenue, Brooklyn, NY, which resulted in each Covered
             Person being referred for arthroscopic surgeries on among other limbs, both
             of their right shoulders. On November 8, 2022, R.W. purportedly underwent
             an arthroscopic surgery on the left knee, purportedly performed by Darren
             Friedman, MD (not named as a defendant herein), through New York Spine
             Specialists (not named as a defendant herein) at Defendant New Horizon
             ASC. On December 4, 2020, C.S., also purportedly underwent an
             arthroscopic surgery on the left knee, purportedly performed by Defendant
             Baum, through Defendant Bay Ridge Orthopedic, at Defendant All City
             ASC. That same day, R.W. purportedly underwent an arthroscopic surgery
             on the right shoulder, also, purportedly performed by Defendant Baum,
             through Defendant Bay Ridge Orthopedic, at Defendant All City ASC.

            On or about June 14, 2020, Covered Persons C.P., claim no. 1084884-01
             and M.E., claim no. 1084884-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located


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             at 3432 East Tremont Avenue, Bronx, NY, which resulted in each Covered
             Person being referred for arthroscopic surgeries on their right shoulders.
             M.E. purportedly underwent arthroscopic surgery on the right shoulder on
             September 22, 2020, purportedly performed by Defendant Graziosa,
             through Defendant Graziosa PC, at Defendant Empire State ASC. C.P.
             purportedly underwent arthroscopic surgery on the right shoulder on
             October 26, 2020 purportedly performed by Laxmidhar Diwan, MD (not
             named as a defendant herein), through Health Choice NY Medical PC (not
             named as a defendant herein), at Defendant Jersey City ASC.

            On or about May 14, 2020, Covered Persons V.L., claim no. 1084594-02
             and E.S., claim no. 1084594-03, were purportedly involved in the same low-
             impact automobile collision. Despite the fact that these Covered Persons
             were different ages, different sizes, in different physical conditions and
             sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 332 East 149 Street, New York, NY, which resulted in each Covered
             Person being referred for arthroscopic surgeries on their right shoulders.
             E.S. purportedly underwent arthroscopic surgery on the right shoulder on
             September 4, 2020, purportedly performed by Sean Thompson, MD (not
             named as a defendant herein), through Thompson Medical PC (not named
             as a defendant herein) at Defendant Saddlebrook ASC. V.L. purportedly
             underwent arthroscopic surgery on the right shoulder on November 17,
             2020 purportedly performed by Richard Pearl, MD (not named as a
             defendant herein), through HMP Orthopaedics PC (not named as a
             defendant herein), at Defendant All City ASC.

            On or about March 3, 2020, Covered Persons J.R., claim no. 1081815-02,
             O.E., claim no. 1081515-04, and M.A., claim no. 1081815-05, were
             purportedly involved in the same low-impact automobile collision. Despite
             the fact that these Covered Persons were different ages, different sizes, in
             different physical conditions and sitting in different locations within the
             vehicle, all three purportedly underwent a predetermined course of
             treatment at a No-fault Clinic located at 900-B East Tremont Avenue,
             Bronx, NY, which resulted in each Covered Person being referred for
             arthroscopic surgeries on their right knee. J.R. purportedly underwent an
             arthroscopic surgery on the right knee on August 7, 2020 at Defendant All
             City ASC, O.E. purportedly underwent an arthroscopic surgery on the right
             knee on August 20, 2020, at Defendant Fifth Avenue ASC, and M.A.
             purportedly underwent an arthroscopic surgery on the right knee, on August
             27, 2020, at Defendant North Queens ASC. All three surgeries were
             purportedly performed by Neofitos Stefanides, MD (not named as a
             defendant herein) through Neofitos Stedanides, MD, PC (not named as a
             defendant herein).

            On or about November 13, 2019, Covered Persons R.P., claim no 1073428-
             01, and J.S., claim no. 1073428-02, were purportedly involved in the same


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             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 37-03 92nd Street, Jackson Heights, NY, which resulted in each Covered
             Person being referred for arthroscopic surgeries on their right knees. J.S.
             purported underwent an arthroscopic surgery on the right knee on January
             16, 2020, purportedly performed by Defendant Sinha through Defendant
             Anjani Sinha PC at Defendant All City ASC. Months later, R.P. also
             purportedly underwent an arthroscopic surgery on the right knee on May
             21, 2020, also purportedly performed by Defendant Sinha through
             Defendant Anjani Sinha PC at Defendant All City ASC.

            On or about October 12, 2019, Covered Persons J.P., claim no. 1072272-
             02, and T.C., claim no. 1072272-04, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 60 Belmont Avenue, Brooklyn, NY, which resulted in each Covered
             Person being referred for arthroscopic surgeries on their left shoulders. On
             April 13, 2021, J.P. purportedly underwent an arthroscopic shoulder on the
             left shoulder, purportedly performed by Defendant McMahon, at Defendant
             Fifth Avenue ASC. Five weeks later, on May 18, 2021, T.C. also
             purportedly underwent an arthroscopic shoulder on the left shoulder,
             purportedly performed by Defendant McMahon, at Defendant Fifth Avenue
             ASC.

            On or about April, Covered Persons J.R., claim no. 1054877-01, and J.P.,
             claim no. 1054877-03, were purportedly involved in the same low-impact
             automobile collision. Despite the fact that these Covered Persons were
             different ages, different sizes, in different physical conditions and sitting in
             different locations within the vehicle, they both purportedly underwent a
             predetermined course of treatment at a No-fault Clinic located at 409
             Rockaway Avenue, Brooklyn, NY, which resulted in each Covered Person
             being referred for arthroscopic surgeries on their right shoulders. On June
             18, 2019, J.R. purportedly underwent an arthroscopic shoulder on the right
             shoulder, purportedly performed by Defendant McMahon, through
             Defendant McMahon PC, at Defendant Fifth Avenue ASC. Thereafter, on
             September 16, 2019, J.P. also purportedly underwent an arthroscopic
             shoulder on the right shoulder, purportedly performed by Defendant
             McCulloch, through Defendant McCulloch Orthopaedic, at Defendant Fifth
             Avenue ASC.

            On or about October 12, 2018, Covered Persons C.A., claim no. 1042294-
             01, M.V., claim no. 1042294-02, W.V., claim no. 1042294-03, and J.P.,
             claim no. 1042294-04, were purportedly involved in the same low-impact


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                automobile collision. Despite the fact that these Covered Persons were
                different ages, different sizes, in different physical conditions and sitting in
                different locations within the vehicle, they C.A., M.V., and W.V.
                purportedly underwent a predetermined course of treatment at a No-fault
                Clinic located at 104-08 Roosevelt Avenue, Corona, and J.P., at a No-fault
                Clinic located at 900-B East Tremont Avenue, Bronx, NY, which resulted
                in each Covered Person being referred for arthroscopic surgeries on their
                right knee. W.V., M.V., and P.A., purportedly underwent arthroscopic
                surgeries on their right knees, each purportedly performed by Defendant
                Apazidis, through Defendant Apazidis PC, at Defendant All City ASC, on
                January 18, 2019, January 25, 2019, and February 1, 2019, respectively. J.P.
                purportedly underwent arthroscopic surgery on his right knee on November
                18, 2018, purportedly performed by Defendant Katzman, through
                Defendant Katzman PC, at Defendant Fifth Avenue Surgery Center.

         1507. Exhibit 13 in the Compendium of Exhibits is a spreadsheet containing a

  representative sample of claims where two or more Covered Persons purportedly involved in the

  same low-impact automobile collision were referred for orthopedic surgeries purportedly

  performed at the Surgicore ASCs, including instances where two or more Covered Persons

  purportedly underwent orthopedic surgeries on the same limb, at times, on the same day.

         1508. Demonstrative of the fact that Covered Persons were referred to the Surgicore

  ASCs for percutaneous discectomies irrespective of medical necessity, in many instances, multiple

  individuals who were purportedly involved in the same low-impact collision in the same car, and

  who were different ages, weight, height, positions in the vehicle and physical condition, sought

  treatment at one of the numerous No-Fault Clinics in the New York metropolitan area through

  which they were ultimately referred to one or more of the Surgicore ASCs and/or other ASCs not

  named defendants in the Complaint, for one or more percutaneous discectomies, at time each, in

  furtherance of the scheme to fraudulently enrich one or more Defendants, while subjecting

  Covered Persons to dangerous services and procedures without regard to their well-being. By way

  of example and not limitation:

               On or about January 20, 2024, Covered Persons D.P., claim no. 1143101-
                01, and B.P., claim no. 1143101-02, were purportedly involved in the same


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             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 55 East 115th Street, New York, NY, which resulted in each Covered
             Person being referred for multiple percutaneous discectomies. On April 9,
             2024, both D.P., and B.P., purportedly underwent cervical percutaneous
             discectomies, both purportedly performed by Metul K. Shah, MD (not
             named as a defendant herein) through 5th Avenue Wellness Medicine, P.C.
             (not named a defendant at the Complaint) at Defendant North Queens.
             Thereafter, on July 28, 2024, both D.P. and B.P. purportedly underwent
             lumbar percutaneous discectomies, both purportedly performed by Anil
             Patil, MD (not named as a defendant herein) through 5th Avenue Wellness
             Medicine PC (not named as a defendant herein) at Defendant Empire State
             ASC.

            On or about November 27, 2023, Covered Persons D.W., claim no.
             1139740-03, and M.A., claim no. 1139740-04, were purportedly involved
             in the same low-impact automobile collision. Despite the fact that these
             Covered Persons were different ages, different sizes, in different physical
             conditions and sitting in different locations within the vehicle, they both
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 4250 White Plains Road, Bronx, NY, which resulted in
             each Covered Person being referred for multiple percutaneous
             discectomies. On March 10, 2024, and May 20, 2024, M.A. purportedly
             underwent a lumbar percutaneous discectomy, and a cervical percutaneous
             discectomy, respectively, purportedly performed by Defendant Shabtian
             and Defendant Portal, respectively, both through Defendant Total
             Anesthesia at Defendant All City ASC. Concurrently, on March 20, 2024
             and again on April 14, 2024, D.W. purportedly underwent a lumbar
             percutaneous discectomy and a cervical percutaneous discectomy,
             respectively, purportedly performed by Defendant Shabtian, through
             Defendant Total Anesthesia at Defendant All City ASC.

            On or about July 30, 2023, Covered Persons M.F., claim no. 1133666-01
             and A.H., claim no. 1133666-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 164-06 Northern Boulevard, Flushing, NY, which resulted in each
             Covered Person being referred for a percutaneous discectomy. On
             December 6, 2023, M.F. and A.H. purportedly underwent a cervical
             percutaneous discectomy and lumbar percutaneous discectomy,
             respectively, purportedly performed on the same day by Defendant
             Shabtian, through Defendant Total Anesthesia at Defendant All City ASC.



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            On or about December 27, 2022, Covered Persons O.R., claim no. 1124002-
             01, and E.A., claim no. 1124002-03, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 86-01 101 Avenue, Ozone Park, NY, which resulted in each Covered
             Person being referred for percutaneous discectomies. On March 29, 2023,
             E.A. purportedly underwent a lumbar percutaneous discectomy,
             purportedly performed by Defendant Bowen, through Defendant Bowen
             PLLC, at Defendants Rockaways ASC. Less than two weeks later, O.R.,
             purportedly underwent a cervical percutaneous discectomy, also
             purportedly performed by Defendant Bowen, through Defendant Bowen
             PLLC, at Defendants Rockaways ASC.

            On or about November 23, 2022, Covered Persons C.M., claim no.
             1122619-02, and I.D., claim no. 1122619-03, were purportedly involved in
             the same low-impact automobile collision. Despite the fact that these
             Covered Persons were different ages, different sizes, in different physical
             conditions and sitting in different locations within the vehicle, they both
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 2558 Holland Avenue, Bronx, NY, which resulted in each
             Covered Person being referred for percutaneous discectomies on the same
             region of their backs. On April 24, 2023, C.M. purportedly underwent a
             lumbar percutaneous discectomy, purportedly performed by Defendant
             Kotkes, through Defendant Kotkes PC, at Defendant All City ASC. Less
             than two weeks later, on May 4, 2023, I.D. purportedly underwent a lumbar
             percutaneous discectomy, purportedly performed by Defendant Kotkes,
             through Defendant Kotkes PC, at Rockaways ASC.

            On or about January 26, 2023, Covered Persons D.B., claim no. 1125458-
             02 and R.B., claim no. 1125458-04, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 4015 Boston Road, Bronx, NY, which resulted in each Covered Person
             being referred for percutaneous discectomies on the same region of the
             spine. On May 25, 2023, both D.B. and R.B. purportedly underwent lumbar
             percutaneous discectomies, purportedly performed on the same day by
             Baruch Kim, DO (not named a Defendant in the Complaint), through
             Baruch Medical PLLC (not named as a defendant herein) at Defendant Fifth
             Avenue ASC.

            On or about July 29, 2022, Covered Persons J.L., claim no. 1117329-02 and
             N.M., claim no. 1117329-04, were purportedly involved in the same low-
             impact automobile collision. Despite the fact that these Covered Persons


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             were different ages, different sizes, in different physical conditions and
             sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 719 Southern Boulevard, Bronx, NY, which resulted in each Covered
             Person being referred for percutaneous discectomies on the same region of
             the spine. On October 27, 2022, both J.L. and N.M. purportedly underwent
             lumbar percutaneous discectomies, purportedly performed on the same day
             by Defendant Kotkes, through Defendant Kotkes PC at Defendant
             Rockaways ASC.

            On or about June 2, 2022, Covered Persons M.P., claim no. 1115491-01,
             and J.Q., claim no. 1115491-04, were purportedly involved in the same low-
             impact automobile collision. Despite the fact that these Covered Persons
             were different ages, different sizes, in different physical conditions and
             sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 102-05 Northern Boulevard, Corona, NY, which resulted in each Covered
             Person being referred for percutaneous discectomies on the same region of
             the spine. On October 16, 2022, J.Q., purportedly underwent a lumbar
             percutaneous discectomy, purportedly performed by Matthew R. Kholer,
             MD (not named as a defendant herein) through Defendant Bowen PLLC, at
             Defendant Rockaways ASC. On November 6, 2022, M.P. also purportedly
             underwent a lumbar percutaneous discectomy, purportedly performed by
             Defendant Portal, through Defendant Bowen PLLC, at Defendant
             Rockaways ASC.

            On or about May 17, 2022, Covered Persons E.K., claim no. 1114475-01
             and T.B., claim no. 1114475-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 1339 East Gun Hill Rd, Bronx, NY, which resulted in each Covered
             Person being referred for percutaneous discectomies on the same region of
             the spine. On February 16, 2023, both E.K. and T.B. purportedly underwent
             lumbar percutaneous discectomies, purportedly performed on the same day
             by Defendant Shabtian, through Defendant Total Anesthesia at Defendant
             North Queens ASC.

            On or about November 6, 2021, Covered Persons E.C., claim no. 1105285-
             07, R.T., claim no. 1105285-07, and M.C., claim no. 1105285-10, were
             purportedly involved in the same low-impact automobile collision. Despite
             the fact that these Covered Persons were different ages, different sizes, in
             different physical conditions and sitting in different locations within the
             vehicle, they all purportedly underwent a predetermined course of treatment
             at a No-fault Clinic located at 82-17 Woodhaven Boulevard, Ridgewood,
             NY, which resulted in each Covered Person being referred for one or more


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             percutaneous discectomies. On May 26, 2022, M.C. purportedly underwent
             a lumbar percutaneous discectomy, purportedly performed by Defendant
             Kotkes, through Defendant Kotkes PC at Defendant Rockaways ASC. On
             June 13, 2022, R.T. purportedly underwent a cervical percutaneous
             discectomy, purportedly performed by Defendant Kotkes, through
             Defendant Kotkes PC at Defendant All City ASC. On July 14, 2022, E.C.
             purportedly underwent a lumbar percutaneous discectomy, purportedly
             performed by Defendant Kotkes, through Defendant Kotkes PC at
             Defendant Rockaways ASC. Finally, on July 28, 2022, R.T. purportedly
             underwent a lumbar percutaneous discectomy, purportedly performed by
             Defendant Kotkes, through Defendant Kotkes PC, this time at Defendant
             Rockaways ASC.

            On or about April 8, 2021, Covered Persons L.J., claim no. 1098288-05,
             and J.S., claim no. 1098288-05, were purportedly involved in the same low-
             impact automobile collision. Despite the fact that these Covered Persons
             were different ages, different sizes, in different physical conditions and
             sitting in different locations within the vehicle, they all purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 607 Westchester Avenue, Bronx, NY, which resulted in each Covered
             Person being referred for one or more percutaneous discectomies. On
             October 8, 2021, L.J. purportedly underwent a cervical percutaneous
             discectomy, purportedly performed by Defendant Hall, through Defendant
             Hall PLLC, at defendant Rockaways ASC. Thereafter, J.S. purportedly
             underwent a cervical percutaneous discectomy on December 3, 2021, and a
             lumbar percutaneous discectomy on February 11, 2022, both purportedly
             performed by Defendant Hall, through Defendant Hall PLLC, at Defendant
             Rockaways ASC.

            On or about June 24, 2020, Covered Persons E.P., claim no. 1085172-01
             and E.A., claim no. 1085172-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 647 Bryant Avenue, Bronx, NY, which resulted in each Covered Person
             being referred for multiple percutaneous discectomies. E.P. purportedly
             underwent a cervical percutaneous discectomy on August 25, 2020, and a
             lumbar percutaneous discectomy six days later on August 31, 2020, both
             purportedly performed by Defendant Kotkes, through Defendant Kotkes
             PC, at Defendant Rockaways ASC. Starting eight days later, E.A.
             purportedly underwent a lumbar percutaneous discectomy on September 9,
             2020, and a cervical percutaneous discectomy on September 10, 2020, both
             purportedly performed by Defendant Kotkes, through Defendant Kotkes
             PC, at Defendant Rockaways ASC. Finally, E.A. also underwent another
             lumbar percutaneous discectomy, purportedly performed by Arden M.
             Kaisman, MD (not named as a defendant herein), through Metropolitan


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             Medical and Surgical P.C. (not named as a defendant herein) at Triborough
             ASC (not named as a defendant herein) on March 22, 2021.

            On or about January 10, 2020, Covered Persons C.S., claim no. 1078303-
             01 and N.S., claim no. 1078303-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 69-37 Myrtle Avenue, Glendale, NY, which resulted in each Covered
             Person being referred for multiple percutaneous discectomies. N.S.
             purportedly underwent a lumbar percutaneous discectomy on January 26,
             2021, and a cervical percutaneous discectomy on March 18, 2021, both
             purportedly performed by Defendant Kotkes, through Defendant Kotkes
             PC, at Defendant Rockaways ASC. Contemporaneously, C.S. purportedly
             underwent a lumbar percutaneous discectomy on February 22, 2021, and a
             cervical percutaneous discectomy on March 15, 2021, both also purportedly
             performed by Kotkes, through Defendant Kotkes PC, but performed instead
             at Defendant All City ASC.

            On or about November 19, 2019, Covered Persons A.F., claim no. 1074670-
             01, E.E., claim no. 1074670-03, and F.L., claim no. 1074670-04, were
             purportedly involved in the same low-impact automobile collision. Despite
             the fact that these Covered Persons were different ages, different sizes, in
             different physical conditions and sitting in different locations within the
             vehicle, they both purportedly underwent a predetermined course of
             treatment at a No-fault Clinic located at 34-09 Murray Street, Flushing, NY,
             which resulted in each Covered Person being referred for multiple
             percutaneous discectomies. A.F. purportedly underwent a lumbar
             percutaneous discectomy on September 4, 2020, and a cervical
             percutaneous discectomy on November 14, 2020, both purportedly
             performed by Tamer M. Elbaz, MD (not named as a defendant herein),
             through NY Anesthesia Pain Management PLLC and Pain Physicians NY
             PLLC, respectively, at Defendant Jersey City ASC. Thereafter, on January
             3, 2021, E.E. and F.L., both purportedly underwent lumbar percutaneous
             discectomies on the same day, both purportedly performed by Defendant
             Shabtian, through Defendant Total Anesthesia, at Defendant Rockaways
             ASC.

            On or about August 19, 2019, Covered Persons N.C., claim no. 1066106-
             01 and C.C., claim no. 1066106-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, in different physical conditions
             and sitting in different locations within the vehicle, they both purportedly
             underwent a predetermined course of treatment at a No-fault Clinic located
             at 68-60 Austin Street, Forest Hills, NY, which resulted in each Covered
             Person being referred for percutaneous discectomies. On January 4, 2020,


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                both N.C. and C.C. purportedly underwent lumbar percutaneous
                discectomies, purportedly performed on the same day by Defendant Vora,
                through Defendant NJ Vora, at Defendant Saddlebrook ASC. Months later,
                on September 9, 2020, N.C. purportedly underwent another lumbar
                percutaneous discectomy, purportedly performed by Dr. Johnathan
                Simhaee (not named as a defendant herein) through Jonathan Lewin MD
                PC (not named as a defendant herein) at Bergenfield Surgical Center (not
                named as a defendant herein).

               On or about November 22, 2018, Covered Persons S.Z., claim no. 1045476-
                02, Q.C., claim no. 1045476-04, X.C., claim no. 1045476-06, and Y.L.,
                claim no. 1045476-07, were purportedly involved in the same low-impact
                automobile collision. Despite the fact that these Covered Persons were
                different ages, different sizes, in different physical conditions and sitting in
                different locations within the vehicle, they S.Z., Q.C., and Y.L. purportedly
                underwent a predetermined course of treatment at a No-fault Clinic located
                at 839 57th Street, Brooklyn, NY, and X.C. at 823 56th Street, Brooklyn, NY,
                which resulted in each Covered Person being referred for multiple
                percutaneous discectomies. Starting February 16, 2019, S.Z. and Y.L. both
                purportedly underwent cervical percutaneous discectomies, purportedly
                performed by Defendant Xie, through Defendant Integrated Pain
                Management on the same day at Defendant Manalapan ASC. on March 28,
                2019, Q.C., purportedly underwent a cervical percutaneous discectomy,
                purportedly performed by Defendant Xie through Defendant Integrated
                Pain Management at Jersey City ASC. On April 4, 2019, Y.L. purportedly
                underwent a lumbar percutaneous discectomy, purportedly performed by
                Defendant Xie through Defendant Integrated Pain Management at
                Defendant Manalapan ASC. Finally, on April 16, 2019, X.C. purportedly
                underwent a cervical discectomy, purportedly performed by Dr. Didier
                Demesmin (not named as a defendant herein) through University Pain
                Medicine Center (not named as a defendant herein) at Stemmee Surgery
                Center (not named as a defendant herein).

         1509. By way of further example and without limitation, attached as Exhibit “14,” in the

  accompanying Compendium of Exhibits, is a spreadsheet listing a representative sample of claims

  where the Surgicore Orthopedic Providers referred two or more Covered Persons who were

  involved in the same low-impact collision to one or more of the Surgicore ASCs for one or more

  percutaneous discectomies irrespective of medical necessity subjecting Covered Persons to

  dangerous services and procedures without regard to their well-being.




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  VII.   The Fraudulent Billing And Treatment Protocol

         1510.    Defendants’ scheme to defraud was predicated on the purported performance of

  the Fraudulent Services on Covered Persons, the vast majority of whom were involved in minor

  impact automobile accidents in which they suffered soft-tissue injuries, if they were injured at

  all.

         1511. The Fraudulent Services were purportedly performed to financially enrich

  Defendants, without regard to medical necessity.

         1512. Virtually every aspect of Defendants’ fraudulent scheme was motivated by money

  and greed, and without regard to the grave harm inflicted on the public at large by holding

  themselves out as providing legitimate medical services when in fact they were providing, if

  anything, unnecessary services that exposed Covered Persons to invasive procedures in which they

  were put at further risk through the administration of anesthesia.

         1513. In furtherance of the scheme to defraud, Defendants’ purportedly subjected

  Covered Persons to invasive, high risk, interventional pain management and arthroscopic

  procedures and/or surgeries purportedly performed at the Surgicore ASCs pursuant to a

  predetermined fraudulent protocol that was designed to maximize the billing that the Defendants

  submitted or cause to be submitted to insurers including, Plaintiff, rather than to properly treat or

  otherwise benefit the Covered Persons who were purportedly subjected to the procedures and/or

  surgeries.

         1514. The Predetermined Protocol required that, irrespective of medical need, aggressive

  interventional pain management and arthroscopic procedures and/or surgeries be performed on

  virtually all of the Covered Persons for which Defendants submitted bills to Plaintiff, all in




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  furtherance of the scheme to fraudulently enrich one or more Defendants, while subjecting

  Covered Persons to dangerous services and procedures without regard to their actual well-being.

         1515. The Defendants’ Predetermined Protocol includes: (a) failing to legitimately

  examine Covered Persons to determine the true nature and extent of their injuries; (b) documenting

  a series of predetermined diagnoses for each Covered Person to justify a predetermined course of

  medically unnecessary interventional pain management and/or arthroscopic procedures and/or

  surgeries; (c) recommending and performing, or causing to be performed, some combination of

  pain management injections, including but not limited to trigger point injections, and epidural

  steroid injections, as well as epidurograms, discograms, percutaneous discectomies and IDETs,

  and/or arthroscopic procedures, including but not limited to shoulder, knee, wrist, and ankle

  arthroscopies; (d) unlawfully referring, performing, and/or causing the Fraudulent Services to be

  performed at one or more of the Surgicore ASCs which the Defendants knowingly used to submit

  fraudulent charges for facility fees and other attendant services relating to the Predetermined

  Protocol, including but not limited to fraudulent charges for anesthesia that was unnecessary; (e)

  administering sedation concomitant to interventional pain management injections that was not

  required; and (f) submitting bills and documents to American Transit falsely representing that the

  aforementioned Fraudulent Services were medically necessary, within the standard of care, and

  lawfully rendered when, in fact, they were not.

         1516. As fully alleged herein, many of the Covered Persons did not seek any treatment at

  any hospital as a result of their purported accidents. To the limited extent that the Covered Persons

  did report to a hospital after their purported accidents, typically each was briefly observed on an

  outpatient basis and discharged after a few hours with nothing more serious than a soft tissue

  diagnosis.




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         1517. Furthermore, in many cases, contemporaneous police reports indicated that the

  Covered Persons’ purported accidents involved low-impact automobile collisions, that the

  Covered Persons’ vehicles were drivable following the accident, and that no one was seriously

  injured in the accident and/or injured at all.

         1518. Notwithstanding the foregoing, the Defendants purported to provide the Fraudulent

  Services to Covered Persons regardless of the nature or severity of any automobile accident,

  regardless of the Covered Person’s individual symptoms arising from any reported automobile

  collision and in most cases, regardless of the total absence of any serious medical issue arising

  from any actual accident.

         1519. Though the Fraudulent Services were allocated among multiple Surgicore Pain

  Management Providers and Surgicore Orthopedic Providers, the fraudulent Pre-Determined

  Protocol was the same.

         1520. In view of the health risks presented by the invasive procedures (the Fraudulent

  Services) alleged herein, no legitimate physician, medical practice, or other healthcare provider

  would permit the fraudulent treatment and billing protocol undertaken by the Defendants to

  proceed under their direction.

         1521. Nonetheless, the Surgicore Pain Management Providers and Surgicore Orthopedic

  Providers, acting in concert with the Controllers and Surgicore ASCs purported to perform, or

  caused to be performed, on Covered Persons one or more of the Fraudulent Services for

  Defendants’ financial benefit and represented such services were medically necessary when in fact

  they were not.

         1522. The Surgicore Pain Management Providers and Surgicore Orthopedic Providers

  ordered and performed and/or caused to be performed one or more of the Fraudulent Services on




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  Covered Persons for their financial benefit, signed and/or authorized bills to be submitted to

  Plaintiff under their names and/or their respective professional corporations that contained false

  representations as to the nature of the purported injuries; that such purported injuries were causally

  related to automobile collisions; that the bill for Fraudulent Services were not provided pursuant

  to an unlawful kickback or other financial arrangement scheme and that the services were

  medically necessary when in fact they were not.

         1523. The Surgicore Pain Management Providers and Surgicore Orthopedic Providers

  ordered and performed and/or caused to be performed one or more of the Fraudulent Services on

  Covered Persons for their financial benefit, signed and/or authorized medical records and reports

  to be submitted to Plaintiff under their names and/or their respective professional corporations that

  falsely represented that such services were medically necessary when in fact they were not.

         1524. The interventional pain management and arthroscopic procedures and/or surgeries

  generate up to four separate and distinct fees, which result in the mailing of bills to Plaintiff by: 1)

  the Surgicore Pain Management Provider and/or Surgicore Orthopedic Provider for the purported

  performance of the procedure and/or surgery by the doctor, which sometimes also includes a

  separate bill for services purportedly performed by a physician assistant, 2) the Surgicore ASC for

  its purported facility fee, and 3) the Surgicore Anesthesia Provider for anesthesia concomitant to

  the pain management and/arthroscopic procedure or surgery.

         1525. The bills and medical records and reports submitted or caused to be submitted by

  the Defendants through the Surgicore Pain Management Providers and Surgicore Orthopedic

  Providers, intentionally misrepresented, exaggerated and falsified the medical condition and needs

  of the Covered Persons and contained pervasive and non-credible findings and diagnoses designed




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  to justify the performance of medically unnecessary interventional pain management and/or

  arthroscopic procedures and/or surgeries, rather than to legitimately treat the Covered Persons.

         1526. The rate and uniformity of Surgicore Pain Management Providers’ and Surgicore

  Orthopedic Providers’ recommend interventional pain management services and/or arthroscopic

  procedures and/or surgeries for the ambulatory Covered Persons, who make up the vast majority

  of individuals upon whom the Fraudulent Services were performed, is greatly at variance with the

  experience of legitimate medical practices and implausible.

         1527. The bills and supporting documentation submitted or caused to be submitted by the

  Defendants through the Surgicore Pain Management Providers and Surgicore Orthopedic

  Providers are fraudulent because they falsely represent the services were medically necessary and

  lawfully rendered, when they were not.

         A. No-Fault Billing Regulations In The State Of New York

         1528. The American Medical Association (“AMA”) is the publisher of the Current

  Procedural Terminology (“CPT”), a uniform code set for medical procedures and services, which

  is the definitive medical source used by licensed medical professionals to accurately describe,

  among other things, medical, diagnostic, and surgical services performed and billed to third-party

  payors, such as insurance companies.

         1529. Pursuant to Section 5108 of the Insurance Law, the New York Department of

  Financial Services (formerly the Department of Insurance) has adopted the fee schedule published

  by the New York Workers’ Compensation Board (the “Fee Schedule”), which sets forth the

  charges for professional health services that are reimbursable under the No-Fault Law. The Fee

  Schedule incorporates the CPT codes published by the AMA, and the coding rules and regulations

  set forth by the AMA.




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         1530. A fundamental requirement for the use of CPT codes is that the provider is required

  to choose the most appropriate CPT code. Procedures should be billed with the CPT codes that

  most comprehensively describe the services performed. Only the single CPT code most accurately

  describing the procedure performed or service rendered may be used. If no such specific code

  exists, the provider must report the service using the appropriate unlisted procedure or service code

  (i.e. a “999” code).

         1531. The Fee Schedule delineates services by their CPT code, and also includes the CPT

  procedure codes modifiers and descriptors.

         1532. When a provider bills for a service using one of the CPT codes, that provider makes

  a representation that the services were provided according to the methods and restrictions

  established by AMA, as well as the reasonableness and necessity of the services. This

  representation presumes that the provider is following and abiding by these restrictions on the use

  of the codes. If the provider knowingly presents bills under these CPT codes and is not abiding by

  these restrictions, that provider willfully and materially misrepresents the nature of the services

  rendered and/or the reasonableness and necessity of the billed for services.

         B.      Misrepresentations Concerning CPT Codes

         1533. The Surgicore Pain Management Providers and Surgicore Orthopedic Providers

  purport to examine, diagnose, and treat Covered Persons who have been reportedly involved in

  automobile accidents, with purported complaints of generalized spine and joint pain (neck, back,

  shoulder, knee, ankle, and wrist).

         1534. A detailed history and a legitimate examination must be performed by a licensed

  healthcare professional to arrive at a legitimate diagnosis for Covered Persons with spine and/or

  joint pain resulting from automobile accidents.




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           1535. Based upon a legitimate diagnosis, the healthcare professional must engage in

  medical decision-making to determine a legitimate treatment plan tailored to the unique

  circumstances of each Covered Person. Over the course of treatment, treatment plans should be

  periodically reassessed and modified based upon the unique circumstances of each Covered Person

  and their response (or lack thereof) to existing treatment.

           1536. The decision of which, if any, types of medical treatment is appropriate for each

  Covered Person, as well as the level, frequency, and duration of the treatment, should vary

  depending on the unique circumstances of each Covered Person, including but not limited to their:

  (a) age, social, family, and medical history; (b) physical condition, limitations, and abilities; (c)

  the location, nature, and severity of injury and symptoms; and (d) response to existing treatment.

           1537. When an ambulatory patient presents with a soft tissue, disc or joint injury after an

  automobile accident, such as neck, back, shoulder, and/or knee pain, sprain, strain, disc bulge, or

  herniation, treatment should generally start with conservative care that is not invasive, such as rest,

  ice, anti-inflammatory medications, chiropractic care, and/or physical therapy, which may benefit

  patients by healing their injuries and relieving their symptoms with minimal associated risks and

  costs.

           1538. If the Covered Person’s symptoms are not relieved through conservative care (or

  no treatment at all, since these injuries often heal on their own) other forms of treatment may be

  appropriate to relieve their symptoms, including various kinds of injections and other procedures

  designed to reduce pain and other symptoms. As with any other treatment option, whether to

  perform any kind of procedure or surgery should be tailored to the unique circumstances of each

  Covered Person.




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         1539. In a legitimate clinical setting, neither interventional pain management nor

  arthroscopic procedures and/or surgery should be administered until a Covered Person has

  exhausted and/or failed conservative treatment, especially since invasive pain management

  treatments, such as injections, percutaneous discectomies, and IDETs, and surgical procedures

  such as arthroscopy entail a high degree of risk to Covered Persons which is absent in conservative

  forms of treatment.

         1540. Covered Persons should be discharged from treatment when they have reached

  maximum medical improvement, which means no further treatment is likely to benefit them.

         1541. The above-described process of examination, diagnosis, and treatment must be

  adequately documented for the benefit of: (a) the licensed healthcare professionals involved in the

  Covered Person’s care; (b) other licensed professionals who may treat the Covered Person

  contemporaneously or subsequently; (c) the Covered Persons themselves whose care and condition

  necessarily depends on the documentation of this information; and (d) payors such as Plaintiff so

  they can evaluate, and if appropriate, pay for reasonable and medically necessary treatment.

         1542. The Covered Persons were not legitimately examined, diagnosed or treated by the

  Surgicore Pain Management Providers and the Surgicore Orthopedic Providers. Furthermore, the

  documentation of the examinations, diagnoses, and treatment is fraudulent because the

  documentation reflects that either the services were not medically necessary because they were

  performed pursuant to a Pre-Determined Protocol and not to benefit Covered Persons, and/or were

  not provided as billed.

         C.      The Fraudulent Initial Examinations

         1543. In furtherance of Defendants’ fraudulent scheme, the Surgicore Pain Management

  Providers and Surgicore Orthopedic Providers purportedly performed initial examinations on




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  Covered Persons for no other reason than to create the false justification for the referral of Covered

  Persons for interventional pain management and/or arthroscopic procedures and/or surgeries to be

  performed at the Surgicore ASCs.

         1544. The initial examinations purportedly performed by the Surgicore Pain Management

  Providers and Surgicore Orthopedic Providers routinely failed to document any causal relationship

  between the reported accident and purported injuries and misrepresented the severity of Covered

  Persons’ injuries in order to create the false justification for the referral of Covered Persons for

  interventional pain management and/or arthroscopic procedures and/or surgeries to be performed

  at the Surgicore ASCs.

         1545. As a matter of practice, pattern, and protocol, the vast majority of the Surgicore

  Pain Management Providers and Surgicore Orthopedic Providers initial examination reports

  (“Initial Exam Reports”) contain pre-determined complaints and findings used to support pre-

  determined diagnoses and treatment plans without specifically documenting how a particular

  Covered Person might benefit from a particular procedure and/or surgery, any indications that

  certain Covered Persons were not candidates for certain medical procedures or any discussion as

  to the likelihood of success of the treatment.

         1546. The Initial Exam Reports do not reflect legitimate examinations but are part of

  Defendants’ Predetermined-Protocol. Defendants created the Initial Exam Reports to create the

  false justification to support interventional pain management and/or arthroscopic procedures

  and/or surgeries to be performed at the Surgicore ASCs that are not medically necessary and are

  prescribed without regard to the substantially undue risks and costs to the patients.




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                   i. The Surgicore Pain Management Providers’ Fraudulent Initial Exams

          1547. By way of example and not limitation, virtually all the Surgicore Pain Management

  Providers’ Initial Exam Reports document that Covered Persons purportedly complained of both

  neck and low back pain (among other ailments) due to their reported involvement in automobile

  collisions.

          1548. Although their scheme intentionally created slight variations in the complaints and

  findings, the vast majority of Surgicore Pain Management Providers’ Initial Exam Reports

  routinely describe the Covered Persons’ complaints as including neck and back pain, with

  correlating radiating pain in the same region(s).

          1549. The Surgicore Pain Management Providers intentionally used generalized terms to

  describe Covered Persons’ purported injuries that could be of no value in legitimate medical

  decision making and were sufficiently broad to provide the false justification and pretext for

  performing the Fraudulent Services.

          1550. By way of example and not limitation, many of the Initial Exam Reports broadly

  identify pain in the entire region (e.g., L3-S1 or C3-C7) and describe the pain in general terms

  such as “referred to the lower extremity” or “referred to the bilateral buttocks,” “radiating to right

  upper extremity,” without any accompanying detail such as which extremity (e.g., right knee, left

  ankle, left big toe, right arm, left wrist, left hand). By way of example and not limitation:

                Bowen PLLC in which Defendant Bowen is the record owner, mailed bills
                 and an Initial Exam Report to Plaintiff relating to Covered Person I.J.
                 Jackson, claim number 1120701-01, date of service 03-03-23, that
                 documented complaints of cervical spine pain radiating bilaterally into the
                 head and lumbar spine pain radiating to the left lower extremity.
                 Examination purportedly revealed bilateral pain and tenderness in multiple
                 regions of the cervical spine (C3-C7) and bilateral pain in multiple regions
                 of the lumbar spine (L3-S1);
                Hall PLLC in which Defendant Hall is the record owner, mailed bills and
                 an Initial Exam Report relating to Covered Person, J.S., claim number


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                 1098288-05, date of service 10-04-21, that documented complaints of low
                 back pain radiating to the bilateral lower extremity and neck pain radiating
                 to the bilateral shoulders. Examination purportedly revealed bilateral pain
                 and tenderness in multiple regions of the cervical spine (C3-C7) and
                 bilateral pain in multiple regions of the lumbar spine (L3-S1);
                J Sports in which Defendant Jimenez is the record owner, mailed bills and
                 an Initial Exam Report relating to Covered Person P.P, claim number
                 1124866-03, date of service 08-07-23, that documented complaints of neck
                 pain radiating down the left arm, mid back pain and low back pain radiating
                 into the lower extremities. Examination did not reveal any specific
                 problematic level of the spine.
                Phoenix Medical in which Defendant Jones is the record owner, mailed bills
                 and an Initial Exam Report relating to Covered Person L.M.R, claim
                 number 1054922-01, date of service 06-26-19, that documented chief
                 complaints of neck pain radiating to the upper extremities, upper back pain
                 radiating bilaterally and lower back pain with correlating pain scores that
                 did not reveal any specific problematic level of the spine;
                Kotkes PC in which Defendant Kotkes is the record owner, mailed bills and
                 an Initial Exam Report relating to relating to Covered Person S.K., claim
                 number 1049538-04, date of service 07-25-19, that documented complaints
                 of neck pain radiating to both shoulders, and low back pain radiating to the
                 bilateral lower extremity and buttock region. Examination purportedly
                 revealed bilateral pain in multiple regions of the cervical spine (C3-C7) and
                 bilateral pain in multiple regions of the lumbar spine (L3-S1);
                Total Anesthesia in which Defendant Shabtian is the record owner, mailed
                 bills and an Initial Exam Report relating to Covered Person S.N., claim
                 number 1136698-02, date of service 09-25-23, that documented complaints
                 of neck pain, mid back pain and lower back pain radiating to bilateral lower
                 extremities and complaints of neck pain radiating to both upper extremities.
                 Examination purportedly revealed diffuse tenderness in lower back and
                 sacroiliac region, spinous process (L3-S1);
                Portal Medical in which Defendant Portal is the record owner, mailed bills
                 and an Initial Exam Report relating to Covered Person J.W., claim number
                 1125330-01, date of service 03-08-23, that documented complaints of low
                 back pain radiating to the right lower extremity and neck pain radiating to
                 the left upper extremity. Examination purportedly revealed Examination
                 purportedly revealed bilateral pain and tenderness in multiple regions of the
                 cervical spine (C3-C7) and bilateral pain in multiple regions of the lumbar
                 spine (L3-S1).
         1551. On information and belief, pinpointing and recording the precise location of the

  Covered Persons’ radiating pain, as well as specifying whether the pain is localized or radiating,


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  is critical to medical decision making and to create an appropriate treatment plan with targeted and

  medically necessary treatment options designed to improve the Covered Persons’ condition. Such

  specific clinical information is a prerequisite to the administration of interventional pain

  management procedures and/or surgeries.

         1552. In furtherance of the scheme to defraud, the Surgicore Pain Management Providers’

  Initial Exam Reports are based on boilerplate pre-determined complaints and findings that are not

  tailored to reflect the unique circumstances of each Covered Person to allow Defendants to falsely

  document and justify the Fraudulent Services that followed.

         1553. To create the false impression of serious injuries and justification for unnecessary

  interventional pain management procedure, the Surgicore Pain Management Providers’ Initial

  Exam Reports intentionally and routinely indicated that Covered Persons had high pain scores;

  described the Covered Persons’ pain levels as “constant,” or “frequent”; and documented positive

  results to cervical and/or lumbar orthopedic tests purportedly performed on Covered Persons

  during the Initial Exams.

         1554. The uniformity of non-specific symptoms and findings reflected in the Initial Exam

  Reports in which the Surgicore Pain Management Providers routinely ignored the vast differences

  in each Covered Persons’ unique medical history and background, and the nature and severity of

  their purported injuries, reflect the fact that the initial examinations were intended to create the

  false justification for the Fraudulent Services.

         1555. In addition to the Initial Examination Reports in which virtually all Covered

  Persons reportedly had substantially similar symptoms and findings, irrespective of their

  individualized conditions and medical need, the vast majority of Surgicore Pain Management

  Providers’ Initial Exam Reports routinely document a laundry list of diagnoses codes which




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  include generic and non-specific radiculopathies and disc injuries, without identifying any specific

  location of the purported condition or description or explanation of the Covered Persons’

  condition.

         1556. By way of example and not limitation, such instances where the Surgicore Pain

  Management Doctors and their respective professional corporations’ Initial Exam Reports

  contained generic diagnoses are found in reports and bills mailed and submitted by Defendants to

  Plaintiff in connection with the following claims:

                Total Anesthesia in which Defendant Shabtian is the record owner, mailed
                 bills and an Initial Exam Report relating to Covered Person S.N. claim
                 number 1136698-02, date of service 09-25-23;
                Hall PLLC in which Defendant Hall is the record owner, mailed bills and
                 an Initial Exam Report relating to Covered Person, J.S., claim number
                 1098288-05, date of service 10-04-21;
                Phoenix Medical in which Defendant Jones is the record owner, mailed bills
                 and an Initial Exam Report relating to Covered Person L.M.R., claim
                 number 1054922-01, date of service 06-26-19;
                J Sports in which Defendant Jimenez is the record owner, mailed bills and
                 an Initial Exam Report relating to Covered Person P.P., claim number
                 1124866-03, date of service 08-07-23;
                Portal Medical in which Defendant Portal is the record owner, mailed bills
                 and an Initial Exam Report relating to Covered Person J.W., claim number
                 1125330-01, date of service 03-08-23;

                Kotkes PC in which Defendant Kotkes is the record owner, mailed bills and
                 an Initial Exam Report relating to Covered Person S.K. Sekina Kedar, claim
                 number 1049538-04, date of service 07-25-19;

                Bowen PLLC in which Defendant Bowen is the record owner, mailed bills
                 and an Initial Exam Report relating to Covered Person I.J., claim number
                 1120701-01, date of service 03-03-23.

         1557. Evident of the fact that the Surgicore Pain Management Providers’ diagnoses are

  not only predetermined but also fabricated, a majority of Covered Persons are frequently diagnosed

  with cervical or lumbar or both cervical and lumbar radiculopathy, despite the fact that, according



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  to accepted medical literature and published studies, radiculopathies at one or more levels of the

  spine are rare in motor vehicle accidents, even where there is a positive disc herniation.

         1558. According to a large-scale, peer-reviewed 2009 study conducted by Dr. Randall

  Braddom, Michael H. Rivner, M.D., and Lawrence Spitz, M.D. and published in Muscle & Nerve,

  the official journal of the American Association of Neuromuscular & Electrodiagnostic Medicine,

  at most, only 19% of ambulatory post-motor vehicle accident patients suffer from radiculopathy.

  Since this study was conducted at a major university teaching hospital, the accident patients upon

  which it is based likely represented a more severely injured group of patients than the Covered

  Persons purportedly treated by the Surgicore Pain Management Providers.

         1559. Notwithstanding the foregoing, the vast majority of Covered Persons who were

  purportedly treated by one or more of the Surgicore Pain Management Providerss and underwent

  interventional pain management procedures at one or more of the Surgicore ASCs were diagnosed

  with cervical, lumbar and/or both cervical and lumbar radiculopathy. By way of example and not

  limitation:

                Approximately all the of Covered Persons who were purportedly treated by
                 Defendant Vora, the record owner of NJ Vora, and underwent interventional
                 pain management procedures at one or more of the Surgicore ASCs, were
                 diagnosed with cervical, lumbar and/or both radiculopathy through NJ
                 Vora;
                Approximately 99% of Covered Persons who were purportedly treated by
                 Defendant Jones, the record owner of Phoenix Medical, and underwent
                 interventional pain management procedures at one or more of the Surgicore
                 ASCs, were diagnosed with cervical, lumbar and/or both radiculopathy
                 through Phoenix Medical;
                Approximately 98% of Covered Persons who were purportedly treated by
                 Defendant Kotkes, the record owner of Kotkes PC, and underwent
                 interventional pain management procedures at one or more of the Surgicore
                 ASCs, were diagnosed with cervical, lumbar and/or both radiculopathy
                 through Hershel Kotkes PC;




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            Approximately 97% of Covered Persons who were purportedly treated by
             Defendant Bowen, the record owner of Bowen PLLC, and underwent
             interventional pain management procedures at one or more of the Surgicore
             ASCs, were diagnosed with cervical, lumbar and/or both radiculopathy
             through Bowen PLLC;
            Approximately 96% of Covered Persons who were purportedly treated by
             Defendant Jimenez, the record of owner of J Sports, and underwent
             interventional pain management procedures at one or more of the Surgicore
             ASCs, were diagnosed with cervical, lumbar and/or both cervical and
             lumbar radiculopathy through J Sports;
            Approximately 93% of Covered Persons who were purportedly treated by
             Defendant Kotkes, the record owner of Kotkes PC, and underwent
             interventional pain management procedures at one or more of the Surgicore
             ASCs, were diagnosed with cervical, lumbar and/or both radiculopathy
             through Kotkes PC;
            Approximately 92% of Covered Persons who were purportedly treated by
             Defendant Xie, the record owner of Integrated Pain Management, and
             underwent interventional pain management procedures at one or more of
             the Surgicore ASCs, were diagnosed with cervical, lumbar and/or both
             radiculopathy through Integrated Pain Management;
            Approximately 85% of Covered Persons who were purportedly treated by
             Defendant Shabtian the record owner of Total Anesthesia, and underwent
             interventional pain management procedures at one or more of the Surgicore
             ASCs, were diagnosed with cervical, lumbar and/or cervical and lumbar
             radiculopathy through Total Anesthesia;
            Approximately 77% of Covered Persons who were purportedly treated by
             Defendant Portal, the record owner of Portal Medical, and underwent
             interventional pain management procedures at one or more of the Surgicore
             ASCs, were diagnosed with cervical, lumbar and/or both radiculopathy
             through Portal Medical;
            Approximately 74% of Covered Persons who were purportedly treated by
             Defendant Hall, the record owner of Hall PLLC, and underwent
             interventional pain management procedures at one or more of the Surgicore
             ASCs, were diagnosed with cervical, lumbar and/or both radiculopathy
             through Hall PLLC;
            Approximately 66% of Covered Persons who were purportedly treated by
             Defendant Vora, the record owner of KV Medical, and underwent
             interventional pain management procedures at one or more of the Surgicore
             ASCs, were diagnosed with cervical, lumbar and/or cervical and lumbar
             radiculopathy through KV Medical;




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                Approximately 64% of Covered Persons who were purportedly treated by
                 Defendant Vora, the record owner of KDV Medical, and underwent
                 interventional pain management procedures at one or more of the Surgicore
                 ASCs, were diagnosed with cervical, lumbar and/or cervical and lumbar
                 radiculopathy through KDV Medical; and
                Approximately 59% of Covered Persons who were purportedly treated by
                 Defendant Khakhar, the record owner of PM&R, and underwent
                 interventional pain management procedures through one or more of the
                 Surgicore ASCs, were diagnosed with cervical, lumbar and/or cervical and
                 lumbar radiculopathy through PM&R.

         1560. In addition to the foregoing, attached as Exhibit “15” is a representative list of

  claims in which Covered Persons who were purportedly treated by one or more of the Defendant

  Surgicore Pain Management Providers were over-diagnosed with cervical, lumbar and/or both

  cervical and lumbar radiculopathy.

         1561. As indicated in the preceding paragraphs, contrary to the published reports

  concerning ambulatory post motor vehicle accident patients diagnosed with radiculopathy, the

  Surgicore Pain Management Providers’ rate of diagnoses of radiculopathy was grossly above what

  would be expected under such circumstances and is greatly at variance with the expected rate found

  in published studies.

         1562. The difference in the frequency of radiculopathy between what is typically found

  in ambulatory post-motor vehicle accident patients and the radiculopathy rate found by Defendants

  is indicative of fraud and an intentional misrepresentation of the diagnoses to justify the pain

  management services for which Defendants billed Plaintiff.

         1563. The systematic false diagnosis of radiculopathy by the Surgicore Pain Management

  Providers and other Defendants reflect a disregard for the welfare of the Covered Persons, since

  the wrong diagnosis could result in selection of the wrong treatment plan and exposes them to

  unnecessary invasive services that place them at risk.




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         1564. The high rate of frequency of radiculopathy diagnoses by the Surgicore Pain

  Management Providers which significantly deviates from well recognized peer reviewed studies

  undermines the credibility of the Surgicore Pain Management Providers diagnoses and is

  indicative of fraud and intentional misrepresentation of the clinical condition of the Covered

  Persons that was used by the Defendants to justify the fraudulent interventional pain management

  services.

         1565. What is more, the generic nature of the bills and supporting documents to Plaintiff

  where Defendants assume a “one size fits all approach,” is reflecting the fact that many of the

  Surgicore Pain Management Providers’ Initial Exam Reports do not even link the specific

  anatomic location of the Covered Persons alleged complaints of radiating pain to a precise

  anatomic defect. By way of example and not limitation:

               Bowen PLLC, in which Defendant Bowen is the record owner, mailed bills
                and a 03-06-23 Initial Exam Report relating to a Covered Person I.J. under
                claim number 1120701-01, in which the Covered Person I.J. was diagnosed
                with (among other things) cervical radiculopathy and a corresponding
                cervical invertebral disc displacement without specifying the cervical
                region to which this diagnosis applied. This Covered Person was also
                diagnosed with lumbar radiculopathy and a corresponding lumbar
                invertebral disc displacement without specifying the lumbar region to which
                this diagnosis applied;
                J Sports in which Defendant Jimenez is the record owner, mailed bills and
                a 08-07-23 Initial Exam Report relating to Covered Person P.P., claim
                number 1124866-03, in which the Covered Person P.P was diagnosed with
                (among other things) cervical radiculopathy and a corresponding cervical
                invertebral disc displacement without specifying the cervical region to
                which this diagnosis applied. This Covered Person was also diagnosed with
                lumbar radiculopathy without specifying the lumbar region to which this
                diagnosis applied;
               Phoenix Medical in which Defendant Jones is the record owner mailed bills
                and a 06-26-19 Initial Exam Report relating to Covered Person L.M.R.,
                claim number 1054922-01, in which the Covered Person L.M.R. was
                diagnosed with (among other things) lumbosacral radiculopathy and a
                corresponding lumbar invertebral disc displacement without specifying the
                lumbar region to which this diagnosis applied. This Covered Person was


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                 also diagnosed with cervical radiculopathy and a corresponding cervical
                 invertebral disc displacement without specifying the cervical region to
                 which this diagnosis applied;
                Portal Medical in which Defendant Portal is the record owner mailed bills
                 and a 03-08-23 Initial Exam Report relating to Covered Person J.W., claim
                 number 1125330-01, in which the Covered Person J.W. was diagnosed with
                 (among other things) lumbosacral radiculopathy and a corresponding
                 lumbar invertebral disc displacement without specifying the lumbar region
                 to which this diagnosis applied. This Covered Person was also diagnosed
                 with cervical radiculopathy and a corresponding cervical invertebral disc
                 displacement without specifying the cervical region to which this diagnosis
                 applied;
                Kotkes PC in which Defendant Kotkes is the record owner mailed bills and
                 a 07-25-29 Initial Exam Report relating to Covered Person S.K. claim
                 number 1049538-04, in which Covered Person S.K. was diagnosed with
                 (among other things) lumbar radiculopathy and a corresponding lumbar
                 invertebral disc displacement without specifying the lumbar region to which
                 this diagnosis applied. This Covered Person was also diagnosed with
                 cervical radiculopathy and a corresponding cervical invertebral disc
                 displacement without specifying the cervical region to which this diagnosis
                 applied; and
                Hall PLLC in which Defendant Hall is the record owner mailed bills and a
                 10-04-21 Initial Exam Report relating Covered Person, J.S., claim number
                 1098288-05, in which Covered Person J.S. was diagnosed with (among
                 other things) lumbar radiculopathy and a corresponding lumbar invertebral
                 disc displacement without specifying the lumbar region to which this
                 diagnosis applied. This Covered Person was also diagnosed with cervical
                 radiculopathy and a corresponding cervical invertebral disc displacement
                 without specifying the cervical region to which this diagnosis applied.

         1566. On information and belief, obtaining the necessary clinical information that links

  the specific anatomic location of the Covered Persons’ alleged complaint of radiating pain to a

  precise anatomic defect is required for the administration of injections and/or to perform surgical

  procedures because spinal procedures are typically directed to a specific spinal region.

         1567. Notwithstanding that such clinical information is typically required to administer

  injections and/or perform surgical procedures, the Surgicore Pain Management Providers routinely

  eschewed accepted medical practices because they were administering and/or performing the




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  Fraudulent Services pursuant to a predetermined fraudulent protocol that Defendants adopted

  where they knew or should have known the Covered Persons did not require the Fraudulent

  Services.

         1568. In furtherance of the scheme to defraud alleged herein, the Surgicore Pain

  Management Providers’ Initial Exam Reports documented pre-determined, non-specific and false

  diagnoses to fabricate the severity of the Covered Persons injuries and to justify advancing the

  Covered Persons beyond conservative treatment to medically unnecessary interventional pain

  management procedures, including injections, procedures, and surgeries performed at the

  Surgicore ASCs.

         1569. Further evidencing that the diagnoses contained in many of the Surgicore Pain

  Management Providers’ Initial Exam Reports were pre-determined, did not reflect the actual

  physical conditions of the Covered Persons and did not result in individualized care, in numerous

  instances two Covered Persons purportedly involved in the same low impact collision in same car,

  and who were different ages, weight, height, physical condition, and sometimes different genders,

  sitting in different positions in the car, purportedly received the same course of medically

  unnecessary interventional pain management procedures from the same Surgicore Pain

  Management Provider on or about the same date at one or more of the Surgicore ASCs. By way

  of example and not limitation:

               On or about May 17, 2022, Covered Persons E.K., claim no. 1114475-01,
                and T.B., claim no. 1114475-02, were purportedly involved in the same
                low-impact automobile collision. Despite the fact that these Covered
                Persons were different ages, different sizes, different genders, in different
                physical conditions and sitting in different locations within the vehicle,
                approximately nine months later on the exact same date, February 6, 2023
                they both purportedly received initial examinations at Total Anesthesia of
                which Defendant Shabtian is the record owner. Ten days later, on the exact
                same date, February 16, 2023, they both purportedly underwent lumbar




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             percutaneous discectomy and IDET purportedly performed by Defendant
             Shabtian through Total Anesthesia at North Queens ASC;
            On or about August 19, 2019, Covered Persons N.C., claim no. 1066106-
             01, and C.C., claim no. 1066106-02, were purportedly involved in the same
             low-impact automobile collision. Despite the fact that these Covered
             Persons were different ages, different sizes, different genders, in different
             physical conditions and sitting in different locations within the vehicle,
             approximately nine months later on the exact same date, August 29, 2019
             they both purportedly received initial examinations at Ketan PC of which
             Defendant Vora is the record owner. They both continued to purportedly
             undergo virtually identical courses of treatment at Ketan PC during which
             time they also purportedly underwent the same predetermined protocol of
             unnecessary interventional pain management procedures and surgery
             through various other PCs of which Defendant Vora is the record owner at
             one or more of the Surgicore ASCs, to wit. On the exact same date,
             November 23, 2019, both Covered Persons, N.C. and C.C., purportedly
             underwent epidural steroid injection with epidurograpy, epidurogram, and
             trigger point injections with ultrasound guidance purportedly performed by
             Defendant Vora through Non-Surgical Orthopedics of which Defendant
             Vora is the record owner, at Saddlebrook ASC. Approximately a month and
             a half later, on the exact same date, January 4, 2020, both Covered Persons,
             N.C. and C.C., purportedly underwent epidural steroid injection with
             epidurography, trigger point injection with ultrasound guidance, lumbar
             percutaneous discectomy, IDET and discogram purportedly performed by
             Defendant Vora through NJ Vora of which Defendant Vora is the record
             owner, at Saddlebrook ASC. On the exact same date, February 29, 2020,
             Covered Person N.C. purportedly underwent facet and trigger point
             injections purportedly performed by Defendant Vora through NJ Vora at
             Saddlebrook ASC. While, Covered Person C.C. purportedly underwent
             epidural steroid injection with epidurography, and trigger point injection
             with ultrasound guidance purportedly performed by Defendant Vora
             through NJ Vora at Saddlebrook ASC. On the exact same date, March 14,
             2020, Covered Person N.C. purportedly underwent epidural steroid
             injection with epidurography, and trigger point injection with ultrasound
             guidance purportedly performed by Defendant Vora through NJ Vora at
             New Horizon ASC. While, Covered Person C.C. purportedly underwent
             facet and trigger point injections purportedly performed by Defendant Vora
             through NJ Vora at New Horizon ASC;
            On or about November 23, 2022, Covered Persons C.M., claim no.
             1122619-02, and I.D., claim no. 1122619-03, were purportedly involved in
             the same low-impact automobile collision. Despite the fact that these
             Covered Persons were different ages, different sizes, in different physical
             conditions and sitting in different locations within the vehicle, they both
             purportedly underwent virtually the same predetermined protocol of
             unnecessary interventional pain management procedures and surgery,


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             weeks apart, by Defendant Kotkes through Kotkes PC at both Rockaways
             ASC and All City ASC. On February 8, 2023 Covered Person C.M.
             purportedly received an initial examination at Kotkes PC. Thereafter, on
             February 16, 2023, Covered Person C.M. purportedly underwent epidural
             steroid injection with epidurography, and trigger point injection with
             ultrasound guidance purportedly performed by Defendant Kotkes through
             Kotkes PC at Rockaway ASC. Thereafter, on April 24, 2023, Covered
             Person C.M. purportedly underwent a lumbar percutaneous discectomy and
             IDET purportedly performed by Defendant Kotkes through Kotkes PC at
             All City ASC. Around the same time, on February 22, 2023, Covered
             Person I.D. purportedly received an initial examination at Kotkes PC.
             Thereafter, on February 27, 2023, Covered Person I.D. purportedly
             underwent epidural steroid injection with epidurography, and trigger point
             injection with ultrasound guidance purportedly performed by Defendant
             Kotkes through Kotkes PC at All City ASC. Thereafter, on May 4, 2023,
             Covered Person I.D. purportedly underwent a lumbar percutaneous
             discectomy and IDET purportedly performed by Defendant Kotkes through
             Kotkes PC at Rockaways ASC;
            On or about February 27, 2023, Covered Persons A.V., claim no. 1127000-
             02, and D.V., claim no. 1127000-04, were purportedly in the same low-
             impact automobile collision. Despite the fact that these Covered Persons
             were different ages, different sizes, different fenders, in different physical
             conditions, and sitting in different locations within the vehicle,
             approximately two months later, on the same date, April 26, 2023, they both
             purportedly underwent an initial examination at Defendant Portal Medical,
             of which Defendant Portal is the record owner. Two days later, on the exact
             same date, April 28, 2023, A.V. and D.V. both underwent epidural steroid
             injections with epidurography, and trigger point injections with ultrasonic
             guidance, purportedly performed by Defendant Portal through Defendant
             Portal Medical, at Defendant Rockaways ASC. Less than two weeks later,
             on May 9, 2023, A.V. purportedly underwent a lumbar percutaneous
             discectomy with IDET, purportedly performed by Defendant Portal through
             Defendant Portal Medical, at Medex Diagnostic & Treatment Center (not
             named a Defendant in the Complaint). Three days later, on May 12, 2023,
             D.V. purportedly underwent a lumbar percutaneous discectomy with IDET,
             purportedly performed by Defendant Portal through Defendant Portal
             Medical, at Defendant Rockaways ASC. Finally, on May 22, 2023, A.V.
             purportedly underwent a second round of epidural steroid injections with
             epidurography, and trigger point injections with ultrasonic guidance,
             purportedly performed by Defendant Portal through Defendant Portal
             Medical, at Defendant Rockaways ASC;
            On or about November 22, 2018, Covered Persons S.Z., claim no. 1045476-
             02, Q.C., claim no. 1045476-04, and Y.Q., claim no. 1045476-07, were
             purportedly in the same low-impact automobile collision. Despite the fact
             that these Covered Persons were different ages, different sizes, different


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             genders, in different physical conditions, and sitting in different locations
             within the vehicle, they purportedly underwent nearly identical
             interventional pain management services. On February 12, 2019, S.Z., Q.C.,
             and Y.Q., on the same day, purportedly underwent an initial examination
             and trigger point injections under ultrasonic guidance, all purportedly
             performed by Defendant Xie through Defendant Integrated Pain
             Management. Thereafter, on February 16, 2019, less than a week later, S.Z.
             and Y.Q. purportedly underwent cervical percutaneous discectomies,
             purportedly performed by Defendant Xie through Defendant Integrated
             Pain Management, at Defendant Manalapan ASC. Just over a month later,
             on March 28, 2019, Q.C. also purportedly underwent a cervical
             percutaneous discectomy, purportedly performed by Defendant Xie,
             through Defendant Integrated Pain Management, but instead at Defendant
             Jersey City ASC. Finally, On April 4, 2019, Y.Q. purportedly underwent a
             lumbar percutaneous discectomy with IDET, purportedly performed by
             Defendant Xie through Defendant Integrated Pain Management, at
             Defendant Manalapan ASC; and
            On or about May 4, 2022, Covered Persons V.R., claim no. 1113762-02 and
             R.V., claim no. 1113762-04 were purportedly in the same low-impact
             automobile collision. Despite the fact that these Covered Persons were
             different ages, different sizes, in different physical conditions, and sitting in
             different locations within the vehicle, they purportedly underwent nearly
             identical interventional pain management services. On July 28, 2022, both
             V.R. and R.V. on the same day, purportedly underwent an initial
             examination purportedly performed by Defendant Hall PLLC. A week later,
             on August 5, 2022, both V.R. and R.V. on the same day, purportedly
             underwent epidural steroid injections, and trigger point injections with
             ultrasonic guidance, purportedly performed by Defendant Hall, through
             Defendant Hall PLLC, at Defendant Rockaways ASC. On August 26, 2022,
             V.R. purportedly underwent a lumbar percutaneous discectomy,
             purportedly performed by Defendant Portal through Defendant Hall PLLC,
             at Defendant Rockaways ASC. That same day, R.V. purportedly underwent
             a second round of epidural steroid injections, this round with
             epidurography, and a second round and trigger point injections with
             ultrasonic guidance, performed by Defendant Portal through Defendant
             Hall PLLC, at Defendant Rockaways ASC. On September 12, 2022, R.V.
             purportedly underwent his lumbar percutaneous discectomy, purportedly
             performed by Defendant Hall through Defendant Hall PLLC, at Defendant
             Rockaways ASC. That same day, V.R. purportedly underwent his second
             round of epidural steroid injections, this round with epidurography, and a
             second round and trigger point injections with ultrasonic guidance,
             performed by Defendant Hall through Defendant Hall PLLC, at Defendant
             Rockaways ASC. Finally, on September 30, 2022, both V.R. and R.V.
             purportedly underwent a final round of epidural steroid injections with
             epidurography and trigger point injections with ultrasonic guidance,



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                 purportedly performed on the same day by Defendant Hall through
                 Defendant Hall PLLC at Defendant Rockaways ASC.

          1570. It is improbable that two or more Covered Persons in the same low-impact

  automobile collision that is unlikely to result in injuries requiring treatment on one passenger, let

  alone multiple passengers, would each require treatment beyond perhaps a course of conservative

  care.

          1571. The blatantly similar, if not identical courses of aggressive interventional pain

  management treatments purportedly rendered to both Covered Persons allegedly involved in the

  same single accident reflects the fact that the billed for pain management services were rendered

  to Covered Persons through the Surgicore Pain Management Providers at the Surgicore ASCs, if

  at all, pursuant to Defendants’ Pre-Determined Protocol.

          1572. As a matter of practice, procedure, and protocol, the vast majority of the Surgicore

  Pain Management Providers’ Initial Exam Reports routinely included boilerplate pre-determined

  causality statements concluding that each of the Covered Persons’ injuries were purportedly

  caused by their respective car accidents when in fact they made little to no such inquiry of the

  Covered Persons or determination as to causality, all with the intent of inducing Plaintiff into

  making payment for services that were not eligible for reimbursement. In the vast majority of such

  reports, the Surgicore Pain Management Providers through their respective professional

  corporations included a variation of the generalized statement that “the patient’s injuries. . .to a

  degree of medical certainty, are causally related to the accident. . . .”

          1573. By way of example and not limitation, such instances where the Surgicore Pain

  Management Providers and their respective professional corporations’ Initial Exam Reports

  contained boilerplate, predetermined causality statements are found in such reports mailed and

  submitted by Defendants to Plaintiff in connection with the following claims:



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                Bowen PLLC’s Initial Exam Report, dated 03/06/23, relating to Covered
                 Person I.J. under claim number 1120701-01;
                Hall PLLC’s Initial Exam Report, dated 10-04-21 relating to Covered
                 Person, J.S. under claim number 1098288-05;
                J Sports Initial Exam Report, dated 08-07-23 relating to Covered Person
                 P.P, claim number 1124866-03;
                Portal Medical Initial Exam Report dated 03-08-23 relating to Covered
                 Person J.W., claim number 1125330-01; and
                Kotkes PC’s Initial Exam Report dated 07-25-19 relating to Covered Person
                 S.K., claim number 1049538-04.

         1574. The Surgicore Pain Management Doctors and their respective professional

  corporations routinely misrepresented that Covered Persons’ purported injuries were causally

  related to automobile accidents when in fact they made little to no such inquiry of the Covered

  Persons or determination, as the Initial Exam Reports are devoid of any statements that would

  support any such finding. Such misrepresentations were intended, and did in fact, induce Plaintiff

  to issue payment to the Surgicore Pain Management Providers for the Fraudulent Services.

                     ii. The Surgicore Orthopedic Providers’ Fraudulent Initial Exams

         1575. Like the Surgicore Pain Management Providers’ Initial Exam Reports, the

  Surgicore Orthopedic Providers’ Initial Exam Reports do not reflect the Covered Persons’ true

  subjective complaints, actual examination findings, legitimate diagnoses, or medically necessary

  treatment plans.

         1576. To create the false impression of serious injuries and thereby provide false

  justification for unnecessary arthroscopic procedures, the vast majority of the Surgicore

  Orthopedic Providers’ Initial Exam Reports document complaints and/or injuries that reflect a

  substantial escalation of the Covered Persons’ complaints and/or injuries between the time of their

  alleged accident, their initial and subsequent treatment at the No-Fault Clinics, and their initial




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  visit with the Surgicore Orthopedic Providers, which are far beyond the type of injuries that would

  be expected following low impact automobile collisions.

         1577. As alleged in paragraph 1490, on numerous instances, Covered Persons who did

  not seek emergency treatment ultimately underwent arthroscopic surgeries with their complaints

  having evolved over time to what was reported in the Surgicore Orthopedic Providers’ Initial Exam

  Reports to create the false justification for medically unnecessary procedures and surgeries.

         1578. Similarly, as alleged herein in paragraph 1496, Covered Persons reporting to the

  emergency room did not report pain to parts of the body in which they ultimately underwent

  arthroscopic surgeries. Thereafter, in numerous instances, Covered Persons’ complaints evolved

  from what was reported in the emergency room to what was recorded in the Surgicore Orthopedic

  Providers’ Initial Exam Reports, in order to justify referrals for arthroscopic surgeries.

         1579. Notwithstanding that the vast majority of Covered Persons were involved in minor

  automobile collisions where they suffered soft tissue injuries, if suffering any injury at all, in order

  to create the false impression of serious injuries and thereby provide false justification for

  excessive, unnecessary, arthroscopic surgeries, many of the Surgicore Orthopedic Providers’

  Initial Exam Reports routinely describe Covered Persons as complaining of multiple joint injuries.

  By way of example and not limitation:

                McCulloch Orthopaedic Initial Exam Report, dated 02-12-17, relating to
                 Covered Person S.F., under claim number 666463-03, documented
                 complaints of left shoulder pain and dysfunction with right knee mechanic
                 symptoms;
                Apazidis PC Initial Exam Report, dated 11-26-19, relating to Covered
                 Person H.P. under claim number 1070584-02, documented complaints of
                 right shoulder and left knee pain;
                Apazidis PC Initial Exam Report, dated 12-10-19, relating to Covered
                 Person W.V.R., under claim number 1070584-05, documented complaints
                 of right shoulder and right knee pain;



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            McMahon PC Initial Exam Report, dated 12-11-19, relating to Covered
             Person J.P., under claim number 1072272-04, documented complaints of
             left shoulder and right knee pain;
            Bay Ridge PC Initial Exam Report, dated 12-29-20, relating to Covered
             Person C.S.H. under claim number 1086023-10, documented complaints of
             left wrist, left shoulder and left knee pain;
            Bay Ridge PC Initial Exam Report, dated 12-29-20, relating to Covered
             Person F.S.H. under claim number 1086023-10, documented bilateral
             shoulder and right knee complaints;
            Advanced Orthopaedics Initial Exam Report, dated 11-11-21, relating to
             Covered Person D.R. under, claim number 1105880-02, documented
             complaints of both shoulders and both knees;
            Advanced Orthopaedics Initial Exam Report, dated 11-02-22, relating to
             Covered Person A.N. under claim number 1102268-01, documented
             complaints of both knees;
            Graziosa PC Initial Exam Report, dated 02-02-22, relating to Covered
             Person M.P. under claim number 1102268-01, documented complaints of
             left shoulder, left knee, left ankle;
            MSJR, Initial Exam Report dated 12-08-21 relating to Covered Person L.E.
             under, claim number 1089433-02, documented complaints of bilateral
             shoulder and bilateral knee pain;
            Ronald Daly, MD (not named a Defendant in the Complaint) Initial Exam
             Report, dated 06-10-21, relating to Covered Person E.D. under claim
             number 1098936-03, documented complaints of bilateral shoulder and right
             knee pain;
            William King, MD, PC (not named a Defendant in the Complaint) Initial
             Exam Report, dated 06-21-21, relating to Covered Person U.J.L. under
             claim number 1098288-02, documented complaints of bilateral shoulder
             and right shoulder, right wrist/hand, right knee and left knee;
            Steven Struhl, MD, LLC (not named a Defendant in the Complaint) Initial
             Exam Report, dated 11-09-17, relating to Covered Person S.S. under claim
             number 921568-03, documented complaints of bilateral knee and bilateral
             shoulder pain; and
            Steven Struhl, MD, LLC (not named a Defendant in the Complaint) Initial
             Exam Report, dated 10-23-19, relating to Covered Person T.B. under claim
             number 1064495-02, documented complaints of bilateral knee pain.




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         1580. In addition to the Initial Examination Reports in which virtually all Covered

  Persons reportedly complained of multiple joint pain, the vast majority of the Surgicore Orthopedic

  Providers’ Initial Exam Reports routinely diagnose multiple joint injuries, including but not limited

  to knee and shoulder injuries.

         1581. By way of example and not limitation, such instances where the Surgicore

  Orthopedists and their respective professional corporations’ Initial Exam Reports contained

  multiple joint diagnoses are found in reports and bills mailed and submitted by Defendants to

  Plaintiff in connection with the following claims:

                Apazidis PC of which Surgicore Orthopedist Apazidis is the record owner,
                 mailed bills and an Initial Exam Report, dated 11-26-19, relating to Covered
                 Person, Covered Person H.P. under claim number 1070584-02;
                Apazidis PC of which Surgicore Orthopedist Apazidis is the record owner,
                 mailed bills and an Initial Exam Report, dated 12-10-19, relating to Covered
                 Person, Covered Person W.V.R. under claim number 1070584-05;
                McMahon PC of which Surgicore Orthopedist McMahon is the record
                 owner mailed bills and an Initial Exam Report, dated 12-11-19, relating to
                 Covered Person J.P, under claim number 1072272-04;
                Bay Ridge PC of which Surgicore Orthopedist Baum is the record owner
                 mailed bills and an Initial Exam Report, dated 12-29-20, relating to Covered
                 Person C.S.H. under claim number 1086023-10;
                Bay Ridge PC of which Surgicore Orthopedist Baum is the record owner
                 mailed bills and an Initial Exam Report, dated 12-29-20, relating to Covered
                 Person F.S.H. under claim number 1086023-10;
                Advanced Orthopaedics of which Surgicore Orthopedist Berkowitz is the
                 record owner mailed bills and an Initial Exam Report, dated 11-11-21,
                 relating to Covered Person D.R. under claim number 1105880-02;
                Advanced Orthopaedics of which Surgicore Orthopedist Berkowitz is the
                 record owner mailed bills and an Initial Exam Report, dated 11-02-22,
                 relating to Covered Person A.N. under claim number 1102268-01;
                Graziosa PC of which Surgicore Orthopedist Graziosa is the record owner
                 mailed bills and an Initial Exam Report, dated 02-02-22, relating to Covered
                 Person M.P. under claim number 1102268-01;




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                MSJR of which Surgicore Orthopedist Ajoy Sinha is the record owner
                 mailed bills and an Initial Exam Report, dated 12-08-21, relating to Covered
                 Person L.E. under, claim number 1089433-02;
                Ronald Daly, MD (not named a Defendant in the Complaint) mailed bills
                 and an Initial Exam Report, dated 06-10-21, relating to Covered Person E.D.
                 under claim number 1098936-03;
                William King, MD, PC (not named a Defendant in the Complaint) mailed
                 bills and an Initial Exam Report, dated 06-21-21, relating to Covered Person
                 U.J.L. under claim number 1098288-02;
                Steven Struhl, MD, LLC (not named a Defendant in the Complaint) mailed
                 bills and an Initial Exam Report, dated 11-09-17, relating to Covered Person
                 S.S. under claim number 921568-03; and
                Steven Struhl, MD, LLC (not named a Defendant in the Complaint) mailed
                 bills and an Initial Exam Report, dated 10-23-19, relating to Covered Person
                 T.B. under claim number 1064495-02.

         1582. Contrary to the Surgicore Orthopedic Providers’ routine findings, multiple knee

  and shoulder injuries are unlikely to result from minor impact automobile collisions across a large

  volume of Covered Persons.

         1583. The Surgicore Orthopedic Providers’ routine findings of multiple injuries to

  disparate body parts of Covered Persons was to document the justification for the performance of

  the Fraudulent Services at, by, and through the Surgicore ASCs.

         1584. What is more, like the Surgicore Pain Management Providers, several of the

  Surgicore Orthopedic Providers’ Initial Exam Reports routinely included boilerplate pre-

  determined causality statements concluding that each of the Covered Persons’ injuries were

  purportedly caused by their respective car accidents when in fact they made little to no such,

  inquiry, of the Covered Persons or determination as to causality, all with the intent of inducing

  Plaintiff into making payment for services that were not eligible for reimbursement. In the vast

  majority of such reports, the Surgicore Orthopedist and their respective professional entities

  included a variation of the boilerplate statement that “Based on my history, physical examination,



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  review of diagnostic testing and of the available medical records, patient’s injuries, limitations,

  restrictions, to a reasonable degree of medical certainty, are causally related to the accident. . ..”

         1585. By way of example and not limitation, such instances where the Surgicore

  Orthopedist and their respective professional corporations’ Initial Exam Reports contained

  boilerplate, predetermined causality statements are found in such reports mailed and submitted by

  Defendants to Plaintiff in connection with the following claims:

                Apazidis PC Initial Exam Report, dated 11-26-19, relating to Covered
                 Person H.P. under claim number 1070584-02;
                Apazidis PC Initial Exam Report, dated 12-10-19, relating to Covered
                 Person W.V.R under claim number 1070584-05;
                McCulloch Orthopaedic Initial Exam Report, dated 02-12-17, relating to
                 Covered Person S.F. under claim number 666463-03;
                Graziosa PC Initial Exam Report, dated 02-02-22, relating to Covered
                 Person M.P. under claim number 1102268-01;
                Ronald Daly, MD (not named a Defendant in the Complaint) Initial Exam
                 Report, dated 06-10-21, relating to Covered Person E.D. under claim
                 number 1098936-03; and
                William King, MD, PC (not named a Defendant in the Complaint) Initial
                 Exam Report, dated 06-21-21, relating to Covered Person U.J.L. under
                 claim number 1098288-02.

         1586. The Surgicore Orthopedist and their respective professional corporations routinely

  misrepresented that Covered Persons’ purported injuries were causally related to automobile

  accidents when in fact they made little to no such inquiry of the Covered Persons, or determination,

  as the Initial Exam Reports are devoid of any statements that would support any such finding. Such

  misrepresentations were intended, and did in fact, induce Plaintiff to issue payment to the

  Surgicore Orthopedic Providers for the Fraudulent Services.

         1587. In addition to falsely documenting that automobile accidents caused injuries to

  Covered Persons, many of the Surgicore Orthopedic Providers used their diagnoses as a pretext to



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  surgery, routinely recommending surgeries based on diagnoses, including but not limited to

  shoulder impingement syndrome, meniscal pathology, and rotator cuff pathology, contrary to the

  expected rate at which these injuries are considered traumatic and/or related to a low impact

  collision and notwithstanding that these diagnoses are typically reflective of a degenerative and

  pre-existing condition, especially in middle age individuals, a common age in the subset of

  Covered Persons.

         1588. The Surgicore Orthopedic Providers diagnosed Covered Persons with shoulder

  impingement syndrome, meniscal pathology, and/or rotator cuff pathology (among other things)

  to falsely document the medical justification for their recommendation and performance of

  shoulder arthroscopy at, by, and through the Surgicore ASCs when in fact they knew such surgeries

  were medically unnecessary and unrelated to any trauma suffered from automobile accidents.

         1589. Further evidencing that the Surgicore Orthopedic Providers referred Covered

  Persons for medically unnecessary arthroscopies to be performed at the Surgicore ASCs as stated

  above in paragraph 1504, in many instances, the Surgicore Orthopedic Providers referred two or

  more Covered Persons who were involved in the same low-impact collision to one or more of the

  Surgicore ASCs for one or more arthroscopic surgeries, at times on the same day, notwithstanding

  that the minor impact collisions are unlikely to result in injuries requiring arthroscopic surgery on

  one passenger, let alone multiple passengers.

         1590. In addition to the foregoing, demonstrative of the fact that Covered Persons were

  referred to the Surgicore ASCs for arthroscopic surgeries irrespective of medical necessity, as

  stated in paragraph 1505 above, in many instances, multiple individuals who were purportedly

  involved in the same low-impact collision in the same car, and who were different ages, weight,




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  height, and physical condition, were referred to one or more of the Surgicore ASCs for multiple

  surgeries on the same limb.

         1591. It is improbable that two or more Covered Persons in the same low-impact

  automobile collision would each require surgical intervention, let alone, in some instances,

  multiple surgeries as a result of a minor automobile collision.

         1592. The blatantly similar, if not identical arthroscopies purportedly rendered to more

  than one Covered Person allegedly involved in the same single accident reflects the fact that the

  billed for arthroscopies were rendered to Covered Persons through the Surgicore Orthopedic

  Providers at the Surgicore ASCs, if at all, pursuant to Defendants’ Pre-Determined Protocol

                   iii. The Surgicore Pain Management Providers’ And Surgicore Orthopedic
                   Providers’ Failure To Evaluate Or Document Prior Or Concurrent
                   Conservative Care

         1593. In order to proceed with medically unnecessary procedures and/or surgeries, the

  Surgicore Pain Management Providers and Surgicore Orthopedic Providers frequently used their

  initial consultations to support recommendations for interventional pain management and/or

  orthopedic procedures and/or surgeries without regard to the Covered Persons’ prior or concurrent

  conservative care.

         1594. In accordance with accepted medical practices, in a legitimate clinical setting,

  referrals for interventional pain management and/or orthopedic procedures are generally

  considered to be improper unless the Covered Person has failed or been intolerant of a minimum

  of six weeks (and, generally, at least three months) of conservative therapy. This is because soft

  tissue injuries from low impact automobile collisions virtually always resolve after a short course

  of conservative treatment or no treatment at all, and because interventional pain management

  procedures and/or arthroscopic surgeries tend to be invasive and pose increased risks to Covered

  Persons.


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          1595. The Surgicore Pain Management Providers’ and Surgicore Orthopedic Providers’

  Initial Exam Reports plainly state failure of conservative care as a basis for proceeding with

  interventional pain management and/or arthroscopic procedures and/or surgeries, thereby

  admitting that an adequate course of conservative treatment prior to these procedures and/or

  surgeries is the standard of care.

          1596. Notwithstanding, not only do the Surgicore Pain Management Providers and

  Surgicore Orthopedic Providers routinely fail to meaningfully evaluate and/or document the

  specifics of each Covered Persons’ conservative care, and incorporate those findings into the

  diagnosis or treatment plans of the Covered Persons, procedures and surgeries are often performed

  on a majority of patients absent an adequate trial of time and/or conservative care.

          1597. On information and belief, review and documentation of prior conservative care is

  essential to determine, for example, how a Covered Person responded to (or did not respond to)

  certain treatments directed at specific areas of the body (i.e., patient had pain when doing physical

  therapy on the lumbar region or the shoulder) and whether the Covered Person is an appropriate

  candidate for a specific interventional and/or surgical treatment.

          1598. Notwithstanding the importance of considering prior conservative care, the

  Surgicore Pain Management Providers’ and Surgicore Orthopedic Providers’ Initial Exam Reports

  document only a minimal assessment, if any of the Covered Persons’ response to conservative

  care.

          1599. Contrary to accepted medical practices, the vast majority of Surgicore Pain

  Management Providers’ and Surgicore Orthopedic Providers’ Initial Exam Reports fail to

  document the Covered Persons’: (1) length of physical therapy, chiropractic, or acupuncture

  treatment, if any; (2) the specific types, dosage, or duration of anti-inflammatory or pain




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  medication taken by the Covered Persons or any success exhibited by the intake of medication;

  and/or (3) whether the Covered Persons positively responded to any specific portion of the prior

  conservative treatment. The Initial Exam Reports further fail to document any meaningful review

  or analysis of prior medical records, diagnostic tests (other than sometimes noting MRI findings),

  or other information in connection with the Covered Persons’ prior treatment.

         1600. Without any analysis or consideration of the Covered Persons’ prior conservative

  care and absent the failure of a minimum of six weeks (and, generally, at least three months) of

  legitimate conservative care, the initiation of interventional pain management and/ arthroscopic

  procedures and/or surgeries is excessive and contrary to the standard of care and was not

  considered because Defendants were going to be provided Fraudulent Services irrespective of

  medical need.

                   iv. Prematurely Proceeding with Surgeries

         1601. Notwithstanding the foregoing, pursuant to their Pre-Determined Protocol, in many

  instances the Surgicore Pain Management Providers and Surgicore Orthopedic Providers

  purportedly proceeded with procedures and/or surgeries at an accelerated pace, early in the

  treatment of Covered Persons and before there was an opportunity to determine if the Covered

  Persons recovered through a course of time and conservative care, or to allow the Covered Persons

  to have the benefit of an adequate trial of conservative care, much less fail conservative care, prior

  to being subjected to the procedures and/or surgeries. By way of example and not limitation:

                 On January 26, 2023, Covered Person K.B., claim no. 1125318-02, was
                  purportedly involved in a low-impact automobile collision of the type that
                  would cause no more than soft tissue injuries. On February 24, 2023, only
                  twenty-nine days later, K.B. purportedly underwent an arthroscopic surgery
                  of the left knee, purportedly performed by Defendant Hostin, through
                  Defendant Hostin Orthopaedics, at Defendant Empire State ASC, which
                  failed to allow sufficient opportunity to determine if K.B. would recover
                  though a course of time or care or to allow K.B. to have the benefit of an



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             adequate trial of conservative care, much less fail conservative care prior to
             being subjected to an arthroscopic surgery;
            On January 2, 2023, Covered Person Y.C., claim no. 1124714-02, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On February 10, 2023, only
             thirty-nine days later, Y.C. purportedly underwent an arthroscopic surgery
             of the right shoulder, purportedly performed by Defendant Hostin, through
             Defendant Hostin Orthopaedics, at Defendant Empire State ASC, which
             failed to allow sufficient opportunity for Hostin to determine if Y.C. would
             recover though a course of time, or undergo, much less fail an adequate
             course of conservative care prior to being subjected to an arthroscopic
             surgery;
            On September 18, 2022, Covered Person P.R., claim no. 1119135-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On October 28, 2022, only
             forty days later, P.R. purportedly underwent a cervical percutaneous
             discectomy, purportedly performed by Defendant Hall, through Defendant
             Hall PLLC, at Defendant Rockaways ASC, which failed to allow sufficient
             opportunity for Hall to determine if P.R. would recover though a course of
             time, or undergo, much less fail an adequate course of conservative care
             prior to being subjected to an interventional pain management procedure;
            On October 25, 2021, Covered Person W.W., claim no. 1104446-03, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On December 7, 2021, only
             forty-three days later, W.W. purportedly underwent a cervical percutaneous
             discectomy, purportedly performed by Defendant Kotkes, through
             Defendant Kotkes PC, at Defendant Rockaways ASC, which failed to allow
             sufficient opportunity for Kotkes to determine if W.W. would recover
             though a course of time, or undergo, much less fail an adequate course of
             conservative care prior to being subjected to an interventional pain
             management procedure;
            On October 3, 2021, Covered Person R.R., claim no. 1103438-02, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On November 16, 2021, only
             forty-four days later, R.R. purportedly underwent an arthroscopic surgery
             of the right shoulder, purportedly performed by Defendant Berkowitz,
             through Defendant Advanced Orthopaedics, at Defendant Manalapan ASC,
             which failed to allow sufficient opportunity for Berkowitz to determine if
             R.R. would recover though a course of time, or undergo, much less fail an
             adequate course of conservative care prior to being subjected to an
             arthroscopic surgery;
            On February 12, 2021, Covered Person B.K., claim no. 1094157-01, was
             purportedly involved in a low-impact automobile collision of the type that


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             would cause no more than soft tissue injuries. On March 11, 2021, only
             twenty-seven days later, B.K. purportedly underwent an arthroscopic
             surgery of the left shoulder, purportedly performed by Defendant
             Ackerman, through Defendant Contemporary Orthopedics, at Defendant
             All City ASC, which failed to allow sufficient opportunity for Ackerman to
             determine if B.K. would recover though a course of time, or undergo, much
             less fail an adequate course of conservative care prior to being subjected to
             an arthroscopic surgery;
            On June 27, 2020, Covered Person R.M., claim no. 1085232-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On August 10, 2020, only
             forty-four days later, R.M. purportedly underwent epidural steroid
             injections, purportedly performed by Defendant Vora, through Defendant
             KV Medical of NY PC, at Defendant Rockaways ASC, which failed to
             allow sufficient opportunity for Vora to determine if R.M. would recover
             though a course of time, or undergo, much less fail an adequate course of
             conservative care prior to being subjected to an interventional pain
             management procedure;
            On August 3, 2020, Covered Person M.R., claim no. 1086993-02, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On September 10, 2020, only
             thirty-eight days later, M.R. purportedly underwent an arthroscopic surgery
             of the right knee, purportedly performed by Defendant Anjani Sinha,
             through Defendant Anjani PC, at Defendant All City ASC which failed to
             allow sufficient opportunity for Anjani Sinha to determine if M.R. would
             recover though a course of time, or undergo, much less fail an adequate
             course of conservative care prior to being subjected to an arthroscopic
             surgery;
            On January 6, 2020, Covered Person J.A., claim no. 1077803-02, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On February 11, 2020, only
             thirty-six days later, J.A. purportedly underwent an arthroscopic surgery of
             the right knee, purportedly performed by Defendant Graziosa, through
             Defendant Graziosa PC, at Defendant Empire State ASC, which failed to
             allow sufficient opportunity for Graziosa to determine if J.A. would recover
             though a course of time, or undergo, much less fail an adequate course of
             conservative care prior to being subjected to an arthroscopic surgery;
            On January 6, 2020, Covered Person E.M., claim no. 1077803-03, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On February 18, 2020, only
             forty-three days later, E.M. purportedly underwent an arthroscopic surgery
             of the right shoulder, purportedly performed by Defendant Graziosa,
             through Defendant Graziosa PC, at Defendant North Queens ASC, which
             failed to allow sufficient opportunity for Graziosa to determine if E.M.


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             would recover though a course of time, or undergo, much less fail an
             adequate course of conservative care prior to being subjected to an
             arthroscopic surgery;
            On December 30, 2019, Covered Person S.J., claim no. 1077389-02, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On February 4, 2020, only
             thirty-six days later, S.J. purportedly underwent an arthroscopic surgery of
             the left shoulder, purportedly performed by Defendant McMahon, at
             Defendant Fifth Avenue ASC. A week later, on February 11, 2020, only
             forty-three days following the incident, S.J. also purportedly underwent an
             arthroscopic surgery of the right knee, purportedly performed by Defendant
             McMahon, at Defendant Fifth Avenue ASC. In both instances, Defendant
             McMahon failed to allow sufficient opportunity to determine if S.J. would
             recover though a course of time, or undergo, much less fail an adequate
             course of conservative care prior to being subjected to arthroscopic
             surgeries;
            On December 27, 2019, Covered Person F.C., claim no. 1078054-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On February 6, 2020, only
             forty-one days later, F.C. purportedly underwent an arthroscopic surgery of
             the left shoulder, purportedly performed by Defendant Anjani Sinha,
             through Defendant Anjani PC, at Defendant All City ASC which failed to
             allow sufficient opportunity for Anjani Sinha to determine if F.C. would
             recover though a course of time, or undergo, much less fail an adequate
             course of conservative care prior to being subjected to an arthroscopic
             surgery;
            On June 5, 2019, Covered Person J.J., claim no. 1059974-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On July 19, 2019, only forty-
             four days later, J.J. purportedly underwent epidural steroid injections,
             purportedly performed by Defendant Kotkes, at Defendant All City ASC,
             which failed to allow sufficient opportunity for Kotkes to determine if J.J.
             would recover though a course of time, or undergo, much less fail an
             adequate course of conservative care prior to being subjected to an
             interventional pain management procedure;
            On April 2, 2019, Covered Person A.G., claim no. 1055054-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On May 3, 2019, only thirty-
             one days later, A.G. purportedly underwent an arthroscopic surgery of the
             right shoulder, purportedly performed by Defendant Baum, through
             Defendant Bay Ridge Orthopedic, at Defendant All City ASC, which failed
             to allow sufficient opportunity for Baum to determine if A.G. would recover
             though a course of time, or undergo, much less fail an adequate course of
             conservative care prior to being subjected to an arthroscopic surgery;


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            On April 1, 2019, Covered Person L.C., claim no. 1055149-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On May 4, 2019, only thirty-
             three days later, L.C. purportedly underwent a lumbar percutaneous
             discectomy, purportedly performed by Defendant Xie, through Defendant
             Integrated Pain Management, at Defendant Jersey City ASC, which failed
             to allow sufficient opportunity for Xie to determine if L.C. would recover
             though a course of time, or undergo, much less fail an adequate course of
             conservative care prior to being subjected to an interventional pain
             management procedure;
            On March 26, 2019, Covered Person J.S., claim no. 1054268-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On May 3, 2019, only thirty-
             eight days later, J.S. purportedly underwent an arthroscopic surgery of the
             left knee, purportedly performed by Defendant Apazidis, at Defendant All
             City ASC, which failed to allow sufficient opportunity for Apazidis to
             determine if J.S. would recover though a course of time, or undergo, much
             less fail an adequate course of conservative care prior to being subjected to
             an arthroscopic surgery;
            On March 10, 2019, Covered Person J.C., claim no. 1054157-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On April 16, 2019, only
             thirty-seven days later, J.C. purportedly underwent an arthroscopic surgery
             of the left shoulder, purportedly performed by Defendant McMahon, at
             Defendant Fifth Avenue ASC. A week later, on April 23, 2019, only forty-
             four days following the incident, J.C. also purportedly underwent an
             arthroscopic surgery of the left knee, purportedly performed by Defendant
             McMahon, at Defendant Fifth Avenue ASC. In both instances, Defendant
             McMahon failed to allow sufficient opportunity to determine if J.C. would
             recover though a course of time, or undergo, much less fail an adequate
             course of conservative care prior to being subjected to arthroscopic
             surgeries;
            On February 24, 2019, Covered Person D.V., claim no. 1051820-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On April 1, 2019, only thirty-
             six days later, D.V. purportedly underwent an arthroscopic surgery of the
             left knee, purportedly performed by Ajoy Sinha, through Defendant Sinha
             Orthopedics, at Defendant Saddlebrook ASC, which failed to allow
             sufficient opportunity for Dr. Sinha to determine if D.V. would recover
             though a course of time, or undergo, much less fail an adequate course of
             conservative care prior to being subjected to an arthroscopic surgery;
            On February 16, 2019, Covered Person M.B., claim no. 1051250-01, was
             purportedly involved in a low-impact automobile collision of the type that
             would cause no more than soft tissue injuries. On March 29, 2019, only


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                forty-one days later, M.B. purportedly underwent an arthroscopic surgery
                of the left shoulder, purportedly performed by Defendant Apazidis, at
                Defendant All City ASC, which failed to allow sufficient opportunity for
                Apazidis to determine if M.B. would recover though a course of time, or
                undergo, much less fail an adequate course of conservative care prior to
                being subjected to an arthroscopic surgery;
               On January 6, 2019, Covered Person J.Z., claim no. 1049536-05, was
                purportedly involved in a low-impact automobile collision of the type that
                would cause no more than soft tissue injuries. On February 14, 2019, only
                thirty-nine days later, J.Z. purportedly underwent a cervical percutaneous
                discectomy, purportedly performed by Defendant Kotkes, through
                Defendant Kotkes PC, at Defendant All City ASC, which failed to allow
                sufficient opportunity for Kotkes to determine if J.Z. would recover though
                a course of time, or undergo, much less fail an adequate course of
                conservative care prior to being subjected to an interventional pain
                management procedure;
               On December 19, 2018, Covered Person B.D., claim no. 1047103-01, was
                purportedly involved in a low-impact automobile collision of the type that
                would cause no more than soft tissue injuries. On February 1, 2019, only
                forty-four days later, B.D. purportedly underwent an arthroscopic surgery
                of the left knee, purportedly performed by Defendant Ackerman, through
                Spruce Medical & Diagnostic PC, at Defendant North Queens ASC, which
                failed to allow sufficient opportunity for Ackerman to determine if B.D.
                would recover though a course of time, or undergo, much less fail an
                adequate course of conservative care prior to being subjected to an
                arthroscopic surgery; and
               On May 12, 2018, Covered Person A.B., claim no. 1029727-02, was
                purportedly involved in a low-impact automobile collision of the type that
                would cause no more than soft tissue injuries. On June 13, 2018, only thirty-
                two later, A.B. purportedly underwent an arthroscopic surgery of the right
                knee, purportedly performed by Defendant Berkowitz, through Defendant
                Advanced Orthopaedics, at Defendant Jersey City ASC, which failed to
                allow sufficient opportunity for Berkowitz to determine if A.B. would
                recover though a course of time, or undergo, much less fail an adequate
                course of conservative care prior to being subjected to an arthroscopic
                surgery.

         1602. As the Fraudulent Services were predicated on Defendants’ greed, not the need of

  the Covered Persons, in the claims identified in Exhibit “16,” the Surgicore Pain Management

  Providers and Surgicore Orthopedic Providers routinely proceeded with procedures and/or

  surgeries early in the treatment of Covered Persons without regard to the conservative treatment



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  that was purportedly provided at, by, and through the No-Fault Clinics that were carrying out their

  own fraudulent scheme.

         1603. Reflective that the Fraudulent Services were being provided pursuant to a

  predetermined fraudulent protocol and irrespective of medical necessity, Defendants routinely

  subjected Covered Persons to interventional pain management and/or orthopedic procedures

  and/or surgeries without considering whether they may benefit from continued conservative

  treatment or determining that conservative treatment had failed.

         1604. Further evidencing that the treatment of the Covered Persons did not follow the

  standard medically accepted pathway of conservative care before proceeding with surgical

  intervention, in some cases the Surgicore Orthopedic Providers recommended multiple surgeries

  as opposed to recommending and/or proceeding with conservative options such as joint injections

  and/or subacromial injections, which runs contrary to the generally accepted standard of care of

  individuals with non-urgent conditions in the shoulder and/or knee, such as impingement

  syndrome, rotator cuff tendinitis/bursitis, and/or meniscal pathology that might be degenerative

  and/or acute in nature.

         1605. By way of example and not limitation, Defendant Berkowitz recommended

  multiple surgeries as opposed to conservative care such as injections falsely citing that the risk of

  surgery and predictability of surgical outcomes were such that surgery was the appropriate choice

  versus the inherent risk of an isolated injection, when, in fact, surgery was often no more

  predictable than proceeding with conservative care:

                In Advanced Orthopaedics’ Initial Exam Report, dated 01-22-21, relating
                 to Covered Person K.R. under claim number 1091174-02, Defendant
                 Berkowitz recommended arthroscopic surgery to Covered Person K.R.’s
                 right knee stating that “cortisone injection is not recommended because it
                 can initiate an articular cartilage degradation to the right knee.” Defendant




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                Berkowitz purportedly performed right knee arthroscopy on Covered
                Person K.R. less than two weeks later, on 02-03-21, at Jersey City ASC;
               In Advanced Orthopaedics’ follow-up exam report, dated 02-11-21, relating
                to Covered Person K.R., claim number 1091174-02, Defendant Berkowitz
                recommended arthroscopic surgery to Covered Person K.R., left knee,
                similarly stating that “she is not a candidate for a cortisone injection as it
                would further delay to the articular cartilage.” Defendant Berkowitz
                purportedly performed left knee arthroscopy on Covered Person K.R. less
                than two weeks later, on 02-24-21, at Jersey City ASC;
               In Advanced Orthopaedics’ examination report dated 02-10-22, relating to
                Covered Person D.R, claim number 1105880-02, Defendant Berkowitz
                recommended bilateral shoulder and left knee arthroscopic surgeries,
                stating that “she is not a candidate for a cortisone injection to the right
                shoulder or the left knee as that could cause further degradation of the
                articular cartilage of the joint and impede soft tissue healing.” Defendant
                Berkowitz purportedly performed left shoulder arthroscopy on Covered
                Person D.R. on 03-15-22 at Manalapan ASC. Defendant Berkowitz
                purportedly performed left knee arthroscopy on Covered Person D.R. on
                04-19-22 at Manalapan ASC; and
               In Advanced Orthopaedics’ Initial Exam Report, dated 11-02-22, relating
                to Covered Person A.N., claim number 1102268-01, Defendant Berkowitz
                recommended right and left knee arthroscopies to both of Covered Person
                A.N.’s knees stating that “the patient is not a candidate for cortisone
                injection to either of the knees as that could cause further degradation of the
                articular cartilage of the joint. Defendant Berkowitz purportedly performed
                right knee arthroscopy on Covered Person A.N. on November 30, 2022 at
                Jersey City ASC and left knee arthroscopy on Covered Person A.N on April
                19, 2023 at Jersey City.

         1606. These recommendations run contrary to the generally accepted care of individuals

  with non-urgent conditions in the shoulder and knee such as those supposedly suffered by the

  Covered Persons, were medically unnecessary and were performed pursuant to a predetermined

  protocol of treatment created by Defendants to carry out the overarching scheme to defraud to

  maximize reimbursement of No-Fault benefits.

         D.     The Surgicore Pain Management Providers’ And Surgicore Orthopedic
                Providers’ Medically Unnecessary Procedures And/Or Surgeries

         1607. Pursuant to the Defendants’ Pre-Determined Protocol, following the Surgicore Pain

  Management Providers and Surgicore Orthopedic Providers purported examinations, virtually all


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  Covered Persons were recommended some combination of interventional treatments including but

  not limited to trigger point injections and epidural steroid injections, as well as epidurograms,

  discographies, percutaneous discectomies and IDETs, and/or arthroscopic procedures, including

  but not limited to shoulder, knee, ankle, and wrist arthroscopies.

         1608. The medical necessity of these treatments in such a large percentage is not plausible

  because, as alleged herein, the types of injuries purportedly suffered by the Covered Persons often

  heal without any intervention or treatment; or are corrected through conservative care such as pain

  and/or anti-inflammatory medications, time, physical therapy, or chiropractic treatment.

         1609. On information and belief, only a small percentage of patients who fail to improve

  from conservative treatment should be considered potential candidates for the interventional pain

  management and/or arthroscopic procedures and/or surgeries the Surgicore Pain Management

  Providers and Surgicore Orthopedic Providers consistently recommended to Covered Persons.

         1610. As alleged herein, the Surgicore Pain Management Providers and Surgicore

  Orthopedic Providers typically gave recommendations to Covered Persons to proceed with

  interventional pain management and arthroscopic procedures and/or surgeries regardless of

  whether they responded to conservative care.

         1611. The uniformity of recommendations for interventional pain management and

  arthroscopic procedures and/or surgeries without medical justification reveals that the treatments

  were not part of an individualized plan. The Surgicore Pain Management Providers and Surgicore

  Orthopedic Providers did not recommend and/or purportedly perform the procedures and/or

  surgeries because they were medically necessary, and as a result, the procedures and/or surgeries

  were not legitimately or lawfully rendered and not provided as billed.




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                   i. Multiple Surgeries Purportedly Performed on a Single Covered Person

         1612. The interventional pain management and arthroscopic procedures and/or surgeries

  were part of Defendants’ Pre-Determined Protocol designed to inflate billing through multiple

  providers to exploit the quadruple coverage amounts of $200,000 that, as a commercial insurer,

  Plaintiff is required to provide under its No-Fault insurance policies.

         1613. In furtherance thereof, Defendants routinely subjected Covered Persons to multiple

  surgeries to both their spine and joints, despite Covered Persons being involved in low impact

  automobile collisions and suffering little to no injury. By way of example and not limitation:

                On May 17, 2023, Covered Person J.P., claim no. 1130512-01 was
                 purportedly involved in a low-impact automobile collision. Following the
                 incident as a part of a predetermined course of treatment irrespective of
                 medical necessity, J.P. was referred for at least three different surgical
                 procedures, purportedly performed at, by and through the Surgicore ASCs.
                 On June 27, 2023, J.P. purportedly underwent an arthroscopic shoulder
                 surgery of the left shoulder, purportedly performed by Defendant
                 McMahon, through Defendant McMahon PC, at Defendant Fifth Avenue
                 ASC. Thereafter, on September 28, 2023, J.P. purportedly underwent a
                 cervical discectomy, purportedly performed by Defendant Jimenez, through
                 Defendant J Sports, at Defendant Empire State ASC. On September 9, 2023,
                 J.P. purportedly underwent an arthroscopic surgery of the left knee,
                 purportedly performed by Defendant Ackerman, at Defendant All City
                 ASC. Plaintiff was ultimately billed in excess of $51,000.00 in connection
                 with such surgical interventions arising from a low-impact automobile
                 collision.
                On April 8, 2022, Covered Person S.S., claim no. 1112011-01, was
                 purportedly involved in a low-impact automobile collision. Following the
                 incident as part of a predetermined course of treatment irrespective of
                 medical necessity, S.S. was referred for at least three different surgical
                 procedures, purportedly performed at, by and through the Surgicore ASCs.
                 On June 12, 2022, S.S. purportedly underwent a lumbar percutaneous
                 discectomy, purportedly performed by Defendant Shabtian, through
                 Defendant Total Anesthesia, at Defendant All City ASC. Six weeks later,
                 on July 19, 2022, S.S. purportedly underwent an arthroscopic surgery of the
                 right shoulder, purportedly performed by Defendant Graziosa, through
                 Defendant Graziosa PC, at Defendant North Queens ASC. Less than three
                 weeks following his shoulder surgery, on August 3, 2022, S.S. purportedly
                 underwent a cervical discectomy, also purportedly performed by Defendant
                 Shabtian, through Defendant Total Anesthesia, at Defendant All City ASC.


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             Plaintiff was ultimately billed in excess of $44,000.00 in connection with
             such surgical interventions arising from a low-impact automobile collision.
            On March 5, 2022, Covered Person R.V., claim no. 1111487-02, was
             purportedly involved in a low-impact automobile collision. Following the
             incident as part of a predetermined course of treatment irrespective of
             medical necessity, R.V. was referred for at least three different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On May 20, 2022, R.V. purportedly underwent a lumbar percutaneous
             discectomy, purportedly performed by Defendant Portal, through
             Defendant Hall PLLC, at Defendant Rockaways ASC. On June 16, 2022,
             R.V. purportedly underwent an arthroscopic surgery of the right knee,
             purportedly performed by Defendant Upendra Sinha, through Defendant
             U.K. PC, at Defendant All City ASC. Thereafter, on June 18, 2024, R.V.
             purportedly underwent a cervical discectomy, purportedly performed by
             Defendant Portal, through Defendant Hall PLLC, at Defendant Rockaways
             ASC. Plaintiff was ultimately billed in excess of $36,000.00 in connection
             with such surgical interventions arising from a low-impact automobile
             collision.
            On December 6, 2021, Covered Person E.A., claim no. 1106368-02, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, E.A. was referred for at least four different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On February 7, 2022, E.A. purportedly underwent a lumbar percutaneous
             discectomy, purportedly performed by Defendant Kotkes, through
             Defendant Kotkes PC, at Defendant Rockaways ASC. Only a week later,
             on February 14, 2022, E.A. purportedly underwent a cervical discectomy,
             also purportedly performed by Defendant Kotkes, through Defendant
             Kotkes PC, at Defendant Rockaways ASC. Only nine days after his second
             back surgery, on February 23, 2022, E.A. purportedly underwent an
             arthroscopic surgery of the left shoulder, purportedly performed by
             Defendant Berkowitz, through Defendant Advanced Orthopaedics PLLC,
             at Defendant Jersey City ASC. Finally on April 27, 2022, E.A. purportedly
             underwent an arthroscopic surgery of the right shoulder, also purportedly
             performed by Defendant Berkowitz, through Defendant Advanced
             Orthopaedics PLLC, at Defendant Jersey City ASC. Plaintiff was ultimately
             billed in excess of $65,000.00 in connection with such surgical
             interventions arising from a low-impact automobile collision.
            On July 12, 2021, Covered Person R.S., claim no. 1100204-04, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, R.S. was referred for at least three different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On September 9, 2021, R.S. purportedly underwent an arthroscopic surgery


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             of the left knee, purportedly performed by Defendant Ackerman at
             Defendant All City ASC. Just over six weeks later, on October 10, 2021,
             R.S. purportedly underwent a lumbar percutaneous discectomy, purportedly
             performed by Defendant Bowen through Defendant Bowen PLLC, at
             Defendant All City ASC. On December 9, 2021, R.S. purportedly
             underwent an arthroscopic surgery of the right shoulder, purportedly
             performed by Defendant Ackerman at Defendant All City ASC. Plaintiff
             was ultimately billed in excess of $44,000.00 in connection with such
             surgical interventions arising from a low-impact automobile collision.
            On September 26, 2020, Covered Person C.C., claim no. 1088653-01, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermine course of treatment irrespective of
             medical necessity, C.C. was referred for at least three different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On December 15, 2020, C.C. purportedly underwent an arthroscopic
             surgery of the left shoulder, purportedly performed by defendant McMahon
             at Defendant Fifth Avenue ASC. Thereafter, on January 29, 2021, C.C.
             purportedly underwent a cervical discectomy, purportedly performed by
             Defendant Shabtian through Defendant Total Anesthesia, at Defendant
             North Queens ASC. Finally, on March 7, 2021, C.C. purportedly underwent
             a lumbar percutaneous discectomy, also purportedly performed by
             Defendant Shabtian through Defendant Total Anesthesia, but at Defendant
             All City ASC. Plaintiff was ultimately billed in excess of $33,000.00 in
             connection with such surgical interventions arising from a low-impact
             automobile collision.
            On September 14, 2020, Covered Person V.T., claim no. 1088557-01, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, V.T. was referred for at least three different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On January 14, 2021, V.T. purportedly performed an arthroscopic surgery
             of the right shoulder, purportedly performed by Defendant Anjani Sinha,
             through Defendant Anjani PC, at Rockaways ASC. Less than a month later,
             on February 11, 2021, V.T. purportedly underwent an arthroscopic surgery
             of the left shoulder, also purportedly performed by Defendant Anjani Sinha,
             through Defendant Anjani PC, at Rockaways ASC. Finally, on August 25,
             2022, V.T. purportedly underwent a lumbar percutaneous discectomy,
             purportedly performed by Defendant Kotkes, through Defendant Kotkes
             PC, at Defendant Rockaways ASC. Plaintiff was ultimately billed in excess
             of $46,000.00 in connection with such surgical interventions arising from a
             low-impact automobile collision.
            On August 3, 2020, Covered Person C.M., claim no. 1086902-01, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of


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             medical necessity, C.M. was referred for at least three different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On October 2, 2020, Defendant Vora purportedly performed a cervical
             discectomy at Rockaways ASC. Two weeks after spinal surgery, on October
             16, 2020, C.M. purportedly underwent an arthroscopic surgery of the right
             shoulder, purportedly performed by Christopher Durant, MD (not named as
             a defendant herein), through Olympic Orthopedics PC (not named as a
             defendant herein, at Defendant Rockaways ASC. Six weeks later, on
             November 11, 2020, C.M. purportedly underwent an a lumbar percutaneous
             discectomy, purportedly performed by Defendant Vora, through Defendant
             KV Medical of NY, at Defendant North Queens ASC. Plaintiff was
             ultimately billed in excess of $36,000.00 in connection with such surgical
             interventions arising from a low-impact automobile collision.
            On March 10, 2020, Covered Person A.F., claim no. 1082018-02, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, A.F. was referred for at least three different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On August 10, 2020, A.F. purportedly underwent an arthroscopic surgery
             of the right shoulder, purportedly performed by Defendant Berkowitz,
             through Defendant Advanced Orthopaedics, at Defendant All City ASC.
             Thereafter, on September 21, 2020, A.F. purportedly underwent a cervical
             discectomy, purportedly performed by Defendant Kotkes through Kotkes
             PC, at Defendant Rockaways ASC. Only three days later, A.F. purportedly
             underwent a cervical discectomy, also purportedly performed by Defendant
             Kotkes through Kotkes PC, at Defendant Rockaways ASC. Plaintiff was
             ultimately billed in excess of $35,000.00 in connection with such surgical
             interventions arising from a low-impact automobile collision.
            On June 29, 2019, Covered Person E.G., claim no. 1062437-02, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, E.G. was referred for at least three different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On December 3, 2019, E.G. purportedly performed an arthroscopic surgery
             of the left shoulder, purportedly performed by Defendant Harr, through
             Defendant Harr Orthopedics & Sports Medicine, at Defendant New Horizon
             ASC. Later, on February 18, 2020, E.G. purportedly underwent an
             arthroscopic surgery of the left knee, purportedly performed by Defendant
             Harr, through Defendant Haar Orthopaedics, at Defendant New Horizon
             ASC. Less than a month after her second arthroscopic surgery, E.G.
             underwent a lumbar percutaneous discectomy, purportedly performed by
             Richard J. Apple, MD (not named as a defendant herein), through Happy
             Medical Services PC (not named as a defendant herein) at Defendant
             Rockaways ASC. Plaintiff was ultimately billed in excess of $34,000.00 in



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             connection with such surgical interventions arising from a low-impact
             automobile collision.
            On June 8, 2019, Covered Person Z.M., claim No. 1060382-02, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, Z.M. was referred for at least four different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On September 27, 2019, Z.M. purportedly underwent an arthroscopic
             surgery of the right shoulder, purportedly performed by Defendant
             Apazidis, through Defendant Apazidis PC, at Defendant All City ASC. On
             November 7, 2019, M.Z. purportedly underwent a lumbar percutaneous
             discectomy, purportedly performed by Defendant Kotkes, through
             Defendant Kotkes PC, at Defendant All City ASC. Two weeks later, on
             November 21, 2019, M.Z. purportedly underwent a cervical discectomy,
             also purportedly performed by Defendant Kotkes, through Defendant
             Kotkes PC, at Defendant All City ASC. Just over two weeks after M.Z.’s
             second spinal surgery, M.Z, purportedly underwent an arthroscopic surgery
             of the left knee, purportedly performed by Defendant Apazidis, through
             Defendant Apazidis PC, at Defendant All City ASC. Plaintiff was
             ultimately billed in excess of $47,000.00 in connection with such surgical
             interventions arising from a low-impact automobile collision.
            On April 20, 2019, Covered Person K.N., claim no. 1057213-01, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, K.N. was referred for at least four different surgical
             procedures, purportedly performed at, by and through the Surgicore ASCs.
             On July 12, 2019, K.N. purportedly underwent an arthroscopic surgery of
             the right shoulder, purportedly performed by Defendant Baum, through
             Defendant Bay Ridge Orthopedic, at Defendant All City ASC. On August
             23, 2019, KN. purportedly underwent an arthroscopic surgery of the right
             knee, also purportedly performed by Defendant Baum, through Defendant
             Bay Ridge Orthopedic, at Defendant All City ASC. Less than two weeks
             after K.N.’s second arthroscopic surgery, K.N. purportedly underwent a
             cervical discectomy, purportedly performed by Defendant Kotkes, through
             Defendant Kotkes PC, at Defendant All City ASC. Finally, only a week
             after K.N.’s first spinal surgery, K.N. purportedly underwent a lumbar
             percutaneous discectomy, also purportedly performed by Defendant
             Kotkes, through Defendant Kotkes PC, at Defendant All City ASC. Plaintiff
             was ultimately billed in excess of $49,000.00 in connection with such
             surgical interventions arising from a low-impact automobile collision.
            On October 18, 2018, Covered Person R.H., claim no. 1041614-01, was
             purportedly involved in a low-impact automobile collision. Following the
             incident, as part of a predetermined course of treatment irrespective of
             medical necessity, R.H. was referred for at least three different surgical


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                 procedures, purportedly performed at, by and through the Surgicore ASCs.
                 On March 4, 2019, R.H. purportedly underwent an arthroscopic surgery of
                 the right knee, purportedly performed by Defendant McCulloch, through
                 Defendant McCulloch Orthopaedic Surgical Services PC, at Defendant
                 Fifth Avenue ASC. Less than a month later, on March 29, 2019, R.H.
                 purportedly underwent a lumbar percutaneous discectomy, purportedly
                 performed by Michael Ko, MD (not named as a defendant herein) through
                 Pain Physicians NY PLLC (not named a Defendant in the Complaint) at
                 Defendant North Queens ASC. Finally, on May 20, 2019, R.H. purportedly
                 underwent an arthroscopic surgery of the right shoulder, purportedly
                 performed by Defendant McCulloch, through Defendant McCulloch
                 Orthopaedic Surgical Services PC, at Defendant Fifth Avenue ASC.
                 Plaintiff was ultimately billed in excess of $36,000.00 in connection with
                 such surgical interventions arising from a low-impact automobile collision.
                On May 14, 2018, Covered Person T.D., claim no. 1028111-01, was
                 purportedly involved in a low-impact automobile collision. Following the
                 incident, as part of a predetermined course of treatment irrespective of
                 medical necessity, T.D. was referred for at least three different surgical
                 procedures, purportedly performed at, by and through the Surgicore ASCs.
                 On June 30, 2018, T.D. purportedly underwent a cervical discectomy,
                 purportedly performed by Defendant Xie, through Defendant Integrated
                 Pain Management PLLC, at Defendant Manalapan ASC. Two weeks later,
                 on July 14, 2019, T.D. purportedly underwent a lumbar percutaneous
                 discectomy, also purportedly performed by Defendant Xie, through
                 Defendant Integrated Pain Management PLLC, at Defendant Manalapan
                 ASC. Thereafter, on August 20, 2018, T.D. purportedly underwent an
                 arthroscopic surgery of the left shoulder, purportedly performed by Aron D.
                 Rovner, MD (not named as a defendant herein), through Aron Rovner MD
                 PLLC (not named as a defendant herein) at Defendant All City ASC.
                 Plaintiff was ultimately billed in excess of $44,000.00 in connection with
                 such surgical interventions arising from of a low-impact automobile
                 collision.

         1614. Attached as Exhibit “17,” is a representative list of claims in which Covered

  Persons received multiple surgeries to both the spine and joints from one or more of the Surgicore

  Orthopedic Providers and/or Surgicore Pain Management Providers that were purportedly

  performed at, by, and through one or more of the Surgicore ASCs.

         1615. Even though only a small percentage of persons in low impact collisions who fail

  conservative treatment require a single surgery, let alone multiple surgical procedures, Defendants

  routinely subjected Covered Persons to multiple percutaneous discectomies and/or arthroscopies


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  pursuant to a predetermined protocol that were not based on the Covered Persons’ individual needs

  and were medically unnecessary.

         1616.    What is more, Defendants often performed multiple surgeries within a compressed

  time period, despite the fact that such a regimen was not only medically unnecessary, but also

  placed the Covered Persons at risk for complications inherent to undergoing multiple surgical

  procedures in an accelerated time frame.

         1617. On information and belief, there are a number of factors that doctors should

  consider in determining how much time is advisable between surgeries for a given individual,

  including the patient’s overall health, age, rate of healing, blood loss and time under anesthesia.

         1618. Notwithstanding that accepted medical practices dictate that doctors consider

  various factors when performing multiple surgeries on a given individual, the Surgicore Pain

  Management Providers’ and Surgicore Orthopedic Providers’ reports are devoid of any indication

  that such factors were considered before quickly proceeding with the multiple surgeries on

  Covered Persons.

         1619. The failure to document and/or consider factors that may militate against

  performing multiple surgeries within a short time span is reflective that the Fraudulent Services

  are performed pursuant to a predetermined protocol irrespective of medical need of Covered

  Persons and driven by Defendants’ profit motive to exploit the No-Fault system.

                   ii. The Purported Provision of Treatment Modalities and Surgeries on the
                   Same Day

         1620. Further reflecting that the Fraudulent Services were provided, if at all, pursuant to

  a predetermined protocol of treatment irrespective of medical necessity or patient safety and well-

  being, on numerous occasions, Covered Persons purportedly underwent one or more treatment

  modalities, including but not limited to chiropractic, physical therapy, and/or acupuncture, on the



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  same day they purportedly underwent a percutaneous discectomy or arthroscopic surgery at one

  or more of the Surgicore ASCs.

         1621. Subjecting Covered Persons to purported treatment modalities such as chiropractic,

  physical therapy, and/or acupuncture on the same day they purportedly undergo surgical

  procedures are contrary to accepted medial practices that militate against doing so to avoid excess

  stress on the body.

         1622. In accordance with accepted medical practices, subjecting Covered Persons to

  purported treatment modalities such as chiropractic, physical therapy, and/or acupuncture on the

  same day they purportedly undergo surgical procedures should be avoided to allow for proper

  healing and avoid potential post-surgery complications.

         1623. Subjecting Covered Persons to purported treatment modalities such as chiropractic,

  physical therapy, and/or acupuncture on the same day they purportedly undergo surgical

  procedures would also be inconsistent with, if not contravene pre-operative and/or post-operative

  instructions provided to Covered Persons by the Surgicore ASCs.

         1624. Notwithstanding the foregoing, on numerous occasions Covered Persons

  purportedly subjected to percutaneous discectomy and/or arthroscopic surgeries by the Surgicore

  Pain Management Providers at one of the Surgicore ASCs also purportedly underwent one or more

  treatment modalities at one of the No-Fault Clinics, at times in a different county, if not a different

  state, where travel would also be an exacerbating factor to Covered Person’s safety, wellbeing and

  recovery. By way of example but not limitation:

                On March 2, 2022, Covered Person D.T., claim no. 1110238-02, was
                 purportedly involved in a low-impact automobile collision, after which D.T.
                 purportedly underwent a predetermined course of treatment at a No-fault
                 Clinic located at 54A Motor Avenue, Farmingdale, NY. On May 18, 2022,
                 D.T. purportedly underwent chiropractic manipulation at 5 regions and
                 manual therapy, and physical therapy therapeutic exercises, electric



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             stimulation and hot/cold packs at the aforementioned No-fault Clinic. That
             same day, D.T. purportedly underwent a cervical percutaneous discectomy,
             purportedly performed by Defendant Shabtian, through Defendant Total
             Anesthesia, at Defendant All City ASC, located at 3632 Nostrand Avenue,
             Brooklyn, NY. Thereafter, on September 14, 2022, D.T. purportedly
             underwent physical therapy therapeutic exercises, electric stimulation and
             hot/cold packs at the aforementioned No-fault Clinic. That same day, D.T.
             purportedly underwent a lumbar percutaneous discectomy, also purportedly
             performed by Defendant Shabtian, through Defendant Total Anesthesia, at
             Defendant All City ASC, located at 3632 Nostrand Avenue, Brooklyn, New
             York.
            On January 6, 2019, Covered Person J.Z., claim no. 1049536-05, was
             purportedly involved in a low-impact automobile collision, after which J.Z.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 1650 Eastern Parkway, Brooklyn, NY. On February 14,
             2019, J.Z. purportedly underwent chiropractic manipulation at 3-4 regions,
             and traction, physical therapy, and acupuncture with electric stimulation at
             the aforementioned No-fault Clinic. That same day, J.Z. purportedly
             underwent a cervical percutaneous discectomy, purportedly performed by
             Defendant Kotkes, at Defendant All City ASC, located at 3632 Nostrand
             Avenue, Brooklyn, New York.
            On March 28, 2019, Covered Person S.L., claim no. 1056349-02, was
             purportedly involved in a low-impact automobile collision, after which S.L.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 615 Seneca Avenue, Ridgewood, NY. On July 22, 2019,
             S.L. purportedly underwent chiropractic manipulation at 3-4 regions,
             acupuncture with electric stimulation, and infrared treatments at the
             aforementioned No-fault Clinic. That same day, S.L. purportedly underwent
             a cervical percutaneous discectomy, purportedly performed by Defendant
             Kotkes, through Defendant Kotkes PC, at Defendant All City ASC, located
             at 3632 Nostrand Avenue, Brooklyn, New York.
            On November 16, 2019, Covered Person G.C., claim no. 1074007-01, was
             purportedly involved in a low-impact automobile collision, after which G.C.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 34-09 Murray Street, Flushing, NY. On September 30,
             2020, G.C. purportedly underwent chiropractic manipulation at 3-4 regions,
             physical therapy exercises, electric stimulation, and manual therapy, and
             acupuncture with electric stimulation at the aforementioned No-fault Clinic.
             That same day, G.C. purportedly underwent a lumbar percutaneous
             discectomy, purportedly performed by Tamer Elbaz, MD (not named as a
             defendant herein), through Pain Physicians NY, PLLC (not named as a
             defendant herein) at Rockaways ASC, located at 105-20 Rockaway Beach
             Blvd, Rockaway Park, New York.




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            On November 19, 2019, Covered Person J.O., claim no. 1074012-01, was
             purportedly involved in a low-impact automobile collision, after which J.O.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 34-09 Murray Street, Flushing, NY. On July 10, 2020, J.O.
             purportedly underwent chiropractic manipulation at 3-4 regions, physical
             therapy therapeutic exercises, electric stimulation, and manual therapy, and
             acupuncture with electric stimulation at the aforementioned No-fault Clinic.
             That same day, J.O. purportedly underwent a lumbar percutaneous
             discectomy, purportedly performed by Michael Ko, MD (not named as a
             defendant herein), through Pain Physicians NY PLLC (not named as a
             defendant herein) at Defendant North Queens ASC, located at 45-64 Francis
             Lewis Boulevard, Bayside, New York.
            On January 22, 2021, Covered Person L.L., claim no. 1094219-02, was
             purportedly involved in a low-impact automobile collision, after which L.L.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 3907 Prince Street, Flushing, NY. On November 27, 2021,
             L.L. purportedly underwent physical therapy therapeutic exercises,
             therapeutic massage, manual therapy, and electric stimulation at the
             aforementioned No-fault Clinic. That same day, L.L. purportedly
             underwent a lumbar percutaneous discectomy, purportedly performed by
             Defendant Xie, through Defendant Integrated Pain Management, at
             Defendant Saddlebrook ASC, located at 444 Market Street, Saddlebrook,
             New Jersey.
            On March 31, 2021, Covered Person I.K., claim no. 1095974-02, was
             purportedly involved in a low-impact automobile collision, after which I.K.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 4226A Third Avenue, Bronx, NY. On June 25, 2021, I.K.
             purportedly underwent chiropractic manipulation at 3-4 regions, and
             physical therapy, electric stimulation and hot/cold pack treatments at the
             aforementioned No-fault Clinic. That same day, I.K. purportedly underwent
             a lumbar percutaneous discectomy, purportedly performed by Defendant
             Hall, through Defendant Hall PLLC at Defendant Rockaways ASC, located
             at 105-20 Rockaway Beach Blvd, Rockaway Park, New York.
            On September 3, 2022, Covered Person L.K., claim no. 1122600-02, was
             purportedly involved in a low-impact automobile collision, after which L.K.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 1201 Nostrand Avenue, Brooklyn, NY. On January 24,
             2023, L.K. purportedly underwent chiropractic manipulation at 3-4 regions,
             physical therapy therapeutic exercises, therapeutic massage, electric
             stimulation, and hot/cold packs, and acupuncture treatments at the
             aforementioned No-fault Clinic. That same day, L.K. purportedly
             underwent a cervical percutaneous discectomy, purportedly performed by
             Defendant Kotkes, through Defendant Kotkes PC, at Defendant Rockaways
             ASC, located at 105-20 Rockaway Beach Blvd, Rockaway Park, New York.


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            On June 5, 2023, Covered Person B.F., claim no. 1132149-01, was
             purportedly involved in a low-impact automobile collision, after which B.F.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 2422 Knapp Street, Brooklyn, NY 11235. On October 4,
             2023, B.F. purportedly underwent ultrasound treatment, physical therapy
             therapeutic exercises, electric stimulation and hot/cold packs, and
             acupuncture treatments at the aforementioned No-fault Clinic. That same
             day, B.F. purportedly underwent a lumbar percutaneous discectomy,
             purportedly performed by Defendant Shabtian, through Defendant Total
             Anesthesia, at Defendant All City ASC, located at 3632 Nostrand Avenue,
             Brooklyn, New York.
            On January 6, 2022, Covered Person Y.B., claim no. 1108510-03, was
             purportedly involved in a low-impact automobile collision, after which Y.B.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 14 Bruckner Boulevard, Bronx, NY. On April 22, 2022,
             Y.B. purportedly underwent chiropractic manipulation at 3-4 regions and
             manual therapy, and physical therapy modalities including therapeutic
             exercise, electric stimulation, and hot/cold packs at the aforementioned No-
             fault Clinic. That same day, Y.B. purportedly underwent a knee
             arthroscopy, purportedly performed by Defendant Baum, through
             Defendant Bay Ridge PC, at Defendant All City ASC, located at 3632
             Nostrand Avenue, Brooklyn, New York.
            On July 12, 2019, Covered Person L.L., claim no. 1063254-02, was
             purportedly involved in a low-impact automobile collision, after which L.L.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 1894 Eastchester Road, Bronx, NY. On October 2, 2019,
             L.L. purportedly underwent chiropractic manipulation at 3-4 regions,
             physical therapy modalities including manual therapy, electric stimulation,
             and hot/cold packs, and acupuncture without stimulation, at the
             aforementioned No-fault Clinic. That same day, L.L. purportedly
             underwent a knee arthroscopy, purportedly performed by Defendant
             Berkowitz, through Defendant Advanced Orthopaedics, at Defendant
             Jersey City ASC, located at 550 Newark Avenue, Jersey City, New Jersey.
            On March 22, 2019, Covered Person B.C., claim no. 1055096-01, was
             purportedly involved in a low-impact automobile collision, after which B.C.
             purportedly underwent a predetermined course of treatment at a No-fault
             Clinic located at 2598 Third Avenue, Bronx, NY, NY. On June 14, 2019,
             B.C. purportedly underwent chiropractic manipulation at 3-4 regions and
             manual therapy, and acupuncture without electric stimulation at the
             aforementioned No-fault Clinic. That same day, B.C. purportedly
             underwent a knee arthroscopy, purportedly performed by Ajoy Sinha,
             through MSJR, at Defendant Fifth Avenue ASC, located at 1049 Fifth
             Avenue, New York, New York.




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         1625. The purported provision of treatment modalities and surgeries on the same day were

  not only medically unnecessary but are highly implausible, especially given the different locations

  at which the same day modalities and surgeries were purportedly rendered, the risks attendant to

  same day modalities and surgeries, and the contradictions of same day modalities and surgeries to

  pre and/or post-op instructions, reflecting that at least one or more of the same day services were

  not provided as billed.

         1626. Moreover, even assuming that at least one or more of the same-day services were

  purportedly rendered to the Covered Persons, they were not performed to treat or benefit the

  Covered Persons but rather as part of Defendants Pre-Determined Protocol to increase billing and

  maximize financial gain.

         1627. Additional representative examples of Defendants performing surgeries and/or

  procedures on the same day that treatment modalities were provided at the No-Fault Clinics is

  attached as Exhibit “18.”

         1628. Not only did the Defendants fraudulently submit inflated charges for medically

  unnecessary and illusory services, more specifically, the following interventional pain

  management and arthroscopic procedures and surgeries purportedly performed under anesthesia

  by the Surgicore Pain Management Providers, Surgicore Orthopedic Providers, and Surgicore

  Anesthesia Providers at the Surgicore ASCs were part of a Pre-Determined Protocol that were not

  indicated, not medically necessary, of no diagnostic or treatment value, and not rendered as billed.

         E.      The Fraudulent Percutaneous Discectomies

         1629. As part of the Defendants’ Pre-Determined Protocol, one or more of the Surgicore

  Pain Management Providers routinely subjected Covered Persons to lumbar and/or cervical

  percutaneous discectomies purportedly performed at the Surgicore ASCs, when in fact such




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  services were medically unnecessary, not rendered as billed and/or of no diagnostic or treatment

  value, for no other reason than to fraudulently bill American Transit.

          1630. Defendants billed the percutaneous discectomies through the Surgicore Pain

  Management Providers and their respective professional corporations, billed concomitant

  anesthesia services through the Surgicore Anesthesiologists and their respective professional

  corporations, and billed separate facility fees for the percutaneous discectomies through the

  Surgicore ASCs.

          1631. The Defendants’ charges for the percutaneous discectomies, concomitant

  anesthesia, and facility fees were fraudulent because the percutaneous discectomies and anesthesia

  services were medically unnecessary and were provided, to the extent that they were provided at

  all, pursuant to the Defendants’ pre-determined fraudulent treatment and billing protocol, and not

  to treat or otherwise benefit the Covered Persons who were purportedly subjected to percutaneous

  discectomy procedures.

          1632. Furthermore, the Defendants’ charges for percutaneous discectomies, the related

  anesthesia services, and facility fees also were fraudulent because they were the product of illegal

  referrals.

          1633.   A percutaneous discectomy is a surgical procedure for patients with radicular pain

  stemming from a contained disc protrusion (nucleus pushes against the disc, through the annulus

  and causes the disc to protrude into the spinal column), which is a specific type of disc herniation.

          1634. In general, a percutaneous discectomy is performed by placing a needle into the

  middle of the problematic spinal disc and removing a small amount of disc tissue to create empty

  space inside the disc to allow the disc to collapse on itself (i.e., allow the disc to decompress).




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          1635. A single discectomy procedure performed by an experienced medical practitioner

  takes between 10 and 30 minutes in total from the time the needle is inserted until the time it is

  removed.

          1636. Material from the periphery of the disc is not removed during this procedure and

  given that the only part of a disc that can be in direct contact with and compress the spinal nerve

  (thereby causing pain) is the periphery of the disc, percutaneous discectomy has not been

  universally recognized by the medical community to result in any meaningful decompression or

  pain relief.

          1637. Despite the fact that there is no generally accepted evidence that percutaneous

  discectomy improves patients’ results, as a matter of practice, procedure and protocol, the

  Surgicore Pain Management Providers regularly recommended, purportedly performed and billed

  for percutaneous discectomies on Covered Persons’ lumbar and/or cervical spine as part of their

  Pre-Determined Protocol.

          1638. The Surgicore Pain Management Providers recommended and purportedly

  performed lumbar and cervical percutaneous discectomies on Covered Persons which they knew

  or should have known had little if any proven treatment value for no other reason than to

  exponentially increase their billing and maximize their financial gain.

          1639. The Surgicore Pain Management Providers routinely misrepresented that the

  purported performance of percutaneous discectomies which have little to no proven treatment

  value were medically necessary and provided as billed when in fact they were not.

          1640. The performance of medically unnecessary percutaneous discectomies by one or

  more of the Surgicore Pain Management Providers endangered the health and safety of Covered




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  Persons by unnecessarily exposing them to the risks of invasive procedures in and around spinal

  structures, including paralysis and death.

         1641. The Surgicore Pain Management Providers failed to document medically sufficient

  rationales to justify the risks to the Covered Persons when purportedly performing percutaneous

  discectomies.

         1642. Even assuming that percutaneous discectomies may be effective in limited

  circumstances, percutaneous discectomies would be less indicated in the cervical spine than in the

  lumbar spine because the anatomy of the cervical spine and of the cervical discs themselves makes

  percutaneous access riskier.

         1643. On information and belief, cervical percutaneous discectomy surgery is considered

  a high risk, low reward procedure that should rarely be performed and only in the most unique of

  patient circumstances.

         1644. Nonetheless, in addition to recommending and purportedly performing lumbar

  percutaneous discectomies, the Surgicore Pain Management Providers routinely recommended

  and purportedly performed percutaneous discectomies on the Covered Persons’ cervical spine

  further exposing them to undue and serious health risks.

         1645. By way of example and not limitation:

                 Approximately 54% percent of Covered Persons who purportedly received
                  percutaneous discectomies through Total Anesthesia at, by, and through one
                  or more of the Surgicore ASCs purportedly received cervical percutaneous
                  discectomies for which Defendants billed Plaintiff;
                 Approximately 38% percent of Covered Persons who purportedly received
                  percutaneous discectomies through Kotkes PC at, by, and through one or
                  more of the Surgicore ASCs purportedly received cervical percutaneous
                  discectomies for which Defendants billed Plaintiff;
                 Approximately 33% percent of Covered Persons who purportedly received
                  percutaneous discectomies through Bowen PLLC at, by, and through one or



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                 more of the Surgicore ASCs purportedly received cervical percutaneous
                 discectomies for which Defendants billed Plaintiff;
                Approximately 35% percent of Covered Persons who purportedly received
                 percutaneous discectomies through Hall PLLC at, by, and through one or
                 more of the Surgicore ASCs purportedly received cervical percutaneous
                 discectomies for which Defendants billed Plaintiff;
                Approximately 44% percent of Covered Persons who purportedly received
                 percutaneous discectomies through Portal Medical at, by, and through one
                 or more of the Surgicore ASCs purportedly received cervical percutaneous
                 discectomies for which Defendants billed Plaintiff;
                Approximately 32% percent of Covered Persons who purportedly received
                 percutaneous discectomies through Phoenix Medical at, by, and through
                 one or more of the Surgicore ASCs purportedly received cervical
                 percutaneous discectomies for which Defendants billed Plaintiff;
                Approximately 39% percent of Covered Persons who purportedly received
                 percutaneous discectomies through KDV Medical at, by, and through one
                 or more of the Surgicore ASCs purportedly received cervical percutaneous
                 discectomies for which Defendants billed Plaintiff;
                Approximately 35% percent of Covered Persons who purportedly received
                 percutaneous discectomies through KV Medical at, by, and through one or
                 more of the Surgicore ASCs purportedly received cervical percutaneous
                 discectomies for which Defendants billed Plaintiff.
                Approximately 27% percent of Covered Persons who purportedly received
                 percutaneous discectomies through J Sports at, by, and through one or more
                 of the Surgicore ASCs purportedly received cervical percutaneous
                 discectomies for which Defendants billed Plaintiff; and
                Approximately 58% percent of Covered Persons who purportedly received
                 percutaneous discectomies through Integrated Pain Management at, by, and
                 through one or more of the Surgicore ASCs purportedly received cervical
                 percutaneous discectomies for which Defendants billed Plaintiff.

         1646. Notwithstanding their general lack of medical efficacy in most instances,

  candidates for percutaneous discectomies should first be treated conservatively to alleviate pain

  through the use and combination of pain and anti-inflammatory medication, physical therapy,

  chiropractic treatment, and time.

         1647. On information and belief, patients who fail to respond to conservative care may

  become candidates for epidural injections. If the pain persists 10 to 14 days after the administration


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  of an epidural injection (the time in which improvement, or lack thereof, would be exhibited), then

  a percutaneous discectomy may be indicated if both the stringent clinical and radiographic criteria

  are met.

         1648. On information and belief clinical criteria for percutaneous discectomy consists of

  the existence of radicular back pain (i.e., pain radiating down the leg with or without localized

  back pain). “Radiographic” consists of focal herniation in a location corresponding directly to the

  radicular pain.

         1649. As alleged in paragraphs 1601-1602 above, many of the lumbar and cervical

  percutaneous discectomies were purportedly performed on Covered Persons prematurely, if at all,

  before an adequate passage of time to allow for healing and/or before they had tried and/or failed

  any course of legitimate conservative care.

         1650. Performing percutaneous discectomies on Covered Persons before they have had

  the opportunity to recover though a course of time or care or to allow them to have the benefit of

  an adequate trial of conservative care, much less fail care is further evidence that the percutaneous

  discectomies purportedly performed by the Surgicore Pain Management Providers were excessive,

  medically unnecessary, and contrary to the standard of care.

         1651. In addition, many of the Surgicore Pain Management Doctors purportedly

  performed lumbar and cervical discectomies without satisfying the requisite clinical and

  radiographic criteria.

         1652. As alleged in paragraph 1565 above, many of the Surgicore Pain Management

  Providers’ reports do not specify the anatomic location where the surgery will be performed or

  connect the spinal level being operated on to a precise anatomic defect prior to the surgery.




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         1653. Percutaneous discectomy should never be ordered without first identifying and

  defining the levels on which the surgery is to be performed, prior to the procedure.

         1654. The Surgicore Pain Management Providers did not perform percutaneous

  discectomies, to the extent they were performed at all, to treat or benefit the Covered Persons but

  rather as a matter of course to increase billing and maximize financial gain.

         1655. The Surgicore Pain Management Providers misrepresented that the purported

  performance of percutaneous discectomies were medically necessary and provided as billed when

  in fact they were not.

         1656. Attached as Exhibit “19” is a representative list of claims in which in which

  Covered Persons who purportedly treated at one or more of the Defendant Surgicore Pain

  Management Providers were subjected to dangerous, unproven, medically unnecessary

  percutaneous discectomies as part of the Defendants Pre-Determined Protocol.

         1657. In addition to the Defendant Surgicore Pain Management Providers fraudulently

  submitting bills to American Transit for dangerous, unproven, medically unnecessary

  percutaneous discectomies, numerous other pain medical doctors and their purported professional

  corporations, who and which are not named as defendants in this Complaint but billed for such

  services at, by, and through the Surgicore ASCs, also submitted bills to American Transit pursuant

  to the same predetermined fraudulent protocol. Attached as Exhibit “20” is a representative list of

  Covered Persons who purportedly treated at one or more of the pain management doctors and their

  purported professional corporations not named as Defendants, and were subjected to dangerous,

  unproven, medically unnecessary percutaneous discectomies as part of the Defendants Pre-

  Determined Protocol.




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                   i. The Surgicore Pain Management Providers’ Fraudulent Billing Related to
                   Percutaneous Discectomy Procedures

         1658. In addition to improperly recommending and performing medically unnecessary

  percutaneous discectomies, in order to inflate their billing and exploit the No-Fault system, many

  of the Surgicore Pain Management Providers and many of the Surgicore ASCs submitted bills to

  American Transit using CPT codes that intentionally and materially misrepresented to Plaintiff

  that open spine surgeries were performed on Covered Persons’ cervical spine when in fact the

  Surgicore Pain Management Providers performed the procedures, if at all, percutaneously via

  needle puncture through the skin and not by using an open approach.

         1659. As alleged above, a fundamental condition for the use of CPT codes is that the

  provider is required to choose the most appropriate CPT code. Procedures should be billed with

  the CPT codes that most comprehensively describe the services performed. Only the single CPT

  code most accurately describing the procedure performed or service rendered should be used. If

  no such specific code exists, the provider must report the service using the appropriate unlisted

  procedure or service code (i.e. a “999” code).

         1660. According to the American Academy of Professional Coders, CPT Codes 63075

  (discectomy, anterior, with decompression of spinal cord and/or nerve root(s), including

  osteophytectomy) and 63076 (Under Anterior or Anterolateral Approach for Extradural

  Exploration/Decompression Procedures on the Spine and Spinal Cord) describe traditional/open

  discectomies, and CPT Code 62287 applies only to percutaneous discectomies performed on the

  lumbar spine.

         1661. There is no CPT Code for a cervical percutaneous discectomy, and as such, a

  cervical percutaneous discectomy should be billed using an unlisted procedure code 64999

  (unlisted procedure, nervous system).



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         1662. Both CPT codes 63075 and 63076 describe traditional, open discectomy surgeries,

  and not percutaneous procedures.

         1663. The surgical decompression procedures defined by CPT codes 63075 and 63076

  are completely different procedures than the cervical percutaneous discectomies purportedly

  performed by the Surgicore Pain Management Providers, and are reimbursable at a higher rate.

         1664. On information and belief, open discectomies are invasive, more complex

  procedures than cervical percutaneous discectomies and completely different than the procedures

  purportedly performed by the Surgicore Pain Management Providers.

         1665. On information and belief, open discectomies are used for true surgical

  decompression with direct visualization. Whereas, a percutaneous discectomy is a “blind”

  procedure done under the direction of fluoroscopy without an open incision and no direct

  visualization of the disc.

         1666. On information and belief, in an open discectomy, the surgeon decompresses the

  nerve roots/spinal cord by removing the herniated portion of the disc. Grafts are used to fill the

  empty space created by the removal of the disc. After removing the disc materials and relieving

  the pressure, the doctor closes the wound in layers.

         1667. On information and belief, open discectomies may require inpatient hospital stays

  while percutaneous discectomies are typically an outpatient procedure.

         1668. Instead of properly billing for cervical percutaneous discectomies using CPT Code

  64999, the vast majority of the Surgicore Pain Management Providers grossly misrepresented the

  services purportedly rendered by billing under CPT Codes 63075 and/or 63076, which represent

  an open spine (or traditional) discectomy procedure, not a percutaneous (or non-invasive)

  discectomy procedure. By way of example and not limitation:




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            On February 23, 2024, Covered Person J.C., Claim no. 1134614-05,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant Portal Medical billed Plaintiff
             under CPT 63075, in the amount of $3,617.86 for the surgeon’s services
             and $387.11, for a physician assistant, intentionally and materially
             misrepresenting that an open spine surgery was performed on J.C.’s,
             cervical spine, when in fact the procedure purportedly performed was a
             cervical percutaneous discectomy. Similarly, Defendant Fifth Avenue ASC
             billed Plaintiff a facility fee charge of $6,402.03 under CPT 63075
             intentionally and materially misrepresenting that an open spine surgery was
             performed on J.C.’s cervical spine, when in fact the procedure purportedly
             performed was a cervical percutaneous discectomy.
            On February 23, 2024, Covered Person H.C., Claim no. 1139581-01,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant Hall PLLC billed Plaintiff under
             CPT 63075, in the amount of $3,617.86 for the surgeon’s services, and
             $387.11 for a physician assistant, and under CPT 63076, in the amount of
             $1,214.35 for the surgeon’s services, and $129.94 for a physician assistant,
             intentionally and materially misrepresenting that an open spine surgery was
             performed on H.C.’s, cervical spine, when in fact the procedure purportedly
             performed was a cervical percutaneous discectomy. Similarly, Defendant
             Fifth Avenue ASC billed Plaintiff a facility fee charge of $6,402.03 under
             CPT 63075, and of $3,160.34 under CPT 63076, intentionally and
             materially misrepresenting that an open spine surgery was performed on
             H.C.’s cervical spine, when in fact the procedure purportedly performed
             was a cervical percutaneous discectomy.
            On November 12, 2023, Covered Person T.D., Claim no. 1125861-02,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant J Sports billed Plaintiff under CPT
             63075 in the amount of $3,617.85 for the surgeon’s services and $578.85
             for a physician assistant, intentionally and materially misrepresenting that
             an open spine surgery was performed on T.D.’s, cervical spine, when in fact
             the procedure purportedly performed was a cervical percutaneous
             discectomy. Similarly, Defendant Empire State ASC billed Plaintiff under
             CPT 63075 a facility fee charge of $6,402.03, intentionally and materially
             misrepresenting that an open spine surgery was performed on T.D’s cervical
             spine, when in fact the procedure purportedly performed was a cervical
             percutaneous discectomy.
            On June 26, 2022, Covered Person N.B., Claim no. 1113182-02,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant Total Anesthesia billed Plaintiff
             under CPT 63075 in the amount of $3,617.86 intentionally and materially
             misrepresenting that an open spine surgery was performed on N.B.’s,
             cervical spine, when in fact the procedure purportedly performed was a


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             cervical percutaneous discectomy. Similarly, Defendant All City ASC
             billed Plaintiff a facility fee charge of $6,402.03 under CPT 63075
             intentionally and materially misrepresenting that an open spine surgery was
             performed on N.B.’s cervical spine, when in fact the procedure purportedly
             performed was a cervical percutaneous discectomy.
            On January 29, 2021, Covered Person C.C., Claim no. 1088653-01,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant Total Anesthesia billed Plaintiff
             under CPT 63075, in the amount of $3,617.86, intentionally and materially
             misrepresenting that an open spine surgery was performed on C.C.’s,
             cervical spine, when in fact the procedure purportedly performed was a
             cervical percutaneous discectomy. Similarly, Defendant North Queens ASC
             billed Plaintiff a facility fee charge of $5,292.93 under CPT 63075
             intentionally and materially misrepresenting that an open spine surgery was
             performed on C.C.’s cervical spine, when in fact the procedure purportedly
             performed was a cervical percutaneous discectomy.
            On August 27, 2020, Covered Person J.P., Claim no. 1063270-01,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant Kotkes PC billed Plaintiff under
             CPT 63075, in the amount of $3,289.01 for the surgeon’s services, and
             $328.90 for a physician assistant, intentionally and materially
             misrepresenting that an open spine surgery was performed on J.P.’s,
             cervical spine, when in fact the procedure purportedly performed was a
             cervical percutaneous discectomy. Similarly, Defendant Rockaways ASC
             billed Plaintiff a facility fee charge of $5,292.93 under CPT 63075
             intentionally and materially misrepresenting that an open spine surgery was
             performed on J.P.’s cervical spine, when in fact the procedure purportedly
             performed was a cervical percutaneous discectomy.
            On December 3, 2018, Covered Person N.C., Claim no. 1022333-02,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant Phoenix Medical billed Plaintiff
             under CPT 63075 in the amount of $3,289.01, and under CPT 63076 in the
             amount of $1,103.97 intentionally and materially misrepresenting that an
             open spine surgery was performed on N.C.’s, cervical spine, when in fact
             the procedure purportedly performed was a cervical percutaneous
             discectomy. Similarly, Defendant New Horizon ASC billed Plaintiff under
             CPT 63075 a facility fee charge of $5,827.43, and under CPT 63076 a
             facility fee charge of $2,873.04 intentionally and materially misrepresenting
             that an open spine surgery was performed on N.C.’s cervical spine, when in
             fact the procedure purportedly performed was a cervical percutaneous
             discectomy.
            On November 3, 2018, Covered Person Z.Z., Claim no. 1031180-01,
             purportedly underwent a cervical percutaneous discectomy. In connection
             with this Fraudulent Service, Defendant Integrated Pain Management billed


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                 Plaintiff under CPT 63075 in the amount of $10,012.99, and under CPT
                 63076 in the amount of $1,837.46 intentionally and materially
                 misrepresenting that an open spine surgery was performed on Z.Z.’s,
                 cervical spine, when in fact the procedure purportedly performed was a
                 cervical percutaneous discectomy. Similarly, Defendant Manalapan ASC
                 billed Plaintiff under CPT 63075 a facility fee charge of $5,827.43, and
                 under CPT 63076 a facility fee charge of $2,873.04 intentionally and
                 materially misrepresenting that an open spine surgery was performed on
                 Z.Z.’s cervical spine, when in fact the procedure purportedly performed was
                 a cervical percutaneous discectomy.
                On June 25, 2018, Covered Person M.M., Claim no. 680527-02,
                 purportedly underwent a cervical percutaneous discectomy. In connection
                 with this Fraudulent Service, Defendant Phoenix Medical billed Plaintiff
                 under CPT 63075, in the amount of $10,012.99, intentionally and materially
                 misrepresenting that an open spine surgery was performed on M.M.’s,
                 cervical spine, when in fact the procedure purportedly performed was a
                 cervical percutaneous discectomy. Similarly, Defendant Jersey City ASC
                 billed Plaintiff a facility fee charge of $5,827.43 under CPT 63075
                 intentionally and materially misrepresenting that an open spine surgery was
                 performed on M.M.’s cervical spine, when in fact the procedure purportedly
                 performed was a cervical percutaneous discectomy.
                On April 13, 2022, Covered Person L.R., Claim no. 1101804-02,
                 purportedly underwent a cervical percutaneous discectomy. In connection
                 with this Fraudulent Service, Defendant Bowen PLLC billed Plaintiff under
                 CPT 63075, in the amount of $3,617.86 for the surgeon’s services, and
                 $387.11 for a physician assistant, and under CPT 63076, in the amount of
                 $1,214.35 for the surgeon’s services, and $129.94 for a physician assistant,
                 intentionally and materially misrepresenting that an open spine surgery was
                 performed on L.R.’s, cervical spine, when in fact the procedure purportedly
                 performed was a cervical percutaneous discectomy.
         1669. Defendants knew or should have known that CPT Codes 63075 and/or 63076,

  represent an open spine (or traditional) discectomy procedure, not a percutaneous (or non-invasive)

  discectomy procedure.

         1670. In fact, during his Examination Under Oath with American Transit on August 15,

  2024, Defendant Shabtian (All City ASC’s part owner and purported medical director) who

  purportedly performed and billed for cervical percutaneous discectomy through Total Anesthesia




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  at one or more of the Surgicore ASCs admitted that cervical and lumbar percutaneous discectomy

  is not an open discectomy surgery. Defendant Shabtian stated as follows:

                Q Percutaneous discectomy is not an open
                surgery, correct?
                A Again, it's without any big cuts, or
                incisions. That's correct, it's not an open
                discectomy.
                Q So it's a closed procedure?
                A Yes.

                111:9-15

                Q A percutaneous discectomy, when we are
                talking about the fact that it's not an open
                discectomy and that it's a closed procedure, that's
                the same for both a cervical percutaneous discectomy
                and a lumbar percutaneous discectomy, correct?
                A Yes.

                111:22-1112:3

                Q If you look at the procedure that's
                described, on the highlighted paragraph marked
                "procedure" in the second column on the first page
                of Exhibit 11, do you see where I'm referring to?
                It says, "percutaneous cervical
                discectomy and annuloplasty with fluoroscopy,
                anterior approach at the C5, C6 level."
                What does "anterior approach" mean?
                A It means to go from the front of the neck.
                Q That's just where the device is inserted
                into the skin, correct?
                A That is correct.
                Q Am I correct that using an anterior
                approach to a percutaneous discectomy does not make
                it an open surgery, it's still a closed procedure?
                A Yes, that is correct.

                172:3-14

         1671. During his examination under oath with American Transit Solomon Halioua, MD

  (who is not named as a Defendant herein) who purportedly performs interventional pain




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  management services through one or more of the Surgicore ASCs, including percutaneous

  discectomies similarly admitted that percutaneous discectomy is not an open surgery. Dr. Halioua

  stated as follows:

                 Q. Percutaneous discectomy, is that one
                 of the needle-based procedures that you're
                 talking about that you provide?
                 A. It's close to needle-based. I mean,
                 it's a little bigger than needle-based, but it's
                 smaller than full-on endoscopic. I mean, the
                 probes are about two, three millimeters, so I
                 don't know what you call that. You could have
                 big needles or you could have very small.
                 Q. But percutaneous discectomy is not
                 an open surgery, correct?
                 A. Correct. That is what percutaneous
                 means, it means through the skin.

                 105:13-25

         1672. The Surgicore Pain Management Providers’ and Surgicore ASCs’ practice of

  intentionally billing for open surgeries that were never performed intentionally misrepresented the

  services provided to inflate the Covered Persons’ bills mailed to Plaintiff and causing it to overpay

  for procedures that were not provided as billed.

         1673. Each of the charges for open surgery misrepresented that the Surgicore Pain

  Management Providers and Surgicore ASCs were entitled to be reimbursed for the charge, when

  in fact they were not.

         F.      The Fraudulent IDETS

         1674. When billing for lumbar and cervical percutaneous discectomies, the vast majority

  of the Surgicore Pain Management Providers intentionally inflated their bills by routinely billing

  for medically unnecessary, invalid Intradiscal Electrothermoplasty also known as annuloplasty

  (IDET) and discography (purportedly performed along with virtually every percutaneous

  discectomy).


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         1675. As part of the Defendants’ Pre-Determined Protocol, the Surgicore Pain

  Management Providers routinely subjected Covered Persons to medically unnecessary IDET

  procedures purportedly performed and billed along with virtually every percutaneous discectomy

  performed at the Surgicore ASCs.

         1676. Like the Defendants’ charges for percutaneous discectomy, the charges for IDET

  procedures were fraudulent in that IDET was medically unnecessary and performed, to the extent

  that it was performed at all, pursuant to the Defendants’ pre-determined fraudulent treatment,

  referral, and billing protocol, not to treat or otherwise benefit the Covered Persons.

         1677. On information and belief, an IDET is a minimally invasive procedure once thought

  to treat low back pain caused by either a disc injury where the nucleus moved to the outer layers

  of the disc (thereby irritating the outer layers), or where nerve fibers that have grown out from the

  outer layers into the disc interior as a result of degeneration of the annulus. IDETs (or

  annuloplasties) use thermal energy to disrupt the nerve endings within the disc, destroy the nerve

  fibers and toughen the disc tissue, sealing any small tears.

         1678. Before an IDET procedure, the patient is given a sedative and a local anesthetic.

  Then, using fluoroscopy, a physician inserts a hollow needle containing a catheter and heating

  element into the disc, positioned in a circle in the annulus, and then slowly heats the needle. In

  total, a single disc procedure performed by an experienced medical practitioner takes

  approximately 25 minutes from the time the needle is inserted until the time it is removed.

         1679. IDETs have not been evaluated in large studies and there are no recent widely

  accepted peer-reviewed studies suggesting it is medically efficacious. As a result, the vast majority

  of the medical community abandoned the IDET procedure more than a decade ago.




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         1680. In 2008, the Centers for Medicare & Medicaid Services (“CMS”) issued a national

  coverage determination ruling IDET procedures are not reasonable and necessary for the treatment

  of low back pain performed on Medicare beneficiaries. Since that time, private insurance

  companies have adopted similar coverage recommendations, and IDET is not a commonly

  performed medical procedure for any indication or any patient. It is also not a covered procedure,

  and as such, hospitals largely do not perform the procedure.

         1681. Despite the fact that IDET procedures are not generally accepted by the medical

  community and not proven to improve health outcomes, as a matter of practice, procedure, and

  protocol, the Surgicore Pain Management Providers regularly recommended, purportedly

  performed, and billed for IDET on Covered Persons’ lumbar and/or cervical spine, even though

  IDET is outdated and lacks medical efficacy.

         1682. As part of their Pre-Determined Protocol, the Surgicore Pain Management

  Providers recommended and purportedly performed IDET on Covered Persons which they knew

  or should have known was outdated and lacks medical efficacy, for no other reason than to increase

  their billing and maximize their financial gain.

         1683. The Surgicore Pain Management Providers purported performance of, and billing

  for, IDET procedures which are outdated and lack medical efficacy were not medically necessary,

  not provided as billed and materially misrepresented to Plaintiff the services purportedly rendered.

  Attached as Exhibit “21” is a representative list of claims in which Covered Persons who were

  purportedly treated at one or more of the Defendant Surgicore Pain Management Providers were

  subjected to outdated, ineffective, medically unnecessary IDET as part of the Defendants Pre-

  Determined Protocol.




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         1684. In addition to the Defendant Surgicore Pain Management Providers fraudulently

  submitting bills to American Transit for outdated, ineffective, medically unnecessary IDET,

  numerous other pain medical doctors and their purported professional corporations, who and which

  are not named as defendants in this Complaint but billed for such services at, by, and through the

  Surgicore ASCs, also submitted bills to American Transit pursuant to the same predetermined

  fraudulent protocol. Attached as Exhibit “22” is a representative list of Covered Persons who were

  purportedly treated at one or more of the pain management doctors and their purported professional

  corporations not named as Defendants, and were subjected to outdated, ineffective, medically

  unnecessary IDET as part of the Defendants Pre-Determined Protocol.

         1685. In addition to improperly recommending and performing outdated and ineffective

  IDET procedures, in most instances the Surgicore Pain Management Providers purportedly

  performed the IDET procedures on Covered Persons, in conjunction with percutaneous

  discectomies, though the medical indications for percutaneous discectomies and IDETs render

  them mutually exclusive procedures.

         1686. On information and belief, if a patient has radicular back pain and a focal disc

  herniation he/she may be a candidate for percutaneous discectomy, but not for IDET. Prior to the

  procedure being abandoned a decade ago for its lack of medical efficacy, if a patient has chronic

  and localized discogenic low back pain they may have been a candidate for IDET, but not for

  percutaneous discectomy. As such, cases where both procedures are indicated would be non-

  existent, or at least extraordinarily uncommon.

         1687. Nonetheless, many of the Surgicore Pain Management Providers regularly

  performed percutaneous discectomies in conjunction with IDET to Covered Persons. By way of

  example and not limitation:




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               Approximately all of the Covered Persons who received a percutaneous
                discectomy by Phoenix Medical, also received IDET at the same time;
               Approximately all of the Covered Persons who received a percutaneous
                discectomy by Bowen PLLC, also received IDET at the same time;
               Approximately all of the Covered Persons who received a percutaneous
                discectomy by J Sports, also received IDET at the same time;
               Approximately all of the Covered Persons who received a percutaneous
                discectomy by at KV Medical, also received IDET at the same time;
               Approximately all of the Covered Persons who received a percutaneous
                discectomy by NJ Vora, also received IDET at the same time;
               Approximately all of the Covered Persons who received a percutaneous
                discectomy by Portal Medical, also received IDET at the same time;
               Approximately all of the Covered Persons who received a percutaneous
                discectomy by Integrated Pain Management/Xie, also received IDET at the
                same time;
               Approximately 98% of the Covered Persons who received a percutaneous
                discectomy by Hall PLLC, also received IDET at the same time;
               Approximately 96% of the Covered Persons who received a percutaneous
                discectomy by at KDV Medical also received IDET at the same time; and
               Approximately 86% of the Covered Persons who received a percutaneous
                discectomy by Total Anesthesia, also received IDET at the same time.

         1688. In fact, during the examination under oath of Bowen PLLC with American Transit

  on July 25, 2023, Defendant Bowen admitted that it is his practice to perform percutaneous

  discectomy and annuloplasty together. Though, Bowen conceded that they are not typically

  performed together. He stated as follows:

                Q. So is it your practice and
                procedure, then, when performing a percutaneous
                discectomy, to always perform an annuloplasty on
                the patient?
                A. Yeah. I mean, I'm not -- I'm not
                gonna say "always," but I would say it, it --
                yes, it benefits the patient and I have better
                outcomes. And there are better outcomes in
                terms of as the things I've already mentioned,
                to do the annuloplasty while I'm already inside


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                 the disc, yes.
                 Q. So if you won't say "always," will
                 you say "most of the time?" It's your practice
                 and procedure most of the time?
                 A. Yeah, I would say most of the time;
                 yes…
                 255:19-23

                 Q. Are percutaneous discectomy, nucleus
                 ablation and/or annuloplasty typically performed
                 together or based on specific findings for each
                 patient?
                 A. It -- no, it's not typically done
                 together, but it has been shown that adding the
                 annuloplasty to the percutaneous discectomy does
                 actually improve outcome.
                 253:25-254:6.

         1689. Similarly, during Total Anesthesia’s EUO with American Transit on August 15,

  2024, Defendant Shabtian admitted that it is his practice to perform percutaneous discectomy and

  annuloplasty together. However, he conceded that at the percutaneous discectomy courses he

  attended, he was not taught to do them together. He stated as follows:

                 Q Is it the practice of Total Anesthesia to
                 perform percutaneous discectomy and annuloplasty
                 together?
                 A Yes.
                 Q For every patient that has a percutaneous
                 discectomy, right?
                 A Yes.
                 178:8-14
                 Q How is it taught when you go to these
                 percutaneous discectomy courses, is it taught to do
                 the percutaneous discectomy alone or do them
                 together?
                 A They teach them separately.
                 180:9-13

         1690. In addition to the foregoing, attached as Exhibit ”23” is a representative list of

  claims in which one or more of the Defendant Surgicore Pain Management Providers and their

  purported professional corporations improperly submitted bills to American Transit for



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  percutaneous discectomy and IDET on the same day pursuant to a predetermined fraudulent

  protocol.

         1691. In addition to the Defendant Surgicore Pain Management Providers fraudulently

  submitting bills to American Transit for percutaneous discectomy and IDET on the same day,

  numerous other pain management doctors and their purported professional corporations, who and

  which are not named as defendants in this Complaint but billed for such services at, by, and through

  the Surgicore ASCs, also submitted bills to American Transit pursuant to the same predetermined

  fraudulent protocol. Attached as Exhibit “24” is a representative list of claims in which non-

  defendant pain management doctors improperly billed percutaneous discectomy and IDET on the

  same day.

         1692. To the extent both percutaneous discectomy and IDET are somehow indicated, the

  clinical rationale for performing IDETs and percutaneous discectomies simultaneously should be

  described in the Covered Persons’ medical records, which it is not.

         1693. The Surgicore Pain Management Providers purportedly performed IDETs and

  percutaneous discectomies simultaneously for no other reason than to increase their billing and

  maximize their financial gain.

         1694. The Surgicore Pain Management Providers purported dual performance of

  percutaneous discectomies and IDET which are not medically indicated to be performed together

  and in and of themselves lack medical efficacy were not medically necessary, and therefore not

  provided as billed and constitute material misrepresentations of the services rendered.

         1695. Even more troubling, the implausibly short duration of the purported dual

  percutaneous discectomy and IDET procedures purportedly performed by the Surgicore Pain




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  Management Providers make it highly unlikely that the procedures were medically necessary

  and/or were performed at all.

         1696. While a percutaneous discectomy and IDET performed together would be expected

  to take approximately 35 minutes from the time of the first insertion to the time the last needle is

  taken out, the procedures administered by many of the Surgicore Pain Management Providers took

  less than 15 minutes, and some as little as 3 minutes. By way of example and not limitation:

                Covered Person I.P., claim number 1113092-01 lumbar percutaneous
                 discectomy and IDET procedure (along with discogram, epidural steroid
                 and trigger point injection) purportedly performed on 09-10-2022 by
                 Defendant Vora through KDV Medical at North Queens ASC took only 12
                 minutes from the time of incision until surgery end;
                Covered Person D.C., claim number 1120181-01 lumbar percutaneous
                 discectomy and IDET procedure (along with discogram, epidural steroid
                 and trigger point injection) purportedly performed on 10-07-2022 by
                 Defendant Vora through KDV Medical at North Queens ASC took only 14
                 minutes from the time of incision until surgery end;
                Covered Person I.R. claim number 1122619-03 lumbar percutaneous
                 discectomy and IDET purportedly performed on 05-04-23 by Defendant
                 Kotkes through Kotkes PC at Rockaways ASC took only 3 minutes from
                 the time of incision until surgery end;
                Covered Person S.W. claim number 1090180-02 cervical percutaneous
                 discectomy and IDET purportedly performed on 02-08-21 by Defendant
                 Kotkes through Kotkes PC at All City ASC took only 5 minutes, and the
                 lumbar percutaneous and IDET purportedly performed on 02-23-21 by
                 Defendant Kotkes through Kotkes PC at Rockaways ASC took only 4
                 minutes from the time of incision until surgery end;
                Covered Person J.S. claim number 1098288-05 cervical percutaneous
                 discectomy and IDET purportedly performed on 12-03-21 by Defendant
                 Hall through Hall PLLC at Rockaways ASC took only 14 minutes and the
                 and the lumbar percutaneous and IDET purportedly performed on 02-11-22
                 by Defendant Hall through Hall PLLC at Rockaways ASC took only 4
                 minutes from the time of incision until surgery end;
                Covered Person A.C. claim number 1101437-02 cervical percutaneous
                 discectomy and IDET purportedly performed on 11-14-21 by
                 Defendant Jimenez through J Sports at Rockaways ASC took only 7
                 minutes from the time of incision until surgery end;



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                Covered Person A.A. claim number 1099557-01 lumbar percutaneous
                 discectomy and IDET purportedly performed on 01-30-22 by Defendant
                 Jimenez through J Sports at Rockaways ASC took only 10 minutes from the
                 time of incision until surgery end;
                Covered Person E.K., claim number 1114475-01 lumbar percutaneous
                 discectomy and IDET purportedly performed on 02-16-23 by Defendant
                 Shabtian through Total Anesthesia at North Queens ASC took only 7
                 minutes from the time of incision until surgery end;
                Covered Person T.B., claim number 1114475-02 lumbar percutaneous
                 discectomy and IDET purportedly performed on 02-16-23 by Defendant
                 Shabtian through Total Anesthesia at North Queens ASC took only 8
                 minutes from the time of incision until surgery end;
                Covered Person E.A.O. claim number 1124002-03 lumbar percutaneous
                 discectomy and IDET purportedly performed on 03-29-23 by Defendant
                 Bowen through Bowen PLLC at Rockaways ASC took only 3 minutes from
                 the time of incision until surgery end; and
                Covered Person R.O., claim number 1124002-01 cervical percutaneous
                 discectomy and IDET procedure (along with discogram) purportedly
                 performed on 04-11-23 by Defendant Bowen through Bowen PLLC at
                 Rockaways ASC took only 5 minutes from the time of incision until surgery
                 end.

         G.      The Fraudulent Discograms

         1697. As part of the Defendants’ predetermined fraudulent protocol, the vast majority of

  the Surgicore Pain Management Providers also routinely subjected Covered Persons to medically

  unnecessary discograms (attendant to the percutaneous discectomies) performed at, by, and

  through one or more of the Surgicore ASCs, that are not actually being used as diagnostic tools to

  advance the Covered Persons’ treatment.

         1698. Like the Defendants’ charges for percutaneous discectomy, the charges for

  discograms were fraudulent in that discograms were medically unnecessary and performed, to the

  extent they were performed at all, pursuant to the Defendants’ pre-determined fraudulent

  treatment, referral, and billing protocol, not to properly treat or otherwise benefit the Covered

  Persons.



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         1699. On information and belief, a discogram is an invasive procedure used to ascertain

  if a disc is symptomatic and responsible for the pain reported by the patient.

         1700. On information and belief, a discogram provides a radiographical evaluation of the

  integrity of the nucleus and annular rings to determine tears or other lesions that could be the cause

  of the pain.

         1701. On information and belief, a discogram should be performed diagnostically for the

  purpose of obtaining information to help determine whether to perform a percutaneous discectomy,

  not merely in conjunction with one as a matter of course.

         1702. A discogram evaluates disc pathology in persons with persistent, severe pain and

  abnormalities on MRIs where other diagnostic tests have failed to reveal clear confirmation of a

  suspected disc as the source of pain. Discograms should only be considered for patients who,

  despite extensive conservative treatment, have disabling pain.

         1703. A discogram is performed by inserting a needle into the center of a spinal disc

  (using fluoroscopic guidance to ensure the needle is accurately placed) and injecting radiographic

  contrast dye, followed by computed tomography to examine the disc abnormality.

         1704. On information and belief, a discogram should be performed using control

  injections at the adjacent levels to make certain they do not reproduce the same pain. Three discs

  (including control discs) should be injected and included on a study to be completed

  contemporaneously by the physician performing the discogram.

         1705. When performing a discogram, each disc should be “pressurized” slowly one at a

  time with a manometer to evaluate any pain reproduction. Pressurization consists of injecting small

  amounts of a sterile liquid (usually contrast material or x-ray dye) into the center of the disc. After

  each level is pressurized, pictures are taken with the fluoroscopic unit and the needles are removed.




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          1706. The patient is awake and alert during the discogram so that he or she can report any

  pain or pressure experienced from the injection. A normal disc should not cause pain when

  injected. If the injection recreates the patient’s back pain, that disc is verified as the pain source (a

  positive result), so long as control injections at the adjacent levels do not reproduce the same pain.

  A negative result occurs when the discogram causes no pain or only mild pressure, indicating the

  disc is not the source of the pain.

          1707. The medical utility of a discogram is heavily debated, with a portion of the medical

  community of the opinion that pain provoked by a discogram performed on a normal appearing

  disc (on MRI) was likely due to increased pain sensitivity and false positives, such that discograms

  are not diagnostically reliable and the clinical results are often inconclusive.

          1708. On information and belief, there are also concerns regarding the safety of

  discograms. Specifically, risks to Covered Persons subjected to discograms include increased pain

  from the puncture and injection of contrast into the disc, accelerated disc degeneration, disc

  herniation, and loss of disc height and signal intensity in the disc.

          1709. Despite the concerns regarding the reliability, utility, and safety of discograms, as

  a matter of practice, procedure, and protocol, the Surgicore Pain Management Providers regularly

  recommended, purportedly performed and billed for discograms on Covered Persons’ lumbar

  and/or cervical spine.

          1710. As part of their Pre-Determined Protocol, the Surgicore Pain Management

  Providers recommended and purportedly performed discograms on Covered Persons which they

  knew or should have known lacked diagnostic reliability and utility and posed safety risks to

  Covered Persons, for no other reason than to exponentially increase their billing and maximize

  their financial gain.




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         1711. Attached as Exhibit “25” is a representative list of claims in which Covered Persons

  who were purportedly treated at one or more of the Defendant Surgicore Pain Management

  Providers were subjected to unreliable, unsafe, medically unnecessary discograms as part of the

  Defendants Pre-Determined Protocol.

         1712. In addition to the Defendant Surgicore Pain Management Providers fraudulently

  submitting bills to American Transit for outdated, ineffective, medically unnecessary IDET,

  numerous other pain management doctors and their purported professional corporations, who and

  which are not named as defendants in this Complaint but billed for such services at, by, and through

  the Surgicore ASCs, also submitted bills to American Transit pursuant to the same predetermined

  fraudulent protocol. Attached as Exhibit “26” is a representative list of Covered Persons who were

  purportedly treated at one or more of the pain management doctors and their purported professional

  corporations not named as Defendants, and were subjected to unreliable, unsafe, medically

  unnecessary discograms as part of the Defendants Pre-Determined Protocol.

         1713. The Surgicore Pain Management Providers’ purported performance of discograms

  was not medically necessary, not provided as billed, and materially misrepresented the services

  rendered.

         1714. In addition to improperly recommending and performing medically unnecessary

  discograms, the vast majority of Surgicore Pain Management Providers failed to perform

  discogram in a valid manner violating the standard of care.

         1715. Many of the Surgicore Pain Management Providers’ procedure reports contain the

  same boilerplate language purporting to describe the discogram procedure, which fail to document

  the Covered Persons’ pain responses, undermining the reliability, validity and credibility of the

  discograms they purported to perform. By way of example and not limitation:




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                J Sports’ Operative Report, dated 12-13-20,for a purported discogram
                 procedure submitted to Plaintiff that relates to Covered Person T.B. under
                 claim number 1074360-04 on that was purportedly performed at Fifth
                 Avenue Surgical Center fails to document the Covered Person’s pain
                 response.
                Bowen PLLC’s Operative Report dated 09-23-21 for a purported discogram
                 procedure submitted to Plaintiff that relates to Covered Person B.J.R. under,
                 claim number 1097264-01 that was purportedly performed at North Queens
                 Surgical Center fails to document the Covered Person’s pain response.
                Hall PLLC’s Operative Report dated 02-11-22 for a purported discogram
                 procedure submitted to Plaintiff that relates to Covered Person J.S. under
                 claim number 1098288-05 that was purportedly performed at Rockaways
                 ASC fails to document the Covered Person’s pain response, and is notably
                 identical to Bowen PLLC’s report description.
                Kotkes PC’s Operative Report dated 06-24-19 for a purported discogram
                 procedure submitted to Plaintiff that relates to Covered Person S.L. under,
                 claim number 1056349-02 that was purportedly performed at All City ASC
                 fails to document the Covered Person’s pain response.
                Portal Medical’s Operative Report dated 03-20-23 for a purported
                 discogram procedure submitted to Plaintiff that relates to Covered J.W.,
                 under claim number 1125330-01 that was purportedly performed at
                 Rockaways ASC fails to document the Covered Person’s pain response.
                PM&R’s Operative Report dated 02-13-23 for a purported discogram
                 procedure submitted to Plaintiff that relates to Covered Person C.H. under
                 claim number 1121368-01 that was purportedly performed at Fifth Avenue
                 ASC fails to document the Covered Person’s pain response.

         1716. The above are only representative examples. The Surgicore Pain Management

  Providers’ procedure reports (or other medical records) virtually all lack evidence that the

  Surgicore Pain Management Providers actually performed valid discograms or that any diagnostic

  information was obtained for patient diagnosis by simply injecting contrast material in conjunction

  with a scheduled discectomy.

         1717. The Surgicore Pain Management Providers did not perform discograms in an effort

  to diagnose the location of any disc pain or to assist in performing percutaneous discectomies but

  rather as a matter of course to increase billing and maximize financial gain.



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          1718. Therefore, the Surgicore Pain Management Providers purported performance of

  discograms was medically unnecessary, not provided as billed and materially misrepresented the

  services rendered.

          H.     The Fraudulent Epidural Steroid Injections

          1719. As part of the Defendants’ fraudulent Pre-Determined Protocol, many of the

  Surgicore Pain Management Providers routinely subjected Covered Persons to medically

  unnecessary epidural steroid injections performed at, by, and through one or more of the Surgicore

  ASCs.

          1720. Like the Defendants’ charges for the other fraudulent interventional pain

  management services alleged above, the charges for epidural steroid injections were fraudulent in

  that epidural steroid injections were medically unnecessary and performed, to the extent they were

  performed at all, pursuant to the Defendants’ pre-determined fraudulent treatment, referral, and

  billing protocol, not to properly treat or otherwise benefit the Covered Persons.

          1721. On information and belief, an epidural steroid injection (ESI) is a nerve block

  injection designed to target a specific nerve root and relieve radicular complaints (i.e., radial pain)

  in the arm, shoulder, buttocks, thigh, or leg that results from a nerve root getting inflamed or

  pinched. ESIs are designed to treat discogenic pain that impacts a larger region or area (including

  the back) and are commonly used in legitimate pain management practices on patients who are

  appropriate candidates for the injection.

          1722. On information and belief, due to the risks presented by ESIs, including but not

  limited to Covered Persons’ exposure to radiation associated with the fluoroscopy, the potential

  side effects and complications from steroids, the direct procedure risks of bleeding, infection,

  nerve injury, paralysis and death, and the side effects and complications of sedation, ESIs should




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  only be performed when appropriate indications are present, and when medically necessary to

  diagnose and/or treat pain, to alleviate pain to facilitate conservative care, or to alleviate pain after

  conservative care has failed or is not an option.

          1723. On information and belief, before recommending and performing an ESI on

  Covered Persons, a thorough physical examination must be conducted involving orthopedic and

  neurological testing. This testing is required to evaluate for associated sensory, motor, or reflex

  deficits in the involved limb(s), to help guide treatment, and to establish a baseline status before

  initiating an invasive treatment such as injections. The clinical findings and indications must be

  correlated with radiologic evidence of nerve-root irritation, inflammation, or compression at spinal

  levels that are consistent with the distribution of the patients’ nerve-related pain, and/or physical

  examination findings and that may be attributable to pathologies in and around the nerve roots.

          1724. As alleged above, many of the Surgicore Pain Management Providers’ cursory

  Initial Exam Reports failed to document legitimate symptoms or findings to advance Covered

  Persons to ESIs.

          1725. The Surgicore Pain Management Providers also routinely failed to document their

  reasoning or otherwise included boilerplate language in their Initial Exam Reports to attempt to

  justify the performance of ESIs.

          1726. The Surgicore Pain Management Providers’ assessment and plan sections of their

  Initial Exam Reports included generic language that routinely failed to detail what specific

  segments of the spine were involved and thus considered for ESI. By way of example and not

  limitation:

                 Bowen PLLC’s Initial Exam Report dated 06-08-21 submitted to Plaintiff
                  that relates to Covered Person B.J.R. under claim number 1097264-01,
                  generally states “Epidural Injections,” and fails to detail the specific
                  segment of the spine to be injected.



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                Hall PLLC’s Initial Exam Report dated 10-04-21 submitted to Plaintiff that
                 relates to Covered Person, J.S. under claim number 1098288-05, generally
                 states “Epidural Injections” and fails to detail the specific segment of the
                 spine to be injected.
                Total Anesthesia’s Initial Exam Report dated 09-25-23 submitted to
                 Plaintiff that relates to Covered Person, S.N. under claim number 1136698-
                 02, generally states that “Lumbar Epidural Steroid is indicated” and fails to
                 detail the specific segment of the spine to be injected.
                Total Anesthesia’s Initial Exam Report dated 10-16-23 submitted to
                 Plaintiff that relates to Covered Person, S.C. under claim number 1134645-
                 01, generally states that “Cervical Epidural Steroid is indicated” and fails to
                 detail the specific segment of the spine to be injected.
         
                Integrated Pain Management’s Initial Exam Report dated 07-31-18
                 submitted to Plaintiff that relates to Covered Person G.Z. under claim
                 number 1032903-03, generally states only Cervical Interlaminar Epidural
                 and fails to detail the specific segment of the spine to be injected.

         1727. An interventional procedure such as an ESI should never be authorized without

  defining the specific levels on which they are to be performed prior to the procedure (i.e., L3-L4).

  Nonetheless, many of the Surgicore Pain Management Providers purportedly performed ESIs

  without specifying the anatomic location in which the injection would be performed.

         1728. Even more troubling, many of the Surgicore Pain Management Providers’ Epidural

  Steroid Injection Reports fail to document the specific location of the purported injection and thus

  do not accurately reflect the services purportedly performed. By way of example and not

  limitation:

                Bowen PLLC’s operative report for a purported lumbar epidural steroid
                 injection submitted to Plaintiff that relates to Covered Person J.F. under
                 claim number 1102308-01, that was purportedly performed at Rockaways
                 ASC fails to specify the location of the purported injection.
                Bowen PLLC’s operative report dated 03-19-23 for a purported lumbar
                 epidural steroid injection submitted to Plaintiff that relates to Covered
                 Person I.J. under claim number 1120701-01, that was purportedly
                 performed at Rockaways ASC fails to specify the location of the purported
                 injection.


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                  Kotkes PC’s operative report dated 12-02-19 for a purported lumbar
                   epidural steroid injection submitted to Plaintiff that relates to Covered
                   Person S.K. under claim number, that was purportedly performed at All City
                   ASC fails to specify the location of the purported injection and appears to
                   be nothing more than a template virtually identical to Bowen PLLC’s report.

           1729. The Surgicore Pain Management Providers’ operative reports’ failure to set forth

  any detailed description of the injection procedure supports that the injections were not performed

  and/or that the injections were not provided as billed to Plaintiff.

           1730.   Some of the Surgicore Pain Management Providers’ Epidural Steroid Injection

  Reports further purport to perform injections at more than one level (i.e. C4-C5 and C5-C6), but

  contain nothing more than a single paragraph of boilerplate language that fails to sufficiently

  document the procedure at each different level. These reports do not accurately reflect the services

  purportedly performed and suggests that the injections were not provided as billed to Plaintiff.

           1731. By way of example and not limitation, Phoenix Medical’s operative report dated

  01-17-19 for a purported cervical epidural steroid injections at levels C4-C5 and C5-C6 submitted

  to Plaintiff that relate to Covered Person D.B. under claim number 1033148-03, purportedly

  performed at New Horizon ASC, fails to sufficiently document the procedure at each different

  level.

           1732. As set forth above, the Surgicore Pain Management Providers did not perform ESIs,

  to the extent they were performed at all, to properly treat or benefit the Covered Persons but rather

  as a matter of course to increase billing and maximize financial gain.

           1733. In many instances, ESIs were administered to Covered Persons solely in

  furtherance of Defendants’ fraudulent treatment protocol designed to provide a false justification

  for percutaneous discectomies.




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         1734. During Total Anesthesia ’s examination under oath with American Transit on 08-

  15-24 (116:2-18), Shabtian stated that a failed epidural steroid is necessary before proceeding with

  a percutaneous discectomy and annuloplasty.

                 Q Do you need a failed injection in order to
                 say a percutaneous discectomy and annuloplasty are
                 necessary?
                 A Most of the time, yes.
                 Q When wouldn't you need a failed injection?
                 A What is the question, ma'am?
                 Q You said most of time you need a failed
                 injection to say that a percutaneous discectomy and
                 annuloplasty are necessary?
                 A Yes.
                 Q What would be those times where you would
                 not need a failed injection?
                 A If the patient is allergic to steroid
                 medication or if they absolutely refuse any type of
                 injections, saying that they have had it in the past
                 and they don't want any injection going into their
                 body, but they are very far and few in between.

         1735. Defendant Shabtian’s testimony agrees that the Surgicore Pain Management

  Providers’ purported performance of ESIs was medically unnecessary, not provided as billed and

  materially misrepresented to Plaintiff the services rendered.

         I.      The Fraudulent Epidurograms

         1736. In order to maximize their fraudulent charges for medically unnecessary pain

  management injections purportedly provided to Covered Persons the vast majority of Surgicore

  Pain Management Providers frequently submitted separate charges for epidurograms, purportedly

  performed concurrently with epidural steroid injections, that were not actually being used as

  diagnostic tools to advance the Covered Persons’ treatment.

         1737. Like the Defendants’ charges for the epidural steroid injections, the charges for

  epidurograms were fraudulent in that the epidurograms were medically unnecessary and

  performed, to the extent that they were performed at all, pursuant to the Defendants’ pre-


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  determined fraudulent treatment, referral, and billing protocol, not to properly treat or otherwise

  benefit the Covered Persons.

         1738. On information and belief, epidurography is performed to assess the structure of

  the epidural space in the spine. This outpatient procedure is done (without sedation) before epidural

  steroids are administered, to ensure accurate delivery of the therapeutic material to the pain source.

         1739. On information and belief, to perform an epidurogram, a physician or radiologist

  uses x-ray-guidance (fluoroscopy) to insert a thin needle into the skin and directs the needle toward

  the epidural space at the desired location (i.e., level) in the spine. Once the needle is inserted, the

  doctor injects dye. The x-ray allows the physician or radiologist to document the dispersion of the

  contrast dye, providing an outline of compressed nerve roots which enables the medical provider

  to make an informed diagnosis as to the source of pain.

         1740. A physician can only bill CPT Code 72275 (epidurogram) if a separate diagnostic

  study is performed, including a permanent radiologic image of the epidural space along with

  interpretation and written report. The written report must support the medical necessity for the test

  and offer a description of the findings. For example, the written report should show the physician

  injected contrast into the epidural space under direct fluoroscopy for a diagnostic study. The report

  should also indicate the observed direction of the flow—noting any obstructions of the contrast

  dye in the space around the nerves—to help the medical provider diagnose compressive lesions,

  narrowing and swelling around the nerve or nerve roots, and/or intervertebral disc herniations.

         1741. On information and belief, mapping the epidural space to determine needle

  placement through the use of an epidurogram is not medically necessary each time a medical

  provider performs an ESI.




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         1742. Notwithstanding, the Surgicore Pain Management Providers purported to

  administer epidurograms every time they purportedly performed an epidural injection as a matter

  of course and without appropriate medical justification. Attached as Exhibit “27” is a

  representative list of claims in which one or more of the Defendant Surgicore Pain Management

  Providers and their purported professional corporations improperly submitted bills to American

  Transit for epidurograms purportedly administered concomitant to epidural steroid injections

  purportedly performed pursuant to a predetermined fraudulent protocol.

         1743. In addition to the Defendant Surgicore Pain Management Providers fraudulently

  submitting bills to American Transit for epidurograms purportedly administered concomitant to

  epidural steroid injections purportedly performed, numerous other pain management doctors and

  their purported professional corporations, who and which are not named as defendants in this

  Complaint but billed for such services at, by, and through the Surgicore ASCs, also submitted bills

  to American Transit pursuant to the same predetermined fraudulent protocol. Attached as Exhibit

  “28” is a representative list of claims in which non-defendant pain management doctors improperly

  billed for epidurograms purportedly administered concomitant to epidural steroid injections

  purportedly performed.

         1744. Virtually all of the Surgicore Pain Management Providers’ documentation of the

  epidurograms purportedly performed on Covered Persons were also deficient in that the reports

  failed to indicate the specific levels on which epidurograms were purportedly performed on each

  Covered Person, but simply referenced the general location of the procedure (i.e., lower lumber

  interlaminar rather than L3) and failed to include any discussion of the results of the purported

  epidurogram. By way of example and not limitation:

                Bowen PLLC’s epidurogram report dated 11-21-21 for an epidurogram,
                 submitted to Plaintiff that relates Covered Person J.F. under claim number



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                 1102308-01 that was purportedly performed at Rockaways ASC only
                 references the general location of the procedure at the “low lumbar
                 interlaminar space” and fails to include any discussion of the results of the
                 epidurogram.
                Hall PLLC’s epidurogram report dated 12-17-21 for an epidurogram,
                 submitted to Plaintiff that relates Covered Person J.S. under claim number
                 1098288-05 that was purportedly performed at Rockaways ASC only
                 references the general location of the procedure at the “low lumbar
                 interlaminar space” and fails to include any discussion of the results of the
                 epidurogram.

         1745. The above demonstrates the Surgicore Pain Management Providers did not perform

  epidurograms as a medically necessary diagnostic test to aid in the Patient’s recovery, but rather

  performed the test (if at all) as part of the Defendants Pre-Determined protocol aimed at

  maximizing charges to American Transit.

                   i. The Fraudulent Charges For Epidurogram

         1746. In that regard, not only did the Surgicore Pain Management Doctors routinely bill

  for medically unnecessary epidurograms but many of the Surgicore Pain Management Doctors

  also routinely and fraudulently unbundled separate charges for epidurography from underlying

  injection charges, in a calculated effort to increase their billing and maximize financial gain.

         1747. The Fee Schedule describes CPT 62321 as Injection(s), of diagnostic or therapeutic

  substance(s) (e.g., anesthetic, antispasmodic, opioid, steroid, other solution), not including

  neurolytic substances, including needle or catheter placement, interlaminal epidural or

  subarachnoid, cervical or thoracic, with imaging guidance (i.e., fluoroscopy or CT).

         1748. The Fee Schedule describes CPT 62323 as Injection(s), of diagnostic or therapeutic

  substance(s) (e.g., anesthetic, antispasmodic, opioid, steroid, other solution), not including

  neurolytic substances, including needle or catheter placement, interlaminal epidural or

  subarachnoid, lumbar or sacral (caudal);, with imaging guidance (i.e., fluoroscopy or CT).




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         1749. The Fee Schedule describes CPT 72275 as radiological supervision and

  interpretation of epidurography.

         1750. Pursuant to the CPT code, epidurography (CPT 72275) should not have been billed

  when the contrast injection was part of the fluoroscopic guidance and contrast injection to confirm

  correct needle placement that was integral to the epidural injections.

         1751. As a result, the Surgicore Pain Management Doctors are not entitled to be

  reimbursed separately for epidurography under CPT code 72275 when billing for pain

  management injections under CPT codes 62321, and/or 62323.

         1752. CPT 72275 was deleted from the CPT code effective January 1, 2022 and as of the

  effective date of the deletion was no longer considered a CPT code and thus would not be valid

  for billing purposes. Nor would the Surgicore Pain Management Doctors be entitled to

  reimbursement under CPT code 72275.

         1753. Nevertheless, many of the Surgicore Pain Management Doctors routinely

  unbundled billing for epidurography from the underlying injection charges and/or billed for

  epidurograhy using the deleted CPT, so as to maximize the amount of fraudulent billing they could

  submit to American Transit. By way of example and not limitation:

                On October 17, 2023, Covered Person I.S., Claim no. 1133556-02,
                 purportedly underwent epidural steroid injections, purportedly performed
                 with an epidurography at Defendant All City ASC, for which, Defendant
                 Portal Medical unbundled a separate charge of $460.86 for epidurography
                 under CPT code 72275 from a charge under CPT code 62323 for epidural
                 steroid injections.
                On March 5, 2024, Covered Person V.J., Claim no. 1077803-04,
                 purportedly underwent epidural steroid injections, purportedly performed
                 with an epidurography at Defendant New Horizon ASC, for which,
                 Defendant Xie unbundled a separate charge of $182.38 for epidurography
                 under CPT code 72275 from a charge under CPT code 62321 for epidural
                 steroid injections.




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            On March 25, 2023, Covered Person N.P., Claim no. 1121572-01,
             purportedly underwent epidural steroid injections, purportedly performed
             with an epidurography at Defendant Saddlebrook ASC, for which,
             Defendant J Sports unbundled a separate charge of $460.86 for
             epidurography under CPT code 72275 from a charge under CPT code 62323
             for epidural steroid injections.
            On December 11, 2021, Covered Person K.D., Claim no. 1104234-02,
             purportedly underwent epidural steroid injections, purportedly performed
             with an epidurography at Defendant New Horizon ASC, for which,
             Defendant Integrated Pain Management unbundled a separate charge of
             $572.53 for epidurography under CPT code 72275 from a charge under CPT
             code 62321 for epidural steroid injections.
            On November 19, 2021, Covered Person B.G., Claim no. 1103173-01,
             purportedly underwent epidural steroid injections, purportedly performed
             with an epidurography at Defendant Rockaways ASC, for which, Defendant
             Hall PLLC unbundled a separate charge of $460.86 for epidurography
             under CPT code 72275 from a charge under CPT code 62323 for epidural
             steroid injections.
            On October 14, 2021, Covered Person J.A., Claim no. 1096252-01,
             purportedly underwent epidural steroid injections, purportedly performed
             with an epidurography at Defendant Rockaways ASC, for which, Defendant
             Kotkes PC unbundled a separate charge of $460.86 for epidurography under
             CPT code 72275 from a charge under CPT codes 62321 for epidural steroid
             injections. Thereafter, on November 4, 2021, J.A. purportedly underwent
             another round of epidural steroid injections, purportedly performed with an
             epidurography at Defendant Rockaways ASC, for which, Defendant Kotkes
             PC unbundled a separate charge of $460.86 for epidurography under CPT
             code 72275 from a charge under CPT codes 62323 for epidural steroid
             injections.
            On September 18, 2021 and February 19, 2022, Covered Person J.L., Claim
             no. 1100512-01, purportedly underwent rounds of epidural steroid
             injections, purportedly performed with an epidurography at Defendant
             North Queens ASC, for which, on both occasions, Defendant KDV Medical
             unbundled a separate charge of $460.86 for epidurography under CPT code
             72275 from a charge under CPT code 62323 for epidural steroid injections.
            On October 31, 2020, and November 8, 2020, Covered Person A.M., Claim
             no. 1088558-01, purportedly underwent epidural steroid injections, in both
             instances purportedly performed with an epidurography at Defendant Fifth
             Avenue ASC, for which, on both occasions, Defendant Bowen unbundled a
             separate charges of $460.86 for epidurography under CPT code 72275 from
             charges under CPT code 62323 for epidural steroid injections.




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                On September 22, 2022, Covered Person A.M., Claim no. 1084559-02,
                 purportedly underwent epidural steroid injections, purportedly performed
                 with an epidurography at Defendant North Queens ASC, for which,
                 Defendant Vora PC unbundled a separate charge of $572.53 for
                 epidurography under CPT code 72275 from a charge under CPT code 62321
                 for epidural steroid injections.
                On January 28, 2020, Covered Person V.V., Claim no. 1067343-01,
                 purportedly underwent epidural steroid injections, purportedly performed
                 with an epidurography at Defendant North Queens ASC, for which,
                 Defendant Total Anesthesia unbundled a separate charge of $460.86 for
                 epidurography under CPT code 72275 from a charge under CPT codes
                 62323 for epidural steroid injections. Thereafter, on February 17, 2020,
                 V.V. purportedly underwent another round of epidural steroid injections,
                 purportedly performed with an epidurography at Defendant North Queens
                 ASC, for which, Defendant Total Anesthesia unbundled a separate charge
                 of $460.86 for epidurography under CPT code 72275 from a charge under
                 CPT code 62321 for epidural steroid injections.

         1754.   In addition to the foregoing, a representative sample of claims in which the

  Surgicore Pain Management Doctors routinely unbundled billing for epidurography from the

  underlying injection charges and/or billed for epidurograhy using the deleted CPT, is included in

  Exhibit “27” in the compendium of exhibits. Each of the unbundled charges for epidurography

  constitute a misrepresentation that the Surgicore Pain Management Doctors were entitled to be

  reimbursed for the charge, when in fact they were not.

         J.      Fraudulent Trigger Point Injections

         1755. As part of the Defendants’ Pre-Determined Protocol, one or more of the Surgicore

  Pain Management Providers routinely subjected Covered Persons to medically unnecessary trigger

  point injections performed at one or more of the Surgicore ASCs.

         1756. Like the Defendants’ charges for pain management injections, the charges for

  trigger point injections were fraudulent in that the trigger point injections were medically

  unnecessary and performed, to the extent that they were performed at all, pursuant to the




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  Defendants’ pre-determined fraudulent treatment, referral, and billing protocol, not to properly

  treat or otherwise benefit the Covered Persons.

         1757. Trigger points also known as trigger sites or muscle knots are typically

  characterized by a tender and painful spot in a tight band of skeletal muscle that can be detected

  by muscle palpation.

         1758. A trigger point injection involves inserting a needle into the muscle knot and

  injecting a small amount of medication, typically a local anesthetic and sometimes a corticosteroid,

  into the affected area with the goal of reducing localized pain by relaxing the affected muscles

  and/or reducing referred pain by interrupting the nerve signaling pathways that cause referred pain.

         1759. On information and belief, there is no generally accepted evidence that injecting

  medication into trigger points improves patients’ results.

         1760. On information and belief, trigger point injections should not be used for acute neck

  pain but can be used adjunctively with other therapies in non-acute (chronic) neck pain.

         1761. On information and belief, trigger point injections are considered medically

  necessary only when the trigger point is presently causing tenderness and/or weakness, restricting

  motion, and/or causing referred pain when compressed.

         1762. On information and belief, trigger point injections should only be utilized either as

  a second or third options for non-acute pain that is not resolving with more conservative means

  (e.g., NSAIDs, exercises) within a six-week time frame.

         1763. On information and belief, administering trigger point injections before the patient

  has completed a minimum of six weeks (and, generally, at least three months) of conservative

  therapy is excessive and medically unnecessary.




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         1764. Even so, similar to the other interventional pain management procedures discussed

  herein, the Surgicore Pain Management Providers purportedly performed trigger point injections

  to Covered Persons before the Covered Persons had pain symptoms that persisted for more than

  three months, and/or before the Covered Persons had failed or been intolerant of more conservative

  therapies for at least six weeks. By way of example and not limitation:

                On January 25, 2023, Covered Person J.W., Claim no. 1125330-01, was
                 purportedly involved in a low-impact automobile collision.
                 Notwithstanding that, starting on or about February 1, 2023, J.W.
                 purportedly underwent a predetermined treatment protocol at a No-fault
                 Clinic located at 82-25 Queens Blvd, Elmhurst, NY, disguised as a
                 legitimate conservative course of treatment, J.W. purportedly underwent
                 trigger point injections on March 10, 2023, purportedly performed by
                 Defendant Portal, through Defendant Portal Medical at Defendant
                 Rockaways ASC, only 44 days following the purported collision and only
                 37 days into J.W.’s purported course of treatment.
                On September 18, 2022, Covered Person P.R., Claim no. 1119135-01, was
                 purportedly involved in a low-impact automobile collision. Thereafter,
                 starting on or about September 21, 2022, P.R. purportedly underwent a
                 predetermined treatment protocol at a No-fault Clinic located at 607
                 Westchester Avenue, Bronx, NY, disguised as a legitimate conservative
                 course of treatment. Notwithstanding the foregoing, P.R. purportedly
                 underwent trigger point injections on October 14, 2022, and October 21,
                 2022, purportedly performed by Defendant Hall, through Defendant Hall
                 PLLC, at Defendant Rockaways ASC, only 26 days and 33 days,
                 respectively, following the purported collision, and only 23 days and 30
                 days, respectively, into P.R.’s purported course of treatment.
                On August 18, 2021, Covered Person G.Z., Claim no. 1101612-01, was
                 purportedly involved in a low-impact automobile collision.
                 Notwithstanding that, starting on or about August 19, 2021, G.Z.
                 purportedly underwent a predetermined treatment protocol at a No-fault
                 Clinic located at 86-01 101 Avenue, Ozone Park, NY, disguised as a
                 legitimate conservative course of treatment, G.Z. purportedly underwent
                 trigger point injections on September 19, 2021, purportedly performed by
                 Rajivan Maniam (not named as a defendant herein), through Defendant
                 Bowen PLLC at Defendant Rockaways ASC, only 32 days following the
                 purported collision and only 31 days into G.Z.’s purported course of
                 treatment.
                On July 11, 2021, Covered Person R.W., Claim no. 1101163-03, was
                 purportedly involved in a low-impact automobile collision.


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             Notwithstanding that, starting on or about July 19, 2021, R.W. purportedly
             underwent a predetermined treatment protocol at a No-fault Clinic located
             at 12 West 32nd Street, New York, NY, disguised as a legitimate
             conservative course of treatment, R.W. purportedly underwent trigger point
             injections on August 21, 2021, purportedly performed by Defendant Xie,
             through Defendant Integrated Pain Management, at Defendant Saddlebrook
             ASC, only 41 days following the purported collision, and only 33 days into
             R.W.’s purported course of treatment.
            On December 20, 2020, Covered Person L.G., Claim no. 1092728-01, was
             purportedly involved in a low-impact automobile collision.
             Notwithstanding that, starting on or about December 29, 2020, L.G.
             purportedly underwent a predetermined treatment protocol at a No-fault
             Clinic located at 607 Westchester Avenue, Bronx, NY, disguised as a
             legitimate conservative course of treatment, L.G. purportedly underwent
             trigger point injections on February 6, 2021, purportedly performed by
             Defendant Vora, through Defendant KDV Medical at Defendant North
             Queens ASC, only 48 days following the purported collision and only 39
             days into L.G.’s purported course of treatment.
            On November 10, 2020, Covered Person K.D., Claim no. 1090665-02, was
             purportedly involved in a low-impact automobile collision.
             Notwithstanding that, starting on or about November 11, 2020, K.D.
             purportedly underwent a predetermined treatment protocol at a No-fault
             Clinic located at 60 Belmont Avenue, Brooklyn, NY, disguised as a
             legitimate conservative course of treatment, K.D. purportedly underwent
             trigger point injections on December 13, 2020, purportedly performed by
             Defendant Jimenez, through Defendant J Sports, at Defendant Rockaways
             ASC, only 33 days following the purported collision and only 32 days into
             K.D.’s purported course of treatment.
            On June 5, 2019, Covered Person J.J., Claim no. 1059974-01, was
             purportedly involved in a low-impact automobile collision.
             Notwithstanding that, starting on or about June 12, 2019, J.J. purportedly
             underwent a predetermined treatment protocol at a No-Fault Clinic located
             at 381 Sunrise Highway, Lynbrook, NY, disguised as a legitimate
             conservative course of treatment, J.J. purportedly underwent trigger point
             injections on July 19, 2019, purportedly performed by Defendant Kotkes,
             at Defendant All City ASC, only 44 days following the purported collision,
             and only 37 days into J.C.’s purported course of treatment.
            On March 23, 2019, Covered Person H.D., Claim no. 1055559-02, was
             purportedly involved in a low-impact automobile collision.
             Notwithstanding that, starting on or about April 5, 2019, H.D. purportedly
             underwent a predetermined treatment protocol at a No-Fault Clinic located
             at 12 West 32nd Street, New York, NY, disguised as a legitimate
             conservative course of treatment, H.D. purportedly underwent trigger point
             injections on May 9, 2019, purportedly performed by Defendant Xie,


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                 through Defendant Integrated Pain Management, at Defendant Jersey City
                 ASC, 47 days following the purported collision, but only 34 days into
                 R.W.’s purported course of treatment.
                On March 3, 2019, Covered Person N.L., Claim no. 1052409-01, was
                 purportedly involved in a low-impact automobile collision.
                 Notwithstanding that, starting on or about March 5, 2019, N.L. purportedly
                 underwent a predetermined treatment protocol at a No-Fault Clinic located
                 at 360-A West Merrick Road, Valley Stream, NY, disguised as a legitimate
                 conservative course of treatment, N.L. purportedly underwent trigger point
                 injections on April 12, 2019, purportedly performed by Nirmal V. Patel,
                 MD (not named as a defendant herein), through Professional Pain
                 Management, PC (not named as a defendant herein), at Defendant New
                 Horizon ASC, only 40 days following the purported collision, and only 38
                 days into N.L.’s purported course of treatment.

         1765. The Defendants purported to administer trigger point injections to the Covered

  Persons despite the fact that such injections, to the extent that they actually were performed, placed

  the Covered Persons’ health and safety at risk.

         1766. On information and belief, potential side effects from trigger point injections

  involving the use of local anesthetics include blood disorders, paralysis, lung failure, seizures,

  major cardiac and central nervous system effects, and local anesthetic systemic toxicity.

         1767. On information and belief, in addition to potential side effects and/or complications

  resulting from injecting local anesthetics, risks involved from the trigger point injections include

  serious bacterial skin infection, soreness, bruising, hemorrhages, fainting, fatigue, damage to the

  central nervous system and major organ puncture.

         1768. Many of the Surgicore Pain Management Providers’ Initial Exam Reports failed to

  note any palpable trigger points in areas ultimately injected, fail to specify the trigger points to be

  injected and/or the medical reasoning for administering the trigger point injections.

         1769. Instead, the plan sections of the Initial Reports generally state “Trigger Point

  Injections.” By way of example and not limitation,




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                   Bowen PLLC’s Initial Exam Report, dated 06-08-21 submitted to Plaintiff
                    that relates to Covered Person B.J.R. under claim number 1097264-01
                    generally states “Trigger Point Injections,” and fails to detail the specific
                    location to be injected;
                   Hall PLLC’s Initial Exam Report dated 10-04-21 submitted to Plaintiff that
                    relates to Covered Person, J.S. under claim number 1098288-05 generally
                    states “Trigger Point Injections,” and fails to detail the specific location to
                    be injected; and
                   Integrated Pain Management’s Initial Exam Report dated 07-31-18
                    submitted to Plaintiff relating to Covered Person G.Z. under claim number
                    1032903-03, generally states “Trigger Point Injections,” and fails to detail
                    the specific location to be injected.

             1770. What is more, the medical reasoning for the administration of trigger point

  injections is typically omitted in the vast majority of Surgicore Pain Management Providers’

  Trigger Point Reports purportedly documenting the procedure itself.

             1771. The failure to document the items set forth above is consistent with the fact that the

  Surgicore Pain Management Providers did not perform trigger point injections, to the extent they

  were performed at all, to properly treat or benefit the Covered Persons but rather as a matter of

  course to increase billing and maximize financial gain.

             1772. The Surgicore Pain Management Providers’ submission of bills and supporting

  documents for purported performance of trigger point injections materially misrepresented to

  Plaintiff that the services rendered was medically necessary, provided as billed, and/or rendered at

  all.

                      i. Fraudulent Billing Related To Trigger Point Injections

             1773. In addition to billing for medically unnecessary trigger points, in order to maximize

  payments, many of the Surgicore Pain Management Doctors purportedly administered both trigger

  point and ESIs on the same date of service contrary to accepted medical practices and the standard

  of care.



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         1774. On information and belief, administering both trigger point and ESIs on the same

  day is medically unnecessary because the purpose of a trigger point injection is to alleviate isolated

  back pain caused by muscle spasms and the spasm would be secondary to the underlying condition

  causing the pain, which the ESI is meant to treat. As such, the standard of care requires that one

  procedure be performed prior to the other, with time taken in between to determine if the first

  procedure reduces pain prior to performing the second procedure.

         1775. The practice of subjecting Covered Persons to both trigger point injections and ESIs

  on the same date of service is meant to inflate the billing rather than assist in patient recovery.

         1776. Attached as Exhibit “29” is a representative list of claims in which one or more of

  the Defendant Surgicore Pain Management Doctors and their purported professional corporations

  improperly submitted bills to American Transit for trigger point injections and ESIs on the same

  day pursuant to a predetermined fraudulent protocol.

         1777. In addition to the Defendant Surgicore Pain Management Doctors fraudulently

  submitting bills to American Transit for trigger point injections and ESIs on the same day,

  numerous other pain medical doctors and their purported professional corporations, who and which

  are not named as defendants in this Complaint but billed for such services at, by and through the

  Surgicore ASCs, also submitted bills to American Transit pursuant to the same predetermined

  fraudulent protocol. Attached as Exhibit “30” is a representative list of claims in which non-

  defendant pain medical doctors improperly billed trigger point injections and ESIs on the same

  day.

         1778. To further increase the billing for each round of unnecessary trigger point

  injections, the vast majority of the Surgicore Pain Management Doctors and Surgicore ASCs




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  routinely billed a separate charge for unnecessary ultrasound guidance purportedly used in

  connection with the trigger point injections administered to Covered Persons.

         1779. The Surgicore Pain Management Doctors’ use of ultrasound guidance for trigger

  point injections was not medically necessary because: (i) trigger points are easily palpated as ropy

  knots in superficial muscles, and they cannot be separately identified from the rest of the muscle

  on ultrasound; (ii) trigger point injections are best done with careful palpation of the trigger point,

  and then careful insertion of the hypodermic needle into the trigger point (when done carefully

  there is no danger to the pleura or other structures); and (iii) trigger points typically contain the

  same small veins or arterioles that are present in other muscle tissue. Preventing injection of the

  medication intravascularly is best assured by simply pulling back on the syringe plunger before

  injecting to make certain that no blood returns.

         1780. The use of ultrasonic guidance in connection with trigger point injections

  purportedly performed on Covered Persons by the Surgicore Pain Management Doctors was not

  medically necessary and performed, if at all, pursuant to a fraudulent protocol designed to

  maximize Defendants’ reimbursement.

         1781. Attached as Exhibit “31” is a representative list of claims in which one or more of

  the Defendant Surgicore Pain Management Doctors and their purported professional corporations

  improperly submitted bills to American Transit unnecessary ultrasound guidance purportedly used

  in connection with trigger point injections pursuant to a predetermined fraudulent protocol.

         1782. In addition to the Defendant Surgicore Pain Management Doctors fraudulently

  submitting bills to American Transit for unnecessary ultrasound guidance purportedly used in

  connection with trigger point injections, numerous other pain medical doctors and their purported

  professional corporations, who and which are not named as defendants in this Complaint but billed




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  for such services at, by and through the Surgicore ASCs, also submitted bills to American Transit

  pursuant to the same predetermined fraudulent protocol. Attached as Exhibit “32” is a

  representative list of claims in which non-defendant pain medical doctors improperly billed for

  unnecessary ultrasound guidance purportedly used in connection with the trigger point injections

  pursuant to a predetermined fraudulent protocol.

         K.      Medically Unnecessary Anesthesia Services

         1783. As stated above, as part of Defendants’ Pre-Determined Protocol, the Surgicore

  Anesthesia Providers purportedly performed and billed for anesthesia concomitant to the

  interventional pain management and arthroscopic procedures or surgeries.

         1784. As the interventional pain management and arthroscopic procedures and/or

  surgeries performed through the Surgicore Pain Management Providers and Surgicore Orthopedic

  Providers at the Surgicore ASCs (discussed above) were medically unnecessary and performed, to

  the extent that they were performed at all, pursuant to the Defendants’ pre-determined fraudulent

  treatment, referral, and billing protocol, and not to treat or otherwise benefit the Covered Persons,

  the attendant anesthesia services purportedly performed in connection with those procedures were

  similarly medically unnecessary and fraudulent.

         1785. At all relevant times mentioned herein, the Surgicore Anesthesia Providers knew

  or should have known that the anesthesia services they were administering was in connection with

  Defendants’ scheme to defraud; that the procedures and surgeries purportedly performed by the

  Surgicore Orthopedic Providers and Surgicore Pain Management Providers at, by, and through the

  Surgicore ASCs were pursuant to a predetermined fraudulent protocol and were not medically

  necessary, to the extent that the services were provided as billed or performed at all.




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            1786. Attached as Exhibit “33” is a representative list of claims in which one or more of

  the Defendant Surgicore Anesthesia Providers and their purported professional corporations

  improperly submitted bills to American Transit for medically unnecessary anesthesia pursuant to

  Defendants’ predetermined fraudulent protocol.

            1787. Furthermore, as part of the Defendants fraudulent Pre-Determined Protocol,

  interventional pain management injections, including but not limited to ESI and trigger point

  injections (discussed herein), purportedly performed by the Surgicore Pain Management Providers

  at the Surgicore ASCs frequently were administered under anesthesia, specifically sedation, that

  was not required, and was billed through the Surgicore Anesthesia Providers.

            1788. Like the Defendants’ charges for ESIs and trigger point injections, the charges for

  anesthesia accompanying these injections were fraudulent in that the anesthesia attendant to the

  injections was medically unnecessary and performed, to the extent it was performed at all, pursuant

  to the Defendants’ pre-determined fraudulent treatment, referral, and billing protocol, not to treat

  or otherwise benefit the Covered Persons.

            1789. In a legitimate clinical setting, pain management injections, including ESI and

  trigger point injections generally do not require sedation.

            1790. An article published in Pain Physician, the official journal of the American Society

  of Interventional Pain Physicians, observed that “[m]ost practice guidelines discourage the routine

  use of sedation for interventional pain procedures.” See Smith, Howard, M.D., An Update of

  Evaluation of Intravenous Sedation on Diagnostic Spinal Injection Procedures, Pain Physician

  (2013).

            1791. The American Society of Anesthesiologists has similarly concluded that

  “interventional pain procedures generally only require local anesthesia.” See American Society of




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  Anesthesiologists, “Statement on Anesthetic Care during Interventional Pain Procedures for

  Adults,” October 13, 2021.

         1792. On information and belief, sedation generally is unwarranted in the context of

  interventional pain procedures such as pain management injections because the risk attendant to

  sedation outweighs any prospective benefit to the patient. What is more, the risk of spinal injury

  increases with the administration of sedation such as propofol, which is often used in connection

  with the injections purportedly provided to Covered Persons.

         1793. On information and belief, not only can sedation itself induce adverse events,

  including death, but patients receiving pain management injections should remain awake and alert

  to warn the treating physician of adverse events relating to the underlying injections.

         1794. As patients need to be awake and alert when receiving pain management injections,

  a Covered Person’s anxiety or apprehension regarding an injection procedure is an insufficient

  basis to warrant sedation.

         1795. Notwithstanding, virtually all Covered Persons who purportedly received pain

  management injections at the Surgicore ASCs purportedly were provided with unjustified,

  medically unnecessary and dangerous sedation concomitant to the injections.

         1796. Attached as Exhibit “34” is a representative list of claims in which one or more of

  the Defendant Surgicore Anesthesia Providers and their purported professional corporations

  improperly submitted bills to American Transit for unjustified, medically unnecessary, and

  dangerous sedation concomitant to pain management injections pursuant to Defendants’

  predetermined fraudulent protocol.

         1797. The Surgicore Pain Management Providers, Surgicore Anesthesia Providers and

  Surgicore ASCs knew or should have known that sedation generally is unwarranted in the context




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  of interventional pain procedures such as pain management injections because the risk attendant

  to sedation outweighs any prospective benefit to the patient.

         1798. The Surgicore Pain Management Providers, Surgicore Anesthesia Providers and

  Surgicore ASCs routinely recommended and administered sedation to the Covered Persons in

  order to increase the amount of fraudulent billing that they could submit to American Transit.

         1799. Each and every one of the anesthesia services attendant to pain management and

  trigger point injections was medically unnecessary, in that the anesthesia services: (i) were

  provided, to the extent that they were provided at all, pursuant to a Pre-Determined Protocol

  primarily for the benefit of Defendants, and not to properly treat or otherwise benefit the Covered

  Persons; and (ii) were not the most appropriate standard of care in accordance with standards of

  good practice and standard professional treatment protocols.

         L.      Fraudulent Charges For Arthroscopy

         1800. Not only did the Surgicore Orthopedic Providers routinely bill for medically

  unnecessary arthroscopic surgeries but in order to maximize payments, in virtually every instance

  of billing submitted to Plaintiff for reimbursement, the Surgicore Orthopedic Providers knowingly

  and intentionally engaged in unbundling, using multiple procedure codes to bill separately for

  individual components parts of a single procedure, which constitutes fraudulent billing.

         1801. By way of example and not limitation, many of the Surgicore Orthopedic Providers

  routinely and fraudulently unbundled charges for debridement/shaving of articular cartilage

  (chrondroplasty) under CPT coder 29877, as well as a separate charge for CPT 29874 arthroscopic

  removal of loose and/or foreign bodies from underlying knee arthroscopy charges in an effort to

  increase their billing for the medically unnecessary arthroscopies.




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         1802. The Fee Schedule describes CPT 29880 as Arthroscopy, knee, surgical; with

  meniscectomy       (medial   AND    lateral,   including   any   meniscal   shaving)    including

  debridement/shaving of articular cartilage (chondroplasty), same of separate compartment(s),

  when performed.

         1803. The Fee Schedule describes CPT 29877 as Arthroscopy, knee, surgical;

  debridement/shaving of articular cartilage (chondroplasty).

         1804. The Fee Schedule describes CPT 29874 as Arthroscopy, knee, surgical; for removal

  of loose body or foreign body (e.g., osteochondritis dissecans fragmentation, chondrol

  fragmentation)

         1805. Debridement/shaving of articular cartilage (chrondroplasty) is a component part of

  and included in charges of knee arthroscopy (CPT 29880). Similarly, removal of loose bodies is a

  component part of and included in charges of knee arthroscopy (CPT 29880).

         1806. As a result, healthcare service providers are not allowed to be reimbursed separately

  for debridement and/or removal of loose bodies when billing for arthroscopy.

         1807. Nevertheless, many of the Surgicore Orthopedic Providers routinely unbundled

  billing for debridement and/or loose bodies from the underlying knee arthroscopy charge so as to

  maximize the amount of fraudulent and unlawful billing they could submit to American Transit.

  By way of example and not limitation:

                  On August 1, 2024, Covered Person T.B., Claim no. 1149704-02,
                   purportedly underwent a knee arthroscopy at Defendant All City ASC. In
                   connection with this surgery, Defendant Contemporary Orthopedics
                   unbundled a separate charge of $1,791.29 for debridement under CPT
                   29877 from a charge under CPT 29880 for the knee arthroscopy. On the
                   same bill, Defendant Contemporary Orthopedics unbundled a separate
                   charge of $1,720.00 for removal of a loose or foreign body under CPT
                   29874 from the charge under CPT 29880.
                  On June 19, 2024, Covered Person M.M., Claim no. 1144011-01,
                   purportedly underwent a knee arthroscopy at Defendant Jersey City ASC.


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             In connection with this surgery, Defendant Advanced Orthopaedics
             unbundled a separate charge of $946.03 for removal of a loose or foreign
             body under CPT 29874 from a charge under CPT 29880 for the knee
             arthroscopy.
            On October 26, 2023, Covered Person T.B., Claim no. 1133658-01,
             purportedly underwent a knee arthroscopy at Defendant All City ASC. In
             connection with this surgery, Defendant U.K.P.C. unbundled a separate
             charge of $1,791.29 for debridement under CPT 29877 from a charge under
             CPT 29880 for the knee arthroscopy. On the same bill, Defendant U.K.P.C.
             unbundled a separate charge of $1,892.07 for removal of a loose or foreign
             body under CPT 29874 from the charge under CPT 29880.
            On July 15, 2023, Covered Person M.M., Claim no. 1130311-01,
             purportedly underwent a knee arthroscopy at Defendant Manalapan ASC.
             In connection with this surgery, Defendant Anjani PC unbundled a separate
             charge of $1,791.29 for debridement under CPT 29877 from a charge under
             CPT 29880 for the knee arthroscopy. On the same bill, Defendant Anjani
             PC unbundled a separate charge of $1,892.07 for removal of a loose or
             foreign body under CPT 29874 from the charge under CPT 29880.
            On May 19, 2023, Covered Person S.J., Claim no. 1118101-02, purportedly
             underwent a knee arthroscopy at Defendant All City ASC. In connection
             with this surgery, Defendant Bay Ridge P.C. unbundled a separate charge
             of $1,892.07 for removal of a loose or foreign body under CPT 29874 from
             a charge under CPT 29880 for the knee arthroscopy.
            On July 14, 2021, Covered Person T.W., Claim no. 1100803-02,
             purportedly underwent a knee arthroscopy at Defendant Jersey City ASC.
             In connection with this surgery, Defendant BW Orthopedics unbundled a
             separate charge of 3,398.38 for debridement under CPT 29877 from a
             charge under CPT 29880 for the knee arthroscopy. On the same bill,
             Defendant BW Orthopedics unbundled a separate charge of $2,898.06 for
             removal of a loose or foreign body under CPT 29874 from the charge under
             CPT 29880.
            On March 9, 2021, Covered Person B.R., Claim no. 1080045-02,
             purportedly underwent a knee arthroscopy at Defendant Empire State ASC.
             In connection with this surgery, Defendant Graziosa PC unbundled a
             separate charge of 1,791.29 for debridement under CPT 29877 from a
             charge under CPT 29880 for the knee arthroscopy. On the same bill,
             Defendant Graziosa PC unbundled a separate charge of $1,892.07 for
             removal of a loose or foreign body under CPT 29874 from the charge under
             CPT 29880.
            On October 20, 2020, Covered Person R.O., Claim no. 1080858-03,
             purportedly underwent a knee arthroscopy at Defendant New Horizon ASC.
             In connection with this surgery, Defendant Haar Orthopaedics unbundled a


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                 separate charge of 1,628.47 for debridement under CPT 29877 from a
                 charge under CPT 29880 for the knee arthroscopy. On the same bill,
                 Defendant Haar Orthopaedics unbundled a separate charge of $1,720.09 for
                 removal of a loose or foreign body under CPT 29874 from the charge under
                 CPT 29880.
                On December 3, 2020, Covered Person C.B., Claim no. 1088928-02,
                 purportedly underwent a knee arthroscopy at Defendant Empire State ASC.
                 In connection with this surgery, Defendant McCulloch Orthopaedic
                 unbundled a separate charge of 1,791.29 for debridement under CPT 29877
                 from a charge under CPT 29880 for the knee arthroscopy. On the same bill,
                 Defendant McCulloch Orthopaedic unbundled a separate charge of
                 $1,892.07 for removal of a loose or foreign body under CPT 29874 from
                 the charge under CPT 29880.
                On March 13, 2020, Covered Person A.M., Claim no. 1066455-01,
                 purportedly underwent a knee arthroscopy at Defendant All City ASC. In
                 connection with this surgery, Defendant Apazidis unbundled a separate
                 charge of $1,628.47 for debridement under CPT 29877 from a charge under
                 CPT 29880 for the knee arthroscopy.
                On April 16, 2019, Covered Person J.M., Claim no. 1051667-01,
                 purportedly underwent a knee arthroscopy at Defendant Fifth Avenue ASC.
                 In connection with this surgery, Defendant McMahon unbundled a separate
                 charge of $1,628.47 for debridement under CPT 29877 from a charge under
                 CPT 29880 for the knee arthroscopy. On the same bill, Defendant
                 McMahon unbundled a separate charge of $1,720.09 for removal of a loose
                 or foreign body under CPT 29874 from the charge under CPT 29880.

         1808.   In addition to the foregoing, a representative sample of claims in which the

  Surgicore Orthopedic Providers routinely unbundled billing for debridement/shaving of articular

  cartilage (chrondroplasty) and removal of loose bodies from the underlying knee arthroscopies is

  included in Exhibit “35.” Each of the unbundled charges for debridement and/or removal of loose

  bodies were material misrepresentations that the Surgicore Orthopedic Providers were entitled to

  be reimbursed for the charge, when in fact they were not.

         1809. By way of further example and not limitation, to maximize their fraudulent charges

  for medically unnecessary arthroscopies, many of the Surgicore Orthopedic Providers routinely




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  submitted separate charges for CPT code 29999, which under the Fee Schedule is described as

  unlisted arthroscopy procedures.

          1810. The use of unlisted procedure codes are known as a last resort and are typically

  used when a physician performs an unusual or variable procedure that is not described by any CPT

  code.

          1811. Nevertheless, many of the Surgicore Orthopedic Providers routinely billed CPT

  29999 along with their billing for underlying arthroscopy procedures to maximize the amount of

  fraudulent and unlawful billing they could submit to American Transit. A representative sample

  of claims in which the Surgicore Orthopedic Providers routinely billed CPT 29999 along with their

  billing for underlying arthroscopy procedures is included in Exhibit “36.”

          1812. The prevalence and uniformity in which the Surgicore Orthopedic Providers bill

  CPT 29999, despite the fact that it is reserved for unusual or variable procedures is not credible.

          1813. Even assuming that the Surgicore Orthopedic Providers’ extensive use of CPT

  29999 was plausible (which it was not), many of the Surgicore Orthopedic Providers fraudulently

  unbundled charges for “coblation” under CPT 29999 when “coblation” is a technique used to

  perform chondroplasty, which as stated above is inclusive to CPT 29880 and therefore cannot be

  reported separately. By way of example and not limitation:

                On June 15, 2022, Covered Person S.B., Claim no. 1109140-02, purportedly
                 underwent a knee arthroscopy at Defendant Jersey City ASC. In connection
                 with this surgery, Defendant Advanced Orthopaedics unbundled a separate
                 charge of $1,957.57 for purported coblation under CPT 29999 from a charge
                 under CPT 29880 for the knee arthroscopy.
                On May 19, 2022, Covered Person J.R., Claim no. 1104504-01, purportedly
                 underwent a knee arthroscopy at Defendant All City ASC. In connection
                 with this surgery, Anjani PC unbundled a separate charge of $1,957.57 for
                 purported coblation under CPT 29999 from a charge under CPT 29880 for
                 the knee arthroscopy.




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                 On April 19, 2022, Covered Person D.R., Claim no. 1105880-02,
                  purportedly underwent a knee arthroscopy at Defendant Manalapan ASC.
                  In connection with this surgery, Defendant Advanced Orthopaedics
                  unbundled a separate charge of $1,957.57 for purported coblation under
                  CPT 29999 from a charge under CPT 29880 for the knee arthroscopy.
                 On January 5, 2022, Covered Person L.V., Claim no. 1102616-02,
                  purportedly underwent a knee arthroscopy at Defendant New Horizon ASC.
                  In connection with this surgery, Defendant Dassa Orthopedic unbundled a
                  separate charge of $2,448.43 for purported coblation under CPT 29999 from
                  a charge under CPT 29880 for the knee arthroscopy.
                 On October 21, 2021, Covered Person J.R., Claim no. 1044413-01,
                  purportedly underwent a knee arthroscopy at Defendant Empire State ASC.
                  In connection with this surgery, Defendant McCulloch Orthopaedic
                  unbundled a separate charge of $1,957.57 for purported coblation under
                  CPT 29999 from a charge under CPT 29880 for the knee arthroscopy.
                 On December 16, 2020, Covered Person P.L., Claim no. 1080232-02,
                  purportedly underwent a knee arthroscopy at Defendant New Horizon ASC.
                  In connection with this surgery, Defendant Dassa Orthopedic unbundled a
                  separate charge of $2,448.43 for purported coblation under CPT 29999 from
                  a charge under CPT 29880 for the knee arthroscopy.
                 On January 9, 2020, Covered Person L.K., Claim no. 1051117-02,
                  purportedly underwent a knee arthroscopy at Defendant New Horizon ASC.
                  In connection with this surgery, Defendant McCulloch Orthopaedic
                  unbundled a separate charge of $1,779.64 for purported coblation under
                  CPT 29999 from a charge under CPT 29880 for the knee arthroscopy.
                 On February 15, 2019, Covered Person Y.R., Claim no. 1076568-02
                  purportedly underwent a right knee arthroscopy at Defendant All City ASC.
                  In connection with this surgery, Defendant Bay Ridge PC unbundled a
                  separate charge of $2,000.00 for purported coblation under CPT 29999 from
                  a charge under CPT 29880 for the knee arthroscopy. Thereafter, on March
                  6, 2020, Y.R. purportedly underwent a left knee arthroscopy at Defendant
                  All City ASC. In connection with this surgery, Defendant Bay Ridge PC
                  again unbundled a separate charge of $2,000.00 for purported coblation
                  under CPT 29999 from a charge under CPT 29880 for the knee arthroscopy.

          1814. On information and belief, “coblation” is not a procedure. It is a technique using a

  coblation wand to purportedly perform chondroplasty, a procedure that repairs damaged cartilage

  in the joint.




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         1815. Other techniques to perform chondroplasty utilize a motorized shaver to address

  cartilage damage.

         1816. On information and belief, the technique or equipment used to perform the

  chondroplasty does not change the nature of the procedure performed and in turn should not change

  the coding of the procedure itself.

         1817. Pursuant to the New York State Workers’ Compensation Fee Schedule Surgery

  Ground Rule 1B, “Payment is for the procedure coded and described irrespective of the method or

  appliances used to perform the procedure.”

         1818. Under the applicable Fee Schedule and Ground Rule 1B, the Surgicore Orthopedic

  Providers are not entitled to be reimbursed separately for coblation which would be defined as

  chodroplasty and, as stated above, would be considered part of the underlying arthroscopic

  procedure.

         1819. Each of the unbundled charges for “coblation” constituted a misrepresentation that

  the Surgicore Orthopedic Providers were entitled to be reimbursed for the charge, when in fact

  they were not.

                                   DISCOVERY OF THE FRAUD

         1820. To induce Plaintiff to promptly reimburse their claims, Defendants have gone to

  great lengths to systematically conceal their fraud. By way of example and not limitation:

                  The Controllers, Surgicore Management Companies, Surgicore Medical
                   Directors/Administrators, and other entities owned and/or controlled by the
                   Controllers, through the Surgicore ASCs, knowingly and deliberately
                   concealed that No-Fault claims submitted to Plaintiff for the Fraudulent
                   Services purportedly performed at Surgicore ASCs were performed at
                   ASCs which were fraudulently and improperly licensed and operated in
                   violation of the substantive licensing, regulatory and applicable operating
                   laws and requirements of New York and New Jersey;
                  The Controllers, Surgicore Management Companies, and other entities
                   owned and/or controlled by the Controllers, knowingly and deliberately


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                concealed the extent of their ownership interests in the Surgicore ASCs
                through a complex web of corporate entities and through subterfuge in the
                granting of straw or nominal ownership interests to family members directly
                or through such corporate entities;
               The Controllers, Surgicore Management Companies, and other entities
                owned and/or controlled by the Controllers knowingly and deliberately
                concealed the extent to which they offered purported nominal ownership
                interests in the Surgicore ASCs to numerous orthopedists and pain
                management doctors performing medically unnecessary procedures at the
                ASCs as well as to their family members, close associates and strategic
                partners such as the Health Plus Defendants, as a kickback in exchange for
                referrals and supposed marketing services to provide a patient population to
                the Surgicore ASCs, irrespective of medical need;
               The Controllers and Surgicore Medical Directors, through the Surgicore
                ASCs, the Surgicore Orthopedic Providers, Surgicore Pain Management
                Provider, and Surgicore Anesthesia Providers, their respective professional
                corporations and professional limited liability companies, routinely and
                deliberately concealed that their No-Fault claims were submitted pursuant
                to an unlawful referral, illicit kickback, and/or other financial compensation
                arrangement between and among one or more of the Defendants and the
                No-Fault Clinics in order to maximize reimbursement;
               The Controllers and Surgicore Medical Directors, through the Surgicore
                ASCs, and the Surgicore Orthopedic Providers, Surgicore Pain
                Management Providers and Surgicore Anesthesia Providers and their
                respective professional corporations and professional limited liability
                companies, routinely and deliberately concealed that they were submitting
                facially valid claims for reimbursement that were based on a pre-determined
                protocol of treatment without regard for medical necessity; and
               The Controllers and Surgicore Medical Directors, through the Surgicore
                ASCs, and the Surgicore Orthopedic Providers, Surgicore Pain
                Management Providers and Surgicore Anesthesia Providers, and their
                respective professional corporations and professional limited liability
                companies, knowingly and deliberately concealed the amounts Defendants
                was entitled to be reimbursed in the bills submitted to Plaintiff by
                misrepresenting the codes, services, and reimbursement amounts as part of
                the scheme to manipulate the payment formulas under the applicable Fee
                Schedule in order to maximize the charges that they could submit to
                Plaintiff and other insurers.
         1821. Plaintiff is under a statutory and contractual obligation to promptly and fairly

  process claims within 30 days. The documents submitted to Plaintiff in support of the fraudulent

  claims at issue, combined with the material misrepresentations, omissions and acts of fraudulent


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  concealment described above, were designed to, and did cause Plaintiff to justifiably rely on them.

  As a proximate result, Plaintiff has incurred damages based upon the fraudulent bill submissions

  by the Surgicore ASCs; Surgicore Orthopedic Providers, Surgicore Pain Management Providers,

  Surgicore Anesthesia Providers individually and/or through their respective professional

  corporations or professional limited liability companies; and Associated Health Care Providers.

         1822. Based upon Defendants’ material misrepresentations and their serial efforts to

  conceal the various components to their scheme to defraud, Plaintiff did not discover and could

  not have reasonably discovered the injury alleged herein any earlier than April 2024, when

  Defendant All City ASC appeared for a continued examination under oath in connection with and

  in response to Plaintiff’s request for additional verification of All City ASC’s No-Fault claims for

  reimbursement of facility fees related to surgical and interventional pain management services

  purportedly performed on Covered Persons.

                                        CLAIMS FOR RELIEF

                                     FIRST CLAIM FOR RELIEF

                                    AGAINST ALL DEFENDANTS

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1823. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1824. The Surgicore Medical Network Enterprise (consisting of All City ASC, Empire

  State ASC, Fifth Avenue ASC, Manalapan ASC, New Horizon ASC, North Queens ASC,

  Rockaways ASC, Rockland and Bergen ASC, Jersey City ASC; Saddlebrook ASC, (collectively

  the “Surgicore ASCs”); Degradi, Hatami, Kogan, Tylman, (collectively the “Controllers”);

  Surgicore Management, Surgicore Management NY, (collectively the “Surgicore Management


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  Companies”); Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer, Weiner,

  (collectively the “Surgicore Medical Directors”); Aminova, Finnegan, Hoyle, Kilroy, Lopez,

  Lucero, Morris, Romero, Santora, Santos, Spina, Young, Zybin, (collectively the “Surgicore

  Administrators”); Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

  Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, (collectively the “Surgicore Orthopedic Providers”); Bowen, Alexander

  Bowen PLLC, Bowen PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev Healthcare, Jones, Phoenix

  Medical, Khakhar, PM&R, Kotkes, Kotkes PC, Portal, Portal Medical, Shabtian, Total Anesthesia,

  Vora, KDV Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical Orthopedics, Xie, Integrated

  Pain Management, (collectively the “Surgicore Pain Management Providers”); Amigud, Fifth

  Avenue Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy Anesthesia, Elkholy, Precision

  Anesthesia, Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao, Progressive-Hudson, Khan,

  Anesthesia Professionals, Neuman, Neuman PLLC, Neuman PC, Centurion Anesthesia, Centurion

  Midtown Anesthesia, Centurion Midtown Medical, Sedation Vacation, Scinas, Roxbury

  Anesthesia, (collectively the “Surgicore Anesthesia Providers”); Advanced PMR, AEH Healthcare

  Management, ASC Investment Services, ASAR Healthcare, AS Med Invest, BDP Ventures Inc,

  BDP Ventures LLC, Blue Wall Management, Boost HS, Capleo Holdings, Conte De Fees, Fiaba,

  50 Franklin Ln Realty, FIWA 1049 Realty, FLBD Management, Four D Investments Inc, Four D

  Investments LLC, Health Plus Management, HDS Investments, Kostanian Consulting Associates,




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  Main Street Medical, Mega Group Solution, MEDA Management, MEH Investments, Midtown

  305 Realty, MK Med Invest, Ortuz, Redy Ventures, SignMe, SJ2 Ventures, Surgicore 5th Avenue,

  Surgicore RBSC, YCentury, Arredondo-Calle, Blumberg, Chavez, K. Degradi, Denevich, M.

  Hatami, Hafeez, J. Katanov, S. Katanov, Keyserman, Klein, B. Kogan, Kostanian, L. Passanisi, S.

  Passanisi, Pyatetskaya, Ramirez, Reizis, Revutsky. Rubin, M. Seldes, Shakarov, Yadgarov,

  Yaguda, (collectively the “Associated Companies/Individuals”); John Doe 1, John Does 2 through

  20, and ABC Corporations 1 Through 20), is an Enterprise as that term is defined by 18 U.S.C §

  1961(4), and within the meaning of 18 U.S.C. § 1962(c). The Surgicore Medical Network

  Enterprise engaged in activities, including defrauding insurers that are based outside of New York,

  that affect interstate commerce.

         1825. From in or about 2009 through the present, each of the Defendants All City ASC,

  Empire State ASC, Fifth Avenue ASC, Manalapan ASC, New Horizon ASC, North Queens ASC,

  Rockaways ASC, Rockland and Bergen ASC, Jersey City ASC; Saddlebrook ASC, (collectively

  the “Surgicore ASCs”); Degradi, Hatami, Kogan, Tylman, (collectively the “Controllers”);

  Surgicore Management, Surgicore Management NY, (collectively the “Surgicore Management

  Companies”); Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer, Weiner,

  (collectively the “Surgicore Medical Directors”); Aminova, Finnegan, Hoyle, Kilroy, Lopez,

  Lucero, Morris, Romero, Santora, Santos, Spina, Young, Zybin, (collectively the “Surgicore

  Administrators”); Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

  Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as




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  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, (collectively the “Surgicore Orthopedic Providers”); Bowen, Bowen

  PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev Healthcare, Jones, Phoenix Medical, Khakhar,

  PM&R, Kotkes, Kotkes PC, Portal, Portal Medical, Shabtian, Total Anesthesia, Vora, KDV

  Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical Orthopedics, Xie, Integrated Pain

  Management, (collectively the “Surgicore Pain Management Providers”); Alexander Bowen

  PLLC, Amigud, Fifth Avenue Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy Anesthesia,

  Elkholy, Precision Anesthesia, Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao, Progressive-

  Hudson, Khan, Anesthesia Professionals, Neuman, Neuman PLLC, Neuman PC, Centurion

  Anesthesia, Centurion Midtown Anesthesia, Centurion Midtown Medical, Sedation Vacation,

  Scinas, Roxbury Anesthesia, (collectively the “Surgicore Anesthesia Providers”); Advanced PMR,

  AEH Healthcare Management, ASC Investment Services, ASAR Healthcare, AS Med Invest, BDP

  Ventures Inc., BDP Ventures LLC, Blue Wall Management, Boost HS, Capleo Holdings, Conte

  De Fees, Fiaba, 50 Franklin Ln Realty, FIWA 1049 Realty, FLBD Management, Four D

  Investments Inc, Four D Investments LLC, Health Plus Management, HDS Investments,

  Kostanian Consulting Associates, Main Street Medical, Mega Group Solution, MEDA

  Management, MEH Investments, Midtown 305 Realty, MK Med Invest, Ortuz, Redy Ventures,

  SignMe, SJ2 Ventures, Surgicore 5th Avenue, Surgicore RBSC, YCentury, Arredondo-Calle,

  Blumberg, Chavez, K. Degradi, Denevich, M. Hatami, Hafeez, J. Katanov, S. Katanov,

  Keyserman, Klein, B. Kogan, Kostanian, L. Passanisi, S. Passanisi, Pyatetskaya, Ramirez, Reizis,

  Revutsky. Rubin, M. Seldes, Shakarov, Yadgarov, Yaguda, (collectively the “Associated

  Companies/Individuals”);    John Doe 1, John Doe 1, John Does 2 through 20, and ABC

  Corporations 1 Through 20 were each a “person” as defined in the RICO statute and each




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  knowingly conducted and participated in the affairs of the Surgicore Medical Network Enterprise

  through a pattern of racketeering activity, including the numerous acts of mail fraud described

  herein, in the representative list of predicate acts set forth in the accompanying Appendix, which

  are incorporated by reference. Defendants’ conduct constitutes a violation of 18 U.S.C. § 1962(c).

         1826. The component parts of the Surgicore Medical Network Enterprise are and have

  been joined in a common purpose, namely to defraud Plaintiff, and other insurance companies by

  submitting, and causing to be submitted, bills and supporting documentation that are fraudulent

  for services that were not provided, were not medically necessary, and/or were not legitimately

  entitled to reimbursement for patients purportedly treated at or through various No-Fault Clinics

  and the Surgicore ASCs. Although different component parts have performed different roles at

  different times, they have operated as a continuing unit with each member fulfilling a specific and

  necessary role to carry out and facilitate its common purpose—to defraud Plaintiff through

  fraudulent insurance claims—with sufficient longevity to accomplish that common purpose.

         1827. Defendants Degradi, Hatami, Kogan, Tylman, (collectively the “Controllers”), and

  one or more of the John Doe Defendants, at all relevant times, each exerted control over, and

  directed the operations of the Surgicore Medical Network Enterprise and each of its component

  parts. The Controllers utilized that control to conduct the affairs of the Surgicore Medical Network

  Enterprise through a pattern of racketeering activities that included thousands of acts of mail fraud

  over a period of approximately 15 years. The acts of mail fraud consisted of creating, submitting

  and/or causing to be submitted fraudulent bills and supporting documents to Plaintiff seeking

  payments that the Defendant Surgicore ASCs, Surgicore Orthopedic Providers, Surgicore Pain

  Management Providers, and/or Surgicore Anesthesia Providers were ineligible to receive because

  the bills were the result of (i) fraudulently and improperly licensed ASCs that are operated in




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  violation of the substantive licensing, regulatory, and applicable operating laws and requirements

  of New York and New Jersey; (ii) an illegal kickback and/or unlawful referral relationship for

  medically unnecessary services; (iii) a predetermined fraudulent protocol designed to justify and

  maximize expensive, medically unnecessary services to Covered Persons; and/or (iv) charges for

  medical services that were fraudulently billed in excess of the amounts that the Defendants would

  be entitled to receive pursuant to the No-Fault Law, if the related services were legitimately

  provided.

          1828. Defendants Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard,

  Springer, Weiner, (collectively the “Surgicore Medical Directors”); Aminova, Hoyle, Finnegan,

  Kilroy, Lopez, Lucero, Morris, Romero, Santora, Santos, Spina, Young, Zybin, (collectively the

  “Surgicore Administrators”) and John Doe 1, John Doe 1 and John Does 2 through 20 each were

  employed by or associated with the Surgicore Medical Network Enterprise and its component

  parts, and participated in the conduct of its affairs through a pattern of racketeering activity. The

  Surgicore Medical Directors facilitated the fraudulent scheme as nominal, disengaged sham

  medical directors by failing to perform the duties enumerated by law for medical directors of an

  ASC and provided the essential means for the Controllers, though the Surgicore Medical Network

  Enterprise, to form and operate bogus ASCs in violation of New York and New Jersey law. In

  doing so, the sham Surgicore Medical Directors further provided the Controllers with the essential

  means to submit fraudulent claims through the Surgicore ASCs to No-Fault insurers in general and

  American Transit in particular. The Surgicore Administrators oversaw, among other things, the

  “marketing” for the Surgicore ASCs and managed the kickback relationships with various health

  care professionals providing medically unnecessary services at, by, and through the Surgicore

  ASCs.




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         1829. Defendants Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum,

  Bay Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, (collectively the “Surgicore Orthopedic Providers; Bowen, Bowen PLLC,

  Hall, Hall PLLC, Jimenez, J Sports, Dev Healthcare, Jones, Phoenix Medical, Khakhar, PM&R,

  Kotkes, Kotkes PC, Portal, Portal Medical, Shabtian, Total Anesthesia, Vora, KDV Medical, Vora

  PC, KV Medical, NJ Vora, Non-Surgical Orthopedics, Xie, Integrated Pain Management,

  (collectively the “Surgicore Pain Management Providers”); and Alexander Bowen PLLC, Amigud,

  Fifth Avenue Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy Anesthesia, Elkholy, Precision

  Anesthesia, Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao, Progressive-Hudson, Khan,

  Anesthesia Professionals, Neuman, Neuman PLLC, Neuman PC, Centurion Anesthesia, Centurion

  Midtown Anesthesia, Centurion Midtown Medical, Sedation Vacation, Scinas, Roxbury

  Anesthesia, (collectively the “Surgicore Anesthesia Providers”) each were employed by or

  associated with the Surgicore Medical Network Enterprise and its component parts, and

  participated in the conduct of its affairs through a pattern of racketeering activity. In addition,

  Defendant Surgicore Orthopedic Providers, Surgicore Pain Management Providers, and Surgicore

  Anesthesia Providers facilitated the Surgicore Medical Network Enterprise by performing

  medically unnecessary services pursuant to a pre-determined protocol of treatment, irrespective of

  whether the purported injuries were related to an automobile accident, and/or providing Defendant

  Controllers with referrals of Covered Persons for medically unnecessary procedures, including




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  referrals in violation of New Jersey’s Codey Law, in exchange for unlawful kickbacks and/or other

  financial arrangements, which the Controllers required in order to submit fraudulent claims

  through the Surgicore ASCs to No-Fault insurers in general and American Transit in particular.

         1830. Defendants Advanced PMR, AEH Healthcare Management, ASC Investment

  Services, ASAR Healthcare, AS Med Invest, BDP Ventures Inc., BDP Ventures LLC, Blue Wall

  Management, Boost HS, Capleo Holdings, Conte De Fees, Fiaba, 50 Franklin Ln Realty, FIWA

  1049 Realty, FLBD Management, Four D Investments Inc, Four D Investments LLC, Health Plus

  Management, HDS Investments, Kostanian Consulting Associates, Main Street Medical, Mega

  Group Solution, MEDA Management, MEH Investments, Midtown 305 Realty, MK Med Invest,

  Ortuz, Redy Ventures, SignMe, SJ2 Ventures, Surgicore 5th Avenue, Surgicore RBSC, YCentury,

  Arredondo-Calle, Blumberg, Chavez, K. Degradi, Denevich, M. Hatami, Hafeez, J. Katanov, S.

  Katanov, Keyserman, Klein, B. Kogan, Kostanian, L. Passanisi, S. Passanisi, Pyatetskaya,

  Ramirez, Reizis, Revutsky. Rubin, M. Seldes, Shakarov, Yadgarov, Yaguda, each were employed

  by or associated with the Surgicore Medical Network Enterprise and its component parts, and

  participated in the conduct of its affairs through a pattern of racketeering activity. In addition,

  Defendants Advanced PMR, AEH Healthcare Management, ASC Investment Services, ASAR

  Healthcare, AS Med Invest, BDP Ventures Inc., BDP Ventures LLC, Blue Wall Management,

  Boost HS, Capleo Holdings, Conte De Fees, Fiaba, 50 Franklin Ln Realty, FIWA 1049 Realty,

  FLBD Management, Four D Investments Inc, Four D Investments LLC, Health Plus Management,

  HDS Investments, Kostanian Consulting Associates, Main Street Medical, Mega Group Solution,

  MEDA Management, MEH Investments, Midtown 305 Realty, MK Med Invest, Ortuz, Redy

  Ventures, SignMe, SJ2 Ventures, Surgicore 5th Avenue, Surgicore RBSC, YCentury, Arredondo-

  Calle, Blumberg, Chavez, K. Degradi, Denevich, M. Hatami, Hafeez, J. Katanov, S. Katanov,




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  Keyserman, Klein, B. Kogan, Kostanian, L. Passanisi, S. Passanisi, Pyatetskaya, Ramirez, Reizis,

  Revutsky. Rubin, M. Seldes, Shakarov, Yadgarov, and/or Yaguda each participated in the conduct

  of the Surgicore Medical Network through a pattern of racketeering activity by, among other

  things, steering or referring, or causing to be steered or referred, Covered Persons to the Surgicore

  ASCs; facilitating the operation and control of Surgicore ASCs in violation of regulatory

  requirements governing healthcare practice and/or licensing laws; and/or illegally funneling

  proceeds from the fraudulent scheme back to the Controllers in exchange for kickbacks and/or

  other financial compensation.

          1831. On information and belief, one or more of John Does 2 through 20 each were

  associated with the Surgicore Medical Network Enterprise and participated in the conduct of its

  affairs through a pattern of racketeering activity.

          1832. On information and belief, one or more of the ABC Corporations 1 through 20 each

  were associated with the Surgicore Medical Network Enterprise and participated in the conduct of

  its affairs through a pattern of racketeering activity.

          1833. As a whole, Defendants acted hand-in-hand, with well-defined ongoing roles in the

  organization, to achieve the common goal of defrauding Plaintiff into paying bills for medical

  services and other healthcare services that were not supplied at all, or, if supplied, were provided

  by fraudulently and improperly licensed ASCs, were of no diagnostic and/or treatment value,

  and/or provided pursuant to a predetermined treatment protocol irrespective of medical necessity

  in connection with unlawful kickback, referral, fraudulent billing, and/or illegal fee-splitting

  schemes.




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                        THE PATTERN OF RACKETEERING ACTIVITY
                                (RACKETEERING ACTS)

         1834. The racketeering acts set forth herein were carried out over a fifteen-year period,

  were related and similar, and were committed as part of Defendants’ scheme to use their control

  of the Surgicore Medical Network Enterprise to defraud insurers.

         1835. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as the component parts of the

  Surgicore Medical Network Enterprise continue to submit and pursue collection on fraudulent bills

  to the present day.

         1836. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the component parts of the Surgicore Medical Network Enterprise based upon materially

  false and misleading information.

         1837. Through the Surgicore Medical Network Enterprise, Defendants submitted or

  caused to be submitted fraudulent claim forms seeking payment for healthcare services provided

  to Covered Persons. The bills and supporting documents that were sent by Defendants, as well as

  the payments that Plaintiff made in response to those bills, were sent through the United States

  Postal Service. By virtue of those activities, Defendants engaged in a continuous series of predicate

  acts of mail fraud.

         1838. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.



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         1839. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1840. Each submission of a fraudulent claim constitutes a pattern of racketeering activity

  within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         1841. By reason of Defendants' violation of 18 U.S.C. § 1962(c), Plaintiff has been

  injured in its business or property, and has been damaged in the aggregate amount presently in

  excess of $153,000,000.00, the exact amount to be determined at trial. As a direct and proximate

  result of the Fraudulent Services provided through the Surgicore Medical Network Enterprise,

  Plaintiff was defrauded and incurred damages that well-exceeded the amount paid to the Surgicore

  ASCs, including but not limited to payments made to the Surgicore Associated Health Care

  Providers, paying higher settlement amounts for alleged medical services that were not necessary,

  as well as payments on bodily injury, SUM, and UM claims that were predicated on fraudulent

  medical records generated by and through the No-Fault Clinics that were intended to, and did in

  fact, falsely justify the Fraudulent Services provided at, by, and through the Surgicore Medical

  Network Enterprise, inducing Plaintiff to compromise and settle claims that it would not have but

  for the fraudulent acts alleged herein.

         1842. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants,

  jointly and severally, treble damages sustained by them, together with the costs of this lawsuit and

  reasonable attorneys' fees.

                                  SECOND CLAIM FOR RELIEF

     AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, SHABTIAN,
     ZYBIN, ACKERMAN, ADVANCED ORTHOPAEDICS, ANJANI PC, HALL PLLC,
      APAZIDIS, APAZIDIS PC, BAUM, BAY RIDGE PC, BERKOWITZ, BURSZTYN,
       CONTEMPORARY ORTHOPEDICS, ELKHOLY, HALL, HOSTIN, HOSTIN



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    ORTHOPAEDICS, JIMENEZ, J SPORTS, KATZMAN, KATZMAN PC, KOTKES,
    KOTKES PC, MCCULLOCH, MCCULLOCH ORTHOPAEDIC, NYSJ, NEUMAN,
     NEUMAN PC, NEUMAN PLLC, PORTAL, PORTAL MEDICAL, PRECISION
   ANESTHESIA, SEDATION VACATION, SHAMALOV, SINHA, UPENDRA SINHA,
  TOTAL ANESTHESIA, U.K. PC, VINAYAK SINHA AS ADMINISTRATOR OF THE
  ESTATE OF AJOY SINHA, M.D., MSJR, BLUMBERG, K. DEGRADI, HEALTH PLUS
  MANAGEMENT, M. HATAMI, S. KATANOV, B. KOGAN, KLEIN, L. PASSANISI, S.
   PASSANISI, PYATETSKAYA, REVUTSKY, RUBIN, SURGICORE 5TH AVENUE,
   SURGICORE MANAGEMENT NY, YAGUDA, JOHN DOES 2 THROUGH 20, AND
                    ABC CORPORATIONS 1 THROUGH 20

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1843. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1844. At all times relevant herein, All City Family Healthcare Center, Inc. (“All City

  ASC”) was an “enterprise” engaged in, or the activities of which affect, interstate commerce, as

  that term is defined by 18 U.S.C. § 1961(4), and within the meaning of 18 U.S.C. § 1962(c).

         1845. From in or about 2008 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Shabtian, Zybin, Ackerman, Advanced Orthopaedics, Anjani PC, Hall PLLC, Apazidis,

  Apazidis PC, Baum, Bay Ridge PC, Berkowitz, Bursztyn, Contemporary Orthopedics, Elkholy,

  Hall, Hostin, Hostin Orthopaedics, Jimenez, J Sports, Katzman, Katzman PC, Kotkes, Kotkes PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, Neuman, Neuman PC, Neuman PLLC, Portal, Portal

  Medical, Precision Anesthesia, Sedation Vacation, Shamalov, Sinha, Upendra Sinha, Total

  Anesthesia, U.K. PC, Vinayak Sinha as Administrator of the Estate of Ajoy Sinha, M.D., MSJR,

  Blumberg, K. Degradi, Health Plus Management, M. Hatami, S. Katanov, B. Kogan, Klein, L.

  Passanisi, S. Passanisi, Pyatetskaya, Revutsky, Rubin, Surgicore 5th Avenue, Surgicore

  Management NY, Yaguda, John Doe Defendants 2 through 20, and ABC Corporations 1 through

  20 were each a “person” as defined under the RICO statute and knowingly conducted and



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  participated in the affairs of the All City ASC Enterprise through a pattern of racketeering activity,

  including the numerous acts of mail fraud described herein, in the representative list of predicate

  acts set forth in the accompanying Appendix, which are incorporated by reference. Defendants’

  conduct constitutes a violation of 18 U.S.C. § 1962(c).

         1846. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the All City ASC Enterprise and utilized that control to conduct the

  pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that All

  City ASC was ineligible to receive under the New York No-Fault insurance laws because it (a)

  submitted claims for medically unnecessary medical services; (b) submitted claims performed

  pursuant to a predetermined course of treatment, designed solely to maximize reimbursement; (c)

  submitted claims for reimbursement pursuant to unlawful referral and/or financial arrangement(s)

  between the Defendants and/or others without regard to medical necessity; (d) submitted claims

  for reimbursement under billing codes that misrepresent and/or exaggerate the services purportedly

  provided to Covered Persons; and (e) was not in compliance with all statutory and regulatory

  requirements governing healthcare practice and/or licensing laws.

         1847. At all relevant times herein, Defendant Shabtian and Zybin were employed by

  and/or associated with the All City ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity. The Surgicore Medical Directors facilitated the

  fraudulent scheme as nominal, disengaged sham medical directors by failing to perform the duties

  enumerated by law for medical directors of an ASC and provided the essential means for the

  Controllers, through the All City ASC Enterprise, to form and operate a bogus ASC in violation




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  of New York and New Jersey law. In doing so, the sham Surgicore Medical Directors further

  provided the Controllers with the essential means to submit fraudulent claims through All City

  ASC to No-Fault insurers in general and Plaintiff in particular. The Administrators oversaw,

  among other things, the “marketing” for All City ASC and managed the kickback relationships

  with various health care professionals providing medically unnecessary services at, by, and

  through All City ASC.

         1848. At all relevant times herein, Defendants Ackerman, Advanced Orthopaedics,

  Anjani PC, Hall PLLC, Apazidis, Apazidis PC, Baum, Bay Ridge PC, Berkowitz, Bursztyn,

  Contemporary Orthopedics, Elkholy, Hall, Hostin, Hostin Orthopaedics, Jimenez, J Sports,

  Katzman, Katzman PC, Kotkes, Kotkes PC, McCulloch, McCulloch Orthopaedic, NYSJ, Neuman,

  Neuman PC, Neuman PLLC, Portal, Portal Medical, Precision Anesthesia, Sedation Vacation,

  Shamalov, Sinha, Upendra Sinha, Total Anesthesia, U.K. PC, Vinayak Sinha as administrator of

  the estate of Ajoy Sinha, M.D. and MSJR facilitated the All City ASC Enterprise by performing

  medically unnecessary services pursuant to a pre-determined protocol of treatment, irrespective of

  whether the purported injuries were related to an automobile accident, and/or providing the

  Controllers with referrals of Covered Persons for medically unnecessary procedures, including

  referrals in violation of New Jersey’s Codey Law, in exchange for unlawful kickbacks and/or other

  financial arrangements, which the Controllers required in order to submit fraudulent claims

  through All City ASC to No-Fault insurers in general and American Transit in particular.

         1849. At all relevant times herein, Defendants Blumberg, K. Degradi, Health Plus

  Management, M. Hatami, S. Katanov, B. Kogan, Klein, L. Passanisi, S. Passanisi, Pyatetskaya,

  Revutsky, Rubin, Surgicore 5th Avenue, Surgicore Management NY, and Yaguda, participated in

  the conduct of the All City ASC Enterprise through a pattern of racketeering activity by, among




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  other things, steering or referring, or causing to be steered or referred, Covered Persons to All City

  ASC; facilitating the operation and control of All City ASC in violation of regulatory requirements

  governing healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the

  fraudulent scheme back to the Controllers in exchange for kickbacks and/or other financial

  compensation.

         1850. On information and belief, one or more of John Does 2 through 20 were associated

  with the All City ASC Enterprise and participated in the conduct of its affairs through a pattern of

  racketeering activity.

         1851. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the All City ASC Enterprise and participated in the conduct of its affairs through

  a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1852. The racketeering acts set forth herein were carried out over at least a sixteen year

  period, were related and similar, and were committed as part of Defendants’ scheme to use their

  control of All City ASC to defraud insurers.

         1853. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as All City ASC continues to

  submit and pursue collection on the fraudulent bills to the present day.

         1854. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the All City ASC Enterprise based upon materially false and misleading information.



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         1855. Through the All City ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         1856. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         1857. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1858. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                              DAMAGES

         1859. By reason of the foregoing, violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit has been injured in their business and property and have been damaged in the aggregate

  amount presently in excess of $6,300,000.00, the exact amount to be determined at trial. As a direct

  and proximate result of the Fraudulent Services provided through the All City ASC Enterprise and

  Surgicore Health Care Providers, Plaintiff was defrauded and incurred damages that well-exceeded

  the amount paid to All City ASC, including but not limited to payments made to the Associated

  Health Care Providers, paying higher settlement amounts for alleged medical services that were

  not necessary, as well as payments on bodily injury, SUM, and UM claims that were predicated

  on fraudulent medical records generated by and through the No-Fault Clinics that were intended

  to, and did in fact, falsely justify the Fraudulent Services provided at, by, and through the All City


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  ASC Enterprise, inducing Plaintiff to compromise and settle claims that it would not have but for

  the fraudulent acts alleged herein.

         1860. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Shabtian, Zybin, Ackerman, Advanced Orthopaedics, Anjani

  PC, Hall PLLC, Apazidis, Apazidis PC, Baum, Bay Ridge PC, Berkowitz, Bursztyn,

  Contemporary Orthopedics, Elkholy, Hall, Hostin, Hostin Orthopaedics, Jimenez, J Sports,

  Katzman, Katzman PC, Kotkes, Kotkes PC, McCulloch, McCulloch Orthopaedic, NYSJ, Neuman,

  Neuman PC, Neuman PLLC, Portal, Portal Medical, Precision Anesthesia, Sedation Vacation,

  Shamalov, Sinha, Upendra Sinha, Total Anesthesia, U.K. PC, Vinayak Sinha as Administrator of

  the Estate of Ajoy Sinha, M.D., MSJR, Blumberg, K. Degradi, Health Plus Management, M.

  Hatami, S. Katanov, B. Kogan, Klein, L. Passanisi, S. Passanisi, Pyatetskaya, Revutsky, Rubin,

  Surgicore 5th Avenue, Surgicore Management NY, Yaguda, John Does 2 through 20, and ABC

  Corporations 1 through 20, jointly and severally, treble damages sustained by them, together with

  the costs of this lawsuit and reasonable attorneys’ fees.

                                     THIRD CLAIM FOR RELIEF

     AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, ALJIAN,
  HOYLE, LOPEZ, ADVANCED ORTHOPAEDICS, HALL PLLC, BAUM, BAY RIDGE
   PC, BERKOWITZ, DASSA, DASSA ORTHOPEDIC, GRAZIOSA, GRAZIOSA PC,
    HALL, HOSTIN, HOSTIN ORTHOPAEDICS, JIMENEZ, J SPORTS, KHAKHAR,
  MCCULLOCH, MCCULLOCH ORTHOPAEDIC, NEUMAN, NEUMAN PC, NEUMAN
    PLLC, NYC ORTHOPEDIC, PM&R, PORTAL, PORTAL MEDICAL, SEDATION
       VACATION, SELDES, UPENDRA SINHA, U.K. PC, AEH HEALTHCARE
   MANAGEMENT, BLUMBERG, HEALTH PLUS MANAGEMENT, KLEIN, MEGA
      GROUP SOLUTION, S. PASSANISI, RUBIN, SURGICORE 5TH AVENUE,
   SURGICORE MANAGEMENT NY, YAGUDA, JOHN DOES 2 THROUGH 20, AND
                    ABC CORPORATIONS 1 THROUGH 20

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1861. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.


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                                      THE RICO ENTERPRISE

         1862. At all times relevant herein, Bronx SC, LLC (doing business as Empire State

  Ambulatory Surgery Center) (“Empire State ASC”) was an “enterprise” engaged in, or the

  activities of which affect, interstate commerce, as that term is defined by 18 U.S.C. § 1961(4), and

  within the meaning of 18 U.S.C. § 1962(c).

         1863. From in or about 2010 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Aljian, Hoyle Lopez, Advanced Orthopaedics, Hall PLLC, Baum, Bay Ridge PC,

  Berkowitz, Dassa, Dassa Orthopedic, Graziosa, Graziosa PC, Hall, Hostin, Hostin Orthopaedics,

  Jimenez, J Sports, Khakhar, McCulloch, McCulloch Orthopaedic, Neuman, Neuman PC, Neuman

  PLLC, NYC Orthopedic, PM&R, Portal, Portal Medical, Sedation Vacation, Upendra Sinha, U.K.

  PC, AEH Healthcare Management, Blumberg, Health Plus Management, Klein, Mega Group

  Solution, S. Passanisi, Rubin, Seldes, Surgicore 5th Avenue, Surgicore Management NY, Yaguda,

  John Doe Defendants 2 through 20, and ABC Corporations 1 through 20 were each a “person” as

  defined under the RICO statue and knowingly conducted and participated in the affairs of the

  Empire State ASC Enterprise through a pattern of racketeering activity, including the numerous

  acts of mail fraud described herein, in the representative list of predicate acts set forth in the

  accompanying Appendix, which are incorporated by reference. Defendants’ conduct constitutes a

  violation of 18 U.S.C. § 1962(c).

         1864. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the Empire State ASC Enterprise and utilized that control to conduct the

  pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that Empire

  State ASC was ineligible to receive under the New York No-Fault insurance laws because it (a)


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  submitted claims for medically unnecessary medical services; (b) submitted claims performed

  pursuant to a predetermined course of treatment, designed solely to maximize reimbursement; (c)

  submitted claims for reimbursement pursuant to unlawful referral and/or financial arrangements

  between the Defendants and/or others without regard to medical necessity; (d) submitted claims

  for reimbursement under billing codes that misrepresent and/or exaggerate the services purportedly

  provided to Covered Persons; and (e) was not in compliance with all statutory and regulatory

  requirements governing healthcare practice and/or licensing laws.

         1865. At all relevant times herein, Defendant Aljian, Hoyle, and Lopez were employed

  by and/or associated with the Empire State ASC Enterprise and participated in the conduct of its

  affairs through a pattern of racketeering activity. The Surgicore Medical Directors facilitated the

  fraudulent scheme as nominal, disengaged sham medical directors by failing to perform the duties

  enumerated by law for medical directors of an ASC and provided the essential means for the

  Controllers, though the Empire State ASC Enterprise, to form and operate a bogus ASC in

  violation of New York and New Jersey law. In doing so, the sham Surgicore Medical Directors

  further provided the Controllers with the essential means to submit fraudulent claims through

  Empire State ASC to No-Fault insurers in general and Plaintiff in particular. The Administrators

  oversaw, among other things, the “marketing” for Empire State ASC and managed the kickback

  relationships with various health care professionals providing medically unnecessary services at,

  by and through Empire State ASC.

         1866. At all relevant times herein, Defendants Advanced Orthopaedics, Hall PLLC,

  Baum, Bay Ridge PC, Berkowitz, Dassa, Dassa Orthopedic, Graziosa, Graziosa PC, Hall, Hostin,

  Hostin Orthopaedics, Jimenez, J Sports, Khakhar, McCulloch, McCulloch Orthopaedic, Neuman,

  Neuman PC, Neuman PLLC, NYC Orthopedic, PM&R, Portal, Portal Medical, Sedation Vacation,




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  Seldes, and Upendra Sinha, U.K. PC facilitated the Empire State ASC Enterprise by performing

  medically unnecessary services pursuant to a pre-determined protocol of treatment, irrespective of

  whether the purported injuries were related to an automobile accident, and/or providing the

  Controllers with referrals of Covered Persons for medically unnecessary procedures, including

  referrals in violation of New Jersey’s Codey Law, in exchange for unlawful kickbacks and/or other

  financial arrangements, which the Controllers required in order to submit fraudulent claims

  through Empire State ASC to No-Fault insurers in general and American Transit in particular.

         1867. At all relevant times herein, Defendants AEH Healthcare Management, Blumberg,

  Health Plus Management, Klein, Mega Group Solution, S. Passanisi, Rubin, Surgicore 5th Avenue,

  Surgicore Management NY, and Yaguda, participated in the conduct of the Empire State ASC

  Enterprise through a pattern of racketeering activity by, among other things, steering or referring,

  or causing to be steered or referred, Covered Persons to Empire State ASC; facilitating the

  operation and control of Empire State ASC in violation of regulatory requirements governing

  healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the fraudulent

  scheme back to the Controllers in exchange for kickbacks and/or other financial compensation.

         1868. On information and belief, one or more of John Does 2 through 20 were associated

  with the Empire State ASC Enterprise and participated in the conduct of its affairs through a pattern

  of racketeering activity.

         1869. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the Empire State ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity.




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                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1870. The racketeering acts set forth herein were carried out over at least a 14 year period,

  were related and similar, and were committed as part of Defendants’ scheme to use their control

  of Empire State ASC to defraud insurers.

         1871. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as Empire State ASC continues

  to submit and pursue collection on the fraudulent bills to the present day.

         1872. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the Empire State ASC Enterprise based upon materially false and misleading

  information.

         1873. Through the Empire State ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         1874. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.




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         1875. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1876. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         1877. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit has been injured in their business and property and have been damaged in the aggregate

  amount presently in excess of $1,100,000.00, the exact amount to be determined at trial. As a direct

  and proximate result of the Fraudulent Services provided through the Empire State ASC

  Enterprise, Plaintiff was defrauded and incurred damages that well-exceeded the amount paid to

  Empire State ASC and Surgicore Health Care Providers, including but not limited to payments

  made to the Associated Health Care Providers, paying higher settlement amounts for alleged

  medical services that were not necessary, as well as payments on bodily injury, SUM, and UM

  claims that were predicated on fraudulent medical records generated by and through the No-Fault

  Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services provided at,

  by, and through the Empire State ASC Enterprise, inducing Plaintiff to compromise and settle

  claims that it would not have but for the fraudulent acts alleged herein.

         1878. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Aljian, Hoyle, Lopez, Advanced Orthopaedics, Hall PLLC,

  Baum, Bay Ridge PC, Berkowitz, Dassa, Dassa Orthopedic, Graziosa, Graziosa PC, Hall, Hostin,

  Hostin Orthopaedics, Jimenez, J Sports, Khakhar, McCulloch, McCulloch Orthopaedic, Neuman,

  Neuman PC, Neuman PLLC, NYC Orthopedic, PM&R, Portal, Portal Medical, Sedation Vacation,

  Seldes, Upendra Sinha, U.K. PC, AEH Healthcare Management, Blumberg, Health Plus

  Management, Klein, Mega Group Solution, S. Passanisi, Rubin, Surgicore 5th Avenue, Surgicore


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  Management NY, Yaguda PM&R, John Does 2 through 20, and ABC Corporations 1 through 20,

  jointly and severally, treble damages sustained by them, together with the costs of this lawsuit and

  reasonable attorneys’ fees.

                                    FOURTH CLAIM FOR RELIEF

    AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, SPRINGER,
   ADVANCED ORTHOPAEDICS, AMIGUD, AMIGUD PC, ANJANI PC, HALL PLLC,
    ALEXANDER BOWEN PLLC, APAZIDIS, APAZIDIS PC, BERKOWITZ, BOWEN,
   BOWEN PLLC, CENTURION MIDTOWN ANESTHESIA, CENTURION MIDTOWN
        MEDICAL, FIFTH AVENUE ANESTHESIA, HALL, HOSTIN, HOSTIN
     ORTHOPAEDICS, JIMENEZ, JONES, J SPORTS, KATZMAN, KATZMAN PC,
      KHAKHAR, MCCULLOCH, MCCULLOCH ORTHOPAEDIC, MCMAHON,
     MCMAHON PC, NEUMAN, PHOENIX MEDICAL, PM&R, PORTAL, PORTAL
   MEDICAL, SEDATION VACATION, SHABTIAN, SINHA, SINHA ORTHOPEDICS,
       TOTAL ANESTHESIA, UPENDRA SINHA, U.K. PC, VINAYAK SINHA AS
    ADMINISTRATOR OF THE ESTATE OF AJOY SINHA, M.D., MSJR, FIWA 1049
     REALTY, GESHEFT ASSOCIATES, M. HATAMI, J. KATANOV, S. KATANOV,
   MEGA GROUP SOLUTION, MIDTOWN 305 REALTY, SIGNME, SURGICORE 5TH
   AVENUE, SURGICORE MANAGEMENT NY, YAGUDA, JOHN DOES 1 THROUGH
                20, AND ABC CORPORATIONS 1 THROUGH 20

                                [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1879. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1880. At all times relevant herein, Fifth Avenue Surgery Center, LLC (formerly known

  as Fifth Avenue ASC Acquisition, LLC) (“Fifth Avenue ASC”) was an “enterprise” engaged in,

  or the activities of which affect, interstate commerce, as that term is defined by 18 U.S.C. §

  1961(4), and within the meaning of 18 U.S.C. § 1962(c).

         1881. From in or about 2009 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Springer, Advanced Orthopaedics, Amigud, Amigud PC, Anjani PC, Hall PLLC,

  Alexander Bowen PLLC, Apazidis, Apazidis PC, Berkowitz, Bowen, Bowen PLLC, Centurion

  Midtown Anesthesia, Centurion Midtown Medical, Fifth Avenue Anesthesia, Hall, Hostin, Hostin


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  Orthopaedics, Jimenez, Jones, J Sports, Katzman, Katzman PC, Khakhar, McCulloch, McCulloch

  Orthopaedic, McMahon, McMahon PC, Neuman, Phoenix Medical, PM&R, Portal, Portal

  Medical, Sedation Vacation, Shabtian, Sinha, Sinha Orthopedics, Total Anesthesia, Upendra

  Sinha, U.K. PC, Vinayak Sinha as Administrator of the Estate of Ajoy Sinha, M.D., MSJR, FIWA

  1049 Realty, Gesheft Associates, M. Hatami, J. Katanov, S. Katanov, Mega Group Solution,

  Midtown 305 Realty, SignMe, Surgicore 5th Avenue, Surgicore Management NY, Yaguda, John

  Doe Defendants 1 through 20, and ABC Corporations 1 through 20 were each a “person” as

  defined in the RICO statute and knowingly conducted and participated in the affairs of the Fifth

  Avenue ASC Enterprise through a pattern of racketeering activity, including the numerous acts of

  mail fraud described herein, in the representative list of predicate acts set forth in the

  accompanying Appendix, which are incorporated by reference. Defendants’ conduct constitutes a

  violation of 18 U.S.C. § 1962(c).

         1882. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the Fifth Avenue ASC Enterprise and utilized that control to conduct the

  pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that Fifth

  Avenue ASC was ineligible to receive under the New York No-Fault insurance laws because it (a)

  submitted claims for medically unnecessary medical services; (b) submitted claims performed

  pursuant to a predetermined course of treatment, designed solely to maximize reimbursement; (c)

  submitted claims for reimbursement pursuant to unlawful referral and/or financial arrangements

  between the Defendants and/or others without regard to medical necessity; (d) submitted claims

  for reimbursement under billing codes that misrepresent and/or exaggerate the services purportedly




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  provided to Covered Persons; and (e) was not in compliance with all statutory and regulatory

  requirements governing healthcare practice and/or licensing laws.

         1883. At all relevant times herein, Defendant Springer was employed by and/or associated

  with the Fifth Avenue ASC Enterprise and participated in the conduct of its affairs through a

  pattern of racketeering activity. The Surgicore Medical Directors facilitated the fraudulent scheme

  as nominal, disengaged sham medical directors by failing to perform the duties enumerated by law

  for medical directors of an ASC and provided the essential means for the Controllers, through the

  Fifth Avenue ASC Enterprise, to form and operate a bogus ASC in violation of New York and

  New Jersey law. In doing so, the sham Surgicore Medical Directors further provided the

  Controllers with the essential means to submit fraudulent claims through Fifth Avenue ASC to

  No-Fault insurers in general and American Transit in particular. The Administrators oversaw,

  among other things, the “marketing” for Fifth Avenue ASC and managed the kickback

  relationships with various health care professionals providing medically unnecessary services at,

  by, and through Fifth Avenue ASC.

         1884. At all relevant times herein, Defendants Advanced Orthopaedics, Amigud, Amigud

  PC, Anjani PC, Hall PLLC, Alexander Bowen PLLC, Apazidis, Apazidis PC, Berkowitz, Bowen,

  Bowen PLLC, Centurion Midtown Anesthesia, Centurion Midtown Medical, Fifth Avenue

  Anesthesia, Hall, Hostin, Hostin Orthopaedics, Jimenez, Jones, J Sports, Katzman, Katzman PC,

  Khakhar, McCulloch, McCulloch Orthopaedic, McMahon, McMahon PC, Neuman, Phoenix

  Medical, PM&R, Portal, Portal Medical, Sedation Vacation, Shabtian, Sinha, Sinha Orthopedics,

  Total Anesthesia, Upendra Sinha, U.K. PC, Vinayak Sinha as administrator of the estate of Ajoy

  Sinha, M.D., and MSJR facilitated the Fifth Avenue ASC Enterprise by performing medically

  unnecessary services pursuant to a pre-determined protocol of treatment, irrespective of whether




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  the purported injuries were related to an automobile accident, and/or providing the Controllers

  with referrals of Covered Persons for medically unnecessary procedures, including referrals in

  violation of New Jersey’s Codey Law, in exchange for unlawful kickbacks and/or other financial

  arrangements, which the Controllers required in order to submit fraudulent claims through Fifth

  Avenue ASC to No-Fault insurers in general and American Transit in particular.

         1885. At all relevant times herein, Defendants FIWA 1049 Realty, Gesheft Associates,

  M. Hatami, J. Katanov, S. Katanov, Mega Group Solution, Midtown 305 Realty, SignMe,

  Surgicore 5th Avenue, Surgicore Management NY, and Yaguda, participated in the conduct of the

  Fifth Avenue ASC Enterprise through a pattern of racketeering activity by, among other things,

  steering or referring, or causing to be steered or referred, Covered Persons to Fifth Avenue ASC;

  facilitating the operation and control of Fifth Avenue ASC in violation of regulatory requirements

  governing healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the

  fraudulent scheme back to the Controllers in exchange for kickbacks and/or other financial

  compensation.

         1886. On information and belief, one or more of John Does 2 through 20 were associated

  with the Fifth Avenue ASC Enterprise and participated in the conduct of its affairs through a

  pattern of racketeering activity.

         1887. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the Fifth Avenue ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity.




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                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1888. The racketeering acts set forth herein were carried out over at least a 15 year period,

  were related and similar, and were committed as part of Defendants’ scheme to use their control

  of Fifth Avenue ASC to defraud insurers.

         1889. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as Fifth Avenue ASC continues

  to submit and pursue collection on the fraudulent bills to the present day.

         1890. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the Fifth Avenue ASC Enterprise based upon materially false and misleading

  information.

         1891. Through the Fifth Avenue ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         1892. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.




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         1893. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1894. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         1895. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit has been injured in their business and property and have been damaged in the aggregate

  amount presently in excess of $4,200,000.00, the exact amount to be determined at trial. As a direct

  and proximate result of the Fraudulent Services provided through the Fifth Avenue ASC

  Enterprise, Plaintiff was defrauded and incurred damages that well-exceeded the amount paid to

  Fifth Avenue ASC and Surgicore Health Care Providers, including but not limited to payments

  made to the Associated Health Care Providers, paying higher settlement amounts for alleged

  medical services that were not necessary, as well as payments on bodily injury, SUM, and UM

  claims that were predicated on fraudulent medical records generated by and through the No-Fault

  Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services provided at,

  by, and through the Fifth Avenue ASC Enterprise, inducing Plaintiff to compromise and settle

  claims that it would not have but for the fraudulent acts alleged herein.

         1896. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Springer, Advanced Orthopaedics, Amigud, Amigud PC,

  Anjani PC, Hall PLLC, Alexander Bowen PLLC, Apazidis, Apazidis PC, Berkowitz, Bowen,

  Bowen PLLC, Centurion Midtown Anesthesia, Centurion Midtown Medical, Fifth Avenue

  Anesthesia, Hall, Hostin, Hostin Orthopaedics, Jimenez, Jones, J Sports, Katzman, Katzman PC,

  Khakhar, McCulloch, McCulloch Orthopaedic, McMahon, McMahon PC, Neuman, Phoenix

  Medical, PM&R, Portal, Portal Medical, Sedation Vacation, Shabtian, Sinha, Sinha Orthopedics,


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  Total Anesthesia, Upendra Sinha, U.K. PC, Vinayak Sinha as Administrator of the Estate of Ajoy

  Sinha, M.D., Mega Group Solution, MSJR, FIWA 1049 Realty, Gesheft Associates, M. Hatami,

  J. Katanov, S. Katanov, Mega Group Solution, Midtown 305 Realty, SignMe, Surgicore 5th

  Avenue, Surgicore Management NY, Yaguda, Katzman PC, John Does 2 through 20, and ABC

  Corporations 1 through 20, jointly and severally, treble damages sustained by them, together with

  the costs of this lawsuit and reasonable attorneys’ fees.

                                     FIFTH CLAIM FOR RELIEF

    AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, WEINER,
     ROMERO, SANTOS, YOUNG, ADVANCED ORTHOPAEDICS, ANESTHESIA
  PROFESSIONALS, ANJANI PC, BERKOWITZ, ELKHOLY, KHAN, NON-SURGICAL
  ORTHOPEDICS, INTEGRATED PAIN MANAGEMENT, PRECISION ANESTHESIA,
  ROXBURY ANESTHESIA, SCINAS, SINHA, VORA, XIE, 50 FRANKLIN LN REALTY,
   ADVANCED PMR, BLUMBERG, HAFEEZ, KLEIN, L. PASSANISI, S. PASSANISI,
      RUBIN, FLBD MANAGEMENT, HEALTH PLUS MANAGEMENT, REIZIS,
      REVUTSKY, JOHN DOES 2 THROUGH 20, AND ABC CORPORATIONS 1
                              THROUGH 20

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1897. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1898. At all times relevant herein, Manalapan Surgery Center, Inc. (formerly known as

  Manalapan Surgery Center, P.A.) (“Manalapan ASC”) was an “enterprise” engaged in, or the

  activities of which affect, interstate commerce, as that term is defined by 18 U.S.C. § 1961(4), and

  within the meaning of 18 U.S.C. § 1962(c).

         1899. From in or about 2012 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Weiner, Romero, Santos, Young, Advanced Orthopaedics, Anesthesia Professionals,

  Anjani PC, Berkowitz, Elkholy, Khan, Non-Surgical Orthopedics, Integrated Pain Management,

  Precision Anesthesia, Roxbury Anesthesia, Scinas, Sinha, Vora, Xie, 50 Franklin Ln Realty,


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  Advanced PMR, Blumberg, Hafeez, Klein, L. Passanisi, S. Passanisi, Rubin, FLBD Management,

  Health Plus Management, Reizis, Revutsky, John Doe Defendants 2 through 20, and ABC

  Corporations 1 through 20 were each a “person” as defined under the RICO statute and knowingly

  conducted and participated in the affairs of the Manalapan ASC Enterprise through a pattern of

  racketeering activity, including the numerous acts of mail fraud described herein, in the

  representative list of predicate acts set forth in the accompanying Appendix, which are

  incorporated by reference. Defendants’ conduct constitutes a violation of 18 U.S.C. § 1962(c).

         1900. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the Manalapan ASC Enterprise and utilized that control to conduct the

  pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that

  Manalapan ASC was ineligible to receive under the New York No-Fault insurance laws because

  it (a) submitted claims for medically unnecessary medical services; (b) submitted claims

  performed pursuant to a predetermined course of treatment, designed solely to maximize

  reimbursement; (c) submitted claims for reimbursement pursuant to unlawful referral and/or

  financial arrangements between the Defendants and/or others without regard to medical necessity;

  (d) submitted claims for reimbursement under billing codes that misrepresent and/or exaggerate

  the services purportedly provided to Covered Persons; and (e) was not in compliance with all

  statutory and regulatory requirements governing healthcare practice and/or licensing laws.

         1901. At all relevant times herein, Defendant Weiner, Kogan, Romero, Santos, and

  Young were employed by and/or associated with the Manalapan ASC Enterprise and participated

  in the conduct of affairs through a pattern of racketeering activity. The Surgicore Medical Directors




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  facilitated the fraudulent scheme as nominal, disengaged sham medical directors by failing to

  perform the duties enumerated by law for medical directors of an ASC and provided the essential

  means for the Controllers, though the Manalapan ASC Enterprise, to form and operate a bogus

  ASC in violation of New York and New Jersey law. In doing so, the sham Surgicore Medical

  Directors further provided the Controllers with the essential means to submit fraudulent claims

  through Manalapan ASC to No-Fault insurers in general and Plaintiff in particular. The

  Administrators oversaw, among other things, the “marketing” for Manalapan ASC and managed

  the kickback relationships with various health care professionals providing medically unnecessary

  services at, by, and through Manalapan ASC.

         1902. At all relevant times herein, Defendants Advanced Orthopaedics, Anesthesia

  Professionals, Anjani PC, Berkowitz, Elkholy, Khan, Non-Surgical Orthopedics, Integrated Pain

  Management, Precision Anesthesia, Roxbury Anesthesia, Scinas, Sinha, Vora, and Xie, facilitated

  the Manalapan ASC Enterprise by performing medically unnecessary services pursuant to a pre-

  determined protocol of treatment, irrespective of whether the purported injuries were related to an

  automobile accident, and/or providing the Controllers with referrals of Covered Persons for

  medically unnecessary procedures, including referrals in violation of New Jersey’s Codey Law, in

  exchange for unlawful kickbacks and/or other financial arrangements, which the Controllers

  required in order to submit fraudulent claims through Manalapan ASC to No-Fault insurers in

  general and American Transit in particular.

         1903. At all relevant times herein, Defendants 50 Franklin Ln Realty, Advanced PMR,

  Blumberg, Hafeez, Klein, L. Passanisi, S. Passanisi, Reizis, Rubin, Elkholy, FLBD Management,

  Health Plus Management, Revutsky, and Weiner, participated in the conduct of the Manalapan

  ASC Enterprise through a pattern of racketeering activity by, among other things, steering or




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  referring, or causing to be steered or referred, Covered Persons to Manalapan ASC; facilitating the

  operation and control of Manalapan ASC in violation of regulatory requirements governing

  healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the fraudulent

  scheme back to the Controllers in exchange for kickbacks and/or other financial compensation.

         1904. On information and belief, one or more of John Does 2 through 20 were associated

  with the Manalapan ASC Enterprise and participated in the conduct of its affairs through a pattern

  of racketeering activity.

         1905. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the Manalapan ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1906. The racketeering acts set forth herein were carried out over at least a twelve year

  period, were related and similar, and were committed as part of Defendants’ scheme to use their

  control of Manalapan ASC to defraud insurers.

         1907. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as Manalapan ASC continues

  to submit and pursue collection on the fraudulent bills to the present day.

         1908. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the Manalapan ASC Enterprise based upon materially false and misleading information.




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         1909. Through the Manalapan ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         1910. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         1911. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1912. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                              DAMAGES

         1913. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit has been injured in their business and property and have been damaged in the aggregate

  amount presently in excess of $300,000.00, the exact amount to be determined at trial. As a direct

  and proximate result of the Fraudulent Services provided through the Manalapan ASC Enterprise,

  Plaintiff was defrauded and incurred damages that well-exceeded the amount paid to Manalapan

  ASC and Surgicore Health Care Providers, including but not limited to payments made to the

  Associated Health Care Providers, paying higher settlement amounts for alleged medical services

  that were not necessary, as well as payments on bodily injury, SUM, and UM claims that were

  predicated on fraudulent medical records generated by and through the No-Fault Clinics that were

  intended to, and did in fact, falsely justify the Fraudulent Services provided at, by, and through the


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  Manalapan ASC Enterprise, inducing Plaintiff to compromise and settle claims that it would not

  have but for the fraudulent acts alleged herein.

         1914. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Weiner, Romero, Santos, Young, Advanced Orthopaedics,

  Anesthesia Professionals, Anjani PC, Berkowitz, Elkholy, Khan, Non-Surgical Orthopedics,

  Integrated Pain Management, Precision Anesthesia, Roxbury Anesthesia, Scinas, Sinha, Vora, Xie,

  50 Franklin Ln Realty, Advanced PMR, Blumberg, Hafeez, Klein, L. Passanisi, S. Passanisi,

  Reizis, Rubin, FLBD Management, Health Plus Management, Revutsky, John Does 2 through 20,

  and ABC Corporations 1 through 20, jointly and severally, treble damages sustained by them,

  together with the costs of this lawsuit and reasonable attorneys’ fees.

                                     SIXTH CLAIM FOR RELIEF

  AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, KOPLIK, NAIK,
         ROMERO, ADVANCED ORTHOPAEDICS, BERKOWITZ, CENTURION
   ANESTHESIA, DASSA, DASSA ORTHOPEDIC, EATON, ELKHOLY, HAAR, HAAR
      ORTHOPAEDICS, HOSTIN, HOSTIN ORTHOPAEDICS, INTEGRATED PAIN
         MANAGEMENT, ITZKOVICH, JONES, MCCULLOCH, MCCULLOCH
     ORTHOPAEDIC, NEUMAN, NEUMAN PC, NEUMAN PLLC, NON-SURGICAL
       ORTHOPEDICS, NJ VORA, NYC ORTHOPEDIC, PASSAIC ORTHOPEDIC,
  PHOENIX MEDICAL, PRECISION ANESTHESIA, SEDATION VACATION, SELDES,
   SELDES PC, VINAYAK SINHA AS ADMINISTRATOR OF THE ESTATE OF AJOY
   SINHA, M.D., SINHA ORTHOPEDICS, NEUMAN, SYNERGY ANESTHESIA, VORA,
   XIE, ASC INVESTMENT SERVICES, ASAR HEALTHCARE, AS MED INVEST, BDP
          VENTURES LLC, BDP VENTURES INC., BERKOWITZ, BLUE WALL
         MANAGEMENT, CHAVEZ, CONTE DE FEES, DENEVICH, FIABA, HDS
      INVESTMENTS, KOSTANIAN CONSULTING ASSOCIATES, MAIN STREET
    MEDICAL, M. HATAMI, J. KATANOV, S. KATANOV, KEYSERMAN, B. KOGAN,
       KOSTANIAN, MK MED INVEST, ORTUZ, RAMIREZ, REVUTSKY, REDY
    VENTURES, M. SELDES, SHAKAROV, SURGICORE MANAGEMENT, YAGUDA,
        YCENTURY, JOHN DOES 2 THROUGH 20, AND ABC CORPORATIONS 1
                               THROUGH 20

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1915. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.


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                                      THE RICO ENTERPRISE

         1916. At all times relevant herein, New Horizon Surgical Center LLC (“New Horizon

  ASC”) was an “enterprise” engaged in, or the activities of which affect, interstate commerce, as

  that term is defined by 18 U.S.C. § 1961(4), and within the meaning of 18 U.S.C. § 1962(c).

         1917. From in or about 2009 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Koplik, Naik, Romero, Advanced Orthopaedics, Berkowitz, Centurion Anesthesia,

  Dassa, Dassa Orthopedic, Eaton, Elkholy, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics,

  Integrated Pain Management, Itzkovich, Jones, McCulloch, McCulloch Orthopaedic, Neuman,

  Neuman PC, Neuman PLLC, Non-Surgical Orthopedics, NJ Vora, NYC Orthopedic, Passaic

  Orthopedic, Phoenix Medical, Precision Anesthesia, Sedation Vacation, Seldes, Seldes PC,

  Vinayak Sinha as Administrator of the Estate of Ajoy Sinha, M.D., Sinha Orthopedics, Synergy

  Anesthesia, Vora, Xie, ASC Investment Services, ASAR Healthcare, AS Med Invest, BDP

  Ventures LLC, BDP Ventures Inc., Blue Wall Management, Chavez, Conte De Fees, Denevich,

  Fiaba, HDS Investments, Kostanian Consulting Associates, Main Street Medical, M. Hatami, J.

  Katanov, S. Katanov, Keyserman, B. Kogan, Kostanian, MK Med Invest, Ortuz, Redy Ventures,

  Ramirez, Revutsky, M. Seldes, Shakarov, Surgicore Management, Yaguda, YCentury, John Doe

  Defendants 2 through 20, and ABC Corporations 1 through 20 were each a “person” as defined

  under the RICO statute and knowingly conducted and participated in the affairs of the New

  Horizon ASC Enterprise through a pattern of racketeering activity, including the numerous acts of

  mail fraud described herein, in the representative list of predicate acts set forth in the

  accompanying Appendix, which are incorporated by reference. Defendants’ conduct constitutes a

  violation of 18 U.S.C. § 1962(c).

         1918. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and


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  directed the operations of the New Horizon ASC Enterprise and utilized that control to conduct

  the pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that New

  Horizon ASC was ineligible to receive under the New York No-Fault insurance laws because it

  (a) submitted claims for medically unnecessary medical services; (b) submitted claims performed

  pursuant to a predetermined course of treatment, designed solely to maximize reimbursement; (c)

  submitted claims for reimbursement pursuant to unlawful referral and/or financial arrangement(s)

  between the Defendants and/or others without regard to medical necessity; (d) submitted claims

  for reimbursement under billing codes that misrepresent and/or exaggerate the services purportedly

  provided to Covered Persons; and (e) was not in compliance with all statutory and regulatory

  requirements governing healthcare practice and/or licensing laws.

         1919. At all relevant times herein, Defendant Koplik, Naik, and Romero were employed

  by and/or associated with the New Horizon ASC Enterprise and participated in the conduct of its

  affairs through a pattern of racketeering activity. The Surgicore Medical Directors facilitated the

  fraudulent scheme as nominal, disengaged sham medical directors by failing to perform the duties

  enumerated by law for medical directors of an ASC and provided the essential means for the

  Controllers, through the New Horizon ASC Enterprise, to form and operate a bogus ASC in

  violation of New York and New Jersey law. In doing so, the sham Surgicore Medical Directors

  further provided the Controllers with the essential means to submit fraudulent claims through New

  Horizon ASC to No-Fault insurers in general and Plaintiff in particular. The Administrators

  oversaw, among other things, the “marketing” for New Horizon ASC and managed the kickback

  relationships with various health care professionals providing medically unnecessary services at,

  by, and through New Horizon ASC.




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         1920. At all relevant times herein, Defendants Advanced Orthopaedics, Berkowitz,

  Centurion Anesthesia, Dassa, Dassa Orthopedic, Eaton, Elkholy, Haar, Haar Orthopaedics, Hostin,

  Hostin Orthopaedics, Integrated Pain Management, Itzkovich, Jones, McCulloch, McCulloch

  Orthopaedic, Neuman, Non-Surgical Orthopedics, NJ Vora, NYC Orthopedic, Passaic Orthopedic,

  Phoenix Medical, Precision Anesthesia, Sedation Vacation, Seldes, Seldes PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., Sinha Orthopedics, Synergy Anesthesia, Vora,

  and Xie facilitated the New Horizon ASC Enterprise by performing medically unnecessary

  services pursuant to a pre-determined protocol of treatment, irrespective of whether the purported

  injuries were related to an automobile accident, and/or providing the Controllers with referrals of

  Covered Persons for medically unnecessary procedures, including referrals in violation of New

  Jersey’s Codey Law, in exchange for unlawful kickbacks and/or other financial arrangements,

  which the Controllers required in order to submit fraudulent claims through New Horizon ASC to

  No-Fault insurers in general and American Transit in particular.

         1921. At all relevant times herein, Defendants ASC Investment Services, ASAR

  Healthcare, AS Med Invest, BDP Ventures LLC, BDP Ventures Inc., Blue Wall Management,

  Chavez, Conte De Fees, Denevich, Fiaba, HDS Investments, Kostanian Consulting Associates,

  Main Street Medical, M. Hatami, J. Katanov, S. Katanov, Keyserman, B. Kogan, Kostanian, MK

  Med Invest, Ortuz, Redy Ventures, Ramirez, Revutsky, M. Seldes, Shakarov, Surgicore

  Management, Yaguda, and YCentury, participated in the conduct of the New Horizon ASC

  Enterprise through a pattern of racketeering activity by, among other things, steering or referring,

  or causing to be steered or referred, Covered Persons to New Horizon ASC; facilitating the

  operation and control of New Horizon ASC in violation of regulatory requirements governing




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  healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the fraudulent

  scheme back to the Controllers in exchange for kickbacks and/or other financial compensation.

         1922. On information and belief, one or more of John Does 2 through 20 were associated

  with the New Horizon ASC Enterprise and participated in the conduct of its affairs through a

  pattern of racketeering activity.

         1923. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the New Horizon ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1924. The racketeering acts set forth herein were carried out over at least a 15 year period,

  were related and similar, and were committed as part of Defendants’ scheme to use their control

  of New Horizon ASC to defraud insurers.

         1925. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as New Horizon ASC continues

  to submit and pursue collection on the fraudulent bills to the present day.

         1926. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the New Horizon ASC Enterprise based upon materially false and misleading

  information.

         1927. Through the New Horizon ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to



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  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         1928. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         1929. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1930. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         1931. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit has been injured in their business and property and have been damaged in the aggregate

  amount presently in excess of $1,100,000.00, the exact amount to be determined at trial. As a direct

  and proximate result of the Fraudulent Services provided through the New Horizon ASC

  Enterprise and Surgicore Health Care Providers, Plaintiff was defrauded and incurred damages

  that well-exceeded the amount paid to New Horizon ASC, including but not limited to payments

  made to the Associated Health Care Providers, paying higher settlement amounts for alleged

  medical services that were not necessary, as well as payments on bodily injury, SUM, and UM

  claims that were predicated on fraudulent medical records generated by and through the No-Fault

  Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services provided at,

  by, and through the New Horizon ASC Enterprise, inducing Plaintiff to compromise and settle

  claims that it would not have but for the fraudulent acts alleged herein.


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         1932. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Koplik, Naik, Romero, Advanced Orthopaedics, Berkowitz,

  Centurion Anesthesia, Dassa, Dassa Orthopedic, Eaton, Elkholy, Haar, Haar Orthopaedics, Hostin,

  Hostin Orthopaedics, Integrated Pain Management, Itzkovich, Jones, McCulloch, McCulloch

  Orthopaedic, Neuman, Non-Surgical Orthopedics, NJ Vora, NYC Orthopedic, Passaic Orthopedic,

  Phoenix Medical, Precision Anesthesia, Sedation Vacation, Seldes, Seldes PC, Vinayak Sinha as

  Administrator of the Estate of Ajoy Sinha, M.D., Sinha Orthopedics, Synergy Anesthesia, Vora,

  Xie, ASC Investment Services, ASAR Healthcare, AS Med Invest, BDP Ventures LLC, BDP

  Ventures Inc., Blue Wall Management, Chavez, Conte De Fees, Denevich, Fiaba, HDS

  Investments, Kostanian Consulting Associates, Main Street Medical, M. Hatami, J. Katanov, S.

  Katanov, Keyserman, B. Kogan, Kostanian, MK Med Invest, Ortuz, Redy Ventures, Ramirez,

  Revutsky, M. Seldes, Shakarov, Surgicore Management, Yaguda, YCentury, John Does 2 through

  20, and ABC Corporations 1 through 20, jointly and severally, treble damages sustained by them,

  together with the costs of this lawsuit and reasonable attorneys’ fees.

                                 SEVENTH CLAIM FOR RELIEF

  AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, CHAN, HOYLE,
      LUCERO, MENGER, SANTORA, SPINA, ZYBIN, ACKERMAN, ADVANCED
  ORTHOPAEDICS, ANJANI PC, HALL PLLC, BERKOWITZ, BOWEN, BOWEN PLLC,
  CONTEMPORARY ORTHOPEDICS, GRAZIOSA, GRAZIOSA PC, HALL, JIMENEZ,
    JONES, J SPORTS, KATZMAN, KATZMAN PC, KDV MEDICAL, KV MEDICAL,
    KETAN PC, KHAKHAR, KOTKES, KOTKES PC, MCCULLOCH, MCCULLOCH
  ORTHOPAEDIC, NYSJ, NEUMAN, NEUMAN PC, PHOENIX MEDICAL, SHABTIAN,
     SINHA, TOTAL ANESTHESIA, VORA, AEH HEALTHCARE MANAGEMENT,
   ARREDONDO-CALLE, BLUMBERG, HEALTH PLUS MANAGEMENT, KLEIN, L.
     PASSANISI, S. PASSANISI, RUBIN, SURGICORE 5TH AVENUE, SURGICORE
        MANAGEMENT NY, YAGUDA, JOHN DOES 2 THROUGH 20 AND ABC
                        CORPORATIONS 1 THROUGH 20




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                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1933. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1934. At all times relevant herein, NYEEQASC, LLC doing business as North Queens

  Surgical Center (“North Queens ASC”) was an “enterprise” engaged in, or the activities of which

  affect, interstate commerce, as that term is defined by 18 U.S.C. § 1961(4), and within the meaning

  of 18 U.S.C. § 1962(c).

         1935. From in or about 2011 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Chan, Hoyle, Lucero, Menger, Santora, Spina, Zybin, Ackerman, Advanced

  Orthopaedics, Anjani PC, Hall PLLC, Berkowitz, Bowen, Bowen PLLC, Contemporary

  Orthopedics, Graziosa, Graziosa PC, Hall, Jimenez, Jones, J Sports, Katzman, Katzman PC, KDV

  Medical, KV Medical, Vora PC, Khakhar, Kotkes, Kotkes PC, McCulloch, McCulloch

  Orthopaedic, NYSJ, Neuman, Neuman PC, Phoenix Medical, Shabtian, Sinha, Total Anesthesia,

  Vora, AEH Healthcare Management, Arredondo-Calle, Blumberg, Health Plus Management,

  Klein, L, Passanisi, S. Passanisi, Rubin, Surgicore 5th Avenue, Surgicore Management NY,

  Yaguda, John Doe Defendants 2 through 20, and ABC Corporations 1 through 20 were each a

  “person” as defined under the RICO statute and knowingly conducted and participated in the

  affairs of the North Queens ASC Enterprise through a pattern of racketeering activity, including

  the numerous acts of mail fraud described herein, in the representative list of predicate acts set

  forth in the accompanying Appendix, which are incorporated by reference. Defendants’ conduct

  constitutes a violation of 18 U.S.C. § 1962(c).

         1936. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and


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  directed the operations of the North Queens ASC Enterprise and utilized that control to conduct

  the pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that North

  Queens ASC was ineligible to receive under the New York No-Fault insurance laws because it (a)

  submitted claims for medically unnecessary medical services; (b) submitted claims performed

  pursuant to a predetermined course of treatment, designed solely to maximize reimbursement; (c)

  submitted claims for reimbursement pursuant to unlawful referral and/or financial arrangements

  between the Defendants and/or others without regard to medical necessity; (d) submitted claims

  for reimbursement under billing codes that misrepresent and/or exaggerate the services purportedly

  provided to Covered Persons; and (e) was not in compliance with all statutory and regulatory

  requirements governing healthcare practice and/or licensing laws.

         1937. At all relevant times herein, Defendants Chan, Hoyle, Lucero, Menger, Santora,

  Spina and Zybin were employed by and/or associated with the North Queens ASC Enterprise and

  participated in the conduct of its affairs through a pattern of racketeering activity. The Surgicore

  Medical Directors facilitated the fraudulent scheme as nominal, disengaged sham medical

  directors by failing to perform the duties enumerated by law for medical directors of an ASC and

  provided the essential means for the Controllers, through the North Queens ASC Enterprise, to

  form and operate a bogus ASC in violation of New York and New Jersey law. In doing so, the

  sham Surgicore Medical Directors further provided the Controllers with the essential means to

  submit fraudulent claims through North Queens ASC to No-Fault insurers in general and Plaintiff

  in particular. The Administrators oversaw, among other things, the “marketing” for North Queens

  ASC and managed the kickback relationships with various health care professionals providing

  medically unnecessary services at, by, and through North Queens ASC.




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         1938. At all relevant times herein, Defendants Ackerman, Advanced Orthopaedics,

  Anjani PC, Hall PLLC, Berkowitz, Bowen, Bowen PLLC, Contemporary Orthopedics, Graziosa,

  Graziosa PC, Hall, Jimenez, Jones, J Sports, Katzman, Katzman PC, KDV Medical, KV Medical,

  Vora PC, Khakhar, Kotkes, Kotkes PC, McCulloch, McCulloch Orthopaedic, NYSJ, Neuman,

  Neuman PC, Phoenix Medical, Shabtian, Sinha, Total Anesthesia, and Vora facilitated the North

  Queens ASC Enterprise by performing medically unnecessary services pursuant to a pre-

  determined protocol of treatment, irrespective of whether the purported injuries were related to an

  automobile accident, and/or providing the Controllers with referrals of Covered Persons for

  medically unnecessary procedures, including referrals in violation of New Jersey’s Codey Law, in

  exchange for unlawful kickbacks and/or other financial arrangements, which the Controllers

  required in order to submit fraudulent claims through North Queens ASC to No-Fault insurers in

  general and American Transit in particular.

         1939. At all relevant times herein, Defendants AEH Healthcare Management, Arredondo-

  Calle, Blumberg, Health Plus Management, Klein, L, Passanisi, S. Passanisi, Rubin, Surgicore 5th

  Avenue, Surgicore Management NY, and Yaguda, participated in the conduct of the North Queens

  ASC Enterprise through a pattern of racketeering activity by, among other things, for steering or

  referring, or causing to be steered or referred, Covered Persons to North Queens ASC; facilitating

  the operation and control of North Queens ASC in violation of regulatory requirements governing

  healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the fraudulent

  scheme back to the Controllers in exchange for kickbacks and/or other financial compensation.

         1940. On information and belief, one or more of John Does 2 through 20 were associated

  with the North Queens ASC Enterprise and participated in the conduct of its affairs through a

  pattern of racketeering activity.




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         1941. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the North Queens ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1942. The racketeering acts set forth herein were carried out over at least a 13 year period,

  were related and similar, and were committed as part of Defendants’ scheme to use their control

  of North Queens ASC to defraud insurers.

         1943. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as North Queens ASC

  continues to submit and pursue collection on the fraudulent bills to the present day.

         1944. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the North Queens ASC Enterprise based upon materially false and misleading

  information.

         1945. Through the North Queens ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.




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         1946. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         1947. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1948. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         1949. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit has been injured in their business and property and have been damaged in the aggregate

  amount presently in excess of $1,400,000.00, the exact amount to be determined at trial. As a direct

  and proximate result of the Fraudulent Services provided through the North Queens ASC

  Enterprise and Surgicore Health Care Providers, Plaintiff was defrauded and incurred damages

  that well-exceeded the amount paid to North Queens ASC, including but not limited to payments

  made to the Associated Health Care Providers, paying higher settlement amounts for alleged

  medical services that were not necessary, as well as payments on bodily injury, SUM, and UM

  claims that were predicated on fraudulent medical records generated by and through the No-Fault

  Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services provided at,

  by, and through the North Queens ASC Enterprise, inducing Plaintiff to compromise and settle

  claims that it would not have but for the fraudulent acts alleged herein.

         1950. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Chan, Hoyle, Lucero, Menger, Santora, Spina, Zybin,

  Ackerman, Advanced Orthopaedics, Anjani PC, Hall PLLC, Berkowitz, Bowen, Bowen PLLC,

  Contemporary Orthopedics, Graziosa, Graziosa PC, Hall, Jimenez, Jones, J Sports, Katzman,


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  Katzman PC, KDV Medical, KV Medical, Vora PC, Khakhar, Kotkes, Kotkes PC, McCulloch,

  McCulloch Orthopaedic, NYSJ, Neuman, Neuman PC, Phoenix Medical, Shabtian, Sinha, Total

  Anesthesia, Vora, AEH Healthcare Management, Arredondo-Calle, Blumberg, Health Plus

  Management, Klein, L, Passanisi, S. Passanisi, Rubin, Surgicore 5th Avenue, Surgicore

  Management NY, Yaguda, John Does 2 through 20, and ABC Corporations 1 through 20, jointly

  and severally, treble damages sustained by them, together with the costs of this lawsuit and

  reasonable attorneys’ fees.

                                    EIGHTH CLAIM FOR RELIEF

      AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, PACIA,
      ACKERMAN, ANJANI PC, HALL PLLC, BOWEN PLLC, CONTEMPORARY
       ORTHOPEDICS, DEV HEALTHCARE, GRAZIOSA, GRAZIOSA PC, HALL,
   JIMENEZ, JONES, J SPORTS, KV MEDICAL, KETAN PC, KOTKES, KOTKES PC,
     NEUMAN, PHOENIX MEDICAL, PORTAL, PORTAL MEDICAL, SEDATION
   VACATION, SHAMALOV, SINHA, UPENDRA SINHA, TOTAL ANESTHESIA, U.K.
   PC, VORA, BERKOWITZ, M. HATAMI, J. KATANOV, S. KATANOV, SURGICORE
  5TH AVENUE, SURGICORE MANAGEMENT NY, JOHN DOES 2 THROUGH 20, AND
                     ABC CORPORATIONS 1 THROUGH 20

                                [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1951. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1952. At all times relevant herein, Rockaways ASC Development, LLC (“Rockaways

  ASC”) was an “enterprise” engaged in, or the activities of which affect, interstate commerce, as

  that term is defined by 18 U.S.C. § 1961(4), and within the meaning of 18 U.S.C. § 1962(c).

         1953. From in or about 2012 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Pacia, Ackerman, Anjani PC, Hall PLLC, Bowen PLLC, Contemporary Orthopedics, Dev

  Healthcare, Graziosa, Graziosa PC, Hall, Jimenez, Jones J Sports, KV Medical, Vora PC, Kotkes,

  Kotkes PC, Neuman, Phoenix Medical, Portal, Portal Medical, Sedation Vacation, Shamalov,


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  Sinha, Upendra Sinha, Total Anesthesia, U.K. PC, Vora, Berkowitz, M. Hatami, J. Katanov, S.

  Katanov, Surgicore 5th Avenue, Surgicore Management NY, John Doe Defendants 2 through 20,

  and ABC Corporations 1 through 20 were each a “person” as defined under the RICO statute and

  knowingly conducted and participated in the affairs of the Rockaways ASC Enterprise through a

  pattern of racketeering activity, including the numerous acts of mail fraud described herein, in the

  representative list of predicate acts set forth in the accompanying Appendix, which are

  incorporated by reference. Defendants’ conduct constitutes a violation of 18 U.S.C. § 1962(c).

         1954. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the Rockaways ASC Enterprise and utilized that control to conduct the

  pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that

  Rockaways ASC was ineligible to receive under the New York No-Fault insurance laws because

  it (a) submitted claims for medically unnecessary medical services; (b) submitted claims

  performed pursuant to a predetermined course of treatment, designed solely to maximize

  reimbursement; (c) submitted claims for reimbursement pursuant to unlawful referral and/or

  financial arrangement(s) between the Defendants and/or others without regard to medical

  necessity; (d) submitted claims for reimbursement under billing codes that misrepresent and/or

  exaggerate the services purportedly provided to Covered Persons; and (e) was not in compliance

  with all statutory and regulatory requirements governing healthcare practice and/or licensing laws.

         1955. At all relevant times herein, Defendant Pacia was employed by and/or associated

  with the Rockaways ASC Enterprise and participated in the conduct of its affairs through a pattern

  of racketeering activity. The Surgicore Medical Directors facilitated the fraudulent scheme as




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  nominal, disengaged sham medical directors by failing to perform the duties enumerated by law

  for medical directors of an ASC and provided the essential means for the Controllers, though the

  Rockaways ASC Enterprise, to form and operate a bogus ASC in violation of New York and New

  Jersey law. In doing so, the sham Surgicore Medical Directors further provided the Controllers

  with the essential means to submit fraudulent claims through Rockaways ASC to No-Fault insurers

  in general and Plaintiff in particular. The Administrators oversaw, among other things, the

  “marketing” for Rockaways ASC and managed the kickback relationships with various health care

  professionals providing medically unnecessary services at, by and through Rockaways ASC.

         1956. At all relevant times herein, Defendants Ackerman, Anjani P.C., Hall PLLC,

  Bowen PLLC, Dev Healthcare, Graziosa, Graziosa PC, Hall, Jimenez, Jones, J Sports, KV

  Medical, Vora PC, Kotkes, Kotkes PC, Neuman, Phoenix Medical, Portal, Portal Medical,

  Sedation Vacation, Shamalov, Sinha, Upendra Sinha, Total Anesthesia, U.K. PC, and Vora

  facilitated the Rockaways ASC Enterprise by performing medically unnecessary services pursuant

  to a pre-determined protocol of treatment, irrespective of whether the purported injuries were

  related to an automobile accident, and/or providing the Controllers with referrals of Covered

  Persons for medically unnecessary procedures, including referrals in violation of New Jersey’s

  Codey Law, in exchange for unlawful kickbacks and/or other financial arrangements, which the

  Controllers required in order to submit fraudulent claims through Rockaways ASC to No-Fault

  insurers in general and American Transit in particular

         1957. At all relevant times herein, Defendants Berkowitz, M. Hatami, J. Katanov, S.

  Katanov, Surgicore 5th Avenue and Surgicore Management NY, participated in the conduct of the

  Rockaways ASC Enterprise through a pattern of racketeering activity by, among other things, for

  steering or referring, or causing to be steered or referred, Covered Persons to Rockaways ASC;




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  facilitating the operation and control of Rockaways ASC in violation of regulatory requirements

  governing healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the

  fraudulent scheme back to the Controllers in exchange for kickbacks and/or other financial

  compensation.

         1958. On information and belief, one or more of John Does 2 through 20 were associated

  with the Rockaways ASC Enterprise and participated in the conduct of its affairs through a pattern

  of racketeering activity.

         1959. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the Rockaways ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1960. The racketeering acts set forth herein were carried out over at least a twelve year

  period, were related and similar, and were committed as part of Defendants’ scheme to use their

  control of Rockaways ASC to defraud insurers.

         1961. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as Rockaways ASC continues

  to submit and pursue collection on the fraudulent bills to the present day.

         1962. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the Rockaways ASC Enterprise based upon materially false and misleading information.




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         1963. Through the Rockaways ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         1964. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         1965. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1966. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         1967. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit Insurance Company has been injured in their business and property and have been damaged

  in the aggregate amount presently in excess of $3,100,000.00, the exact amount to be determined

  at trial. As a direct and proximate result of the Fraudulent Services provided through the

  Rockaways ASC Enterprise and Surgicore Health Care Providers, Plaintiff was defrauded and

  incurred damages that well-exceeded the amount paid to Rockaways ASC, including but not

  limited to payments made to the Associated Health Care Providers, paying higher settlement

  amounts for alleged medical services that were not necessary, as well as payments on bodily injury,

  SUM and UM claims that were predicated on fraudulent medical records generated by and through

  the No-Fault Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services


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  provided at, by and through the Rockaways ASC Enterprise, inducing Plaintiff to compromise and

  settle claims that it would not have but for the fraudulent acts alleged herein.

         1968. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Pacia, Ackerman, Anjani PC, Hall PLLC, Bowen PLLC,

  Contemporary Orthopedics, Dev Healthcare, Graziosa, Graziosa PC, Hall, Jimenez, J Sports,

  Jones, KV Medical, Vora PC, Kotkes, Kotkes PC, Neuman, Phoenix Medical, Portal, Portal

  Medical, Sedation Vacation, Shamalov, Sinha, Upendra Sinha, Total Anesthesia, U.K. PC, Vora,

  Berkowitz, M. Hatami, J. Katanov, S. Katanov, Surgicore 5th Avenue, Surgicore Management

  NY, John Does 2 through 20 and ABC Corporations 1 through 20, jointly and severally, three-fold

  damages sustained by them, together with the costs of this lawsuit and reasonable attorneys’ fees.

                                     NINTH CLAIM FOR RELIEF

    AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, FINNEGAN,
      BERKOWITZ, DASSA, DASSA ORTHOPEDIC, ELTAKI, KOTKES, KURTTI,
  MCCARTHY, MCCULLOCH, MCCULLOCH ORTHOPAEDIC, NJ VORA, QUALITY
  ANESTHESIA, VORA, AEH HEALTHCARE MANAGEMENT, ASAR HEALTHCARE,
      BOOST HS, CONTE DE FEES, DENEVICH, FLBD MANAGEMENT, FOUR D
  INVESTMENTS INC., GESHEFT ASSOCIATES, M. HATAMI, HOYLE, J. KATANOV,
    KOSTANIAN, KOSTANIAN CONSULTING, MEH INVESTMENTS, NAIK, REDY
      VENTURES, SURGICORE MANAGEMENT, SURGICORE RBSC, YAGUDA,
    YADGAROV, YCENTURY, JOHN DOE 1, JOHN DOES 2 THROUGH 20 AND ABC
                      CORPORATIONS 1 THROUGH 20

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1969. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1970. At all times relevant herein, Rockland and Bergen Surgery Center LLC (“Rockland

  and Bergen ASC”) was an “enterprise” engaged in, or the activities of which affect, interstate




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  commerce, as that term is defined by 18 U.S.C. § 1961(4), and within the meaning of 18 U.S.C. §

  1962(c).

         1971. From in or about 2009 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Finnegan, Berkowitz, Dassa, Dassa Orthopedic, Eltaki, Kotkes, Kurtti, McCarthy,

  McCulloch, McCulloch Orthopaedic, NJ Vora, Quality Anesthesia, Vora, AEH Healthcare

  Management, ASAR Healthcare, Boost HS, Conte De Fees, Denevich, FLBD Management, Four

  D Investments Inc., Gesheft Associates, M. Hatami, Hoyle, J. Katanov, Kostanian, Kostanian

  Consulting, MEH Investments, Naik, Redy Ventures, Surgicore Management, Surgicore RBSC,

  Yaguda, Yadgarov, YCentury, John Doe 1, John Doe Defendants 2 through 20 and ABC

  Corporations 1 through 20 were each a “person” as defined under the RICO statute and knowingly

  conducted and participated in the affairs of the Rockland and Bergen ASC Enterprise through a

  pattern of racketeering activity, including the numerous acts of mail fraud described herein, in the

  representative list of predicate acts set forth in the accompanying Appendix, which are

  incorporated by reference. Defendants’ conduct constitutes a violation of 18 U.S.C. § 1962(c).

         1972. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the Rockland and Bergen ASC Enterprise and utilized that control to

  conduct the pattern of racketeering activities that consisted of creating, submitting and/or causing

  to be submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that

  Rockland and Bergen ASC was ineligible to receive under the New York No-Fault insurance laws

  because it (a) submitted claims for medically unnecessary medical services; (b) submitted claims

  performed pursuant to a predetermined course of treatment, designed solely to maximize

  reimbursement; (c) submitted claims for reimbursement pursuant to unlawful referral and/or




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  financial arrangement(s) between the Defendants and/or others without regard to medical

  necessity; (d) submitted claims for reimbursement under billing codes that misrepresent and/or

  exaggerate the services purportedly provided Covered Persons; and (e) was not in compliance with

  all statutory and regulatory requirements governing healthcare practice and/or licensing laws.

         1973. At all relevant times herein, Defendant John Doe 1 Finnegan were employed by

  and/or associated with the Rockland and Bergen ASC Enterprise and participated in the conduct

  of its affairs through a pattern of racketeering activity. The Surgicore Medical Directors facilitated

  the fraudulent scheme as nominal, disengaged sham medical directors by failing to perform the

  duties enumerated by law for medical directors of an ASC and provided the essential means for

  the Controllers, though the Rockland and Bergen ASC Enterprise, to form and operate a bogus

  ASC in violation of New York and New Jersey law. In doing so, the sham Surgicore Medical

  Directors further provided the Controllers with the essential means to submit fraudulent claims

  through Rockland and Bergen ASC to No-fault insurers in general and Plaintiff in particular. The

  Administrators oversaw, among other things, the “marketing” for Rockland and Bergen ASC and

  managed the kickback relationships with various health care professionals providing medically

  unnecessary services at, by and through Rockland and Bergen ASC.

         1974. At all relevant times herein, Berkowitz, Dassa, Dassa Orthopedic, Eltaki, Kotkes,

  Kurtti, McCarthy, McCulloch, McCulloch Orthopaedic, NJ Vora, Quality Anesthesia, and Vora

  facilitated the Rockland and Bergen ASC Enterprise by performing medically unnecessary

  services pursuant to a pre-determined protocol of treatment, irrespective of whether the purported

  injuries were related to an automobile accident, and/or providing the Controllers with referrals of

  Covered Persons for medically unnecessary procedures, including referrals in violation of New

  Jersey’s Codey Law, in exchange for unlawful kickbacks and/or other financial arrangements,




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  which the Controllers required in order to submit fraudulent claims through Rockland and Bergen

  ASC to No-fault insurers in general and American Transit in particular.

         1975. At all relevant times herein, Defendants AEH Healthcare Management, ASAR

  Healthcare, Boost HS, Conte De Fees, Denevich, FLBD Management, Four D Investments Inc.,

  Gesheft Associates, M. Hatami, Hoyle, J. Katanov, Kostanian, Kostanian Consulting, MEH

  Investments, Naik, Redy Ventures, Surgicore Management, Surgicore RBSC, Yaguda, Yadgarov,

  and YCentury, participated in the conduct of the Rockland and Bergen ASC Enterprise through a

  pattern of racketeering activity by, among other things, for steering or referring, or causing to be

  steered or referred, Covered Persons to Rockland and Bergen ASC; facilitating the operation and

  control of Rockland and Bergen ASC in violation of regulatory requirements governing healthcare

  practice and/or licensing laws; and/or illegally funneling proceeds from the fraudulent scheme

  back to the Controllers in exchange for kickbacks and/or other financial compensation.

         1976. On information and belief, one or more of John Does 2 through 20 were associated

  with the Rockland and Bergen ASC Enterprise and participated in the conduct of its affairs through

  a pattern of racketeering activity.

         1977. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the Rockland and Bergen ASC Enterprise and participated in the conduct of its

  affairs through a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1978. The racketeering acts set forth herein were carried out over at least a fifteen year

  period, were related and similar, and were committed as part of Defendants’ scheme to use their

  control of Rockland and Bergen ASC to defraud insurers.




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         1979. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as Rockland and Bergen ASC

  continues to submit and pursue collection on the fraudulent bills to the present day.

         1980. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the Rockland and Bergen ASC Enterprise based upon materially false and misleading

  information.

         1981. Through the Rockland and Bergen ASC Enterprise, Defendants submitted or

  caused to be submitted fraudulent claim forms seeking payment for healthcare services purportedly

  provided to Covered Persons. The bills and supporting documents that were sent by Defendants,

  as well as the payments that Plaintiff made in response to those bills, were sent through the United

  States Postal Service. By virtue of those activities, Defendants engaged in a continuous series of

  predicate acts of mail fraud.

         1982. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         1983. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         1984. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).




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                                             DAMAGES

         1985. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit Insurance Company has been injured in their business and property and have been damaged

  in the aggregate amount presently in excess of $300,000.00, the exact amount to be determined at

  trial. As a direct and proximate result of the Fraudulent Services provided through the Rockland

  and Bergen ASC Enterprise, Plaintiff was defrauded and incurred damages that well-exceeded the

  amount paid to Rockland and Bergen ASC and Surgicore Health Care Providers, including but not

  limited to payments made to the Associated Health Care Providers, paying higher settlement

  amounts for alleged medical services that were not necessary, as well as payments on bodily injury,

  SUM and UM claims that were predicated on fraudulent medical records generated by and through

  the No-Fault Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services

  provided at, by and through the Rockland and Bergen ASC Enterprise, inducing Plaintiff to

  compromise and settle claims that it would not have but for the fraudulent acts alleged herein.

         1986. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Finnegan, Berkowitz, Dassa, Dassa Orthopedic, Eltaki, Kotkes,

  Kurtti, McCarthy, McCulloch, McCulloch Orthopaedic, NJ Vora, Quality Anesthesia, Vora, AEH

  Healthcare Management, ASAR Healthcare, Boost HS, Conte De Fees, Denevich, FLBD

  Management, Four D Investments Inc., Gesheft Associates, M. Hatami, Hoyle, J. Katanov,

  Kostanian, Kostanian Consulting, MEH Investments, Naik, Redy Ventures, Surgicore

  Management, Surgicore RBSC, Yaguda, Yadgarov, YCentury, John Does 2 through 20 and ABC

  Corporations 1 through 20, jointly and severally, three-fold damages sustained by them, together

  with the costs of this lawsuit and reasonable attorneys’ fees.




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                                     TENTH CLAIM FOR RELIEF

     AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, RICHARD,
       AMINOVA, COCOZIELLO, ACKERMAN, ADVANCED ORTHOPAEDICS,
     BERKOWITZ, BW ORTHOPEDICS, CONTEMPORARY ORTHOPEDICS, DEV
          HEALTHCARE, HAAR, HAAR ORTHOPEDICS, HOSTIN, HOSTIN
      ORTHOPAEDICS, INTEGRATED PAIN MANAGEMENT, JIMENEZ, JONES,
  KOTKES, KOTKES PC, MCCULLOCH, MCCULLOCH ORTHOPAEDIC, PHOENIX
      MEDICAL, ROXBURY ANESTHESIA, SCINAS, WASSERMAN, XIE, AS MED
  INVEST, ASAR, BERKOWITZ, BLUMBERG, CONTE DE FEES, DENEVICH, FIABA,
    FLBD MANAGEMENT, FOUR D INVESTMENTS INC., FOUR D INVESTMENTS
    LLC, GESHEFT, M. HATAMI, J. KATANOV, KEYSERMAN, KILROY, KLEIN, B.
  KOGAN, KOSTANIAN, KOSTANIAN CONSULTING, MEDA MANAGEMENT, MEH
        INVESTMENTS, MK MED INVEST, L. PASSANISI, S. PASSANISI, REDY
       VENTURES, RICHARD, ROMERO, RUBIN, SHAKAROV, SJ2 VENTURES,
  SURGICORE MANAGEMENT, WASSERMAN, YAGUDA, YCENTURY, JOHN DOES
            2 THROUGH 20 AND ABC CORPORATIONS 1 THROUGH 20

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         1987. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         1988. At all times relevant herein, Surgicore of Jersey City LLC (“Jersey City ASC”) was

  an “enterprise” engaged in, or the activities of which affect, interstate commerce, as that term is

  defined by 18 U.S.C. § 1961(4), and within the meaning of 18 U.S.C. § 1962(c).

         1989. From in or about 2016 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Richard, Aminova, Cocoziello, Ackerman, Advanced Orthopaedics, Berkowitz, BW

  Orthopedics, Contemporary Orthopedics, Dev Healthcare, Haar, Haar Orthopaedics, Hostin,

  Hostin Orthopaedics, Integrated Pain Management, Jimenez, Jones, Kotkes, Kotkes PC,

  McCulloch, McCulloch Orthopaedic, Phoenix Medical, Roxbury Anesthesia, Scinas, Wasserman,

  Xie, AS Med Invest, ASAR, Berkowitz, Blumberg, Conte De Fees, Denevich, Fiaba, FLBD

  Management, Four D Investments Inc., Four D Investments LLC, Gesheft Associates, M. Hatami,

  J. Katanov, Keyserman, Kilroy, Klein, B. Kogan, Kostanian, Kostanian Consulting, MEDA


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  Management, MEH Investments, MK Med Invest, L. Passanisi, S. Passanisi, Redy Ventures,

  Richard, Romero, Rubin, Shakarov, SJ2 Ventures, Surgicore Management, Wasserman, Yaguda,

  YCentury, John Doe Defendants 2 through 20 and ABC Corporations 1 through 20 were each a

  “person” as defined under the RICO statute and knowingly conducted and participated in the

  affairs of the Jersey City ASC Enterprise through a pattern of racketeering activity, including the

  numerous acts of mail fraud described herein, in the representative list of predicate acts set forth

  in the accompanying Appendix, which are incorporated by reference. Defendants’ conduct

  constitutes a violation of 18 U.S.C. § 1962(c).

         1990. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the Jersey City ASC Enterprise and utilized that control to conduct the

  pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that Jersey

  City ASC was ineligible to receive under the New York No-Fault insurance laws because it (a)

  submitted claims for medically unnecessary medical services; (b) submitted claims performed

  pursuant to a predetermined course of treatment, designed solely to maximize reimbursement; (c)

  submitted claims for reimbursement pursuant to unlawful referral and/or financial arrangement(s)

  between the Defendants and/or others without regard to medical necessity; (d) submitted claims

  for reimbursement under billing codes that misrepresent and/or exaggerate the services purportedly

  provided Covered Persons; and (e) was not in compliance with all statutory and regulatory

  requirements governing healthcare practice and/or licensing laws.

         1991. At all relevant times herein, Defendant Richard and Aminova were employed by

  and/or associated with the Jersey City ASC Enterprise and participated in the conduct of its affairs




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  through a pattern of racketeering activity. The Surgicore Medical Directors facilitated the

  fraudulent scheme as nominal, disengaged sham medical directors by failing to perform the duties

  enumerated by law for medical directors of an ASC and provided the essential means for the

  Controllers, though the Jersey City ASC Enterprise, to form and operate a bogus ASC in violation

  of New York and New Jersey law. In doing so, the sham Surgicore Medical Directors further

  provided the Controllers with the essential means to submit fraudulent claims through Jersey City

  ASC to No-fault insurers in general and Plaintiff in particular. The Administrators oversaw,

  among other things, the “marketing” for Jersey City ASC and managed the kickback relationships

  with various health care professionals providing medically unnecessary services at, by and through

  Jersey City ASC.

         1992. At all relevant times herein, Defendants Ackerman, Advanced Orthopaedics,

  Berkowitz, BW Orthopedics, Contemporary Orthopedics, Dev Healthcare,                 Haar, Haar

  Orthopaedics, Hostin, Hostin Orthopaedics, Integrated Pain Management, Jimenez, Jones, Kotkes,

  Kotkes PC, McCulloch, McCulloch Orthopaedic, Phoenix Medical, Roxbury Anesthesia, Scinas,

  Wasserman, and Xie facilitated the Jersey City ASC Enterprise by performing medically

  unnecessary services pursuant to a pre-determined protocol of treatment, irrespective of whether

  the purported injuries were related to an automobile accident, and/or providing the Controllers

  with referrals of Covered Persons for medically unnecessary procedures, including referrals in

  violation of New Jersey’s Codey Law, in exchange for unlawful kickbacks and/or other financial

  arrangements, which the Controllers required in order to submit fraudulent claims through Jersey

  City ASC to No-fault insurers in general and American Transit in particular.

         1993. At all relevant times herein, Defendants AS Med Invest, ASAR, Berkowitz,

  Blumberg, Conte De Fees, Denevich, Fiaba, FLBD Management, Four D Investments Inc., Four




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  D Investments LLC, Gesheft Associates, M. Hatami, J. Katanov, Keyserman, Kilroy, Klein, B.

  Kogan, Kostanian, Kostanian Consulting, MEDA Management, MEH Investments, MK Med

  Invest, L. Passanisi, S. Passanisi, Redy Ventures, Richard, Romero, Rubin, Shakarov, SJ2

  Ventures, Surgicore Management, Wasserman, Yaguda, YCentury, participated in the conduct of

  the Jersey City ASC Enterprise through a pattern of racketeering activity by, among other things,

  for steering or referring, or causing to be steered or referred, Covered Persons to Jersey City ASC;

  facilitating the operation and control of Jersey City ASC in violation of regulatory requirements

  governing healthcare practice and/or licensing laws; and/or illegally funneling proceeds from the

  fraudulent scheme back to the Controllers in exchange for kickbacks and/or other financial

  compensation.

         1994. On information and belief, one or more of John Does 2 through 20 were associated

  with the Jersey City ASC Enterprise and participated in the conduct of its affairs through a pattern

  of racketeering activity.

         1995. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the Jersey City ASC Enterprise and participated in the conduct of its affairs through

  a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         1996. The racketeering acts set forth herein were carried out over at least a eight year

  period, were related and similar, and were committed as part of Defendants’ scheme to use their

  control of Jersey City ASC to defraud insurers.

         1997. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as Jersey City ASC continues

  to submit and pursue collection on the fraudulent bills to the present day.



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         1998. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made

  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the Jersey City ASC Enterprise based upon materially false and misleading information.

         1999. Through the Jersey City ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         2000. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         2001. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         2002. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         2003. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit Insurance Company has been injured in their business and property and have been damaged

  in the aggregate amount presently in excess of $3,400,000.00, the exact amount to be determined

  at trial. As a direct and proximate result of the Fraudulent Services provided through the Jersey

  City ASC Enterprise and Surgicore Health Care Providers, Plaintiff was defrauded and incurred


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  damages that well-exceeded the amount paid to Jersey City ASC, including but not limited to

  payments made to the Associated Health Care Providers, paying higher settlement amounts for

  alleged medical services that were not necessary, as well as payments on bodily injury, SUM and

  UM claims that were predicated on fraudulent medical records generated by and through the No-

  Fault Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services provided

  at, by and through the Jersey City ASC Enterprise, inducing Plaintiff to compromise and settle

  claims that it would not have but for the fraudulent acts alleged herein.

         2004. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Richard, Aminova, Cocoziello, Ackerman, Advanced

  Orthopaedics, Berkowitz, BW Orthopedics, Contemporary Orthopedics, Dev Healthcare, Haar,

  Haar Orthopaedics, Hostin, Hostin Orthopaedics, Integrated Pain Management, Jimenez, Jones,

  Kotkes, Kotkes PC, McCulloch, McCulloch Orthopaedic, Phoenix Medical, Roxbury Anesthesia,

  Scinas, Wasserman, Xie, AS Med Invest, ASAR, Berkowitz, Blumberg, Conte De Fees, Denevich,

  Fiaba, FLBD Management, Four D Investments Inc., Four D Investments LLC, Gesheft

  Associates, M. Hatami, J. Katanov, Keyserman, Kilroy, Klein, B. Kogan, Kostanian, Kostanian

  Consulting, MEDA Management, MEH Investments, MK Med Invest, L. Passanisi, S. Passanisi,

  Redy Ventures, Richard, Romero, Rubin, Shakarov, SJ2 Ventures, Surgicore Management,

  Wasserman, Yaguda, YCentury, John Does 2 through 20 and ABC Corporations 1 through 20,

  jointly and severally, three-fold damages sustained by them, together with the costs of this lawsuit

  and reasonable attorneys’ fees.

                                ELEVENTH CLAIM FOR RELIEF

    AGAINST DEFENDANTS DEGRADI, HATAMI, KOGAN, TYLMAN, AMINOVA,
     COCOZIELLO, LOPEZ, LUCERO, MORRIS, ROMERO, ELKHOLY, HOSTIN,
     HOSTIN ORTHOPAEDICS, INTEGRATED PAIN MANAGEMENT, JIMENEZ, J
   SPORTS, KAO, KETAN PC, MCCULLOCH, MCCULLOCH ORTHOPAEDIC, NYSJ,



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    MSJR, NON-SURGICAL ORTHOPEDICS, NJ VORA, PRECISION ANESTHESIA,
    PROGRESSIVE-HUDSON, SINHA ORTHOPEDICS, U.K. PC, UPENDRA SINHA,
   VINAYAK SINHA AS ADMINISTRATOR OF THE ESTATE OF AJOY SINHA, M.D.,
  VORA, XIE, ADVANCED ORTHOPAEDICS, ASC INVESTMENT SERVICES, AS MED
      INVEST, BERKOWITZ, BOOST HS, CAPLEO HOLDINGS, CHAVEZ, FLBD
   MANAGEMENT, FOUR D INVESTMENTS INC., FOUR D INVESTMENTS LLC, M.
      HATAMI, HEALTH PLUS, J. KATANOV, S. KATANOV, KEYSERMAN, MEH
     INVESTMENTS, MK MED INVEST, RAMIREZ, REDY VENTURES, ROMERO,
     RUBIN, SHAKAROV, SURGICORE MANAGEMENT, YAGUDA, YADGAROV,
       YCENTURY, JOHN DOES 2 THROUGH 20, AND ABC CORPORATIONS 1
                               THROUGH 20

                              [RICO, pursuant to 18 U.S.C. § 1962(c)]

         2005. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

                                      THE RICO ENTERPRISE

         2006. At all times relevant herein, Surgicore, LLC (also known as Surgicore Surgical

  Center) (“Saddlebrook ASC”) was an “enterprise” engaged in, or the activities of which affect,

  interstate commerce, as that term is defined by 18 U.S.C. § 1961(4), and within the meaning of 18

  U.S.C. § 1962(c).

         2007. From in or about 2015 through the present, Defendants Degradi, Hatami, Kogan,

  Tylman, Aminova, Cocoziello, Lopez, Lucero, Morris, Romero, Elkholy, Hostin, Hostin

  Orthopaedics, Integrated Pain Management, Jimenez, J Sports, Kao, Vora PC, McCulloch,

  McCulloch Orthopaedic, NYSJ, MSJR, Non-Surgical Orthopedics, NJ Vora, Precision

  Anesthesia, Progressive-Hudson, Sinha Orthopedics, U.K. PC, Upendra Sinha, Vinayak Sinha as

  Administrator of the Estate of Ajoy Sinha, M.D., Vora, Xie, Advanced Orthopaedics, ASC

  Investment Services, AS Med Invest, Berkowitz, Boost HS, Capleo Holdings, Chavez, FLBD

  Management, Four D Investments Inc., Four D Investments LLC, M. Hatami, Health Plus

  Management, J. Katanov, S. Katanov, Keyserman, MEH Investments, MK Med Invest, Ramirez,

  Redy Ventures, Romero, Rubin, Shakarov, Surgicore Management, Yaguda, Yadgarov, YCentury,


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  John Doe Defendants 2 through 20 were each a “person” as defined under the RICO statute and

  ABC Corporations 1 through 20 knowingly conducted and participated in the affairs of the

  Saddlebrook ASC Enterprise through a pattern of racketeering activity, including the numerous

  acts of mail fraud described herein, in the representative list of predicate acts set forth in the

  accompanying Appendix, which are incorporated by reference. Defendants’ conduct constitutes a

  violation of 18 U.S.C. § 1962(c).

         2008. At all relevant times mentioned herein, Degradi, Hatami, Kogan, Tylman, and one

  or more John Doe Defendants 2 through 20 were the Controllers of, exerted control over, and

  directed the operations of the Saddlebrook ASC Enterprise and utilized that control to conduct the

  pattern of racketeering activities that consisted of creating, submitting and/or causing to be

  submitted the fraudulent bills and supporting documents to Plaintiff seeking payments that

  Saddlebrook ASC was ineligible to receive under the New York No-Fault insurance laws because

  it (a) submitted claims for medically unnecessary medical services; (b) submitted claims

  performed pursuant to a predetermined course of treatment, designed solely to maximize

  reimbursement; (c) submitted claims for reimbursement pursuant to unlawful referral and/or

  financial arrangement(s) between the Defendants and/or others without regard to medical

  necessity; (d) submitted claims for reimbursement under billing codes that misrepresent and/or

  exaggerate the services purportedly provided Covered Persons; and (e) was not in compliance with

  all statutory and regulatory requirements governing healthcare practice and/or licensing laws.

         2009. At all relevant times herein, Defendant Aminova, Cocoziello, Lopez, Lucero,

  Morris, and Romero were employed by and/or associated with the Saddlebrook ASC Enterprise

  and participated in the conduct of its affairs through a pattern of racketeering activity. The

  Surgicore Medical Directors facilitated the fraudulent scheme as nominal, disengaged sham




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  medical directors by failing to perform the duties enumerated by law for medical directors of an

  ASC and provided the essential means for the Controllers, though the Saddlebrook ASC

  Enterprise, to form and operate a bogus ASC in violation of New York and New Jersey law. In

  doing so, the sham Surgicore Medical Directors further provided the Controllers with the essential

  means to submit fraudulent claims through Saddlebrook ASC to No-fault insurers in general and

  Plaintiff in particular. The Administrators oversaw, among other things, the “marketing” for

  Saddlebrook ASC and managed the kickback relationships with various health care professionals

  providing medically unnecessary services at, by and through Saddlebrook ASC.

          2010. At all relevant times herein, Defendants Elkholy, Hostin, Hostin Orthopaedics,

  Integrated Pain Management, Jimenez, J Sports, Kao, Vora PC, McCulloch, McCulloch

  Orthopaedic, NYSJ, MSJR, Non-Surgical Orthopedics, NJ Vora, Precision Anesthesia,

  Progressive-Hudson, Sinha Orthopedics, U.K. PC, Upendra Sinha, Vinayak Sinha as

  Administrator of the Estate of Ajoy Sinha, M.D., Vora and Xie facilitated the Saddlebrook ASC

  Enterprise by performing medically unnecessary services pursuant to a pre-determined protocol of

  treatment, irrespective of whether the purported injuries were related to an automobile accident,

  and/or providing the Controllers with referrals of Covered Persons for medically unnecessary

  procedures, including referrals in violation of New Jersey’s Codey Law, in exchange for unlawful

  kickbacks and/or other financial arrangements, which the Controllers required in order to submit

  fraudulent claims through Saddlebrook ASC to No-fault insurers in general and American Transit

  in particular.

          2011. At all relevant times herein, Defendants Advanced Orthopaedics, ASC Investment

  Services, AS Med Invest, Berkowitz, Boost HS, Capleo Holdings, Chavez, FLBD Management,

  Four D Investments Inc., Four D Investments LLC, M. Hatami, Health Plus Management, J.




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  Katanov, S. Katanov, Keyserman, MEH Investments, MK Med Invest, Ramirez, Redy Ventures,

  Romero, Rubin, Shakarov, Surgicore Management, Yaguda, Yadgarov, YCentury, participated in

  the conduct of the Saddlebrook ASC Enterprise through a pattern of racketeering activity by,

  among other things, for steering or referring, or causing to be steered or referred, Covered Persons

  to Saddlebrook ASC; facilitating the operation and control of Saddlebrook ASC in violation of

  regulatory requirements governing healthcare practice and/or licensing laws; and/or illegally

  funneling proceeds from the fraudulent scheme back to the Controllers in exchange for kickbacks

  and/or other financial compensation.

         2012. On information and belief, one or more of John Does 2 through 20 were associated

  with the Saddlebrook ASC Enterprise and participated in the conduct of its affairs through a pattern

  of racketeering activity.

         2013. On information and belief, one or more of the ABC Corporations 1 through 20 were

  associated with the Saddlebrook ASC Enterprise and participated in the conduct of its affairs

  through a pattern of racketeering activity.

                       THE PATTERN OF RACKETEERING ACTIVITY
                               (RACKETEERING ACTS)

         2014. The racketeering acts set forth herein were carried out over at least a nine year

  period, were related and similar, and were committed as part of Defendants’ scheme to use their

  control of Saddlebrook ASC to defraud insurers.

         2015. On information and belief, this pattern of racketeering activity poses a specific

  threat of repetition extending indefinitely into the future, inasmuch as Saddlebrook ASC continues

  to submit and pursue collection on the fraudulent bills to the present day.

         2016. As a part of the pattern of racketeering activity, and for the purpose of executing

  the scheme and artifice to defraud as described above, Defendants caused mailings to be made



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  through the United States Postal Service, in violation of 18 U.S.C. § 1341. The mailings were

  made in furtherance of a scheme or artifice to defraud Plaintiff and to induce Plaintiff to issue

  checks to the Saddlebrook ASC Enterprise based upon materially false and misleading

  information.

         2017. Through the Saddlebrook ASC Enterprise, Defendants submitted or caused to be

  submitted fraudulent claim forms seeking payment for healthcare services purportedly provided to

  Covered Persons. The bills and supporting documents that were sent by Defendants, as well as the

  payments that Plaintiff made in response to those bills, were sent through the United States Postal

  Service. By virtue of those activities, Defendants engaged in a continuous series of predicate acts

  of mail fraud.

         2018. A sample list of predicate acts is set forth in the accompanying Appendix, which

  identifies the nature and date of mailings that were made by Defendants in furtherance of the

  scheme as well as the specific misrepresentations identified for each of the mailings.

         2019. Mail fraud constitutes racketeering activity as that term is defined in 18 U.S.C. §

  1961(1)(b).

         2020. Each submission of a fraudulent claim constitutes part of a pattern of racketeering

  activity within the meaning of 18 U.S.C. § 1961(5).

                                             DAMAGES

         2021. By reason of the foregoing violation of 18 U.S.C. § 1962(c), Plaintiff American

  Transit Insurance Company has been injured in their business and property and have been damaged

  in the aggregate amount presently in excess of $1,300,000.00, the exact amount to be determined

  at trial. As a direct and proximate result of the Fraudulent Services provided through the

  Saddlebrook ASC Enterprise and Surgicore Health Care Providers, Plaintiff was defrauded and

  incurred damages that well-exceeded the amount paid to Saddlebrook ASC, including but not


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  limited to payments made to the Associated Health Care Providers, paying higher settlement

  amounts for alleged medical services that were not necessary, as well as payments on bodily injury,

  SUM and UM claims that were predicated on fraudulent medical records generated by and through

  the No-Fault Clinics that were intended to, and did in fact, falsely justify the Fraudulent Services

  provided at, by and through the Saddlebrook ASC Enterprise, inducing Plaintiff to compromise

  and settle claims that it would not have but for the fraudulent acts alleged herein.

         2022. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  Degradi, Hatami, Kogan, Tylman, Aminova, Cocoziello, Lopez, Lucero, Morris, Romero,

  Elkholy, Hostin, Hostin Orthopaedics, Integrated Pain Management, Jimenez, J Sports, Kao, Vora

  PC, McCulloch, McCulloch Orthopaedic, NYSJ, MSJR, Non-Surgical Orthopedics, NJ Vora,

  Precision Anesthesia, Progressive-Hudson, Sinha Orthopedics, U.K. PC, Upendra Sinha, Vinayak

  Sinha as Administrator of the Estate of Ajoy Sinha, M.D., Vora, Xie, Advanced Orthopaedics,

  ASC Investment Services, AS Med Invest, Berkowitz, Boost HS, Capleo Holdings, Chavez, FLBD

  Management, Four D Investments Inc., Four D Investments LLC, M. Hatami, Health Plus

  Management, J. Katanov, S. Katanov, Keyserman, MEH Investments, MK Med Invest, Ramirez,

  Redy Ventures, Romero, Rubin, Shakarov, Surgicore Management, Yaguda, Yadgarov, YCentury,

  John Does 2 through 20 and ABC Corporations 1 through 20, jointly and severally, three-fold

  damages sustained by them, together with the costs of this lawsuit and reasonable attorneys’ fees.

                                   TWELFTH CLAIM FOR RELIEF

                                    AGAINST ALL DEFENDANTS

                  [Conspiracy to Violate RICO, pursuant to 18 U.S.C. § 1962(d)]

         2023. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.




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                           THE RACKETEERING CONSPIRACY

         2024. From approximately 2009 through the date of the filing of this Complaint,

  Defendants All City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC, New Horizon

  ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen ASC, Jersey City ASC;

  Saddlebrook ASC, Degradi, Hatami, Kogan, Tylman, Surgicore Management, Surgicore

  Management NY, Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer,

  Weiner, Aminova, Finnegan, Hoyle, Kilroy, Lopez, Lucero, Morris, Romero, Santora, Santos,

  Spina, Young, Zybin, Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

  Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, Bowen, Bowen PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev

  Healthcare, Jones, Phoenix Medical, Khakhar, PM&R, Kotkes, Kotkes PC, Portal, Portal Medical,

  Shabtian, Total Anesthesia, Vora, KDV Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical

  Orthopedics, Xie, Integrated Pain Management, Alexander Bowen PLLC, Amigud, Fifth Avenue

  Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy Anesthesia, Elkholy, Precision Anesthesia,

  Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao, Progressive-Hudson, Khan, Anesthesia

  Professionals, Neuman, Neuman PLLC, Neuman PC, Centurion Anesthesia, Centurion Midtown

  Anesthesia, Centurion Midtown Medical, Sedation Vacation, Scinas, Roxbury Anesthesia,

  Advanced PMR, AEH Healthcare Management, ASC Investment Services, ASAR Healthcare, AS

  Med Invest, BDP Ventures Inc, BDP Ventures LLC, Blue Wall Management, Boost HS, Capleo




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  Holdings, Conte De Fees, Fiaba, 50 Franklin Ln Realty, FIWA 1049 Realty, FLBD Management,

  Four D Investments Inc, Four D Investments LLC, Health Plus Management, HDS Investments,

  Kostanian Consulting Associates, Main Street Medical, Mega Group Solution, MEDA

  Management, MEH Investments, Midtown 305 Realty, MK Med Invest, Ortuz, Redy Ventures,

  SignMe, SJ2 Ventures, Surgicore 5th Avenue, Surgicore RBSC, YCentury, Arredondo-Calle,

  Blumberg, Chavez, K. Degradi, Denevich, M. Hatami, Hafeez, J. Katanov, S. Katanov,

  Keyserman, Klein, B. Kogan, Kostanian, L. Passanisi, S. Passanisi, Pyatetskaya, Ramirez, Reizis,

  Revutsky. Rubin, M. Seldes, Shakarov, Yadgarov, Yaguda, John Doe 1, John Does 2 through 20,

  and ABC Corporations 1 Through 20, were each a “person” as defined under the RICO statute and

  knowingly agreed and conspired to conduct and/or participate, directly or indirectly, in the conduct

  of the Surgicore Medical Network Enterprise through a pattern of racketeering activity consisting

  of repeated violations of the federal mail fraud statute 18 U.S.C. § 1341, based upon the use of the

  United States mail to submit to insurers, and Plaintiff in particular, the fraudulent bills and

  supporting documents seeking payments that Defendants were ineligible to receive under the New

  York No-Fault Laws because the claims were (a) for medically unnecessary medical services; (b)

  performed pursuant to a predetermined course of treatment, designed solely to maximize

  reimbursement; (c) submitted for reimbursement pursuant to unlawful referral and/or financial

  arrangements between the Defendants and/or others without regard to medical necessity; (d)

  submitted for reimbursement under billing codes that misrepresent and/or exaggerate the services

  purportedly provided to Covered Persons; and (e) were not in compliance with all statutory and

  regulatory requirements governing healthcare practice and/or licensing laws in violation of 18

  U.S.C. §§ 1961(1) and (5), through the commission, as principals or as aids and abettors, of




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  multiple racketeering acts (mail fraud), as set forth at length herein, all in violation of 18 U.S.C. §

  1962(d).

         2025. Each Defendant knew of, agreed to, and acted in furtherance of the common and

  overall objectives of the conspiracy by facilitating the submission of bills and supporting

  documentation for the Fraudulent Services, steering or referring, or causing to be steered or

  referred, Covered Persons to the Surgicore ASCs; facilitating the operation and control of

  Surgicore ASCs in violation of regulatory requirements governing healthcare practice and/or

  licensing laws; and/or illegally funneling proceeds from the fraudulent scheme in exchange for

  kickbacks and/or other financial compensation. By their acts in furtherance of the fraudulent

  scheme, Defendants falsely induced and caused millions of dollars in claims to be paid by Plaintiff.

         2026. In furtherance of the racketeering conspiracy and to effect the objects thereof, the

  Defendants committed, and caused to be committed as overt acts, among others, the racketeering

  predicate acts alleged above.

                                              DAMAGES

         2027. By reason of the foregoing violation of 18 U.S.C. § 1962(d), Plaintiff American

  Transit has been injured in their business and property and have been damaged in the aggregate

  amount presently in excess of $153,000,000.00, the exact amount to be determined at trial. As a

  direct and proximate result of the Fraudulent Services provided through the Surgicore Medical

  Network Enterprise, Plaintiff was defrauded and incurred damages that well-exceeded the amount

  paid to the Surgicore ASCs, including but not limited to payments made to the Associated Health

  Care Providers, paying higher settlement amounts for alleged medical services that were not

  medically necessary, as well as payments on bodily injury, SUM, and UM claims that were

  predicated on fraudulent medical records generated by and through the No-Fault Clinics that were




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  intended to, and did in fact, falsely justify the Fraudulent Services provided at, by, and through the

  Surgicore Medical Network Enterprise, inducing Plaintiff to compromise and settle claims that it

  would not have but for the fraudulent acts alleged herein.

         2028. Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to recover from Defendants

  All City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC, New Horizon ASC, North

  Queens ASC, Rockaways ASC, Rockland and Bergen ASC, Jersey City ASC; Saddlebrook ASC,

  Degradi, Hatami, Kogan, Tylman, Surgicore Management, Surgicore Management NY, Aljian,

  Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer, Weiner, Aminova, Finnegan,

  Hoyle, Kilroy, Lopez, Lucero, Morris, Romero, Santora, Santos, Spina, Young, Zybin, Ackerman,

  Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay Ridge PC, Berkowitz, Advanced

  Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa, Graziosa PC, Haar, Haar

  Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC, McCulloch, McCulloch

  Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic, Passaic Orthopedic,

  Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as administrator of the

  estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW Orthopedics, Shamalov,

  Bowen, Bowen PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev Healthcare, Jones, Phoenix

  Medical, Khakhar, PM&R, Kotkes, Kotkes PC, Portal, Portal Medical, Shabtian, Total Anesthesia,

  Vora, KDV Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical Orthopedics, Xie, Integrated

  Pain Management, Alexander Bowen PLLC, Amigud, Fifth Avenue Anesthesia, Amigud PC,

  Eaton, Itzkovich, Synergy Anesthesia, Elkholy, Precision Anesthesia, Kurtti, Eltaki, McCarthy,

  Quality Anesthesia, Kao, Progressive-Hudson, Khan, Anesthesia Professionals, Neuman, Neuman

  PLLC, Neuman PC, Centurion Anesthesia, Centurion Midtown Anesthesia, Centurion Midtown

  Medical, Sedation Vacation, Scinas, Roxbury Anesthesia, Advanced PMR, AEH Healthcare




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  Management, ASC Investment Services, ASAR Healthcare, AS Med Invest, BDP Ventures Inc,

  BDP Ventures LLC, Blue Wall Management, Boost HS, Capleo Holdings, Conte De Fees, Fiaba,

  50 Franklin Ln Realty, FIWA 1049 Realty, FLBD Management, Four D Investments Inc, Four D

  Investments LLC, Health Plus Management, HDS Investments, Kostanian Consulting Associates,

  Main Street Medical, Mega Group Solution, MEDA Management, MEH Investments, Midtown

  305 Realty, MK Med Invest, Ortuz, Redy Ventures, SignMe, SJ2 Ventures, Surgicore 5th Avenue,

  Surgicore RBSC, YCentury, Arredondo-Calle, Blumberg, Chavez, K. Degradi, Denevich, M.

  Hatami, Hafeez, J. Katanov, S. Katanov, Keyserman, Klein, B. Kogan, Kostanian, L. Passanisi, S.

  Passanisi, Pyatetskaya, Ramirez, Reizis, Revutsky. Rubin, M. Seldes, Shakarov, Yadgarov,

  Yaguda, John Doe 1, John Does 2 through 20, and ABC Corporations 1 through 20, jointly and

  severally, treble damages sustained by them, together with the costs of this lawsuit, and reasonable

  attorneys’ fees.

         2029. The allegations of paragraphs 1 through 1822 above, describing the injury and

  damages sustained by the Plaintiff are repeated and realleged as though fully set forth herein.

                              THIRTEENTH CLAIM FOR RELIEF

   AGAINST DEFENDANTS ALL CITY ASC, EMPIRE STATE ASC, FIFTH AVENUE
         ASC, MANALAPAN ASC, NEW HORIZON ASC, NORTH QUEENS ASC,
       ROCKAWAYS ASC, ROCKLAND AND BERGEN ASC, JERSEY CITY ASC,
     SADDLEBROOK ASC, DEGRADI, HATAMI, KOGAN, TYLMAN, SURGICORE
  MANAGEMENT, SURGICORE MANAGEMENT NY, ALJIAN, CHAN, COCOZIELLO,
   KOPLIK, MENGER, NAIK, PACIA, RICHARD, SPRINGER, WEINER, AMINOVA,
  FINNEGAN, HOYLE, KILROY, LOPEZ, LUCERO, MORRIS, ROMERO, SANTORA,
          SANTOS, SPINA, YOUNG, ZYBIN, ACKERMAN, CONTEMPORARY
   ORTHOPEDICS, APAZIDIS, APAZIDIS PC, BAUM, BAY RIDGE PC, BERKOWITZ,
      ADVANCED ORTHOPAEDICS, BURSZTYN, DASSA, DASSA ORTHOPEDIC,
    GRAZIOSA, GRAZIOSA PC, HAAR, HAAR ORTHOPAEDICS, HOSTIN, HOSTIN
     ORTHOPAEDICS, KATZMAN, KATZMAN PC, MCCULLOCH, MCCULLOCH
  ORTHOPAEDIC, NYSJ, MCMAHON, MCMAHON PC, SELDES, NYC ORTHOPEDIC,
  PASSAIC ORTHOPEDIC, SELDES PC, SINHA, ANJANI PC, UPENDRA SINHA, U.K.
    PC, VINAYAK SINHA AS ADMINISTRATOR OF THE ESTATE OF AJOY SINHA,
       M.D., MSJR, SINHA ORTHOPEDICS, WASSERMAN, BW ORTHOPEDICS,



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   SHAMALOV, BOWEN, BOWEN PLLC, HALL, HALL PLLC, JIMENEZ, J SPORTS,
   DEV HEALTHCARE, JONES, PHOENIX MEDICAL, KHAKHAR, PM&R, KOTKES,
    KOTKES PC, PORTAL, PORTAL MEDICAL, SHABTIAN, TOTAL ANESTHESIA,
    VORA, KDV MEDICAL, KETAN PC, KV MEDICAL, NJ VORA, NON-SURGICAL
   ORTHOPEDICS, XIE, INTEGRATED PAIN MANAGEMENT, ALEXANDER BOWEN
  PLLC, AMIGUD, FIFTH AVENUE ANESTHESIA, AMIGUD PC, EATON, ITZKOVICH,
  SYNERGY ANESTHESIA, ELKHOLY, PRECISION ANESTHESIA, KURTTI, ELTAKI,
    MCCARTHY, QUALITY ANESTHESIA, KAO, PROGRESSIVE-HUDSON, KHAN,
     ANESTHESIA PROFESSIONALS, NEUMAN, NEUMAN PLLC, NEUMAN PC,
   CENTURION ANESTHESIA, CENTURION MIDTOWN ANESTHESIA, CENTURION
  MIDTOWN MEDICAL, SEDATION VACATION, SCINAS, ROXBURY ANESTHESIA,
      JOHN DOE 1, JOHN DOES 2 THROUGH 20, AND ABC CORPORATIONS 1
                               THROUGH 20

                                   (Common Law Fraud-Billing Fraud]

         2030. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

         2031. Defendants All City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC,

  New Horizon ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen ASC, Jersey City

  ASC, Saddlebrook ASC, Degradi, Hatami, Kogan, Tylman, Surgicore Management, Surgicore

  Management NY, Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer,

  Weiner, Aminova, Finnegan, Hoyle, Kilroy, Lopez, Lucero, Morris, Romero, Santora, Santos,

  Spina, Young, Zybin, Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

  Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, Bowen, Bowen PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev

  Healthcare, Jones, Phoenix Medical, Khakhar, PM&R, Kotkes, Kotkes PC, Portal, Portal Medical,

  Shabtian, Total Anesthesia, Vora, KDV Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical


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  Orthopedics, Xie, Integrated Pain Management, Alexander Bowen PLLC, Amigud, Fifth Avenue

  Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy Anesthesia, Elkholy, Precision Anesthesia,

  Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao, Progressive-Hudson, Khan, Anesthesia

  Professionals, Neuman, Neuman PLLC, Neuman PC, Centurion Anesthesia, Centurion Midtown

  Anesthesia, Centurion Midtown Medical, Sedation Vacation, Scinas, Roxbury Anesthesia, John

  Doe 1, John Does 2 through 20, and ABC Corporations 1 through 20, intentionally, knowingly,

  fraudulently, and with an intent to deceive Plaintiff, made numerous false and misleading

  statements of material fact and/or material omissions as to the necessity of the medical services

  purportedly rendered and that the medical services were provided when in fact they were not

  provided as billed and exaggerated the level of service, if any, purportedly provided, thereby

  inducing Plaintiff to make payments to Defendants that Defendants were not entitled to because

  of their fraudulent nature. As part of the fraudulent scheme, All City ASC, Empire State ASC,

  Fifth Avenue ASC, Manalapan ASC, New Horizon ASC, North Queens ASC, Rockaways ASC,

  Rockland and Bergen ASC, Jersey City ASC; Saddlebrook ASC, Degradi, Hatami, Kogan,

  Tylman, Surgicore Management, Surgicore Management NY, Aljian, Chan, Cocoziello, Koplik,

  Menger, Naik, Pacia, Richard, Springer, Weiner, Aminova, Finnegan, Hoyle, Kilroy, Lopez,

  Lucero, Morris, Romero, Santora, Santos, Spina, Young, Zybin, Ackerman, Contemporary

  Orthopedics, Apazidis, Apazidis PC, Baum, Bay Ridge PC, Berkowitz, Advanced Orthopaedics,

  Bursztyn, Dassa, Dassa Orthopedic, Graziosa, Graziosa PC, Haar, Haar Orthopaedics, Hostin,

  Hostin Orthopaedics, Katzman, Katzman PC, McCulloch, McCulloch Orthopaedic, NYSJ,

  McMahon, McMahon PC, Seldes, NYC Orthopedic, Passaic Orthopedic, Seldes PC, Sinha, Anjani

  PC, Upendra Sinha, U.K. PC, Vinayak Sinha as administrator of the estate of Ajoy Sinha, M.D.,

  MSJR, Sinha Orthopedics, Wasserman, BW Orthopedics, Shamalov, Bowen, Bowen PLLC, Hall,




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  Hall PLLC, Jimenez, J Sports, Dev Healthcare, Jones, Phoenix Medical, Khakhar, PM&R, Kotkes,

  Kotkes PC, Portal, Portal Medical, Shabtian, Total Anesthesia, Vora, KDV Medical, Vora PC, KV

  Medical, NJ Vora, Non-Surgical Orthopedics, Xie, Integrated Pain Management, Alexander

  Bowen PLLC, Amigud, Fifth Avenue Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy

  Anesthesia, Elkholy, Precision Anesthesia, Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao,

  Progressive-Hudson, Khan, Anesthesia Professionals, Neuman, Neuman PLLC, Neuman PC,

  Centurion Anesthesia, Centurion Midtown Anesthesia, Centurion Midtown Medical, Sedation

  Vacation, Scinas, Roxbury Anesthesia, John Doe 1, John Does 2 through 20, and ABC

  Corporations 1 through 20 made material misrepresentations and/or omitted material statements

  in submitting No-Fault claims to Plaintiff for payment.

         2032. Defendants All City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC,

  New Horizon ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen ASC, Jersey City

  ASC; Saddlebrook ASC, Degradi, Hatami, Kogan, Tylman, Surgicore Management, Surgicore

  Management NY, Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer,

  Weiner, Aminova, Finnegan, Hoyle, Kilroy, Lopez, Lucero, Morris, Romero, Santora, Santos,

  Spina, Young, Zybin, Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

  Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, Bowen, Bowen PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev

  Healthcare, Jones, Phoenix Medical, Khakhar, PM&R, Kotkes, Kotkes PC, Portal, Portal Medical,




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  Shabtian, Total Anesthesia, Vora, KDV Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical

  Orthopedics, Xie, Integrated Pain Management, (collectively the “Surgicore Pain Management

  Providers”); Alexander Bowen PLLC, Amigud, Fifth Avenue Anesthesia, Amigud PC, Eaton,

  Itzkovich, Synergy Anesthesia, Elkholy, Precision Anesthesia, Kurtti, Eltaki, McCarthy, Quality

  Anesthesia, Kao, Progressive-Hudson, Khan, Anesthesia Professionals, Neuman, Neuman PLLC,

  Neuman PC, Centurion Anesthesia, Centurion Midtown Anesthesia, Centurion Midtown Medical,

  Sedation Vacation, Scinas, Roxbury Anesthesia, John Doe 1, John Does 2 through 20, and ABC

  Corporations 1 through 20 intentionally, knowingly, fraudulently, and with the intent to commit

  and facilitate billing fraud and deceive Plaintiff, concealed the fact that the bills submitted to

  Plaintiff for reimbursement of No-Fault benefits for the Fraudulent Services were materially

  misrepresented.

         2033. Defendants All City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC,

  New Horizon ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen ASC, Jersey City

  ASC; Saddlebrook ASC, Degradi, Hatami, Kogan, Tylman, Surgicore Management, Surgicore

  Management NY, Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer,

  Weiner, Aminova, Finnegan, Hoyle, Kilroy, Lopez, Lucero, Morris, Romero, Santora, Santos,

  Spina, Young, Zybin, Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

  Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,

  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, Bowen, Bowen PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev




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  Healthcare, Jones, Phoenix Medical, Khakhar, PM&R, Kotkes, Kotkes PC, Portal, Portal Medical,

  Shabtian, Total Anesthesia, Vora, KDV Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical

  Orthopedics, Xie, Integrated Pain Management, Alexander Bowen PLLC, Amigud, Fifth Avenue

  Anesthesia, Amigud PC, Eaton, Itzkovich, Synergy Anesthesia, Elkholy, Precision Anesthesia,

  Kurtti, Eltaki, McCarthy, Quality Anesthesia, Kao, Progressive-Hudson, Khan, Anesthesia

  Professionals, Neuman, Neuman PLLC, Neuman PC, Centurion Anesthesia, Centurion Midtown

  Anesthesia, Centurion Midtown Medical, Sedation Vacation, Scinas, Roxbury Anesthesia, John

  Doe 1, John Does 2 through 20, and ABC Corporations 1 through 20 intentionally, knowingly,

  fraudulently, and with the intent to commit and facilitate billing fraud and deceive Plaintiff,

  concealed the fact that, in many instances, the services relating to Fraudulent Services were

  provided pursuant to a pre-determined protocol, pursuant to unlawful referral, kickbacks, and/or

  other financial arrangements between the Defendants and/or others, that was intended to maximize

  Defendants’ profit and reimbursement of payments from the Plaintiff, as opposed to being based

  upon medical necessity.

         2034. Defendants All City ASC, Empire State ASC, Fifth Avenue ASC, Manalapan ASC,

  New Horizon ASC, North Queens ASC, Rockaways ASC, Rockland and Bergen ASC, Jersey City

  ASC; Saddlebrook ASC, Degradi, Hatami, Kogan, Tylman, Surgicore Management, Surgicore

  Management NY, Aljian, Chan, Cocoziello, Koplik, Menger, Naik, Pacia, Richard, Springer,

  Weiner, Aminova, Finnegan, Hoyle, Kilroy, Lopez, Lucero, Morris, Romero, Santora, Santos,

  Spina, Young, Zybin, Ackerman, Contemporary Orthopedics, Apazidis, Apazidis PC, Baum, Bay

  Ridge PC, Berkowitz, Advanced Orthopaedics, Bursztyn, Dassa, Dassa Orthopedic, Graziosa,

  Graziosa PC, Haar, Haar Orthopaedics, Hostin, Hostin Orthopaedics, Katzman, Katzman PC,

  McCulloch, McCulloch Orthopaedic, NYSJ, McMahon, McMahon PC, Seldes, NYC Orthopedic,




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  Passaic Orthopedic, Seldes PC, Sinha, Anjani PC, Upendra Sinha, U.K. PC, Vinayak Sinha as

  administrator of the estate of Ajoy Sinha, M.D., MSJR, Sinha Orthopedics, Wasserman, BW

  Orthopedics, Shamalov, Bowen, Bowen PLLC, Hall, Hall PLLC, Jimenez, J Sports, Dev

  Healthcare, Jones, Phoenix Medical, Khakhar, PM&R, Kotkes, Kotkes PC, Portal, Portal Medical,

  Shabtian, Total Anesthesia, Vora, KDV Medical, Vora PC, KV Medical, NJ Vora, Non-Surgical

  Orthopedics, Xie, Integrated Pain Management, (collectively the “Surgicore Pain Management

  Providers”); Alexander Bowen PLLC, Amigud, Fifth Avenue Anesthesia, Amigud PC, Eaton,

  Itzkovich, Synergy Anesthesia, Elkholy, Precision Anesthesia, Kurtti, Eltaki, McCarthy, Quality

  Anesthesia, Kao, Progressive-Hudson, Khan, Anesthesia Professionals, Neuman, Neuman PLLC,

  Neuman PC, Centurion Anesthesia, Centurion Midtown Anesthesia, Centurion Midtown Medical,

  Sedation Vacation, Scinas, Roxbury Anesthesia, John Doe 1, John Does 2 through 20, and ABC

  Corporations 1 through 20 intentionally, knowingly, fraudulently, and with the intent to commit

  and facilitate billing fraud and deceive Plaintiff, made various misleading statements and/or

  material omissions intended to hold out the Surgicore ASCs as legitimate ASCs in compliance

  with core licensing requirements when, in fact, they were not, thereby inducing Plaintiff to make

  payments that Defendants were not entitled to receive because they were improperly licensed in

  violation of the applicable laws of New York and New Jersey and therefore are ineligible for the

  reimbursement of benefits under the No-Fault Law.

         2035.    Defendants intentionally, knowingly, fraudulently, and with the intent to deceive,

  submitted patient medical records, reports, treatment verifications, and bills for medical treatment

  which contained false representations of material facts and/or material omissions, including but

  not limited to the following fraudulent material misrepresentations and/or omissions:

         a)      False and misleading statements, information and/or material omissions
                 designed to conceal the fact that Defendants provided services according to



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             a treatment protocol intended to fraudulently bill Plaintiff for, inter alia,
             purported arthroscopic procedures (including but not limited to on the knee,
             shoulder, wrist, and ankle); pain management services (including but not
             limited to spinal annuloplasty, percutaneous discectomies, IDETs,
             discectomy, diskography, epidurography and anesthetic agent, diskography
             epidural, facet, trigger point injections, transforaminal and epidural
             injections), related anesthesiology services and inflated facility fees
             irrespective of medical necessity;
       b)    False and misleading statements and/or material omissions made by the
             Surgicore ASCs for reimbursement of inflated facility fees that were
             fraudulent and/or far in excess of the amounts the Surgicore ASCs was
             entitled to receive;
       c)    False and misleading statements and/or material omissions designed to
             conceal that the Surgicore ASCs were fraudulently and improperly licensed
             in violation of the applicable laws of New York and New Jersey and
             therefore were ineligible for the reimbursement of benefits under the No-
             Fault Law;
       d)    False and misleading statements, information, and/or material omissions
             designed to conceal the fact that the Fraudulent Services were provided
             pursuant to an illegal referral and/or financial arrangement between and
             among the Defendants;
       e)    False and misleading statements and/or material omissions made by the
             Surgicore Orthopedic Providers and/or Surgicore Pain Management
             Providers concerning Covered Persons’ conditions in order to justify
             referrals for medically unnecessary surgical and interventional pain
             management procedures with the intent to defraud American Transit;
       f)    False and misleading statements and/or material omissions that the
             Surgicore ASCs were in compliance with all laws and regulations governing
             healthcare practice and/or licensing laws, and was therefore eligible to
             receive reimbursement, when in fact they were not;
       g)    False and misleading statements and information and/or material omissions
             designed to conceal the fact that the fraudulent services were provided
             pursuant to an illegal referral and/or financial arrangement between and
             among the Defendants;
       h)    False and misleading statements and/or material omissions made by the
             Surgicore Orthopedic Providers, Surgicore Pain Management Providers
             and/or Surgicore Anesthesia Providers in which they falsely claimed the
             medical services they purportedly performed on Covered Persons were
             reimbursable pursuant to NYS Fee Schedule, when they were not;
       i)    False and misleading statements and/or material omissions made by
             Surgicore Orthopedic Providers, Surgicore Pain Management Providers and
             Surgicore Anesthesia Providers in order to justify the billing for purported



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                  medical services when in fact such services were medically unnecessary
                  and/or of no diagnostic or treatment value; and
          j)      Other misrepresentations and material omissions, including but not limited
                  to those contained in paragraphs a) through i) above.

          2036. On information and belief, in numerous instances, the medical records, reports and

  bills submitted by Defendants to Plaintiff in connection with the Fraudulent Services set forth

  fictional representations of each Covered Persons’ condition and services provided. The false

  representations contained therein not only were intended to defraud Plaintiff but constitute a grave

  and serious danger to the Covered Persons and the consumer public, particularly if the sham and

  fictional diagnoses were to be relied upon by any subsequent healthcare provider

          2037. The foregoing was intended to deceive and mislead the Plaintiff into believing that

  Defendants were providing medically valid services when, in fact, they were not.

          2038. Defendants knew the foregoing material misrepresentations to be false when made

  and nevertheless made these false representations with the intention and purpose of inducing

  Plaintiff to rely thereon.

          2039. Plaintiff did in fact reasonably and justifiably rely on the foregoing material

  misrepresentations, which Plaintiff were led to believe existed as a result of Defendants’ acts of

  fraud and deception.

          2040. Had Plaintiff known of the fraudulent content of, and misrepresentations in, the

  medical records, reports, treatment verifications, and bills for medical treatment, they would not

  have paid Defendants’ claims for No-Fault insurance benefits submitted in connection therewith.

          2041. Furthermore, Defendants’ far-reaching pattern of fraudulent conduct evinces a high

  degree of moral turpitude and wanton dishonesty which, as alleged above, has harmed, and will

  continue to harm, the public at large, thus entitling Plaintiff to recovery of exemplary and punitive

  damages.


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         2042. For the foregoing reasons, Plaintiff has sustained compensatory damages and been

  injured in their business and property in an amount as yet to be determined but believed to be in

  excess of $25,600,000.00, the exact amount to be determined at trial, plus interest, costs, punitive

  damages, and other relief the Court deems just.

                              FOURTEENTH CLAIM FOR RELIEF

                                    AGAINST ALL DEFENDANTS

                                    (Unjust Enrichment/Restitution)

         2043. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

         2044. By reason of their wrongdoing, Defendants have been unjustly enriched, in that

  they have, directly and/or indirectly, received substantial moneys from Plaintiff that are the result

  of unlawful conduct and that, in equity and good conscience, they should not be permitted to keep.

         2045. Plaintiff are entitled to recover restitution for the amount that Defendants were

  unjustly enriched as a result of payments made by Plaintiff to said Defendants.

         2046. By reason of the foregoing, Plaintiff has sustained compensatory damages and has

  been injured in their business and property in an amount as yet to be determined, but believed to

  be in excess of $25,600,000.00, the exact amount to be determined at trial, plus interest, costs, and

  other relief the Court deems just.

                                   FIFTEENTH CLAIM FOR RELIEF

        AGAINST ALL CITY ASC, EMPIRE STATE ASC, FIFTH AVENUE ASC,
   MANALAPAN ASC, NEW HORIZON ASC, NORTH QUEENS ASC, ROCKAWAYS
   ASC, ROCKLAND AND BERGEN ASC, JERSEY CITY ASC, SADDLEBROOK ASC,
  ACKERMAN, CONTEMPORARY ORTHOPEDICS, APAZIDIS, APAZIDIS PC, BAUM,
  BAY RIDGE PC, BERKOWITZ, ADVANCED ORTHOPAEDICS, BURSZTYN, DASSA,
         DASSA ORTHOPEDIC, GRAZIOSA, GRAZIOSA PC, HAAR, HAAR
  ORTHOPAEDICS, HOSTIN, HOSTIN ORTHOPAEDICS, KATZMAN, KATZMAN PC,
  MCCULLOCH, MCCULLOCH ORTHOPAEDIC, NYSJ, MCMAHON, MCMAHON PC,
     SELDES, NYC ORTHOPEDIC, PASSAIC ORTHOPEDIC, SELDES PC, SINHA,


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   ANJANI PC, UPENDRA SINHA, U.K. PC, VINAYAK SINHA AS ADMINISTRATOR
       OF THE ESTATE OF AJOY SINHA, M.D., MSJR, SINHA ORTHOPEDICS,
   WASSERMAN, BW ORTHOPEDICS, SHAMALOV, BOWEN, BOWEN PLLC, HALL,
      HALL PLLC, JIMENEZ, J SPORTS, DEV HEALTHCARE, JONES, PHOENIX
      MEDICAL, KHAKHAR, PM&R, KOTKES, KOTKES PC, PORTAL, PORTAL
  MEDICAL, SHABTIAN, TOTAL ANESTHESIA, VORA, KDV MEDICAL, KETAN PC,
    KV MEDICAL, NJ VORA, NON-SURGICAL ORTHOPEDICS, XIE, INTEGRATED
    PAIN MANAGEMENT, ALEXANDER BOWEN PLLC, AMIGUD, FIFTH AVENUE
     ANESTHESIA, AMIGUD PC, EATON, ITZKOVICH, SYNERGY ANESTHESIA,
  ELKHOLY, PRECISION ANESTHESIA, KURTTI, ELTAKI, MCCARTHY, QUALITY
        ANESTHESIA, KAO, PROGRESSIVE-HUDSON, KHAN, ANESTHESIA
      PROFESSIONALS, NEUMAN, NEUMAN PLLC, NEUMAN PC, CENTURION
   ANESTHESIA, CENTURION MIDTOWN ANESTHESIA, CENTURION MIDTOWN
  MEDICAL, SEDATION VACATION, SCINAS, ROXBURY ANESTHESIA, JOHN DOES
            2 THROUGH 20, AND ABC CORPORATIONS 1 THROUGH 20

                    (Declaratory Judgment under 28 U.S.C. § 2201 and 2202)
                                  (Fraudulent Billing Scheme)

         2047. The allegations of paragraphs 1 through 1822 are hereby repeated and realleged as

  though fully set forth herein.

         2048.    At all relevant times mentioned herein, each and every bill mailed by the Surgicore

  Health Care Providers to Plaintiff sought reimbursement for services that, if performed at all, were

  fraudulently billed, not of any diagnostic or treatment value, and/or reflected a pattern of billing

  for services that were medically unnecessary.

         2049. At all times relevant herein, the Surgicore Health Care Providers exploited the No-

  fault Law through the utilization of various deceptive billing tactics engineered to maximize the

  amount of reimbursement from insurers, in general, and Plaintiff, in particular, through the

  submission of fraudulent billing documents pursuant to a fraudulent treatment protocol,

  irrespective of medical necessity, that was also the result of unlawful referrals, kickbacks, and/or

  other financial arrangements between the Surgicore Health Care Providers and/or others for the

  medically unnecessary services.




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         2050. At all times relevant herein, each and every bill mailed by the Surgicore Health

  Care Providers to Plaintiff made various misleading statements and/or material omissions intended

  to hold out the Surgicore ASCs as legitimate ASCs in compliance with core licensing requirements

  when, in fact, they were not, designed to induce Plaintiff into making payments that Surgicore

  Health Care Providers were not entitled to receive because they were improperly licensed in

  violation of the applicable laws of New York and New Jersey, and therefore are ineligible for the

  reimbursement of benefits under the No-Fault Law

         2051. In view of the Surgicore Health Care Providers’ submission of fraudulent bills to

  Plaintiff, Plaintiff contends that the Surgicore Health Care Providers have no right to receive

  payment for any pending bills they have submitted because:

               The Surgicore Health Care Providers made false and fraudulent
                misrepresentations and/or material omissions in the bills and supporting
                documentation submitted to Plaintiff to obtain reimbursement for the
                Fraudulent Services that if rendered at all, were not of any diagnostic or
                treatment value and/or reflected a pattern of billing for services that were
                medically unnecessary; services that were never rendered, not of any
                diagnostic or treatment value and/or reflected a pattern of billing for
                services that were medically unnecessary;

               The Surgicore Health Care Providers made false and fraudulent
                misrepresentations and/or material omissions in the bills and supporting
                documentation submitted to Plaintiff as to the medical necessity of billed-
                for Fraudulent Services, when such services, if performed at all, were
                performed pursuant to a pre-determined treatment protocol designed solely
                to maximize reimbursement for the Surgicore Health Care Providers;

               The Surgicore Health Care Providers made false and fraudulent
                misrepresentations and/or material omissions in the bills and supporting
                documentation submitted to Plaintiff seeking reimbursement for services
                performed pursuant to illegal referral and/or financial arrangement(s)
                between the Surgicore Health Care Providers; and

               The Surgicore Health Care Providers made false and fraudulent
                misrepresentations and/or material omissions in the bills and supporting
                documentation submitted to Plaintiff seeking reimbursement for services
                from fraudulently and improperly licensed ASCs that are operated in



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                 violation of the substantive licensing, regulatory, and applicable operating
                 laws and requirements of New York and New Jersey.

         2052. As the Surgicore Health Care Providers have knowingly made the foregoing false

  and fraudulent misrepresentations and/or material omissions about the services purportedly

  provided to Covered Persons and the amounts they were entitled to be reimbursed, it is respectfully

  requested that this Court issue an order declaring that the Surgicore Health Care Providers are not

  entitled to receive payment on any pending, previously-denied, and/or submitted unpaid claims

  and Plaintiff, therefore, is under no obligation to pay any of Defendant Provider’s No-Fault claims.

         2053. Plaintiff has no adequate remedy at law.

         2054. The Surgicore Health Care Providers will continue to bill Plaintiff for false and

  fraudulent claims for reimbursement absent a declaration by this Court that Plaintiff has no

  obligation to pay the pending, previously denied and/or submitted unpaid claims, regardless of

  whether such unpaid claims were ever denied, regardless of the purported dates of service.

                                          JURY DEMAND

         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury.

  WHEREFORE, Plaintiff demands judgment as follows:

         i)      Compensatory damages in an amount in excess of $153,000,000.00, the
                 exact amount to be determined at trial, together with prejudgment interest;
         ii)     Punitive damages in such amount as the Court deems just;
         iii)    Treble damages, costs, and reasonable attorneys’ fees on the First through
                 Twelfth Claims for Relief, together with prejudgment interest;
         iv)     Compensatory and punitive damages on the Thirteenth Claim for Relief, in
                 an exact amount to be determined at trial, together with prejudgment
                 interest;
         v)      Compensatory damages on the Fourteenth Claim for Relief, in an exact
                 amount to be determined at trial, together with prejudgment interest;
         vi)     Declaratory Relief on the Fifteenth Claim for Relief declaring that Plaintiff
                 is under no obligation to pay any of the Surgicore Health Care Providers
                 No-Fault claims that were for services that were never rendered,



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               fraudulently billed, not of any diagnostic or treatment value and/or reflected
               a pattern of billing for services that were medically unnecessary, performed
               pursuant to a pre-determined treatment protocol, pursuant to illegal referral
               and/or financial arrangement(s), and/or were provided by fraudulently and
               improperly licensed ASCs that are operated in violation of the substantive
               licensing, regulatory, and applicable operating laws and requirements of
               New York and New Jersey; and
        vii)   Costs, reasonable attorneys’ fees, and such other relief that the Court deems
               just and proper.

  Dated: New York, New York,
         December 17, 2024


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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  AMERICAN TRANSIT INSURANCE COMPANY,                                    24-CV-____
                                               PLAINTIFF,
                                                                         COMPLAINT
                            -against-
                                                                       (TRIAL BY JURY
  ALL CITY FAMILY HEALTHCARE CENTER INC., BRONX SC, LLC D/B/A
                                                                         DEMANDED)
  EMPIRE STATE AMBULATORY SURGERY CENTER, FIFTH AVENUE
  SURGERY CENTER, LLC F/K/A FIFTH AVENUE ASC ACQUISITION,
  LLC, MANALAPAN SURGERY CENTER, INC. F/K/A MANALAPAN
  SURGERY CENTER, P.A., NEW HORIZON SURGICAL CENTER LLC,
  NYEEQASC, LLC D/B/A NORTH QUEENS SURGICAL CENTER,
  ROCKAWAYS ASC DEVELOPMENT, LLC, ROCKLAND AND BERGEN
  SURGERY CENTER LLC, SURGICORE OF JERSEY CITY LLC,
  SURGICORE, LLC A/K/A SURGICORE SURGICAL CENTER, ANTHONY
  DEGRADI, WAYNE HATAMI, FELIKS KOGAN, LEONID TYLMAN A/K/A
  LENNY TILMAN, SURGICORE MANAGEMENT INC, SURGICORE
  MANAGEMENT NY LLC, JOHN ALJIAN, MD, EDWIN CHAN, MD,
  ALEXANDER COCOZIELLO, DO, ANDREW KOPLIK, MD, PETER
  MENGER, MD, RAVI NAIK, MD, ANTHONY PACIA, MD, MERWIN
  RICHARD, MD, STUART SPRINGER, MD, BRIAN WEINER, MD, MARINA
  AMINOVA, MELISSA FINNEGAN, HENRY KILROY, PAOLA LOPEZ, YANIN
  LUCERO, MONIQUE MORRIS A/K/A MONIQUE DEMARTINO A/K/A
  MONIQUE KILROY, AMAURY ROMERO A/K/A AMAURY SANCHEZ, TAMI
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  SINHA, M.D., U.K. SINHA PHYSICIAN P.C., VINAYAK SINHA AS
  ADMINISTRATOR OF THE ESTATE OF AJOY SINHA, M.D.,
  MUSCULOSKELETAL AND ARTHRITIS JOINT REPLACEMENT OF
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  QUEENS, PC, SINHA ORTHOPEDICS PC, BRADLEY WASSERMAN, M.D.,
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  HEALTH, NON-SURGICAL ORTHOPEDICS OF NEW JERSEY, PC, JINGHUI
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  ELKHOLY, M.D., PRECISION ANESTHESIA ASSOCIATES, P.C. F/K/A
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  ANESTHESIA, LLC, ASIM KHAN, M.D., ANESTHESIA PROFESSIONALS
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  CENTURION ANESTHESIA SURGICAL CENTERS, LLC, CENTURION
  MIDTOWN ANESTHESIA, PLLC, CENTURION MIDTOWN MEDICAL,
  PLLC, SEDATION VACATION PERIOPERATIVE MEDICINE, PLLC D/B/A
  CENTURION ANESTHESIA, ATHANASIOS SCINAS, M.D., ROXBURY
  ANESTHESIA, LLC, ADVANCED PMR MANAGEMENT LTD LIABILITY
  CO., AEH HEALTHCARE MANAGEMENT CONSULTING LLC, ASC
  INVESTMENT SERVICES LLC, ASAR HEALTHCARE LLC, AS MED
  INVEST LLC, BDP VENTURES INC, BDP VENTURES LLC, BLUE WALL
  MANAGEMENT, LLC, BOOST HS LLC, CAPLEO HOLDINGS, LLC,
  CONTE DE FEES INC., FIABA LLC, 50 FRANKLIN LN REALTY LLC,
  FIWA 1049 REALTY, LLC, FLBD MANAGEMENT LLC, FOUR D
  INVESTMENTS INC, FOUR D INVESTMENTS LLC, GESHEFT ASSOCIATES
  LLC, HEALTH PLUS MANAGEMENT, LLC (F/K/A ACC INTERMEDIATE
  HOLDING COMPANY I, LLC), HDS INVESTMENTS, LLC, KOSTANIAN
  CONSULTING ASSOCIATES INC., MAIN STREET MEDICAL
  MANAGEMENT INC., MEGA GROUP SOLUTION INC., MEDA
  MANAGEMENT, LLC, MEH INVESTMENTS INC, MIDTOWN 305
  REALTY, LLC, MK MED INVEST LLC, ORTUZ LLC, REDY VENTURES
  LLC, SIGNME, LLC, SJ2 VENTURES, SURGICORE 5TH AVENUE LLC,
  SURGICORE RBSC, LLC, YCENTURY LLC, JONATHAN ARREDONDO-
  CALLE, STUART BLUMBERG, AMANDA CHAVEZ, KRISTEN DEGRADI
  A/K/A KRISTEN LAIRD, SERGEY DENEVICH, MARY HATAMI, HARRIS
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  RUBIN, MARLA SELDES, ALBERT SHAKAROV, ROZA YADGAROV, YURA
  YAGUDA, JOHN DOE 1, JOHN DOES 2 THROUGH 20, AND ABC
  CORPORATIONS 1 THROUGH 20,
                                              DEFENDANTS.




                                 COMPLAINT




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